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                       EXHIBIT I
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                         Dennis Lee Montgomery     -   November 18, 2010

                            UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA


              In re:     Dennis and Kathleen      )
              Montgomery                          )
                                                  )
              Michael J. Flynn,                   )
                                                  )
                              Plaintiff,          )
                                                  )
                                vs.               ) Case No.: 2:10-bk-18510-bb
                                                  )
              Dennis Lee Montgomery and           )
              Brenda Kathleen Montgomery,         )
                                                  )
                              Defendants.         )
              ______________________________)




                 Videotaped Deposition of:        DENNIS LEE MONTGOMERY
                 Date:                            November 18, 2010
                 Reported by:                     Stephanie P. Borthwick
                                                  C.S.R. No. 12088




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          1         Deposition of DENNIS LEE MONTGOMERY, taken on

          2   behalf of the Plaintiff, before Stephanie P.

          3   Borthwick, a Certified Shorthand Reporter,

          4   commencing at the hour of 9:20 a.m., Thursday,

          5   November 18, 2010, at the offices of Yates Court

          6   Reporters, 74967 Sheryl Avenue, Palm Desert,

          7   California.

          8   APPEARANCES:

          9         For the Plaintiff:

        10                 CONANT LAW, LLC

        11                 Attorneys at Law

        12                 BY:   CHRISTOPHER J. CONANT, ESQ.

        13                 730 17th Street

        14                 Suite 200

        15                 Denver, Colorado     80202

        16                 (303) 298-1800

        17          For the Defendants:

        18                 DION-KINDEM & CROCKETT

        19                 Attorneys at Law

        20                 BY:   WILLIAM E. CROCKETT, ESQ.

        21                 LNR Warner Center

        22                 21271 Burbank Boulevard

        23                 Suite 100

        24                 Woodland Hills, California        91367-6667

        25                 (818) 883-4400

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          1         For the United States of America:

          2                U.S. DEPARTMENT OF JUSTICE

          3                CIVIL DIVISION

          4                BY:   CARLOTTA P. WELLS, Senior Counsel

          5                Federal Programs Branch

          6                20 Massachusetts Avenue, NW

          7                Room 7150

          8                Washington, DC     20530

          9                (202) 514-4522

        10          Also Present:

        11                 Michael J. Flynn, Esq.

        12                 Sharon Raya, Paralegal to Ms. Wells

        13                 Tom (last name withheld), U.S. Government

        14                 Morgan (last name withheld), U.S.

        15                 Government

        16          Videographer:

        17                 Jesse Navarro, Orravan Video Litigation

        18                 Services

        19

        20

        21

        22

        23

        24

        25

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          2

          3   Deposition of DENNIS LEE MONTGOMERY

          4         Taken on November 18, 2010

          5

          6   Examination By:                                            Page

          7   MR. CONANT                                                  24

          8

          9   Information Requested:

        10          (None)

        11

        12    Questions Instructed Not to Answer:                Page Line

        13    Q.    Has your attorney, to your                      45     3

        14          knowledge, been in contact with any

        15          agency of the United States

        16          government concerning your personal

        17          property that's listed on these

        18          schedules?

        19    Q.    Is it your testimony,                           46     9

        20          Mr. Montgomery, that you have no

        21          personal property that falls within

        22          the description of this paragraph

        23          here on page 22-9?

        24    ///

        25    ///

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          1   Q.    Have you ever described to anyone in            53     3

          2         any form a noise filtering

          3         technology that you had created?

          4   Q.    You don't recall if it's true or                77    25

          5         not, Mr. Montgomery?

          6   Q.    You mean to tell me that you met                82    21

          7         with someone in the vice president's

          8         office and you can't recall what it

          9         was about, Mr. Montgomery?

        10    Q.    This is about the source code, isn't            85    15

        11          it, Mr. Montgomery?

        12    Q.    Do you understand the English                   99    19

        13          language, Mr. Montgomery?

        14    Q.    Well, so you visited the vice                  107    12

        15          president's office, but you don't

        16          recall the nature of the meeting?

        17    Q.    What would cause your attorney to              112    16

        18          put a statement like that on your

        19          bankruptcy schedule?

        20    Q.    Can you explain to me your                     119     6

        21          conversations with Edra Blixseth

        22          concerning --

        23    Q.    -- the preparation of this document?           119    11

        24    ///

        25    ///

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          1   Q.   Mr. Montgomery, can you please                  123    15

          2        explain to me your conversation with

          3        Ms. Montgomery concerning the

          4        preparation of this document, which

          5        is marked as Plaintiff's Exhibit

          6        No. 7.

          7   Q.   Isn't it true, Mr. Montgomery, that             125     8

          8        you worked with Ms. Blixseth to help

          9        her kill the sale of the Yellowstone

        10         Club to Cross Harbor?

        11    Q.   Mr. Montgomery, is this statement in            140     7

        12         here regarding -- where it says

        13         Dennis Montgomery and Demaratech, it

        14         has been their desire from the first

        15         contact to try and sell their

        16         technology to various institutions

        17         of the Israeli government, including

        18         Mossad and Army Intelligence --

        19    Q.   Is this a true statement,                       141    15

        20         Mr. Montgomery, in any sense?         Has

        21         it ever been your desire to sell

        22         technology to various institutions

        23         within the Israeli government?         Is

        24         that a true statement,

        25         Mr. Montgomery?

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          1   Q.    Have you defrauded Mr. Kennedy in              144    25

          2         connection with his investment in

          3         Demaratech, LLC?

          4   Q.    Did -- Mr. Montgomery, during                  148    10

          5         President Obama's inauguration in

          6         January of 2009, were you the cause

          7         of any form of terror -- heightened

          8         terror alert in the Washington,

          9         D.C., area?

        10    Q.    Do you ever monitor PACER in                   150    20

        11          Montana, U.S. District Court -- U.S.

        12          Bankruptcy Court in the District of

        13          Montana?

        14    Q.    What attorney-client communications            151    18

        15          would lead Mr. Flynn to believe that

        16          you were causing terror threats in

        17          or around January of 2009?

        18    Q.    When did Mr. Flynn cease to be your            152     4

        19          attorney?

        20    Q.    So you're suggesting that you didn't           157    12

        21          write that, Mr. Montgomery?

        22    ///

        23    ///

        24    ///

        25    ///

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          1   Q.   Why would Edra tell you, "With all              165    12

          2        going on, much of which you

          3        encouraged me to move forward with,

          4        why are you doing this at this

          5        time?"

          6   Q.   Mr. Montgomery, how does your                   166     2

          7        relationship with Edra Blixseth

          8        implicate you in any criminal

          9        proceeding?

        10    Q.   Do you know why the Israeli                     171    24

        11         government would be?

        12    Q.   Why would Edra say, "You are the key            180     5

        13         to our success"?

        14    Q.   Is it hard to recall what a person              227    25

        15         does with $800,000, Mr. Montgomery?

        16    Q.   You had a plan, because you knew the            232     5

        17         software was always bogus and you

        18         knew that the only way to get out

        19         from the sanction was to get rid of

        20         the litigation so you settled by

        21         executing the $25 million judgment.

        22         You knew at the time that you could

        23         never satisfy the $25 million

        24         judgment, so you knew the only way

        25         to get out from the $25 million

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        1          judgment was to file for bankruptcy.

        2          And the whole time before that you

        3          knew that the software was

        4          fraudulent, yet you're getting paid

        5          $1.2 million a year for this

        6          fraudulent software.       So the whole

        7          time you're hoarding away this cash

        8          that you're getting, the

        9          $1.2 million a year you're getting,

       10          because you know at some -- you know

       11          it's all going to collapse when

       12          you're discovered that your software

       13          is a complete fraud.

       14    Q.    Didn't you know the whole time the               233    17

       15          software was bogus, that you were

       16          pedaling bogus software?

       17    Q.    The source code that we're been                  234     3

       18          referring to all day today in the

       19          Plaintiff's Exhibit 3, in these

       20          emails, the source code, you knew it

       21          was bogus didn't you,

       22          Mr. Montgomery?

       23    ///

       24    ///

       25    ///

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        1    Exhibits:

        2       1         36-page U.S. Bankruptcy Court                    33

        3                 Summary of Schedules filed

        4                 7/13/09

        5       2         Six-page Plaintiff's Second                      49

        6                 Set of Requests for Production

        7                 of Documents

        8       3         23-page Sealed Declaration of                    54

        9                 Dennis Montgomery in Support

       10                 of his Oppositions to DOD's

       11                 and ETreppid's Motions for

       12                 Protective Orders

       13       4         Six-page Dennis Montgomery's                     61

       14                 Responses to Plaintiff's

       15                 Requests for Production of

       16                 Documents, Set Two

       17       5         Three-page Second Declaration                    90

       18                 of SA Michael A. West

       19       6         November 8, 2007, redacted                      114

       20                 letter to Timothy Blixseth on

       21                 the letterhead of U.S.

       22                 Department of Justice

       23    ///

       24    ///

       25    ///

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        1       7         December 12, 2007, letter to                    116

        2                 Timothy Blixseth on the

        3                 letterhead of the U.S.

        4                 Department of Justice

        5       8         56-page printout of back                        132

        6                 records for Demaratech, LLC

        7       9         Two-page June 30, 2010, email                   137

        8                 from Concerned Citizen to

        9                 Michael.west@ic.fbi.gov re

       10                 Montgomery

       11       10        February 26, 2009, email                        155

       12                 string, top email from

       13                 LearG2@aol.com to

       14                 dennis@ncoder.net et al., re

       15                 Blxware

       16       11        Six pages of indictments                        166

       17       12        Email string dated November                     169

       18                 11, 2010, between George

       19                 Birnbaum and Tim Blixseth re

       20                 Montgomery

       21       13        Email string, top email dated                   175

       22                 February 26, 2009, from

       23                 LearG2@aol.com to

       24                 dennis@ncoder.net, et al., re

       25                 Installation

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        1       14        Two-page email from                             177

        2                 LearG2@aol.com to

        3                 dennis@ncoder.net, et al., re

        4                 Ratheon and other

        5                 opportunities

        6       15        One-page email string, top                      189

        7                 email from LearG2@aol.com to

        8                 dennis@ncoder.net, et al., re

        9                 Secret Service

       10       16        Six-page article entitled The                   195

       11                 Man Who Conned the Pentagon

       12       17        Eight-page email and                            201

       13                 attachment dated August 23,

       14                 2007, from Patricia Yarborough

       15                 to Jory Russell re Dennis

       16                 Montgomery

       17       18        143 pages of bank records                       219

       18       19        15 pages of a Wells Fargo                       285

       19                 Portfolio Management Account

       20                 for January 2007

       21       20        36 pages of bank records of                     303

       22                 Istvan Burgyan, Bates

       23                 Nos. 00349-384

       24    ///

       25    ///

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        1       21        19-page Wells Fargo PMA                         306

        2                 Package of Istvan Burgyan,

        3                 Bates Nos. 00552-70

        4       22        Five pages of Istvan Burgyan's                  309

        5                 bank records, Bates

        6                 Nos. 00943-47

        7       23        Two-page Bank of America                        312

        8                 statement of Istvan Burgyan,

        9                 Bates Nos. 00933-34

       10       24        One page of photocopied                         313

       11                 documents including a

       12                 cashier's check paid to

       13                 Caesar's Casino and Wells

       14                 Fargo Bank records.

       15       25        18 pages of MontBleu Resort                     315

       16                 Memo Reports

       17       26        Three-pages of win/loss                         324

       18                 documents

       19       27        37 pages of Customer                            328

       20                 Transaction Inquiries

       21       28        11 pages of miscellaneous                       330

       22                 casino documents

       23    ///

       24    ///

       25    ///

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09:15:31   1                THE VIDEOGRAPHER:       Good morning.      Here

           2    begins Media No. 1 in the video deposition of Dennis

           3    Lee Montgomery in the matter of Michael J. Flynn

           4    versus Dennis Lee Montgomery, et al., in the

09:19:59   5    United States Bankruptcy Court of California, Case

           6    No. 2:10-bk-18510-bb.

           7                Today's date is November 18th, 2010.            The

           8    time is 9:20 a.m.       This deposition is being taken at

           9    74967 Sheryl Avenue, Palm Desert, California, and

09:20:18   10   was made at the request of Mr. Christopher Conant of

           11   the law offices of Conant Law, LLC.

           12               The videographer is Jesse Navarro here on

           13   behalf of Orravan Video Litigation Services,

           14   Indian Wells, California.

09:20:32   15               Would counsel and all present please

           16   identify yourselves and state whom you represent.

           17               MR. CONANT:     Christopher Conant for the

           18   plaintiff, Michael J. Flynn.

           19               MR. FLYNN:     And Michael J. Flynn in

09:20:41   20   persona.

           21               MS. WELLS:     Carlotta Wells on behalf of the

           22   United States and with the United States Department

           23   of Justice.      Sharon Raya is with me from my office.

           24   With me, also, are Morgan and Tom, who are with the

09:20:54   25   government and I can't disclose anything further

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09:20:58   1    because to do so would violate the terms of the

           2    United States protective order, which all the

           3    parties to the bankruptcy proceeding have agreed to.

           4                MR. CROCKETT:      Bill Crockett on behalf of

09:21:07   5    Dennis Montgomery.

           6                THE WITNESS:     Dennis Montgomery.

           7                THE VIDEOGRAPHER:       Would the court reporter

           8    please swear in the witness.

           9                THE REPORTER:      Please raise your right

09:21:12   10   hand.

           11               Do you solemnly state under penalty of

           12   perjury that the testimony you will give in this

           13   matter will be the truth, the whole truth, and

           14   nothing but the truth?

09:21:22   15               THE WITNESS:     Yes.

           16               THE REPORTER:      Thank you.

           17               MR. CONANT:     Okay.    Thank you.

           18               Before we start examining the witness, I

           19   want to state for the record that there are present

09:21:33   20   in the room four representatives from the U.S.

           21   Government, two of which apparently have no last

           22   name.

           23               We'll ask on the record of Ms. Wells to

           24   provide their last names and the government agency

09:21:47   25   that they purportedly work for.

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09:21:51   1                MS. WELLS:     And I cannot, because to do so

           2    would violate the terms of the United States

           3    protective order.

           4                MR. CONANT:     Ms. Wells, do you have a copy

09:21:57   5    of the protective order in front of you?

           6                MS. WELLS:     I do.    Do you have one?

           7                MR. CONANT:     I have a copy in front of me.

           8    I'd like to actually get it admitted as an exhibit

           9    in this deposition.

09:22:10   10               Let me -- while I work on getting extra

           11   copies to admit as an exhibit, Ms. Wells, can you

           12   review the protective order and identify which

           13   specific portion of the protective order you're --

           14               MS. WELLS:     Am I a witness now?       All I can

09:22:28   15   tell you is it's pretty self-evident from the face

           16   of the United States protective order what's

           17   protected, what isn't.

           18               The information that's protected is set

           19   forth in paragraphs 2 and paragraphs 3.

09:22:42   20               MR. CONANT:     How does those pertain

           21   specifically to the identities of these gentlemen

           22   and why they're here today?

           23               MS. WELLS:     I think it's self-evident and

           24   if you want to read those paragraphs into the

09:22:50   25   record, feel free to.

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09:22:51   1                MR. CONANT:     I don't -- well --

           2                MS. WELLS:     Paragraphs 2 and 3 of the

           3    United States protective order, which is

           4    Document 253, District of Nevada Case File 30656.

09:23:02   5                MR. CONANT:     Ms. Wells, who is making the

           6    decision regarding what is -- why these gentleman

           7    are here?

           8                Who in the government made a decision why

           9    these gentlemen are here?         Who in the government

09:23:07   10   made a decision for these two gentlemen to be here

           11   today?

           12               MS. WELLS:     This particular deposition is

           13   being handled in the manner that all information

           14   related to this case has been handled.             It's been a

09:23:25   15   joint decision between those attorneys representing

           16   the United States' interests and the agencies whose

           17   information we're protecting.

           18               That's all I'm going to say.

           19               MR. CONANT:     Were these gentleman at all

09:23:38   20   involved in any way in the litigation in Nevada?

           21               MS. WELLS:     I'm not going to go any further

           22   than what I've already said.

           23               MR. CONANT:     Were you meeting with Judge

           24   Pro in the U.S. District Court for the district of

09:23:49   25   Nevada yesterday?

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09:23:51   1                MS. WELLS:     At Judge Pro's insistence, yes.

           2    We met with him in his chambers yesterday.

           3                MR. CONANT:     Who is "we"?

           4                MS. WELLS:     The people representing the

09:23:57   5    United States Department of Justice and the United

           6    States in this case.

           7                MR. CONANT:     Who were those?       I'm asking

           8    for the identities, Ms. Wells.

           9                MS. WELLS:     All I'm saying is that people

09:24:07   10   from the government met with him and I mean it

           11   actually -- if you really need to know, it was the

           12   four of us here.

           13               MR. CONANT:     Did Judge Pro -- when did

           14   Judge Pro contact you to meet with him?

09:24:20   15               MS. WELLS:     I'm not going to say anything

           16   more other than we're complying with the terms of

           17   the order that Judge Pro entered, I believe it was

           18   October 30th, and we were there because of that

           19   order.

09:24:32   20               MR. CONANT:     What order?

           21               MS. WELLS:     Let's see.

           22               It was the order dated October 28th, 2010,

           23   Docket No. 1172, same case, Montgomery versus

           24   eTreppid Technology.

09:25:00   25               MR. CONANT:     Were there any documents

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09:25:01   1    reviewed in connection with your meeting with Judge

           2    Pro that were -- that originated from my client

           3    Michael Flynn?

           4                MS. WELLS:     This is not the subject of this

09:25:12   5    deposition.      We're not here to talk about this.           If

           6    Mr. Flynn wants to have a conversation with me about

           7    this we can have it, but it's not appropriate for

           8    the record.

           9                MR. CONANT:     It is appropriate for the

09:25:21   10   record.     You are --

           11               MS. WELLS:     It does -- what does that have

           12   to do with the information we're here to protect

           13   now?    The long and the short of it is that there

           14   were documents, as you know, from the Order that the

09:25:26   15   court in Montana sent to Judge Pro.

           16               He asked the United States to take a look

           17   at them to determine the extent to which there's

           18   information that may or may not be protected under

           19   the United States protective order.

09:25:35   20               Upon the limited review that we did in his

           21   chambers yesterday, we determined that there was

           22   enough of a question there that we need to take the

           23   documents back with us to Washington to do a more

           24   thorough review.       That's it.

09:25:50   25               MR. CONANT:     What documents did you review?

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09:25:51   1                MS. WELLS:     The documents that the court in

           2    Montana sent.

           3                MR. CONANT:     What documents were those?

           4                MS. WELLS:     I didn't take a list.        It's not

09:25:59   5    a very big -- it's a small pile, not even an inch

           6    thick.

           7                MR. FLYNN:     This is Michael Flynn.        I'm

           8    going to put a statement on the record.

           9                The documents that were given to David

09:26:08   10   Cotner, counsel for the trustee in the Montana

           11   bankruptcy proceeding, were very limited and I

           12   specifically reviewed them before giving them to

           13   Cotner.

           14               They were apparently subsequently given to

09:26:24   15   Judge Kirscher and they had all been previously

           16   reviewed by the federal government, Department of

           17   Justice, and approved.         And except for the Sandoval

           18   complaint, they are publicly on file in the Nevada

           19   District Court and can be picked up online.

09:26:43   20               So unless documents were added that I don't

           21   know about -- and I don't know about any of the

           22   documents, I don't have the identity of the

           23   documents that were given to Judge Kirscher or

           24   subsequently conveyed to Judge Pro -- there are no

09:26:57   25   documents that do not comply with the US protective

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09:27:02   1    order in any way.

           2                So if either documents were added by

           3    someone or there has been a change in the position

           4    of the Department of Justice with regard to the

09:27:13   5    scope of the protective order, then there is nothing

           6    in any of the documents given to Cotner, apparently

           7    passed on to Judge Kirscher, which would violate the

           8    terms of the U.S. protective order.

           9                MR. CONANT:     Do you have a copy, Ms. Wells,

09:27:29   10   of the letter or whatever communication there was

           11   between Judge Kirscher and Judge Pro?

           12               MS. WELLS:     No.

           13               MR. CONANT:     Who at the government have you

           14   been talking to regarding the matter involving the

09:27:41   15   letter from Judge Kirscher to Judge Pro?

           16               MS. WELLS:     I'm not here to answer these

           17   questions.      I'm here to enforce the terms of the

           18   United States protective order and only people with

           19   the United States have that authority and the

09:27:53   20   ability to determine what's protected and what isn't

           21   and that's all we're here for.

           22               It's a very limited role that we're

           23   playing, it's a very limited role, and I can tell

           24   you on the record that what we're doing here today

09:28:03   25   is entirely consistent with what we've done ever

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09:28:07   1    since we first got involved in this case and ever

           2    since Judge Pro acknowledged there was information

           3    to be protected.

           4                That's all I'm going to say and I'll keep

09:28:12   5    saying the same thing over and over again.

           6                MR. FLYNN:     It's completely inaccurate.

           7    For the record, these gentlemen, however nice

           8    gentleman they may be, never participated and never

           9    appeared in courtrooms in any of the Nevada

09:28:25   10   proceedings, Ms. Wells, and you know it and I know

           11   it.

           12               So this four-person deluge from the

           13   Department of Justice in Dennis Montgomery's

           14   deposition is apparently being done for some reasons

09:28:40   15   completely extraneous to the materials in the

           16   protective order, but why don't we get started.

           17               MR. CONANT:     I just want to state one last

           18   thing for the record.        When I deposed Istvan Burgyan

           19   in this very case on September 22nd, the U.S.

09:28:54   20   Government showed no interest in this matter.

           21               I had to call Mr. Gomez at his office in

           22   D.C. halfway through the deposition, because there

           23   became an issue regarding the protective order.

           24   Mr. Gomez was completely indifferent regarding this

09:29:08   25   case and now, for some reason, we have four people

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09:29:11   1    here from the US government, two of who, apparently,

           2    have no last names and are from some unidentified

           3    agency with the government.

           4                And for the record, Ms. Wells is not

09:29:22   5    indicating how their involvement is at all

           6    implicated in the protective order.            The protective

           7    order only governs issues concerning intelligence

           8    agencies as defined in the National Security Act and

           9    we have no indication of what agencies these

09:29:39   10   gentlemen are with and whether they're with an

           11   intelligence agency or whether it's an

           12   administrative branch of the government that's not

           13   included within the National Security Act as an

           14   intelligence agency.

09:29:52   15               So we simply don't know what is -- what is

           16   purportedly being protected by the protective order

           17   or not.

           18               MR. FLYNN:     We think -- at this juncture

           19   I'll put on the record that I believe -- I didn't

09:30:07   20   believe it during the Nevada proceedings, I thought

           21   there were legitimate interests to be protected in

           22   terms of identities of intelligence agency

           23   individuals, but at this point I believe that the

           24   Department of Justice has gone far beyond that and

09:30:23   25   is now using, under the guise of national security

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09:30:26   1    for reasons related to the facts that I put in the

           2    emails to you, Carlotta, has gone far beyond the

           3    scope of national security in an effort to cover up

           4    or conceal the fraudulent activities of

09:30:40   5    Mr. Montgomery as I've repeatedly said in emails.

           6                So why don't we just start.

           7                              EXAMINATION

           8    BY MR. CONANT:

           9         Q.     Okay.    All right.     Turning to

09:30:47   10   Mr. Montgomery.       Mr. Montgomery, let's start

           11   something.

           12               Can you state your name for the record.

           13        A.     Dennis Montgomery.

           14        Q.     What's your -- do you have a middle name?

09:30:58   15        A.     Lee.

           16        Q.     Do you understand what it means to take a

           17   deposition, Mr. Montgomery?

           18        A.     Yes.

           19        Q.     What do you understand that to mean?

09:31:04   20        A.     You're going to ask me questions; I'm going

           21   to answer them.

           22        Q.     Do you know -- do you understand that your

           23   testimony today is under the penalty of perjury?

           24        A.     Yes.

09:31:13   25        Q.     Do you understand what that means?

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09:31:14   1         A.     Yes.

           2         Q.     What does it mean to you?

           3         A.     You've got to tell the truth.

           4         Q.     What happens if you don't tell the truth?

09:31:20   5         A.     You get in trouble.

           6         Q.     What kind of trouble?

           7         A.     Whatever.

           8         Q.     What does that mean?

           9                MR. CROCKETT:      Calls for speculation.        Next

09:31:26   10   question, Counsel.

           11   BY MR. CONANT:

           12        Q.     Mr. Montgomery, I'll represent to you that

           13   if you do not tell the truth and you unintentionally

           14   do not tell the truth you could be prosecuted by the

09:31:37   15   federal government for lying under oath and that

           16   carries with it all sorts of criminal penalties,

           17   which I'm sure your attorney can advise you about.

           18               Mr. Montgomery, have you brought any

           19   documents with you today to this deposition?

09:31:51   20        A.     No.

           21        Q.     All right.     Mr. Montgomery, are you a

           22   United States citizen?

           23        A.     Yes.

           24        Q.     Can you briefly describe to me your

09:32:00   25   background, your educational background, and your

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09:32:02   1    work background?

           2         A.     Go on?

           3                I went to Grossmont College as a -- I got

           4    an AA in biomedical technology.

09:32:15   5                Is that what you want, me to go forward

           6    from there?

           7         Q.     Yeah.    What year did you graduate from

           8    Grossmont?

           9         A.     I don't recall.      I think '73, '74.

09:32:24   10        Q.     Yeah, please.

           11        A.     I went to San Diego State for a year -- I

           12   believe, I don't remember the exact time -- and then

           13   I began working as a biomedical technician at local

           14   hospitals.

09:32:35   15        Q.     Okay.    From what years did you work as a

           16   biomedical --

           17        A.     I think '73 to, I would say, '76, '77.            I

           18   don't recall specifically the exact date.

           19        Q.     Okay.    When did you -- what did you do

09:32:48   20   after you worked in the hospital?

           21        A.     I went to work as a consultant.

           22        Q.     What does that mean, "consultant"?

           23        A.     I was just trying to get work.

           24        Q.     What kind of work?

09:33:00   25        A.     Computer.

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09:33:01   1         Q.     Doing what with computers?

           2         A.     Biomedical work.

           3         Q.     Mr. Montgomery, what kind of biomedical

           4    work with computers were you doing?

09:33:13   5         A.     Electrocardiogram, blood gas analysis,

           6    pulmonary function, those kinds of functions.

           7         Q.     Functions.

           8                How does that relate to -- what would you

           9    do with computers?        Would you code software

09:33:28   10   programs?

           11        A.     Yes.

           12        Q.     And what is your background in software

           13   development?

           14        A.     Well, I started it then, at that period of

09:33:39   15   time.     The hospital had bought a number of computers

           16   and were trying to do at that time, I believe,

           17   automated EKG analysis and I was working with a

           18   group of cardiologists to do it.

           19        Q.     So at some point along the line is it fair

09:33:55   20   to say that you learned how to program computer

           21   software?

           22        A.     Yes.

           23        Q.     How did you learn that?

           24        A.     I just learned it.

09:34:04   25        Q.     Did you read books about it?

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09:34:08   1         A.     I mean that's 30 years ago.         Yes, I'm sure

           2    I read books.

           3         Q.     Do you have any formal training in --

           4         A.     I think there were computer programming

09:34:20   5    classes that were offered with the program.              I don't

           6    recall at the time, because the PC wasn't available

           7    yet.    They didn't come out to '81.

           8                MR. FLYNN:     Did you take any of these

           9    classes.

09:34:28   10   BY MR. CONANT:

           11        Q.     Did you take any of these classes?

           12        A.     I don't recall specifically.

           13        Q.     So you don't recall whether you've ever

           14   taken any class where you can learn how to program

09:34:38   15   computer software?

           16        A.     I don't remember the list of classes.            I

           17   just don't recall.

           18        Q.     Have you ever taken a class?

           19        A.     I don't -- at times I had to have, yes,

09:34:51   20   because there were classes that I took -- at the

           21   time those computers were Hewlitt Packard.              They

           22   were not IBM-based and I know I went to Hewlitt

           23   Packard classes.

           24        Q.     So you took some classes offered my Hewlitt

09:35:06   25   Packard?

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09:35:08   1         A.     By the people making the computers.

           2         Q.     What years were those?

           3         A.     Same time frame we discussed, between the

           4    time while I was going to Grossmont College and

09:35:16   5    San Diego State and then, I would say, up until even

           6    after I left as a consultant.

           7         Q.     I'm looking for some specific years.

           8         A.     '73 to '80 I guess, let's just say.

           9         Q.     Okay.    So how many classes in computer --

09:35:33   10        A.     I'm sorry.

           11        Q.     Let me just back up here, so we can get

           12   this out on the record that for the court reporter

           13   it's challenging when we speak over each other, so I

           14   will try to not interrupt you, if you could try not

09:35:45   15   to start your answer before I finish my question.

           16        A.     All right.

           17        Q.     Okay.    So how many classes in software

           18   programming have you taken from, say, 2010 until,

           19   say, 1970?

09:36:02   20        A.     What do you mean by "classes"?

           21        Q.     Were there -- where you had an instructor

           22   who's teaching you how to, you know, create software

           23   code.

           24               MR. CROCKETT:      Question is vague.

09:36:13   25   Ambiguous.      Lacks foundation.

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09:36:15   1    BY MR. CONANT:

           2          Q.    Do you understand the question,

           3    Mr. Montgomery?

           4          A.    Well, I'm not certain if you've ever asked

09:36:20   5    me that I ever went to a class on computers.

           6          Q.    Yeah, correct.

           7          A.    Class meaning one time a week?          I don't --

           8          Q.    I don't know.      That's what I'm asking.        I

           9    just want to know how much training, formal or

09:36:37   10   informal, you have in programming computer software.

           11         A.    What type of computers are you referring

           12   to?

           13         Q.    I don't know.      I'm not an expert in

           14   computers.      I'm a lawyer.     I'm not a -- I'm not a

09:36:49   15   computer guy, so that's why I'm asking.

           16               MR. CROCKETT:      Have you --

           17               MR. CONANT:     Mr. Crockett, please, let me

           18   finish my question.

           19               MR. CROCKETT:      Go right ahead.      Is your

09:36:56   20   question finished?

           21               Is your question finished?         Is your

           22   question finished?

           23               You're asking me to wait.

           24               MR. FLYNN:     Just ask if any instructor ever

09:37:05   25   taught him how to write code.

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09:37:08   1    BY MR. CONANT:

           2         Q.     Has any instructor ever taught you how to

           3    write computer code, Mr. Montgomery?

           4         A.     What do you mean "computer code"?

09:37:18   5                MR. CROCKETT:      I will object to the

           6    question on the grounds as vague.

           7                MR. CONANT:     I'm objecting to the fact that

           8    your client is evading the question.

           9                MR. CROCKETT:      Well, if you want to object

09:37:26   10   to your questions, knock yourself out.

           11               MR. FLYNN:     Ask him --

           12   BY MR. CONANT:

           13        Q.     Do you know what source code is,

           14   Mr. Montgomery?

09:37:32   15               MR. CROCKETT:      I'm sorry, I want to enter

           16   an objection right here.         This gentleman is not

           17   admitted as an attorney in the case.            He is the

           18   plaintiff.      He's not admitted pro hoc.         He's not

           19   licensed in the state of California.

09:37:42   20               Is he asking the questions or --

           21               MR. CONANT:     Mr. Crockett, I'll conduct the

           22   deposition in the manner I feel appropriate.              He's

           23   the plaintiff here.        He can --

           24               MR. CROCKETT:      You want to sit in his lap?

09:37:53   25               MR. CONANT:     Let me finish, please.

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09:37:54   1                He can participate in this deposition in

           2    any manner that I feel appropriate.

           3                MR. CROCKETT:      Okay.

           4                MR. CONANT:     He's not harassing the

09:38:01   5    witness.     He's not doing anything unethical.

           6                I'll conduct the deposition, thank you.

           7                MR. CROCKETT:      Is there a question pending?

           8    BY MR. CONANT:

           9         Q.     Do you know, Mr. Montgomery, what source

09:38:11   10   code is?

           11        A.     Yes.

           12        Q.     What does the word source code mean to you?

           13        A.     A language used by a compiler to generate

           14   source code, to generate an executable code.

09:38:23   15        Q.     I don't understand what any of that means.

           16   Can you explain to me what a compiler is?

           17        A.     It's a program written by a person that

           18   makes a development, a system development, for a

           19   computer language and gives you a number of tools by

09:38:43   20   which you are to generate programs to run on that

           21   platform.

           22        Q.     Have you ever had any training in how to

           23   develop source code?

           24        A.     I'm sure I have.

09:38:55   25        Q.     What is that training?

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09:38:57   1         A.     I don't recall specifically.

           2         Q.     Okay.    So is it fair to say,

           3    Mr. Montgomery, that you know how to write source

           4    code, but you don't recall how you ever learned to

09:39:12   5    write it?

           6                MR. CROCKETT:      Question's vague and

           7    ambiguous.      Lacks foundation.      May assume facts not

           8    in evidence.

           9                You think you can answer it as it's

09:39:19   10   phrased, go ahead.

           11               THE WITNESS:     You kind of just learn it

           12   over the years.       As the technology develops, so do

           13   you kind of with it.        That's my answer.

           14               MR. CONANT:     Mr. Montgomery, I'm going to

09:39:41   15   hand to you what will be marked as --

           16               You're going to have to help me keep track

           17   here.     We'll be on Exhibit 1.

           18               I only have three copies here.          I only

           19   have -- the suitcase is only so big, so I'll hand

09:39:59   20   one to you; if you want the copy --

           21               You'll mark the one that the witness has?

           22               THE REPORTER:      Yeah.

           23               (Exhibit 1 was marked for identification.)

           24               MR. CONANT:     Mr. Crockett.

09:40:21   25               MR. CROCKETT:      Are you starting with 1?

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09:40:25   1                MS. WELLS:     Can I see a copy, just take a

           2    look at it for a second?

           3                MR. FLYNN:     We're going to go to the part

           4    where the technology is listed.

09:40:37   5                MS. WELLS:     That's fine.

           6    BY MR. CONANT:

           7         Q.     Mr. Montgomery, can you please review this

           8    document that I've handed you.

           9         A.     Okay.

09:40:45   10        Q.     Let me know when you're reviewed it to your

           11   satisfaction.

           12               MR. FLYNN:     I'll mark the technology

           13   section for the declaration.

           14               MR. CONANT:     Okay.

09:42:31   15               THE WITNESS:     Okay.

           16   BY MR. CONANT:

           17        Q.     Okay.    Thank you, Mr. Montgomery.         Now

           18   before I forget, I just had a few questions I want

           19   to ask and then we'll move on to the schedule.

09:42:41   20               Can you tell me the last time you

           21   communicated with Edra Blixseth?

           22        A.     I think it was in the last week.

           23        Q.     What did you communicate with her?

           24        A.     I don't recall.

09:42:51   25        Q.     How did you communicate with her?

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09:42:53   1         A.     I talked on the phone.

           2         Q.     On the phone?

           3         A.     Yeah.

           4         Q.     You talk about this deposition?

09:43:00   5         A.     I don't believe so.

           6         Q.     Did you talk about anything regarding

           7    Mr. Blixseth, Timothy L. Blixseth?

           8         A.     I don't recall.

           9         Q.     Anything regarding Mr. Flynn?

09:43:09   10        A.     I don't recall.

           11        Q.     So you had a conversation with Ms. Blixseth

           12   a week ago, but you don't recall anything about the

           13   conversation; is that accurate, Mr. Montgomery?

           14        A.     I don't recall specifically what we talked

09:43:18   15   about.

           16        Q.     That wasn't it.      That didn't answer my

           17   question.

           18        A.     Okay.    I'm sorry.

           19        Q.     Is it fair to say you talked to

09:43:25   20   Ms. Blixseth a week ago, but you have no idea what

           21   you talked to her about?

           22               MR. CROCKETT:      That mischaracterizes what

           23   he said.     He said he didn't recall.

           24               MR. CONANT:     I'm asking him to answer my

09:43:31   25   question.

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09:43:32   1                THE WITNESS:     I just did.      I already did.

           2    I said I don't recall.

           3    BY MR. CONANT:

           4         Q.     It was a yes-or-no question.

09:43:37   5         A.     Well, if I don't recall I guess the answer

           6    is no, I don't recall.

           7         Q.     You don't recall.

           8                Mr. Montgomery, yesterday you were in

           9    Las Vegas, were you not?

09:43:51   10        A.     Yes.

           11        Q.     What were you doing in Las Vegas yesterday?

           12        A.     I'm going to take the -- I'm going invoke

           13   my right to the Fifth Amendment.

           14        Q.     Mr. Montgomery, are you aware of any

09:44:03   15   criminal proceedings against you at this time?

           16        A.     I'm going to invoke my right under the

           17   Fifth Amendment.

           18        Q.     Well, I'm not asking you to tell me

           19   anything about what you may have done.             I'm asking

09:44:16   20   you are you aware of any criminal proceedings

           21   against you at this time?

           22               MR. CROCKETT:      Counsel, he has advised you

           23   and I will advise you that he is taking his Fifth

           24   Amendment privilege and he's not going to answer

09:44:30   25   that question.

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09:44:30   1                And if you have a difficulty with it, I'm

           2    sure we can take it up with a judge.

           3                MR. CONANT:     Did he answer it -- well, did

           4    he answer it by taking the Fifth Amendment,

09:44:36   5    Mr. Crockett?

           6                MR. CROCKETT:      Did he answer what, the last

           7    question?

           8                MR. CONANT:     My last question.

           9                MR. CROCKETT:      You heard him do that and

09:44:44   10   it's on the record, Counsel.

           11   BY MR. CONANT:

           12        Q.     Mr. Montgomery, so you're taking the Fifth

           13   Amendment -- you're pleading the Fifth Amendment in

           14   response to my question about whether you're aware

09:44:53   15   of any criminal proceedings against you; is that

           16   correct?

           17        A.     I've already answered the question.

           18               MR. CROCKETT:      Asked and answered, Counsel.

           19   Next question.

09:45:00   20   BY MR. CONANT:

           21        Q.     Mr. Montgomery, I understand that you have

           22   paid to the Clark County district attorney in Nevada

           23   approximately $450,000; is that correct?

           24        A.     I'm taking the Fifth Amendment.

09:45:14   25        Q.     Where did you get the money to pay the

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09:45:16   1    Clark County D.A. this approximately $450,000?

           2         A.     I'm asserting my right under the Fifth

           3    Amendment.

           4                MR. FLYNN:     Did you get it from Istvan

09:45:21   5    Burgyan.

           6    BY MR. CONANT:

           7         Q.     Did you get it from Istvan Burgyan,

           8    Mr. Montgomery?

           9         A.     I'm asserting my right under the Fifth

09:45:28   10   Amendment.

           11               MR. FLYNN:     Did you give money to Istvan

           12   Burgyan.

           13   BY MR. CONANT:

           14        Q.     Have you ever given money to Istvan

09:45:33   15   Burgyan?

           16        A.     I'm asserting my right under the Fifth

           17   Amendment.

           18        Q.     Okay.    Mr. Montgomery, do you now or have

           19   you ever maintained an office in Palm Desert or this

09:45:55   20   general area?

           21        A.     I'm asserting my right under the Fifth

           22   Amendment.

           23        Q.     Mr. Montgomery, you had within this office

           24   a large amount of -- strike that.

09:46:16   25               You've had in this office computer

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09:46:19   1    equipment, have you not?

           2                MR. CROCKETT:      Which office are you talking

           3    about?

           4                Which office are you talking about?           I'll

09:46:25   5    object to the question as vague and ask you to

           6    rephrase it.

           7                MR. FLYNN:     Within 300 yards of here.

           8    BY MR. CONANT:

           9         Q.     Within 300 yards of here, Mr. Montgomery,

09:46:30   10   you've maintained an office, have you not?

           11        A.     I'm asserting my right under the Fifth

           12   Amendment.

           13        Q.     What happened with the equipment that was

           14   stored in that office?

09:46:42   15        A.     I'm asserting my right under the Fifth

           16   Amendment.

           17        Q.     That was computer equipment, was it not,

           18   Mr. Montgomery, that you maintained in that office?

           19        A.     I'm asserting my right under the Fifth

09:46:50   20   Amendment.

           21        Q.     Wasn't that computer equipment that you

           22   obtained from Edra Blixseth, Mr. Montgomery?

           23        A.     I'm asserting my right under the Fifth

           24   Amendment.

09:46:57   25        Q.     Wasn't that equipment you obtained from a

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09:47:00   1    company called Blxware, Mr. Montgomery?

           2         A.     I'm asserting my right under the Fifth

           3    Amendment.

           4                MR. CROCKETT:      Why don't you just sit in

09:47:07   5    his lap.

           6                MR. CONANT:     Thank you, Mr. Crockett.         I

           7    appreciate you keeping your comments to yourself.

           8    If you're not going to object or advise your client,

           9    then you can keep your comments to yourself.

09:47:13   10               MR. CROCKETT:      I object to him continually

           11   asking questions.

           12               MR. CONANT:     He's not asking any questions,

           13   Mr. Crockett.

           14               MR. CROCKETT:      Of course not.

09:47:21   15               A little louder, then he won't have to

           16   repeat it.

           17   BY MR. CONANT:

           18        Q.     Mr. Montgomery, the computer equipment that

           19   you took out of this office that's 300 yards away

09:47:44   20   from here, that was computer equipment that you

           21   listed on your schedule; isn't that correct?

           22               MR. CROCKETT:      Object to the question.

           23   Assumes facts not in evidence.

           24               Go ahead.

09:47:52   25               THE WITNESS:     I assert my right under the

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09:47:54   1    Fifth Amendment.

           2    BY MR. CONANT:

           3         Q.     Mr. Montgomery, turn with me to your

           4    schedules, which have been marked as Exhibit 1, and

09:48:06   5    let's go ahead and lay the foundation for these

           6    first.

           7                Mr. Montgomery, do you recognize this

           8    document here that's marked as Exhibit No. 1?

           9         A.     Yeah.    Yes.

09:48:14   10        Q.     What do you recognize this document to be?

           11        A.     Looks like my bankruptcy filing.

           12        Q.     Can you clarify that for me, your

           13   bankruptcy filing?

           14        A.     Looks like a document that was used in my

09:48:30   15   bankruptcy filing.

           16        Q.     Okay.    Can you turn to the last page for me

           17   of Exhibit 1.       Up at the, I guess, the top half of

           18   the document purports to be a signature of Dennis

           19   Lee Montgomery.

09:48:46   20               Do you see that, Mr. Montgomery?

           21        A.     Yes.

           22        Q.     Is that your signature?

           23        A.     It appears to be.

           24        Q.     Do you recall signing a document that

09:48:52   25   looked like this, Mr. Montgomery?

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09:48:54   1         A.     I signed a bankruptcy document.

           2         Q.     Do you recall signing this document?

           3         A.     If this is my bankruptcy document.

           4         Q.     Is that a yes or a no?

09:49:05   5         A.     Yes.

           6         Q.     Turn with me to -- one, two, three, four --

           7    the fifth page of this, of your bankruptcy

           8    Schedule B.

           9                MR. CROCKETT:      For the record, this would

09:49:25   10   be page 22-5 as it's been handwritten in the lower

           11   right-hand corner of the document.

           12   BY MR. CONANT:

           13        Q.     Turn with me to the --

           14               MR. CROCKETT:      Is that correct, Counsel?         I

09:49:34   15   want to make sure we're on the same page.

           16               MR. CONANT:     I'm going to clarify this

           17   here.

           18        Q.     Turn with me to the following page that

           19   your counsel just identified to line number 35.               Do

09:49:46   20   you see that down at the bottom, "Other personal

           21   property of any kind not already listed"?

           22               Do you see that row I'm referring to?

           23        A.     Yes.

           24        Q.     Do you see that row identifies

09:49:58   25   approximately $38 million worth of personal

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09:50:01   1    property, Mr. Montgomery?

           2         A.     Yes.

           3         Q.     Okay.    Now flip with me to what is

           4    identified down at the bottom right-hand corner as

09:50:12   5    22-8.     I'm looking at line 20 or Entry No. 22.

           6                It's identified as Patents, Copyright and

           7    other Intellectual Property.          Do you see that,

           8    Mr. Montgomery?

           9         A.     Yes.

09:50:33   10        Q.     Look over at the right-hand column there,

           11   there purports to be a value of $10 million.

           12               Do you see that?

           13        A.     Yes.

           14        Q.     Can you explain to me what that $10 million

09:50:44   15   item of intellectual property is, Mr. Montgomery?

           16        A.     I'm asserting my right under the Fifth

           17   Amendment.

           18        Q.     All right.     Flip with me to the following

           19   page identified at the bottom right-hand corner as

09:51:00   20   page 22-9.

           21               Mr. Montgomery, are you at that page?

           22        A.     Yes.

           23        Q.     Do you see that bottom paragraph on this

           24   page that begins with "In addition"?

09:51:12   25        A.     Yes.

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09:51:12   1         Q.     Can you read that paragraph for the record,

           2    please.

           3                MR. CROCKETT:      Go ahead.

           4                THE WITNESS:     "In addition, Dennis

09:51:17   5    Montgomery is the holder of certain intellectual

           6    property rights which are subject to the National

           7    Security Act 1947, 11 U.S.C. Section 401(a) et

           8    seq" -- I guess -- I don't know what that means.

           9    BY MR. CONANT:

09:51:35   10        Q.     Et seq.

           11        A.     -- "et seq., and is by such Act prohibited,

           12   without the express consent of the United States

           13   Department of Justice and certain other agencies of

           14   the United States of America from making any

09:51:47   15   disclosures with respect thereto.

           16               "Any requested information with respect

           17   thereto must be directed to Raphael Gomez,

           18   United States Department of Justice, Civil Division,

           19   Senior Trial Counsel, 950 Pennsylvania Avenue,

09:52:02   20   Northwest, Washington, D.C., 20530, (202) 514-1318."

           21        Q.     Thank you.

           22               Mr. Montgomery, have you had any

           23   discussions within the prior year with any

           24   government agency concerning the intellectual

09:52:25   25   property that you just described?

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09:52:27   1         A.     I assert my right under the Fifth

           2    Amendment.

           3         Q.     Has your attorney, to your knowledge, been

           4    in contact with any agency of the United States

09:52:36   5    government concerning your personal property that's

           6    listed on these schedules?

           7                MR. CROCKETT:      I'll object to the question.

           8    It's plainly calling for attorney-client

           9    communication.

09:52:47   10               Instruct him not to answer.

           11               MR. FLYNN:     Have him describe the

           12   intellectual --

           13   BY MR. CONANT:

           14        Q.     Mr. Montgomery, can you briefly describe to

09:52:53   15   me the intellectual property that we're discussing

           16   here that you just described in your schedules as

           17   being subject to the National Security Act?

           18               MR. CROCKETT:      Ms. Wells, do you have any

           19   objection to him answering this question?

09:53:10   20               MS. WELLS:     No.

           21               MR. FLYNN:     See, we're on the same side.

           22               THE WITNESS:     I don't believe -- I

           23   didn't -- I don't believe I put this segment on

           24   there.    I could be wrong.       I don't recall that

09:53:18   25   specifically.

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09:53:21   1    BY MR. CONANT:

           2         Q.     Mr. Montgomery, you signed these -- you

           3    signed your schedules under penalty of perjury, did

           4    you not?

09:53:27   5         A.     Yes.

           6         Q.     So is it your testimony, Mr. Montgomery,

           7    that you have no personal property that is subject

           8    to -- I'm sorry, strike that.

           9                Is it your testimony, Mr. Montgomery, that

09:53:49   10   you have no personal property that falls within the

           11   description of this paragraph here on page 22-9?

           12               MR. CROCKETT:      I'll object to the question.

           13   It's argumentative.        It assumes facts not in

           14   evidence.

09:53:58   15               Would you like to rephrase it, Counsel?

           16               MR. CONANT:     No.   I want him to answer the

           17   question.

           18               MR. CROCKETT:      I'll instruct him not to

           19   answer.

09:54:05   20   BY MR. CONANT:

           21        Q.     Mr. Montgomery, do you have any personal

           22   property that falls within the description --

           23               MR. FLYNN:     Intellectual.

           24               MR. CONANT:     I'm sorry.     Thank you,

09:54:13   25   Mr. Flynn.

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09:54:14   1         Q.     Do you have any personal property that

           2    falls within the category of intellectual property

           3    that is described here on the bottom paragraph of

           4    22-9?

09:54:24   5                MR. CROCKETT:      Well, I'll object to the

           6    question again as it assumes facts not in evidence.

           7    It may require him to draw a legal conclusion.

           8                Why don't you define for him what you mean

           9    by intellectual property in context of the question?

09:54:35   10               MR. CONANT:     I'm asking --

           11               MR. CROCKETT:      Let me finish, Counsel.

           12   Thank you.

           13               MR. CONANT:     Are you done?

           14               MR. CROCKETT:      Yes.

09:54:41   15               MR. CONANT:     Thank you.

           16        Q.     There's a straightforward question here,

           17   Mr. Montgomery.       This bottom paragraph of your

           18   bankruptcy schedule identifies you as the holder of

           19   certain intellectual property.

09:54:56   20               Do you see that, Mr. Montgomery?

           21               MR. FLYNN:     Describe intellectual property.

           22   Please describe the intellectual property.

           23   BY MR. CONANT:

           24        Q.     Can you answer the question,

09:55:07   25   Mr. Montgomery?

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09:55:08   1                MR. CROCKETT:      Read the question back,

           2    please, would you, Ms. Reporter.

           3                MR. CONANT:     I'll just ask the question

           4    again.

09:55:16   5         Q.     Mr. Montgomery, do you see this bottom

           6    paragraph on the page identified as 22-9?

           7         A.     Yes.

           8         Q.     Do you see that it says Dennis Montgomery

           9    is the holder of certain intellectual property

09:55:32   10   rights?

           11               Do you see that, Mr. Montgomery?

           12        A.     Yes.

           13        Q.     Describe those intellectual property rights

           14   to me.

09:55:38   15        A.     I assert my right under the Fifth

           16   Amendment.

           17               MR. FLYNN:     I'm glad these gentlemen

           18   stayed.

           19               MR. CROCKETT:      Can we go off the record for

09:56:04   20   a moment, please.       I need to talk to my client.

           21               MR. CONANT:     You can go off the record.

           22               MR. CROCKETT:      Thanks.

           23               THE VIDEOGRAPHER:       Going off the record.

           24   The time is 9:56 a.m.

09:57:36   25               (Recess taken.)

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10:00:29   1                THE VIDEOGRAPHER:       The time is 10 a.m.

           2    We're back on the record.

           3                MR. CONANT:     All right.     Mr. Montgomery,

           4    I'm going to hand you what is going to be marked as

10:00:38   5    Plaintiff's Exhibit 2.

           6                You'll want a copy of this, Ms. Wells.

           7                Do you need a copy?       I'm sorry, your name

           8    again?

           9                THE REPORTER:      Stephanie.

10:01:00   10               MR. CONANT:     Stephanie.

           11               Do you need a copy, Stephanie, or are you

           12   going to get --

           13               THE REPORTER:      I can use his if he leaves

           14   them there.

10:01:05   15               MR. CONANT:     Okay.

           16               THE REPORTER:      Could you identify them for

           17   the record as we go through for me, please.              Thanks.

           18               MR. CONANT:     Yeah.

           19               (Exhibit 2 was marked for identification.)

10:01:16   20   BY MR. CONANT:

           21        Q.     Mr. Montgomery, I've handed you what is

           22   going to be marked as Plaintiff's Exhibit 2.              These

           23   are Plaintiff's Second Set of Requests for

           24   Production of Documents that were served on your

10:01:26   25   counsel in this case by me.

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10:01:32   1                Would you turn to page 2.         It's marked --

           2    at the bottom it's actually the third page of the

           3    document, but it's labeled as page 2.             Request for

           4    Production No. 1 asks you produce the source codes.

10:01:51   5    If you look above Request for Production No. 1

           6    you'll see the definition of source codes.

           7                Do you see that, Mr. Montgomery, where it

           8    defines source codes?

           9         A.     Yes.

10:02:04   10        Q.     Can you read that for me where it defines

           11   source codes?

           12        A.     "Source codes means those computer software

           13   codes that you were ordered to produce by the

           14   United States District Court for the District of

10:02:18   15   Nevada for which you were sanctioned by the Court in

           16   the amount of $2500 per day to compel your

           17   production of those codes and which are referenced

           18   in Docket Entry No. 815 in Case No. 3:06-cv-0056 in

           19   the" United -- "in the U.S. District" for the "Court

10:02:41   20   for the District of Nevada and which is attached

           21   hereto as Exhibit 1."

           22        Q.     All right.     Can you turn to Exhibit No. 1

           23   which is on the back of this document,

           24   Mr. Montgomery.

10:02:58   25               Can you review that docket entry, Docket

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10:03:02   1    Entry No. 815 and let me know when you have reviewed

           2    it to your satisfaction.

           3                (Witness complies.)

           4                THE WITNESS:     All right.      I've read it.

10:03:55   5    BY MR. CONANT:

           6         Q.     Thank you, Mr. Montgomery.

           7                Now if you recall, Mr. Montgomery, you were

           8    sanctioned by the U.S. District Court for the

           9    District of Nevada to the tune of $2500 a day until

10:04:05   10   you produced the source code as referenced in

           11   Exhibit 1; isn't that correct?

           12        A.     I didn't recall that.        I recall there was a

           13   sanction of some type.         I don't remember

           14   specifically that.

10:04:18   15        Q.     Do you recall the sanction was to compel

           16   you to produce the source codes referenced in this

           17   Exhibit 1?

           18        A.     I thought it was more than that.

           19        Q.     What else did you think it involved, the

10:04:28   20   sanction order?

           21        A.     I thought it was just a general production.

           22        Q.     Did you ever produce the source codes

           23   identified in this Exhibit 1, Mr. Montgomery?

           24               Let me clarify:      Did you ever produce the

10:04:45   25   source codes as you were ordered to do by the U.S.

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10:04:48   1    District Court for the District of Nevada?

           2         A.     I'm not certain.

           3         Q.     You're not certain whether you ever

           4    produced them, Mr. Montgomery?           Is that the answer

10:05:08   5    to the question?

           6         A.     I'm not certain.      That's my answer.

           7         Q.     Did you ever produce noise filtering codes

           8    Mr. Montgomery?

           9         A.     I don't know what you mean.

10:05:24   10        Q.     Have you ever discussed noise filtering

           11   technology to -- let me back up.

           12               Have you ever described, in any declaration

           13   or affidavit that you've signed, noise filtering

           14   technology?

10:05:44   15        A.     I'm not certain.

           16        Q.     Now these source codes here, these were

           17   source codes for software that purportedly decrypted

           18   transmissions being broadcast by Al-Jazeera?

           19               MR. CROCKETT:      Is that a question?

10:06:08   20               MR. CONANT:     Yeah.

           21               THE WITNESS:     I thought that was a

           22   statement you were making.

           23   BY MR. CONANT:

           24        Q.     Have you ever --

10:06:14   25               MR. FLYNN:     Have you ever described to

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10:06:15   1    anyone --

           2    BY MR. CONANT:

           3         Q.     Have you ever described to anyone in any

           4    form a noise filtering technology that you had

10:06:22   5    created?

           6                MR. CROCKETT:      Technology different from

           7    software?     Object to the question as vague,

           8    ambiguous, not calculated to lead to the discovery

           9    of admissible evidence.

10:06:35   10   BY MR. CONANT:

           11        Q.     When I refer to technology, Mr. Montgomery,

           12   I refer to the word in the broadest sense, but as

           13   relevant here it'll refer primarily to software,

           14   computer software.

10:06:51   15               MR. CROCKETT:      What else does it refer to,

           16   Counsel?

           17               MR. CONANT:     I want Mr. Montgomery to

           18   explain.

           19               MR. CROCKETT:      Explain --

10:06:58   20               MR. CONANT:     He's represent --

           21               MR. CROCKETT:      Excuse me, may I finish?

           22               MR. CONANT:     No, let me finish.

           23               MR. CROCKETT:      You had finished the

           24   question.     You interrupted me, Mr. Conant.

10:07:04   25               MR. CONANT:     Thank you, Mr. Crockett.

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10:07:06   1                MR. CROCKETT:      You're welcome and I'll

           2    continue to speak, if I may, because you're asking

           3    him now to define what you mean by the use of the

           4    word technology and I'll instruct him not to answer

10:07:16   5    to the extent there's any question pending and ask

           6    you to rephrase.

           7                MR. FLYNN:     That's your copy.       That's their

           8    copy.     I'll make sure we've got the same one.

           9                MR. CONANT:     Is it --

10:07:32   10               MR. FLYNN:     Yeah, that's his.

           11               MR. CONANT:     We have four of these.

           12               MR. FLYNN:     That's yours, Mr. Crockett.

           13   That's yours, Carly.

           14               MS. WELLS:     Thank you.

10:07:43   15               MR. CONANT:     Mr. Montgomery, I'm handing

           16   you what's going to be marked as Plaintiff's Exhibit

           17   No. 3.

           18               (Exhibit 3 was marked for identification.)

           19   BY MR. CONANT:

10:08:14   20        Q.     Mr. Montgomery, I've handed you what's

           21   going to be marked as Plaintiff's Exhibit No. 3.

           22   The title of this document is Sealed Declaration of

           23   Dennis Montgomery in Support of his Oppositions to

           24   DOD's and eTreppid's Motion for Protective Orders.

10:08:28   25               Do you see that on the first page,

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10:08:29   1    Mr. Montgomery?

           2          A.    Yes.

           3          Q.    Turn with me, Mr. Montgomery, to the second

           4    to last page of this document.           Do you see where it

10:08:41   5    says Dennis Montgomery on the signature line,

           6    Mr. Montgomery?

           7          A.    Yes.

           8          Q.    Is that your signature, Mr. Montgomery?

           9          A.    It appears so.

10:08:53   10         Q.    Mr. Montgomery, turn with me to page No. 4.

           11         A.    4 at the bottom or the fourth page?

           12         Q.    Page No. 4 at the bottom, meaning the

           13   number 4 appears at the bottom the page.

           14         A.    Yeah. Okay.

10:09:10   15         Q.    I'm going to read line No. 1 here beginning

           16   with the sentence, "I have."          Please read along with

           17   me:    "I have provided the," quote --

           18         A.    I'm not on the right page then.          You're

           19   talking 4 on the bottom?

10:09:24   20         Q.    Page 4 on the bottom.

           21         A.    What line number?

           22         Q.    Line No. 1.

           23               MR. FLYNN:     You're there.

           24               THE WITNESS:     My line says, "The local."

           25   ///

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10:09:31   1    BY MR. CONANT:

           2         Q.     I'm starting with the first full sentence.

           3         A.     Oh, I'm sorry.      Okay.

           4         Q.     "I have provided the 'output' from my

10:09:39   5    decoding programs without compensation to our

           6    government in order to stop terrorist attacks and

           7    save American lives.

           8                "My source codes for this decoding

           9    technology, which derives from my 'ODS' are what

10:09:51   10   Trepp and several government officials were

           11   attempting to steal from me when they raided my

           12   home."

           13               Is that your statement, Mr. Montgomery?

           14               MR. CROCKETT:      Document speaks for itself.

10:10:02   15   BY MR. CONANT:

           16        Q.     Mr. Montgomery, can you answer the

           17   question, please.

           18        A.     What's the question?

           19        Q.     Is that your statement?

10:10:10   20        A.     It's written on that piece of paper.

           21        Q.     Which you signed; is that correct,

           22   Mr. Montgomery?

           23               MR. CROCKETT:      Counsel, this is really

           24   argumentative.       You know that this is a statement

10:10:22   25   out of a declaration that he signed October 30th,

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10:10:26   1    2006.

           2    BY MR. CONANT:

           3         Q.     Mr. Montgomery, is that a truthful

           4    statement on your part?

10:10:34   5                MR. CROCKETT:      At what point in time,

           6    Counsel?     The question is vague and ambiguous.

           7    BY MR. CONANT:

           8         Q.     When you wrote it, Mr. Montgomery.

           9                MR. CROCKETT:      That also assumes facts not

10:10:44   10   in evidence.

           11               MR. CONANT:     I'm sorry, let me back up.

           12        Q.     When you signed this document, was this a

           13   truthful statement on your part?

           14        A.     I'm going to assert my right under the

10:11:03   15   Fifth Amendment.

           16        Q.     Mr. Montgomery, describe what this decoding

           17   program is and what you -- sorry.

           18               Describe what you mean on this line 1 by

           19   "decoding programs."

10:11:30   20        A.     I'm going to assert my right under the

           21   Fifth Amendment.

           22        Q.     Mr. Montgomery, describe what you mean on

           23   line 2, starting with the first full sentence on

           24   line 2, quote, "My source codes."

10:11:41   25               Please describe to me what "my source

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10:11:48   1    codes" refers to?

           2         A.     I'm going to assert my right under the

           3    Fifth Amendment.

           4         Q.     These, quote, unquote, "source codes," are

10:11:56   5    they not the same source codes that you identified

           6    on your bankruptcy schedules on -- and then turn

           7    back to -- we have Plaintiff's Exhibit 1, which is

           8    the bankruptcy schedules.

           9                MR. FLYNN:     Did you read the whole thing

10:12:21   10   into the record?

           11   BY MR. CONANT:

           12        Q.     All right.     Before you answer that

           13   question, let me go back, Mr. Montgomery.

           14        A.     Go back to what?

10:12:43   15        Q.     We're going to go back to Plaintiff's

           16   Exhibit --

           17               Stephanie, what Plaintiff's exhibit are we

           18   on right now?

           19               THE REPORTER:      3.

10:12:55   20               MR. CROCKETT:      Are we marking the

           21   declaration?

           22               MR. CONANT:     Yeah, start marking these

           23   things.

           24               Let me go -- can we go off the record here

10:13:02   25   for a second so I can get the exhibits straightened

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10:13:05   1    out here.

           2                THE VIDEOGRAPHER:       Going off the record.

           3    The time is 10:13 a.m.

           4                (Break in the proceedings.)

10:13:58   5                THE VIDEOGRAPHER:       The time is 10:14 a.m.

           6    We're back on the record.

           7    BY MR. CONANT:

           8         Q.     All right.     Mr. Montgomery, I wanted to

           9    back up.     Before we went off the record, I wanted to

10:14:07   10   back up to my questioning pertaining to Exhibit

           11   No. 3, which is the Sealed Declaration of Dennis

           12   Montgomery in Support of his Oppositions to DOD's

           13   and eTreppid's Motions for Protective Order, which

           14   is a declaration you signed under penalty of

10:14:23   15   perjury.

           16               Turn with me to the page identified at the

           17   bottom as page No. 4 of this document.             And, just to

           18   clarify, the paragraph I'm reading from begins on

           19   line 1, goes to line 4 to 5.

10:14:45   20               MR. CROCKETT:      Actually, the paragraph

           21   begins on line 25 of the preceding page, Counsel.

           22               MR. CONANT:     I'm reading from line 1 of

           23   page 4 at the very beginning of the first full

           24   sentence.

10:14:55   25               MR. FLYNN:     Read the entire --

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10:14:57   1    BY MR. CONANT:

           2         Q.     And please follow along, Mr. Montgomery.

           3                "I have provided the 'output' from my

           4    decoding programs without compensation to our

10:15:07   5    government in order to stop terrorist attacks and

           6    save American lives.        My source codes for this

           7    decoding technology which derives from my 'ODS' are

           8    what Trepp and several government officials were

           9    attempting to steal from me when they raided my

10:15:23   10   home.

           11               MR. FLYNN:     Did you ever create any source

           12   code that was used to stop terrorist attacks?

           13   BY MR. CONANT:

           14        Q.     Mr. Montgomery, have you ever created any

10:15:37   15   source code that was used to stop terrorist attacks?

           16        A.     I'm going to assert my right under the

           17   Fifth Amendment.

           18               MR. FLYNN:     All right.

           19               MR. CONANT:     I'm going to keep going.

10:15:49   20        Q.     All right.     Mr. Montgomery, turn with me

           21   back to Plaintiff's Exhibit No. 2.

           22               All right.     We'll go look at Request for

           23   Production No. 1 where you are requested to produce

           24   the source codes.       I'm going to hand you what will

10:16:16   25   be marked as Plaintiff's Exhibit No. --

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10:16:34   1                THE REPORTER:      -- 4.

           2                MR. CONANT:     -- 4.

           3                I got it.

           4                All right.     Mr. Montgomery, I've handed you

10:16:55   5    what's marked as Plaintiff's Exhibit No. 4.              This is

           6    Dennis Montgomery's Responses to Plaintiff's

           7    Requests for Production of Documents, Set Two.

           8                (Exhibit 4 was marked for identification.)

           9    BY MR. CONANT:

10:17:09   10        Q.     Turn with me to what's identified as page 3

           11   on the bottom of -- on the bottom of page 3,

           12   Response to -- I'm reading, "Response to Request for

           13   Production No. 1."

           14               Your response, Mr. Montgomery, if you read

10:17:29   15   with me beginning on line 20 says, "Subject to and

           16   without waiving the foregoing objections, Defendant

           17   responds as follows:        After diligent search and

           18   reasonable inquiry, the source codes are not in the

           19   possession, custody or control of the Defendant.

10:17:47   20               "Defendant believes the source codes may be

           21   in the possession, custody or control of the

           22   United States Government."

           23               Do you see that, Mr. Montgomery?

           24        A.     Yes.

10:17:56   25        Q.     Is that a truthful statement,

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10:17:57   1    Mr. Montgomery?

           2         A.     Well, there's several statements there.

           3    Which one?

           4                MR. CROCKETT:      I'll object.     Compound.

10:18:04   5    BY MR. CONANT:

           6         Q.     The source codes are in the possession of

           7    the government.

           8         A.     I turned 12 drives over to the Liner law

           9    firm as part of the discovery order that was issued

10:18:17   10   by Judge Cook.       I believe it was in June of '09.

           11               No, excuse me, May of '09.         May of '0- --

           12   yes, May of '09, prior to my bankruptcy filing.

           13        Q.     Mr. Montgomery, is your testimony that

           14   these source codes, which you've identified as worth

10:18:51   15   $500 million, are no longer in your possession?

           16               MR. CROCKETT:      Sir, if you're referring to

           17   a document or a statement that he's made --

           18               THE WITNESS:     I don't --

           19               MR. CROCKETT:      -- I'll object.      Assumes

10:19:01   20   facts not in evidence.         Lacks foundation.       Vague.

           21   Ambiguous.      And if you'd read it back, I think it's

           22   confusing too, but let's read it back.

           23               MR. FLYNN:     What is your --

           24               MR. CONANT:     As long as he's talking, she

10:19:15   25   can't read the question back, because she's required

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10:19:20   1    to take down every word that's said in this room,

           2    Mr. Conant.

           3                THE REPORTER:      That I can hear.

           4                MR. CROCKETT:      That you can hear.       Well --

10:19:30   5    BY MR. CONANT:

           6         Q.     Mr. Montgomery, what is your evaluation --

           7                MR. CROCKETT:      Are you withdrawing the

           8    prior question?

           9                MR. CONANT:     I'm continuing on with the

10:19:38   10   deposition.

           11        Q.     Mr. Montgomery, what is your evaluation of

           12   these source codes that you refer to here in

           13   Response to Request for Production No. 1?

           14               MR. CROCKETT:      Well, the question lacks

10:19:48   15   foundation.      It's vague.     It's ambiguous.       It may be

           16   compound.

           17               Can you answer it as it's phrased or should

           18   he rephrase it?

           19               THE WITNESS:     I don't understand what

10:20:01   20   you're asking me.

           21   BY MR. CONANT:

           22        Q.     Mr. Montgomery, these source codes that are

           23   referred to in these requests for production of

           24   documents, these are included within the

10:20:17   25   intellectual property you identify in your

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10:20:19   1    bankruptcy schedules, are they not?

           2         A.     I don't understand that question.

           3         Q.     The source codes --

           4                MR. FLYNN:     Start here where he says --

10:20:36   5                MR. CONANT:     All right.

           6         Q.     All right.     We're going to withdraw the

           7    prior line of questioning.          We'll go back to Exhibit

           8    No. 3.

           9                MR. FLYNN:     Read it into record.

10:20:59   10   BY MR. CONANT:

           11        Q.     All right.     Mr. Montgomery, turn to page

           12   No. 5 of this document.         I'm looking at the

           13   beginning of paragraph No. 8 or labeled as paragraph

           14   No. 8.

10:21:20   15               Do you see that, Mr. Montgomery, begins

           16   with, "In September 2005"?

           17        A.     I see the paragraph.

           18        Q.     Okay.    I'm going to read into the record

           19   the first sentence of that paragraph.

10:21:29   20               "In September 2005 Trepp told me that the

           21   government had appropriated $100 million for the

           22   coding technology but he was demanding

           23   $500,000,000."

           24               Do you see that sentence, Mr. Montgomery?

10:21:46   25        A.     The quote by Trepp?

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10:21:49   1                MR. CROCKETT:      It's a yes-or-no question.

           2    BY MR. CONANT:

           3         Q.     The whole sentence that I just read, the

           4    whole first sentence of paragraph No. 8,

10:21:55   5    Mr. Montgomery.

           6         A.     I see it.

           7         Q.     Was that a truthful statement when you made

           8    that, Mr. Montgomery?

           9                MR. CROCKETT:      So we're clear, are you

10:22:04   10   asking is it truthful that Trepp told him that?

           11               MR. CONANT:     I'm asking is the sentence

           12   true.

           13               MR. CROCKETT:      That in September 2005 Trepp

           14   told him the following information?

10:22:14   15               MR. CONANT:     Yes.

           16               THE WITNESS:     It's on the declaration.

           17               MR. FLYNN:     Where is the decoding

           18   technology.

           19   BY MR. CONANT:

10:22:20   20        Q.     Where is the decoding technology,

           21   Mr. Montgomery?

           22        A.     Is this Mr. Flynn asking me or you?

           23        Q.     I'm asking you.      There's a question

           24   pending.

10:22:29   25               Where is the decoding technology that you

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10:22:32   1    reference in the sentence that I just read?

           2                MR. CROCKETT:      If you know.

           3                THE WITNESS:     I don't recall.

           4                MR. FLYNN:     Do you have possession of it

10:22:39   5    now.

           6    BY MR. CONANT:

           7         Q.     Do you have possession of this technology

           8    now, Mr. Montgomery?

           9         A.     What technology?

10:22:45   10        Q.     The decoding technology referenced in the

           11   sentence I just read.

           12        A.     That was used in what time frame?

           13               MR. CROCKETT:      I'm going to object to the

           14   entire line of questioning, because this is all

10:22:53   15   based on decoding technology as described by Warren

           16   Trepp in this declaration and perhaps you should ask

           17   Mr. Trepp what he meant and get that on the record

           18   so we can then have his --

           19               MR. FLYNN:     That's false.      The decoding

10:23:03   20   technology was referenced earlier by him.

           21               MR. CROCKETT:      If he's Geppetto, what does

           22   that make you?

           23               MR. FLYNN:     Statement.

           24               MR. CONANT:     The document speaks for

10:23:18   25   itself.

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10:23:18   1                MR. CROCKETT:      Yes, it does.

           2                MR. CONANT:     Are you testifying,

           3    Mr. Crockett, or is your client testifying?

           4                MR. CROCKETT:      Is he asking questions or

10:23:26   5    are you?

           6                MR. CONANT:     It doesn't matter,

           7    Mr. Crockett.      It frankly doesn't matter.          I don't

           8    understand.

           9                If you want to get into this whole --

10:23:34   10               MR. FLYNN:     Just ignore him.

           11               Do you have any source code technology in

           12   your possession as described in your bankruptcy

           13   schedule.

           14               MR. CONANT:     Let's take a -- we're going to

10:23:44   15   take a brief recess and go off the record here.

           16               THE VIDEOGRAPHER:       Going off the record.

           17   The time is 10:23 a.m.

           18               (Recess taken.)

           19               THE VIDEOGRAPHER:       The time is 10:29 a.m.

10:29:34   20   We're back on the record.

           21               MR. FLYNN:     Truth always triumphs.

           22               THE WITNESS:     Ha ha, from you.

           23               MR. FLYNN:     Just depends on the body count

           24   to get there.

           25   ///

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10:29:55   1    BY MR. CONANT:

           2         Q.     All right.     Mr. Montgomery --

           3                We're back on the record, Stephanie?

           4                Thank you.

10:30:00   5                Turn with me to Plaintiff's Exhibit No. 3,

           6    if you would, page No. 2 and, just to be clear,

           7    there's -- going forward on this deposition if

           8    there's a document with a page number at the bottom,

           9    when I refer to the page number I'm referring to the

10:30:17   10   actual number identified at the bottom of the page.

           11               Do you understand, Mr. Montgomery?

           12        A.     Yes.   Yes.

           13        Q.     Great.

           14               Look with me, page No. 2 right between

10:30:31   15   lines 18 and 19.

           16               MR. FLYNN:     20, read it.

           17   BY MR. CONANT:

           18        Q.     I'm going to read here this paragraph that

           19   starts, "Multiple software programs developed,

10:30:51   20   owned, possessed and used exclusively by me derived

           21   from my 'ODS' between 1984 and December 31, 2002,

           22   some of the source codes for which are direct

           23   derivative of my copyrights and which, beginning in

           24   November 2002, I began to adapt to military

10:31:13   25   applications on behalf of the Department of Defense,

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10:31:15   1    the Navy, the Air Force and" redacted, "mostly

           2    utilized in the war on terror between March 2003 and

           3    the present."

           4                MR. FLYNN:     Is that a truthful statement?

10:31:32   5    BY MR. CONANT:

           6         Q.     Is that a truthful statement,

           7    Mr. Montgomery?

           8                MR. CROCKETT:      I'm going to object to the

           9    question, because it's compound because there are

10:31:40   10   multiple statements in there.

           11               So are you asking him the entirety or you

           12   want to break it down?

           13               MR. FLYNN:     Any part.

           14   BY MR. CONANT:

10:31:48   15        Q.     Is there any part of what I just read

           16   that's not true, Mr. Montgomery?

           17        A.     Is there any part that's not true?

           18               Which -- is there any -- it's like a double

           19   negative you're asking me.

10:32:03   20               MR. CROCKETT:      Yeah.

           21   BY MR. CONANT:

           22        Q.     Is there anything -- is there anything

           23   that's not true in there, Mr. Montgomery?

           24               You wrote that, I want to know --

10:32:09   25        A.     Actually, Mr. Flynn wrote it; I didn't.

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10:32:12   1          Q.    You signed it.

           2          A.    Mr. Flynn wrote it.       Mr. Flynn wrote all of

           3    this.      Let's make it clear.

           4          Q.    You signed it.

10:32:19   5          A.    Mr. Flynn wrote this.

           6                MR. FLYNN:     Just say is any part of it

           7    untrue.

           8                THE WITNESS:     Mr. Flynn, you wrote it as my

           9    attorney.     Did you or did you not write it?

10:32:30   10               He's here.     Let's just --

           11   BY MR. CONANT:

           12         Q.    He's not --

           13         A.    But he has no problem asking questions,

           14   have him answer it.        Did you write this?       Did you

10:32:36   15   write this?

           16               MR. FLYNN:     Next question.

           17               THE WITNESS:     Yeah.

           18   BY MR. CONANT:

           19         Q.    This is a deposition of you,

10:32:40   20   Mr. Montgomery.       The questions are being asked of

           21   you, not of anybody else in here.

           22               MR. FLYNN:     Is any part of that untrue --

           23               THE WITNESS:     Are you asking the question

           24   or your attorney?

           25   ///

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10:32:47   1    BY MR. CONANT:

           2         Q.     Mr. Montgomery, is any part of that

           3    statement untrue which I just read into the record?

           4                MR. CROCKETT:      Well, I'll object.

10:32:55   5                THE WITNESS:     I don't know what's redacted.

           6    Maybe if you tell me what's redacted I could tell

           7    you.

           8    BY MR. CONANT:

           9         Q.     What I read, is there anything in here

10:33:02   10   that's not true, Mr. Montgomery?

           11        A.     Is there anything in here that's not true?

           12               MR. CROCKETT:      Are you asking as of today?

           13   As of the date it was signed?          What?    It's vague as

           14   to time.     It's also compound and I object on that

10:33:13   15   basis.

           16   BY MR. CONANT:

           17        Q.     When Mr. Montgomery signed this under

           18   penalty of perjury --

           19        A.     You mean the document that Mr. Flynn wrote.

10:33:19   20               MR. CROCKETT:      Just listen to the question.

           21   BY MR. CONANT:

           22        Q.     Mr. Montgomery, when you signed that

           23   document under penalty of perjury, is there anything

           24   in that statement that is untrue?

10:33:27   25        A.     I'm not certain.

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10:33:33   1                MR. FLYNN:     Just read the entire thing.

           2    BY MR. CONANT:

           3         Q.     All right.     Turn with me to page No. 4,

           4    line 16, Mr. Montgomery, and we're again on

10:33:45   5    Plaintiff's Exhibit No. 3.

           6                I'm going to start reading from the first

           7    full paragraph of line 16, "No person at eTreppid is

           8    able" --

           9         A.     Oh, wait, I'm sorry.       Page 4?

10:34:01   10        Q.     Correct.

           11        A.     I'm sorry, go ahead.

           12        Q.     "No person at eTreppid is able, to my

           13   knowledge, to create the source codes that I have

           14   created having multiple applications in the war on

10:34:11   15   terror and other military uses.

           16               "Conclusive proof on this issue is

           17   established by the recent interception of the

           18   attempts by terrorists operating out of London to

           19   blow up jetliners originating in London and bound

10:34:26   20   for the U.S.

           21               "I gave the appropriate authorities within

           22   the U.S. Government accurate and very specific

           23   intelligence regarding this terrorist plot from 'my

           24   decoding software,' as I had done in the past, weeks

10:34:38   25   prior to the arrest by the London authorities --

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10:34:38   1    without compensation."

           2                I'm going to continue on to paragraph 7.

           3    "Neither Warren Trepp nor eTreppid Technologies nor

           4    any person working there have ever owned, possessed

10:34:52   5    or processed 'output' from my source codes using the

           6    special government contracts.

           7                "Other eTreppid individuals, as well as

           8    government officials identified herein, had access

           9    to the output only after I had processed it."

10:35:10   10               Moving on to the following paragraph, "In

           11   September 2005, Trepp told me that the government

           12   had appropriated $100 million for the 'decoding

           13   technology' but he was demanding $500 million."

           14               MR. FLYNN:     Is any part of that untrue?

10:35:29   15   BY MR. CONANT:

           16        Q.     Mr. Montgomery, is any part of what I read,

           17   from page 4 starting at line 16 and continuing on to

           18   page 5 ending on line 4 and a half, untrue?

           19               MR. CROCKETT:      I'll object to the question

10:35:43   20   as assuming facts not in evidence.            It's also

           21   argumentative.

           22               You've taken statements out of context.

           23   You're taking partial statements from a declaration

           24   he signed under penalty of perjury and you haven't

10:35:55   25   established the appropriate foundation to do that.

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10:36:01   1                In addition to which the document that is

           2    in front of him is redacted by someone other than us

           3    and I believe, based on his prior testimony, he's

           4    not certain of the statements that have been

10:36:12   5    redacted and therefore presents a difficult problem

           6    for him to try to answer the question as you phrased

           7    it.

           8                You want to try to rephrase it?

           9                MR. CONANT:     No.   Mr. Crockett, for the

10:36:22   10   record, none of what I just read was redacted from

           11   the document.

           12               No. 2, I'll remind you your client is

           13   testifying, not you.        You're coaching the witness

           14   and you're obstructing his testimony, for the

10:36:33   15   record.

           16               MR. CROCKETT:      For the record, that's --

           17   you've made your statement.

           18               THE WITNESS:     I don't know.      What's the

           19   question?

10:36:41   20               MR. FLYNN:     Is any part of it untrue.

           21               THE WITNESS:     Is he asking it or you?

           22               MR. CROCKETT:      For the record, who's asking

           23   the questions, Counsel?

           24               THE WITNESS:     There's two people asking

10:36:49   25   questions.

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10:36:50   1                MR. CROCKETT:      Which one should we listen

           2    to?

           3    BY MR. CONANT:

           4          Q.    Mr. Montgomery, is any part of that

10:36:53   5    statement untrue?

           6                MR. CROCKETT:      Any part of what statement,

           7    Counsel?

           8                THE WITNESS:     Which one?

           9                MR. CONANT:     Again, Mr. Crockett --

10:36:56   10               (Simultaneous colloquy.)

           11               THE REPORTER:      One at a time, please.

           12               MR. CONANT:     For the record, Mr. Montgomery

           13   and Mr. Crockett have felt it necessary to raise

           14   their voices during this exchange for whatever

10:37:08   15   reason.

           16               Now there's a question pending here.            Was

           17   any of the statement, which I've identified as

           18   beginning on page 4, line 16, continuing to page 5,

           19   line 4 and a half, is any of that untrue,

10:37:21   20   Mr. Montgomery?

           21               MR. CROCKETT:      The question is vague.        It's

           22   ambiguous.

           23               MR. CONANT:     You've already objected.

           24   Thank you, Mr. Crockett.

10:37:27   25               MR. CROCKETT:      You've interrupted me again

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10:37:29   1    and the next time we'll adjourn the depo, if you

           2    like, and go take this to a judge.            I'd be glad to

           3    put this record in front of a judge and let the

           4    judge decide whether or not what you're doing here

10:37:37   5    is appropriate.

           6                MR. CONANT:     Very good.

           7                MR. CROCKETT:      Now if you'd like to let me

           8    finish my objection, I will, and if you want to cut

           9    me off, just say so.

10:37:43   10               MR. FLYNN:     Get an answer.

           11   BY MR. CONANT:

           12        Q.     I want an answer.

           13        A.     Is he asking the question or are you?

           14               MR. CROCKETT:      Can you read the question

10:37:50   15   back that he's supposed to be answering, please.

           16               THE WITNESS:     Yeah.

           17               MR. CONANT:     I'll just read it again.

           18        Q.     Mr. Montgomery --

           19        A.     Starting on what page?

10:38:12   20               Starting on what page?        Bottom of page 4?

           21               MR. CROCKETT:      He said he's going to ask

           22   the question again.

           23   BY MR. CONANT:

           24        Q.     Mr. Montgomery, is any part of your

10:38:25   25   statements on page 4, beginning at line 16, and

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10:38:31   1    continuing to page 5, line 4 and a half, untrue?

           2                MR. CROCKETT:      Sorry, the reference again?

           3    Page what to what?

           4                MR. CONANT:     We're looking, again, at

10:38:45   5    Plaintiff's Exhibit No. 3.

           6                MR. CROCKETT:      I understand the exhibit.         I

           7    want to make sure I've got the right --

           8                MR. CONANT:     For I think the sixth time now

           9    I'll identify the statement made by Mr. Montgomery

10:38:56   10   beginning on page 4, line 16, and going on to page

           11   5, line 4 and a half.

           12               THE WITNESS:     Well, the statement was made

           13   by Mr. Flynn.      I signed the declaration.         This was

           14   written by Mr. Flynn.        We got it?

10:39:09   15               MR. CROCKETT:      Just --

           16               THE WITNESS:     I don't recall.

           17               MR. CROCKETT:      The sentence that starts at

           18   page 4, line 16, and you want it ended at

           19   paragraph 8 on page 5 at line 7; is that right,

10:39:25   20   Counsel?

           21               MR. CONANT:     It's on the record the lines

           22   that I want him to identify.

           23               THE WITNESS:     Yeah, I don't recall.

           24   BY MR. CONANT:

10:39:30   25        Q.     You don't recall if it's true or not,

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10:39:32   1    Mr. Montgomery?

           2                MR. CROCKETT:      That's argumentative.        Don't

           3    answer.

           4    BY MR. CONANT:

10:39:36   5         Q.     Mr. Montgomery -- okay.         Let's narrow down

           6    the details here.       Did you provide conclusive proof

           7    that -- I'm sorry.        Let me back up.

           8                Did you provide the U.S. Government with

           9    information -- with information concerning attempts

10:40:02   10   by terrorists to blow up jetliners?

           11               MR. CROCKETT:      At any point in time?

           12   BY MR. CONANT:

           13        Q.     With respect to reference to the statement.

           14        A.     I don't recall if I did.

10:40:18   15        Q.     The statement where it says, "No person at

           16   eTreppid is able, to my knowledge, to create the

           17   source codes that I have created," what are these

           18   source codes that you have created, Mr. Montgomery?

           19               Can you please describe those.

10:40:39   20        A.     In regard to what?       ODS?

           21        Q.     Mr. Montgomery, I'm asking -- I'm reading

           22   beginning on page 4, line 16, first full sentence

           23   beginning on line 16, "No person at eTreppid is

           24   able, to my knowledge, to create the source codes

10:41:00   25   that I have created."

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10:41:01   1                What are those source codes that you have

           2    created that you're referring to right there?

           3         A.     I don't recall specifically.

           4         Q.     You don't recall what those source codes

10:41:11   5    are, Mr. Montgomery?

           6         A.     Be specific.

           7         Q.     Have you created source codes for use by

           8    the U.S. Government, Mr. Montgomery?

           9         A.     Yes.

10:41:18   10        Q.     Can you describe the source codes that

           11   you've created for use by the U.S. Government?

           12        A.     During what time frame?

           13               MR. FLYNN:     Any time.

           14   BY MR. CONANT:

10:41:27   15        Q.     Any time frame.

           16        A.     I would have to violate the U.S. protective

           17   order to do that.

           18        Q.     Mr. Montgomery, according to the U.S.

           19   protective order, only the U.S. Government has the

10:41:37   20   right to --

           21        A.     Okay, I'm sorry.

           22        Q.     -- to invoke protection under the

           23   protective order.

           24        A.     But if I don't tell the Government I'm

10:41:40   25   going to violate the protective order then I would

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10:41:42   1    violate it, wouldn't I?

           2         Q.     I would want you to answer the question.

           3         A.     I just --

           4         Q.     Continue with your answer.

10:41:49   5         A.     I've answered it.

           6         Q.     Mr. Montgomery, for the record, the

           7    protective order --

           8                MR. FLYNN:     Don't go there.

           9                MR. CONANT:     All right.

10:41:57   10               MR. FLYNN:     Ask him if he gave --

           11               MR. CONANT:     Let me --

           12               MR. FLYNN:     -- very specific intelligence

           13   regarding decoding -- did he give that information.

           14   Did he give that information.

10:42:13   15   BY MR. CONANT:

           16        Q.     Read with me, Mr. Montgomery, on page 4,

           17   line 21, beginning with the first full sentence.

           18               MR. FLYNN:     This the Cheney office.

           19   BY MR. CONANT:

10:42:23   20        Q.     "I gave the appropriate authorities within

           21   the U.S. Government accurate and very specific

           22   intelligence regarding this terrorist plot from my

           23   decoding software, as I have done in the past, weeks

           24   prior to the arrests by the London authorities --

10:42:35   25   without compensation."

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10:42:38   1                MR. FLYNN:     Did you do that.

           2    BY MR. CONANT:

           3         Q.     Did you give -- did you give the U.S.

           4    Government this -- this very specific intelligence

10:42:46   5    that you're referring to here?

           6         A.     I'm going to assert my right under the

           7    Fifth Amendment.

           8         Q.     Isn't it true, Mr. Montgomery, that this,

           9    quote, unquote, "decoding software" that you

10:42:58   10   reference on line 22 is just a complete fraud?

           11               MR. CROCKETT:      Hold it.

           12               Go ahead.

           13               THE WITNESS:     I'm going to assert my right

           14   under the Fifth Amendment.

10:43:14   15               I couldn't hear Mr. Flynn's question.

           16               MR. CONANT:     That's fine.      I'll repeat it.

           17               THE WITNESS:     Okay.

           18   BY MR. CONANT:

           19        Q.     Beginning on line 21, going to line 24 and

10:43:22   20   a half where you reference this very specific

           21   intelligence regarding the terrorist plot that you

           22   got from your decoding software regarding these

           23   arrests in London, isn't that the same information

           24   you and Edra Blixseth provided to a person within

10:43:39   25   Dick Cheney's office?

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10:43:42   1                MR. CROCKETT:      I'll object to the question.

           2    It lacks foundation.        It assumes facts not in

           3    evidence.     It may be argumentative, I'm not sure.             I

           4    don't know enough about the question.

10:43:50   5                Can you answer it the way it's phrased?

           6                THE WITNESS:     No.

           7                I don't understand what you're asking me.

           8    BY MR. CONANT:

           9         Q.     Did you provide -- have you ever talked to

10:43:55   10   anyone within Dick Cheney's office regarding --

           11   regarding your decoding software?

           12        A.     I went to their office.        I don't recall

           13   that specifically.

           14        Q.     Can you explain to me what your visit to

10:44:13   15   Dick Cheney's office was about?

           16        A.     No.

           17        Q.     Why can you not explain it?

           18        A.     I can't recall.

           19               MR. FLYNN:     Did you give him a CD.

10:44:20   20   BY MR. CONANT:

           21        Q.     You mean to tell me that you met with

           22   someone in the vice president's office and you can't

           23   recall what it was about, Mr. Montgomery?

           24               MR. CROCKETT:      Don't answer that question.

10:44:29   25   It's argumentative.

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10:44:29   1                I'll object and instruct him not to answer.

           2                MR. FLYNN:     Did you give him a CD with the

           3    alleged terrorist plots.

           4    BY MR. CONANT:

10:44:33   5          Q.    Did you give anyone in Dick Cheney's office

           6    a CD regarding alleged terrorist plots?

           7                THE WITNESS:     I don't recall.

           8                MR. FLYNN:     Did you give it to Tim Blixseth

           9    instead?     Did you give the CD to Tim Blixseth?

10:44:43   10   BY MR. CONANT:

           11         Q.    Did you give the CD to Tim Blixseth?

           12         A.    Is this Mr. Blixseth and you are both

           13   Mr. Blixseth's attorneys?         Is this a Blixseth

           14   question or a Flynn question?

10:44:52   15         Q.    I'm asking the questions, Mr. Montgomery.

           16         A.    Yeah.

           17               MR. CROCKETT:      Let's let him get it out on

           18   the record.

           19               Go ahead.

10:44:58   20   BY MR. CONANT:

           21         Q.    Have you given any information about

           22   terrorist plots to Tim Blixseth, Mr. Montgomery?

           23               MR. CROCKETT:      At any point in time.

           24               THE WITNESS:     I don't recall.

           25   ///

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10:45:07   1    BY MR. CONANT:

           2          Q.    You don't recall if you have or not?

           3          A.    That's correct.      That's my answer.

           4          Q.    So you've got -- I'm reading this

10:45:12   5    declaration of yours, Mr. Montgomery --

           6          A.    The one that Mr. Flynn wrote.

           7          Q.    -- you're referencing all this source code.

           8                What is the source code all about?           Can you

           9    tell me about it?

10:45:22   10         A.    I don't recall specifically.

           11         Q.    You don't recall what all this source code

           12   is about concerning terrorist attacks?

           13               MR. CROCKETT:      Question is argumentative.

           14   I'll object.

10:45:34   15               THE WITNESS:     Ever?

           16   BY MR. CONANT:

           17         Q.    Yes.

           18         A.    Ever.    Violates the United States

           19   protective order.

10:45:39   20               MR. CONANT:     Ms. Wells, is there anything

           21   in my question that would violate the U.S.

           22   protective order?

           23               MS. WELLS:     Can you please read the

           24   question to me.

           25   ///

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10:45:48   1    BY MR. CONANT:

           2         Q.     Mr. Montgomery, the source code --

           3                MR. CROCKETT:      You're withdrawing the prior

           4    question?

10:45:53   5                MR. CONANT:     I'm rephrasing it.

           6         Q.     Is there anything -- okay.         Let's back up

           7    here and stay with me, if you can, Mr. Montgomery.

           8         A.     I'll try.

           9         Q.     Okay.    There's lots of references in this

10:46:03   10   declaration about your source code, isn't there?

           11        A.     You want me to read the whole thing?

           12               MR. CROCKETT:      Document speaks for itself.

           13   Next question.

           14   BY MR. CONANT:

10:46:11   15        Q.     This is about the source code, isn't it,

           16   Mr. Montgomery?

           17               MR. CROCKETT:      What's "this"?

           18               MR. CONANT:     The document I'm referring to.

           19   The document, Plaintiff's Exhibit 3.

10:46:18   20               MR. CROCKETT:      The document speaks for

           21   itself and the question is argumentative as well.

           22               Don't answer it.

           23               Ask another one, Counsel.

           24   BY MR. CONANT:

10:46:26   25        Q.     Mr. Montgomery, what is the source code

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10:46:29   1    that you refer to throughout this declaration?

           2         A.     I would have to read it again.

           3         Q.     I just want -- we've read what we already

           4    read.

10:46:40   5         A.     You've read 10 lines out of 30 pages.

           6         Q.     Is there not -- have we not read

           7    representations by you about software --

           8                MR. CROCKETT:      Who's raising their voice

           9    now, Counsel.

10:46:51   10   BY MR. CONANT:

           11        Q.     Is there not --

           12               MR. FLYNN:     Decoding software.       Is there

           13   any decoding software.

           14   BY MR. CONANT:

10:46:59   15        Q.     Mr. Montgomery, let's look at line 22,

           16   page 4.

           17        A.     I'm there.

           18        Q.     All right.     Look at the phrase "decoding

           19   software" in quotes.

10:47:09   20        A.     I see it.

           21        Q.     Was there any such decoding software?

           22        A.     Ever?

           23        Q.     Yes.

           24        A.     Yes.

10:47:18   25        Q.     Does it exist?

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10:47:19   1          A.    Did it exist?

           2          Q.    Does it exist?

           3                MR. CROCKETT:      He's asking you as of today,

           4    if you know.

10:47:24   5                THE WITNESS:     To what time are you

           6    referring to?

           7    BY MR. CONANT:

           8          Q.    Does it exist?

           9                MR. CROCKETT:      That would be as of today;

10:47:30   10   correct, Counsel?

           11               MR. FLYNN:     As referenced in your

           12   schedules.

           13   BY MR. CONANT:

           14         Q.    Yes, today.

10:47:39   15         A.    I don't recall.

           16         Q.    You don't recall --

           17         A.    You just asked me the question.          I answered

           18   it.

           19         Q.    Did it ever exist, Mr. Montgomery?

10:47:45   20         A.    It could have.

           21               MR. FLYNN:     Is it referenced --

           22   BY MR. CONANT:

           23         Q.    Is this decoding software referenced in

           24   your bankruptcy schedule, Mr. Montgomery?

10:47:52   25         A.    Is the decoding -- I don't know.

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10:47:57   1         Q.     What -- what intellectual property is

           2    referenced in your bankruptcy schedules?

           3         A.     Which exhibit would that be Mr. --

           4         Q.     Let's go back to Exhibit No. 1.

10:48:08   5         A.     Okay.

           6         Q.     I believe we're back to page 22-9.

           7         A.     22-9.    Okay.

           8         Q.     All right.     Bottom paragraph that you read

           9    previously, "In addition, Dennis Montgomery is the

10:48:24   10   holder of certain intellectual property rights."

           11               What is that?      What are those intellectual

           12   property rights, Mr. Montgomery?

           13        A.     I have to ask a question, because I'm not

           14   certain of something.

10:48:44   15               MR. CROCKETT:      Well, on that ground I'll

           16   object to the question.         It's vague and ambiguous

           17   and assumes facts not in evidence and ask you to

           18   rephrase.

           19               MR. FLYNN:     What rights you're referring to

10:48:52   20   in your schedule.

           21               MR. CONANT:      Yeah.

           22        Q.     Mr. Montgomery, describe all intellectual

           23   property rights that you're referring to here in

           24   your bankruptcy schedule.

10:48:58   25        A.     That's his question or yours?

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10:49:00   1         Q.     It's a question to you, Mr. Montgomery.

           2         A.     He's the one that said it.

           3         Q.     Fine.

           4         A.     I'm just wondering how long you're going to

10:49:08   5    parrot what he keeps saying.

           6         Q.     As long as I need to.

           7         A.     I got it.

           8                What -- okay.      So I'm sorry, again, what

           9    was -- ask it again, please.

10:49:16   10        Q.     What is this intellectual property that you

           11   reference here in your bankruptcy schedule?

           12        A.     Okay.    You're referring to the paragraph on

           13   the bottom of this document.          Is that what you're

           14   referring to?

10:49:27   15        Q.     Correct.

           16        A.     Okay.    I would like to ask you a question,

           17   because I'm not certain of something.             So I don't

           18   remember specifically that paragraph on the bottom

           19   of the original document that I filed.             I'm not

10:49:41   20   saying it's not, but I'm not certain.

           21        Q.     All right.

           22        A.     So if somebody has my original or whatever,

           23   I'd like to see it.

           24        Q.     What do you mean by --

10:49:54   25        A.     I mean I don't remember that specifically,

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10:49:56   1    me putting this on there.          Okay.   That's what I'm

           2    saying.     I'm not saying it wasn't on there, I'm not

           3    saying it wasn't put on there, but I don't remember

           4    specifically me putting that on there.

10:50:10   5         Q.     All right.     Would it make sense -- I mean

           6    do you have intellectual property, though, that is

           7    subject to the National Security Act of 1947?

           8                MR. CROCKETT:      It's a yes-or-no question.

           9                THE WITNESS:     I'm not certain.

10:50:23   10               MR. FLYNN:     Mark this next exhibit.

           11               MR. CONANT:     All right.

           12               MR. FLYNN:     Mark it.    Copy for

           13   Mr. Crockett.

           14               MR. CONANT:     We're going to mark what's

10:50:34   15   going to be identified as Plaintiff's Exhibit No. 5,

           16   which is the Second Declaration of SA Michael A.

           17   West.

           18               (Exhibit 5 was marked for identification.)

           19               MR. CONANT:     Do you have a copy for me?

10:50:54   20               MR. FLYNN:     Yeah.

           21               Read this entire paragraph into the record.

           22               MR. CONANT:     6?

           23               MR. FLYNN:     Yeah, read the entire paragraph

           24   into the record.       Read it.

10:51:05   25               MR. CROCKETT:      Yeah, yeah, yeah.

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10:51:06   1                THE WITNESS:     Okay.

           2                MR. FLYNN:     All right.     Terrorist regarding

           3    Al-Jazeera, ask him.        Ask him if he said -- ask him

           4    about the noise.

10:51:23   5    BY MR. CONANT:

           6         Q.     All right.     Mr. Montgomery -- well, let me

           7    back up.

           8                I'll represent this is -- Plaintiff's

           9    Exhibit 5 is the Second Declaration of SA Michael A.

10:51:34   10   West.     I understand SA to refer to Special Agent

           11   Michael West.      This was a document filed in Case

           12   No. -06-263 [sic] in the United States District

           13   Court for the District of Nevada, Docket No. 76-2.

           14               Mr. Montgomery, turn with me to page 2,

10:51:48   15   paragraph 6, and read along.          "On August 10,

           16   2006" --

           17        A.     No. 2, I'm sorry.

           18               MR. CROCKETT:      Page 2, paragraph 6.

           19               THE WITNESS:     Okay.

10:52:01   20   BY MR. CONANT:

           21        Q.     "On August 10, 2006, I received a telephone

           22   call from Special Agent Gabriel Gunderson of the

           23   Seattle FBI office who advised me that his office

           24   received information from Azimyth, a company located

10:52:11   25   in Bellevue, Washington, which had discovered

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10:52:15   1    terrorist threat-related information.

           2                "Special Agent Gunderson related that

           3    Michael Sandoval, chief executive officer of

           4    Azimyth, had contacted a retired Central

10:52:24   5    Intelligence Agency former chief of station residing

           6    in Washington and offered to provide the U.S.

           7    Government terrorist threat-related information.

           8                "Special Agent Gunderson further related

           9    that Dennis L. Montgomery was the Azimyth employee

10:52:39   10   who located the information.          Special Agent

           11   Gunderson advised me in a subsequent conversation

           12   that Mr. Montgomery had reported that he located

           13   increased noise in recent Al-Jazeera video

           14   transmissions."

10:52:53   15               Do you see that sentence?

           16               MR. CROCKETT:      Which sentence?      There are

           17   multiple sentences there.

           18               MR. CONANT:     I'm sorry.

           19        Q.     Did you read that paragraph,

10:53:05   20   Mr. Montgomery?

           21        A.     I listened when you read it.

           22        Q.     Okay.    Is it true that you reported that

           23   you located increased noise in recent Al-Jazeera

           24   video transmissions?

10:53:12   25        A.     You'd have to ask Mr. West.         He signed

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10:53:14   1    this; I didn't.

           2         Q.     I'm asking you.

           3         A.     Well, I don't recall.

           4         Q.     Have you ever reported to anyone in the

10:53:20   5    United States Government about things you've heard

           6    or saw in Al-Jazeera video transmissions?

           7                MR. CROCKETT:      That's mischaracterizes

           8    what's in this document.         It's also confusing.        It

           9    also lacks foundation and it's not limited as to

10:53:36   10   time.

           11               With all those objections in place, do you

           12   understand the question?

           13               THE WITNESS:     You mean noise?       Is that what

           14   you mean?     I'd have to take the -- it would violate

10:53:46   15   the U.S. protective order.

           16   BY MR. CONANT:

           17        Q.     Mr. Montgomery --

           18               Ms. Wells --

           19               MR. FLYNN:     No.

10:53:52   20               MR. CONANT:     I withdraw the question.

           21               MR. FLYNN:     Did you provide at any time

           22   after --

           23               THE WITNESS:     I can't hear him.       Can you

           24   speak up, please.

10:54:03   25               MR. CONANT:     I'll repeat the question.

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10:54:06   1                THE WITNESS:     Oh.

           2                MR. FLYNN:     -- any information in the

           3    summer of 2006 through this -- relating to

           4    Al-Jazeera video transmissions.

10:54:13   5    BY MR. CONANT:

           6         Q.     In the summer of 2006, Mr. Montgomery --

           7         A.     I don't think that's what he just said.

           8         Q.     Thank you.

           9                Mr. Montgomery, in the summer of 2006 did

10:54:21   10   you advise or contact Special Agent Gunderson

           11   regarding any information you got from Al-Jazeera

           12   video transmissions?

           13               MR. FLYNN:     Did he give it to Sandoval.

           14               THE WITNESS:     Is that your question or his?

10:54:40   15   I'm confused.       He just asked did I give it to

           16   Sandoval and you asked me a question.             I'm confused

           17   as to who I'm supposed to be answering.

           18   BY MR. CONANT:

           19        Q.     My question, Mr. --

10:54:50   20        A.     Okay.    Well, now I forgot it because he

           21   asked me one.

           22        Q.     Have you provided -- in the summer of 2006

           23   did you provide anybody with any information

           24   regarding things you were hearing or learning from

10:55:00   25   Al-Jazeera video transmissions?

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10:55:03   1         A.     I believe it said "noise," didn't it?

           2    Noise.

           3                MR. CROCKETT:      I think this is a different

           4    question.

10:55:08   5    BY MR. CONANT:

           6         Q.     My question, Mr. Montgomery.

           7         A.     I'm sorry.     I thought you were referring to

           8    paragraph 6 again.

           9         Q.     My question, Mr. Montgomery.

10:55:14   10        A.     Okay.

           11               MR. CONANT:     Can you read my question back

           12   for Mr. Montgomery, Ms. Borthwick.

           13               MR. FLYNN:     And then did he claim he was

           14   decrypting.

10:55:22   15               THE WITNESS:     Can you please speak up.         I

           16   can't hear you, Mr. Flynn.          Speak up.

           17               THE REPORTER:      Question, "In the summer of

           18   2006 did you provide anybody with any information

           19   regarding things you were hearing or learning from

10:55:40   20   Al-Jazeera video transmissions?"

           21               THE WITNESS:     What's that, I didn't hear

           22   you.    Oh.

           23               MR. CONANT:     Ms. Borthwick's question.

           24               THE WITNESS:     I'm sorry.

10:55:49   25               I can't recall.

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10:55:52   1                MR. FLYNN:     Did you ever decrypt al-Qaida

           2    from Al-Jazeera video.

           3    BY MR. CONANT:

           4         Q.     Have you ever represented to anyone that

10:56:01   5    you could decrypt Al-Jazeera video transmissions?

           6         A.     I don't know what the term "decrypt" means.

           7         Q.     Did you ever represent to anyone that there

           8    were messages hidden in Al-Jazeera video

           9    transmissions?

10:56:16   10        A.     What do you mean "messages"?

           11        Q.     The common use.

           12        A.     No, what's the common use?         I don't

           13   understand.

           14        Q.     Messages, Mr. Montgomery.

10:56:23   15               MR. FLYNN:     Or recordings.

           16               THE WITNESS:     Is he asking the question or

           17   are you?

           18   BY MR. CONANT:

           19        Q.     Did you represent to anyone that you could

10:56:28   20   identify target coordinates being transmitted in

           21   Al-Jazeera?

           22        A.     That I, personally, could?         That me could?

           23   I don't recall.

           24        Q.     All right.     Same question, did you ever

10:56:39   25   represent to anyone that software you had created

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10:56:42   1    could find hidden messages within Al-Jazeera video

           2    transmissions?

           3                MR. CROCKETT:      That's a different question.

           4                THE WITNESS:     What do you mean "hidden"?

10:56:51   5                MR. CROCKETT:      We were talking about target

           6    coordinates before.        We're back to messages?

           7                MR. CONANT:     The question.      The question I

           8    just asked.

           9                MR. CROCKETT:      I'm just --

10:56:57   10               MR. CONANT:     Mr. Crockett, you are

           11   interfering with Mr. Montgomery's testimony.

           12               MR. CROCKETT:      No, I'm not.     I'm doing my

           13   job, Mr. Conant, and if you don't understand that

           14   I'm sorry.      I get to listen to your question, I get

10:57:07   15   to object and I get to finish my objection.

           16               If you read the question back, please, I'll

           17   file my objections.

           18               THE WITNESS:     You want to -- I can't hear,

           19   because you're talking too loud, Mr. Flynn.              Please

10:57:16   20   stop.    I can't hear what's going on.          You're

           21   interfering with my right -- ability to give an

           22   accurate deposition and to do a deposition.

           23               Please stop doing what you're doing.            I

           24   don't like it.

10:57:26   25               MR. CONANT:     Ms. Borthwick, can you --

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10:57:28   1                MR. FLYNN:     We're going to get to the

           2    truth, Mr. Montgomery.

           3                THE WITNESS:     Unfortunately, your warped

           4    perception of the truth to benefit your client,

10:57:35   5    Mr. Tim Blixseth, and violating my attorney-client

           6    privileges to do it is outrageous.            That's what's

           7    outrageous.

           8                MR. CROCKETT:      May we have the question

           9    back please, Ms. Reporter.

10:57:48   10               THE WITNESS:     You're a real piece of work.

           11               MR. CROCKETT:      Easy.

           12               MR. FLYNN:     Target coordinates.

           13               THE WITNESS:     I can't -- speak up if you're

           14   going to talk.

10:57:58   15               I can't hear him.

           16               MR. CROCKETT:      Mr. Flynn, every time --

           17               And, Ms. Reporter, I would like you,

           18   please, to record as much of Mr. Flynn as you can

           19   hear.

10:58:05   20               But, Mr. Flynn, every time you speak she

           21   has to stop and start taking down what you're

           22   saying.     I'd asked for the question to be read back.

           23   Can we have that happen, please.

           24               MR. CONANT:     Ms. Borthwick, can you read

10:58:14   25   back my most recent question to Mr. Montgomery.

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10:58:36    1               THE REPORTER:      Question, "All right.        Same

            2    question, did you ever represent to anyone that

            3    software you had created could find hidden messages

            4    within Al-Jazeera video transmissions?"

10:58:38    5               MR. CROCKETT:      I'll object to the question

            6    on the grounds it assumes facts not in evidence,

            7    that it is vague and ambiguous as to the use of the

            8    term "messages" in the context of the question.

            9               In addition, it is not in the record and

10:58:50   10    there's no evidence providing a foundation as to

           11    what you mean by "Al-Jazeera broadcasts."

           12    BY MR. CONANT:

           13         Q.    Can you answer the question?

           14         A.    I'm confused.      No, I'm confused.

10:59:02   15    "Messages," I don't understand what you mean.

           16         Q.    What do you understand a message to be,

           17    Mr. Montgomery?

           18         A.    You tell me.      I'm confused.

           19         Q.    Do you understand the English language,

10:59:12   20    Mr. Montgomery?

           21               MR. CROCKETT:      It's argumentative.

           22               Don't answer.

           23               MR. CONANT:      I'm asking him a question.

           24               THE WITNESS:      I can't hear him talk,

10:59:16   25    Mr. Flynn, when you keep interrupting and going over

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10:59:16    1    his voice.     Please stop it.

            2               MR. FLYNN:     The record speaks for itself.

            3               THE WITNESS:      I know it does, but I can't

            4    hear him when you keep talking to him.

10:59:26    5               What's the question?

            6               MR. FLYNN:     Decoding coordinates.

            7               THE WITNESS:      I can't hear, Mr. Flynn,

            8    when --

            9               Go ahead.

10:59:35   10    BY MR. CONANT:

           11         Q.    Do you understand the English language,

           12    Mr. Montgomery?

           13         A.    Yes.

           14         Q.    What do you understand the word "message"

10:59:41   15    to mean within the English language?

           16         A.    It could mean anything.

           17               MR. CROCKETT:      As a noun or a verb?

           18    BY MR. CONANT:

           19         Q.    So you don't understand.

10:59:45   20         A.    It could mean anything.

           21         Q.    That's what I'm asking.

           22         A.    I got a message in a bottle.          That could be

           23    a message.     I got a message from my wife, a text

           24    message.     I got an email.      That could be a message.

10:59:54   25         Q.    Some form of communication then,

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10:59:55    1    Mr. Montgomery?

            2         A.    Some form of communi- -- it could be, yes.

            3         Q.    That's what you understand a message to be?

            4         A.    No.    That's what you told me it meant.

11:00:03    5         Q.    I'm asking you:       Do you understand the word

            6    "message" to mean some form of communication?

            7         A.    It could mean that, yes.

            8         Q.    Now have you ever told anyone that you had

            9    software that could decode messages within

11:00:15   10    Al-Jazeera video transmissions?

           11         A.    I'd violate the U.S. protective order in

           12    answering that.

           13               MR. CONANT:      For the record, Ms. Wells

           14    raised no objection --

11:00:24   15               THE WITNESS:      Okay.

           16               MR. CONANT:      -- to a violation --

           17               THE WITNESS:      Okay.

           18               MR. CONANT:      -- with respect to the U.S.

           19    protective order.

11:00:30   20         Q.    Mr. Montgomery, have you ever told

           21    anyone -- strike that.

           22               Have you ever told Edra Blixseth that you

           23    had software that could decode target coordinates in

           24    communicating with an Al-Jazeera broadcast?

11:00:44   25         A.    I don't recall if I did or not.

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11:00:45    1         Q.    Did you ever -- Mr. Montgomery, did you

            2    ever tell Tim Blixseth that you had created software

            3    that could decode target coordinates hidden within

            4    Al-Jazeera transmissions?

11:00:59    5         A.    I don't recall I did or not.

            6               Are you Tim Blixseth's attorney?

            7         Q.    Mr. Montgomery, I'm the one asking the

            8    questions.

            9         A.    I'm just curious.       I'd like to know.

11:01:06   10         Q.    Well, I'm not going to answer that.

           11         A.    Okay.

           12               I don't recall if I did or not.

           13         Q.    All right.     Mr. Montgomery, did you ever

           14    tell Michael Sandoval that you had created software

11:01:15   15    that could decode target coordinates hidden within

           16    Al-Jazeera transmissions?

           17         A.    That's different than the question you just

           18    asked me.

           19         Q.    That's okay.

11:01:25   20         A.    I don't recall if I did or not.

           21         Q.    Did you ever create any software that could

           22    detect terrorist communications?

           23         A.    I wouldn't know.       What do you mean

           24    "terrorist communications"?

11:01:34   25         Q.    Do you know what a terrorist is,

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11:01:35    1    Mr. Montgomery?

            2         A.    No.    Why don't you describe it?

            3         Q.    I think you described it.

            4         A.    No, I just used the word.

11:01:42    5         Q.    Well, when you used the word -- let's look

            6    here.

            7         A.    What document are we looking at?

            8         Q.    Give me a second, please, Mr. Montgomery.

            9               All right.     Let's look at page 4, line 19

11:01:55   10    and a half, of Plaintiff's Exhibit No. 3.

           11         A.    Got it.

           12               Which page?

           13         Q.    Page 4.

           14         A.    Yeah.

11:02:08   15               Okay.    Which line?

           16         Q.    Let's look at line 19 and a half.

           17         A.    Okay.

           18         Q.    Let's see -- one, two, three, four -- the

           19    fifth word over from the left margin I see the word

11:02:22   20    "terrorist."

           21               Do you see that, Mr. Montgomery?

           22         A.    Yes.

           23         Q.    What do you understand the word "terrorist"

           24    to mean, Mr. Montgomery?

11:02:28   25               MR. CROCKETT:      In that sentence --

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11:02:30    1               THE WITNESS:      I'm confused.      What do you

            2    mean?

            3               MR. CROCKETT:      -- or are you speaking

            4    generally?     I'll object to the question.          It lacks

11:02:36    5    foundation.      It's vague and ambiguous.        It's not

            6    clear what you're referring to.

            7    BY MR. CONANT:

            8         Q.    All right.     Mr. Montgomery, let's ask it

            9    both ways since we're confused.          Generally, what do

11:02:45   10    you understand the word "terrorist" to mean?

           11         A.    A bad person.

           12         Q.    A bad person?

           13               Am I a terrorist, Mr. Montgomery?

           14               MR. CROCKETT:      Are you asking him to answer

11:02:56   15    that?

           16    BY MR. CONANT:

           17         Q.    Yes.

           18         A.    No.

           19         Q.    Now let's look at -- well, let's look now

11:03:00   20    at line 19 and a half, page 4.

           21               MR. FLYNN:     Did you uncover terrorist --

           22               THE WITNESS:      I can't hear him, Mr. Flynn,

           23    when he --

           24               MR. CROCKETT:      Be quiet so she can write

11:03:12   25    down what he said.

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11:03:13    1    BY MR. CONANT:

            2         Q.    Line 19 and a half, "terrorist," do you see

            3    that word on line 19 and a half?

            4         A.    Yes.

11:03:19    5         Q.    What do you mean the word "terrorist" to

            6    mean there?

            7               MR. CROCKETT:      The document speaks for

            8    itself, Counsel.       I'll object to the question.

            9               THE WITNESS:      Mr. Flynn wrote this at the

11:03:29   10    time.     You'd have to ask him.

           11    BY MR. CONANT:

           12         Q.    When you signed this declaration,

           13    Mr. Montgomery, what did you understand the word

           14    "terrorist" to mean?

11:03:38   15         A.    I don't recall at the time.

           16         Q.    All right.     Look at line 2, same page.

           17         A.    Line 2, okay.

           18         Q.    Well, actually, let's go up to line 1.

           19         A.    Got it.

11:03:48   20         Q.    First sentence, quote, "I provided the

           21    'output' from my decoding programs without

           22    compensation to our government in order to stop

           23    terrorist attacks and save American lives," end of

           24    the sentence --

11:04:04   25               MR. FLYNN:     Did he do that?

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11:04:04    1    BY MR. CONANT:

            2         Q.    -- unquote.

            3               Did you do that, Mr. Montgomery?

            4         A.    I don't recall specifically.

11:04:10    5         Q.    You don't, okay.

            6               What did you mean by the word "terrorist"

            7    in line 2 right there?

            8         A.    Mr. Flynn wrote that.        You'd have to ask

            9    him.

11:04:19   10         Q.    When you signed this declaration --

           11         A.    I signed it, but I didn't write it.

           12    Mr. Flynn wrote it, the man sitting next to you that

           13    is your client and also Mr. Blixseth's attorney.

           14    Ask him.     He wrote it.

11:04:33   15         Q.    What did you mean -- when you signed this

           16    declaration, what did you understand that word,

           17    "terrorist," to mean Mr. Montgomery?

           18         A.    I signed -- I signed the declaration.            I

           19    don't remember at the time exactly.

11:04:44   20         Q.    Mr. Montgomery, the word --

           21               MR. FLYNN:     Did Mr. Flynn go with you to

           22    Dick Cheney's office.

           23               THE WITNESS:      That one.

           24    BY MR. CONANT:

11:04:54   25         Q.    Mr. Montgomery, when you visited Dick

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11:04:56    1    Cheney's office, did Mr. Flynn accompany you?

            2         A.    I don't believe so.

            3         Q.    Who did accompany you?

            4         A.    I think it was Edra and Jack Kemp, Edra

11:05:16    5    Blixseth and Jack Kemp, although I'm not certain it

            6    was Jack Kemp but I can't remember at the time.

            7         Q.    What was the purpose of you visiting

            8    Mr. Cheney's office?

            9         A.    I don't recall.

11:05:29   10               MR. FLYNN:     End of --

           11    BY MR. CONANT:

           12         Q.    Well, so you visited the vice president's

           13    office, but you don't recall the nature of the

           14    meeting?

11:05:38   15               MR. CROCKETT:      Asked and answered and

           16    argumentative.

           17               Don't answer the question.

           18               Next question, please, Mr. Conant.

           19    BY MR. CONANT:

11:05:46   20         Q.    Now let's look at the last sentence of the

           21    first paragraph on page 4, beginning on line 2,

           22    quote, "My source codes for this decoding technology

           23    which derives from my 'ODS' are what Trepp and

           24    several government officials were attempting to

11:06:08   25    steal from me when they raided my home."

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11:06:12    1               Mr. Montgomery, what does the word "ODS"

            2    mean?

            3         A.    I don't know.

            4         Q.    Okay.    Let's look at "my source codes,"

11:06:21    5    line 2.

            6         A.    Same page?

            7         Q.    Yes.

            8         A.    Yeah.

            9         Q.    What are your source codes, Mr. Montgomery?

11:06:28   10         A.    I don't recall specifically how that

           11    comment was used, line was used.

           12         Q.    So have you ever created any source codes

           13    that were used in -- well, let me strike that.

           14               Did you ever create any source codes that

11:06:45   15    were used to detect terrorist attacks,

           16    Mr. Montgomery?

           17         A.    I don't recall.

           18         Q.    All right.     Now I want to go back here.

           19               Now, Mr. Montgomery, I'm having a hard time

11:07:26   20    figuring out what's going on here with your

           21    bankruptcy schedule, because you've list -- you

           22    state here on Plaintiff's Exhibit No. 1, bottom of

           23    page 22-9, "Dennis Montgomery is a holder of certain

           24    intellectual property rights."

11:07:47   25               I want to know what those intellectual

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11:07:48    1    property rights are, Mr. Montgomery.

            2          A.   I believe I answered that question saying I

            3    don't believe at the time that I put that on.              And I

            4    was asking you, since I don't have any bankruptcy

11:07:59    5    schedule with me, and -- and -- I don't recall

            6    putting this on there, me, personally.            That's what

            7    I'm saying.

            8               I'm not saying it's not there.           I'm not

            9    saying it wasn't on there.         I just don't know.

11:08:12   10          Q.   Well, okay.      Is it true that you are the

           11    holder of certain intellectual property rights,

           12    Mr. Montgomery?

           13          A.   I don't recall.       I just told you I don't

           14    know where this paragraph came from.

11:08:25   15          Q.   Are you done with your answer,

           16    Mr. Montgomery?

           17          A.   I just don't recall.

           18          Q.   Okay.    I'm asking you:      Generally, are you

           19    the holder of certain intellectual property rights,

11:08:32   20    Mr. Montgomery?

           21               MR. CROCKETT:      To the extent that he's in

           22    bankruptcy, the answer would be no, Counsel, and

           23    you'd know that because they'd be assets of the

           24    trustee.

           25    ///

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11:08:41    1    BY MR. CONANT:

            2         Q.    All right.     Let me ask you this:

            3    Immediately preceding your filing for bankruptcy,

            4    were you the holder of any intellectual property

11:08:49    5    rights?

            6         A.    I'm not certain.

            7         Q.    So then, Mr. Montgomery, is it an

            8    untruthful statement here on your bankruptcy

            9    schedules that you are the holder of certain

11:09:06   10    intellectual property rights?

           11         A.    Well, no, because -- that's a double

           12    negative you just asked me again.           Ask it straight.

           13    Your question is confusing.

           14         Q.    Is it a true statement?         Is this --

11:09:18   15         A.    Don't yell at me.       Quit yelling.

           16         Q.    I apologize.      I get very excited sometimes.

           17    I don't mean it to be yelling, so I apologize.

           18         A.    Yeah.

           19         Q.    Is this on your bankruptcy schedules,

11:09:29   20    page 22-9, is it a true statement that -- let me

           21    back up.

           22               At the same time that you signed these

           23    bankruptcy schedules that we're looking at here, is

           24    it true -- is it a true statement that you were the

11:09:43   25    holder of certain intellectual property rights,

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11:09:45    1    Mr. Montgomery?

            2         A.    Yes.

            3         Q.    Can you -- why was that a true statement,

            4    Mr. Montgomery?

11:09:50    5         A.    Well, I listed some source code that was, I

            6    believe, these copyrights.

            7               MR. CROCKETT:      If you turn to the prior

            8    page, Counsel, it clearly sets out patents,

            9    copyrights and other intellectual properties, giving

11:10:04   10    particulars.

           11               MR. CONANT:      Thank you.     Mr. Montgomery is

           12    testifying, not you, Mr. Crockett.

           13               MR. CROCKETT:      But, apparently, you haven't

           14    read the document, Counsel.

11:10:12   15               MR. CONANT:      I was asking a question,

           16    Mr. Crockett.

           17               THE WITNESS:      But I just answered it.        I

           18    just said there's the list.

           19    BY MR. CONANT:

11:10:18   20         Q.    So why would this bottom paragraph here,

           21    "In addition, Dennis Montgomery is the holder of

           22    certain intellectual property rights," how would

           23    that end up on your bankruptcy schedules,

           24    Mr. Montgomery?

11:10:28   25         A.    I just answered that question and I don't

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11:10:30    1    remember putting that on there, me, personally.               I'm

            2    not saying it wasn't put on there.           I don't recall

            3    typing that out and putting that on there.

            4         Q.    Did you attorney -- did you direct your

11:10:39    5    attorney to put that on there?

            6         A.    I don't recall.

            7         Q.    Who prepared these bankruptcy schedules,

            8    Mr. Montgomery?

            9         A.    My -- myself and my attorney.

11:10:48   10         Q.    So you -- okay.       So did your attorney just

           11    unilaterally put that statement on there,

           12    Mr. Montgomery?

           13               MR. CROCKETT:      Calls for speculation.

           14    Object.

11:11:01   15    BY MR. CONANT:

           16         Q.    What would cause your attorney to put a

           17    statement like that on your bankruptcy schedule?

           18               MR. CROCKETT:      Calls for speculation.        I'll

           19    object.

11:11:09   20               And instruct you not to answer.

           21    BY MR. CONANT:

           22         Q.    Were you ever at any time the holder of

           23    certain intellectual property rights which are

           24    subject to the National Security Act of 1947?

11:11:26   25         A.    Yes.

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11:11:26    1         Q.    And what are those intellectual property

            2    rights, Mr. Montgomery?

            3         A.    Well, there were patents filed in the

            4    eTreppid matter, I believe.         And you said "ever," I

11:11:38    5    believe, didn't you?

            6               Maybe I misunderstood your question.

            7               You said did I ever own any; right?

            8               There was work at eTreppid and there were

            9    patents filed in my name that surely would fall

11:11:52   10    under that statement you made.

           11         Q.    And what kind of -- what were those patents

           12    for?

           13         A.    I don't remember.       I just know there were

           14    multiple patents filed.

11:12:00   15         Q.    Was it related to national security?

           16         A.    You mean the patents specifically or what

           17    it was used for?

           18         Q.    What it was used for.

           19         A.    I don't recall specifically if it was or

11:12:13   20    not.

           21               Can we take a break or is that -- what time

           22    is it?    I don't even know what time it is.           What

           23    time is it?

           24               MR. CONANT:      It's 11:12.

11:12:30   25               MR. FLYNN:     Take five minutes.

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11:12:31    1               MR. CONANT:      We can take a five-minute

            2    break if you want.

            3               THE VIDEOGRAPHER:       This marks the end of

            4    Media No. 1.      The time is 11:12 a.m.        We're off the

11:12:43    5    record.

            6               (Recess taken.)

            7               THE VIDEOGRAPHER:       This marks the beginning

            8    of Media No. 2.      The time is 11:19 a.m.         We're back

            9    on the record.

11:19:53   10               (Exhibit 6 was marked for identification.)

           11    BY MR. CONANT:

           12         Q.    All right.     Mr. Montgomery, I'm going to

           13    hand you what we've marked as Plaintiff's Exhibit

           14    No. 6.

11:20:09   15               MR. FLYNN:     Speaking of -- these are the

           16    two target letters.

           17               THE WITNESS:      I see it.

           18               MR. CONANT:      All right.     Just for the

           19    record, Plaintiff's Exhibit No. 6 is a purported

11:20:27   20    letter from the U.S. Department of Justice

           21    Environment and Natural Resources Division dated

           22    November 8, 2007, to Timothy Blixseth.

           23         Q.    Mr. Montgomery, do you recognize this

           24    document?

11:20:47   25         A.    I'm not certain.

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11:20:49    1         Q.    Have you ever seen this document before?

            2         A.    I'm not certain.

            3               MR. FLYNN:     Document like it.

            4    BY MR. CONANT:

11:20:55    5         Q.    Have you ever seen a document like it,

            6    Mr. Montgomery?

            7         A.    I'm not certain.

            8               MR. FLYNN:     Did you get this document --

            9    BY MR. CONANT:

11:21:03   10         Q.    Did you provide this document to Timothy

           11    Blixseth, Mr. Montgomery?

           12               MR. CROCKETT:      You're asking my client if a

           13    letter that's addressed to Mr. Blixseth was provided

           14    to him by Mr. Montgomery?

11:21:14   15               Are you asking Mr. Montgomery if he signed

           16    the letter?

           17               MR. CONANT:      I'm asking Mr. Montgomery to

           18    answer my question.

           19               MR. CROCKETT:      It's argumentative.

11:21:20   20               If you can answer it, go ahead.

           21               THE WITNESS:      I don't recall specifically.

           22    BY MR. CONANT:

           23         Q.    Isn't it true, Mr. Montgomery, that you

           24    gave a copy of this letter to Mr. Blixseth?

11:21:35   25         A.    I'm going to assert my right under the

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11:21:39    1    Fifth Amendment.

            2         Q.    Mr. Montgomery, have you ever had a

            3    discussion with Mr. Blixseth regarding any form of

            4    target letter by the grand jury of the

11:21:49    5    United States?

            6         A.    I'm going to assert my right under the

            7    Fifth Amendment.

            8               MR. FLYNN:     Did he prepare it.

            9    BY MR. CONANT:

11:21:55   10         Q.    Mr. Montgomery, did you prepare this target

           11    letter that we're looking at?

           12         A.    I'm going to assert my right under the

           13    Fifth Amendment.

           14         Q.    Did you ever give a copy of this target

11:22:06   15    letter to Edra Blixseth, Mr. Montgomery?

           16         A.    I'm going to assert my right under the

           17    Fifth Amendment.

           18         Q.    Can you explain your involvement,

           19    Mr. Montgomery, with this target letter?

11:22:16   20         A.    I'm going to assert my right under the

           21    Fifth Amendment.

           22               MR. CONANT:      All right.     I'm going to hand

           23    to you what's going to be marked as Plaintiff's

           24    Exhibit No. 7.

11:22:38   25               (Exhibit 7 was marked for identification.)

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11:22:41    1               MR. CONANT:      Mr. Crockett, No. 7.

            2         Q.    Mr. Montgomery, can you please review this

            3    document.

            4         A.    I did.

11:22:51    5               MR. CONANT:      Okay.   For the record,

            6    Plaintiff's Exhibit No. 7 is a purported letter from

            7    the U.S. Department of Justice Criminal Division

            8    dated December 12, 2007, addressed to Mr. Timothy

            9    Blixseth, and signed -- purportedly signed by a

11:23:10   10    Mr. Ronald Sharpe.

           11         Q.    Mr. Montgomery, do you recognize this

           12    document?

           13         A.    I'm going to assert my right under the

           14    Fifth Amendment.

11:23:20   15         Q.    How do you recognize this document

           16    Mr. Montgomery?

           17         A.    I'm going to assert my right under the

           18    Fifth Amendment.

           19         Q.    Isn't it true, Mr. Montgomery, you provided

11:23:26   20    a copy of this document to Edra Blixseth?

           21         A.    I'm going to assert my right under the

           22    Fifth Amendment.

           23         Q.    Isn't it true, Mr. Montgomery, that you

           24    prepared this letter?

11:23:33   25         A.    I'm going to assert my right under the

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11:23:35    1    Fifth Amendment.

            2               MR. FLYNN:     Forged the signature.

            3    BY MR. CONANT:

            4         Q.    Mr. Montgomery, isn't it true that you

11:23:40    5    forged the signature of Ronald Sharpe?

            6         A.    I'm going to assert my right under the

            7    Fifth Amendment.

            8               MR. FLYNN:     Describe all the circumstances

            9    under which you prepared the document.

11:23:47   10    BY MR. CONANT:

           11         Q.    Can you describe all the facts and

           12    circumstances concerning your preparation of this

           13    document, Mr. Montgomery?

           14               MR. CROCKETT:      Object to the question.

11:23:51   15    Assumes facts not in evidence.          Lacks foundation.

           16               MR. FLYNN:     -- discussions with Edra

           17    regarding the sale of -- and giving it to Edra to

           18    kill the sale of the --

           19               MR. CONANT:      Ms. Borthwick, can you repeat

11:24:08   20    my last question, please.

           21               THE REPORTER:      Question, "Can you describe

           22    all the facts and circumstances concerning your

           23    preparation of this document?"

           24               THE WITNESS:      I'm going to assert my right

11:24:24   25    under the Fifth Amendment.

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11:24:25    1    BY MR. CONANT:

            2         Q.    Mr. Montgomery, can you explain to me --

            3    I'm sorry.     Let me back up.

            4               MR. FLYNN:     Conversations with Edra.

11:24:34    5               MR. CONANT:      Yeah.

            6         Q.    Can you explain to me your conversations

            7    with Edra Blixseth concerning --

            8               MR. FLYNN:     -- preparation of this

            9    document.

11:24:38   10    BY MR. CONANT:

           11         Q.    -- the preparation of this document?

           12               MR. CROCKETT:      I'm going to object to this

           13    entire line of questioning unless you can explain to

           14    me the relevance to the bankruptcy in which this

11:24:47   15    deposition has been noticed.

           16               It sounds to me like you're trying to take

           17    discovery in aid of your proceedings in Montana.

           18               MR. FLYNN:     Motion for summary judgment.

           19               THE WITNESS:      I can't hear you.

11:24:56   20               MR. CONANT:      Mr. Crockett, relevance to

           21    motion for summary motion in this case, this is not

           22    the time to argue relevance.

           23               MR. CROCKETT:      I'm not arguing relevance,

           24    I'm asking you to tell me what the relevance is,

11:25:09   25    because I don't understand how a letter addressed to

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11:25:13    1    your client, Mr. Blixseth, from three years ago has

            2    anything to do -- that doesn't mention

            3    Mr. Montgomery or has anything to do with him, has

            4    any relevance to this proceeding.

11:25:21    5               I'm open to an explanation.

            6               MR. FLYNN:     I'll jump in.

            7               MR. CROCKETT:      No, sir, you won't.

            8               MR. CONANT:      I'll give --

            9               MR. FLYNN:     I'm free to jump in.

11:25:30   10               The explanation is that Mr. Montgomery, in

           11    January-February 2008 with Edra Blixseth prepared

           12    these two documents for the purpose of trying to

           13    kill the Yellowstone Club sale by Tim Blixseth for

           14    $455 million to Samuel Byrne and CrossHarbor Capital

11:25:47   15    Partners.

           16               They prepared this document and gave it to

           17    Mr. Byrne so Mr. Byrne would pass it on to the

           18    investors that were putting up the money for the

           19    $455 million acquisition so that it would kill the

11:26:00   20    sale.

           21               In fact, these documents were given in late

           22    January, early February, by Mr. Montgomery to Edra

           23    Blixseth who then passed them on to Samuel Byrne and

           24    it, in fact, killed the sale.

11:26:14   25               The documents are complete fabrications.

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11:26:17    1    There was no grand jury investigation at the time.

            2    Mr. Byrne passed them on to his investors and, in

            3    fact, the investors withdrew and didn't go through

            4    with the sale.

11:26:28    5               It was all planned by Mr. -- Ms. Blixseth

            6    and Mr. Montgomery to kill the sale.            Mr. Byrne then

            7    turned around and made a deal with Edra Montgomery

            8    [sic] in which he basically got the Yellowstone Club

            9    and Porcupine Creek, $700 million in marital

11:26:44   10    community assets for roughly $35 million through the

           11    bankruptcy proceedings in Montana.

           12               That's the relevance and the relevance is

           13    that Mr. Montgomery participated in these criminal

           14    acts which will prevent him from being discharged in

11:27:01   15    his bankruptcy.

           16               MR. CROCKETT:      Well, then based on your

           17    explanation, which until the last sentence had

           18    nothing --

           19               MR. FLYNN:     He won't be discharged --

11:27:10   20               MR. CROCKETT:      Excuse me.

           21               MR. FLYNN:     -- for all those reasons and

           22    all those criminal acts --

           23               THE WITNESS:      Just more threats.

           24               MR. FLYNN:     -- Mr. Crockett.

11:27:16   25               Let's move on.

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11:27:17    1               MR. CROCKETT:      No, no.    Let's -- okay.

            2               Yeah, let's move on.

            3    BY MR. CONANT:

            4         Q.    Answer the question, please,

11:27:20    5    Mr. Montgomery.

            6               MR. CROCKETT:      No.   I'm going to instruct

            7    him not to answer on the grounds that it may violate

            8    his right to be free of self-incrimination, because

            9    of the explanation that your counsel -- or your

11:27:30   10    whatever he is has just given us, which is that

           11    these documents in his opinion and, apparently,

           12    yours are evidence of some sort of criminal

           13    conspiracy.

           14               And based on that statement, I'm going to

11:27:43   15    tell you he will be instructed not to answer

           16    anything relating to this document.

           17               MR. CONANT:      On what grounds?

           18               MR. FLYNN:     You're not allowed to instruct

           19    him, he's been doing it.

11:27:52   20               So good, get the invitation.          Go ahead.

           21    BY MR. CONANT:

           22         Q.    Mr. Montgomery, please answer the question.

           23         A.    The one he just asked?

           24               MR. CONANT:      Ms. Borthwick, can you read

11:27:57   25    back my question.       My last question to --

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11:28:00    1               MR. FLYNN:     Withdraw.     Withdraw.     Start

            2    asking --

            3               MR. CONANT:      All right.     I'll withdraw my

            4    previous question.

11:28:05    5         Q.    Mr. Montgomery, please explain to me your

            6    conversations with Ms. Blixseth concerning the

            7    preparation of this document here, Plaintiff's --

            8               MR. CROCKETT:      I'm going to instruct him

            9    not to answer the question on the grounds of the

11:28:14   10    Fifth Amendment.

           11               MR. CONANT:      I wasn't done with my

           12    question.     Let me rephrase the question.

           13               MR. CROCKETT:      Sure.

           14    BY MR. CONANT:

11:28:18   15         Q.    Mr. Montgomery, can you please explain to

           16    me your conversation with Ms. Montgomery concerning

           17    the preparation of this document, which is marked as

           18    Plaintiff's Exhibit No. 7.

           19               MR. CROCKETT:      Given the predicate for the

11:28:29   20    examination as stated by Mr. Flynn, I'm going to

           21    instruct Mr. Montgomery not to answer any questions

           22    relating to this document or anything associated

           23    with it.

           24               MR. CONANT:      On what grounds?

11:28:43   25               MR. FLYNN:     No.    No.   Just get the --

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11:28:45    1    BY MR. CONANT:

            2         Q.    Can you please answer the question.

            3         A.    His question?

            4         Q.    My --

11:28:49    5         A.    Well, I don't know yours.         He just asked

            6    another one.      I remember his, not yours.

            7         Q.    Mr. Montgomery, please describe to me your

            8    conversations with Ms. Blixseth concerning the

            9    preparation of this document which is marked as

11:28:59   10    Plaintiff's 7.

           11         A.    I invoke my right under the Fifth

           12    Amendment.

           13         Q.    Okay.    Please explain to me your

           14    conversations with Ms. Blixseth concerning your

11:29:06   15    preparation of Plaintiff's Exhibit No. 6.

           16         A.    Is that the letter?

           17               I invoke my right under the Fifth

           18    Amendment.

           19         Q.    Did you discuss with Ms. Blixseth the

11:29:24   20    preparation of this document in order to assist her

           21    in killing the sale of the Yellowstone Club to

           22    CrossHarbor Capital Partners?

           23               MR. CROCKETT:      Object to the question as

           24    argumentative.      Assumes facts not in evidence.          In

11:29:35   25    addition, as I previously stated, any questions

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11:29:37    1    relating to these documents I'm going to instruct

            2    him not to answer on the grounds of the Fifth

            3    Amendment.

            4    BY MR. CONANT:

11:29:45    5         Q.    What's your answer, Mr. Montgomery?

            6         A.    He just answered it.        I invoke my right

            7    under the Fifth Amendment.

            8         Q.    Isn't it true, Mr. Montgomery, that you

            9    worked with Ms. Blixseth to help her kill the sale

11:30:03   10    of the Yellowstone Club to Cross Harbor?

           11               MR. CROCKETT:      I'll object.      It has --

           12    you're now conducting discovery.

           13               THE WITNESS:      It's Tim Blixseth.       It's Tim

           14    Blixseth's attorney.

11:30:16   15               MR. CROCKETT:      You're now conducting

           16    discovery.     It's obvious you're conducting discovery

           17    which is unrelated to Mr. Montgomery's bankruptcy

           18    and is in aid of the discovery your client,

           19    Mr. Blixseth, seeks and on those grounds I'll advise

11:30:27   20    and instruct Mr. Montgomery not to answer.

           21               In addition to which you continued the line

           22    of questions relating to what you purport to be a

           23    criminal conspiracy and on those separate grounds I

           24    will instruct Mr. Montgomery not to answer the

11:30:41   25    question.

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11:30:41    1    BY MR. CONANT:

            2         Q.    What's your answer?

            3         A.    I'm not going to answer the question.            I'm

            4    doing what my attorney told me to.

11:30:47    5         Q.    Are you going to invoke the Fifth

            6    Amendment?

            7         A.    My attorney just answered the question.

            8         Q.    No.    I need your answer, Mr. Montgomery.

            9         A.    To what?     I can't even remember now.

11:30:55   10    What's the question?

           11         Q.    Were you involved with Ms. Blixseth to help

           12    her kill the sale of the Yellowstone Club to

           13    CrossHarbor?

           14         A.    I invoke my right under the Fifth

11:31:04   15    Amendment.

           16         Q.    And for the record, there's nothing

           17    established on the record, to be clear, that I

           18    represent Tim Blixseth.

           19         A.    Well, there's --

11:31:11   20         Q.    Secondly --

           21         A.    Yeah, there is.       There's plenty of PACER

           22    documents where you're his attorney.            You're Western

           23    Capital's attorney, Mr. Flynn --

           24               MR. CROCKETT:      It's such a silly statement

11:31:20   25    it doesn't deserve an answer.

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11:31:22    1               Go ahead.

            2    BY MR. CONANT:

            3         Q.    I'm stating what's on the record in this

            4    case.

11:31:25    5         A.    I misunderstood you.

            6               MR. CONANT:      For the record, Mr. Crockett's

            7    objection mischaracterizes the line of questioning.

            8               MR. FLYNN:     Get into his payments by --

            9    $100,000.

11:31:35   10    BY MR. CONANT:

           11         Q.    Mr. Montgomery, isn't it true that one of

           12    Edra Blixseth's entities was paying you

           13    approximately $100,000 a month at one time?

           14               MR. FLYNN:     During the whole period.

11:31:46   15               THE WITNESS:      Which question, the one he

           16    just asked?

           17    BY MR. CONANT:

           18         Q.    The one I --

           19         A.    Well, he asked another one.

11:31:49   20               MR. CONANT:      Ms. Borthwick, can you read

           21    back my most recent question to Mr. Montgomery.

           22               THE REPORTER:      Question, "Mr. Montgomery,

           23    isn't it true that one of Edra Blixseth's entities

           24    was paying you approximately $100,000 a month at one

11:31:53   25    time?"

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11:32:10    1               THE WITNESS:      I invoke my right under the

            2    Fifth Amendment.

            3    BY MR. CONANT:

            4          Q.   Isn't it true that you started getting paid

11:32:14    5    by Ms. Blixseth's entities beginning in April of

            6    2006?

            7               MR. FLYNN:     100,000 a month.

            8               THE WITNESS:      I'm sorry, your question,

            9    Mr. Flynn?

11:32:26   10    BY MR. CONANT:

           11          Q.   There's no question outstanding by

           12    Mr. Flynn.

           13          A.   Well, I'm confused.        You both ask questions

           14    at the same time.

11:32:34   15          Q.   Mr. Montgomery, when did Edra Blixseth's

           16    entities begin paying you a hundred thousand dollars

           17    a month?

           18               MR. CROCKETT:      Objection.     Lacks

           19    foundation.     Assumes facts not in evidence.           Based

11:32:44   20    on Mr. Flynn's statement, I will advise

           21    Mr. Montgomery to invoke his rights under the Fifth

           22    Amendment.

           23               THE WITNESS:      I invoke my right under the

           24    Fifth Amendment.

           25    ///

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11:32:51    1    BY MR. CONANT:

            2         Q.    Isn't it true that Ms. Blixseth's

            3    entities -- and when I refer to Ms. Blixseth's

            4    entities, it's either Blxware, LLC, Opspring, LLC --

11:33:04    5    well, Opspring, LLC, or Blxware, LLC.

            6               Isn't it true they began paying you a

            7    hundred thousand dollars a month in April of 2006?

            8               MR. CROCKETT:      Same objection.       Same

            9    instruction.

11:33:13   10               THE WITNESS:      I invoke my right under the

           11    Fifth Amendment.

           12    BY MR. CONANT:

           13         Q.    Isn't it true that Ms. Blixseth, through

           14    her entities, was paying you a hundred thousand

11:33:22   15    dollars a month to facilitate her computer hacking

           16    into the emails of Tim Blixseth and Michael Flynn?

           17               MR. CROCKETT:      Same instruction.

           18               THE WITNESS:      I invoke my right under the

           19    Fifth Amendment.

11:33:36   20               These are just sound bites he's making for

           21    his next article.       That's all this is about.

           22               MR. CROCKETT:      I know.

           23    BY MR. CONANT:

           24         Q.    What was Ms. Blixseth, through her

11:33:42   25    entities, paying you a hundred thousand dollars a

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11:33:44    1    month for?

            2         A.    I invoke my right under the Fifth

            3    Amendment.

            4               MR. FLYNN:     How much in total --

11:33:49    5    BY MR. CONANT:

            6         Q.    How much in total have you received -- I'm

            7    sorry.    Let me back up.      Strike that.

            8               How much money, total, have you received

            9    from Ms. Blixseth through her entities?

11:33:59   10               MR. CROCKETT:      I object.     Assumes facts not

           11    in evidence.      Lacks foundation.      It's argumentative

           12    and it's compound.

           13               Based on Mr. Flynn's statement I instruct

           14    Mr. Montgomery to invoke his rights under the Fifth

11:34:11   15    Amendment.

           16               THE WITNESS:      I invoke my right under the

           17    Fifth Amendment.

           18    BY MR. CONANT:

           19         Q.    Isn't it true that Ms. Blixseth, through

11:34:17   20    her entities, has paid you at least $6 million since

           21    April of 2006?

           22               MR. CROCKETT:      Same objections.       Same

           23    instruction.

           24               THE WITNESS:      I'm invoking my right under

11:34:27   25    the Fifth Amendment.

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11:34:27    1    BY MR. CONANT:

            2         Q.    Mr. Montgomery, where did the $6 million

            3    that you received through Edra Blixseth go?

            4               MR. CROCKETT:      Same objections.       Same

11:34:37    5    instruction.

            6               THE WITNESS:      I invoke my right under the

            7    Fifth Amendment.

            8    BY MR. CONANT:

            9         Q.    Okay.    Mr. Montgomery, do you know who

11:34:43   10    Istvan Burgyan is?

           11         A.    Yes, my son-in-law.

           12         Q.    Did you know that I deposed Mr. Burgyan in

           13    September of this year?

           14         A.    I knew he had a deposition.

11:34:56   15         Q.    Did you talk to Mr. Burgyan about his

           16    deposition?

           17         A.    No.

           18         Q.    Right.

           19               Mr. Montgomery, are you familiar with a

11:35:02   20    company called Demaratech, LLC?

           21         A.    I'm going to invoke my right under the

           22    Fifth Amendment.

           23         Q.    All right.     Let me go --

           24               MR. FLYNN:     On the record I withdraw all my

11:35:37   25    objections to the presence of any of the Department

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11:35:39    1    of Justice gentlemen and ladies that are in

            2    attendance.

            3               THE WITNESS:      Wow.

            4               MR. CONANT:      Let's see here.      All right.

11:35:52    5    I'm going to hand -- I'm going to hand to you what's

            6    going to be marked as Plaintiff's Exhibit No. 8.

            7               All right.     Do you want a copy,

            8    Mr. Crockett?

            9               MR. CROCKETT:      Thank you.

11:36:32   10               MR. FLYNN:     Do you have a copy for them?

           11               MR. CONANT:      I do not.

           12               (Exhibit 8 was marked for identification.)

           13               MR. CONANT:      For the record, I've handed

           14    Mr. Montgomery what's been marked as Plaintiff's

11:36:41   15    Exhibit No. 8 which is a printout of bank records

           16    for a company called Demaratech, LLC.

           17               And, for the record, during Mr. Istvan's

           18    [sic] deposition, he represented that -- he

           19    confirmed that these were the accounts, that this

11:37:01   20    was a bank account held at El Paseo Bank for

           21    Demaratech, LLC.

           22               MR. FLYNN:     I don't think this has anything

           23    to do with them.

           24               MR. CONANT:      Yeah, doesn't have anything to

11:37:15   25    do with them.      Not yet anyway.

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11:37:19    1         Q.    Now, Mr. Montgomery, can you turn with me

            2    to what's going to be marked on my copy as

            3    page 3-22 --

            4               MR. FLYNN:     On the lower right-hand corner.

11:37:37    5    BY MR. CONANT:

            6         Q.    -- on the lower right-hand corner.

            7         A.    Okay.

            8         Q.    Do you see -- I want to make sure we're on

            9    the same page.      It appears we are.

11:37:46   10               Do you see this appears to be,

           11    Mr. Montgomery, images of checks written on a

           12    Demaratech, LLC, account?

           13               Do you see that, Mr. Montgomery?

           14         A.    Yes.

11:37:56   15         Q.    Do you see up in the upper left-hand corner

           16    Check No. 1520, Mr. Montgomery?

           17         A.    Yes.

           18         Q.    It says, "Pay to the order of Dennis

           19    Montgomery."

11:38:05   20               Do you see that, Mr. Montgomery?

           21         A.    Yes.

           22         Q.    Is that you, Mr. Montgomery?

           23         A.    I believe so.

           24         Q.    Do you see that it purports to be a check

11:38:11   25    made out to you in the amount of $12,500?

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11:38:14    1         A.    Yes.

            2         Q.    Did you receive that $12,500 from

            3    Demaratech?

            4         A.    I'm going to invoke my right under the

11:38:21    5    Fifth Amendment.

            6         Q.    Mr. Montgomery, can you explain to me what

            7    you did at Demaratech, LLC?

            8         A.    I'm going to invoke my right under the

            9    Fifth Amendment.

11:38:33   10         Q.    When I deposed Mr. Burgyan, I asked him

           11    about the source codes -- or intellectual property

           12    listed on your bankruptcy schedules and I asked him

           13    if Demaratech was using in its business any of that

           14    intellectual property that you listed on your

11:38:48   15    bankruptcy schedules.

           16               Now, he said no, but he said something

           17    curious.     He said that the -- it was derived.           The

           18    software that Demaratech was using was derived from

           19    your intellectual property.

11:39:06   20               Does that sound accurate to you,

           21    Mr. Montgomery?

           22         A.    I'm going to invoke my right under the

           23    Fifth Amendment.

           24         Q.    In what way is the software that Demaratech

11:39:15   25    is using different than the intellectual property

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11:39:19    1    you listed on your bankruptcy schedule?

            2         A.    I'm going to invoke my right under the

            3    Fifth Amendment.

            4         Q.    Okay.

11:39:26    5               MR. FLYNN:     Did he get that money for the

            6    use of -- that's listed in the bankruptcy schedule.

            7    BY MR. CONANT:

            8         Q.    Mr. Montgomery, did you receive this

            9    $12,500 for using the -- let me strike that.

11:39:44   10               Is this $12,500 that you received some form

           11    of compensation for Demaratech using your

           12    intellectual property, Mr. Montgomery?

           13         A.    I'm going to invoke my right under the

           14    Fifth Amendment.

11:40:00   15         Q.    All right.     I'm going to turn now to

           16    page 3-29.

           17               MR. FLYNN:     Did you say the date of that

           18    last check?     Put the date on the record.

           19               MR. CONANT:      All right.     For the record,

11:40:15   20    the date of the last check on page dash 3 -- 3-22

           21    Check No. 1520 is dated March 3, 2010.

           22         Q.    Now if you turn with me, Mr. Montgomery, to

           23    page 3-29, if you look on the left-hand column

           24    there's a check, Check No. 5038.

11:40:45   25               Do you see that, Mr. Montgomery?

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11:40:46    1         A.    Yes.

            2         Q.    It's made out to Dennis Montgomery.

            3               Is that you, Mr. Montgomery?

            4         A.    I presume so.

11:40:51    5         Q.    It's made out in the amount of $12,500.

            6               Do you see that?

            7         A.    Yes.

            8         Q.    Did you receive that $12,500?

            9         A.    I'm going to invoke my right under the

11:41:00   10    Fifth Amendment.

           11         Q.    What did you do with that $12,500?

           12         A.    I'm going to invoke my right under the

           13    Fifth Amendment.

           14         Q.    Isn't that $12,500 money you received

11:41:09   15    compensation for use by Demaratech of the

           16    intellectual property you listed on your bankruptcy

           17    schedule, Mr. Montgomery?

           18         A.    I'm going to invoke my right under the

           19    Fifth Amendment.

11:41:18   20         Q.    Mr. Montgomery, are you aware of any

           21    efforts by anyone at Demaratech to sell software

           22    technology to Israel?

           23         A.    I'm going to invoke my right under the

           24    Fifth Amendment.

11:41:38   25               MR. CONANT:      I'm going to introduce what's

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11:41:40    1    going to be marked as Plaintiff's Exhibit No. 9.

            2               (Exhibit 9 was marked for identification.)

            3               MR. CROCKETT:      Mr. Conant, we don't need to

            4    take a break, but the deponent would like some water

11:41:57    5    and there doesn't appear to be any more in the room.

            6               MR. CONANT:      There does not appear.

            7               Ms. Wells, you're going to want a copy.

            8               MR. FLYNN:     You're not getting mine,

            9    Mr. Crockett.

11:42:10   10               MR. CROCKETT:      Not asking for it.

           11               Mr. Conant, we don't need to take a break,

           12    an adjournment, but the deponent would like to have

           13    some water and there isn't any more in the room.

           14               MR. CONANT:      We can recess.

11:42:26   15               MR. CROCKETT:      Then we'll take a break and

           16    we're getting some water.

           17               THE REPORTER:      Mr. Montgomery, your --

           18    your --

           19               THE WITNESS:      I'm sorry.

11:42:39   20               MR. CROCKETT:      Get some water and come on

           21    back.

           22               MR. CONANT:      Go off the record.

           23               THE VIDEOGRAPHER:       Going off the record.

           24    The time is 11:43 a.m.

11:43:01   25               (Break in the proceedings.)

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11:45:12    1               THE VIDEOGRAPHER:       The time is 11:45 a.m.

            2    We're back on the record.

            3    BY MR. CONANT:

            4         Q.    All right.     Mr. Montgomery, I don't know if

11:45:19    5    you've had a chance to review Plaintiff's Exhibit 8,

            6    but, if you haven't --

            7         A.    You mean 9.

            8         Q.    I'm sorry, is it Plaintiff's Exhibit 9 now?

            9               Do you know who George Birnbaum is?

11:45:36   10         A.    I don't recall the name specifically.

           11         Q.    Have you ever contacted -- have you ever

           12    been in contact with anyone associated with the

           13    government of Israel to sell software?

           14         A.    I'm going to invoke my right under the

11:45:48   15    Fifth Amendment.

           16         Q.    Can you please review Plaintiff's Exhibit

           17    No. 9.

           18         A.    I did.

           19         Q.    All right.     Now I'm going to read -- I'm

11:46:00   20    going to represent that this, Plaintiff's Exhibit

           21    No. 9, is an email dated June 30, 2010, from an

           22    email address from Concerned Citizen to Michael

           23    West, who's an FBI agent.

           24               I'll represent that the Concerned Citizen

11:46:21   25    email is from a gentleman by the name of George

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11:46:23    1    Birnbaum who is associated with the government of

            2    Israel.

            3         A.    I'm sorry.     I didn't hear that.        That was

            4    my mistake.     What did you say?

11:46:33    5         Q.    Simply describing what this document is,

            6    it's an email from Concerned Citizen to Michael

            7    West, who is an FBI agent.

            8               Concerned Citizen -- the Concerned Citizen

            9    email address is the email address of George

11:46:46   10    Birnbaum.

           11               MR. CROCKETT:      Do you know the source of

           12    this document, counsel?

           13               MR. CONANT:      I do.

           14               MR. CROCKETT:      What is it?

11:46:52   15               MR. CONANT:      I'm not going to -- I'm not

           16    going to state.

           17               MR. CROCKETT:      Then any question you ask is

           18    going to lack foundation until you can explain where

           19    you got this document, which appears to be an email

11:47:03   20    to an FBI agent.

           21               MR. CONANT:      We'll continue on.

           22               MR. CROCKETT:      We will.

           23    BY MR. CONANT:

           24         Q.    It says, "Dear Agent West, per my

11:47:11   25    conversation with Tim Blixseth I'm forwarding to you

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11:47:11    1    a brief timeline of the events regarding my contact

            2    with Dennis Montgomery and Demaratech.

            3               "It has been their desire from the first

            4    contact to try and sell their technology to various

11:47:19    5    institutions within the Israeli government,

            6    including the Mossad and Army Intelligence."

            7               Mr. Montgomery, is this statement in here

            8    regarding -- where it says Dennis Montgomery and

            9    Demaratech, it has been their desire from the first

11:47:40   10    contact to try and sell their technology to various

           11    institutions of the Israeli government, including

           12    Mossad and Army Intelligence --

           13               MR. CROCKETT:      I'm going to object to the

           14    question and any other question relating to this

11:47:47   15    document.     It is -- the questions lack foundation.

           16    It appears to be argumentative.

           17               This may well be a document that you

           18    fabricated for purposes of these depositions and

           19    unless and until you can identify the source of the

11:48:01   20    document and provide some basis for us to understand

           21    that it's legitimate, you might as well go get a

           22    book of fairy tales and ask him questions out of

           23    those.

           24               I'm going to instruct him not to answer.

11:48:14   25               MR. FLYNN:     I'll authenticate it.        It was

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11:48:16    1    given to us by George Birnbaum from Israel who dealt

            2    directly with Mr. Montgomery and the document

            3    accurately recites, according to Mr. Birnbaum, his

            4    dealings with Mr. Montgomery.

11:48:26    5               The source of the document is George

            6    Birnbaum, government of Israel.

            7               MR. CROCKETT:      I'm delighted to have your

            8    statement, Mr. Flynn, and I will make sure that you

            9    repeat it when you are under oath, but for the

11:48:36   10    moment you're not.

           11               And my objection stands and I'll instruct

           12    him not to answer.

           13               MR. FLYNN:     Keep going.

           14    BY MR. CONANT:

11:48:43   15         Q.    Is this a true statement, Mr. Montgomery,

           16    in any sense?      Has it ever been your desire to sell

           17    technology to various institutions within the

           18    Israeli government?       Is that a true statement,

           19    Mr. Montgomery?

11:48:59   20               MR. CROCKETT:      I'm going to object to the

           21    question on the grounds previously stated and

           22    instruct Mr. Montgomery not to answer.

           23               MR. CONANT:      This is a question of fact.

           24         Q.    Is it -- have you ever had the desire to

11:49:10   25    sell any form of technology to the Israeli

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11:49:14    1    government?

            2         A.    I don't recall.

            3               MR. FLYNN:     Did you try to sell it.

            4    BY MR. CONANT:

11:49:20    5         Q.    Did you ever try to sell it?

            6               THE WITNESS:      I can't hear you, Mr. Flynn.

            7    Can you speak up, please.

            8               MR. FLYNN:     Did you ever try to sell any

            9    type of --

11:49:29   10    BY MR. CONANT:

           11         Q.    Did you ever try to sell any form of

           12    technology to the Israeli government?

           13         A.    Are you referring to this letter?

           14         Q.    I'm asking --

11:49:38   15         A.    Oh.    I thought you were referring to this

           16    exhibit, I'm sorry.

           17         Q.    I'm asking you:       Is it a true --

           18         A.    I don't recall.

           19         Q.    You don't recall.       Okay.

11:49:39   20               MR. FLYNN:     Have you talked to George

           21    Birnbaum?

           22    BY MR. CONANT:

           23         Q.    Have you ever talked to George Birnbaum?

           24         A.    I don't recall.

11:49:42   25         Q.    Have you ever talked to anyone associated

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11:49:43    1    with the Israeli government?

            2               MR. CROCKETT:      At any point in time about

            3    anything?

            4               MR. FLYNN:     No, about selling his

11:49:50    5    decoding/decrypting technology.

            6    BY MR. CONANT:

            7         Q.    About selling -- have you ever talked to

            8    anyone at any point in time about selling your

            9    decoding or decrypting software to the Israeli

11:50:02   10    government?

           11         A.    I'm going to assert my right under the

           12    Fifth Amendment.

           13               MR. FLYNN:     Did he possess during these

           14    dates --

11:50:08   15               THE WITNESS:      Speak up.     If you're going

           16    to -- I mean I can't hear him.

           17               MR. FLYNN:     Did he have any of this in his

           18    possession.     This is a fraud.

           19               THE WITNESS:      "This is a fraud."

11:50:17   20    BY MR. CONANT:

           21         Q.    Mr. Montgomery, during the month of May did

           22    you have in your possession any form of decoding

           23    software?

           24               MR. CROCKETT:      You're talking about May of

11:50:24   25    this year?     May of what?

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11:50:26    1    BY MR. CONANT:

            2         Q.    May of this year, 2010.

            3         A.    You said May.

            4               I'm going to assert my right under the

11:50:32    5    Fifth Amendment.

            6         Q.    Okay.    Do you know who Leo Josh Kennedy is,

            7    Mr. Montgomery?

            8         A.    I'm going to assert my right under the

            9    Fifth Amendment.

11:50:41   10         Q.    Is Mr. Kennedy the current CEO and

           11    financial backer of Demaratech?

           12               MR. CROCKETT:      Calls for speculation.

           13               THE WITNESS:      Going to assert my right

           14    under the Fifth Amendment.

11:50:52   15               MR. FLYNN:     Did you defraud him.

           16               THE WITNESS:      Is that a statement you just

           17    made?     I can't hear you, Mr. Flynn.         If you're going

           18    to make a statement about fraud about me, say it

           19    loud enough so everybody can hear it; okay?              I'm

11:51:03   20    sick and tired of it.

           21               MR. CROCKETT:      That's enough.

           22               THE WITNESS:      Go ahead.

           23               MR. CROCKETT:      What's the question?

           24    BY MR. CONANT:

11:51:07   25         Q.    Have you defrauded Mr. Kennedy in

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11:51:11    1    connection with his investment in Demaratech, LLC?

            2               MR. CROCKETT:      I'll object to the question

            3    as argumentative.       Assumes facts not in evidence.

            4    Calls for speculation.        It may call for a legal

11:51:18    5    conclusion.

            6               I'll instruct the witness not to answer.

            7               MR. FLYNN:     Did he get money from --

            8               THE WITNESS:      Excuse me.

            9    BY MR. CONANT:

11:51:26   10         Q.    Answer the question.

           11               MR. CROCKETT:      No.   I've instructed him not

           12    to answer.

           13               THE WITNESS:      He told me not to answer.

           14    BY MR. CONANT:

11:51:30   15         Q.    So you're not answering the question.

           16               Did you get Mr. Kennedy to invest money in

           17    Demaratech based on representations by you that you

           18    had some special software that could decode

           19    terrorist communications?

11:51:49   20               MR. CROCKETT:      Object to the question as

           21    hopelessly confused.        It assumes facts not in

           22    evidence.     It is lacking in foundation.

           23               Read it back.

           24               I think I have more.

11:52:01   25               Can you read it back, please.

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11:52:15    1               THE REPORTER:      Question, "Did you get

            2    Mr. Kennedy to invest money in Demaratech based on

            3    representations by you that you had some special

            4    software that could decode terrorist

11:52:15    5    communications?"

            6               MR. CROCKETT:      I think I stated all my

            7    objections.

            8               THE WITNESS:      I'm asserting my right under

            9    the Fifth.

11:52:27   10    BY MR. CONANT:

           11         Q.    Let's look at this Plaintiff's Exhibit

           12    No. 9.

           13               All right.     Paragraph dated -- starts with

           14    May 14, 2010.

11:52:38   15         A.    Okay.

           16         Q.    I'll read it.      "I was contacted by Dennis

           17    Montgomery for the purpose of walking me through a

           18    presentation showing the potential applications of

           19    various technologies."

11:52:49   20               Mr. Montgomery, on or around May 14, 2010,

           21    were you ever in contact with anyone to give them a

           22    presentation about showing potential applications of

           23    various technologies?

           24         A.    I don't recall.

11:53:04   25         Q.    All right.     Let's look down at the next

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11:53:06    1    paragraph, May 18, 2010.         "Dennis Montgomery set up

            2    a temporary FTP site to which I was directed in

            3    order for him to show me various applications of his

            4    technology.     I had to cut the demonstration short

11:53:20    5    and reschedule for May 20."

            6               Mr. Montgomery, have you ever --

            7         A.    Who is "I"?      Who is "I" in this?

            8         Q.    We've previously represented and

            9    established on the record that the I refers to

11:53:32   10    George Birnbaum.

           11         A.    Okay.    I don't recall.

           12         Q.    All right.     Next paragraph, May 20, 2010,

           13    "Dennis Montgomery walked me through a very long

           14    demonstration of the technology applications he

11:53:44   15    wished to have me bring to the attention of the

           16    Mossad and Israeli military intelligence.

           17               "They were as follows:        One, decrypting

           18    Al-Jazeera broadcasts for the purpose of reading

           19    transmitted messages between Islamic terrorits."

11:54:01   20    It's a typo.

           21               "Two, identify various cameras via the

           22    unique footprint of the lenses.          Three, identify

           23    anomalies from a still photograph such as a

           24    submarine in the ocean.        Four, ability to identify

11:54:11   25    weapons and faces from video footage of a drone

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11:54:14    1    aircraft."

            2               Do you see that -- those paragraphs,

            3    Mr. Montgomery?

            4         A.    I heard it.

11:54:20    5         Q.    Is any of that true?        Did you ever contact

            6    anyone to walk them through demonstrations regarding

            7    this type of technology?

            8         A.    I assert my right under the Fifth

            9    Amendment.

11:54:31   10         Q.    Did -- Mr. Montgomery, during President

           11    Obama's inauguration in January of 2009, were you

           12    the cause of any form of terror -- heightened terror

           13    alert in the Washington, D.C., area?

           14               MR. CROCKETT:      Question clearly calls for

11:54:53   15    speculation, unless you're -- are you asking him if

           16    he invoked --

           17               MR. FLYNN:     Did he create.

           18               THE WITNESS:      Did I what?     Speak up,

           19    Mr. Flynn.     What did you say?

11:55:03   20               MR. CROCKETT:      I'm going to instruct him

           21    not to answer the question on the grounds it's

           22    without foundation.       It's argumentative.        Lacks any

           23    factual basis.

           24               Well, I understand --

11:55:17   25               And -- yeah.

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11:55:20    1               THE WITNESS:      Go ahead.     I'm sorry.

            2    BY MR. CONANT:

            3          Q.   Mr. Montgomery, in January 2009 did you do

            4    anything to create a terror threat within the

11:55:29    5    Washington, D.C., area?

            6          A.   No.

            7               You are a very ill man.         You are.

            8               MR. CROCKETT:      Easy.

            9               THE WITNESS:      You really are.      You've taken

11:55:43   10    all of attorney-client information and just handed

           11    it to Mr. Blixseth and this attorney.            You have no

           12    respect for an attorney-client privilege.             Really.

           13    You're a real piece of work.

           14               Continue.

11:55:52   15               MR. CONANT:      For the record,

           16    Mr. Montgomery's comments were directed toward

           17    Mr. Flynn.

           18               THE WITNESS:      I'm sorry, you're right.

           19               You sit there and accept attorney-client

11:56:00   20    privileged information from my attorney who is now

           21    representing Tim Blixseth, it's unbelievable.              It's

           22    really unbelievable.

           23               I hope there is a show-cause hearing in

           24    Montana for who you really represent.

           25    ///

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11:56:14    1    BY MR. CONANT:

            2         Q.    Why would it be in Montana, Mr. Montgomery?

            3         A.    I already discussed it.

            4               MR. FLYNN:     How does he know about it?

11:56:21    5               THE WITNESS:      It was on PACER.

            6    BY MR. CONANT:

            7         Q.    Do you monitor PACER?

            8         A.    I've looked at it from time to time.

            9         Q.    How recently did you look at PACER?

11:56:22   10         A.    I don't recall.

           11         Q.    PACER in which jurisdiction,

           12    Mr. Montgomery?

           13         A.    Mine.

           14               MR. FLYNN:     Did he get it from Edra?

11:56:28   15    BY MR. CONANT:

           16         Q.    What do you mean "mine"?

           17         A.    My bankruptcy.

           18         Q.    Your bankruptcy.

           19         A.    Yeah.

11:56:31   20         Q.    Do you ever monitor PACER in Montana, U.S.

           21    District Court -- U.S. Bankruptcy Court in the

           22    District of Montana?

           23               MR. CROCKETT:      This is so far --

           24               MR. CONANT:      You're obstructing,

11:56:38   25    Mr. Crockett.

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11:56:39    1               THE WITNESS:      I'm not going to answer.

            2               MR. CROCKETT:      This is so far beyond the

            3    scope of any relevance to the bankruptcy proceedings

            4    that I will instruct him not to answer and invite

11:56:47    5    you to take this to the court.

            6               MR. CONANT:      Mr. Crockett --

            7               MR. FLYNN:     Throughout the bankruptcy

            8    proceeding Mr. Montgomery has been engaged in

            9    wholesale fraud involving this nonexistent

11:56:57   10    technology, including the attempted sale of a

           11    purported bankruptcy asset belonging to the trustee

           12    to the government of Israel.

           13               THE WITNESS:      That was Mr. Flynn who made

           14    that statement.

11:57:10   15               MR. CROCKETT:      The record will show that.

           16               MR. FLYNN:     Correct.

           17    BY MR. CONANT:

           18         Q.    What attorney-client communications would

           19    lead Mr. Flynn to believe that you were causing

11:57:22   20    terror threats in or around January of 2009?

           21               MR. CROCKETT:      Let me -- you're asking him

           22    to tell you what the attorney-client communications

           23    were?

           24               MR. CONANT:      I'm asking --

11:57:31   25               MR. CROCKETT:      I'm going to instruct him

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11:57:32    1    not to answer the question.         It's also

            2    argumentative.

            3    BY MR. CONANT:

            4          Q.   When did Mr. Flynn cease to be your

11:57:38    5    attorney?

            6               MR. CROCKETT:      Calls for a legal

            7    conclusion.     Don't answer the question.

            8    BY MR. CONANT:

            9          Q.   When did Mr. Flynn withdraw from being your

11:57:44   10    attorney?

           11               MR. CROCKETT:      Calls for speculation,

           12    unless you have documents in front of you and the

           13    best documents would be the documents by which he

           14    did that.

11:57:53   15               MR. CONANT:      I'm asking Mr. Montgomery the

           16    question.

           17               MR. CROCKETT:      If you have any idea, answer

           18    it.

           19               THE WITNESS:      What's that?

11:57:59   20    BY MR. CONANT:

           21          Q.   When did Mr. Flynn cease being your

           22    attorney?

           23          A.   I don't know specifically the time frame.

           24          Q.   Was it before January 2009 or after

11:58:05   25    January 2009?

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11:58:06    1               MR. CROCKETT:      Well, this now calls for

            2    speculation.      When did he cease representing his

            3    interest?     When did he begin to violate his duty of

            4    loyalty to him and cease effectively being his

11:58:15    5    attorney?     Which are you referring to?

            6               THE WITNESS:      Why are you looking at her?

            7               MR. CONANT:      Mr. Montgomery's question was

            8    directed towards Mr. Flynn.

            9               THE WITNESS:      Mr. Flynn, I'm sorry.

11:58:27   10    BY MR. CONANT:

           11         Q.    Did you have any involvement with the

           12    heightened terror alert -- may I finish the

           13    question, please.

           14         A.    Sorry.

11:58:33   15         Q.    Did you have any involvement with the

           16    heightened terror alert surrounding President

           17    Obama's inauguration in January of 2009?

           18               MR. CROCKETT:      Are you representing there

           19    was a heightened terror alert?

11:58:46   20               MR. CONANT:      I'm asking a question,

           21    Mr. Crockett.

           22               MR. CROCKETT:      I object to the question.

           23    Assumes facts not in evidence.          Lacks foundation.

           24               MR. FLYNN:     This could be answered with

11:58:47   25    information on a website.

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11:58:50    1    BY MR. CONANT:

            2         Q.    Let me ask my previous question:           Did you

            3    have any involvement with the heightened terror

            4    alert surrounding President Obama's inauguration in

11:59:00    5    January 2009?

            6               MR. CROCKETT:      Question is vague.

            7    Ambiguous.     It lacks foundation.        Assumes facts not

            8    in evidence and it's argumentative.

            9    BY MR. CONANT:

11:59:15   10         Q.    What's your answer, Mr. Montgomery?

           11         A.    He told me not to answer the question.

           12         Q.    You refuse to answer the question?

           13         A.    No, I didn't refuse.        My attorney

           14    instructed me not to answer.

11:59:23   15         Q.    What is your answer, Mr. Montgomery?

           16         A.    I don't recall.

           17               MR. CONANT:      You don't recall.

           18               '04, what have we elsewhere where we've got

           19    emails -- whoever praising Mr. Montgomery for his

11:59:47   20    help around the D.C -- in the D.C. area in January

           21    of 2009?

           22               MR. FLYNN:     We'll have to get them during

           23    the break.

           24               MR. CONANT:      Yeah, we'll get them during

11:59:56   25    the break.

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11:59:57    1               All right.

            2               MR. FLYNN:     You don't have them.        That's

            3    not it.

            4               MR. CONANT:      I've got them somewhere.        I

12:00:05    5    have to find it.

            6               All right.     I'm going to hand you what's

            7    going to be marked as Plaintiff's Exhibit No. 10.

            8               (Exhibit 10 was marked for identification.)

            9               MR. FLYNN:     Have you got a copy of that?

12:00:37   10    BY MR. CONANT:

           11         Q.    All right.     Mr. Montgomery, I've handed you

           12    what's been marked as Plaintiff's Exhibit No. --

           13               THE REPORTER:      -- 10.

           14    BY MR. CONANT:

12:00:49   15         Q.    -- 10.    Do you know -- are you familiar

           16    with the email address LearG2@AOL.com?

           17         A.    Yes.

           18         Q.    Whose email address do you understand that

           19    to be?

12:00:59   20         A.    Edra's.

           21         Q.    Edra who?

           22         A.    Blixseth, sorry.

           23         Q.    Do you recognize the email address

           24    Dennis@ncoder.net, Mr. Blixseth -- Mr. Montgomery?

12:01:05   25         A.    Yes.

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12:01:05    1          Q.   Is that your email address?

            2          A.   Yes.

            3          Q.   This is an email dated February 26, 2009,

            4    sent approximately 5:43 p.m. -- well, strike that.

12:01:22    5               The date of the portion I'm about to read,

            6    I think, was sent at a different time.

            7          A.   What?

            8               MR. CROCKETT:      Just let him.

            9    BY MR. CONANT:

12:01:33   10          Q.   "I'm resigning my position within Blxware,

           11    LLC, effective immediately.         I will be leaving D.C.

           12    tonight for California.        I encourage you to talk to

           13    Joe L. directly on how to move Blxware forward

           14    within the government if you desire to do that."

12:01:47   15               Do you see that, Mr. Montgomery?

           16          A.   I saw it.

           17          Q.   Do you recall writing that, Mr. Montgomery?

           18          A.   No.

           19               MR. FLYNN:     Was Edra producing the source

12:01:56   20    codes the next day for her examination.

           21               THE WITNESS:      What's that?      I can't --

           22               MR. CROCKETT:      It's okay.     Let him repeat

           23    it.

           24    BY MR. CONANT:

12:02:02   25          Q.   Do you know what this paragraph is

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12:02:03    1    referring to, Mr. Montgomery?

            2         A.    No.

            3         Q.    So it appears to be an email written on

            4    February 26, 2009, from a dennis@ncoder.net, right,

12:02:18    5    and below that, "I'm resigning my position with

            6    Blxware, LLC, effective immediately."

            7               You just testified that's your email

            8    address dennis@ncoder.net.

            9         A.    Yeah, but I have no --

12:02:31   10               MR. CROCKETT:      There's no question pending.

           11    BY MR. CONANT:

           12         Q.    So you're suggesting that you didn't write

           13    that, Mr. Montgomery?

           14               MR. CROCKETT:      That completely

12:02:36   15    misrepresents what he said and it's argumentative.

           16               Don't respond.

           17    BY MR. CONANT:

           18         Q.    Mr. Montgomery, are you suggesting that you

           19    have no connection with this communication here

12:02:46   20    regarding -- that starts with, "I'm resigning my

           21    position with Blxware, LLC, effective immediately"?

           22               MR. CROCKETT:      I'm going to suggest to you

           23    that this appears to be a forgery, because it says,

           24    "In a message dated 2/26/09," and then appears to be

12:02:59   25    a forward of some sort.

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12:03:01    1               What is this?      Where did you get it?

            2               MR. CONANT:      You're testifying,

            3    Mr. Crockett.

            4               MR. CROCKETT:      No, I'm asking questions.

12:03:07    5               MR. CONANT:      It's not important for the

            6    record.

            7               MR. FLYNN:     As an officer of the court,

            8    Mr. Crockett, are you testifying that in your

            9    opinion this document is a forgery?

12:03:16   10               Would you say that?

           11               MR. CROCKETT:      I'm not testifying at all,

           12    Mr. Flynn.

           13               MR. FLYNN:     Did you suggest this document

           14    was a forgery?

12:03:22   15               MR. CROCKETT:      I'm suggesting that it

           16    appears to me to be of an uncertain origin and I've

           17    asked and been told that I can't know where it came

           18    from.

           19               MR. FLYNN:     It was forensically recovered

12:03:35   20    from Jory Russell's computer after Jory Russell on

           21    the instructions of Edra Blxware attempted to

           22    destroy the contents of the computer.            It was

           23    forensically recovered from the Russell computer.

           24               MR. CROCKETT:      Great.

           25    ///

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12:03:46    1    BY MR. CONANT:

            2         Q.    Mr. Montgomery, are you telling me that you

            3    have no connection with this communication here,

            4    "I'm resigning my position with Blxware, LLC,

12:03:57    5    effective immediately"?

            6         A.    I just said I don't recall.

            7         Q.    Did you --

            8         A.    I mean this looks like email fragments that

            9    you've taken off.       I don't recall.      There's my

12:04:07   10    answer.    That is my answer.

           11         Q.    Did you ever resign your position with

           12    Blxware, LLC?

           13         A.    I don't recall.

           14         Q.    What does it mean, "I encourage you talk to

12:04:15   15    Joe L. directly on how to move Blxware forward

           16    within the government if you desire to do that"?

           17         A.    I don't recall.

           18         Q.    Do you know who Joe L. is?

           19               MR. FLYNN:     Did he get -- hundred thousand

12:04:35   20    dollars in connection with --

           21    BY MR. CONANT:

           22         Q.    Do you know who Joe L. is?

           23         A.    I don't know.      In that reference I'm not

           24    certain what that means.

12:04:44   25         Q.    Do you know who Joe Libertore is,

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12:04:45    1    Mr. Montgomery?

            2         A.    Yes.

            3         Q.    Who is Joe Libertore?

            4         A.    A person in the government.

12:04:56    5         Q.    And in what way do you know Mr. Libertore?

            6         A.    I'm going to invoke my right under the

            7    Fifth.

            8         Q.    Wasn't Mr. Libertore a contact within the

            9    United States Air Force that you were working with

12:05:08   10    to sell -- I'm sorry.

           11               Don't you understand Joe Libertore to be a

           12    contact within the United States Air Force?

           13         A.    I'm going to invoke my right under the

           14    Fifth Amendment.

12:05:20   15         Q.    Were you in contact with Mr. Libertore in

           16    connection with your employment at Blxware?

           17         A.    I'm going to invoke my right under the

           18    Fifth Amendment.

           19         Q.    Look down at the paragraph below the

12:05:33   20    paragraph I just read, "Dennis, with all going on,

           21    much of which you encouraged me to move forward

           22    with, why are you doing this at this time?             We had a

           23    plan of action.      You're the key to getting this all

           24    done.

12:05:46   25               "I don't understand.        It is the last thing

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12:05:49    1    that I thought I would be having to deal with in the

            2    middle of all this, Edra."

            3               Do you see that, Mr. Montgomery?

            4         A.    Yes.

12:05:58    5         Q.    Doesn't this paragraph I just read

            6    represent a communication by Edra Blixseth to you?

            7         A.    I wouldn't know.       I mean is it part of that

            8    email?    I don't know.

            9         Q.    It is part of that email.

12:06:11   10         A.    Is that what you're representing?

           11         Q.    I am representing.

           12         A.    And the middle part -- so I understand

           13    this, what you're telling me is this is all one

           14    email?    Is that what you're saying?

12:06:20   15         Q.    This represents a correspondence, email

           16    correspondence.

           17         A.    So all the correspondence that's in the

           18    middle of this document refers to that very specific

           19    email?

12:06:28   20               MR. FLYNN:     This exhibit, I'm --

           21               THE WITNESS:      Wait.    I'm listening to him,

           22    not --

           23               MR. FLYNN:     I'm going to make a

           24    representation.

12:06:33   25               THE WITNESS:      I don't care what you make.

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12:06:33    1    I'm listening to him, not you.

            2               MR. FLYNN:     This exhibit represents exactly

            3    as depicted what was on the Jory Russell computer.

            4               THE WITNESS:      During Tim Blixseth's

12:06:42    5    discovery?

            6               During Tim Blixseth's discovery?

            7               MR. CROCKETT:      Counsel -- Counsel --

            8               MR. FLYNN:     Taken off the computer by

            9    9th Circuit certified forensic examiner.

12:06:49   10               THE WITNESS:      Can I know the name?        Can I

           11    know the name of that person?

           12               MR. CROCKETT:      Counsel, I need you to

           13    control your client.

           14               MR. FLYNN:     No, you need to control yours,

12:06:54   15    Mr. Crockett.

           16               (Simultaneous colloquy.)

           17               MR. CROCKETT:      The reality of this is that

           18    you're being instructed on how to ask these

           19    questions by a lawyer who is not licensed to

12:07:09   20    practice in this state and is not an attorney in the

           21    case.

           22               If you want him to ask the questions, go

           23    get him admitted pro hoc.

           24               MR. FLYNN:     I'm going to --

12:07:21   25               MR. CONANT:      I don't care what you think

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12:07:21    1    the reality is.      We're moving on.

            2               MR. CROCKETT:      That would be delightful.

            3    Move on.

            4               MR. CONANT:      Never mind.     Never mind.

12:07:29    5         Q.    Okay.    Mr. Montgomery, this represents --

            6    this exhibit here, Exhibit 10, represents a

            7    correspondence between you and Edra Blixseth.

            8               Your representation is, "I'm resigning my

            9    position within Blixseth, LLC, effective

12:07:43   10    immediately."      That is your representation in that

           11    paragraph.

           12               Immediately below that is her communication

           13    back to you, "Dennis, with all going on, much of

           14    which you encouraged me to move forward with, why

12:07:51   15    are you doing this at this time?"           That is her

           16    communication to you.

           17               This is how -- the way that this exhibit

           18    lays out this correspondence is how it was recovered

           19    and printed off of Jory Russell's hard drives.

12:08:04   20               Do you understand that?

           21               MR. CROCKETT:      Yes or no?

           22               THE WITNESS:      No.

           23    BY MR. CONANT:

           24         Q.    Why don't you understand that?

12:08:09   25         A.    By who?     Who recovered it?       Who recovered

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12:08:12    1    it off Jory Russell's computer?

            2          Q.   Mr. Flynn and --

            3          A.   Mr. Flynn recovered it?

            4          Q.   It came through --

12:08:22    5               MR. FLYNN:     It was sent to the -- hard

            6    drives were sent to that examiner who recovered

            7    that.

            8               MR. CONANT:      Yeah.

            9          Q.   I will represent this was forensically

12:08:31   10    recovered through -- through a third-party guided

           11    software, if I recall correctly, recovered this,

           12    amongst other emails off hard drives recovered from

           13    Jory Russell's laptop computer.

           14               MR. FLYNN:     Is he challenging the

12:08:48   15    authenticity --

           16               THE WITNESS:      You are asking me that or he

           17    is?

           18    BY MR. CONANT:

           19          Q.   I'm asking you.

12:08:59   20          A.   Oh.

           21          Q.   Are you challenging -- are suggesting that

           22    this is a forgery?

           23          A.   I never said it was a forgery.           I would

           24    have no way of knowing that.

12:09:00   25          Q.   Are you representing this is not an

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12:09:01    1    authentic communication between you and Edra

            2    Blixseth?

            3         A.    I don't recall.

            4         Q.    You don't recall if you ever had this

12:09:08    5    communication?

            6               MR. CROCKETT:      Asked and answered, Counsel.

            7               MR. CONANT:      All right.

            8               THE WITNESS:      You just keep asking the same

            9    question until you get an answer you want.             I've

12:09:15   10    answered it three times.         I don't recall.

           11    BY MR. CONANT:

           12         Q.    Why would Edra tell you, "With all going

           13    on, much of which you encouraged me to move forward

           14    with, why are you doing this at this time?"

12:09:24   15               MR. CROCKETT:      Calls for speculation.        I'll

           16    instruct him not to answer.

           17    BY MR. CONANT:

           18         Q.    I'm asking you:       You have a relationship

           19    with Edra Blixseth, do you not, Mr. Montgomery?

12:09:31   20         A.    I know Edra Blixseth.

           21         Q.    Can you explain to me your prior business

           22    relationship with Edra Blixseth?

           23         A.    No.

           24         Q.    Why can you not --

12:09:35   25         A.    I'll take the Fifth.        I'll assert the right

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12:09:38    1    under the Fifth.

            2         Q.    Mr. Montgomery, how does your relationship

            3    with Edra Blixseth implicate you in any criminal

            4    proceeding?

12:09:46    5               MR. CROCKETT:      Don't answer that question.

            6    BY MR. CONANT:

            7         Q.    Mr. Montgomery, you are under indictment by

            8    the Clark County D.A. for the state of Nevada, are

            9    you not?

12:09:54   10         A.    I'll assert my right under the Fifth

           11    Amendment.

           12               What, are you upset because I asserted my

           13    right?    I'm still going to assert it.

           14               MR. FLYNN:     C.J., let's break for lunch.

12:10:07   15               MR. CONANT:      Want to break for lunch?        Let

           16    me just finish this last one.

           17               I'm going to hand Mr. Montgomery what's

           18    going to be marked as Plaintiff's Exhibit No. 11.

           19               (Exhibit 11 was marked for identification.)

12:10:23   20               THE WITNESS:      Thank you.

           21               MR. CONANT:      All right.     Plaintiff's

           22    Exhibit No. 11 is represented to be a Summons issued

           23    by the District Court for Clark County, Nevada.               I

           24    will represent that I received this document in its

12:10:46   25    form, in the current -- in its current form from

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12:10:48    1    Mr. Montgomery's counsel Steve Skirvin.

            2               Why there appears to be three separate

            3    copies of the same indictment, I don't know, but

            4    this is the way I received it from Mr. Skirvin.

12:11:02    5         Q.    Mr. Montgomery, isn't it true you are under

            6    indictment by the Clark County district attorney for

            7    obtaining money under false pretenses?

            8         A.    I'll going to assert my right under the

            9    Fifth Amendment.

12:11:14   10         Q.    All right.     Theft, Mr. -- are you under

           11    indictment by the Clark County DA for theft?

           12         A.    I'll assert my right under the Fifth

           13    Amendment.

           14         Q.    Are you under indictment for drawing and

12:11:20   15    passing a check without sufficient funds in drawee

           16    bank with intent to defraud?

           17         A.    I'm going to assert my right under the

           18    Fifth Amendment.

           19         Q.    Are you aware -- okay.        So we're aware of

12:11:29   20    this indictment against you, Mr. Montgomery.

           21               Are you aware of any other criminal

           22    proceedings against you?

           23         A.    I'll assert my right under the Fifth

           24    Amendment.

12:11:39   25         Q.    Can you explain to me your current

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12:11:42    1    relationship with Edra Blixseth?

            2          A.   I'll assert my right under the Fifth

            3    Amendment.

            4               MR. CONANT:      Let's break for lunch.

12:11:47    5               THE VIDEOGRAPHER:        Going off the record.

            6    The time is 12:11 p.m.

            7               (Luncheon recess.)

            8               THE VIDEOGRAPHER:        The time is 1:17 p.m.

            9    We're back on the record.

13:17:19   10               MR. CONANT:      All right.     Mr. Montgomery.

           11               Can we just -- do we need to swear him back

           12    in?

           13               THE REPORTER:      No.

           14    BY MR. CONANT:

13:17:28   15          Q.   Where do you currently reside,

           16    Mr. Montgomery?

           17          A.   My address?

           18          Q.   Yes.

           19          A.   6 Toscana Way West, Rancho Mirage,

13:17:35   20    California.

           21          Q.   Where do you currently work?

           22          A.   Out of my home.

           23          Q.   What do you do, currently?

           24          A.   I'm unemployed.

13:17:47   25          Q.   Do you have any form of income right now,

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13:17:49    1    Mr. Montgomery?

            2         A.    No.

            3         Q.    All right.     All right.     Let's go back and

            4    talk about Mr. Birnbaum.

13:18:02    5               Do you remember our discussion with

            6    Mr. Birnbaum, Mr. Montgomery?

            7         A.    Not really.

            8         Q.    Have you ever talked to George Birnbaum?

            9               MR. CROCKETT:      Asked and answered.

13:18:23   10    BY MR. CONANT:

           11         Q.    So your answer, Mr. Montgomery?

           12         A.    Asked and answered.

           13               MR. CONANT:      All right.     I'm going to

           14    hand -- well, I'll hand it to the court reporter so

13:18:33   15    she can mark it Plaintiff's Exhibit --

           16               THE REPORTER:      12.

           17               MR. CONANT:      -- 12.

           18               (Exhibit 12 was marked for identification.)

           19               MR. CONANT:      Copy for you.

13:18:51   20               MR. FLYNN:     Copy for --

           21               MS. WELLS:     Is this ours to work with?

           22               MR. FLYNN:     C.J., you got something to work

           23    with?

           24               MR. CONANT:      I'll wing it.

13:19:04   25               Find my copy here.

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13:19:06    1         Q.    Can you review that email, Mr. Montgomery?

            2         A.    Yeah, I did.

            3         Q.    All right.     Did you read down at the bottom

            4    where -- I'll represent this is an email

13:19:15    5    correspondence between Tim Blixseth and George

            6    Birnbaum dated, approximately, November -- well, let

            7    me pull up my copy here.

            8               All right.     Now at the bottom,

            9    Mr. Montgomery, you'll see the email correspondence

13:19:51   10    begins down at the bottom dated November 11, 2010.

           11    Tim Blixseth writes to George Birnbaum, "George, he

           12    was indicted yesterday.        Best regards, Tim

           13    Blixseth."     The subject in this email is

           14    "Montgomery."

13:20:09   15               George Birnbaum writes, "Happy days.            The

           16    guy is bad news.       I know the Israelis helped Feds

           17    here.     One of the reasons I had to go dark on the

           18    issue.    All the best."

           19               Mr. Montgomery, do you have any reason --

13:20:29   20    do you know why Mr. Birnbaum would be -- would you

           21    have knowledge of your involvement with the Israeli

           22    government?

           23               MR. CROCKETT:      I'll object to the question.

           24    There's no foundation for this document.             There is

13:20:42   25    no factual basis that you've established that he

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13:20:46    1    would have any reason to understand what this email

            2    is about.     It calls for speculation.

            3               If you can answer the question, go ahead.

            4               THE WITNESS:      I don't recall.

13:20:58    5    BY MR. CONANT:

            6          Q.   You don't recall?

            7          A.   I don't -- I don't understand this

            8    document.

            9          Q.   Do you know -- do you know why the Israeli

13:21:04   10    government would be investigating you,

           11    Mr. Montgomery?

           12               MR. CROCKETT:      Are you representing that

           13    they are?

           14               THE WITNESS:      You are?

13:21:15   15               MR. CONANT:      I'm asking a question if he

           16    knows.

           17               MR. CROCKETT:      If he knows why they would

           18    be?

           19               MR. CONANT:      Yeah.

13:21:18   20               MR. CROCKETT:      That would presume that they

           21    are.   Do you know that they are?          Are you

           22    representing that they are?

           23    BY MR. CONANT:

           24          Q.   Do you know why the Israeli government

13:21:26   25    would be?

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13:21:27    1               MR. CROCKETT:      Oh, Lord.     Calls for

            2    speculation and it's argumentative.            I'll instruct

            3    you not to answer.

            4               THE WITNESS:      My attorney said not to

13:21:33    5    answer; I'm not going to answer.

            6               MR. CONANT:      Mr. Crockett, you're -- you

            7    are, in effect, trying to replace your testimony for

            8    Mr. Montgomery's testimony.

            9               MR. CROCKETT:      Would you like to adjourn

13:21:44   10    and we'll take this to the judge?           Would you like

           11    to?   I'd be delighted to do that.

           12               MR. CONANT:      I would like you to stop

           13    obstructing --

           14               MR. CROCKETT:      I'm going to do what I think

13:21:55   15    I need to do.      Counsel, if you don't like it, you're

           16    welcome to take it to the court.

           17               MR. CONANT:      You feel it appropriate to

           18    obstruct your client from answering.

           19               MR. CROCKETT:      Just like the last question

13:22:00   20    that you asked, you are assuming things that aren't

           21    true and that you haven't any evidence of.

           22               Now if you'd like to ask a question, go

           23    ahead.

           24               MR. CONANT:      Mr. Crockett, you understand

13:22:10   25    the difference between being in trial and asking a

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13:22:14    1    witness questions at trial versus asking a

            2    witness --

            3               MR. CROCKETT:      Do you have a question for

            4    the witness?

13:22:20    5               MR. CONANT:      I'm not done with my

            6    statement.

            7               Do you understand the difference between

            8    examining a witness in trial and examining a witness

            9    at a deposition, Mr. Crockett?

13:22:29   10               MR. CROCKETT:      Counsel, I'm not to going to

           11    dignify that with a response.          If you have a

           12    question, you can ask it.

           13               MR. CONANT:      So you have -- you do not

           14    understand the difference, Mr. Crockett?

13:22:34   15               MR. CROCKETT:      I understand what I

           16    understand.     You need to be asking questions of the

           17    witness, not of me, Counsel.

           18               MR. CONANT:      Great.

           19               MR. CROCKETT:      If you don't understand

13:22:41   20    that, you must not have ever taken a deposition

           21    before.

           22    BY MR. CONANT:

           23         Q.    Okay.    Mr. Montgomery, have you ever had

           24    any contact with the Israeli government concerning

13:22:52   25    any form of software that you own?

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13:22:55    1         A.    I'm going to invoke my right under the

            2    Fifth Amendment.

            3         Q.    Are you aware of any federal investigation

            4    of you concerning your attempts to sell software to

13:23:03    5    the Israeli government?

            6         A.    I'm going to invoke my right under the

            7    Fifth Amendment.

            8         Q.    Have you told anyone in the Israeli

            9    government in any form of words that you were having

13:23:15   10    your name cleared by the United States government?

           11         A.    I'm going to invoke my right under the

           12    Fifth Amendment.

           13         Q.    Mr. Montgomery, has Edra Blixseth made any

           14    effort to connect you to the Israeli government in

13:23:42   15    an effort to sell your software?

           16               MR. CROCKETT:      Calls for speculation.

           17    Assumes facts not in evidence.          Lacks factual

           18    predicate.

           19               THE WITNESS:      I'm going to assert my right

13:23:57   20    under the Fifth Amendment.

           21    BY MR. CONANT:

           22         Q.    And has Ron Burkle had any involvement in

           23    you getting connected with the Israeli government in

           24    an attempt to sell your software to the government?

13:23:59   25         A.    I don't even know who that is.

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13:24:14    1         Q.    Have you ever discussed Ron Burkle with

            2    Edra Blixseth?

            3         A.    I just told you I don't who that person is.

            4         Q.    Have you ever heard the name Ron Burkle?

13:24:25    5         A.    I don't -- I don't know.

            6               MR. CONANT:      All right.     I'm going to --

            7    let's see.     I'm going to introduce Plaintiff's

            8    Exhibit No. --

            9               13?

13:25:16   10               THE REPORTER:      Yes.

           11               (Exhibit 13 was marked for identification.)

           12               THE WITNESS:      Thanks.

           13               THE REPORTER:      Welcome.

           14    BY MR. CONANT:

13:25:32   15         Q.    All right.     Mr. Montgomery, I'm going to

           16    represent this is a copy of an email that we pulled

           17    off of Jory Russell's computer.

           18         A.    Okay.

           19         Q.    Again, at the top you'll see a From

13:25:47   20    LearG2@aol.com below that the To line

           21    dennis@ncoder.net below that beginning of a

           22    sentence, "In a message dated 2/26/09

           23    dennis@ncoder.net writes, Joe L., facility

           24    installation is scheduled for tomorrow.             He has

13:26:11   25    waited two months for it.         I just told him to cancel

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13:26:14    1    it and I'm going home.

            2               "Brian is having a baby (scheduled

            3    C-section) tomorrow.        I was going to stay and work

            4    on the installation since it has taken two months to

13:26:22    5    get the right people here, but not now."

            6               Do you see that, Mr. Montgomery?

            7          A.   Yes.

            8          Q.   Did you write that, Mr. Montgomery?

            9          A.   I don't recall.

13:26:29   10          Q.   Do you understand the context for that --

           11    what I just read?

           12          A.   Well, if the Brian is my son, that must

           13    have been when his son was born, I guess.

           14          Q.   So who is the Joe L. that you're referring

13:26:41   15    to?

           16          A.   I don't recall writing this.          You just

           17    asked me that.

           18          Q.   Would it be Joe Libertore?

           19          A.   It could be.

13:26:47   20          Q.   What would "facility installation" refer

           21    to?

           22               MR. CROCKETT:      Are you asking him to

           23    speculate?

           24               MR. CONANT:      I'm asking him to answer the

13:26:55   25    question, Mr. Crockett.

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13:26:56    1               THE WITNESS:      I don't recall.      You asked me

            2    if I wrote this, I said I don't recall.             You're

            3    referencing you got it off a hard drive, so I've

            4    answered it.

13:27:01    5    BY MR. CONANT:

            6         Q.    Is that not your email address,

            7    dennis@ncoder.net?

            8         A.    Yeah.    Sure.    You asked me that, I said

            9    yes.

13:27:09   10         Q.    And then below that paragraph I just

           11    wrote -- I just read it says, "Why Dennis?"

           12         A.    You asked me if I recall this email.            I

           13    said I don't, so why that's on there I don't know.

           14         Q.    Do you recognize the "why Dennis" as being

13:27:23   15    from Edra Blixseth?

           16         A.    You mean those two words, "Why Dennis?"

           17    Ever used in my life, ever, or only in this email?

           18         Q.    I'm asking the "Why Dennis," right here in

           19    this email?

13:27:34   20         A.    I have no idea.

           21               MR. CONANT:      All right.     I'm going to

           22    introduce what's going to be marked as Plaintiff's

           23    Exhibit 14.

           24               (Exhibit 14 was marked for identification.)

13:28:11   25               MR. CONANT:      Actually -- yeah.

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13:28:14    1               I don't have a copy for them.

            2               MR. FLYNN:     You're going to need this;

            3    right?

            4               MR. CONANT:      Uh-huh.

13:28:31    5         Q.    All right.     Have you had a chance to read

            6    this email, Mr. Montgomery?

            7         A.    No.

            8               MR. FLYNN:     While he's reading it, let them

            9    read.

13:28:42   10               (Witness reads.)

           11               THE WITNESS:      Okay.

           12    BY MR. CONANT:

           13         Q.    All right.

           14               All right.     Do you recall -- this is an

13:29:19   15    email that purports to be from LearG2@aol.com and

           16    you recognize that's Edra Blixseth's email?

           17         A.    Yes.

           18         Q.    And it's to dennis@ncoder.net.

           19               Do you see that, Mr. Montgomery?

13:29:32   20         A.    Yes.

           21         Q.    And that's your email address, isn't it?

           22         A.    Yes.

           23         Q.    It's dated August 27, 2008?

           24               MR. CROCKETT:      Document speaks for itself.

13:29:40   25               THE WITNESS:      Yes.

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13:29:40    1    BY MR. CONANT:

            2         Q.    Okay.    Now -- so this is an email that you

            3    received from Edra Blixseth; is that correct?

            4         A.    I don't know if I received it or not, but I

13:29:47    5    see who sent it.

            6         Q.    Do you -- okay.

            7               Now I want to read the first full paragraph

            8    of the text starting with the first full sentence

            9    from Edra, "We are going over numbers and ways to

13:30:04   10    make this start paying for itself."

           11         A.    Where is this at?

           12               MR. CROCKETT:      What?

           13    BY MR. CONANT:

           14         Q.    First full paragraph of text in the email,

13:30:11   15    second sentence.

           16               MR. CROCKETT:      First full paragraph starts,

           17    "Dennis."

           18               THE WITNESS:      "Dennis, I wanted to write."

           19    BY MR. CONANT:

13:30:19   20         Q.    All right.     Correction, second full

           21    paragraph.

           22         A.    Okay.

           23         Q.    "We are going over numbers and ways to make

           24    this start paying for itself.          You, as always, are

13:30:26   25    the key to our success."

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13:30:29    1               Now above that she says, "Dennis, I wanted

            2    to write as I'm very excited about what might be

            3    doors we can get open now and start monetizing

            4    Blxware."

13:30:40    5               Why would Edra say, "You are the key to our

            6    success"?

            7               MR. CROCKETT:      Your question by its nature

            8    calls for speculation and is objectionable on that

            9    basis.

13:30:48   10               I'll instruct you not to answer.

           11    BY MR. CONANT:

           12         Q.    Mr. Montgomery, answer the question,

           13    please.

           14         A.    My attorney told me not to answer the

13:30:55   15    question.

           16         Q.    Mr. Montgomery, have you ever had any

           17    conversation with Ms. Blixseth about you being the

           18    key to Blxware's success?

           19         A.    I don't know.

13:31:07   20         Q.    Why would Edra Blixseth say such a thing to

           21    you?

           22               MR. CROCKETT:      Calls for speculation.

           23    Lacks factual predicate and lacks foundation.

           24    BY MR. CONANT:

13:31:18   25         Q.    Mr. Montgomery, please explain to me your

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13:31:21    1    prior business relationship with Edra Blixseth.

            2               MR. CROCKETT:      Asked and answered.

            3    BY MR. CONANT:

            4         Q.    Can you refresh my memory as to the answer,

13:31:29    5    Mr. Montgomery?

            6         A.    I've already answered it.

            7         Q.    Isn't it true that you worked for Blxware,

            8    Mr. Montgomery?

            9         A.    Yes.

13:31:35   10         Q.    Isn't if true that Edra Blixseth owned

           11    Blxware?

           12         A.    I believe so.

           13         Q.    So you had a business relationship with

           14    Edra Blixseth, did you not?

13:31:46   15               MR. CROCKETT:      Sounds like he had a

           16    business relationship with Blxware.

           17               THE WITNESS:      Are you waiting for his

           18    question?

           19    BY MR. CONANT:

13:31:57   20         Q.    No, I'm actually waiting for you.

           21         A.    What was the question?        I was waiting for

           22    his.   I got excited, distracted me as usual.

           23               So what was the question?

           24         Q.    So you had a business relationship with

13:32:08   25    Ms. Blixseth, didn't you?

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13:32:10    1         A.    I'm going to assert my right under the

            2    Fifth Amendment.

            3         Q.    And you had a business relationship with

            4    Ms. Blixseth -- I'm sorry, strike that.

13:32:17    5               You had a business relationship with

            6    Blxware, didn't you?

            7         A.    I'm going to assert the right under the

            8    Fifth.

            9         Q.    Mr. Montgomery, weren't you the key

13:32:26   10    software developer for Blxware?

           11         A.    I'm going to assert my right under the

           12    Fifth.

           13         Q.    Weren't you the most valuable asset for

           14    Blxware in that regard?

13:32:39   15         A.    I'm going to assert the right under the

           16    Fifth.

           17         Q.    All right.     Now let's read this, I guess,

           18    third full paragraph from Edra to you.            "We need the

           19    source code, (not about court about our business,)"

13:32:53   20    end quote -- or I'm sorry.         Let me start over.

           21               "We need the source code, (not about court

           22    about our business,) so we can have it in the proper

           23    safe place to be evaluated and then we can monetize"

           24    your "work"?

13:33:08   25         A.    I thought it said "our."

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13:33:10    1         Q.    I'm sorry, you're right, "our work."

            2               This is, "This has to be done before we

            3    can.   I know you know this and have been saying we

            4    can get it done, but now we simply have to, Dennis."

13:33:28    5               Did Ms. Blixseth ever ask you for the

            6    source code, Mr. Montgomery?

            7               MR. CROCKETT:      Question is vague and

            8    ambiguous as to the use of the term "source code."

            9    What source code are you referring to?

13:33:39   10               MR. CONANT:      I'm asking for the source code

           11    referenced in this email.

           12               MR. CROCKETT:      He didn't write this email.

           13    Calls for speculation.        I'll object on that basis.

           14               MR. CONANT:      You're instructing the witness

13:33:50   15    on how to testify, Mr. Crockett, for the record.

           16               MR. CROCKETT:      I'm objecting, for the

           17    record, Counsel, because after you clarified your

           18    question it became obvious you were calling upon him

           19    to speculate.

13:34:04   20               If you can answer, go ahead.

           21               THE WITNESS:      I'd have to speculate.        I

           22    don't know.

           23               MR. CONANT:      I think the coaching of the

           24    witness was clear there.

13:34:11   25               MR. CROCKETT:      Once again, Mr. Conant, I'm

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13:34:13    1    delighted to go in front of a judge with this

            2    transcript.

            3               MR. CONANT:      Have you told your client yet,

            4    Mr. Crockett, that the judge has already said he

13:34:21    5    and, probably, you will be paying Mr. Flynn's

            6    attorney's fees for us having to file a motion to

            7    compel?

            8               MR. CROCKETT:      Is that question?

            9               MR. CONANT:      Yes.    Have you told your

13:34:31   10    client that, Mr. Crockett?

           11               MR. CROCKETT:      When you take my deposition

           12    I'll be glad to answer.

           13               MR. CONANT:      Wonderful.     (Inaudible.)

           14               THE WITNESS:      I'm sorry, I didn't hear

13:34:36   15    that.

           16               MR. CONANT:      Ms. Borthwick, did you hear

           17    that?

           18               THE REPORTER:      No.

           19               THE WITNESS:      I thought it was something

13:34:40   20    you were saying to me.

           21    BY MR. CONANT:

           22         Q.    Now this source code, Mr. Montgomery, was

           23    this the decoding software that we previously read

           24    about?

13:34:52   25         A.    I'd have no way of knowing.

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13:34:54    1         Q.    Did Blxware ever use or attempt to use the

            2    decoding software that we read about in the -- I

            3    believe Plaintiff's Exhibit 3?

            4         A.    It's very distracting when he does this,

13:35:10    5    when you stop, continuously, let Flynn ask the

            6    question.

            7               I'm sorry, go ahead.

            8         Q.    You can go ahead and answer.

            9         A.    I don't even remember the question.            When

13:35:19   10    you do that, you distract me and then I forget.

           11         Q.    Oh, I apologize.

           12         A.    Okay.    I appreciate that.

           13         Q.    In August of '08, Mr. Montgomery, did you

           14    have the decoding software that Ms. Blixseth was

13:35:39   15    demanding of you here in this email?

           16               MR. CROCKETT:      I believe that

           17    mischaracterizes this document.

           18               MR. CONANT:      I'll rephrase.

           19               MR. CROCKETT:      Show me where it says

13:35:48   20    "decoding source code."

           21    BY MR. CONANT:

           22         Q.    Remember, Mr. Montgomery, when we were

           23    looking through Plaintiff's Exhibit 3 and there was

           24    all this reference to decoding code?

13:35:58   25         A.    What's Exhibit 3?

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13:35:59    1         Q.    Your declaration where you make a bunch of

            2    representations about having decoding software.

            3         A.    Oh.

            4         Q.    All right.     Let me go back and just

13:36:46    5    rephrase it.

            6               In August of 2008 did you have any source

            7    code in your possession that Edra Blixseth was

            8    demanding that you provide her?

            9         A.    I don't recall.

13:36:57   10               I don't have that exhibit.          I don't know

           11    where it is.

           12               THE REPORTER:      It's in there.

           13               THE WITNESS:      Is it?    I just was going in

           14    reverse order.      I didn't --

13:37:06   15               MR. CROCKETT:      It's the large one.

           16               THE WITNESS:      Yeah, I know.

           17    BY MR. CONANT:

           18         Q.    Mr. Montgomery, did you ever provide any

           19    source code to Blxware, LLC?

13:37:19   20         A.    You mean did I write any?

           21         Q.    Did you provide Blxware, LLC, with any

           22    source code?

           23         A.    As of when?

           24         Q.    Any time you were working for Blxware.

13:37:35   25         A.    Did I ever write any source code any time I

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13:37:37    1    ever worked for Blxware?         Is that the question?        I'm

            2    confused, so I want to make sure I understand it.

            3         Q.    Okay.    Did you ever provide any -- did you

            4    ever write any source code for Blxware while you

13:37:46    5    were working for Blxware?

            6         A.    Yes.

            7         Q.    What was that source code?

            8         A.    I don't recall specifically.

            9         Q.    Did you ever assign any of your rights in

13:37:57   10    any source code to Blxware, LLC?

           11         A.    Did I ever assign.

           12               I don't -- I'm not certain.

           13         Q.    Isn't it true that in August of 2008 Edra

           14    Blixseth was asking you to provide her with your

13:38:17   15    source code?

           16         A.    I don't recall.

           17         Q.    Notwithstanding this email here where she

           18    says we need the source code, you don't recall,

           19    Mr. Montgomery?

13:38:30   20         A.    I don't recall specifically in 2008 on that

           21    date where I met or where we were at.

           22               It's very distracting when he does that.

           23         Q.    I apologize.

           24         A.    Okay.    You've apologized, but he keeps

13:38:44   25    doing it.     It's hard to give a deposition when he's

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13:38:47    1    doing what he's doing and you're asking me

            2    questions.

            3         Q.    Mr. Montgomery --

            4         A.    I'm listening.

13:38:52    5         Q.    -- has Ms. Blixseth ever asked you to

            6    provide Blxware with any source code ever?

            7         A.    I don't recall.

            8         Q.    Isn't it true that you've never provided

            9    Blxware with any sort of source code?

13:39:05   10         A.    No.

           11         Q.    Isn't it true that the purpose of -- let me

           12    strike that.

           13               Were you trying -- I'm sorry.          Let me

           14    strike that.

13:39:25   15               When you were at Blxware was Blxware

           16    attempting to procure a hundred million dollar

           17    contract from the United States Government?

           18         A.    I'm going to assert my right under the

           19    Fifth Amendment.

13:39:36   20         Q.    Were you involved in trying to get a

           21    hundred million dollar contract from the

           22    United States Government?

           23         A.    Going to assert my right under the Fifth

           24    Amendment.

13:39:43   25         Q.    Didn't Blxware receive approximately

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13:39:45    1    $2.5 million from the United States Government,

            2    Mr. Montgomery?

            3          A.   I'm going to assert my right under the

            4    Fifth Amendment.

13:39:52    5          Q.   Wasn't that $2.5 million Blxware received

            6    paid as compensation to Blxware for fraudulent

            7    software?

            8          A.   I'm going to assert my right under the

            9    Fifth Amendment.

13:40:04   10          Q.   Isn't it true that Blxware never had any

           11    software that purported to do what Blxware was

           12    representing it would do to the United States

           13    Government?

           14          A.   I'm going to assert my right under the

13:40:18   15    Fifth Amendment.

           16               MR. CONANT:      All right.     I'm going to hand

           17    you what's going to be marked as Plaintiff's

           18    Exhibit 15.

           19               (Exhibit 15 was marked for identification.)

13:40:35   20               MR. CONANT:      If you can hand it back --

           21               MR. CROCKETT:      Well, it's short and sweet.

           22               MR. CONANT:      Are you still looking at the

           23    email?

           24               MR. FLYNN:     Try to get me to --

           25    ///

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13:41:30    1    BY MR. CONANT:

            2         Q.    Mr. Montgomery, in approximately February

            3    of 2009, were you ever scheduled to have dinner with

            4    the Secret Service?

13:41:40    5         A.    Not that I recall.

            6               MR. FLYNN:     Was Edra.

            7    BY MR. CONANT:

            8         Q.    Was Edra Blixseth ever scheduled to have

            9    dinner with the Secret Service?

13:41:50   10         A.    I have no idea.

           11         Q.    Can you, Mr. Montgomery, tell me about any

           12    discussions you had with Edra Blixseth regarding the

           13    Blxware software?

           14         A.    What's the Blxware software?

13:42:05   15         Q.    Wasn't Blxware -- wasn't Blxware producing

           16    some form of software product?

           17         A.    Yes.

           18         Q.    And did you ever have discussions with Edra

           19    Blixseth regarding that software?

13:42:18   20         A.    Which specific piece of software are you

           21    referring to?

           22         Q.    Any software.

           23         A.    I'm sure at some point I must have.

           24         Q.    Was there any software that Blxware was

13:42:27   25    developing to decode Al-Jazeera communications?

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13:42:34    1         A.    I'm going to assert my right under the

            2    Fifth Amendment.

            3         Q.    Was there any software that Blxware was

            4    purporting to develop that was to be used to detect

13:42:38    5    terrorist attacks?

            6         A.    I'm going to assert my right under the

            7    Fifth Amendment.

            8         Q.    Now you chuckled there.

            9         A.    Well, because I'm tired of you making these

13:42:47   10    outrageous allegations against me.           It's really

           11    getting old.

           12               MR. FLYNN:     Then why are you taking the

           13    Fifth.

           14    BY MR. CONANT:

13:42:54   15         Q.    Then why are you taking the Fifth?

           16               THE WITNESS:      Is he asking me that or you,

           17    Mr. Flynn?

           18    BY MR. CONANT:

           19         Q.    It doesn't really matter.

13:43:01   20         A.    Yeah, it does.      I thought you were the

           21    people asking me the questions but he keeps trying

           22    to get me agitated and throw his weight around in

           23    this deposition and cause a problem.

           24         Q.    Mr. Montgomery, we're just trying to get to

13:43:13   25    the truth here and when -- so however we get to

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13:43:15    1    that --

            2         A.    I got it.     I got it.     Okay.

            3         Q.    It's very, very challenging.

            4         A.    Go ahead.

13:43:23    5         Q.    Now why did you chuckle, Mr. Montgomery,

            6    when I asked you that?

            7         A.    I don't recall.

            8         Q.    So what was --

            9         A.    Mr. Flynn's facial expressions, I guess I'm

13:43:33   10    getting tired of them and you let him keep doing

           11    them.

           12         Q.    Why would it be absurd for us to suggest

           13    that this software that Blxware was creating to

           14    detect terrorist attacks was, you know, phoney?

13:43:46   15               Why would it be absurd for us --

           16         A.    I'm going to assert my right under the

           17    Fifth.

           18         Q.    Because if you turn back to Plaintiff's

           19    Exhibit 3 here --

13:43:53   20         A.    The one that Mr. Flynn wrote.

           21         Q.    I believe you -- I believe you signed this

           22    declaration, Mr. Montgomery.          We've established that

           23    on the record.

           24         A.    Yeah.

13:44:09   25         Q.    Now if you turn with me to page 2 of this

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13:44:13    1    declaration --

            2         A.    Bottom 2 or the second page?

            3         Q.    Label No. 2.

            4         A.    Okay.

13:44:17    5         Q.    -- line 18 and a half --

            6         A.    Uh-huh.

            7         Q.    -- "Multiple" --

            8         A.    Wait a minute.

            9               Okay, I'm sorry.       Go ahead.

13:44:26   10         Q.    Line 18 and a half, "Multiple software

           11    programs developed, owned, possessed and used

           12    exclusively by me, derived from my ODS between 1994

           13    and December 31, 2002, some of the source codes for

           14    which are direct derivatives of my copyrights and

13:44:41   15    which beginning in November of 2002 I began to adapt

           16    to military applications on behalf of the Department

           17    of Defense, the Navy, the Air Force and the,"

           18    redacted, "mostly utilized in the war on terror

           19    between March 2003 and the present."

13:44:58   20               Now weren't these -- this software you're

           21    referring to here, the decoding -- the software to

           22    decode Al-Jazeera communications, Mr. Montgomery?

           23         A.    I'll assert my right under the Fifth

           24    Amendment.

13:45:12   25         Q.    Why would it be -- why would you get upset

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13:45:15    1    when we would suggest that this software is fake?

            2         A.    I'm going to assert my right under the

            3    Fifth Amendment.

            4         Q.    Isn't it true that this software was never

13:45:23    5    legitimate?

            6         A.    I'm going to assert my right under the

            7    Fifth Amendment.

            8         Q.    Isn't it true it's just a complete fraud on

            9    the United States Government, Mr. Montgomery?

13:45:30   10         A.    I'm going to assert my right under the

           11    Fifth Amendment.

           12         Q.    How many terrorist attacks have you helped

           13    thwart?

           14         A.    I'm going to assert my right under the

13:45:39   15    Fifth Amendment.

           16         Q.    How many American lives do you believe

           17    you've saved through your software?

           18         A.    I'm going to assert my right under the

           19    Fifth Amendment.

13:45:40   20         Q.    How many times have you contacted the

           21    government to alert them to some form of terrorist

           22    attack?

           23         A.    I'm going to assert my right under the

           24    Fifth Amendment.

13:45:48   25         Q.    Isn't it true, Mr. Montgomery, that you

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13:45:49    1    would create terror threats yourself,

            2    Mr. Montgomery?

            3          A.   That is absurd.

            4          Q.   Why is that absurd?

13:45:57    5          A.   That is absolutely absurd and I'm tired of

            6    you and him making outrageous allegations against

            7    me.

            8          Q.   Why is it absurd?

            9          A.   Period.     That's my answer.

13:46:11   10          Q.   Have you read, Mr. Montgomery, the -- it's

           11    a Playboy article entitled The Man who Conned the

           12    Pentagon?

           13          A.   I've read it.

           14               MR. CONANT:      I'm going to introduce this as

13:46:24   15    Plaintiff's Exhibit No. 16.

           16               (Exhibit 16 was marked for identification.)

           17               THE WITNESS:      Mr. Flynn's handiwork.

           18    BY MR. CONANT:

           19          Q.   All right.     Now this Plaintiff's Exhibit

13:46:50   20    No. 16, which I'll represent is an article that ran

           21    in Playboy magazine.        I, unfortunately, don't know

           22    the exact date.

           23               Now Mr. Montgomery, you say you're familiar

           24    with this article?

13:47:04   25          A.   Yeah, I've read it.

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13:47:05    1         Q.    Can you explain to me what this article is

            2    about?

            3         A.    It was --

            4               MR. CROCKETT:      The document speaks for

13:47:11    5    itself, Counsel.

            6               MR. CONANT:      I'm trying to establish a

            7    foundation, Mr. Crockett, to show that

            8    Mr. Montgomery is familiar with the article.

            9               MR. CROCKETT:      He stated that.

13:47:18   10               THE WITNESS:      I said I was.      I read it.

           11    BY MR. CONANT:

           12         Q.    So what is it about, Mr. Montgomery?

           13         A.    Allegations that -- I'd have to read it

           14    again, specifically -- that I was working with a

13:47:31   15    certain organization and employees of eTreppid made

           16    allegations in it.       That's basically --

           17         Q.    Doesn't this article suggest that you were

           18    creating -- that you were behind the creation of

           19    software that could detect terrorist attacks,

13:47:53   20    Mr. Montgomery?

           21         A.    I'd have to read it again.          If you want me

           22    to, I will.

           23         Q.    When you read this article, do you recall

           24    anything in this article that wasn't true,

13:48:02   25    Mr. Montgomery?

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13:48:04    1         A.    Do I recall it.

            2               Do you want me to read it again?

            3               MR. CONANT:      No, we don't have that sort of

            4    time.

13:48:36    5               All right.     All right.     Do you want to do

            6    this, get into this?

            7               MR. FLYNN:     Just ask -- between

            8    November 19th -- did you manufacture any data

            9    leading to an alleged terror attack.

13:49:40   10    BY MR. CONANT:

           11         Q.    Mr. Montgomery, between November 19, 2008,

           12    and the inauguration of President Obama in January

           13    of 2009, did you produce any data which discussed

           14    there would be a terrorist attack in connection with

13:50:00   15    Mr. Obama's inauguration?

           16         A.    I don't recall.

           17         Q.    What about an assassination on Mr. Obama?

           18         A.    That is just -- you just produce sound

           19    bites.

13:50:11   20               MR. CROCKETT:      Just answer the question,

           21    Dennis.

           22               THE WITNESS:      No.

           23    BY MR. CONANT:

           24         Q.    No?

13:50:16   25               Why is it absurd?

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13:50:16    1         A.    Because you just produce sound bites so the

            2    reporter can use them in another article that he

            3    instigated.

            4         Q.    Mr. Montgomery, if you recall back to

13:50:26    5    Plaintiff's Exhibit No. 3 there's a lot of

            6    discussion in here about you detecting terrorist

            7    attacks, so I don't know why it's absurd for me to

            8    ask --

            9         A.    You said just said assassination.           You just

13:50:38   10    said assassination of the President.            That's -- I'm

           11    speechless.

           12               MR. CROCKETT:      Stay that way.

           13    BY MR. CONANT:

           14         Q.    So it would be less egregious to suggest

13:50:48   15    that it was a terrorist attack instead of an

           16    assassination?

           17         A.    You're being funny.

           18         Q.    No.    I'm asking a question, because --

           19         A.    I don't understand what you're trying to

13:50:56   20    say.

           21         Q.    I'm asking a question.

           22               Why is it absurd to suggest there would be

           23    an assassination on President Obama that you

           24    detected versus just a terrorist attack in

13:51:04   25    connection with his inauguration?

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13:51:07    1         A.    I didn't say either.

            2         Q.    You didn't say either what?

            3               MR. FLYNN:     That he didn't recall.

            4               THE WITNESS:      Are you answering for me now?

13:51:16    5               MR. CROCKETT:      Dennis.

            6    BY MR. CONANT:

            7         Q.    Let's look at page 10, Plaintiff's Exhibit

            8    No. 3, paragraph 20.

            9         A.    Yeah.

13:51:23   10         Q.    By June, September -- "By June through

           11    September 2003 my ODS had attracted the interest

           12    of," redacted, "in connection with using Predator to

           13    detect and track specific al-Qaida operatives" --

           14         A.    Where are we?      Where are we?      I don't know

13:51:42   15    where we're at.

           16               MR. CROCKETT:      I don't either.

           17    BY MR. CONANT:

           18         Q.    Page 10, paragraph 20.

           19         A.    Okay.    Sorry.

13:51:47   20               Got it.

           21         Q.    Paragraph entitled "Tracking al-Qaida,

           22    USSOCOM and" blank.

           23         A.    Yeah.

           24         Q.    "By June through September 2003 my ODS had

13:51:55   25    attracted the interest of," blank, "and USSOCOM in

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13:52:02    1    connection with using Predator to detect and track

            2    specific al-Qaida operatives in the field, including

            3    al-Zarqawi, and specific objects related to him,

            4    such as cars and vans with live video feeds encoded

13:52:14    5    and scanning for objects and people in real time.

            6               "My object tracking was placed on a

            7    specific number of DV laptops and used by SOCOM

            8    and," blank, "in the field.         I interacted on a

            9    regular basis with these operatives in the

13:52:28   10    connection with the use and application of my

           11    technology.

           12               "Special servers were installed in the POC,

           13    Predator Operation Command, at Nellis Air Force Base

           14    and at Fort Bragg to look for, detect and track

13:52:40   15    specific objects which were, in fact, positively

           16    identified."

           17               Now is that true?       Is that a true

           18    statement, Mr. Montgomery, that you --

           19               MR. FLYNN:     -- had the technology that did

13:52:51   20    that.

           21    BY MR. CONANT:

           22         Q.    -- that you had the technology that did

           23    that?

           24         A.    It's very distracting when Mr. Flynn does

13:52:56   25    that and it's very hard to keep focused on your

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13:53:01    1    question when he keeps interrupting it and adding

            2    his piece in the middle of it.

            3         Q.    Okay.    Do you need to read line 13 through

            4    to 20 again?

13:53:07    5         A.    I read it.

            6               I'm going to assert my right under the

            7    Fifth.

            8               I'm going to assert my right, Mr. Flynn,

            9    under the Fifth.

13:53:16   10               MR. FLYNN:     Okay.

           11               MR. CONANT:      All right.     All right.

           12               All right.     I'm going to hand you -- hand

           13    the reporter, what's going to be marked as

           14    Plaintiff's Exhibit No. --

13:53:42   15               THE REPORTER:      17.

           16               MR. CONANT:      -- 17.

           17               (Exhibit 17 was marked for identification.)

           18               THE WITNESS:      Thank you.

           19    BY MR. CONANT:

13:54:11   20         Q.    All right.     Mr. Montgomery, I've handed you

           21    what's been marked Plaintiff's Exhibit No. 17.              This

           22    is an employment -- well, the first page, purports

           23    to be an email from Patricia Yarborough to Jory

           24    Russell says, "Hi, Jory.         Here's Dennis's employment

13:54:29   25    agreement.     Let me know if you need anything else."

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13:54:33    1               Do you see that?

            2          A.   Yes.

            3          Q.   Turn to the second page of the document,

            4    Opspring, LLC, dated April 5, 2006.

13:54:40    5          A.   The second, you mean the -- okay.

            6          Q.   Second page.

            7          A.   Yeah, bottom one.       Okay.

            8          Q.   All right.     Do you understand what this

            9    document is, Mr. Montgomery?

13:54:49   10          A.   I'd have to look through it.

           11          Q.   Please take a second to look through it.

           12          A.   Yeah.

           13               (Witness complies.)

           14               THE WITNESS:      All right, got it.

13:55:15   15    BY MR. CONANT:

           16          Q.   All right.     Are you familiar with this

           17    document, Mr. Montgomery?

           18          A.   Not specifically, but I know the gist of

           19    it.

13:55:21   20          Q.   Let's turn to -- well, the first page, down

           21    at the bottom left-hand corner says Montgomery's

           22    initials.

           23               Do you see that?

           24          A.   Yes.

13:55:28   25          Q.   Are those your initials, Mr. Montgomery?

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13:55:30    1         A.    They might be.

            2         Q.    Do you recall executing this document,

            3    Mr. Montgomery?

            4               THE WITNESS:      Mr. Flynn, you're very

13:55:40    5    distracting when I'm trying to look at something and

            6    answer a question.       Please stop doing that.

            7               Will you please have him stop doing that,

            8    Mr. Conant?

            9               MR. FLYNN:     Mr. Montgomery, I was talking

13:55:52   10    to the Government trying to find an exhibit for

           11    them.

           12               THE WITNESS:      Ah.   Yeah.

           13               I don't recall this one specifically,

           14    but --

13:56:04   15    BY MR. CONANT:

           16         Q.    But you have no reason to doubt that you

           17    signed this, Mr. Montgomery?

           18         A.    No.

           19         Q.    Is that your signature, if you turn to the

13:56:09   20    last two pages of the document?

           21         A.    It appears to be.

           22         Q.    Okay.    Now on the first page of the actual

           23    contract under the heading Compensation and

           24    Benefits, your compensation will be $1.2 million per

13:56:31   25    year.

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13:56:33    1               Was your compensation by Opspring, LLC,

            2    $1.2 million per year, Mr. Montgomery?

            3         A.    I'm going to assert my right under the

            4    Fifth.

13:56:41    5         Q.    So when did -- so beginning in April of

            6    2006 you were getting paid $1.2 million per year.

            7    How long were you -- how long was this contract in

            8    effect?

            9         A.    I'm going to assert my right under the

13:56:53   10    Fifth.

           11         Q.    So isn't it true that in approximately

           12    March of 2009 you stopped getting paid by -- you

           13    stopped getting paid by -- you stopped getting paid

           14    your compensation under this contract,

13:57:09   15    Mr. Montgomery?

           16         A.    I don't recall that specifically.

           17         Q.    Do you know when you stopped getting paid

           18    by Opspring, LLC, or Blxware, LLC, Mr. Montgomery?

           19         A.    No.

13:57:18   20         Q.    Who was paying you, was it Opspring, LLC,

           21    or Blxware, LLC?

           22         A.    I'm not certain.

           23         Q.    Can you describe the relationship between

           24    Opspring, LLC, and Blxware, LLC?

13:57:32   25               I'll reask the question, can you describe

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13:57:34    1    to me the difference between Opspring, LLC, and

            2    Blxware, LLC?

            3               THE WITNESS:      Isn't that the same question?

            4               MR. CROCKETT:      No.

13:57:42    5               THE WITNESS:      I'm sorry, I thought it was.

            6               I'm going to assert my right under the

            7    Fifth.

            8               MR. FLYNN:     Each them get the 50,000, get

            9    the 50,000 each of them.

13:57:57   10    BY MR. CONANT:

           11         Q.    All right.     Let's look at the first

           12    heading -- or, I'm sorry, second heading down on the

           13    first page, Loans to Montgomery.           "As discussed, the

           14    company has agreed to provide you with a $1 million

13:58:09   15    loan, the first loan."

           16         A.    I see that.

           17         Q.    Did you get $1 million from Opspring, LLC?

           18         A.    I'll assert my right under the Fifth.

           19         Q.    If you look down at the first bullet point

13:58:21   20    under that first full paragraph -- I'm sorry, let me

           21    give context here.

           22               If you go to the last sentence of that

           23    paragraph that I just read from --

           24         A.    Uh-huh.

13:58:29   25         Q.    -- "Additionally, the company has agreed to

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13:58:31    1    provide you with additional loans, collectively with

            2    the first loan, called "The Loans" in the following

            3    amount at the following time subject to you

            4    continuing to be an employee of the company at the

13:58:42    5    relevant time."

            6               You see that, Mr. Montgomery?

            7         A.    Yes.

            8         Q.    All right.     First bullet point, "$500,000

            9    on the first day you begin working full-time in the

13:58:50   10    company's offices in Bellevue, Washington."

           11               Do you see that, Mr. Montgomery?

           12         A.    Yes.

           13         Q.    Did you get $500,000 from Opspring, LLC --

           14         A.    I'm sorry.

13:58:59   15         Q.    -- under this -- under this first bullet

           16    point?

           17         A.    I thought you were done.

           18               Assert my right under the Fifth.

           19         Q.    Where did that $500,000 go?

13:59:07   20         A.    I assert my right under the Fifth.

           21         Q.    In fact, backing up, where did the

           22    $1 million go that you got that's referenced under

           23    that first paragraph?

           24         A.    I'm confused.      I'm trying to -- I'm

13:59:19   25    confused.     I don't know if the first sentence refers

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13:59:24    1    to those two five hundreds.         I don't know.      I guess

            2    it does.

            3               Your question's confusing.          Reask it.

            4         Q.    Okay.    Let's go back up.       The $1 million

13:59:38    5    loan referred to as "the First Loan" --

            6         A.    Uh-huh.

            7         Q.    -- where did that money go?

            8         A.    I don't recall specifically.

            9         Q.    The $1 million -- strike that.

14:00:03   10               Isn't it true, Mr. Montgomery, that with --

           11    with this $1 million you would launder that -- did

           12    you launder that money through casinos,

           13    Mr. Montgomery?

           14         A.    I'll assert my right under the Fifth.

14:00:22   15         Q.    Mr. Montgomery, have you ever told anyone

           16    that you had a practice of using chip brokers in

           17    Las Vegas to help you hide your transactions with --

           18    with the -- your monetary transactions?

           19         A.    No.

14:00:38   20         Q.    Would you ever have a practice of using

           21    middlemen to help you -- in Las Vegas who would take

           22    casino chips to -- in any form of using third

           23    parties through using casino chips to help you hide

           24    your monetary transactions?

14:00:58   25         A.    No.

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14:01:01    1          Q.   Did you ever use street brokers in

            2    Las Vegas to help you launder money?

            3          A.   What is a "street broker"?          I'm confused.

            4          Q.   A street broker is someone who would -- a

14:01:11    5    party who's seeking to hide monetary transactions

            6    would go give a bunch of money to a street broker, a

            7    person on the street going to Las Vegas, who would

            8    then go take that cash into a casino, take the

            9    chips, go cash -- go exchange that cash for casino

14:01:32   10    chips and then give those chips back to you so you

           11    can then, essentially, hide the trail of money

           12    started with you.

           13               MR. CROCKETT:      There's no question pending.

           14               THE WITNESS:      That was a statement, wasn't

14:01:43   15    it?

           16               MR. CROCKETT:      Right.

           17               So is there a question?

           18               MR. FLYNN:     He would take the chips to the

           19    street broker and then slip them in little by

14:01:51   20    little.

           21               MR. CONANT:      All right.

           22          Q.   So are familiar with a street broker?            Do

           23    you know what I --

           24          A.   No, I didn't.

14:01:54   25          Q.   Okay.    You understand -- you know what I

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14:01:57    1    mean by "street broker"?

            2         A.    No.

            3         Q.    Would you ever take casino chips, buy

            4    casino chips from casinos, give them to third

14:02:04    5    parties who would then go exchange those chips for

            6    cash and give that cash back to you?

            7         A.    No.

            8         Q.    Did you ever use --

            9               MR. FLYNN:     Ask if he realizes he's under

14:02:21   10    oath.

           11    BY MR. CONANT:

           12         Q.    Do you realize you're under oath,

           13    Mr. Montgomery?

           14         A.    Yes.

14:02:24   15         Q.    Did you ever tell any third party you were

           16    engaged in any practice related to using casinos to

           17    launder money?

           18         A.    I have no idea.

           19         Q.    You have no idea if you told --

14:02:35   20         A.    I don't recall.

           21         Q.    You don't recall if you told someone that.

           22    Okay.

           23               MR. FLYNN:     Are you finished with the

           24    $500,000?

14:02:49   25               MR. CONANT:      Yes.

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14:02:49    1         Q.    All right.     Mr. Montgomery, if you flip

            2    with me to the -- do you need me to repeat the

            3    question?

            4         A.    No, I heard.

14:02:55    5         Q.    If you flip with me to the second page of

            6    the actual contract --

            7         A.    Yeah, okay.

            8         Q.    -- labeled 5-3, the first bullet point up

            9    at the top you would be purported to get $500,000

14:03:08   10    within five business days after your family moves

           11    permanent residence to the Puget Sound area of

           12    Washington State.

           13               Do you see that, Mr. Montgomery?

           14         A.    Yes.

14:03:19   15         Q.    Did you get that $500,000 that's referred

           16    to right there?

           17         A.    I don't recall, but I did move.

           18         Q.    You don't recall if you got the $500,000.

           19               Let's look at the next bullet point,

14:03:33   20    $500,000 within five business days after Opspring

           21    receives its first compensation from an independent

           22    third party for sale or license of intellectual

           23    property by you as the company's employee.

           24               Did you ever get that $500,000 referred to

14:03:49   25    there?

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14:03:50    1          A.   I'm going to assert my right under the

            2    Fifth.

            3          Q.   What was the -- what were you giving to

            4    Blxware in exchange for this -- for entering into

14:03:56    5    this employment agreement?

            6          A.   I'm going to assert my right under the

            7    Fifth.

            8          Q.   So you won't tell me what services you were

            9    providing to Blxware in exchange for this -- your

14:04:07   10    employment with Blxware?

           11          A.   I just stated my answer to the question.

           12          Q.   Or, I should say, Opspring, since it's an

           13    Opspring contract.

           14               MR. FLYNN:     Were there any actual loan

14:04:17   15    documents.

           16    BY MR. CONANT:

           17          Q.   Were there any actual loan documents that

           18    were executed in connection with all these "loans"

           19    referenced here in this employment agreement?

14:04:25   20          A.   I don't recall if there was or not.

           21          Q.   All right.     Last bullet point, $300,000

           22    upon the company's receipt --

           23               MR. FLYNN:     Did he report these amounts on

           24    his tax return.

           25    ///

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14:04:34    1    BY MR. CONANT:

            2          Q.   $300,000 upon the company's receipt of at

            3    least $1 million compensation in the aggregate from

            4    one or more independent third parties, did you ever

14:04:44    5    get that?

            6          A.   I don't recall.

            7          Q.   Do you recall Blxware getting paid -- I'm

            8    sorry.

            9               If I say Blxware, I mean -- I alternatively

14:04:53   10    mean Opspring, LLC, since --

           11          A.   Well, you've been saying Blxware for the

           12    last five -- I think for the last bunch of

           13    questions.

           14          Q.   Well, all right.       Well, for purposes of the

14:05:00   15    deposition, I'll refer to them interchangeably,

           16    because my understanding they were operating

           17    interchangeably.

           18               Now do you recall at any time when Blxware

           19    or Opspring was paid approximately $2.5 million from

14:05:13   20    the United States Government?

           21          A.   I'm not going to answer the question.            I'll

           22    take the Fifth.

           23               MR. FLYNN:     All the monies they've got on

           24    the contract --

           25    ///

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14:05:23    1    BY MR. CONANT:

            2         Q.    Now all this money that you received on

            3    this employment agreement, did you ever report those

            4    funds on your tax returns, Mr. Montgomery?

14:05:32    5         A.    I'm going to assert my right under the

            6    privilege.

            7         Q.    What privilege?

            8         A.    Fifth.

            9         Q.    Fifth Amendment privilege.

14:05:39   10         A.    Excuse me.

           11         Q.    All right.     If you look down here, bullet

           12    point -- I'm sorry, heading Intellectual Property

           13    Assignment Agreement.

           14               It reads, "Based on your representations

14:05:50   15    and warrantees and our discussions" --

           16         A.    Excuse me.     Which page?      The bottom --

           17         Q.    Well, really in the middle --

           18         A.    Okay.    Okay.    I got it, yeah.

           19         Q.    -- under the heading Intellectual Property

14:06:01   20    Assignment Agreement.

           21               "Based on your representations and

           22    warrantees and our discussions, it is our

           23    understanding that you personally and exclusively

           24    own and control certain intellectual property and

14:06:08   25    technology rights that will be crucial to the

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14:06:11    1    development of our business.

            2               "Accordingly, as a condition precedent to

            3    your employment in the company entering into this

            4    letter agreement with you and providing you with the

14:06:20    5    compensation and benefits hereunder and the loan,

            6    you and the Montgomery Family Trust will be required

            7    to sign and deliver the Intellectual Property

            8    Assignment Agreement provided to you which relates

            9    to the assignment of this intellectual property and

14:06:34   10    technology to the company.

           11               "You agree and acknowledge that without

           12    your entering into the IP agreement the company

           13    would not employ you, enter into the letter

           14    agreement or the Common Interest Agreement with you

14:06:43   15    or provide you with the compensation or benefits

           16    hereunder for the loan."

           17               Do you see that, Mr. Montgomery?

           18         A.    I heard you read it, yes.

           19         Q.    Did you ever execute the IP agreement?

14:06:54   20         A.    I don't recall.

           21         Q.    Mr. Montgomery, did you ever deliver the

           22    intellectual property to Opspring that's

           23    contemplated within this paragraph I just read?

           24         A.    I'll assert my right under the Fifth

14:07:10   25    Amendment.

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14:07:12    1               MR. CONANT:      All right.     I'm going to

            2    hand -- we'll mark the --

            3               Want to mark the whole booklet as an

            4    exhibit?

14:07:45    5               MR. FLYNN:     Yeah.

            6               MR. CONANT:      They're not Bates stamped.

            7               MR. FLYNN:     Okay.    You just have to --

            8    you'll just have to adequately describe each page.

            9    These are Wells Fargo bank records that are --

14:08:07   10    amounts referenced in the employment agreement --

           11               THE WITNESS:      Can I take a break and use

           12    the rest room?

           13               MR. CONANT:      Yes.

           14               THE WITNESS:      Okay.

14:08:16   15               MR. CONANT:      We'll go off the record.

           16               THE VIDEOGRAPHER:       This marks the end of

           17    Media No. 2.      The time is 2:08 p.m.        We're off the

           18    record.

           19               (Recess taken.)

14:15:19   20               THE VIDEOGRAPHER:       This marks the beginning

           21    of Media No. 3.      The time is 2:15 p.m.        We're back

           22    on the record.

           23    BY MR. CONANT:

           24         Q.    Mr. Montgomery, we're going to go into

14:15:27   25    these bank records here in a second, but before I do

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14:15:30    1    I want to ask a couple of quick questions.

            2               Have you ever hacked into the email of Tim

            3    Blixseth?

            4         A.    No.

14:15:38    5         Q.    Do you understand what I mean by "hacking"?

            6         A.    Well, Mr. Flynn's made allegations and

            7    multiple statements, so the answer is no.

            8         Q.    By hacking I mean, any form of unauthorized

            9    access, access to emails, computers, computer

14:16:00   10    systems, anything like that.

           11               Have you ever engaged in any hacking?

           12         A.    No.

           13         Q.    What about Mr. Flynn's email?

           14         A.    No.

14:16:08   15         Q.    What about my emails?

           16         A.    No.

           17         Q.    Do you know if Edra Blixseth has engaged in

           18    any form of computer hacking?

           19         A.    I have no way of knowing.

14:16:17   20         Q.    All right.     Let's turn to these bank

           21    statements.      Now these bank statements were -- let's

           22    turn to Tab No. 1, Mr. Montgomery.

           23         A.    Okay.

           24         Q.    It says Account Statement -- at the top,

14:16:34   25    Account Statement December 10 through January 11,

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14:16:37    1    2006.

            2               Do you see that?

            3         A.    Yes.

            4         Q.    Do you see the name of it, Montgomery

14:16:41    5    Family Trust, Dennis Montgomery, Trustee, Brenda

            6    Montgomery, Trustee?

            7               Do you see that?

            8         A.    Yes.

            9         Q.    Do you recognize these bank statements,

14:16:48   10    Mr. Montgomery?

           11         A.    I'm going to assert my right under the

           12    Fifth.

           13         Q.    Now, for the record, these are bank

           14    statements that Mr. Flynn received in connection

14:17:00   15    with the Nevada litigation when -- when he was to

           16    take your debtor's exam of you in connection with

           17    the judgment he has against you.

           18               Do you recall that, Mr. Montgomery?

           19         A.    Well, I produced stuff for Liner so --

14:17:18   20         Q.    Do you recall producing these bank

           21    documents?

           22         A.    No.

           23         Q.    You don't recall.

           24               Do you remember having to produce your bank

14:17:26   25    records in connection with the Nevada litigation?

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14:17:29    1         A.    No.    I just know stuff was given to Liner.

            2         Q.    Who would have given it to Liner?

            3               MR. CROCKETT:      Calls for speculation.

            4               If you can answer, go ahead.

14:17:38    5               THE WITNESS:      I don't know.

            6    BY MR. CONANT:

            7         Q.    Did you ever give any of your bank records

            8    to Liner in connection with the Nevada litigation?

            9         A.    Yes.

14:17:46   10         Q.    Did you put these bank records on a compact

           11    disk?

           12         A.    I don't recall.

           13         Q.    But do you recall getting your bank records

           14    to the Liner firm?

14:17:56   15         A.    Well, you said any documents, didn't you,

           16    or am I confused?

           17         Q.    All right.     Let's ask it both ways:         Did

           18    you ever give any documents to the Liner firm in

           19    connection with the Nevada litigation?

14:18:07   20         A.    I believe so.

           21         Q.    And what would those documents consist of?

           22         A.    I don't recall.

           23         Q.    Would they consist of your bank records?

           24         A.    I don't recall.

14:18:15   25               MR. CONANT:      All right.     Well, for the

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14:18:15    1    record, these are documents that Mr. Flynn received

            2    in connection with the Nevada litigation when he was

            3    to take your debtor's exam and he would have

            4    received these from --

14:18:28    5               -- the Liner firm, Mr. Flynn?

            6               They were put on a CD.

            7               MR. FLYNN:     According to emails from the

            8    Liner firm, they were put on the CD and they were

            9    given to me.

14:18:43   10               MR. CONANT:      Mr. Flynn will represent that

           11    according to the emails that he's received,

           12    Mr. Montgomery put these on a CD -- and put these

           13    documents on a CD and then Liner firm produced them

           14    to him.

14:18:51   15               (Exhibit 18 was marked for identification.)

           16               THE WITNESS:      That's a question?

           17               MR. CONANT:      No, I'm stating for the

           18    record.

           19               THE WITNESS:      Oh, okay.

14:18:57   20               MR. FLYNN:     Look at this.

           21               MR. CONANT:      What's the date on that,

           22    March 10th?

           23               March 10th.

           24               MR. FLYNN:     No.

14:19:06   25               MR. CONANT:      March 10th at the top.

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14:19:10    1         Q.    All right.     Turn with me, Mr. Montgomery,

            2    to tab 2.

            3         A.    Okay.

            4         Q.    Now just to refresh our memory here, we

14:19:24    5    just went through Plaintiff's Exhibit No. 17, which

            6    was your employment agreement dated April '06, where

            7    you purported to get a "million dollar," quote,

            8    unquote, loan from Opspring.

            9               Now if you'll turn with me to Plaintiff's

14:19:48   10    Exhibit 18, Tab 2, page 2 of 6 --

           11         A.    Say that again.       Which page?

           12         Q.    Tab 2 in Plaintiff's Exhibit 18 --

           13         A.    Yeah.

           14         Q.    -- page 2 of 6.

14:20:02   15         A.    Okay.

           16         Q.    All right.     Now you see here on the first

           17    row of information, Activity Detail, Deposits and

           18    Interest.     I'm looking at an entry dated April 6

           19    with a million dollar deposit.

14:20:19   20               Do you see that, Mr. Montgomery?

           21         A.    Yes.

           22               MR. FLYNN:     Read into the record.

           23    BY MR. CONANT:

           24         Q.    And the reference or the description of

14:20:25   25    this deposit says "WT" sequence or "seq58261" and

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14:20:34    1    then I see "Azimyth LLC/org=Azimyth."

            2               Do you see that, Mr. Montgomery?

            3         A.    Yes.

            4               MR. FLYNN:     It's --

14:20:44    5    BY MR. CONANT:

            6         Q.    Do you know if "WT," the description "WT"

            7    in here, refers to wire transfer, Mr. Montgomery?

            8         A.    I have no idea.

            9         Q.    Do you know if this was a wire transfer

14:20:54   10    into your bank account, Mr. Montgomery?

           11         A.    I have no idea.

           12         Q.    Do you recall receiving a million dollar

           13    deposit in April of 2006?

           14         A.    I'm going to assert my right under the

14:21:05   15    Fifth.

           16         Q.    Mr. Montgomery, isn't this million dollars

           17    that was deposited here deposited in connection with

           18    your employment agreement that we just discussed?

           19         A.    I'm going to assert my right under the

14:21:14   20    Fifth.

           21               MR. FLYNN:     Did he transfer the money out.

           22    BY MR. CONANT:

           23         Q.    And where did this --

           24               (Mr. Conant and Mr. Flynn confer.)

14:21:57   25               THE WITNESS:      I take it this is not a

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14:21:59    1    question.

            2               MR. CROCKETT:      No.

            3               THE WITNESS:      No.

            4               MR. CROCKETT:      It's called colloquy.

14:22:10    5    BY MR. CONANT:

            6         Q.    All right.     Mr. Montgomery --

            7               Right.

            8               All right.     If you go -- if you look down

            9    at the next deposit entry for April 6, there's a

14:22:23   10    similarly described deposit only this one is for a

           11    hundred thousand dollars.

           12               Do you know what -- what was the hundred

           13    thousand dollars deposit for?

           14         A.    I'm going to assert my right under the

14:22:33   15    Fifth.

           16         Q.    Wasn't that for -- wasn't this in

           17    connection with the employment agreement we just

           18    discussed?

           19         A.    I'm going to assert my right under the

14:22:38   20    Fifth.

           21         Q.    All right.     Now I see the next deposit

           22    dated April 6 for $300,000 immediately below that.

           23               Do you see that, Mr. Montgomery?

           24         A.    Yes.

14:22:50   25         Q.    What were the source of those -- that

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14:22:51    1    $300,000?

            2         A.    I'm going to assert my right under the

            3    Fifth.

            4         Q.    What was the source of the $20,000 deposit

14:22:57    5    immediately below that one dated April 11?

            6         A.    I'm going to assert my right under the

            7    Fifth.

            8         Q.    Wasn't this all -- these deposits all in

            9    connection with your employment or purported

14:23:08   10    employment with Opspring, Mr. Montgomery?

           11         A.    I'm going to assert my right under the

           12    Fifth.

           13         Q.    All right.     Now flip with me to page 4 of 6

           14    where we have withdrawals.         See there's a withdrawal

14:23:31   15    dated April 6, online transfer to -- references an

           16    account number in the amount of $800,000.

           17               Do you see that Mr. Montgomery?

           18         A.    Yes.

           19               MR. FLYNN:     Where did you transfer and

14:23:46   20    where did it go.

           21    BY MR. CONANT:

           22         Q.    Mr. Montgomery, I see that you got a

           23    million dollar deposit on April 6; now on April 6

           24    I'm seeing an outflow of $800,000.

14:23:55   25               Where did that $800,000 go?

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14:23:57    1         A.    I'm going to assert my right under the

            2    Fifth.

            3               MR. FLYNN:     Ask him if it went to any

            4    foreign countries.

14:24:02    5    BY MR. CONANT:

            6         Q.    Did any of that money go to any foreign

            7    country, Mr. Montgomery?

            8         A.    No.

            9         Q.    Did any of that money go into an account of

14:24:09   10    your relative?

           11         A.    I'm going to assert my right under the

           12    Fifth.

           13         Q.    Did you get a cashier's check when you took

           14    that money out, Mr. Montgomery?

14:24:21   15               I'm sorry.     Strike that question.

           16               What relative of yours did that $800,000 go

           17    to, Mr. Montgomery?

           18         A.    I didn't say it did go to a relative.

           19         Q.    Did it or did it not?

14:24:34   20         A.    I'm going to going to assert my right under

           21    the Fifth.

           22         Q.    Wasn't this -- let me strike that.

           23               Go down to the next withdrawal, April 6,

           24    the reference is withdrawal made in a branch store,

14:24:48   25    amount $200,000.

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14:24:50    1               Do you see that, Mr. Montgomery?

            2         A.    Yes.

            3         Q.    When you withdrew that money, didn't you

            4    withdraw that in the form of a cashier's check,

14:24:59    5    Mr. Montgomery?

            6         A.    I'm going to assert my right under the

            7    Fifth.

            8         Q.    What branch store did you go into to make

            9    that withdrawal?

14:25:04   10         A.    I have no way of knowing.

           11               MR. FLYNN:     Why would he buy a cashier's

           12    check.

           13    BY MR. CONANT:

           14         Q.    Why would you withdraw this money in the

14:25:13   15    form of a cashier's check, Mr. Montgomery?

           16         A.    I don't recall.

           17         Q.    Wasn't the purpose of withdrawing this a

           18    cashier's check to hide the money trail?

           19         A.    No.

14:25:22   20         Q.    Then what was the purpose?

           21         A.    I don't recall.

           22               MR. FLYNN:     Where did you cash this

           23    $200,000.

           24    BY MR. CONANT:

14:25:27   25         Q.    Where did you cash this $200,000 check that

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14:25:27    1    you took out, that $200,000?

            2         A.    I -- I'm sorry.

            3               I don't recall.

            4         Q.    Did you take that cashier's check to a

14:25:35    5    casino, Mr. Montgomery?

            6         A.    I don't recall.

            7         Q.    I see here --

            8               MR. FLYNN:     Did he buy chips.

            9    BY MR. CONANT:

14:25:40   10         Q.    Did you buy any chips, any casino chips,

           11    with that $200,000?

           12         A.    I don't recall.

           13         Q.    Did you use that money to pay back any

           14    casino debts, Mr. Montgomery?

14:25:48   15         A.    You know, I'm just going to -- I'm going to

           16    assert the Fifth.

           17         Q.    To what question?

           18         A.    The last one.

           19         Q.    Was any of this money that you withdrew

14:26:06   20    here, was any of this money still in the form of

           21    cash at the time that you filed for bankruptcy,

           22    Mr. Montgomery?

           23         A.    No.

           24         Q.    Was any of this money being held by any

14:26:19   25    friend or family of yours at the time you filed for

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14:26:22    1    bankruptcy?

            2         A.    That's on that list?

            3         Q.    I'm sorry.

            4         A.    You're talking about the list -- whatever

14:26:26    5    this is?     Are we referring to page 4?

            6         Q.    We are.

            7         A.    No.

            8         Q.    Okay.    Let's be specific about a

            9    withdrawal.      I see a withdrawal for $800,000, below

14:26:37   10    that a withdrawal for $200,000, below that another

           11    withdrawal for $200,000, below that another

           12    withdrawal for $200,000 and then a withdrawal for

           13    $23,000 below that followed by another withdrawal

           14    for $11,000 followed by another withdrawal for

14:26:56   15    $10,000.

           16         A.    And your question was?

           17         Q.    These are all the withdrawals that I'm

           18    referring to.

           19               MR. CROCKETT:      For the record, Counsel,

14:27:03   20    that mischaracterizes what the document says.

           21    BY MR. CONANT:

           22         Q.    Where did all of this money that you

           23    withdrew go, Mr. Montgomery?

           24         A.    I don't recall.

14:27:13   25         Q.    Is it hard to recall what a person does

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14:27:16    1    with $800,000, Mr. Montgomery?

            2               MR. CROCKETT:      Argumentative.

            3               Don't answer it.

            4               MR. CONANT:      It just seems odd that -- all

14:27:23    5    right.

            6         Q.    Mr. Montgomery, the time that you were

            7    buying cashier's checks, whether referred to in this

            8    bank statement or others, did you have a plan to

            9    hide your money in the form of cash to evade

14:27:49   10    creditors, Mr. Montgomery?

           11         A.    I'm going to assert my right under the

           12    Fifth.

           13         Q.    Mr. Montgomery, any of the money -- now we

           14    looked at this employment agreement where you're

14:28:11   15    making $1.2 million a year from Opspring beginning

           16    in 2006 --

           17               MR. FLYNN:     In addition to all the amounts.

           18    BY MR. CONANT:

           19         Q.    -- in addition to all of the amounts, the

14:28:22   20    loan -- quote, unquote, "loan amounts" also

           21    represented in this agreement.

           22               Where did all this money go,

           23    Mr. Montgomery, the $1.2 million a year that you're

           24    receiving?

14:28:34   25         A.    Well, Mr. Flynn, I can tell you, got a good

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14:28:37    1    chunk of it.

            2         Q.    Where did the rest of it go?

            3         A.    Well, I don't know, but I know he got a

            4    good chunk and so did the other law firm and so did

14:28:41    5    Mr. Stillman.      Stillman (phonetic), Flynn and Logar

            6    (phonetic) as attorneys got a good chunk of money.

            7    I don't recall if it's that specific one.

            8               Why are you shaking your head?           Sure you

            9    did.

14:28:52   10               MR. FLYNN:     You know the money came from

           11    Sandoval.     These monies are different,

           12    Mr. Montgomery.      You know that.

           13               THE WITNESS:      April of '06?

           14               You keep perpetuating falsities against me

14:29:05   15    and my family and it is destroying us and you know

           16    you're lying when you're doing it.           You're doing it

           17    to benefit Mr. Blixseth.         You know what you're

           18    doing.    You're doing it for sound bites for

           19    Mr. Roston.     I know what you're doing.

14:29:16   20               MR. FLYNN:     I'm doing it to get the truth

           21    out, sir.

           22               THE WITNESS:      You don't even know what the

           23    truth is.     That's the problem.

           24               MR. CROCKETT:      That's enough.

14:29:22   25               MR. FLYNN:     I know --

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14:29:23    1               THE WITNESS:      It's what your version is.

            2               MR. FLYNN:     I know you conned me and you

            3    conned the U.S. Government.          You conned Edra

            4    Blixseth to an extent.        You're a computer hacker and

14:29:29    5    you're a fraud, Mr. Montgomery.

            6               THE WITNESS:      You're outrageous, Mr. Flynn.

            7    You're outrageous.

            8               MR. CROCKETT:      Dennis, let's get through

            9    this.

14:29:37   10               MR. FLYNN:     And you conned me, sir, that's

           11    why we're here.

           12               THE WITNESS:      Yeah.    No, it isn't.

           13               Okay.    I don't know if there was a question

           14    on the table.

14:29:48   15               MR. CROCKETT:      There isn't.

           16    BY MR. CONANT:

           17         Q.    Let's flip to Tab No. 3.         Mr. Montgomery,

           18    let's take a break from the bank statement for a

           19    second.

14:30:07   20               You recall signing a confession of judgment

           21    where you -- a couple of confessions of judgment in

           22    connection with the Nevada litigation?

           23         A.    I'm going to assert my right under the

           24    Fifth.

14:30:20   25         Q.    It's a public document, Mr. Montgomery.             Do

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14:30:21    1    you not -- I'm asking if you recall executing this

            2    confession of judgment?

            3          A.   Well, I know there was something signed in

            4    the Trepp matter, if that's what you're referring

14:30:29    5    to.   Is that --

            6          Q.   Do you recall that --

            7          A.   Right.

            8          Q.   -- there were confessions of judgment

            9    totaling approximately $25 million?

14:30:34   10          A.   Yes.

           11          Q.   Now didn't you execute those confessions of

           12    judgment for $25 million because you knew -- because

           13    at the time you were under a $2500-a-day sanction to

           14    turn over the source codes and you knew that the

14:30:49   15    source codes were fraudulent or didn't exist, so to

           16    get out of the $2500-a-dollar sanction you executed

           17    a $25 million confession of judgment?

           18               Then six months later, approximately six

           19    months later, you filed for bankruptcy to get out

14:31:09   20    from under the $25 million judgment that you knew

           21    you could never satisfy.

           22               MR. CROCKETT:      And the question is?

           23               MR. CONANT:      I'm asking:     Didn't he do

           24    that?

14:31:16   25               THE WITNESS:      You made a statement.        I

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14:31:18    1    didn't realize.

            2    BY MR. CONANT:

            3         Q.    Wasn't that your plan, Mr. Montgomery?

            4         A.    No.

14:31:21    5         Q.    You had a plan, because you knew the

            6    software was always bogus and you knew that the only

            7    way to get out from the sanction was to get rid of

            8    the litigation so you settled by executing the

            9    $25 million judgment.

14:31:33   10               You knew at the time that you could never

           11    satisfy the $25 million judgment, so you knew the

           12    only way to get out from the $25 million judgment

           13    was to file for bankruptcy.

           14               And the whole time before that you knew

14:31:45   15    that the software was fraudulent, yet you're getting

           16    paid $1.2 million a year for this fraudulent

           17    software.

           18               So the whole time you're hoarding away this

           19    cash that you're getting, the $1.2 million a year

14:31:55   20    you're getting, because you know at some -- you know

           21    it's all going to collapse --

           22               MR. CROCKETT:      Don't say a word.

           23    BY MR. CONANT:

           24         Q.    -- when you're discovered that your

14:32:04   25    software is a complete fraud.

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14:32:07    1               MR. CROCKETT:      Object to the question.

            2    Instruct him not to answer.         It's argumentative.

            3    Compound.     Hypothetical.      It's inconceivable that

            4    you'd consider that to be a legitimate question.

14:32:19    5               THE WITNESS:      Why are both of you laughing?

            6               MR. CROCKETT:      It's okay.

            7    BY MR. CONANT:

            8          Q.   Let's look at Tab No. 3.

            9               By the way, what was your answer to that

14:32:30   10    question?

           11               MR. CROCKETT:      I instructed him not to

           12    answer.

           13    BY MR. CONANT:

           14          Q.   Mr. Montgomery, what's your response?

14:32:35   15          A.   I'm doing what my attorney advised me to

           16    do.

           17          Q.   Didn't you know the whole time the software

           18    was bogus, that you were pedaling bogus software?

           19               MR. CROCKETT:      That's two questions, so

14:32:51   20    it's compound.      It's also argumentative.         It also

           21    assumes facts not in evidence and conclusory.

           22               And I will, again, instruct you not to

           23    answer it.

           24               THE WITNESS:      I'm doing what my attorney --

14:33:00   25               MR. CROCKETT:      And, I'm sorry, not to

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14:33:02    1    answer them.

            2    BY MR. CONANT:

            3         Q.    The source code that we're been referring

            4    to all day today in the Plaintiff's Exhibit 3, in

14:33:09    5    these emails, the source code, you knew it was bogus

            6    didn't you, Mr. Montgomery?

            7               MR. CROCKETT:      Same objection.       Same

            8    instruction.

            9               THE WITNESS:      I'm not answering the

14:33:21   10    question under advice of my counsel.

           11    BY MR. CONANT:

           12         Q.    Why not?

           13         A.    He just told me not to.

           14         Q.    So you're refusing to answer whether or not

14:33:28   15    the source code that we've been referring to all day

           16    is fraudulent; is that --

           17         A.    I'm answering my attorney told me not to

           18    answer the question; I'm not answering the question.

           19         Q.    So you're refusing to answer, okay.

14:33:42   20         A.    I'm not refusing.       I'm doing what my

           21    attorney's asked me not to do.

           22         Q.    That's fine.

           23               You realize under the Bankruptcy Code,

           24    Mr. -- all right.       We'll move on.

14:33:53   25               Tab No. 3, Plaintiff's Exhibit No. 18,

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14:33:55    1    we'll look at page 2 of 6 on the account -- account

            2    statement dated April 12 through May 9, 2006.

            3         A.    I'm there.

            4         Q.    All right.     Deposit -- first deposit there

14:34:14    5    we see listed, $175,000 on April 12, '06.

            6               Where did that money come from,

            7    Mr. Montgomery?

            8         A.    I don't know.

            9         Q.    Where did it go?

14:34:29   10         A.    Can I ask my attorney a question?

           11               MR. CONANT:      Sure.   We'll go off the record

           12    for a sec.

           13               THE VIDEOGRAPHER:        Going off the record.

           14    The time is 2:34 p.m.

14:38:18   15               (Recess taken.)

           16               THE VIDEOGRAPHER:        The time is 2:38 p.m.

           17    We're back on the record.

           18    BY MR. CONANT:

           19         Q.    All right.     Mr. Montgomery, turning to the

14:38:31   20    page we were at previously, I believe my last

           21    question was in relation to the first deposit entry

           22    dated April 12 in the amount of $175,000, and we're

           23    on Tab 3, page 2 of 6, of -- well page 2 of 6 of

           24    Tab 3, Plaintiff's Exhibit 18.

14:38:51   25               Do you see that $175,000 entry,

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14:38:53    1    Mr. Montgomery?

            2         A.    Yes.

            3         Q.    What was the source of those funds?

            4         A.    The source?

14:38:59    5         Q.    Yes.

            6         A.    I'm not certain.

            7         Q.    Was that money you received in connection

            8    with your employment at Opspring or Blxware?

            9         A.    It could have been.

14:39:08   10         Q.    It could have been.

           11               Where did that $175,000 go, Mr. Montgomery?

           12         A.    Well, I think that reference is showing a

           13    transfer to, isn't it?

           14         Q.    It is, but I'm asking you:          What would you

14:39:24   15    do with $175,000 that was deposited into your

           16    account?

           17         A.    Well, I'm was looking at that number and

           18    I'm wondering if that number is just a savings

           19    account of ours and I'm transferring it out of the

14:39:31   20    checking account and putting it into savings account

           21    and that number reflects the savings account.

           22               I don't know that for a fact, but I know

           23    that Wells Fargo had some -- so that was my

           24    question -- my answer.

14:39:46   25         Q.    So it went into a savings account, maybe.

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14:39:48    1    Where would it go from there?

            2         A.    I don't know.      Pay bills, I presume.

            3         Q.    Do you still have that $175,000?

            4         A.    No.

14:39:56    5         Q.    All right.     Next one, April -- next big

            6    deposit below that another one for $175,000.

            7               Do you see that, Mr. Montgomery?

            8         A.    Yes.

            9         Q.    What was that -- what was the source of

14:40:07   10    those funds?

           11         A.    I'm not certain.

           12               MR. FLYNN:     Put the dates in.

           13               MR. CONANT:      That was referring to a

           14    deposit dated April 14, 2006.

14:40:16   15               THE WITNESS:      Yeah, I saw it.

           16    BY MR. CONANT:

           17         Q.    Okay.    Let's see.     Right below that, ATM

           18    deposit dated April 18 in the amount of $65,916, and

           19    it looks to be a deposit in Reno, Nevada.

14:40:36   20               How did you go about depositing $65,916 at

           21    an ATM, Mr. Montgomery?

           22         A.    I presume it was a check.

           23         Q.    For what?     What was the check for?

           24         A.    I don't know.

14:40:48   25         Q.    Was it --

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14:40:49    1               MR. FLYNN:     Where did it come from.

            2    BY MR. CONANT:

            3         Q.    Where did that $65,000 go?

            4         A.    He said come and you said go.          That's

14:40:57    5    what's confusing, you hear them both at the same

            6    time.

            7               I don't know.

            8         Q.    Below that $500,000 deposit dated April 25

            9    and, again, the description purports to be from

14:41:09   10    Azimyth, LLC.

           11               Was that -- what was that deposit for,

           12    Mr. Montgomery?

           13         A.    For?

           14         Q.    What was it for?

14:41:16   15         A.    It's coming from Azimyth.

           16         Q.    In connection with what?         Why would Azimyth

           17    deposit $500,000 into your account?

           18         A.    There was a time at which I was going to

           19    buy a house and I don't know if this was the time.

14:41:29   20    I just don't recall.

           21         Q.    How would a deposit from Azimyth be related

           22    to your purchase of a house?

           23         A.    Because in my original agreement there was

           24    something that referenced that they would loan me

14:41:43   25    the money so that I could make a deposit on a house.

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14:41:49    1         Q.    Did you -- is this $500,000 entry dated

            2    April 25 one of the $500,000 entries referenced --

            3    or I'm sorry -- loans referenced in your employment

            4    agreement?

14:41:59    5         A.    It could be.

            6         Q.    Did you ever pay back that loan,

            7    Mr. Montgomery?

            8         A.    No.

            9         Q.    Did you ever report that $500,000 then on

14:42:11   10    your income taxes?

           11         A.    I don't recall.

           12         Q.    All right.     Next deposit dated April 25 in

           13    the amount of $250,000.        Do you know what that

           14    deposit was from, Mr. Montgomery?

14:42:30   15         A.    From or was it just a transfer from another

           16    account, from the savings account?

           17               I don't know.

           18         Q.    What was the source of the $250,000?

           19         A.    I don't know.

14:42:40   20         Q.    All right.     Did you report -- well, never

           21    mind.

           22               All right.     Next deposit, April 28, in the

           23    amount of $96,880.50.

           24               Do you see that Mr. Montgomery?

14:42:54   25         A.    Yes.

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14:42:54    1         Q.    Again, another -- appears to be another

            2    deposit from Azimyth, LLC --

            3         A.    Uh-huh.

            4         Q.    -- or, in this case, Opspring also, it

14:43:02    5    appears.

            6               Why did Azimyth or Opspring pay you that

            7    $96,880?

            8         A.    I'm sorry.

            9               I don't recall.

14:43:13   10         Q.    Was it in connection with your employment

           11    with Azimyth?

           12         A.    I don't know.

           13         Q.    You don't.     So --

           14         A.    It's an odd amount.        That's the reason I

14:43:17   15    don't know.

           16         Q.    Well, why would Azimyth, of all

           17    companies -- or Opspring, of all companies, deposit

           18    $96,880 in your account?

           19         A.    Maybe that was Mr. Flynn's legal fees being

14:43:30   20    paid again.     I don't know.

           21         Q.    Was it -- so -- all right.          So you can't

           22    explain -- was that in connection with your

           23    employment with Azimyth?

           24         A.    I don't know.      You've asked that; I've

14:43:37   25    given you my best answer.

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14:43:39    1         Q.    Do you know if you reported that amount of

            2    money on your income taxes, Mr. Montgomery?

            3         A.    I don't recall.

            4         Q.    All right.     Next large deposit May 5 in the

14:43:49    5    amount of $104,000.

            6               Do you see that Mr. Montgomery?

            7         A.    Yes.

            8         Q.    What was the source of that $104,000?

            9         A.    Well, I keep seeing the same account

14:43:59   10    number, which keeps telling me it's a transfer from

           11    a savings account into my checking account.              That's

           12    what it looks like to me.

           13               And you keep adding these up as if they're

           14    progressive and I don't know if it was just money

14:44:13   15    that was put into a savings account and transferred

           16    back into the checking account.

           17         Q.    Well, we're on the deposits, so I'm asking

           18    about the deposits.

           19         A.    I just gave you my answer.

14:44:23   20         Q.    So you don't know the source of that money?

           21         A.    Well, it says from 6013222.          I'm

           22    wondering -- and I don't have my bank statement, so

           23    I have no way of knowing if that was just a savings

           24    account.

14:44:33   25         Q.    How much of this money was cashed out at

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14:44:37    1    casinos?

            2         A.    I don't know.

            3         Q.    Was any of it cashed out at casinos?

            4         A.    I don't know.

14:44:43    5         Q.    Would any of it have been cashed out in

            6    casinos?

            7         A.    I don't know.

            8         Q.    All right.     Turn to page 3 of 6,

            9    withdrawals.

14:44:54   10         A.    Okay.

           11         Q.    All right.     I'm looking under Withdrawals

           12    category dated April 14, withdrawal made in a

           13    branch, amount $155,000.

           14               Isn't that a cashier's check that you

14:45:12   15    purchased from a branch in the amount of $155,000,

           16    Mr. Montgomery?

           17         A.    I wouldn't -- I don't know.

           18         Q.    Did you ever buy cashier's checks from bank

           19    branches at Wells Fargo?

14:45:24   20         A.    Have I ever gotten cashier's checks?

           21               Yes.

           22         Q.    Have you ever gotten any large cashier's

           23    checks in the amount of, say, over $50,000?

           24         A.    I don't know.

14:45:50   25               Yeah.    I mean it could be.        It's --

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14:45:53    1         Q.    So withdrawal made at a branch store,

            2    that's where you walk into a branch and purchase a

            3    $155,000 cashier's check, isn't that right,

            4    Mr. Montgomery?

14:46:03    5         A.    I don't know.      From that description I

            6    don't know.

            7         Q.    What else would it be, Mr. Montgomery?

            8         A.    I'm not going to speculate.          I don't know.

            9         Q.    How would -- what would cause a transaction

14:46:11   10    description to show up on your own bank account

           11    showing withdrawal made in a branch store, $155,000?

           12               How would that get there, Mr. Montgomery?

           13         A.    Well, the bank obviously put it there.

           14         Q.    Did you authorize the bank to do that?

14:46:24   15         A.    Yes, but I don't -- I think your point is

           16    you're asking me what's it for.          I don't know.

           17         Q.    Well, no, I'm not.

           18         A.    I thought you did just previously.            I'm

           19    sorry.

14:46:35   20               MR. FLYNN:     What was in his mind.

           21    BY MR. CONANT:

           22         Q.    As you're walking into a branch store to

           23    buy a $155,000 cashier's check, what are you

           24    thinking about when you're --

14:46:46   25         A.    I don't know at the time.

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14:46:47    1         Q.    What would you -- you're telling me that --

            2    is it a normal occurrence for you to walk into one

            3    of your banks and ask for a cashier's check in the

            4    amount of $155,000?

14:46:59    5         A.    I'm not certain.

            6         Q.    You're not certain?

            7         A.    I don't know if that is a cashier's check

            8    or not.    You've asked me every way around that.             I

            9    don't know.     I see the same description you see.             I

14:47:09   10    don't know what that is.

           11         Q.    I just -- for me, I don't go into my bank

           12    every day purchasing large cashier's checks.              I'm

           13    wondering what causes a person like you to do so and

           14    you're not disputing that this was an authorized

14:47:22   15    transaction by you, so I'm curious, you know, why

           16    we're getting $155,000 cashier's check on

           17    April 14th?

           18               MR. CROCKETT:      There's no question pending.

           19               THE WITNESS:      I know.    It was just a

14:47:34   20    statement.

           21               Is there?     I'm sorry, I thought --

           22    BY MR. CONANT:

           23         Q.    So isn't this you going into a branch store

           24    cashing -- I'm sorry.

14:47:41   25               Isn't this you -- doesn't this represent

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14:47:42    1    that you're going into a bank branch and purchasing

            2    a cashier's check in the amount of $155,000?

            3               MR. CROCKETT:      You're asking for

            4    speculation.      It says what it says.        The document

14:47:53    5    speaks for itself.

            6               MR. FLYNN:     Cashier's checks or cash.

            7    BY MR. CONANT:

            8         Q.    Would you have gotten this in a cashier's

            9    check or in cash, Mr. Montgomery?

14:48:02   10         A.    I don't know what that description is

           11    referring to.      You see the same thing I do.

           12         Q.    Have you ever walked into a bank branch and

           13    bought a check, a cashier's check, or asked the bank

           14    for cash in the amount of $155,000?

14:48:13   15         A.    That's two questions.

           16         Q.    I'm asking you to answer it as best you

           17    can, Mr. Montgomery.

           18         A.    But you asked me two questions.           You asked

           19    me about a cashier's check or you asked me about

14:48:24   20    cash.

           21         Q.    I'm asking you to answer in the

           22    alternative.      Do you want me to spend the time and

           23    go through?

           24         A.    If you're going to ask me both those

14:48:30   25    questions, yes.

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14:48:31    1         Q.    Have you ever gone into a bank branch and

            2    bought a cashier's check for $155,000?

            3         A.    I might have.

            4         Q.    Do you dispute that's what this represents?

14:48:42    5         A.    I don't know what that 155- is referring

            6    to, a cashier's check or not.

            7         Q.    So the only other alternative would be that

            8    you got this money in cash?

            9         A.    Never.    No.    The answer to that is no.

14:48:50   10               Please stop making signs when I'm trying to

           11    talk to him.

           12         Q.    So when you would buy this cashier's check,

           13    where would you intend to cash it?

           14         A.    I don't recall.

14:49:03   15         Q.    Would you cash it in a casino?

           16         A.    I don't recall.

           17         Q.    Would you give it to your five-year-old, if

           18    you have one?

           19               MR. CROCKETT:      I'll object at this point

14:49:13   20    and you're still assuming facts not in evidence and

           21    now you've passed far into the realm of being

           22    argumentative, Counsel.

           23    BY MR. CONANT:

           24         Q.    Did you ever endorse any of your cashier's

14:49:21   25    checks -- did you endorse this cashier's check for

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14:49:24    1    $155,000 to any of your family members?

            2               MR. CROCKETT:      I'll object.      It assumes

            3    facts not in evidence.        Lacks foundation.

            4               If you can answer the question as it's

14:49:33    5    phrased, go ahead.

            6               THE WITNESS:      I don't recall.

            7    BY MR. CONANT:

            8         Q.    Would you ever and did you ever endorse any

            9    cashier's checks that you bought at banks over to

14:49:43   10    your family members?

           11         A.    I don't recall.

           12         Q.    Have you ever given any sum of money in

           13    excess of a hundred thousand dollars to any of your

           14    relatives, Mr. Montgomery?

14:49:52   15         A.    I don't recall.

           16         Q.    Wouldn't your intent be when you got these

           17    cashier's checks to go cash them at casinos,

           18    Mr. Montgomery?

           19               MR. CROCKETT:      Well, it's compound and it

14:50:04   20    calls for speculation and lacks foundation, assumes

           21    facts not in evidence and it's argumentative.

           22               MR. CONANT:      Great.

           23         Q.    Mr. Montgomery, can you answer the question

           24    please.

14:50:13   25         A.    I'm not certain what the question is.            Ask

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14:50:15    1    it again.

            2          Q.   When you bought these cashier's checks

            3    at --

            4          A.   You keep saying cashier's checks; right?              I

14:50:22    5    don't see where that says cashier's checks.              Show me

            6    on this where it says cashier checks.

            7          Q.   What else would it be, Mr. Montgomery?

            8          A.   I would have no way of knowing.           Ask the

            9    bank, but I don't know that that's a cashier's

14:50:34   10    check, yes or no.

           11          Q.   You told me --

           12          A.   You keep saying it is, but I don't know

           13    that.

           14          Q.   You told me it's not cash.          You know that;

14:50:41   15    right?

           16          A.   I've never taken that out.          That's correct.

           17          Q.   Okay.    And you don't dispute that this is

           18    an authorized transaction on your part; right

           19    Mr. Montgomery?

14:50:48   20          A.   I mean it's on the bank statement.            I see

           21    it.

           22          Q.   So you authorized it, Mr. Montgomery?

           23          A.   It's obviously on the bank statement, so

           24    it's there.     So was that transaction done?

14:50:56   25    Probably, yes.

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14:50:59    1               I'm not disagreeing.

            2         Q.    And who has control over this account,

            3    Mr. Montgomery?

            4         A.    Obviously I do.

14:51:08    5               You're asking me about a check --

            6               MR. CROCKETT:      Enough.

            7    BY MR. CONANT:

            8         Q.    All right.     April 14, I see a withdrawal in

            9    the amount of $67,000.

14:51:20   10               MR. CROCKETT:      I don't.

           11    BY MR. CONANT:

           12         Q.    Do you see that?

           13         A.    No, I don't see that.

           14         Q.    April 14th -- I'm sorry, April 19th.

14:51:27   15         A.    Oh, that one.      Yes.

           16         Q.    $67,000, where did that money go to?

           17         A.    Well, according to this it looks like it's

           18    going back into the savings account 6013320,

           19    whatever, that's what it looks like to me, not a

14:51:41   20    withdrawal.

           21         Q.    What was the source of that $67,000?

           22         A.    Well, according to this it's coming out of

           23    this checking account that had this money put in it

           24    and it looks like to me it's going back in the

14:51:51   25    savings account.

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14:51:52    1         Q.    What was the source of your income during

            2    this time period, Mr. Montgomery?

            3         A.    Opspring.

            4         Q.    Exclusively?

14:52:11    5         A.    I can't be certain.        I don't recall.

            6         Q.    Were there any -- did you have any other

            7    sources of meaningful income?

            8         A.    I don't recall.

            9         Q.    You didn't have any other jobs during this

14:52:27   10    time, did you, Mr. Montgomery?

           11         A.    I'm not certain.

           12         Q.    Were you selling software to third parties

           13    outside of Opspring or Blxware, Mr. Montgomery?

           14         A.    Was I selling -- not that I recall.

14:52:41   15         Q.    Were you making software for anyone else

           16    other than Opspring or Blxware?

           17         A.    Which transaction are we referring to?

           18               MR. CROCKETT:      We're not referring to a

           19    transaction.      It's a different question.         Listen to

14:52:52   20    it and answer it.

           21               THE WITNESS:      Oh, I'm sorry.      Ask it again.

           22    BY MR. CONANT:

           23         Q.    Were you making software for anyone else at

           24    this time?

14:53:00   25         A.    Well, I ended my relationship with

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14:53:02    1    eTreppid, so I don't recall.          I don't recall.

            2         Q.    Were you making any software -- would you

            3    have been making any software directly for the

            4    government?

14:53:09    5         A.    I don't recall.

            6         Q.    All right.     Go down to the withdrawal dated

            7    April 25 in the amount of $490,000.

            8         A.    Yeah.

            9         Q.    Do you see that?

14:53:18   10         A.    Yes.

           11         Q.    Where did that -- where did $490,000 go,

           12    Mr. Montgomery?

           13         A.    To me it looks like it's going right back

           14    to the savings account.

14:53:26   15         Q.    Then from there where would it go?

           16         A.    Okay.    Well, you mean that 490-, I don't

           17    know.

           18         Q.    Do you have it -- do you still have it?

           19         A.    No.

14:53:37   20         Q.    Do any of your family members have it?

           21         A.    No.

           22         Q.    Do any of your family members have any

           23    money that you ever earned during the time of your

           24    employment with any of Edra Blixseth's entities?

14:53:49   25         A.    What do you mean "Edra Blixseth's

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14:53:51    1    entities"?

            2         Q.    Opspring, Blxware, Azimyth.

            3         A.    Okay.    Well -- and now restate the

            4    question.     I'm sorry, I was distracted on that

14:53:59    5    statement.

            6         Q.    All right.     When I refer to Edra Blixseth's

            7    entities I'm going to refer to Azimyth, Opspring,

            8    Blxware and I have to because I've asked you to

            9    explain the relationship of all of them and I can't

14:54:11   10    get an answer from you.

           11         A.    Okay.

           12         Q.    So, do any of your family members -- and by

           13    family members I mean wife, children, inlaws, any

           14    manner of family member you can think of -- do any

14:54:26   15    of your family members have any of the money that

           16    you earned from any of Edra Blixseth's entities?

           17         A.    You mean have I ever given them money?

           18               MR. CROCKETT:      That's not the question.

           19               THE WITNESS:      Well, then I'm concerned I

14:54:39   20    don't understand the question then.

           21    BY MR. CONANT:

           22         Q.    Do any of your family members currently

           23    have any of the money that you earned while working

           24    for Ms. Blixseth's entities?

14:54:50   25               MR. CROCKETT:      Calls for speculation.

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14:54:51    1               If you can answer, go ahead.

            2               THE WITNESS:      No.

            3    BY MR. CONANT:

            4         Q.    Do any of your family members hold any of

14:54:56    5    your money or assets in your behalf?

            6         A.    They're holding no money.         I don't know

            7    what you mean "assets."        In other words, you talking

            8    about couches or cars or something or what?              I don't

            9    understand.

14:55:12   10         Q.    Property, any assets that are yours --

           11         A.    Yeah.

           12         Q.    -- do any of your family members hold those

           13    on your behalf?

           14         A.    I cosigned for a house for Ish in -- in

14:55:25   15    Washington.     So when you say "have," you know what

           16    I'm saying?     I mean that's -- does that make sense?

           17    That's the only thing I know.

           18         Q.    You cosigned?

           19         A.    Yeah.

14:55:36   20         Q.    Is your name on the title to that property?

           21         A.    I don't know if it is or not.          I don't

           22    think so.     I don't know.      I don't know.

           23         Q.    Are you --

           24         A.    I know.

14:55:49   25         Q.    Did you ever give any amounts of money that

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14:55:52    1    you earned from Edra Blixseth's entities in the

            2    amount of -- let me rephrase it.

            3               If you take the money that you earned from

            4    Edra Blixseth's entities, did you ever transfer

14:56:04    5    amounts greater than $10,000 to any of your family

            6    members?

            7         A.    I don't recall if I've done it or not.

            8         Q.    All right.     Let's turn to page 4 of 6,

            9    April 25 --

14:56:20   10         A.    Okay.

           11         Q.    -- top entry, withdrawal made in a branch,

           12    another $155,000 withdrawal made in a branch.              Can

           13    you explain to me why we're seeing -- we've seen two

           14    withdrawals made in a branch, two entries described

14:56:42   15    as draw made in a branch in the amount of $155,000.

           16         A.    No.

           17         Q.    You authorized this withdrawal, did you

           18    not?

           19         A.    I don't -- I must have, I guess.

14:56:58   20         Q.    So why would you have gone -- what were you

           21    going to do with that $155,000 that you withdrew

           22    from the branch?

           23         A.    I don't recall what it was for.

           24         Q.    Why would you go -- why would you go

14:57:10   25    directly into a bank to get this $155,000 instead of

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14:57:14    1    doing a wire transfer?        Writing a check?

            2               I mean why would you -- why would you do it

            3    this way, Mr. Montgomery, if you needed to get your

            4    hands on $155,000?

14:57:26    5         A.    What do you mean "get my hands on"?            What

            6    does that term mean.

            7         Q.    Access $155,000.

            8         A.    I don't recall.

            9         Q.    Don't recall.

14:57:39   10               All right.     Look -- the 50,000 -- April 25

           11    transaction right below that, $50,000 --

           12         A.    I see it.

           13         Q.    -- you see that?

           14               What was that money used for?

14:57:54   15         A.    I don't recall.

           16         Q.    Didn't you cash that money?          Didn't you

           17    take that money to a casino, Mr. Montgomery?

           18         A.    I don't recall.

           19         Q.    All right.     The $20,000 transfer to -- or

14:58:06   20    dated April 25 and it references an account number.

           21    What was that transfer for?

           22         A.    I don't know.      I can't see the account

           23    number, so I don't know.

           24         Q.    All right.     What about if you go down to

14:58:18   25    April 28, $63,000 withdrawal, what was that money

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14:58:22    1    for?

            2         A.    I don't know.

            3         Q.    Where did it go, Mr. Montgomery?

            4         A.    I don't recall.

14:58:26    5         Q.    All right.     May 5, withdrawal made in a

            6    branch $104,000.       Again, another withdrawal on a

            7    branch.    Why are you going into these branches,

            8    making these withdrawals within the branch,

            9    Mr. Montgomery?

14:58:39   10         A.    I don't recall.

           11         Q.    Is it -- your experience, is it normal for

           12    a person to go into a bank like that and make large

           13    withdrawals of cash, Mr. Montgomery?

           14         A.    I don't have an opinion.

14:58:52   15         Q.    Do you know other people who do that,

           16    Mr. Montgomery?

           17         A.    I don't have an opinion.

           18         Q.    I'm not asking if you have an opinion, I'm

           19    just asking if you know other people who do that,

14:59:01   20    engage in that sort of banking practice?

           21         A.    I don't know.

           22         Q.    You don't know if you know people or you

           23    don't know people?

           24         A.    You keep asking me to speculate.           I don't

14:59:10   25    know.

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14:59:10    1         Q.    No.    I'm asking you:      Do you know anyone

            2    who engages in this type of banking practice?

            3         A.    Of going in and getting a cashier's check

            4    out of their account?

14:59:20    5         Q.    Getting cashier's checks in large

            6    increments of money.

            7         A.    You keep implying those are cashier's

            8    checks.    I've always said I don't really know.

            9         Q.    All right.     Going into a branch and

14:59:25   10    extracting $104,000, $155,000, $50,000 in some form,

           11    I mean that's not -- that's -- do you know anyone

           12    else who engages in that sort of banking practice?

           13         A.    I don't have an opinion.

           14         Q.    That's not the question.

14:59:42   15               Do you know anyone?

           16         A.    Not off the top of my head, but people

           17    don't share with me their banking transactions so I

           18    wouldn't know.

           19         Q.    All right.

15:00:01   20               MR. FLYNN:     It's somewhere in here.         Yeah.

           21    I'm looking for it.       All right.

           22               THE WITNESS:      That's what he said.

           23               MR. FLYNN:     I know.     I know.

           24               MR. CONANT:      All right.

15:00:22   25         Q.    All right.     Let's go to Tab No. 4, May 10

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15:00:26    1    through June 9.

            2         A.    Tab No. 4, okay.

            3         Q.    Tab 4, page 2 of 6, Tab 4.

            4         A.    Okay.

15:00:36    5         Q.    All right.     Looking at the first deposit

            6    here, 5/10, May 10 that is, purported deposit from

            7    Azimyth, LLC, or Opspring in the amount of $150,000.

            8               What did you get that $150,000 for,

            9    Mr. Montgomery.

15:00:52   10         A.    I believe to pay Mr. Flynn.

           11         Q.    Are you telling me that was not money --

           12         A.    Oh, I'm sorry.      I'm mistaken.      You're

           13    asking me how did it come in.

           14         Q.    Yes.

15:01:03   15         A.    I'm sorry.

           16               Okay.    What's -- what's your question

           17    again?

           18         Q.    What was that $150,000 for?

           19         A.    I don't know if it was a loan or not.            I

15:01:13   20    don't recall what that one specifically related to.

           21         Q.    Was there a note?       If it was a loan, would

           22    there have been a note executed in connection with

           23    that loan?

           24         A.    I don't know.

15:01:23   25         Q.    Did you report this $150,000 on your income

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15:01:26    1    taxes?

            2          A.   I don't recall.

            3          Q.   All right.     The May 11 online transfer in

            4    the amount of $50,000, what's $50,000 going into

15:01:38    5    your account for on May 11?

            6          A.   Looks like the money that was put in, the

            7    150-, there were two $50,000 transfers into a

            8    savings account back into the savings account.

            9          Q.   Where did it go from there?

15:01:50   10          A.   I don't -- at some point back to the

           11    checking account.

           12          Q.   Then where -- where did this money go,

           13    Mr. Montgomery?

           14          A.   I just told you.

15:01:57   15          Q.   I'm seeing -- I'm seeing large volumes of

           16    money going into checking accounts and I'm not

           17    seeing where they're accounted for in cash and

           18    you're now in bankruptcy, so, obviously, it went

           19    somewhere, so the question is:          Where did this money

15:02:10   20    go?

           21          A.   Well, I know in that time frame I paid --

           22    over a year I paid Michael Flynn, what, 1.2 million.

           23    He got 1.2 million of money that came in from

           24    Azimyth and went into his account.

15:02:23   25          Q.   You're telling me your entire salary for

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15:02:25    1    one year went to go pay attorney's fees?

            2               MR. CROCKETT:      That's not what he said at

            3    all.    Completely misrepresents what he said and it's

            4    argumentative.

15:02:36    5               You want to try to rephrase it?

            6               MR. CONANT:      No.   I want -- because we have

            7    an employment agreement showing him earning

            8    $1.2 million a year and he's telling me he's

            9    spending his entire salary --

15:02:41   10               MR. CROCKETT:      That's not what he said at

           11    all.    He said he paid Flynn $1,200,000.

           12               MR. CONANT:      Which is his entire salary for

           13    a year with Opspring, is it not?

           14               MR. CROCKETT:      I don't know if it is or it

15:02:53   15    isn't.

           16               THE WITNESS:      Say that again?      I'm

           17    confused, your question.

           18    BY MR. CONANT:

           19         Q.    You're getting paid $1.2 million --

15:03:00   20         A.    Yeah.

           21         Q.    -- annually, are you not, from Opspring?

           22         A.    Well, it says that.        Did I actually get

           23    that?     I'm not certain.

           24         Q.    All right.     Well, let's look at this entry

15:03:08   25    May 15, hundred thousand dollars.           Is that part of

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15:03:12    1    your income from Azimyth or Opspring?

            2         A.    No.    That's another example where it came

            3    out of the checking account and went back into the

            4    savings account.       That's what that is.

15:03:25    5         Q.    Where did it go from the savings account,

            6    Mr. Montgomery?      What were you spending large --

            7    this is a lot of money coming in.           What did you --

            8         A.    I just told you.       He charged me

            9    $1.2 million for the work.         That's a lot of money to

15:03:36   10    charge a client.

           11         Q.    Aren't you hiding this money, this cash,

           12    away somewhere else, Mr. Montgomery?

           13         A.    No, absolutely not.        Absolutely not.

           14               MR. FLYNN:     Ask him if all the -- came from

15:03:48   15    him in his bank accounts.

           16    BY MR. CONANT:

           17         Q.    Where would --

           18               THE WITNESS:      Why do you say that and then

           19    smile at the government?         I don't get why you do

15:03:56   20    that.

           21               MR. CROCKETT:      Dennis.

           22               THE WITNESS:      It's very -- it's very

           23    distracting.

           24               MR. CONANT:      For the record, that comment

15:04:01   25    was directed toward Mr. Flynn, just for the record.

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15:04:04    1               THE WITNESS:      Okay.    Go ahead.

            2               MR. FLYNN:     Go ahead.     Ask him.

            3    BY MR. CONANT:

            4         Q.    Isn't it true, though, Mr. Flynn's

15:04:12    5    attorneys fees were not being paid out of your

            6    checking account or your savings account; isn't that

            7    right, Mr. Montgomery?

            8         A.    No, that's not true.        Now you're asking me

            9    to release attorney-client information.             That's what

15:04:22   10    you're asking me to do, go on the record and start

           11    releasing attorney-client privileged information.

           12               Isn't that what he's asking me?

           13               MR. CROCKETT:      Don't argue with him.

           14               THE WITNESS:      Okay.    Okay.

15:04:32   15    BY MR. CONANT:

           16         Q.    How much money was paid to Mr. Flynn out of

           17    your accounts, Mr. Montgomery?

           18         A.    I don't recall specifically if I had to go

           19    get a cashier's check and give it to him or they

15:04:43   20    transferred money in and then I subsequently

           21    transferred it right back out to him.            I don't

           22    recall specifically if it was one, both or some

           23    combination.

           24         Q.    That wasn't the question.

15:04:53   25               MR. FLYNN:     For the record, Michael Flynn.

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15:04:54    1    None of four attorneys working for me at the time

            2    ever received a cashier's check from Dennis

            3    Montgomery.

            4               THE WITNESS:      Okay.    What about a check --

15:05:04    5               MR. FLYNN:     Go ahead.     Ask him.

            6    BY MR. CONANT:

            7         Q.    How much, Mr. Montgomery?         My question

            8    wasn't how --

            9               MR. CROCKETT:      Just because he makes a

15:05:09   10    statement, doesn't mean you have to respond.

           11               THE WITNESS:      Well, he just asked.

           12               MR. CROCKETT:      Keep going.

           13    BY MR. CONANT:

           14         Q.    My question wasn't how you paid Mr. Flynn,

15:05:16   15    my question was how much did you pay Mr. Flynn out

           16    of your own account?

           17         A.    I thought I answered that.          I thought

           18    during that period of time he received -- from the

           19    beginning to when, you know, until -- I thought he

15:05:32   20    received around 1.2 million.

           21         Q.    From your account, from your checking

           22    account or savings account?

           23         A.    I don't know if it was just mine or the

           24    initial money -- the initial payment they wired to

15:05:41   25    him and then from then on I paid him, but I know

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15:05:46    1    every month he demanded money.

            2               I called them and they gave me the money

            3    and then I transferred to him because I had to send

            4    a check to him.

15:05:52    5         Q.    Who is "them"?

            6         A.    What do you mean?

            7         Q.    You said "them," you had to call "them."

            8         A.    Sandoval.

            9         Q.    Sandoval?     Who is Sandoval?

15:05:59   10         A.    You don't know who Michael Sandoval is?

           11         Q.    I'm asking.      The question is for you.

           12         A.    I'm sorry.

           13               Michael Sandoval at the time, I believe,

           14    was the CEO of both Opspring and Azimyth at the

15:06:14   15    time.     I believe that's the case.

           16         Q.    What was your -- all right.          Well -- all

           17    right.

           18               So is it your testimony that $1.2 million

           19    was paid to Michael Flynn out of your checking

15:06:42   20    account?

           21         A.    I can't say it was paid exclusively out of

           22    my account because -- there was occasions at the end

           23    and --

           24               MR. CROCKETT:      Just answer the question.

15:06:54   25               THE WITNESS:      I can't say it was

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15:06:56    1    exclusively, no.

            2    BY MR. CONANT:

            3         Q.    Do you know how much?

            4         A.    No.

15:07:03    5         Q.    All right.     May 19, back to page 2 of

            6    Tab 4, Opspring, LLC, payroll, $48,272.24.

            7               What was that money for, that $48,000 for,

            8    Mr. Montgomery?

            9         A.    I don't know if that was my paycheck, if

15:07:32   10    that was it or there were expenses reimbursements in

           11    there.    I just don't know.

           12         Q.    How were you paid?       I mean how were you

           13    paid by Opspring?       Were you paid monthly?        Were you

           14    paid every two weeks?        Twice a month?

15:07:46   15         A.    I don't know if it was every two weeks or

           16    twice a month.      It was one of those two, I believe.

           17         Q.    Was it month -- but it was not monthly?

           18         A.    I don't believe so.

           19         Q.    All right.     I see May 31 a deposit in the

15:08:07   20    amount of $31,282.95.        Do you see that,

           21    Mr. Montgomery?

           22         A.    Yes.

           23         Q.    What was that amount for?

           24         A.    Well, it says "payroll," so I don't know.

15:08:20   25    I mean it says "payroll" on it, so I presume that

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15:08:22    1    was my check.

            2               MR. CROCKETT:      I'm sorry.     I think you're

            3    referring to the one underneath.

            4               You're referring to the 531 -- in the

15:08:31    5    deposit of $31,282.95?

            6               MR. CONANT:      Right.

            7               MR. CROCKETT:      Right.

            8               THE WITNESS:      It may have been to reimburse

            9    for expenses.

15:08:37   10    BY MR. CONANT:

           11         Q.    What kind of expenses were you incurring at

           12    Azimyth?

           13         A.    I was buying equipment.

           14         Q.    What kind of equipment?

15:08:44   15         A.    Computer.

           16         Q.    Where is that equipment now,

           17    Mr. Montgomery?

           18         A.    I believe the sheriff is holding it.

           19         Q.    What sheriff?

15:08:49   20         A.    In Washington.

           21         Q.    Did any equipment you ever buy [sic] for

           22    these companies ever end up in your possession down

           23    here in the desert, Mr. Montgomery?

           24         A.    I'm not going to answer the question.

15:09:02   25         Q.    Why not?

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15:09:03    1         A.    Take the Fifth.

            2         Q.    Did Ms. Blixseth ever -- let me rephrase

            3    that.

            4               Did Ms. Blixseth ever personally or through

15:09:15    5    her entities ever give you any computer equipment

            6    that was owned by Opspring or Blxware or Azimyth,

            7    Mr. Montgomery?

            8         A.    I'm going to invoke my right under the

            9    Fifth.

15:09:27   10         Q.    Do you have still have possession of any of

           11    the computer equipment that you worked on while you

           12    were employed for Ms. Blixseth's entities?

           13         A.    I'm going to invoke my right under the

           14    Fifth.

15:09:38   15         Q.    Do you still have the hardware that you

           16    used to create the source code that you were -- that

           17    we reference in Plaintiff's Exhibit 3?

           18         A.    I'm going to invoke my right under the

           19    Fifth.

15:10:01   20         Q.    Don't you still have copies of all the

           21    source code that you were trying sell to the

           22    government, Mr. Montgomery?

           23         A.    I'm going to invoke my right under the

           24    Fifth.

15:10:12   25         Q.    Did you have possession of the source code

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15:10:14    1    when you were attempting to sell it to Israel couple

            2    months ago, Mr. Montgomery?

            3         A.    I'm sorry.

            4               I'm going to invoke my right under the

15:10:22    5    Fifth.

            6         Q.    Now the source code that we've just been

            7    discussing, that's the same intellectual property

            8    that's listed in your bankruptcy schedules,

            9    Mr. Montgomery?

15:10:43   10         A.    I think you've asked me that question

           11    multiple times and I've answered it.

           12         Q.    I don't think I've ever gotten a very clear

           13    answer, Mr. Montgomery.

           14         A.    I told you I wasn't aware that I wrote that

15:10:45   15    piece at the bottom of that particular document.

           16    The source code and intellectual property referred

           17    to in that schedule were copyrights filed with the

           18    U.S. Copyright Office.

           19         Q.    Do you have -- I mean is that your personal

15:10:59   20    property, that intellectual property that's subject

           21    to the National Security Act that's listed in your

           22    schedule?

           23               Was that your personal property at the time

           24    you filed your bankruptcy schedule?

15:11:09   25         A.    I'm not going answer the question.            I don't

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15:11:11    1    know what that reference made to at the bottom -- I

            2    don't recall putting that on there.            I think I

            3    testified to that; okay?

            4         Q.    But is it untruthful, that statement that's

15:11:22    5    in your bankruptcy schedules?

            6               THE WITNESS:      I thought that you had that

            7    thing.    It's No. 3.

            8               MR. CROCKETT:      Yeah, it's right here.

            9               THE WITNESS:      Here it is.

15:11:35   10               I'm going to invoke my right under the

           11    Fifth.

           12    BY MR. CONANT:

           13         Q.    Now the source code that we referred --

           14    that's referred to throughout Plaintiff's Exhibit 3,

15:11:47   15    that's your source code, is it not, Mr. Montgomery?

           16         A.    I'm going to invoke my right under the

           17    Fifth.

           18         Q.    Have you ever -- what have you transferred

           19    to Blxware, LLC, in the form of your intellectual

15:12:12   20    property, Mr. Montgomery?

           21         A.    I don't recall specifically.

           22         Q.    Have you transferred anything to Blxware?

           23         A.    I don't -- I don't recall specifically.

           24         Q.    You don't recall ever transferring any

15:12:23   25    intellectual property to Blxware?

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15:12:24    1         A.    You've asked me the same question three

            2    times; I've answered it three times.            I don't recall

            3    specifically.

            4         Q.    Have you -- okay.

15:12:33    5               MR. FLYNN:     What did you transfer --

            6    BY MR. CONANT:

            7         Q.    If you look back at your employment

            8    agreement, Mr. Montgomery, at Plaintiff's

            9    Exhibit 17, I believe --

15:12:42   10         A.    Yeah.

           11         Q.    -- 5, okay.      Look at page 5-3 under the

           12    heading Intellectual Property Assignment Agreement.

           13         A.    Yeah.

           14         Q.    What did you transfer to Opspring in

15:12:57   15    connection with this employment agreement?

           16         A.    Is he asking me?       I can't hear him.

           17         Q.    My question --

           18         A.    Okay.    I'm sorry.

           19         Q.    Do you recall my question?

15:13:06   20         A.    Yeah, I heard it, but I also heard his and

           21    I wasn't --

           22               I don't have the original agreements, which

           23    I've testified to, because Mr. Flynn has been

           24    holding all of my agreements along with, I presume,

15:13:16   25    Liner, but I know Mr. Flynn because he's the one

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15:13:20    1    that made them up.

            2               MR. FLYNN:     For the record, I've never made

            3    up any of the agreements and I have never had any of

            4    the originals.      Mr. Montgomery signed them in the

15:13:32    5    state of Washington with the Sandoval parties.

            6               You just lied, Mr. Montgomery, and you know

            7    it.

            8    BY MR. CONANT:

            9          Q.   Mr. Montgomery, did you transfer any of

15:13:39   10    your intellectual property in connection with all

           11    this money you received as referenced in the

           12    employment agreement?

           13          A.   Without seeing the agreement I don't

           14    recall.

15:13:49   15          Q.   What would you have -- what did this

           16    agreement contemplate you transferring,

           17    Mr. Montgomery?

           18          A.   I don't recall.

           19          Q.   So your testimony is that you entered into

15:13:57   20    an employment agreement where you're getting paid

           21    $1.2 million a year and you're getting loans in the

           22    amount of -- what was that, $2.3 million -- yeah,

           23    $2.3 million and you don't recall what was

           24    contemplated in connection with that agreement?

15:14:16   25          A.   You didn't ask me that agreement.           You said

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15:14:18    1    that assignment that's referred to here.

            2         Q.    Yeah.    What was contemplated?

            3         A.    Oh, okay.

            4               I don't recall specifically.

15:14:25    5         Q.    You don't recall what kind of --

            6         A.    You've asked me four times.          I'm going to

            7    answer the same way.

            8         Q.    It just seems incredible that you're

            9    engaging in this bargain for exchange for millions

15:14:36   10    of dollars and you don't recall what you're giving

           11    up in exchange for it.

           12         A.    Okay.

           13               MR. CONANT:      I'm sorry, I correct the

           14    record.    It's actually $3.3 million in loans, plus

15:14:44   15    the $1.2 million annually.

           16               MR. FLYNN:     What did you give them.

           17               MR. CONANT:      Yeah.

           18         Q.    What did you give them in exchange for all

           19    that money, Mr. Montgomery?

15:14:52   20         A.    You asked me that and I'm not going to

           21    answer it again.       I don't recall what was on that

           22    assignment.     You asked me; now I've answered.

           23         Q.    I'm not asking you the assignment.            I'm

           24    asking you:     What was contemplated in connection

15:15:02   25    with this agreement?

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15:15:04    1         A.    I don't recall.

            2         Q.    Generally speaking, did it have to do with

            3    software?

            4         A.    I don't recall.

15:15:10    5               MR. FLYNN:     Was it encoding --

            6    BY MR. CONANT:

            7         Q.    Was it the decoding software for the

            8    Al-Jazeera transmissions that were contemplated as

            9    part of this agreement, Mr. Montgomery?

15:15:22   10         A.    I don't recall.

           11         Q.    You just don't recall.

           12         A.    That's correct.

           13               MR. CROCKETT:      There wasn't a question.

           14    BY MR. CONANT:

15:15:27   15         Q.    So in front of -- okay.

           16               MR. FLYNN:     At the time did that decoding

           17    software even exist.

           18    BY MR. CONANT:

           19         Q.    At the time that you entered into this

15:15:37   20    agreement did the decoding software even exist?

           21         A.    And I invoke my right under the Fifth.

           22         Q.    Did you ever satisfy your obligations under

           23    this agreement, Mr. Montgomery?

           24               MR. CROCKETT:      Well, that calls for a legal

15:15:54   25    conclusion.     There are multiple obligations set

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15:15:56    1    forth in this.      I don't think the question as it's

            2    phrased can be answered and I'll object.

            3               MR. CONANT:      It's withdrawn.      It's

            4    withdrawn.

15:16:07    5         Q.    All right.     Let's --     all right.     Let's --

            6    we're on page 4 of 6.        Flip to page 4 of 6, Tab 4.

            7               All right.     Let's look at this entry on

            8    5/11, withdrawal made in a branch, another $90,000

            9    withdrawal made in a branch.

15:16:44   10               Can you shed some light on what that

           11    withdrawal was for, Mr. Montgomery?

           12         A.    No.

           13         Q.    You cannot shed -- do you recall what it

           14    was for?

15:16:52   15               MR. CROCKETT:      Asked and answered, Counsel.

           16               THE WITNESS:      I don't recall.

           17    BY MR. CONANT:

           18         Q.    All right.     The $150,000 transferred into

           19    this account on 5/10, April 10, what was that

15:17:01   20    $150,000 for?

           21         A.    I don't recall.

           22               MR. CROCKETT:      Actually, it's a withdrawal,

           23    I believe.

           24               MR. CONANT:      Oh, it's a withdrawal.        Oh, I

15:17:08   25    apologize, withdrawal.

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15:17:08    1               MR. CROCKETT:      $300,000.

            2    BY MR. CONANT:

            3         Q.    Where was that withdrawal -- why did you

            4    withdraw that money from that account?

15:17:14    5         A.    I don't -- I don't recall.

            6         Q.    All right.     May 15, online transfer,

            7    $14,000.     Any idea what that transfer was for?

            8         A.    I need to stop and take some medication.

            9               MR. CROCKETT:      There's a question pending.

15:17:38   10               THE WITNESS:      I'm sorry.     I didn't know

           11    what it was.

           12    BY MR. CONANT:

           13         Q.    Mr. Montgomery, did you -- have you filed

           14    your 2007, 2008, 2009 tax returns, any of those tax

15:17:50   15    returns?

           16         A.    I've taken extensions on the last two.              I

           17    don't know if the previous one was filed or not.

           18         Q.    What do you mean by "previous one"?

           19         A.    You said "three years," didn't you?

15:18:01   20         Q.    Well, let's take those.         Have you filed

           21    your 2007 tax returns?

           22         A.    I don't -- I don't know which years.            I

           23    don't know.     The answer is I don't know.

           24         Q.    Which --

15:18:15   25               MR. FLYNN:     How much did he report as

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15:18:16    1    income.

            2    BY MR. CONANT:

            3         Q.    Do you recall what you reported as your

            4    income for the year 2006, Mr. Montgomery?

15:18:21    5         A.    No.

            6         Q.    Do you recall what you reported as your

            7    income for 2007?

            8         A.    No.

            9         Q.    For 2008 do you recall?

15:18:26   10         A.    No.

           11         Q.    Did you have -- have you filed your income

           12    tax returns for the year 2006, Mr. Montgomery?

           13         A.    I don't know if I -- I think that one I

           14    did.   I suspect I did.

15:18:41   15               When you say for the year 2006, isn't that

           16    your 2007 --

           17         Q.    I'm asking your tax year 2006 returns.

           18         A.    Okay.    Is that what you're asking me all

           19    along?

15:18:54   20         Q.    Well, I'll clarify it now.

           21               So your 2006, your tax year 2006 returns,

           22    you filed, you believe?

           23         A.    I believe so.

           24         Q.    What about your tax year 2007 returns?

15:19:03   25         A.    I thought I did, but I'm not certain.

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15:19:06    1         Q.    What about your 2008, your tax year 2008,

            2    tax returns?

            3         A.    No.

            4         Q.    And your tax year 2009 tax returns?

15:19:15    5         A.    I've taken extensions on both of them, I

            6    believe.

            7               I'd like to stop and take some medication.

            8               MR. CONANT:      Fine.   We'll go off the

            9    record.

15:19:25   10               THE VIDEOGRAPHER:        Going off the record.

           11    The time is 3:19 p.m.

           12               (Recess taken.)

           13               THE VIDEOGRAPHER:        The time is 3:28 p.m.

           14    We're back on the record.

15:28:20   15               MR. CONANT:      All right.     Back on the

           16    record.    We're on Tab 4 of Plaintiff's Exhibit 18,

           17    page 4 of 6.

           18               I'm trying to remember where we left --

           19    Stephanie, can you recall for us what the last

15:28:40   20    transaction -- the date of the last entry that we

           21    questioned Mr. Montgomery about was?

           22               You know what, Stephanie?         We got it.

           23         Q.    All right.     Mr. Montgomery, entry dated

           24    5/17, $20,000 withdrawal, can you explain to me

15:29:02   25    where that money went?

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15:29:03    1         A.    I don't recall.

            2         Q.    The 5/19 transfer -- or withdrawal of

            3    $41,000, do you -- do you recall where that money

            4    went?

15:29:14    5               MR. CROCKETT:      Since you changed it from

            6    withdrawal to trans- -- from transfer to withdrawal,

            7    I'll say mischaracterizes, because it says it's a

            8    transfer, online transfer.

            9               MR. CONANT:      It's within the withdrawal

15:29:24   10    category.

           11               MR. CROCKETT:      It is that.      I would agree.

           12    BY MR. CONANT:

           13         Q.    Mr. Montgomery, the 5/19 $41,000

           14    withdrawal, do you know where that money went?

15:29:33   15         A.    It looks like it went back in that savings

           16    account, if that's what that account is.

           17         Q.    Where would that money have gone from

           18    there?

           19         A.    I don't recall.

15:29:40   20         Q.    All right.     The 5 -- May 22 withdrawal made

           21    in a branch store in the amount of $75,000, again,

           22    one of these curious withdrawals made in a branch

           23    store.

           24               Can you describe what that money was used

15:29:54   25    for?

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15:29:55    1               MR. CROCKETT:      I'm going to object to your

            2    characterization of it as curious.

            3               And, Dennis, with that if you can, answer

            4    the question.

15:30:01    5               THE WITNESS:      I don't recall.

            6    BY MR. CONANT:

            7         Q.    All right.     The 5/22 withdrawal in the

            8    amount of $25,000, do you know what that money was

            9    ultimately used for, Mr. Montgomery?

15:30:13   10         A.    I don't recall.

           11         Q.    And the May 30 withdrawal in the amount of

           12    $30,000, do you recall where that money --

           13         A.    I don't recall.

           14         Q.    -- went?

15:30:24   15               Same question for the May 31 transfer in

           16    the amount of $17,000.

           17         A.    Don't recall.

           18         Q.    Same question for the June 5 $23,000

           19    withdrawal?

15:30:36   20         A.    Don't recall.

           21         Q.    Let's go to Tab 5.       Now before we go --

           22    let's get a break from the numbers.

           23               Mr. Montgomery, when you got -- when you

           24    delivered these bank account statements to your

15:30:56   25    attorneys at the Liner firm, do you recall redacting

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15:31:05    1    pages from these account statements?

            2               Meaning did you pull certain statements

            3    from these account statements before you handed them

            4    over to Liner firm?

15:31:16    5         A.    I don't recall if I did or not.

            6         Q.    Would those pages that you don't recall

            7    pulling out, would those have reflected transfers of

            8    money to --

            9               MR. CROCKETT:      Do you have those pages that

15:31:31   10    you're referring to?

           11               MR. CONANT:      That's the problem.       We never

           12    got them.     There's large omissions.

           13               MR. CROCKETT:      The statements appear to be

           14    pages 1, 2, 3, 4, 5 and 6.

15:31:41   15               MR. CONANT:      We'll get to that.       We'll get

           16    to that eventually.

           17               MR. CROCKETT:      That might be more useful,

           18    wouldn't it to --

           19               MR. CONANT:      And I'm just asking

15:31:48   20    Mr. Montgomery if he recalls right now doing that.

           21               MR. CROCKETT:      And he's answered he doesn't

           22    recall doing that.

           23    BY MR. CONANT:

           24         Q.    Mr. Montgomery, in these bank account

15:31:55   25    statements that you get from Wells Fargo, you're

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15:31:57    1    familiar with your bank account statements, I'd

            2    assume, are you not?

            3         A.    Yes.

            4         Q.    In these bank statements do you get pages

15:32:06    5    which show photocopies of checks that have been

            6    cashed?

            7         A.    No.

            8         Q.    Checks -- when I may refer to "checks,"

            9    checks that you've drawn on this account.

15:32:17   10         A.    Right.    You mean like all the check numbers

           11    and everything.      No.    No.

           12               You're referring specifically to these

           13    Wells Fargo accounts; correct?

           14         Q.    Correct.

15:32:27   15         A.    I believe at the time you had to ask for

           16    them; they didn't produce them.

           17         Q.    All right.      Mr. Montgomery --

           18               Mr. Montgomery, on the pages on the bank

           19    account statements that you produced in connection

15:33:15   20    with the Nevada district court order compelling you

           21    to produce your bank records, isn't it true that on

           22    some of your bank account statements you

           23    intentionally pulled out certain pages from those

           24    statements before you handed them over to your

15:33:30   25    attorneys?

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15:33:32    1          A.   I don't recall doing that.

            2          Q.   Do you recall pulling out roughly pages 6

            3    and 7 of your account statements and 17 and 18 --

            4    No.   Strike that question.

15:34:02    5               Mr. Montgomery, when you were producing

            6    your Wells Fargo bank account statements in

            7    connection with the Nevada district court order

            8    compelling you to produce your bank records, isn't

            9    it true that you were -- from all the bank

15:34:17   10    statements that you produced that you pulled out,

           11    roughly, pages 6 and 7 and then pages 18 and 19 --

           12    17, 18 and 19 -- 17 -- 6 through, roughly, pages --

           13    6 and 7 through, roughly, page 18 and 19?

           14               MR. CROCKETT:      Are you referring to these

15:34:35   15    statements?

           16               MR. CONANT:      I'm asking him about the Wells

           17    Fargo statements that he produced in connection with

           18    the order to compel issued by the Nevada court.

           19               MR. CROCKETT:      And I want to make sure I'm

15:34:47   20    clear.     You, I think, previously represented that

           21    that's what these were; isn't that right?

           22               MR. CONANT:      I'm asking him a question

           23    regarding what he did and whether they're related to

           24    these documents or not is a question.

15:34:59   25               MR. FLYNN:     I'll jump in here.        Every

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15:35:01    1    Wells Fargo Bank statement produced by

            2    Mr. Montgomery between April of '06, roughly until

            3    March '09, every bank statement he extracted the

            4    pages that ran roughly from page 6 to 7 to page 17

15:35:22    5    to 18.    Uniformly all those pages were taken out.

            6               MR. CROCKETT:      And I hear what you're

            7    saying.    I'm just looking --

            8               MR. FLYNN:     Each statement is roughly 28 or

            9    29 pages long.

15:35:34   10               MR. CROCKETT:      I'm looking at the account

           11    statements that we have in this Exhibit 18 and it

           12    appears to me that they all state on the first page

           13    page 1 of X and in each instance that I've looked

           14    at, which I don't represent to be all of them, that

15:35:47   15    there's all X pages in each month are there.

           16               So you must be referring to something else,

           17    I guess, is my comment.        But in any event, if you

           18    read the question back --

           19               MR. FLYNN:     No, we're not referring to

15:35:58   20    anything else.

           21               MR. CROCKETT:      Okay.

           22               MR. FLYNN:     Ask that question I just put on

           23    the record.

           24               THE WITNESS:      That was a question?

15:36:04   25               MR. CROCKETT:      No, no, no, no.       Let --

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15:36:06    1               MR. FLYNN:     Did he extract roughly ten

            2    pages from the bank statment.

            3    BY MR. CONANT:

            4         Q.    Mr. Montgomery, did you extract roughly ten

15:36:13    5    pages from each bank statement, each Wells Fargo

            6    Bank statement that you produced in connection with

            7    an order from the Nevada federal court?

            8               THE WITNESS:      I don't recall.

            9               MR. CONANT:      Can we go off the record for a

15:36:47   10    second?

           11               THE WITNESS:      Going off the record.        The

           12    time is 3:36 p.m.

           13               (Recess taken.)

           14               THE VIDEOGRAPHER:       The time is 3:43 p.m.

15:43:24   15    We're back on the record.

           16    BY MR. CONANT:

           17         Q.    All right.     Mr. Montgomery, before you took

           18    a break there was some discussion about large

           19    numbers of pages being redacted from the bank

15:43:41   20    statements that you were ordered to produce in the

           21    Nevada litigation.

           22               MR. FLYNN:     Every bank statement.

           23    BY MR. CONANT:

           24         Q.    And I will -- while we were taking the

15:43:51   25    break Mr. Flynn was able to locate the original

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15:43:54    1    production that we received -- or that he received

            2    in the Nevada litigation, the production of your

            3    bank statements, Wells Fargo bank statements, that

            4    you produced in the Nevada litigation.

15:44:04    5               And I will introduce as an examplar of the

            6    volume of bank statements we received Plaintiff's

            7    Exhibit No. 20.

            8               Correct?

            9               THE REPORTER:      19.

15:44:32   10               MR. CONANT:      We're at 19?

           11               (Exhibit 19 was marked for identification.)

           12               MR. CONANT:      We don't have multiple copies

           13    of these.     Those are the only ones we have.

           14         Q.    Mr. Montgomery, if you could start at the

15:44:40   15    beginning of those bank statements and find, I

           16    believe in the upper right-hand corner, where it

           17    gives the page designation, 1 of whatever, 28, I

           18    believe.

           19         A.    Right, I see it.

15:44:53   20         Q.    So can you just count through the page

           21    count on there going from 1 of --

           22         A.    Okay.    This one says 1 of 29.        You want me

           23    to count them.      Is that what you're saying?

           24         Q.    Yeah, just give me a counting.

15:45:10   25               No, verbally.      Can you count --

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15:45:12    1         A.    Sorry.

            2               MR. FLYNN:     Recite the pages, like on that

            3    one, 8 to --

            4               THE WITNESS:      1, 2, 3, 4 --

15:45:22    5    BY MR. CROCKETT:

            6         Q.    What is the of, 4 of what?

            7         A.    29.

            8         Q.    Okay.    Keep going.

            9         A.    5 of 29.     Is that what you want me to read?

15:45:30   10         Q.    Yeah, just keep going on.

           11         A.    6 of 29, 21 of 29.

           12         Q.    Okay.    Now -- thank you.

           13               So designated in the production that

           14    Mr. Flynn received, pages 6 through 21 --

15:45:45   15               MR. FLYNN:     -- through 20.

           16    BY MR. CONANT:

           17         Q.    -- through 20 --

           18         A.    Uh-huh.

           19         Q.    -- or 7 through 20 are missing.

15:45:52   20               MR. FLYNN:     In every statement.

           21               MR. CROCKETT:      And your point is what or

           22    the question is what?

           23               MR. CONANT:      That in the production and

           24    every statement that Mr. Flynn received in this

15:46:00   25    regard for the years --

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15:46:01    1               MR. CROCKETT:      To the extent, Counsel --

            2               MR. CONANT:      Mr. Crockett, let me finish.

            3               MR. CROCKETT:      Please.

            4               MR. CONANT:      Every statement that Mr. Flynn

15:46:08    5    received for the years -- for the relevant years

            6    2006 to -- 2000- --

            7               MR. FLYNN:     -- '-9.

            8               MR. CONANT:      '-9 have similar redactions

            9    from them and these are the documents that Mr. Flynn

15:46:18   10    received in the Nevada litigation.

           11               MR. FLYNN:     And in our motion to compel

           12    they're obligated to produce and they've never

           13    produced them.

           14               MR. CONANT:      And Mr. Flynn received these

15:46:32   15    from Mr. Montgomery's attorneys in connection with

           16    the motion to compel, the order on the motion to

           17    compel that Mr. Montgomery was under in the Nevada

           18    litigation.

           19               THE WITNESS:      Do you have the order?

15:46:43   20               MR. CROCKETT:      Stop, Dennis.

           21               MR. FLYNN:     And in this litigation,

           22    Mr. Crockett, you are obligated to produce the same

           23    missing pages and you've never produced them.

           24               MR. CROCKETT:      Whatever our obligation is

15:46:54   25    in this litigation, I will attempt to comply with to

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15:46:59    1    the best of my ability.

            2               My objection here is that if you think this

            3    was an improper production in other litigation in

            4    another state, it seems to me that the appropriate

15:47:11    5    form to raise that issue would be in that court in

            6    that litigation.

            7               MR. CONANT:      Mr. Montgomery filed for

            8    bankruptcy before we could ever raise that

            9    objection.     He was produced -- to produce these in

15:47:25   10    connection with the debtor's exam he was ordered to

           11    attend in Nevada.       On the eve of the debtor's exam

           12    Mr. Montgomery filed the bankruptcy to avoid his

           13    obligations thereunder.

           14               MR. FLYNN:     And you're obligated to produce

15:47:38   15    them here, Mr. Crockett, and they've never been

           16    produced.

           17               As I represented before, every Wells Fargo

           18    statement from April through March '09 has missing

           19    pages from roughly 6 or 7 to, roughly, page 18, 19,

15:47:52   20    20.

           21               And I believe that those missing pages are

           22    the copies of canceled checks which would show where

           23    the monies went.

           24               MR. CROCKETT:      And the question is?

           25    ///

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15:48:05    1    BY MR. CONANT:

            2         Q.    Mr. Montgomery, those are your bank

            3    statements, are they not?

            4         A.    Well, you just said that so --

15:48:19    5               MR. CONANT:      We introduced these to

            6    establish Mr. Montgomery has not previously -- has

            7    previously concealed the location and nature of his

            8    assets by redacting these bank statements.

            9               MR. CROCKETT:      Are these the bank

15:48:34   10    statements that you saw by subpoena from

           11    Wells Fargo?

           12               MR. CONANT:      No.   As we've already

           13    established, these are the bank statements that

           14    we've received -- that Mr. Flynn received in

15:48:43   15    connection with his -- in connection with the Nevada

           16    litigation.

           17               MR. CROCKETT:      Right.    But you separately

           18    subpoenaed Wells Fargo directly.

           19               MR. FLYNN:     Right.    And they want about

15:48:52   20    $7,000 to produce those pages and you're obligated

           21    to produce them, so before I pay the $7,000 I want

           22    you to produce them, Mr. Crockett.

           23               MR. CROCKETT:      Right.

           24               THE WITNESS:      Do you want this back or --

15:49:08   25               MR. CONANT:      No.   That's an exhibit for the

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15:49:08    1    court reporter.

            2               THE WITNESS:      I'm sorry.

            3               MR. FLYNN:     But, Stephanie, we're going to

            4    need that copied and then returned to my original

15:49:12    5    stack.

            6               MR. CONANT:      Caught up.     Very good.

            7         Q.    So let's go back to Plaintiff's Exhibit 18,

            8    Tab 5, page 2 of 2.

            9         A.    Page 2 of 2?

15:49:32   10         Q.    I'm sorry, 2 of 6.

           11         A.    Yeah.    Okay.

           12         Q.    All right.     Deposit Entry No. 1, June 15,

           13    $53,000, purportedly from Azimyth.           Can you explain

           14    what the nature of that deposit was for,

15:49:46   15    Mr. Montgomery?

           16         A.    I would -- I believe it's for expenses.

           17         Q.    $53,000 in expenses?

           18         A.    Yeah.

           19         Q.    That wasn't payroll.

15:49:58   20         A.    No, because payroll it says payroll on it I

           21    notice.

           22         Q.    Okay.    All right.     The $30,000 right below

           23    that from some account, can you explain where

           24    that -- what the source of that money was and where

15:50:12   25    it went, Mr. Montgomery?

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15:50:26    1         A.    Can I look back at something first?

            2         Q.    Sure.

            3         A.    Can I see the document that you just --

            4               Okay.    Okay.    Go ahead.     I'm sorry.

15:51:39    5         Q.    For the record, Mr. Montgomery, you asked

            6    for a --

            7         A.    Yeah, I'm sorry.

            8         Q.    -- to review another document.           What

            9    document was it that you asked to review?

15:51:47   10         A.    I don't know the number on it.           Is there a

           11    number on it?      I don't know.

           12               Oh, there is one.       I'm sorry.     19.

           13         Q.    Plaintiff's Exhibit 19.

           14         A.    Yeah.

15:51:54   15         Q.    Okay.    All right.     So I asked about the

           16    source and use of the $30,000 which appears to be

           17    deposited -- was deposited on June 15.

           18               And I'm looking on page 2 of 6 of Tab

           19    No. 5.

15:52:16   20         A.    I'm looking at something.         If you just give

           21    me a minute, please.

           22               MR. FLYNN:     I mean there's so many, there

           23    must have been some --

           24    BY MR. CONANT:

15:53:00   25         Q.    All right.     Let's just skip,

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15:53:00    1    Mr. Montgomery.

            2         A.    Okay.

            3               MR. FLYNN:     This is --

            4               MR. CONANT:      What's that?

15:53:08    5               MR. FLYNN:     August of 06.

            6    BY MR. CONANT:

            7         Q.    All right.     Skip with me to Tab No. 7.

            8         A.    Okay.

            9               MR. FLYNN:     Ask him -- ask him -- July 1,

15:53:36   10    '07, did you get --

           11               MR. CONANT:      W-9?   1040?

           12               MR. FLYNN:     1040.    July 10.     What's the

           13    reporting document?

           14               MR. CONANT:      W-9.   That's a W-9.

15:54:21   15               MR. FLYNN:     No.

           16               MR. CONANT:      Let's go off the record.        You

           17    want to go off the record?

           18               Let's go off the record for a sec, but

           19    we're not going to --

15:54:31   20               THE VIDEOGRAPHER:       Going off the record.

           21    The time is 3:54 p.m.

           22               (Break in the proceedings.)

           23               THE VIDEOGRAPHER:       Back on the record.        The

           24    time is 3:54 p.m.

15:54:46   25               MR. FLYNN:     Does it seem like I'm directing

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15:54:47    1    here?

            2               MR. CONANT:      All right.     Let's look at the

            3    August -- Tab 7 is the August statement.

            4               Thank you, Mike, for pointing that out.

15:55:02    5               MR. FLYNN:     You're doing a great job.

            6               MR. CONANT:      Thanks, Mike.      I appreciate

            7    that.

            8         Q.    All right.     Let's look at page 5 of 28.

            9    You see on the deposits and interest portion of

15:55:15   10    that --

           11         A.    Uh-huh.

           12         Q.    -- it says an amount, $372,000.           Do you see

           13    that, Mr. Montgomery?

           14         A.    Yes.

15:55:23   15         Q.    Why did you get -- why did you get an

           16    amount of $372,000 deposited into your account on

           17    August 1 of 2006?

           18         A.    I don't recall.

           19         Q.    Was that in connection with your -- with

15:55:56   20    your employment at Opspring?

           21         A.    This is July -- I don't recall that.            It

           22    must have been.

           23         Q.    Would you have any idea where you -- where

           24    that 300-something-thousand dollars went?

15:56:31   25         A.    Yeah.

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15:56:31    1         Q.    Where would -- where did it go?

            2         A.    Deposit for the house in Washington.

            3         Q.    That the deposit for the house in

            4    Washington?

15:56:37    5         A.    I suspect it is.       I'm not certain, but

            6    that's the timeframe.

            7         Q.    Okay.    Turning to page 19 of 28 --

            8         A.    Okay.

            9         Q.    So is this a different account?           I see here

15:56:56   10    it says Advantage Plus Checking, Wells Fargo.              Is

           11    this a different checking account of yours,

           12    Mr. Montgomery, at Wells Fargo?

           13         A.    Than?

           14         Q.    Does this reflect a different account than

15:57:10   15    the page we just looked at which appears to be PMA

           16    Prime Checking Account?

           17               Do you see -- if you flip back to

           18    page 528 --

           19         A.    Right.

15:57:21   20         Q.    -- it appears that the title of this

           21    account that we just looked at with the $372,000

           22    deposit appears to be titled PMA Prime Checking

           23    Account.

           24               Do you see that?

15:57:31   25         A.    Yeah, I see it.

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15:57:32    1         Q.    Okay.    Now -- well, since we're on that

            2    page, I see an online transfer of $500,000 on that

            3    account.

            4               What was that -- what was that deposit of

15:57:40    5    $500,000 for?

            6         A.    If you just give me a minute, I want to

            7    look at this.

            8         Q.    Okay.

            9         A.    Okay.    I got it.

15:58:16   10         Q.    Okay.    Mr. Montgomery, were you ready to

           11    answer?

           12         A.    I can give you what I think.

           13         Q.    All right.     What do you think?

           14         A.    I think the PMA Prime Checking Account is

15:58:30   15    actually a savings account and I believe the 53 --

           16    the 933 account which you referred to -- wherever, I

           17    can't remember where it was right now.

           18         Q.    The Advantage Plus Checking Account on

           19    page 19.

15:58:41   20         A.    Right, that was my standard checking

           21    account, regular checking account.

           22         Q.    Okay.

           23         A.    And during that time frame, which is around

           24    August of '06 --

15:58:53   25               MR. FLYNN:     He gave 500,000 on an 8/31 wire

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15:58:56    1    transfer on Azimyth.

            2               MR. CROCKETT:      Let us know when you're

            3    ready, Mr. Conant.

            4               MR. CONANT:      He can answer.      It's going on

15:59:03    5    the record.

            6               THE WITNESS:      Okay.    Well, you need -- it

            7    looks like money was taken out of savings account

            8    and put into a checking account.           That's what it

            9    looks like to me.

15:59:09   10    BY MR. CONANT:

           11         Q.    Okay.    Where did it -- so can we trace that

           12    $500,000 to your checking account?

           13         A.    I don't know.

           14         Q.    All right.     Well, then flip with me to

15:59:18   15    page 20 of 28 --

           16         A.    Okay.

           17         Q.    -- where you receive deposits of $500,000

           18    from Azimyth.

           19         A.    Right.

15:59:26   20         Q.    So is it fair to say that $500,000 that we

           21    see on page 1 derives itself from the payment from

           22    Azimyth and Opspring?

           23               MR. FLYNN:     That's another 500K.

           24               MR. CROCKETT:      Sorry, Counsel, so we're

15:59:47   25    clear, so the references are the 8/31 online

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15:59:51    1    transfer reference and so on of $500,000, it's on

            2    page 5 of 28 and the 8/31, what appears to be, wire

            3    transfer, WT, Azimyth $500,000 on page 20 of 28; is

            4    that correct?

16:00:07    5               MR. CONANT:      Mr. Crockett, I'm asking -- I

            6    believe the question was:         Is that $500,000 on

            7    page 20 deposited on August 31, is that the same

            8    $500,000 that's reflected on page 5 of 28 as a

            9    deposit of $500,000?

16:00:26   10               THE WITNESS:      It looks like it to me.        I

           11    mean it looks like it's just one deposit.

           12    BY MR. CONANT:

           13         Q.    Do you know if you got another $500,000

           14    deposit during this time period from Azimyth or

16:00:36   15    Opspring?

           16         A.    No, because -- I don't believe so.

           17               MR. FLYNN:     July of '07 he got a total --

           18    April of '06.

           19    BY MR. CONANT:

16:00:53   20         Q.    All right.     Mr. Montgomery, did you ever

           21    get a W-2 from -- did you get a W-2 from Azimyth or

           22    Opspring showing a deposit of -- or showing income

           23    to you in -- let me step back.

           24               In July of 2007 did you get a W-2 from

16:01:14   25    Azimyth or Opspring showing income to you of

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16:01:17    1    approximately --

            2               MR. FLYNN:     3.8 million.

            3    BY MR. CONANT:

            4         Q.    -- $3.8 million?

16:01:24    5         A.    I don't recall.

            6         Q.    All right.     The -- if you turn to page 19

            7    of 28 I see an August 4 deposit from Opspring and

            8    Azimyth in the amount of a hundred thousand dollars.

            9               Was that hundred thousand dollars part of

16:01:48   10    your normal salary from Opspring or Azimyth,

           11    Mr. Montgomery?

           12         A.    No.    That's usually when Michael Flynn

           13    wanted his hundred thousand and that's when the

           14    money came in from the company and was sent to him.

16:02:03   15         Q.    So the money being paid to Michael Flynn,

           16    that was in addition to your normal salary of a

           17    hundred thousand dollars a month; isn't that

           18    correct, Mr. Montgomery?

           19         A.    I don't recall specifically.

16:02:12   20         Q.    So you were getting -- but you were getting

           21    paid as salary a hundred thousand dollars a month

           22    from either Opspring or Azimyth; isn't that correct,

           23    Mr. Montgomery?

           24         A.    I never got paid by Azimyth.

16:02:22   25         Q.    So can you correct --

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16:02:25    1         A.    I don't know why -- you're referring to the

            2    way it's written that way, Azimyth, Opspring on the

            3    wire?

            4         Q.    During this time period were you getting

16:02:34    5    paid a hundred thousand dollars a month from any

            6    entity?

            7         A.    Yes.

            8         Q.    Which entity was that?

            9         A.    I believe I answered that already, didn't

16:02:41   10    I, already?

           11         Q.    I don't recall.       We've taken --

           12         A.    I don't recall.       I mean the answer is I was

           13    getting paid a paycheck from Opspring.            The hundred

           14    thousand doesn't look like that's my paycheck.

16:02:59   15         Q.    How much was your normal paycheck from

           16    Opspring?

           17         A.    I don't recall, because there's no taxes

           18    taken out of it and that's an even number, so I'm

           19    suspecting since above it and below it has got

16:03:10   20    34,000, you know, within a few cents, that was a

           21    payment made and that's about what I thought Michael

           22    Flynn got paid every time that he asked for a

           23    hundred thousand dollars.

           24         Q.    Now -- but you were getting paid a salary

16:03:23   25    of a hundred thousand dollars a month from Opspring;

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16:03:26    1    right?

            2          A.   I don't remember the exact amount.

            3          Q.   Is that approximate?

            4          A.   You just asked me.       I don't --

16:03:34    5               MR. FLYNN:     Casino.     Casino, right.

            6    BY MR. CONANT:

            7          Q.   All right.     We'll put the bank statements

            8    away briefly.

            9          A.   Okay.

16:04:11   10          Q.   Okay.

           11          A.   Well, I know I didn't say it was --

           12               MR. CROCKETT:      Okay.

           13    BY MR. CONANT:

           14          Q.   Mr. Montgomery, what is your best estimate

16:04:19   15    of the total amount of money you received from Edra

           16    Blixseth's entities between April of '06 and March

           17    of 2009?

           18          A.   I don't recall.

           19          Q.   I'm asking not for what you recall, I'm

16:04:33   20    asking for your best estimate.

           21          A.   I don't know.      I don't recall.

           22               MR. FLYNN:     Go amounts more or less than

           23    1 million, more or less than 2 million, more or less

           24    than 3 million.

           25    ///

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16:04:45    1    BY MR. CONANT:

            2         Q.    Mr. Montgomery, the amounts you received

            3    from Ms. Blixseth's entities between April of '06

            4    and March of '09, was it less than $1 million or

16:04:54    5    more than $1 million?

            6         A.    I'm going to assert the Fifth.           I don't

            7    recall.    I don't know specifically.          I'm not going

            8    to get into it.

            9               MR. FLYNN:     2 million, 3 million.

16:05:09   10               THE WITNESS:      I don't know the exact

           11    amounts.

           12    BY MR. CONANT:

           13         Q.    Isn't it --

           14         A.    I just don't know the amounts.

16:05:13   15         Q.    I'm asking for your best estimate.            Best

           16    estimate less that $1 million; more than $1 million?

           17         A.    Total ever?

           18         Q.    Let me rephrase it.

           19               Your best estimate of the total money you

16:05:27   20    received from Edra Blixseth's entities between April

           21    of '06 and March of '09, was it less than $1 million

           22    or more than $1 million?

           23         A.    Are you counting the 1.2 million Mr. Flynn

           24    got paid?     I don't know.      I mean it must have been

16:05:46   25    over a million, because he got paid a million-two.

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16:05:52    1         Q.    Exclusive of any payments made to

            2    Mr. Blixseth [sic], as part of your salary with

            3    bonuses, with loans, was it less than $1 million or

            4    more than $1 million?

16:06:03    5         A.    More.

            6         Q.    Was it less than $2 million or more than

            7    $2 million?

            8         A.    More.

            9         Q.    Was it less than $3 million or more than

16:06:07   10    $3 million.

           11         A.    More.

           12         Q.    Less than $4 million or more than

           13    $4 million dollars?

           14         A.    I don't recall at this point.          I don't know

16:06:12   15    past that.     I assumed it was over that, but I don't

           16    know past that.

           17         Q.    More than 6 million?

           18         A.    I don't recall.

           19         Q.    More than 5 million?

16:06:20   20         A.    I don't recall.

           21               MR. FLYNN:     Okay.

           22               MR. CONANT:      All right.     Let's shift gears

           23    once again.

           24               All right.     I'm going to mark Plaintiff's

16:06:45   25    Exhibit --

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16:06:46    1               Are we at 20, Stephanie?

            2               THE REPORTER:      Yes.

            3               MR. CONANT:      -- Plaintiff's Exhibit 20.

            4               It's just more bank records from Istvan

16:07:03    5    Burgyan.     I don't know if you have any interest in

            6    reviewing them.

            7               (Exhibit 20 was marked for identification.)

            8    BY MR. CONANT:

            9         Q.    Mr. Montgomery, can you just refresh our

16:07:22   10    memory as to your relationship with Istvan Burgyan?

           11         A.    My son-in-law.

           12         Q.    Was he involved with operating Demaratech,

           13    LLC?

           14         A.    Yes.

16:07:31   15         Q.    Have you ever lent money to Mr. Burgyan?

           16         A.    I'm going to assert my right under the

           17    Fifth Amendment.

           18         Q.    Has Mr. Burgyan ever lent money to you?

           19         A.    I'm going to assert my right under the

16:07:42   20    Fifth Amendment.

           21         Q.    Does Mr. Burgyan currently have any -- let

           22    me strike that.

           23               Does Mr. Burgyan ever -- strike that again.

           24               Does Mr. Burgyan currently hold any of your

16:07:55   25    assets on your behalf?

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16:07:57    1         A.    I'm going to assert that on the Fifth

            2    Amendment.

            3         Q.    All right.

            4               MR. FLYNN:     Get a copy of the casino cash.

16:08:07    5    BY MR. CONANT:

            6         Q.    Has Mr. Burgyan ever accompanied you to any

            7    casinos?

            8         A.    Yes.

            9         Q.    Which casinos has he accompanied you --

16:08:15   10         A.    I don't recall.

           11         Q.    And casinos in California or casinos in

           12    Nevada?

           13         A.    Nevada.

           14         Q.    Do you ever -- do you ever gamble at Rancho

16:08:28   15    Morongo [sic] casino here in Palm Springs?

           16         A.    I'm going to assert my right under the

           17    Fifth Amendment.

           18         Q.    All right.     Can you explain to me what

           19    Demaratech's relationship with Cardiac Network,

16:08:48   20    Inc., is Mr. Montgomery?

           21         A.    I'm going to assert my right under the

           22    Fifth Amendment.

           23         Q.    Were you -- I see here on Bates stamp

           24    No. 352 of Plaintiff's Exhibit 20 a deposit in the

16:09:07   25    amount of $200,000 into Istvan's bank account from

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16:09:11    1    Cardiac Network, Inc.

            2               Do you see that, Mr. Montgomery?

            3         A.    Yes.

            4         Q.    Do you know why Cardiac Network, Inc.,

16:09:22    5    would be depositing $200,000 into Istvan Burgyan's

            6    account?

            7         A.    I'm going to assert my right under the

            8    Fifth Amendment.

            9         Q.    Isn't it true that Demaratech was -- well,

16:09:35   10    strike that.

           11               Isn't it true that Cardiac Network entered

           12    into some arrangement with Istvan Burgyan in

           13    exchange for technology that you were -- you had

           14    created?

16:09:52   15         A.    I'm going to assert my right under the

           16    Fifth Amendment.

           17         Q.    Isn't that same technology the same

           18    technology listed in your bankruptcy schedule,

           19    Mr. Montgomery?

16:10:02   20         A.    I'm going to assert my right under the

           21    Fifth Amendment.

           22         Q.    Isn't it true that for a number of years

           23    you were funneling money to Mr. Burgyan to conceal

           24    cash from your creditors, Mr. Burgyan -- I mean

16:10:16   25    Mr. Montgomery?

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16:10:17    1         A.    I'm going to assert my right under the

            2    Fifth Amendment.

            3         Q.    Okay.    All right.     Let's -- let me go --

            4    let's put that one away for now.           That's fine.

16:10:31    5               Let's go to -- I'm going to hand you

            6    Plaintiff's Exhibit 21.

            7               (Exhibit 21 was marked for identification.)

            8    BY MR. CONANT:

            9         Q.    All right.

16:11:06   10               All right.     Mr. Montgomery, if you look at

           11    Bates stamp No. 558 on Plaintiff's Exhibit 21 --

           12         A.    558, okay.

           13               MS. WELLS:     For the record, are these more

           14    bank records?

16:11:30   15               MR. CONANT:      Yeah, for the record.

           16         Q.    -- I see a deposit 12/14 into Istvan

           17    Burgyan's bank account in the amount of $130,000

           18    from Backhouse Fiduciary Services.

           19               Do you know -- are you familiar with

16:11:46   20    Backhouse Fiduciary Services, Mr. Montgomery?

           21         A.    I'm going to assert my right under the

           22    Fifth Amendment.

           23         Q.    Isn't Backhouse Fiduciary Services

           24    connected with Josh Kennedy?

16:11:53   25         A.    I'm going to assert my right under the

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16:11:55    1    Fifth Amendment.

            2         Q.    And isn't Josh Kennedy a funder of

            3    Demaratech, LLC?

            4         A.    I'm going to assert my right under the

16:12:02    5    Fifth Amendment.

            6         Q.    Wasn't -- didn't Josh Kennedy invest this

            7    money in Demaratech based on representations by you

            8    that you had software that you could -- you could

            9    sell to a government agency?

16:12:13   10         A.    I'm going to assert my right under the

           11    Fifth Amendment.

           12               He's very distracting talking on the phone

           13    over there.

           14               I guess it doesn't matter.

16:12:26   15         Q.    All right.     Mr. Montgomery, can you turn to

           16    Bates stamp No. 559.

           17         A.    Yeah, okay.

           18         Q.    I see a deposit dated 12/15 in the amount

           19    of -- I'm sorry, it's a withdrawal in the amount of

16:12:43   20    a hundred thousand dollars.

           21         A.    I see that.

           22         Q.    Do you see that?

           23         A.    Yes.

           24         Q.    And the -- the description appears to be

16:12:49   25    David Z. Chesnoff.

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16:12:52    1               Mr. Montgomery, who is David Chesnoff?

            2         A.    I'm going to assert my right under the

            3    Fifth Amendment.

            4         Q.    Isn't he your criminal defense counsel in

16:13:03    5    Clark County, Nevada?

            6         A.    I'm going to assert my right under the

            7    Fifth Amendment.

            8         Q.    Didn't he appear for you yesterday at your

            9    arraignment, Mr. Montgomery?

16:13:06   10         A.    I'm going to assert my right under the

           11    Fifth Amendment.

           12         Q.    Speaking of the arraignment yesterday in

           13    Clark County, what did the judge give you a two-week

           14    extension for?

16:13:16   15         A.    I'm going to assert my right under the

           16    Fifth Amendment.

           17         Q.    Did he give you an extension to arrange

           18    some sort of financing to pay off the DA,

           19    Mr. Montgomery?

16:13:25   20         A.    I'm going to assert my right under the

           21    Fifth Amendment.

           22         Q.    Mr. Montgomery, you've paid the DA

           23    $450,000 --

           24               We've asked this question.          I'll move on.

16:13:32   25               Now I'm looking back at this 12/15

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16:13:36    1    withdrawal from Istvan Burgyan's account to what

            2    appears to be David Chesnoff who is your criminal

            3    counsel.

            4               Why would Istvan Burgyan pay a hundred

16:13:48    5    thousand dollars to your criminal counsel?

            6         A.    I'm going to assert my right under the

            7    Fifth Amendment.

            8         Q.    Isn't it true this is really your hundred

            9    thousand dollars, Mr. Montgomery?

16:13:57   10         A.    I'm going to assert my right under the

           11    Fifth Amendment.

           12               MR. CONANT:      All right.     Let's hand you

           13    what we've marked as Plaintiff's Exhibit No. 22.

           14               (Exhibit 22 was marked for identification.)

16:14:38   15    BY MR. CONANT:

           16         Q.    All right.     Mr. Montgomery, who do you --

           17    do you pay your mortgage, Mr. Montgomery?

           18         A.    Ever you mean?

           19         Q.    Who do you have -- who do you currently

16:14:49   20    have -- what banks do you currently have to pay

           21    mortgage payments to, Mr. Montgomery?

           22         A.    Bank of America.

           23         Q.    You just have one mortgage that you pay?

           24         A.    No.    Aurora Home Loans, I don't know the

16:15:03   25    name of the bank but --

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16:15:04    1         Q.    You think it's Aurora Loan Services?

            2               THE REPORTER:      Sorry?

            3               THE WITNESS:      Aurora.

            4    BY MR. CONANT:

16:15:10    5         Q.    Aurora Loan, okay.

            6               I'm sorry, Mr. Montgomery, I didn't mean to

            7    cut you off.

            8               All right.     If you look at me [sic] with

            9    Bates stamp No. 944, there is a withdrawal in the

16:15:25   10    amount -- dated June 1, in the amount of $15,000.

           11               Do you see that, Mr. Montgomery?

           12         A.    Yes.

           13         Q.    And the description is wire transfer out,

           14    JMBM retainer, and then it says Joseph A.

16:15:46   15    Eisenberg -- or Gisenberg, PC.

           16               Do you know who Joseph Gisenberg is,

           17    Mr. Montgomery?

           18         A.    I'm going to assert my right under the

           19    Fifth Amendment.

16:15:59   20         Q.    Isn't he your counsel in your main

           21    bankruptcy case, Mr. Montgomery?

           22         A.    I'm going to assert my right.

           23         Q.    Why would Mr. Burgyan pay $15,000, a

           24    $15,000 retainer, to your bankruptcy counsel,

16:16:11   25    Mr. Montgomery?

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16:16:12    1         A.    I'm going to assert my right under the

            2    Fifth Amendment.

            3         Q.    Isn't it true that this $15,000 is really

            4    your money, Mr. Montgomery?

16:16:18    5         A.    I'm going to assert my right under the

            6    Fifth Amendment.

            7         Q.    Now you said a minute ago, Mr. Montgomery,

            8    that one of your mortgage payments is to Aurora Loan

            9    Services.

16:16:29   10         A.    That's correct.

           11         Q.    Okay.    I see now, if you look down to

           12    June 4 --

           13         A.    I see.

           14         Q.    -- you have a withdrawal in the amount of

16:16:39   15    $8,104.40.

           16               Do you see that, Mr. Montgomery?

           17         A.    Yes.

           18         Q.    That's to Aurora Loan Services,

           19    Mr. Montgomery?

16:16:48   20         A.    Yes.

           21         Q.    Isn't that a mortgage payment,

           22    Mr. Montgomery, for one of the mortgages that you

           23    owe money to?

           24               Or -- let me rephrase it.

16:17:00   25               This $8100 payment to Aurora Loan Services,

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16:17:05    1    isn't that a payment for one of -- on a mortgage

            2    payment that you're responsible for, Mr. Montgomery?

            3         A.    I'm going to assert my right under the

            4    Fifth Amendment.

16:17:14    5         Q.    It's really your -- so Mr. Burgyan is

            6    really paying -- strike that.

            7               All right.     Let's hand you what we've

            8    marked as Plaintiff's Exhibit 23.

            9               (Exhibit 23 was marked for identification.)

16:17:46   10    BY MR. CONANT:

           11         Q.    All right.     If you look here at the

           12    statement Bates stamp No. 934, again this is a

           13    checking account of Istvan Burgyan.            Now all of

           14    these -- Mr. Burgyan laid the foundation for all

16:18:06   15    these statements in his exam -- or deposition.

           16               Could you look at the -- do you see,

           17    Mr. Montgomery, a withdrawal in the amount of

           18    $30,000 dated August -- August 3?

           19         A.    Yes.

16:18:21   20         Q.    Now I see here that it's -- again in the

           21    description we have another reference to David Z.

           22    Chesnoff and then, again, the last word in this

           23    description is Dennis.

           24               What was that $30,000 paid for?

16:18:38   25         A.    I'm going to assert my right under the

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16:18:40    1    Fifth Amendment.

            2         Q.    Isn't it -- those were funds paid to your

            3    criminal counsel, are they not, Mr. Montgomery?

            4         A.    I'm going to assert my right under the

16:18:48    5    Fifth Amendment.

            6         Q.    Isn't that, in fact, your money,

            7    Mr. Montgomery, that's going to Mr. Chesnoff?

            8         A.    I'm going to assert my right under the

            9    Fifth Amendment.

16:19:01   10               We need to stop.       I need to go to the rest

           11    room.

           12               MR. CONANT:      Okay.

           13               THE VIDEOGRAPHER:        This marks the end of

           14    Media No. 3.      The time is 4:19 p.m.        We're off the

16:19:13   15    record.

           16               (Recess taken.)

           17               THE VIDEOGRAPHER:        This marks the beginning

           18    of Media No. 4.      The time is 4:23 p.m.        We're back

           19    on the record.

16:23:04   20               MR. CONANT:      All right.     Mr. Montgomery,

           21    I'm going to hand you what'll be marked as

           22    Plaintiff's Exhibit 24.

           23               (Exhibit 24 was marked for identification.)

           24    BY MR. CONANT:

16:23:20   25         Q.    All right.     Mr. Montgomery, take a second

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16:23:22    1    to review this document.

            2         A.    Okay.

            3         Q.    I'm going to represent that this is a --

            4    this is a document we got from a casino in relation

16:23:34    5    to a subpoena.

            6               Does this -- did you -- is this your

            7    cashier's check, Mr. Montgomery, that you -- I'm

            8    sorry.    Let me back up.

            9               Is this one of the cashier's checks that

16:23:47   10    you got from Wells Fargo Bank on April 25, 2006?

           11         A.    I'm going to assert my right under the

           12    Fifth Amendment.

           13         Q.    What did you do with this -- did you bring

           14    this cashier's check and cash it with -- I shouldn't

16:24:02   15    say "cash it."      Let me strike that.

           16               Did you submit this cashier's check to

           17    Caesar's Casino?

           18         A.    I'm going to assert my right under the

           19    Fifth Amendment.

16:24:10   20         Q.    What did you do -- what was the purpose of

           21    giving Caesar's Casino this $50,000 cashier's check?

           22         A.    I'm going to assert my right under the

           23    Fifth Amendment.

           24         Q.    Didn't you take this money out,

16:24:20   25    Mr. Mont- -- take this check to the casino and get

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16:24:22    1    cash with it, Mr. Montgomery?

            2         A.    I'm going to assert my right under the

            3    Fifth Amendment.

            4         Q.    What did you do with the cash that you got

16:24:28    5    from the casino, Mr. Montgomery?

            6         A.    I'm going to assert my right under the

            7    Fifth Amendment.

            8         Q.    Do you still have this $50,000 in cash,

            9    Mr. Montgomery?

16:24:38   10         A.    I'm going to assert my right under the

           11    Fifth Amendment.

           12               MR. CONANT:      All right.     I'm going to hand

           13    you what we've marked as Plaintiff's Exhibit 25.

           14               (Exhibit 25 was marked for identification.)

16:25:15   15               THE WITNESS:      That's it.

           16               MR. CONANT:      Sorry.

           17    BY MR. CONANT:

           18         Q.    Mr. Montgomery, can you tell me what -- can

           19    you tell me what casinos you've gambled at since

16:25:30   20    2006?

           21         A.    I'm going to assert my right under the

           22    Fifth Amendment.

           23         Q.    Between 2006 -- within the year 2006, can

           24    you tell me how much money you've won gambling or

16:25:42   25    how much you money you've lost gambling?

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16:25:44    1         A.    I'm going to assert my right under the

            2    Fifth Amendment.

            3         Q.    I'll ask you the same question for 2007.

            4    Can you tell me how much money you won gambling or

16:25:54    5    lost gambling?

            6         A.    I'm going to assert my right under the

            7    Fifth Amendment.

            8         Q.    I'm asking for net.        When I'm asking how

            9    much you won, how much you lost, I'm asking net for

16:26:04   10    the year.

           11         A.    I'm going to assert my right under the

           12    Fifth Amendment.

           13         Q.    Isn't it true that -- well, let me back up.

           14               For the year 2008 can you tell me how much

16:26:11   15    you won gambling or how much you lost gambling?

           16         A.    I'm going to assert my right under the

           17    Fifth Amendment.

           18         Q.    Same question for 2009.

           19         A.    Same answer.

16:26:21   20         Q.    Isn't it true that for the years 2008

           21    through 2009 you've won more money gambling than

           22    lost?

           23         A.    I'm going to assert my right under the

           24    Fifth Amendment.

16:26:32   25         Q.    Approximately how much money have you

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16:26:33    1    borrowed in one form or another, Mr. Montgomery,

            2    from casinos --

            3         A.    I'm going to assert my right under the

            4    Fifth Amendment.

16:26:38    5         Q.    Let me finish the question.

            6               Between the years 2006, 2009, how much

            7    money have you borrowed from casinos,

            8    Mr. Montgomery?

            9         A.    I'm going to assert my right under the

16:26:49   10    Fifth Amendment.

           11               MR. FLYNN:     When he was getting those

           12    millions of dollars of cash from Edra Blixseth, was

           13    he putting second mortgages on his homes.

           14    BY MR. CONANT:

16:26:57   15         Q.    Mr. Montgomery, we just reviewed all your

           16    bank statements where you received a large amount of

           17    money from Edra Blixseth's entities.

           18               During that time period, were you taking

           19    out second mortgages on real estate?

16:27:13   20         A.    I'm going to invoke my right under the

           21    Fifth Amendment.

           22         Q.    What did you do with all the cash you took

           23    out on these mortgages on your real estate?

           24         A.    I'm going to invoke my right under the

16:27:24   25    Fifth Amendment.

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16:27:25    1         Q.    All right.     Did you put second mortgages on

            2    each piece of real estate that you owned during this

            3    time period?

            4         A.    I'm going to invoke my right under the

16:27:42    5    Fifth Amendment.

            6         Q.    All right.     Mr. Montgomery, do you not want

            7    to file your tax returns for '08 and '09 because you

            8    don't want to report your wins from gambling?

            9         A.    I'm going to assert my right under the

16:28:35   10    Fifth Amendment.

           11         Q.    All right.     Let me see here.

           12               Have you ever reported to a casino that you

           13    were robbed of a large amount of money,

           14    Mr. Montgomery?

16:28:42   15         A.    I'm going to assert my right under the

           16    Fifth Amendment.

           17         Q.    Okay.    Were you, in fact, robbed of any

           18    money at any time, Mr. Montgomery?

           19         A.    I'm sorry.

16:28:54   20               Are you done?

           21         Q.    I'm trying to find it.        It's in here.      I'm

           22    just trying to find the exact reference to it,

           23    because there's an interesting -- yeah.             I just want

           24    to find it.

16:29:50   25               All right.     Mr. Montgomery, on -- are

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16:29:51    1    you --

            2         A.    25.

            3         Q.    On 25.

            4               Can you flip with me to -- it's going to be

16:29:59    5    the -- one, two, three, four, five, six, seven --

            6    the eighth page from the back.

            7         A.    What's the top say?

            8         Q.    Well, MontBleu Resort.

            9         A.    How about memo ID, which number is it?

16:30:22   10         Q.    Memo ID 30936.

           11         A.    Okay.    I see it.

           12         Q.    All right.     On the right-hand column it

           13    says, "Memo Title:       Customer robbed.       Memo Text:

           14    4/6/6," I assume 4/6/2006, April 6, 2006, "Customer

16:30:42   15    visit today, he was robbed of $300,000 down in Reno.

           16    Was not hurt.      Brought in $100K cashier's check to

           17    take care of half his outstanding markers.             Says he

           18    will pay the remainder within" seven -- I'm sorry,

           19    "within three weeks.nan        Tickled remaining" hundred

16:31:02   20    thousand to 5/7/06 [sic].

           21               I'll represent to you these are documents

           22    that we received in connection with subpoenas we

           23    served on the MontBleu Resort.

           24               Is that true, Mr. Montgomery?          Did you tell

16:31:12   25    a casino that you were robbed of $300,000 in Reno?

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16:31:18    1         A.    Assert my right under the Fifth Amendment.

            2               MR. FLYNN:     Here's how he did it, by making

            3    it look like --

            4    BY MR. CONANT:

16:31:41    5         Q.    How much money -- well, let's go back to --

            6    how much money, approximately, were you borrowing?

            7               Let me back up.       Do you understand what a

            8    marker is in casino parlance?

            9         A.    I'm going to assert my right under the

16:31:54   10    Fifth Amendment.

           11         Q.    Isn't a marker kind of like a note that the

           12    casino advances you money in some manner and you,

           13    essentially, have to pay it back?

           14         A.    I'm going to assert my right under the

16:32:05   15    Fifth Amendment.

           16         Q.    So weren't you taking out markers to

           17    gamble, you'd win, but then not pay back the marker?

           18         A.    I'm sorry.     Are you done?

           19         Q.    I'm done.

16:32:16   20         A.    I'm going to assert my right under the

           21    Fifth Amendment.

           22         Q.    Now I notice that this memo text, 4/6/2006,

           23    this is the same day that you were receiving, I

           24    think, based on your records, over a million dollars

16:32:30   25    from Opspring; is it not, Mr. Montgomery?

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16:32:35    1               THE WITNESS:      I despise that he keeps

            2    looking at the government and smiling and winking.

            3    It's just annoying.

            4               MR. CROCKETT:      Almost done.      Almost done.

16:32:44    5               THE WITNESS:      I'm going to assert my right

            6    under the Fifth Amendment.

            7    BY MR. CONANT:

            8         Q.    So you were robbed -- you were purportedly

            9    robbed of $300,000, but at the same time it appears

16:32:52   10    that you still had outstanding markers owed to the

           11    casinos.

           12               In fact, this memo says brought in -- you

           13    brought in a hundred K cashier's check to take care

           14    of his -- "to take care of half his outstanding

16:33:05   15    markers."

           16               So you had roughly $200,000 in outstanding

           17    markers and you paid down a hundred thousand dollars

           18    of those, but the very same day you're being paid

           19    over a million dollars from -- you receive over a

16:33:22   20    million dollars from Edra's entities.

           21               So the question is why didn't you just pay

           22    off all your markers with all the money you were

           23    receiving from Edra's entities?

           24         A.    I'm going to assert my right under the

16:33:36   25    Fifth Amendment.

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16:33:42    1               MR. FLYNN:     He's hired an accountant to go

            2    through all of his records to determine what his

            3    wins and losses were at the casinos.

            4    BY MR. CONANT:

16:33:52    5         Q.    Now, Mr. Montgomery, you said you haven't

            6    yet filed your tax returns for '08 or '09.             Have you

            7    hired an accountant to help you determine your wins

            8    and your losses from the various casinos?

            9         A.    I assert my right under the Fifth

16:34:06   10    Amendment.

           11         Q.    What I mean hired an accountant, I mean

           12    hired an accountant to help you prepare your tax

           13    returns?

           14         A.    I'm going to going to assert my right under

16:34:16   15    the Fifth Amendment.

           16         Q.    All right.     Now, Mr. Montgomery, if you

           17    flip to the next page here, September 1, '06, Memo

           18    ID 42710, "Memo Text:        Customer requests increase to

           19    300k, denied at this point.         Keep at 200k per Mike

16:34:50   20    Jones."

           21               Who's Mike -- do you know who Mike Jones is

           22    that they're referring to here?

           23         A.    I'm going to assert my right under the

           24    Fifth Amendment.

16:34:57   25         Q.    Were you asking casinos for extensions of

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16:35:01    1    credit, Mr. Montgomery, during this time period?

            2         A.    I'm going to assert my right under the

            3    Fifth Amendment.

            4         Q.    How much cash -- what is a -- what is a --

16:35:13    5    what is a casino -- how does a casino operate with

            6    respect to how much money they're willing to extend

            7    to you on credit?

            8               MR. CROCKETT:      Calls for speculation.

            9    BY MR. CONANT:

16:35:22   10         Q.    In your experience with the casinos,

           11    Mr. Montgomery, how do you get -- how did you

           12    establish a line of credit with all these casinos,

           13    Mr. Montgomery?

           14         A.    I'm going to assert my right under the

16:35:31   15    Fifth Amendment.

           16               MR. CONANT:      All right.

           17               All right.     Just got to get through some of

           18    these.    The amount, the volume, of documents here

           19    you see from casinos is -- one point just absolutely

16:36:33   20    overwhelming, so we've had to get through some of

           21    this.

           22               All right.     Mr. Montgomery, I'm going to

           23    hand you what will be marked as Plaintiff's Exhibit

           24    No. 26.

16:37:51   25               Are we at 26?

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16:37:53    1               THE REPORTER:      Yes.

            2               (Exhibit 26 was marked for identification.)

            3               MR. CONANT:      All right.     I'll represent

            4    these are documents we have received in response to

16:38:13    5    subpoenas.

            6               MR. CROCKETT:      When were these subpoenas

            7    served, counsel?

            8               MR. CONANT:      When?

            9               MR. CROCKETT:      Yes.

16:38:18   10               MR. CONANT:      I don't recall.      You received

           11    notice of service.

           12               MR. CROCKETT:      I don't believe we did.

           13               MR. CONANT:      Your firm received notice of

           14    service of the subpoenas.

16:38:26   15               MS. WELLS:     Can you identify for the record

           16    what these documents are, please.

           17               MR. CONANT:      Yeah.    These are letters

           18    written to Dennis Montgomery from Caesar's Tahoe

           19    asking for his win/loss records.

16:38:46   20         Q.    Mr. Montgomery, I see here on the first

           21    page below -- the first page, "Dear Dennis, below is

           22    your estimated win and/or loss information per your

           23    request for the period September 2005 through

           24    December 31, '05," and then it appears that your

16:39:01   25    total win/loss is $83,400.

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16:39:07    1               Do you recall why you requested this

            2    information from the casino, Mr. Montgomery?

            3         A.    I'm going to assert my right under the

            4    Fifth Amendment.

16:39:14    5         Q.    Did you report this $83,000 win on your

            6    2005 tax returns -- or your tax year 2005 tax

            7    returns, Mr. Montgomery?

            8               MR. CROCKETT:      Sorry, Counsel, all three of

            9    these letters are dated September 16th and yet they

16:39:31   10    deal with years 2005, '-6 and '-7 and this is the

           11    way they were produced to me.

           12               MR. CONANT:      This is the way they were

           13    produced to me.      I haven't altered these documents

           14    in any way.

16:39:45   15         Q.    Mr. Montgomery?

           16         A.    I'm sorry, rephrase the question.

           17               MR. CROCKETT:      I'm sorry, read the question

           18    back, please.

           19    BY MR. CONANT:

16:39:50   20         Q.    Did you report this $83,400 win on your tax

           21    year 2005 tax returns?

           22         A.    I don't recall.       I don't recall.

           23         Q.    Mr. Montgomery, isn't it true that part of

           24    your entire scheme was to horde away a bunch of cash

16:40:28   25    and then file bankruptcy and claim that you lost all

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16:40:35    1    your money gambling, Mr. Montgomery?

            2         A.    Assert my right under the Fifth Amendment.

            3         Q.    All right.     Mr. Montgomery, I'm looking at

            4    the second page of this exhibit here, "Dear Dennis,

16:40:45    5    below is your estimated win and/or loss information

            6    per your request for the period January 2006 through

            7    December 31, 2006," and then it shows a loss of

            8    $132,600.

            9               Mr. Montgomery, do you recall why you

16:41:00   10    requested your win/loss record for this -- for the

           11    MontBleu Resort?

           12         A.    I'm going to assert my right under the

           13    Fifth Amendment.

           14         Q.    Did you report that $132,000 loss on your

16:41:10   15    taxes, Mr. Montgomery?

           16         A.    I'm going to assert my right.

           17         Q.    Did you really lose $132,600,

           18    Mr. Montgomery?

           19         A.    I'm going to assert my right under the

16:41:17   20    Fifth Amendment.

           21         Q.    Does that include money that was borrowed?

           22    Does the $132,000 included in this lawsuit, does

           23    that include money that was borrowed by you from the

           24    resort, Mr. Montgomery?

16:41:28   25         A.    I'm going to assert my right under the

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16:41:30    1    Fifth Amendment.

            2         Q.    All right.     And then last page,

            3    January '07 through December 31, '07, this document

            4    purports to show that you lost 36,800.

16:41:44    5               Is that accurate, Mr. Montgomery?

            6         A.    I'm going to assert my right under the

            7    Fifth Amendment.

            8         Q.    Did you report that loss on any of your tax

            9    returns?

16:41:53   10         A.    I'm going to assert my right under the

           11    Fifth Amendment.

           12         Q.    All right.     Moving on.

           13               MR. FLYNN:     Does he have an estimate of how

           14    much he lost, how much he lost gambling --

16:42:07   15    BY MR. CONANT:

           16         Q.    Mr. -- Mr. Montgomery, do you have an

           17    estimate of the net amount of money you've lost

           18    gambling between April '06 and March of 2009?

           19         A.    I'm going to assert my right under the

16:42:18   20    Fifth Amendment.

           21               MR. FLYNN:     Same thing on wins.

           22    BY MR. CONANT:

           23         Q.    Same question with respect to how much

           24    you've won, net, between April '06 and March of

16:42:28   25    2009?

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16:42:29    1         A.    Same answer.

            2               MR. CONANT:      All right.

            3               All right.     Okay.    Mr. Montgomery, I'm

            4    going to hand you what's going to be marked as

16:43:32    5    Plaintiff's Exhibit 27, I believe.

            6               (Exhibit 27 was marked for identification.)

            7               THE WITNESS:      Thank you.

            8               MR. CONANT:      I don't have an extra copy.

            9               All right.     I'll represent this is a

16:44:14   10    printout from -- in response to a subpoena I served

           11    on -- unfortunately which casino is not obvious, but

           12    I can find the copy here.

           13               Yes, Peppermill.       This is in response to a

           14    subpoena I served on the Peppermill Resort -- or

16:44:46   15    Casino, I should say.

           16         Q.    Now, Mr. Montgomery, I see here that on

           17    August 6, 2010, first entry here, says amount

           18    $5,000, that they received a payment from you in the

           19    amount of $5,000.

16:45:08   20               Do you recall making a payment to any

           21    casino in the amount of $5,000 on or about August 6,

           22    2010?

           23         A.    I assert my right under the Fifth

           24    Amendment.

16:45:20   25         Q.    And I see here for July 16 another payment

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16:45:25    1    in the amount of $5,000.

            2               Do you see that, Mr. Montgomery?

            3         A.    I see it.

            4         Q.    Okay.    Do you recall making that payment,

16:45:32    5    Mr. Montgomery?

            6         A.    I assert my right under the Fifth

            7    Amendment.

            8         Q.    What are -- the source of the funds for

            9    that payment, Mr. Montgomery?

16:45:40   10         A.    I assert my right under the Fifth

           11    Amendment.

           12         Q.    Is this -- is this payment here part of an

           13    arrangement with the casino or the DA to prevent

           14    being indicted by any casino?

16:45:53   15         A.    I assert my right under the Fifth

           16    Amendment.

           17         Q.    Does this represent any arrangement with

           18    you -- or between you and a casino or the Clark

           19    County DA to avoid criminal sanctions,

16:46:04   20    Mr. Montgomery?

           21         A.    Assert my right under the Fifth Amendment.

           22         Q.    What's the source of these funds that

           23    you're making payments with to the casino,

           24    Mr. Montgomery?

16:46:15   25         A.    I assert my right under the Fifth

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16:46:17    1    Amendment.

            2         Q.    Aren't these -- aren't these pre funds that

            3    you stored away prior to filing for bankruptcy,

            4    Mr. Montgomery?

16:46:23    5         A.    I assert my right under the Fifth

            6    Amendment.

            7         Q.    Okay.

            8               MR. FLYNN:     Ask him about the money he got

            9    from Edra.

16:46:55   10               MR. CONANT:      Mr. Montgomery, I'm going to

           11    hand you what's been marked as Plaintiff's

           12    Exhibit 28.

           13               (Exhibit 28 was marked for identification.)

           14               MR. CROCKETT:      Do you have extra copies of

16:47:04   15    these?

           16               MR. CONANT:      I do of this one.

           17               MR. CROCKETT:      I'd like a copy of this

           18    before we leave.

           19               THE WITNESS:      Well, actually --

16:47:11   20               MR. CROCKETT:      There's only one 27 and I'd

           21    like a copy of it.

           22               THE WITNESS:      Okay.

           23    BY MR. CONANT:

           24         Q.    Mr. Montgomery, I ask you to flip to the --

16:47:32   25    one, two, three -- I believe the third --

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16:47:41    1               MS. WELLS:     Do you mind identifying this

            2    for the record, please.

            3               MR. CONANT:      You'll probably want a copy of

            4    this.     It's a -- this is another document that we

16:47:52    5    received in response to a subpoena -- sorry.

            6               This one was on, I believe, again, the

            7    Peppermill Resort.

            8         Q.    All right, Mr. Montgomery looking at a page

            9    that --

16:48:13   10         A.    Well, just tell me which one.

           11         Q.    I'm trying to see how they identify this

           12    here.

           13               It says -- on the description says -- well,

           14    let me just count it again -- one, two, three -- the

16:48:29   15    fourth page, the fourth page, and the description

           16    under the section Additional Remarks begins --

           17         A.    This page 4; right?

           18         Q.    I believe so.

           19               It says, "Last two 5K payments," do you see

16:48:48   20    that, Mr. Montgomery?

           21         A.    Yes.

           22         Q.    I'll read what's on this page.           "Last two

           23    5K payments posted are from checks received from"

           24    Dennis Montgomery -- "Dennis's attorney, Scott

16:49:01   25    Freeman.     Mr. Freeman keeps in touch with Rob Erwin

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16:49:02    1    and let's him know when he is sending a check.

            2               "Recently Mr. Freeman told Rob that Dennis

            3    is in Europe meeting with companies that may be

            4    interested in buying some of his software.             Rob

16:49:14    5    spoke with Dennis's attorney, Scott Freeman," 10 --

            6    then we have the number 10/28.

            7               "Freeman told Rob that Dennis is currently

            8    in Paris signing contracts.         Maybe some money coming

            9    to us from this," question mark, question mark.

16:49:32   10               Do you see this description,

           11    Mr. Montgomery?

           12         A.    Yes.    I see what you read.

           13               MR. FLYNN:     Ask him what software he was

           14    pedaling.

16:49:40   15    BY MR. CONANT:

           16         Q.    Now, the way I read this you've got two

           17    dates going down the right-hand column 2/16/2010

           18    then -- well, 11/20/09 and then below that 10/21/09

           19    and my understanding of how these read is the date

16:49:57   20    for each line in the remarks section, each line

           21    corresponds to the date in the right-hand column for

           22    that line.

           23               So on February 16th, 2010, it appears that

           24    an attorney was representing to a representative of

16:50:13   25    this casino that you were in Europe meeting with

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16:50:17    1    companies that may be interested in buying some of

            2    your software.

            3               Do you see that, Mr. Montgomery?

            4         A.    Yes.

16:50:22    5         Q.    Is that an accurate statement,

            6    Mr. Montgomery?

            7         A.    I'm going to assert my right under the

            8    Fifth Amendment.

            9         Q.    Were you in Europe trying to sell software?

16:50:29   10         A.    I'm going to assert my right under the

           11    Fifth Amendment.

           12         Q.    Was that software that was listed in your

           13    bankruptcy schedule, Mr. Montgomery?

           14         A.    I'm going to assert my right under the

16:50:35   15    Fifth Amendment.

           16         Q.    Is this the same software that we saw

           17    referred to everywhere in Plaintiff's Exhibit 3, the

           18    source code that could detect terrorist attacks,

           19    Mr. Montgomery?

16:50:46   20         A.    I'm going to assert my right under the

           21    Fifth Amendment.

           22         Q.    Is this when you were meeting with Israel

           23    to try and sell them software?

           24         A.    I'm going to assert my right under the

16:50:54   25    Fifth Amendment.

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16:50:54    1         Q.    Mr. Montgomery, I'm going to now talk --

            2    turn to the part dated November 20, '09.

            3         A.    Okay.

            4         Q.    "Rob spoke with Dennis's attorney, Scott

16:51:02    5    Freeman.     Freeman told Rob that Dennis is currently

            6    in Paris signing contracts."

            7               Were you in Paris signing contracts in

            8    approximately in November of '09?

            9         A.    I'm going to assert my right under the

16:51:15   10    Fifth Amendment.

           11         Q.    What contracts would those be referring to?

           12         A.    I'm going to assert my right under the

           13    Fifth Amendment.

           14         Q.    And weren't those contracts associated with

16:51:20   15    property listed on your bankruptcy schedule,

           16    Mr. Montgomery?

           17         A.    I'm going to assert my right under the

           18    Fifth Amendment.

           19         Q.    At the same time were you attempting to

16:51:31   20    sell this software to the federal government?

           21         A.    I'm going to assert my right under the

           22    Fifth Amendment.

           23         Q.    And when I mean "software," I mean the

           24    software referenced in the dates for February 16,

16:51:45   25    2010.

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16:51:45    1         A.    I'm going to assert my right under the

            2    Fifth Amendment.

            3         Q.    Now did you have possession of this

            4    software that you were supposedly in Europe meeting

16:51:53    5    with potential buyers?

            6         A.    I'm going to assert my right under the

            7    Fifth Amendment.

            8         Q.    All right.

            9               All right.     Turn to the next page.

16:52:10   10         A.    I have to leave at 5 o'clock.

           11         Q.    We'll be done by 5 o'clock.

           12         A.    Oh, okay.

           13               Okay.

           14         Q.    All right.     I see here first line under

16:52:39   15    additional remarks first full sentence, "Rob had

           16    been told by him he would call Rob to let him know

           17    about a payment to Dennis."

           18               That was -- I'm sorry.        That was

           19    October 21, '09, entry.

16:52:52   20               I'm looking now at September 18, '09,

           21    entries.     "We received a call from local attorney

           22    Scott Freeman about a month ago.           He said he's

           23    working with Dennis's attorney in Las Vegas and

           24    wanted to know if we had turned this over to the

16:53:10   25    DA's office.

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16:53:11    1               "Rob spoke with Scott and sounded as if

            2    Dennis may want to make a payment arrangement.

            3    Scott was going to get back to us."

            4               Is that true, Mr. Montgomery, were you

16:53:23    5    trying to make a payment arrangement with the

            6    Peppermill Casino?

            7         A.    I'm asserting my right under the Fifth

            8    Amendment.

            9         Q.    How would you -- how would you make such a

16:53:32   10    payment arrangement, Mr. Montgomery, at this time in

           11    September 18 of 2009?

           12         A.    I'm asserting my right under the Fifth

           13    Amendment.

           14         Q.    All right.     Okay.

16:54:11   15               All right.     If you flip with me to -- oh,

           16    on the right-hand side dates dated -- remarks dated

           17    October of '06, October 16, '06.

           18         A.    '06?

           19         Q.    Yeah.

16:54:26   20         A.    Which, which period of time?

           21               MR. CROCKETT:      Same exhibit.

           22               THE WITNESS:      Oh, okay.

           23               MR. FLYNN:     1099.

           24    BY MR. CONANT:

16:54:54   25         Q.    All right.     Mr. Montgomery, between the

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16:54:59    1    years of -- well, between April '06 and March of

            2    2009, how -- what did -- what is reflected as your

            3    income in W-2s issued to you by Edra Blixseth's

            4    entities?

16:55:19    5         A.    I don't recall.

            6         Q.    For any year?

            7         A.    I don't recall.

            8         Q.    Less than a million dollars or more than a

            9    million dollars?

16:55:27   10         A.    For what period?

           11         Q.    Let's start with year -- tax year 2006.

           12         A.    Tax year or calendar year?

           13         Q.    Tax year -- for tax year 2006, what would

           14    be reflected in your W-2 for that tax year?

16:55:41   15         A.    I don't recall.

           16         Q.    For 2007, would it be -- I'm talking about

           17    tax year 2006 now, would it be less than a million

           18    dollars or more than a million dollars?

           19         A.    I believe we went already went through this

16:55:54   20    same exact question.

           21         Q.    I asked you how much --

           22         A.    I don't recall.

           23         Q.    What would be reflected in your tax year

           24    2007 W-2 --

16:56:00   25         A.    I don't recall -- I'm sorry.

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16:56:00    1         Q.    -- as your income from Ms. Blixseth's

            2    entities?

            3         A.    I don't recall.

            4         Q.    Less than a million dollars or more than a

16:56:06    5    million dollars?

            6         A.    For 2007?

            7         Q.    Yes.

            8         A.    I would think less.

            9         Q.    And for 2008, what would be reflected in

16:56:23   10    your tax year 2008 W-2s?

           11         A.    I want to make sure I don't get in trouble.

           12               MR. CROCKETT:      I think you've confused both

           13    of us.

           14               THE WITNESS:      Yeah.    You've changed.      Which

16:56:35   15    one are you talking about?         The easiest way to tell

           16    me is just that year.

           17               Tax year, isn't that the next year?

           18    BY MR. CONANT:

           19         Q.    Well, if you're getting a W-2 for tax year

16:56:48   20    2008 --

           21               MR. CROCKETT:      For calendar year 2008.

           22               THE WITNESS:      You mean calendar year.

           23               MR. CONANT:      Calendar year is -- for

           24    individuals is same for -- it's the same for --

16:56:57   25               MR. CROCKETT:      Hold on.     I lost my

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16:56:58    1    microphone.

            2               All right.     Sorry.

            3               THE WITNESS:      I'm confused.      I thought the

            4    tax year was the next -- the next year that reported

16:57:07    5    the previously year's.

            6    BY MR. CONANT:

            7         Q.    Right.

            8               So your W-2 that reflects your taxes --

            9    your income for 2008.        If I'm asking for your tax

16:57:17   10    year 2008 W-2, I want the W-2 --

           11         A.    -- for 2007?

           12         Q.    No, the W-2 that refers to your 2008

           13    income.

           14               MR. CROCKETT:      Which would be the one that

16:57:29   15    you would receive by January 31st, 2009.

           16               THE WITNESS:      Right.    Right.    Right.

           17    Right.

           18               I don't recall.

           19               What's the previous question you asked me

16:57:39   20    regarding 2007?      I want to -- I may have answered --

           21    I want to make sure.

           22    BY MR. CONANT:

           23         Q.    Sure.

           24         A.    Can you repeat it?

16:57:44   25         Q.    Yeah, for tax year 2007, what is reflected

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16:57:48    1    on your W-2 for that tax year?

            2         A.    I don't recall.

            3               MR. FLYNN:     Same question 1099s.

            4    BY MR. CONANT:

16:57:55    5         Q.    Did you receive any 1099s from any of

            6    Ms. Blixseth's entities?

            7         A.    At one point I was getting W-2s and at one

            8    point I was getting 1099s.         I don't remember when.

            9         Q.    Do you recall how much your income was

16:58:10   10    reflected on any 1099 that you received for any tax

           11    year?

           12         A.    I don't recall, no.

           13         Q.    And when I say -- I'm referring to 1099s

           14    issued by Ms. Blixseth's entities.

16:58:20   15         A.    I understood the question.

           16               I don't -- I'm not certain.          I don't recall

           17    is my point.      I don't recall what I got on either a

           18    W-2 or a 1099.

           19         Q.    So it's safe to say that with respect to

16:58:32   20    1099s or W-2s for tax years 2006 through 2009 for

           21    income you received from Edra Blixseth's entities,

           22    you just don't recall what would be on those?

           23         A.    I don't have my taxes on them and you've

           24    been hitting me for eight straight hours and I'm

16:58:48   25    tired.

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16:58:49    1               MR. CROCKETT:      Answer the question.

            2               THE WITNESS:      I don't know.

            3               MR. CONANT:      That's all I wanted to know.

            4               MR. CROCKETT:      Because the documents are

16:58:52    5    the best evidence anyway.

            6               THE WITNESS:      I know.

            7               It's 5.     I really need to leave at

            8    5 o'clock and it's 5 o'clock.

            9               Or is it not maybe.

16:59:02   10               MR. CONANT:      I have two minutes.

           11               Anything further?

           12               THE WITNESS:      Are these ours to take?

           13               THE REPORTER:      No.

           14               THE WITNESS:      These are yours?

16:59:22   15               MR. CROCKETT:      These are --

           16    BY MR. CONANT:

           17         Q.    Mr. Montgomery, the reference that we just

           18    saw on these casino records, your attempts to sell

           19    your software to countries overseas, did Edra

16:59:34   20    Blixseth have any involvement at all with your

           21    efforts in that regard?

           22         A.    I've answered the Fifth.

           23               MR. CONANT:      It's 5 o'clock.

           24    Mr. Montgomery needs to go, as does his attorney.

16:59:56   25    I'm going to hold -- I'll reserve the right to

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16:59:58    1    continue this deposition subject to Judge Bluebon's

            2    (phonetic) rulings on the propriety of any refusal

            3    to answer in the case that there's no privilege, his

            4    refusal to produce documents that we've requested

17:00:15    5    he's hid behind the Fifth Amendment privilege for.

            6               THE WITNESS:      Okay.

            7               MR. CONANT:      So with that, I think we'll go

            8    off the record.

            9               THE VIDEOGRAPHER:       This concludes today's

17:00:26   10    proceeding in the video deposition of Dennis Lee

           11    Montgomery.     The total number of media used was

           12    four.

           13               We're going off the record.          The time is

           14    5 p.m.

17:00:35   15               THE REPORTER:      Copies?

           16               MS. WELLS:     Yes.

           17               MR. CROCKETT:      You better send me one.

           18               (The deposition was concluded at 5 p.m.)

           19

           20    ///

           21    ///

           22    ///

           23    ///

           24    ///

           25    ///

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         1                 I hereby declare under penalty of perjury

         2    under the laws of the State of California that I

         3    have read the foregoing deposition and that the

         4    testimony contained therein is a true and correct

         5    transcript of my testimony given at said time and

         6    place.

         7                 Dated this ______ day of ______________,

         8    2010, at _______________________, _________________.

         9

        10

        11                                     __________________________

        12                                        Signature of Witness

        13

        14

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         1

         2                             CERTIFICATE

         3                                   OF

         4                   CERTIFIED SHORTHAND REPORTER

         5

         6                 I, Stephanie P. Borthwick, Certified

         7    Shorthand Reporter of the State of California, do

         8    hereby certify:

         9                 That the foregoing deposition was taken

        10    before me at the time and place therein set forth,

        11    at which time DENNIS LEE MONTGOMERY was duly sworn

        12    by me;

        13                 That the testimony of the witness and all

        14    objections made at the time of the examination were

        15    recorded stenographically by me and thereafter

        16    transcribed, said transcript being a true copy of my

        17    shorthand notes thereof, and a true record of the

        18    testimony given by the witness.

        19                 In witness whereof, I have subscribed my

        20    name this date:      December 7th, 2010.

        21

        22

        23                             ____________________________

        24                             STEPHANIE P. BORTHWICK, CSR

        25                             Certificate No. 12088

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9
                                      UNITED STATES DISTRICT COURT
10
                                    FOR Tl-IE DISTRICT OF NEVADA, RENO
11
12                 .                                )
      ETR.EPPID TECHNOLOGIES, INC., a California)       CASES Nos.: 3:06-cv-N-00145-BES-VPC &
      Corporati~                                    )   3:06-cv-N-06-00056-BES-VPC
13                                                  )
14                                                  )
                                                   .)
15                     vs.                          )
                                                    )
16                                                      SEALED DECLARATION OF DENNIS
      DENNIS MONI'GO:MERY, an individual,           )
17    MONTGQMERY FAMILY ·TRUST~ a California )          MONTGOMERY IN SUPPORT OF HIS
     . Trust and DOES 1 THROUGH 20,                 )   OPPOSITIONS TO COD'S AND ETREPPlO'S
18                                                  )   MOTIONS FOR PROTECTIVE ORDERS
                             Defendants.            )
19                                                  )
                                                    )
20                                                  )
   DENNIS MONTGO:MERY. an individual; and
                                                    )   THIS DECL.ARATION IS FllEP UNDER
21 MONTGO:MERYFAMILYTR.UST, a
   Califomia Trust,                                 )   SEAL. EX PARTE, AND MAY BE VIEWED
22                   · ·Plaintiffs,                 )   AND/()R ~ONLY BY U.S. DISTRICT
                                                    )   JUDGE BRIAN E. SANDOVAL
23               vs.                                )
                                                    )
44 eTREPPID TECHNOLOGIES, lNC.,                     )
   a Nevada LLC; WAR.REN TR.EPP, an                 )
25 individual; DEPARTMENT OF DEFENSE                )
26 of the UNITED STATES OF AMERICA                  )
   and DOES 1 through 10, .                         )
27                     Defendants.
                                                                                          TT EXHIBIT: 3
28                                                                                        DEPONENT: D. MONTGOMERY
                                                                                          PAGES: 23
                                                                                          DATE: November 18, 2010
                                                                                          STEPHANIE P. BORTHWICK
                                                                                          CSR U088
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1
2                         SEALED D!CLARATION OF DENNIS MONTGOMERY
3
            I, Dennis Montgomery, declare:
4
            1.     I am over age 18 and a party to two civil lawsutts invoMng Warren :rrepp and my
 5
6    company eTreppid Technologies, Jhave personal knowledge of the factt? stated herein, and if

 7   called as a witness, I could and would testify competently to them.

 8                                           BACKGROUND
 9          2.     1have been a computer programmer since approximately 1978 developing software
10
     programs and the source codes for the programs in thousands of different and varied appllcations,
11
     but mostly involving thousands of different programs for "data compression,• •pattern recognition,"'
12
     anomaly detection and an "Object Detection System.• 1 These Include but are not limited to the
13
14   following:

15   a. Software programs applicable to medicine, mostly involving "anomaly ~etection"; and Mpattern

18   recognition• and mostly developed between 1981 and 1996. These are my copyrights and/or my
17
     copyrtghtderiVatlves.
18
      b. An *Object Detection Sy&tem" c·oos") derived from my copyrights invoMng anomaly detection
19
      and pattern recognition, but having far more universal appllcation and adaptability to ma~y areas
20

21    other than medlcine,·mostfy developed between 1994 and 1998. These· programs constitute the

22    basis for·my work on certain special military contracts. There are thousands of software developers

23    who have worked for decad~ attempting to develop an "Oos• comparable to mine; and I am
24    unaware of anyone who has successfully created such software.
25
26           1
                I use these terms generically to define the broadest possible genus of software programs
27    relating to this area of software development ~ sort of like saying "automobiles• as a category of "four
      wheel powered vehicles.· But the different types of "anomaly detection" and •pattem recognition•
28    programs are vastly greater than the types of "automobiles· currentJy in existence worldwide.

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1       c. Data compression developed between 19Q8and1998- conveyed to eTreppid on *CD No~1"; and
2       adapted for use in casinp surveillance between 1998 and 2002, pursuant to our business plan at .
3
        eTreppid.
4
        d. Data compression and pattern recognition programs, developed by me as an independent
    5                                                .
        contractor at eTreppid between 1998 and December 31, 2001 consisting of a part of eTreppid's work
    6
    7   relating .to casino su~eDlance - some involving patents assigned by me derived from "CD No. 1";

    8   and other programs not derived from CD No. 1 licensed to eTreppld pursuant to promises made to

 9      me by Warren Trepp.
10
        e. Data streaming compression for movies, not·contained on ·co No. 1" and mosUy developed by
11
        me between 1994 and 1998. I discussed these programs w~ Trepp before execution of the Sept.
12
        28, 1998 •contribution Agreemenr and offered them for Five Mlllion Dollars, which he rejected: and
13
14      which we again discussed years later in 2002 and 2003 and which he again rejected for. Five MilJion

15. Dollars. In 2.003 we also had several conversations cibout a sale for Ten Million Dollars and/or
I

16      promises by Trepp of licensing th~ software as deScribad In my answers·to interrogatories attached
17
        to my opposition to the Govemrnenf s and Trepp's motions for protective orders.
18
        f. Multiple software programs developed, owned, possessed and ueed exclusively by me derived
19
        from my "Oos• ~tween 1994 and December 31) 2002, some of the source codes for which are .
20
21      direct derivatives Of my copyrights. and which, beginning in November, 2002. I began to adapt to

22 ·military applicatlons o~ behalf of the Department ·of Defense, the Navy, the Air. Force, and the

23                                     mostly utilized .in the war on terror between March 2003 and the
24       present.
25
               3      The software programs and the source codes owned,. possessed and used ~xolusively
26
         by me on behalf of the foregoing Government agencies all derive from my exclusive copyrights
27
         generally relating to "anoi:naly detection• and "pattern recognition,• and more specifically relating to
28

                                                            ·2·
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                       .                                     .
 1 the source codes used in my "ODS;" and derivativE!$ thereof which enabled me~
 2
. 3
       Presumably, the sealed Government declaration informs and educates this Court with respect to thJs
 4
       asp~ct of my software technology.
 5
            4       Over the 25 years I have been d~eloping software programs, I have collected and
 6
 7 stored thousands ofdifferent eomputer files and programs on my computers and on. many different

  8 types of computer storage media. Soma of this collection was stored at my storage facility and

 9     some of that was taken and/or damaged by the FBI. I generally store some of the.programs and
10
       codes I have developed and/or. am working on on the computers I am currently using. The
11
       Government took my computers during ifs raid o~ my home and sto~ge facility on March 1 and
12
       March 3, 2006~ and the governmenfs retention of my computers and computer storage files from my ·
13
14 . home and storage facility has caused me, and will continue to cause me, irreparable harm because
15 · its retention affects my livelihood and abHity to work. A~dltionally, as a result of the Govemmenrs

 16    unconstitutional raid, I do not have access to computer files which would enable me at this time to
 17
       provide a more detailed chronology of events relating to the SAP I worked on and at-issue in these
 18
       cases. However, since my departure from eTreppid, as recitect below. I have been able to
 19
       reconstruct on new computers speclflc ~oftw~ programs that I previo1.,1sfY used in th~
 20

 21·
 22                 I assume this work product or "outpur from my software programs, together with my

 23    daily interaction with                                        is one of the concerns which must be

 24    recited at least obliquely in the sealed Government declaration.
 25
            5.      More recently. notwithstanding the. unconstitutional raid perpetrated on my h~il\~ a~d
 26                                                                                              ..
       storage-by- V'v'arren Trepp- using hts politfcat tntluence with James Gibbons, (Gibbons has admitted
 27
       making "phone cans· to initiate criminal action against me on behalf ofTreppJ, Daniel Bogden and
 28

                                                             -3- .
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 1 the local FBI, _I flave provided the •outpur from my deeoding p.rograms~ without compensation, to
2     our Government in order to stop terrorist ~ttaeks and save American lives. My source codes for this ·
 3
      decoding tech_nology which derives from my "Oos· are what Trepp and several Government
 4
      officialS were attempting to steal from me when they raided my home.
 5
 6
             6.     The Government has now held my computers and storage media for over six months

 7    knowing I do not have possession of any wcfassifled information• and knowing that all of the source

 8    codes used on the special Government contracts worked on by me at eTreppid Technologies are

 9    owned by me. No other person within our Government or at eTreppid has ever had access to the
10
      ·$Ource codes used on   th" spec_lal Government qontracts. Anyone who    sw~ars under oath ·to the
11
      contrary is lying and/or committing perjury. Obviously, if they did have access to this technology,
12
      Trepp would have licensed and/or sold it to the Government for hundreds of millions of dollars. (
1.3
14. completely and zealously guarded the secrecy and confidentiality of my source Codes used on the
15     special Government contracts at &Treppld, both ·from the Government, including]            I
                                                                                                      and from

16     eTreppid, as the exclusive owner and sole possessor:· No person at &Treppfd is able, to my
17
       knowledge, to create the source codes that I have created having multiple applications Jn the war on ·
18
       terror and other military uses. Conclusive proof.on this issue i8 established by the recent Interception
19
       of the attempts by terrorists operating out of London to blow up jetliners originating in London and
20                                                    -                                                 .
21     bound for the US. -I gave the appropriate authorities within the U~ Government accurate and

22 very specific intelligence regarding this terrorist plot from my "decoding s.oftware" as I

23     have done in the past. weeks prio~ to the arrests by tha London authorities - without
24
       compensation.
25
             7.     Neither Warren Trepp, nor eTreppid Technologies. nor any person working tilere have
26
       ·ever owned, possessed or processed 14outpur from my source codes used in the special
 27
_28    Government contraCts. Other eTreppid individuals, as well as Government officials identified herein,

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                                                          ~='.
                                                             ::- .


1 had access to the uoutpur only after I had processed it
2             8.          In September. 2005, Trepp told me that the Government had appropriated One
3
     Hundred Million Dollars for 1he 11decoding technology", but he was d~manding Five H~ndre(I Million
4
     Dollars. Trepp instructed me to stop processing                                                  "otitpur on
 5
     two occasions ~ first In September, 2004, saying to stop temporarily until he made a deal with the
 6
 7   Government to sell a portion of the technology for Five Hundred Million dollarst which I refused.

 8   Secondly, about a year later in September 2005, when my conflict with Trepp greatly intensified.
 9   On the latter occasion, I told him it was a ichold-up•. I refused on both National Security grounds
10
     and over Trepp's failure to. pay ·me licensing fees and to resolve our conmct over the spilt of the
11
     proceeds derived from any sale. Trepp had previously acknowledged my ownership of the
12
     technology in numerous conversations and promised "to work things out.• In September-October,
13
14   2005, Trepp said that uour dear would have to watt because he had other obligations and began to
     ;

15. threaten me as our conflict_ Intensified. This ultimately resulted Jn my departure from eTreppid in

16   January, 2006. Since then I have given the highest levels of our Government vital national security
17
     information free of charge while Trepp and his local Government cronies have raided my home and
18
     storage and tried to get me Indicted.
19
               9.     I was ~n independent contractor throughout my time at eTreppid, notwithstanding
20
     Trepp's attempt to change my status for tax reasons in January 2003. Before that eTreppid even
21
22       treated me as an independent contractor. But his tax changes a~mpting to make me an
                      .                                                                .
23       ·employee" only reflect what we both knew and what is now obvious to any impartial observer. I
24       owned the technology, it was not developed while I was at eTreppid, and I exclusively controlled It.
25
         He was attempting to steal what he refused to pay for, his modus operandi for his entire adult IJfe, as
26
         shmYn by his position as Head Trader for Michael Milken in the "junk bond• scam. VVhile at
27
         eTreppld, I fulfilled all of the indicia of an independent contractor even after January, 2003. when
28

                                                                 -s-
                                                                              ·-·-'*"'-·-~-   -··-- ----   ~--   ·--
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                                                        ...•.

1 Trepp realized the value of the technology in the war on terror. No one controlled, instructed,
2 supervised, or directed my work in the slightest manner - not one aspect of my work was controlled
3
  etc by anyone or anything. Not one part of the source code.~ I used on "Special Access Programs-
4
  {"SAP} was ever created at eTreppid or on eTreppid computers. All codes used on the special
5
       military contracts were created by me at my home or elsewhere. No~e of the source codes used on
 6
 7     SAP were ever on the premises at eTreppid, nor were any of them ever contained in eTreppid·

 8 computers. Almost all of my work on the SAP was done by me in an area occupied by me alone.
 9     Any adaptation or changes to any of the source codes was done at my home.
10
                                 . The Negrpponfe Declaration
11
            10. ·      I have riot read the "seared declaration· filed by the ooo. Therefore, I obviously do nqt
12
       know It's contents. I have read John Negroponte's •publIC- declaration.· I agree that the facts
13
14·    involved herein relating to specific military contracts- the 11Special Access Programs•, {the "SAP"};

15     and that my software technology used to "process" data and create "output• from that data in 11SAP'*.

16 involve vital national security concerns, the disclosure of which would cause "exceptionally grave
17
       damage to the national security of the United States.• I can only presume that the "sealed
18
       declaration" relates to work I did on SAP, probably wittlout referencing specific individuals that I
19
       worked with from--- and without describing precisely what I did. I expect. given the
20
21     Government's failure to use certain infonnation that Jprocessed which turned out to ~a accurate, but

22     on which the Govemment failed to act, resulting in multiple civilian and military casualties, that such

23- information is not in the sealed declaration. As to the information I provided which succeeded•
24
                                                                          I hope that the Government has
25                                                                                                   .
       alerted this Court to the exceptional and grave Importance of the use of my technology· irfthe war on
26
       terror.
27
                 11.    However, I vigorously dispute whether any of the applicable protoc:ols for properly
28
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          classifying either the data I received from the Government, the 'processing• I performe(j, or the

 1        "outpur I created; was-ever properly designated uclasslfied lnformation111 by an 110riginal
 2        Classification Authority" pursuant to "The National Se~rity Industrial Program Operating Manuar
 3
          {The "Manualj while it was in my exclusive possession, custody and control at eTreppfd. Much of ·

          the work I did was simply too urgent and the "outpur too vital to conform to any _of the Manual
 5
          protocols, the eTreppid personnel! were tco incompetent to implement the protocols, the cost was
 6
 7        too great, and                       I dealt with did not trust anybody at eTreppid but me - at least that

 a is what several of them said.
 9
               12.     For security reasons, and because I zealously protected the secrecy Of my software
10
          sou~·codes from everyone, n.o otJ:ler eTreppid employee had access to anything I was working on
11 .
          in connection wlth "SAP'". Indeed, it was commonly discussed with                               that any '·
12
          leak to anyone at eTreppid would cause serious damage to national security. In general, eTreppid
13
14        employees were too incompetent to be Involved. including Sloan Venables and Patty Gray. Nor did

                     ~r other Government official have access to..the softWare programs that I used to create the

16         outpur on "SAP." They repeatedly tried to gain access to the source codes and failed; including
          11



17
          attempts to •reverse engineer" the "output• but failed. In December, 2003, certain
·18
          talked about •just taking it" after I had
10
                                                      as hereinafter described. But I informed them that the
20
21
22                                Because of the statements about 11just taking it,• I informed Warren Trepp and
23
24         immediately flew to Reno and signed the "Agreemenr attached hereto as Exhibit 1, agreeing not to
 25
           attempt to seize the technology.
 26
                 13.       Much of the 11output" was personally hand delivered by me to
·27

 28        some of whom flew directly to Ren·o to pick up the 11outpur, and personally watched me •process•

                                                              .7..
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     .data, some of which they brought with them. Several of the                          scrutinized me for

1     months and attempted to "look over my shoulder" In order to g~in access to the programs I used .·
2
      and how I •processed• the data. Their efforts also failed.
3
            14.      Several of th                       .told me repeatedly that they did not trust Warren
4
      Trepp and that J should never allow him or anyone working for him to gain access to any .of the
5
6     source codes for the programs. They recommended that I insert intrusion devices In to the programs

7     In order to prevent anyone from gaining access to the programs. On several occasions. several-

8                      who I worked with for Jong and i:Jtense weeks at a time,

 g •      told me that they did not trust the FBI, or th~ National. Security Agency, and/or Paul Haraldsen.
10
      They knew that I had begun to ~st Haraldsen {whlch proved to be a mistake) and warned me about
11
      h1m. They told me that anyone with "close ties inside the Govemmenr with Warren Trepp was
12
      ·suspect" because the technology was worth "hundreds of millfons• of dollars in the war on terror. At
13
14 one point-removed the local FBI from eTreppld's building, and asked them nOt to return.

15          15.    As. to how the Government "ciassified• It's reports concerning my uoutpur after it left my

16    possession, I do not know. presumably, given what I know about the aoutpur I gave, the
17
      Government has Internally classified this data without ever giving me copies of that 11c:lassifled
18
      infonnation.• I do not have possession of any of those reports.
19
            16      Mr. Negroponte never personally observed the "processing:" of data or the creation· of
20
 1
2.    my "output." Presumably. he has received either the "outpur r created on some form of electronic
22    storage media or reports concerning the same. I was told by numerous officials that the results from
23     my ·outpur were Included in regular "briefings to the President."
24          17.     The work I performed pu~uant to "Special Access· Programs• on specified n:tilitary
25
       contracts required that I have a MTop Sacrer Security Clearance with access to ~Speciaj Jn'fon.natJon
26
       Compartmentalized." f'SJC"}.
27
                    The Application of my ..ODS'' Technology to Spec~al Access Programs
28

                                                         ·8-
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          18.        Predator Project USAF - November, 2002~       In October - Nove~ber, 2~2, I
                     '                                                                 .
1     developed a software program from my data streaming technology, not contained on CD No. 1"
                                                                                           11



2
      and obviously created when even eTreppid treated me as an independent contractor, for use on the
3
      unmanned aerial vehicle. the 11Ptedator." This program enabled the Predator to stream video at a
4
      much lower band width than it then used. The work was done pursuant to Contract# 209545$
 5

6     originating in a Top Secret area at Eglin Air Force Base. My contacts included Colonel Rhys

 7    Macbeth·, Thayne Wescoatt, Debora Moffitt, and Chris Crutchfield. I will need depositions of each

 8 of these Individuals and others, together wlth all of the documentation used on the project in order to

      prove my ow~ership, possession, custody and control of the technology used, how it was used, how
 9
10
      It differed from then existing technology I had transferred to eTreppid "contained on CD No. 1": and
11
      how I adapted my software to the specific application used on Predator. The adaptation process is
12               .                                      .
      proof of my ownership and exclusive possession. The foregoing individuals watched me as I
13
14    demonstrated the application of the technology in the Predator program.

15         19.           Pojnter. fre(fator. USAF • Februarv. 2003. Between November 2002 and March,
16 2003, as a result of my work on the above Predator prOject. I discussed my object detection system
17
   ("ODS") with and/or interacted with numerous Air Force officers, consultants agents and officials.
18
   including but not limited to Major Paul Hastert, C~l Robert Lyons. Col. Rhys Macbeth, Peter
19
   Wiedemann, Col. Felder, Matt Belmonte, David 'Mligham and others in connection wfth testing to
20
21    detect and/or track objects while streaming compressed unmanned aerial vehicle "Pointer" video for

22    Predator. warren Trepp also advised these and other officials that I had developed an "Ocs· which

23    could fulfill their tests. Between November. 2002 and January-February, 2003, Trepp explicitly

      requested me to use my "ODS," which obviously was then completely developed, (when ev~n Trepp
24
25
      treated me as an independent contractor) to prove to the Air Force that I could detect and track
26
      objects inside streaming video. He agreed tha·t If I passed the tests, he would "make a deal" with me
27
28 either to purchase or license my ..oos· technology. The tests were 90% successful. I adapted my

                                                            -9~
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     "ODS" system to use compressed streaming vid~o on an unmanned aerial vehicle "Pointer.' to the

 1   ground and then to a central location while detecting and tracking objecls o~ the ground. The
2    validation tests were conducted in February, 2003 at Eglin Air Force Base. The dates. results, and
 3
     testing_ procedures. together with ·a11 of the related docomentation and involvement of Government
4
     officials all prove my exclusive ownership and possession of the technology. I will require the
 5

 6   depasitions of at least ten of the Government officials involved. inctuding Col. High of "Big Safari•

 7   together with all of the documentation and test results in order to prove my ownership, custody,

 8 ·possession and control of the ·ons·. It has a value in excess of Five Hundred Million Dollars. If this
 9   case is to proceed. JwiD provide the specific names of all individuals involved in th~ project,
10
     generalfy named "USAF UAV BattJelab, Contracts: F08651-03-P-0182 and 0129. These contracts
11
     extended from March 26, 2003 until September 30, 2005, when my conflict with Trepp erupted.
12
          20.    . Tracking al Qaeda. USSOCOM and. . . §gpternber. 2003. By June -
13
14   September, 2~3. my "OOSlt had attracted the lnter~t o - a n d USSOCOM in connection with

15   using Predator to detect and track specific al Qaeda operatives "In the field", including al Zarquawl,
16   and specific objects related to him such as cars and vans, with •rive• video feeds enco~ed and
17
     scanning for objects and people in "real time: My object-tracking was placed on a specific number
18
     of 11 DV laptops• used by SOC OM and                      in the field. I interacted on a regular basis with
19
     these operatives in: connection with the use.and application of my technology. Special seivers were
20
21   installed in the ·poc· Predator Operation Command at Nellis Air Force Base and at Fort Bragg to

22 "look for", detect and track specific objeCts, which were, in fact, positively identified. I worked with

23 ·many people in "special groups• in_ _ _ at Nellis, at Fort Bragg,· at Eglin etc in connection with
24
     my object tracking system. I will require all of the documentation, and depositions of at least twenty
25                                                                      .                               >
     individuals associated with this project, Including General Brown, Scott Arlen, Mark Race,: Michael
26
      Holland, Jerry Dvorak, Kenneth Johns, Snake, Larice Lombardo. Sue Griffin, Merv Leavitt. Eric
27
28    Bames·and Robert Dailey. The contracts; USZA2e.;Q3-P-3294 and H92222-04-0006/D0-0001 to

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                                                        ~.




      0004 ext~nded from September, 19, 2003 untif _Septem~er 30, 2005 when my conflict wltJ:l Trepp




 7     October 28, 2003, I broke the encryption. Soon after I broke the encryption,

 8                                                            as described below.
 9
      a.
10
      broke the encryption, I gave this "outpur to~ That "output" consisted of
11
                                                                                             with the
12
13     aS5ociated date of November 8, 2003. On that date, hours before a suicide attack, the US State

14     Department. using my data, issued an urgent warning about an imminent attack. A suicide bomber

15     driving a truck detonated a bomb outside the Complex killing and wounding over one hundred
16     people. I was later told                          .that "we~ had either faffed to follow through quickly
17
       enough or that the Saudi's had failed to act. But I have always questioned why the State
18
       Department made. an urgent publlc warning just hours before the attack whe~knew at least
19
       10 days before th~ attack?
20
21     b. Miscellaneous Targets and Dates - November 2003 to October. 2004. Within days of the

22                                                       came to me and asked me to start processing all of

23     the data that they had.-gave me a list of ifs operatives who· 1dealt with and could call any
24
       time day or night. There are 18 names on the list with their home, office cell and pager phone
25
       numbers. I   wil require the depositions of all 18 of these individuals in order to prove m~. eiclusive
28
       ownership, custody, possession and preservation of the secrecy of my software. Over the next
27
28     Several months, I undertook the arduous and time consuming task of extracting data froml Ill      j
                                                                            .      .

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                                                      -.'.'.'


                                                                       I decoded
1                                            But-!"ost~y concentrated on                                     I was told
2                                  that the •outpur I gave them prevented several terrorjst attacks in the us. ·
      by severa
 3
      I have a list of the
4
      also specifically gave
5
 6                             in those locations. I gave

 7                                                                                                      J knowwhat

 8 documents and electronic media exist in order to prove that my technology decoded the targets well
 9 in advance of the bombings. I do not know why the athtcks were not prevented. The pressure on me
10
      to "process• was extreme. I ~ openly watched ·day and night by                               for over a yea~.
11
      c. TheW                                                                                         In December,
12
13 2003,                                              without disclosing any details                       I did   so
14 and decoded a specific target coordinate In New York. I later learned t h a t - . consisted of

15 :I~ 2001 and the location I decoded was the World Trade
18    Center in New York. Immediately upon decoding the tape                                             told me to
17
      destroy all of the work that I had don~and to never discuss it with anyone, particularl¥
18
      Warren Trepp- told me that--was concerned that if any Jeak occurred, I would be
19
      subpoened by the 9/11 Commission. He warned me never to trust Trepp, never to give him or his
20

21    employees access to any of my technology or the Moutpur. and to protect my technology from him

22 at all costs. After I                                                           told me that the technology was so

23 vital to nationai security that I could never copyright or patent it, and tha~- was considering
24
       "just taking ir. At that time, around Christmas, 2q03, I placed "intrusion devices• Into my software
25
       programs to protect them from both the Government and Trepp. Around the same time,. Ute F.81
28
       brought in "blade servers" to accelerate the "processing• time. But the FBI got Into a conflict with the
27
           over "control" of the entire operation and~forced the FBI to leave the building. I did
26

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                  .                               -   ~
      fnfonn·Trepp of the •just taking ir conversatiohwith-As a result,

 1                                                               flew to Reno and signed the Jetter dated
2 January 4. 2004, attached her~to as Exhibit 1. At that time~ai~-would
3
  purchase the technology. Trepp then gave him the price of Five Hundred Million Dollars.
4
                said to keep •processing" and that he would initiate a p·urchase plan.
5
 6    d.                                                         In February, 20041 working with rotating-

 7 -              I started. taklng data directly from_
 8
 9                                                                 including Peter VV'iedemann and others,
10
      including Paul Haralds~n (who I beJleved at that time was some sort of liason between-and
11
                                                                                         and f explained in
12
13    detail. what I believed was the technique used. and a specific teehnJque that would make the

14    encoding even harder to break. Shortly after one of these discussions,

15'                                     _w1iich f again breke~.lhese changes were explicitly disc;Ussed with


17
             matching the exact technique that was discussed four months earlier. I discussed these
18
       matters in detail with Harafdsen.
19
            22.    Paul Haraldsen and the Air Force Take Over· The Christmas Eve Bombing.
20
21     Between June 2004 and December, 2004, Paul Haraldsen emerged as my primary contact.

22 · Haraldsen repeatedly lnfonned me that it was very difficult to know "who to trusr, that he wonced

23     directly for the ~highest lever of our Government, that he worked with GeneraJ Bath, and to trust him
24
       alone. He told me that there was a conflict "on the inside• and that the Air Force would be taking
25
       over the project at the end of 2004. After June, 2004, Haraldsen told me that I should gJva hiln all of
26
       my "outpur, which I did on a weekl.Y basis. On December 14, 2004, I provided 11 outpur to Haraldsen
27
28     and Paul Allen from U~SOCOM with target coordinates and the date of December 24th, 20~ -

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                                                          ;   ....

     Christmas Eve - for a specific location Jn the ml~dfe of one of our mlfitary bases in Mosul, Iraq.. 1

 1   then picked up repeated patterns for that location, so on December 20. 2004, I catJed my contact
 2   directly in Iraq and warned him of an impending attack at that location. I repeatedly. stressed to
 3
     Haraldsen that I thought an attack was imminent On December 24. 2004, a suicide bomber

     detonated a device on the base killing ov~r 20 people. Ar~und that time, Haraldsen told me.that afl
 5
 6   future funding would come from the Air Force and that a "buy our would be coordinated by him and

 1   other Air Force officials, including General Bath. At one time, he mentioned that One Hundred

 8   Million Dollars had already been approved and that he and Bath "were working with Trepp•. Later, In
 9   mid 2005, I informed him that I did not trust Trepp, that the technology was mine, that the
10
     Government needed to deaf with me, not Trepp, and that I wanted to participate in any discussions.
11
     Haraldsen said he would take it up with the right people Inside the Air Force.
12
13
          23.                                                                                         In earfy 2005, the Air

14. Force contracted with an independent consulting contractor who verified that there was, in fact.

15                                                                          ·but that the co.nsultant was unable to decode
16   the encryptions. Some months later, Haraldsen informed me that the •buy out" would go forward and
17
     that I would participate.
18
          24.     ·Iha "Eag~t Vision" Contract. James Gibbons, and "LLH & Associates", Jn early
19
     2005, Ja~es Glb~ns, working with General ·aath procured a military contract. the only contract
20
21    referenced in eTreppid's "Trade Secret" Jaw suit against me, but merely one of many contracts I

22   worked on with my technology. The project was named 14Eagle VJsion• and involved the

23    compression of digital satellite streams. LLH & Associates was the primary contractor on this
24
      contract, which sul).contracted the work to eTreppid. I believe the contract was a "iisecret" contract.
          •                                                                                                        1--
25                                                                                                                ,.
      In order to prove my exclusive ownership of the technology involved Jn ~agle Vision and differentiate
26
      it from any of the technology on "CD No. 1," I will require the depositions of all individuals involved in
27
28    this project, together wHh all of the documentation. I believe that Trepp probably identified this sole

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                                       ..... ·---. --· .. ··-.
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      contract in his Complaint without specifically identifying it as a military contract. but as an "LLH"

1     contract because during this time frame Trepp was activ~ly using other eTreppid employees to
2
      attempt to gain access to my codes through reverse engineering and ciur conflict was rapidly
.3
      intensifying. The national security concerns expressed in the Negroponte declaration apply to "Eagle
4
      Vision.·
5

6           25.       Oef!Cting and Tracking Submarines. In mid 2005, I was approached by Michael

7     Carter from the Naval Research Center. He provide me several high altitude satellite photographs of

 8 the ocean and asked if I could detect any "anomalies• with my "Oos•. The area covered
 9
      approximately 100 square miles of ocean. I detected two objects in the photographs and reported
10
      them to Carter and to Paul Salvatori who reported them to other Navy officials. Carter and Salvatori
11
      totd me that this was the first time software technology had deteeted a •submarine under water".
12
      They then told me that the Navy would $et up a series of tests and that the most difficult test would
13
14    be in September, 2005. Between ·september and October, 2005, I used my teChnology to perform
            .                                                                 .
15    the tests. 1was told that the tests were "remarkably accurate• and that the Navy intended to
16 purchase the technology as soon as possible. In October, 2005, Paul Haraldsen infonned        thatme
17
   ho was negotiating with Trepp and understood that Trepp and I were in some type of conflict. He
18
      assured ~ that my Interests would be protected and acknowled~ed that the technology was mine.
19
      Haraldsen said One Hundred Million Dollars had already been approved for the technology. In
20.
21    September through December, 2005, Trapp began to pressure me for the source codes for my

22    jjODS", which, of course, 1· had always protected from everyone. When I refused to give Trepp the

23 . codes, he began to threaten me with using his "political influence" with Gibbons to "bury me•; and to
24
       use his "conneCtions" to the Bonnano family, as hereinafter described. A detailed description of my
25
       conflict with Trapp is contained in my answers to Trepp's Interrogatories, attached to my opposition
26
       to the motion for a protective order.
27
28              26.   In order to prove my exclusive ownership, ·possession, custody and control of my
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                                                  ·.:"   ...
      t~chnology used with~ the Air force;~~e Navy and USSOCOM, and the preservation of the
 1    se~ of the technology from Trepp, the Government and ~I eT~~id employees, and In order to
 2
      defend against Trepp's spu~ous Trade Secret claims requiring preservation of the secrecy of the
 3
   "trade secrer, by m9 alone! I !Viii have to discover all of the relevant documents. and depas.e all of
 4
 S the involved Individuals from--. the Air Force, USSOCOM; and the Navy relating to the use·

 6    and application of my technol~y as recited above. These include but are· not limited to; Paul

 7    Haraldsen,                                                      Peter Wiedemann, all Individuals listed on the

 8    list given to me by                                        and all of my contacts in Iraq and in the US
 9    relating to the London, Madrid and th~ Iraq bombings, James Gibbons, Ronald ~ath, individuals
10
      inside the Air Force involved.with Bath and Gibbons and all others inside the Government who tried
11
      to steal my technology at the beheat of Trepp, Bath, Haraldsen and Gibbons. I will require the
12
      "regular briefings• given to the President. in order ·to detennfne how my technology was described
13
.~4   and characterized, how it was u~ and applied, and to calculate al~ my damages r~ulting from the

15    failure of the Government to pay me royalties knowing it belonged to me.
16                The D9J 1• Use of tb• "Big Safari" Cootr!lct tg Permit Disc;overy i! a Run.
17
           27.      The DoJ and Ms. Wells in their motion for a protectJve order, refer to their agreement to
18
      allow discovery in connection with the "Big Safari ., contract. This is just a ruse. That contract and the
19
      discovery they plainly intend to allow relates to the purchase of air conditioners for the "blade·
20
21    servers" brought ln by the FBI. That contract has nc national security implications and none relating

22    to the ownership and possession of my technology. Referencing it as an example of how and why

23    discovery can proceed in these matters Is disingenuous in the eXtreme.
24
                     Sealed Search Warrant·Matt@rs Relevant to National Security Jssun
25
            28.     Each and every relevant and material fact in Agent Wesrs affidavit flied in Court to
26
      obtain a search warrant to raid my home and storage are materially farse either by intentional
27
28    deletion, omission. mis-statement, or outright fabrication. The local Reno FBI raided my home on

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      the pretext that I had unlawfuliy taken "classified information" which posed a threat to our "national

1     security_• This was just a bold-faced fabrication to justify the theft of the technology I have described

      herein. Paul Haraldsen knew that the so--called "palrn tr~es" tapes - the pretext for the raid - weie
2
3
      neither "classifiecr or "taken· by me. The FBI, Haraldsen. and Trepp all knew that I had only
.4
      conveyed to eTreppid - the Company I own with Trepp, and now others, (that Trepp· has
5
      mysteriously and questionably brought in, including Michael Milken), the data compression
6
7     technology ·contained on CD No. 1". Yet West deleted this phrase from his affidavit, then omitted

 8    the very next paragraph reciting that none of my other technologies were conveyed. Then he

 9    explicitly deleted the phrase in eTreppid's "Operating Agreemenr proving that I was not subject to a
10
      non-compete agreement and stated in his affidavit that I was. Then he swore under oath that r was
11
12
      an "employee• from 2000 to November, 2001 when I "assigned• the patents he lists -         acomplete
      falsehood; and he recites that Venables had access to my source codes when Venables had
13
14    admitted under oath three weeks before that he didn't. Now, the Government is asserting the state

15    secrets privilege in the civil cases after admitting in the criminar matter that no "classifled

16    infonnation• was •stored" at eTreppid" and thus, I was not ln possession of any. Yet in these civil
17
      cases it is representing to the Court that •information• involved in these cases involves an
18
      "exceptionally grave danger to the national security of the United States: f do not believe that the
19
      upper levels of our Government, includihg John Negroponte, have been fuJly advised of the
20
21    machinations and illegal conduct of Gibbons, Trepp and the local FBI, or of the issues involved in

22    these matters, and that the local Nevada Government authorities aided my home because of the

23    political influence of Trapp. Perhaps, this explains the apparent discrepancy between the
24    Negroponte "public declaration" and the DoJ's motion for a protective order. I raise these search
25
      matter Issues herein as an explanation for the discrepancy. I have potential claims arising out of the
26
      misconduct of the local Nevada officials.
27
28          29.     Agent West falsely led the Court issuing the search warrants to believe that there was a

                                                          ~17-
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     non-compete agreement then in existence preventing me from using my source codes "in

 1 competition" with eTreppid, knowingly deleting the explicit phrase stating that there was no non-

2    compete agreement. Again, this conduct was material and intentional to steal my technology.
3
         30.      I have never received any form of notice whatsoever from any Governmental agency
4
     that my "Top Secret SIC"' security clearance has been suspended or revoked. My security clearance
 5
6    can only be revoked by the appropriate Governmental agency. Yet, Agent West falsely stated in his

 7   search affidavit that my clearance had been suspended and that eTreppid possessed a clearance to

 8   store "classified information". These compounded falsehoods were manufactured by Trepp, Patty
 9   Gray, Sloan Venables and West in order to raid my home on the false allegation that I •unlawfully
10
     retained classified information·. After being challenged with my Rule 41 {g) Motion, as stated above,
11




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      dollar increments to Gibbons thru Trepp's various entities. I have heard Gibbons say words to the

1     effect that given Trepp's questionable background and the "source• of Jlls donations, the less people
2 identify Trepp as one of his donors the better.
3
         33.    Trepp is also a long tenn close associate of the Bonanno Family of1he New Jersey
4
  mob family bearing that name - dating back to at least Trepp's Drexel days when Trepp and Michael
5
6 Milken, whd went to pri&on in connection with his "junk bond• scams, "invested'" money forthe
 7    Bonannos. Trepp threatened me with the Bonann0s and Jhave fears for my life because of that

 8    association. The Sonanno's have close ties to Jack Abramoff, the Republican fund raiser, as does
 9    Warren Trepp.
10
           34.    I have participated in numerous meetings with Air Force General Ronald Bath, Trepp's
11
      "consultant" and Trepp. Gibbons and Bath, both Air Foi:ce and Nevada Air National Guard pilots are
12
      the basis forTrepp's political Influence in Nevada and within the Air Force. In November, 200~. in
13
14    one of my many fights with Trepp over licensing my technology used in the special Government

15    contracts, Trepp threatened to " bu,.Y me" with his political influence over Bath and Gibbons_ .f

16    believe the FBI/Air Force raid on my home and property was the result of~at influence to steal my
17
      technology for Trepp. Gibbons has admitted that he initiated the criminal investigation against me.
18
                                    Claima I Intend to Bring Not Yet Flied
19
           35.    The fact that Trepp and Gibbons improperly Influenced the FBI to raid my home and that
20
                                       11
21 they have continued to conduct surveillance" on me, including what I believe to be illegal physical

22 and electronic surveilianc:e, including eavesdropping and wiretapping, leads me to believe that they

23 have used their secret surveillance program on AT&T customers to intercept my phone records. I
24
      have been an AT&T customer. If this litigation is to proeaed, l will intervene in the case of Hepting v
25
      AT&Tas a Plaintiff against AT&T and the Govemme:nt. I will also bring claims similar to those
26
      brought in the AT&T case in this Court. In that action, I understand that the Government intervened
27
28    and sought to dismiss the case based on the state secrets privil~e.

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            36.       I also intend to bring claims under the Feder~I Tort Claims Acr; and J intend to file
                                                            11




 1 claims against various state and federal officers and employees in connection with the matters set
 2
      forth herein.
 3
            37.       At this point, given the unconstitutional raid on my home, which had a severely
4
      damaging effect on my wife of 32 years and three chlldren, I do not trust the State of Nevada, I do
 5
      not trust the US Government or any of it's branches, agencies, divisions or departments. I am certain
 6
 7 that Gibbons, Bath, Harafdsen and others have used their political influence to corrupt the system;

 8 but I am hopeful that the Judges hearing this matter will follow the law and apply the faw to the facts
 9

10
             I declare under penalty of perjury under the laws of the United States and the State of Nevada
11
      that the foregoing is true and correct. Signed this 30th day of October, 2006 In Seattle, Washington ..
12
13
14
                                                                       Dennis Montgomery
15
16
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                38.   I allo 111Wid to bring claims under the ..Federal Tott ~Act"; Md I interid to fife
   1 claims &Qainst Wtrlaua OR and W8r3I cffiC8fB and empl¥U 1n oonneetlon With the mdera .et
   2 forth herein..
  ·3
            ;,1.    At tl'tla poln~ giwm the unconsHtutional raid on my home, which had a sev«ely
   4
         dan.ging elect on my wife of 32 years and three ctttldren. I do not trust 1he State of~ I do
   5
   8 not trual the US Gowmment or arty of!~$ bn11nchss. agencies. cUvlSIOns or~. tam certain
                                                                                 ,
   7 tMt Gibbons. Balta. Haraldsen and othar9 haw uted their political inftLEnCe 10 corrupt h    syswm;

   8 bul i am hopaful ttlat the JudgH hearing this matter will foUow the law and. apply !le law co the~
   9
  10
              I dedare under penalty gf perjury under ht lawa of the Unil8d StratH "1d lhl State of Newda
  11
  12 ttlal the foregoing is true and eorrec:t. Slgntd
                                               .     .thia 30th dB):•C>ctabeft
  13

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                             Exhibit 73
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 2     PAULL. PUGLIESE
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 4     Tel: (775) 784-5438
       Attorneys for Plaintiff
 5

 6                                     UNJTED STATES DISTRICT COURT

  7                                           DISTRICT OF NEV ADA

  8     IN THE MATTER OF THE SEARCH OF:                   )   No. 3:06-CV-0263-BES-VPC
                                                          )
  9    The Residence Located at 12 720                    )
       Buckthorne Lane, Reno, Nevada, and                 )   SECOND DECLARATl ON OF
10     Storage Units 136, 140, 141, 142, and 143,         )   SA MICHAEL A. WEST
       Double R. Storage, 888 Maestro Drive,              )
11     Reno, Nevada                                       )
        ~~~~~~~~~~~~~~~- )
12

13                                                 DECLARATION

··14           I, M1CHAEL A. WEST, do hereby say that:

 15            1. I am a Special Agent with the Federal Bureau of Investigation. My duties include the

 16     investigation of alleged violations of federal statutes that occur in Northern Nevada. As part of my

 17     regularly assigned duties, I have been assigned to the irn~tant matter and to investigate allegations of

 18     theft of trade secrets and the unlawful retention of information relating to the national defense. ·

 19             2. Revealing the redacted portions of the February 28, 2006, and March 3, 2006, Affidavits

 20     filed in support of search warrant applications for 12720 Buckthorne Lane, Reno, and Storage Units

 21 · 136, 140, 14-1, 142, and 143, Double R. Storage, 888 Maestro Drive, Reno, Nevada, would expose

 22     investigative techniques and cooperating witnesses used in this ongoing investigation.

 23             3. During my investig;ation, Wan·en Trepp, Chief Executive Officer, eTreppid Technologies,

  24    LLC, told me that the most recent US Government contract negotiations we::re with the U.S. Air
                          '                                                                                  ;..


  25    Force to continue eTreppid's software development effmts in multiple areas, to include the contiriued

  26
  27
  28     \\\                                                                JT EXHIBIT: S                           .·~
                                                                            DEPONENT: D. MONTGOMERY
                                                                            PAGES: 3
                                                                            DATE: November 18, 2010
                                                                            STEPHANIE P. BORTHWICK
                                                                            CSR 12088
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               4. In July 2006, Mr. Trcpp advised me that Laura Koelmen, an Account Manager for Scion

2     Technologies, had been requested by Dennis L. Montgomery to set up meetings with individuals

3     who may be interested in purchasing Mr. Montgomery's software technology. Koehnen desc1ibed to

4     Trepp's Attorney, Doug1as Frye, what Mr. Montgomery had described or shown to Koehnen whid1

5     Mr. Trepp believes lo be the same software technology Mr. Montgomery worked on while employed

6     at el'reppid, and the same software technology that eTreppicl was negotiating with the U.S. Air

7     Force.

 8             5. On or about July 27, 2006, Mr. Trepp advised me that he had preliminary infonnation that

 9    Mr. Montgomery had gone to work for a company in Wasbint,rton state and may have sold or

10    contributed the software removed and deleted from cTn::ppid to his new employer. Mr. Trepp is

11    working to identify this company and obtain any documents relating to the conditions or terms of Mr.

12    Montgomery's employment at this new company.

13             6. On AUlo,'11St l 0, 2006, 1 received a telephone call from Special Agent Gabriel Gunderson of

14    the Seattle FBl Office who advised me t11at his office received infonnation from Azimyth, a

15    company located in Bellevue, Washington, which had discovered terrorist threat rdated information.

16     Special Agent Gunderson related that Michael Sandoval, Chief Executive Officer of Azimyth, had

17     contacted a retired Centra1 Intelligence Agency fonner Chief of Station residing in Washington and

18     offered to provide the U.S. Government tenorist threat related infonnation. Special Agent

19     Gunderson further related that Dennis L. Montgomery was the Azimyth employee who located the

20     inforrnation. Special Agent Gunderson advised me in a subsequent conversation that Mr.

21     Montgomery had rep01ied that be located increase noise in recent Al-Jazeera video transmissions.

22              7. In the 41 (g) Motion Heming, 1 was provided two hinders by Mr. Montgomery's counsel

23     containing numerous exhibits. While testifying regarding the contents of Exhibit 13, "Montgomery

 24    Copyrights", l observed a fax document from the Library n f Congress, U.S. Copyright Office, lo

 'Y
 _)    Dennis L. Montgomery with the fax header reading "Jun 2R 2006 9:48PM AziMyth 4256376950".

 26    On 08/17/2006, Dennis L. Montgomery signed a Second Declaration in support ol"thc motion under

       F. R. Crim. P. 41 (g) to unseal search \Varrant and return his prope1iy. ln this <lcc.:laratinn in paragraph

 28    3, Mr. Montgomery states "No person at eTreppid is able, lo my knowledge, to create source codes

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 1    that I have created having multiple applications in the war on terror and other military uses.

 2    Conclusive proof on this issue is established by the recent interception within the last several weeks

 3    of the attempts by ten-orists operating out of London to blow up jetliners originating in London and

 4    bound for the US. I gave the appropriate authorities within the US Government accurate and very

 5    specific intelligence regarding this terrorist plot, as I have done in the past, prior to the mTests hy the

 6    London authorities - without compensation. 11 Furtl1er, in paragraph 11, Mr. Monlgomcry states that

 7    he had been processing vital national security output involving

 8    in September 2005, while working for Mr. Trepp at eTreppid ..

 9            8. It appears Mr. Montgomery has solicited others to find purchasers of software in his

10    possession and that Mr. Montgomery has gained employment at Azirnytl1 in Washington state and

11    may be attempting to sell the software developed at eTrepp1d and subsequently deleted from

12    eTreppid computers.

13            9. Exposing the remaining redacted portions of my Affidavit in support the search warrants

'14   would expose investigative techniques and limit the Governments ability to collect additional

15    evidence through additional consensual1y monitored calls, use of cooperating witness, and the use of

16    surveillance techniques in this ongoing investigation.

17

18    I Declare under Penalty of Perjmy that the Foregoing is True and Correct.

19

20     Executed this dseptember, 2006, in        Ren~, Nevada

                                                        ~~sf=
21

22
                                                      Michael A. West
 23                                                   Special Agent, Federal Bureau oflnvestigation

 24

 25

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                             Exhibit 75
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                             Exhibit 76
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                                                                                  Plaintiff's Exhibit 12
                                                                               Depa of Istvan A. Burgyan
                                                                                  September 22, 2010
                                                                             Pamela J. Leja-Romjue, CSR 12368
  From: Concerned Citizen <concemedcitizenl 94894@,yahoo.com>                       ~?~
  Date: June 30, 2010 1:33:08 PM PDT
  To: michael.west@ic.fbi.gov
  Subject: montgomery

   Dear Agent West,

   Per my conversation with Tim Blixseth, I am forwarding to you a brief timeline of the events
   regarding my contact with Dennis Montgomery and Demaratech. It has been their desire from
   the first contact to try and sell their technology to various institutions within the Israeli
   government including the Mossad and Anny Intelligence. For obvious reasons I have created
   this email account specifically to communicate with you. Should you have any questions, you
   can reach me via this email or the phone number Mr. Blixseth gave you...

   Please keep in mind that this is a truncated version of the contact history.

   May 3, 2010 - I was first contacted by Leo Josh Kennedy. The cunent CEO and financial backer
   of Demaratech. He shared with me his desire to present a unique technology to the Israeli
   security services. He was open in saying they had tried once before but were not sure they had a
   "fair hearing".

    May 4, 2010 - Had a conference call with Mr. Kem1edy in order to desc1ibe to me in greater
    detail the technology.

    May 14, 2010 - I was contacted by Dennis Montgomery for the purpose of wallcing me through a
    presentation showing the potential applications of various technologies.

    May 18, 2010 - Demus Montgomery set up a temporary FTP site to which I was directed in order
    for him to show me various applications of his technology. I had to cut demonstration short and
    rescheduled for May 20

    May 20, 2010 - Dennis Montgomery wallced me through a very long demonstration of the
    technology applications he wished to have me bring to the attention of the Mossad and Israeli
    Military Intelligence. They were as follows:

      1) Decrypting of Al Jazeera broadcasts for the pmpose of reading transmitted messages between
     Islannc tenorits.
       2) Identifying various cameras via the unique footprint of the lenses
       3) Identifying anomalies from a still photograph such as a submarine in the ocean
       4) Ability to identify weapons and faces from video footage of a drone aircraft

     May 24, 2010 - Had conference call with Mr. Kennedy to discuss next steps in presenting
     technology to Israeli officials as well as proposed financial te1ms to me to help move the process
     along.

     May 31, 2010 - Dennis Montgomery forwarded a decoded transmission to me allegedly showing
     the movement ofVX gas and Anthrax through Syria and the Golan Heights into Israel.

                                                                                      Tl EXHIBIT: 9
                                                                                      DEPONENT: D. MONTGOMERY
                                                                                      PAGl;S: 2
                                                                                      DATE: November 18, 2010
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   June 1 , 2010 - Had follow up call with Mr. Kennedy to see how call with Dennis went and to see
   if we could move forward with Israeli government

   June 2, 2010 - Had follow up call with Dennis where he reiterated all the applications of his
   technology and the need to get this in front of the Israelis ASAP.

   Jtme 14, 2010 - Was made aware by Israeli government officials of similar approach by Dennis
   Montgomery several years earlier

   June 29, 2010 - Contacted Tim Blixseth after his family name was raised in conversations here in
   Israel

   June 29, 2010 - Received call from an irate Demus Montgomery claiming government
   conspiracies and proclaiming his innocence.

   Agent West, a few things are clear. Mainly, Demaratech made it very clear to me their desire to
   sell tlris proposed technology to tl1e Israeli government. I do NOT have any information if Mr.
   Kennedy is aware of Mr. Montgomery's swindling although he is aware of all the allegations.

    Please let me know if I can be of fmiher assistance.




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                             Exhibit 81
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                        EXHIBIT J
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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA


    DENNIS L. MONTGOMERY

                                  Plaintiff,
                                                                 Civil Action No. 1:15-cv-20782-JEM
               v.


    JAMES RISEN, ET AL.,

                                 Defendants.


         DECLARATION OF PLAINTIFF DENNIS MONTGOMERY, IN SUPPORT OF
               PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION
               CHALLENGING FLORIDA JURISDICTION AND VENUE

    Pursuant to 28 U.S.C. §1746, I, Dennis Montgomery, hereby declare under penalty of perjury

    that the following is true and correct:

           1) I am over the age of 18 years old and I make this affidavit on personal knowledge and

               belief. I am mentally and legally competent to make this affidavit sworn under oath,

               despite having suffered a brain aneurism and serious related health issues. See

               Exhibits 9, 10, 11, attached to this affidavit.

           2) Reporter James Risen of The New York Times and publisher Houghton Mifflin

               Harcourt Publishing Company published a book Pay Any Price: Greed, Power and

               Endless War in October 2014 (hereafter “the Book”).

           3) In Chapter 2 of the Defendants’ Book, James Risen and Houghton Mifflin Harcourt

               Publishing Company lie about me and my work and libel me extensively.

           4) Chapter 2 involves me and James Risen focuses almost exclusively on defaming me

               alone to sell copies of the Book in marketing interviews. Having read the book, I am
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             its centerpiece, that is, Defendants “punching boy” to sell books. Risen conspicuously

             ignores the many other events and incidents in the Book and focuses almost

             exclusively on me when promoting his book for sales in Florida and elsewhere.

          5) Whereas, the Defendants, especially Houghton Mifflin Harcourt Publishing

             Company, have great resources and no doubt have “errors and omissions” insurance

             to finance their legal defense, I have no money or resources at all. I lost my house in

             foreclosure. The Defendants will be able to afford to litigate the claims in Florida.

          6) My finances, employment, career and business opportunities have been severely

             devastated and destroyed by the false and misleading statements made by the

             Defendants, contributing to the loss of my previous house in foreclosure and driving

             me into poverty just at the time I have also been diagnosed with serious medical

             problems.

          7) The Defendants’ published defamatory and false and misleading statements which are

             not opinion or hyperbole and are not fair reporting of their sources or public records.

             The defamation is specifically false and misleading in factually verifiable terms,

             including in that:

                 a. Defendants published defamatory material and statements from confidential

                    government sources in the intelligence and military communities. The false

                    and misleading statements did not result from fair reporting of previously

                    published material. They admit this on page ix of the Book stating, “Many

                    people have criticized the use of anonymous sources. Yet all reporters know

                    that the very best stories – the most important, the most sensitive – rely on

                    them. This book would not be possible without the cooperation of may current




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                   and former government officials and other individuals who were willing to

                   discuss sensitive matters only on the condition of anonymity.” Indeed, this is a

                   big selling point of Defendants’ book. It publishes new information, however

                   defamatory, that had not been accessible or published before. This is why the

                   Book is a bestseller in Florida and elsewhere, particularly given that Florida is

                   at the center of U.S. Government counterterrorism military and intelligence

                   operations, as I testify to below.

                b. The Defendants actually know that their U.S. Government sources are the

                   ones who will bear the public blame for their own poor decisions if they do

                   not shift the blame implausibly to me with the Defendants’ concerted help.

                c. Defendant James Risen intentionally omitted several important facts while

                   fabricating defamatory statements and stories about me.

                d. The Defendants actually knew that Warren Trepp received most of the money,

                   yet accuse me of fraud to obtain money while excusing politically-connected

                   Warren Trepp who took and kept the money and controlled the company.

                e. The Defendants’ falsely and misleadingly state that I fabricated intelligence to

                   make money. In fact, eTreppid was paid for software work and analysis, not

                   contingent upon results or conditional upon finding any terrorist threats. Our

                   work was complete and payment due merely for doing the analysis the CIA

                   and other Government officials asked us to do.

                f. My software and technology did work, does work, and is still being used

                   successfully by the U.S. Government today.

                g. The Defendants actually know that Warren Trepp has never paid back any of




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                   the $30 million that eTreppid received from the U.S. Government nor offered

                   to pay any of it back nor has the U.S. Government asked for any of the money

                   back. Therefore, James Risen actually knows that his defamation of me is

                   false and misleading. If eTreppid received $30 million from the U.S.

                   Government for the use of my software and technology that was a purported

                   fraud or a hoax, eTreppid would have to pay the money back to the U.S.

                   Government. But the U.S. Government knows that my software and

                   technology actually worked and works and is valuable, which is why eTreppid

                   does not have to pay any of the $30 million back.

                h. In fact, the Defendants ignore and intentionally omit my ten (10) patent

                   applications, which attest to and show my expertise.

                i. The U.S. Government independently tested and verified the results of my

                   software and technology and did not rely upon my word alone. The U.S.

                   Government officials sought me and my technology out.

                j. The data detected by my software and technology did predict actual terrorist

                   incidents and/or meetings in advance.

                k. I could not have fabricated intelligence from my work, as Defendants defame

                   me, without being certain that no one else would independently verify my

                   work in any number of other ways available to the CIA, NSA, and military.

                l. I and the companies I worked with had equal or better opportunities to provide

                   my services to private sector companies, and had no need to work for the U.S.

                   Government to make the same amount of money or less.

                m. I was motivated by patriotism, not greed, in turning down equivalent




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                   opportunities to provide services to the private sector to answer requests for

                   help in the war on terror by the U.S. Government.

                n. The Central Intelligence Agency (“CIA”) wanted experts to analyze Al Qaeda

                   videos.

                o. It was the CIA who proposed to eTreppid that we would analyze Al Qaeda

                   videos. The defamation of me states that I fraudulently sold the CIA and U.S.

                   Government on a fantasy using fabricated intelligence. In fact, the CIA and

                   the U.S. Government approached us with what they wanted analyzed.

                p. The Defendants actually knew that Warren Trepp closed the “sales” of

                   contracts by persuading the U.S. Government, yet falsely accuse me of selling

                   a fantasy of fabricated intelligence to the U.S. Government, while excusing

                   Trepp, as a fraudulent scheme to obtain money.

                q. Defendants’ falsely state that I persuaded the President George W. Bush to

                   ban international passenger aircraft from entering U.S. airspace and nearly

                   shoot down passenger aircraft. However, I never provided any interpretation

                   of what the hidden data we uncovered meant. We merely provided the

                   uncovered data to the U.S. Government experts for their interpretation. Even

                   when pressed, I refused to offer any national security interpretation of the

                   data.

                r. As obvious from the records and documents that the Defendants rely upon, the

                   Defendants’ so-called sources Michael Flynn, Tim Blixseth, and Warren

                   Trepp went to extraordinary and expensive legal and extra-legal (self help)

                   efforts to furiously get ownership of my work as being extremely valuable,




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                   while simultaneously stating that my work had no value.

                s. Michael Flynn, Tim Blixseth, and Warren Trepp were attempting to invoke

                   the fraud exception to bankruptcy laws to invalidate my bankruptcy, and

                   therefore the Defendants knew that they had motives to fabricate or embellish

                   their false statements against me.

                t. The public records that the Defendants claim to be relying upon – though

                   voluminous – overwhelmingly contradict the Defendants defamation of me.

                u. On September 28, 1998, I and Warren Trepp co-founded eTreppid

                   Technologies (“eTreppid”) based on a “Contribution Agreement” of that date

                   in which we agreed to own the LLC in equal 50% shares. Trepp put up money

                   and I conveyed his “software compression technology contained on CD No.

                   1” to eTreppid. The business plan of eTreppid and the application of the

                   “compression technology” were to compress VHS videotapes used for

                   surveillance in casinos for archiving and more efficient storage. Over the

                   preceding 20 years I developed and copyrighted other types of software

                   technology, including but not limited to “Object Detection Software” which is

                   a crucial component of, among other things, colorizing black and white

                   movies. In order for the computer to add color, it must be able to recognize

                   individual objects in the movie which are moving in three dimensions, (that is

                   moving toward or away from the camera and changing in apparent size),

                   aspect angle, orientation, etc. This was not conveyed to eTreppid and which,

                   per the terms of the “Contribution Agreement”, was expressly excluded.

                   Shortly after the formation of eTreppid, I offered to sell one part of his




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                     “Object Detection System” (“ODS”) software to Warren Trepp for the sum of

                     $10 million dollars, which Trepp rejected.

                 v. As reflected in a form SF-95 Attachment A prepared by me with my then

                     attorney Michael Flynn for presentation to the Government, “Beginning on or

                     about November 2002, on behalf of the US Air Force, Montgomery began

                     work on military applications of his technology at Eglin Air Force base [in

                     Florida] to demonstrate the application of his technologies in the war on

                     terror.”

                 w. Defendants make the technically absurd and false statement that “The French

                     company said that there were simply not enough pixels in the broadcasts to

                     contain hidden bar codes or unseen numbers,” only by falsely misrepresenting

                     that the data was contained only in the “crawl” at the bottom of the screen.

                     This falsified and misleading misdirection and deception to focus only on the

                     crawl is deceptive. It is patently unbelievable, which Defendant Risen should

                     have known as an expert in national security, that a television signal could not

                     contain such simple data as latitude and longitude coordinates, consisting of

                     only six numbers and two letters (East or West longitude, North or South

                     latitude).

          8) I am a citizen of the State of Florida, with a residence in an apartment community in

             Miami, Florida. I have a Florida telephone number in this district. I am reporting my

             address and Miami-Dade, Florida phone number under seal.

          9) I am registered to vote in Florida, as shown in Exhibit 1, attached to this affidavit. I

             previously had a temporary address while settling on the permanent address that I




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             have now. I have updated my voter registration to reflect my current Miami address.

          10) I have reviewed the affidavit of defense counsel Laura Handman attached to the

             Defendants’ motion stating that I had not registered to vote in Florida. The

             Defendants’ affidavit is false. I am registered to vote in the State of Florida, and am

             now updating my voter registration with my new address. I was registered to vote in

             Florida when Ms. Handman signed her affidavit. She misled this Court.

          11) I found on the website of the publisher Houghton Mifflin Harcourt, that Houghton

             Mifflin Harcourt Publishing Company maintains permanent and general offices in

             Orlando, Florida at 9400 Southpark Center Loop, Orlando, Florida 32819. Exhibit 2,

             attached to this affidavit, which I downloaded from the Defendant publisher’s website

             at http://www.hmhco.com/about-hmh/our-offices. These are statements made by the

             Defendants about themselves.

          12) On the website of the Florida Department of State Division of Corporations, I found

             that Defendant Houghton Mifflin Publishing Company is registered to do business in

             Florida through the Florida Department of State Division of Corporations. Exhibit 3,

             attached to this affidavit, which I downloaded from the Florida Department of State’s

             website.

          13) As shown in those Florida Government documents, in 2008 Defendant changed its

             name from “Houghton Mifflin Harcourt” to “Houghton Mifflin Publishing

             Company.” Id. These are statements made by Defendants about themselves.

          14) My research of the publisher also uncovered that Defendants rely significantly upon

             sales in the Southeast of the United States through a company “Amazon” for very

             substantial sales over the internet. Amazon’s regional distribution centers or




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            “fulfillment centers” are located in Ruskin, Florida in Hillsborough County and

            Lakeland, Florida, in Polk County. See Exhibit 4, attached to this affidavit.

         15) Much of the defamation which my lawsuit contests is contained within the physical

            product physically shipped into Florida for sale, the Book written by James Risen and

            published by Houghton Mifflin Harcourt Publishing Company.

         16) In 2012, Edra Blixseth brought Chris Pipes, from the U.S. Special Operations

            Command (“SOCOM”) from MacDill Air Force Base in Florida to our Palm Desert

            offices. SOCOM was interested in pursuing object tracking, mass surveillance, and

            research on cloaking technologies. Chris Pipes met at our facility, with a

            representative of the CIA. While he was in our building, Chris Pipes then received a

            telephone call from SOCOM in Florida, and then told us that SOCOM could not

            pursue the technology because of what was written about me in the news media.

            Exhibit 18, attached to this affidavit.

         17) SOCOM is the Unified Combatant Command charged with overseeing the various

            Special Operations Component Commands of the Army, Air Force, Navy and Marine

            Corps of the United States Armed Forces. The command is part of the Department of

            Defense and is the only Unified Combatant Command legislated into being by the

            U.S. Congress. SOCOM is headquartered at MacDill Air Force Base in Tampa,

            Florida. See, Exhibit 12, attached to this affidavit.

         18) U.S. Central Command (“CENTCOM”) is a theatre-level Unified Combatant

            Command of the U.S. Department of Defense, established in 1983. CENTCOM Area

            of Responsibility includes countries in the Middle East, North Africa, and Central

            Asia, most notably Afghanistan and Iraq. CENTCOM has been the main American




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            presence in many military and intelligence operations. It is headquartered in Tampa,

            Florida. See, Exhibit 12, attached to this affidavit.

         19) The Defendant author James Risen actually knew or should have known that most of

            my work was with U.S. Government organizations in Florida and the contracting

            offices for my work are in Florida. A competent Pulitzer Price winning New York

            Times reporter who wrote the Book over a four-year period from 2011 through 2014

            would have reviewed the Wall Street Journal article from November 1, 2006,

            attached, which includes the explanation:

                                       Source of Secret Funds

                One source of secret funds for eTreppid and other companies
                is the Special Operations Command. Based in Tampa, Fla., the
                command fields special-operations military and intelligence
                forces around the globe and is at the forefront of the fight in
                Iraq and Afghanistan. It has also been rocked by a criminal
                investigation of a former contracting officer. The investigation
                is continuing, according to a spokesman for the U.S. attorney
                in Tampa.

                In a separate inquiry, Pentagon investigators last year found
                evidence that the command kept special accounts for "unrequested
                congressional plus-ups," or earmarks. The plus-ups were used to
                reward lawmakers with projects in their districts, according to
                declassified investigators' notes reviewed by The Wall Street
                Journal. The Pentagon's inspector general closed the inquiry after
                finding that the accounts weren't illegal.

                Mr. Trepp said eTreppid won classified work on its merits and
                already had a number of government contracts before Mr. Gibbons
                starting making introductions on the company's behalf. Mr.
                Gibbons's campaign manager, Robert Uithoven, said the
                congressman has been a strong supporter of new defense
                technology, particularly after 9/11. But he said there was "no quid
                pro quo whatsoever" for contributions from contractors. And while
                some funding was secret, "it was because of the sensitive nature of
                the work," Mr. Uithoven said, not to avoid public scrutiny.




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                For Mr. Trepp, eTreppid's success at winning multimillion-dollar
                federal contracts marks a comeback from his Drexel days. He sat at
                Mr. Milken's right arm on the firm's famous X-shaped trading desk
                in Beverly Hills, sometimes trading as much as $2 billion in
                securities a day. Federal regulators filed a civil securities-fraud
                claim against him in 1995, and a Securities and Exchange
                Commission administrative judge found that his violations had
                been "egregious, recurring and intentional." But she dismissed the
                proceeding against him, noting that the allegations were old and he
                had left the securities business years earlier. (Emphasis added).

         20) This article and dozens of others, as well as court documents, caused Risen to know

            or he should have known upon reasonable inquiry over four years that Warren Trepp

            was furiously trying to take ownership of my software and technology, which directly

            calls into question his self-serving false statements that the software and technology

            he was trying to acquire rights to was worthless. The same article also reports:

                Mr. Gibbons also got other, unreported gifts of cash and casino
                chips from Mr. Trepp, according to sworn testimony in a civil
                lawsuit brought by a former executive at eTreppid, Dennis
                Montgomery. The suit, filed in February in federal court in Reno,
                involves a dispute between Messrs. Trepp and Montgomery over
                the rights to certain software code . . .

                The suit has raised alarms in Washington because of concern that
                national secrets will be revealed if it goes to trial. For example, one
                of the entities that funded eTreppid is code-named Big Safari and
                is a classified program, documents in the case show. The nation's
                top intelligence official, John D. Negroponte, recently filed a
                statement with the court seeking to seal the case. He wrote that
                after personally reviewing the matter, he has concluded that
                disclosure of some information connected with the case could do
                "exceptionally grave damage" to national security.

         21) My greatest opportunities for employment, business, and/or an income are at either

            Macdill Air Base near Tampa, Florida and Eglin Air Force Base near Fort Walton

            Beach, Florida, which is at the center of U.S. Government intelligence and

            counterterrorism operations. See Exhibit 12, attached to this affidavit.




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         22) As a result, I have settled in Florida not just for professional reasons but also because

            of my failing health and desire to enjoy Florida at this stage in my life. Florida has no

            personal income tax as well as a Homestead exception should I buy a home. Florida is

            a great place to live.

         23) In 2011, I incorporated a business with a partner in Florida to contract with the

            military and U.S. Government at bases in Florida to continue the same type of

            services and software and technological work that I had performed under eTreppid

            and BLXWARE. This business was named Alex James LLC, which I incorporated

            through the “Legal Zoom” service company. I set up the articles of incorporation,

            paid for and set up this company. Judy Crowhurst is the woman I chose to run it.

            Exhibit 17, attached to this affidavit.

         24) Exhibit 5, attached to this affidavit, presents the papers I processed through the

            “Legal Zoom” company and my payment information paying for the company in

            Florida in 2011.

         25) As an expert in national security issues, Defendant James Risen knows that the war in

            Afghanistan was and is run largely from Florida electronically and by drone

            controllers located in Florida. For instance, following September 11, 2001, General

            Tommy Franks rarely set foot in Afghanistan and fought the war from U.S. Air Force

            Bases in Florida, including from SOCOM and CENTCOM. This explains my work

            with SOCOM and CENTOM in large part and why it continued there.

         26) Defendant James Risen also knows that the U.S. military leadership and personnel are

            concentrated mainly in Florida. Because U.S. military servicemen can choose their

            state of residence despite being deployed elsewhere, Florida’s lack of an income tax




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            makes Florida a very attractive State for U.S. servicemen, often poorly paid. As a

            result, most of the nation’s top military leaders, current and former servicemen, chose

            Florida as their residency.

         27) Defendant Risen knew in publishing the Book that Florida is an enormous market as

            the nation’s now third largest State, including Florida’s significant military and

            intelligence and counterterrorism personnel, with many retirees (including retired

            U.S. Government employees in the military and intelligence fields) with more time to

            read books than the average American. For instance, former Secretary of Defense

            Donald Rumsfield now lives in Florida, as well as former Chairman of the U.S.

            Senate Intelligence Committee and CIA Director Porter Goss, who lives in Miami.

         28) The team on which I worked had contracts directly with the intelligence agencies at

            the military bases in Florida. I have video showing the work. The contracting

            officers are out of those military bases, many of which are classified. I met and

            worked with CIA officials in Florida at various military bases. However, I cannot

            identify here the exact units stationed at those bases, which is classified information.

            Exhibit 19, attached to this affidavit.

         29) We at eTreppid and later BLXWARE did most of our work with units stationed at

            MacDill Air Force Base and Eglin Air Force Base, whose identity is secret. See

            February 14, 2004, “Order for Supplies or Services” attached, with the “Ship To”

            address of UQ USSOCOM/SOAL-SP (Mohr), 7701 Tampa Point Boulevard, MacDill

            Air Force Base, Florida 33621.

         30) Most of the payments for our work, the work I did for eTreppid and later

            BLXWARE, came out of the CIA offices in Florida and SOCOM, the U.S. Special




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            Operations Command of the U.S. military at Macdill Air Force Base, Florida.

         31) SOCOM of the U.S. military is located at 7701 Tampa Point Boulevard, MacDill Air

            Force Base, Florida. See Exhibit 6, attached to this affidavit.

         32) CENTCOM of the U.S. military is located at MacDill Air Force Base near Tampa,

            Florida. See Exhibit 7, attached to this affidavit.

         33) Relating to my work conducting surveillance of international communications, major

            fiber optics cables run from Florida across the ocean, which is partly why my work

            opportunities for my experience and capabilities are in Florida.

         34) I intend to call witnesses who can testify that my defamed software and technology

            does indeed work and is not a hoax. These witnesses are personnel based at Macdill

            Air Base near Tampa, Florida and at Eglin Air Force Base near Fort Walton Beach,

            Florida, where I did a lot of his work. The organizational units housed at Macdill and

            Eglin used my software, technology, and work extensively during the time period

            addressed by Defendants’ defamation of me. Those witnesses will testify and thus

            help me prove that the defamatory statements about me are indeed false and

            misleading.

         35) Relevant officials at Macdill and Eglin (and all facilities that my work has provided

            services to anywhere) make their own contracting decisions and do not rely upon

            contracting offices in Washington, D.C., nor even at the CIA in Langley, Virginia, the

            Pentagon in Arlington, Virginia, or the NSA in Fort Meade, Maryland.

         36) Many of the witnesses in this case, with whom I have worked, are largely in Florida,

            including, but not limited to:

                Goss, Porter, former Director of CIA, now in Miami, Florida




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               Johns, Ken, Macdill AFB, Florida

               Lyons, XXXXX, Macdill AFB, Florida

               Macbeth, W. Rhys, Eglin AFB, Florida

               Nazelrod, Craig, Eglin AFB, Florida

               Pipes, XXXXX, Macdill AFB, Florida

               Roche, James, Macdill, Florida

               Rumsfeld, Donald, now in Florida

               Stillman, Phillip, Attorney for Dennis Montgomery, now in Miami, Florida

               Madden, Tom, Boca Raton, Florida

               Olivia, Adrian, Eglin AFB, Florida

               Bartholomew, Mary L, Eglin AFB, Florida

               Fiamengo, Nicholas A, Eglin AFB, Florida

               Freeman, Gregory J, Eglin AFB, Florida

               Savage, Cynthia, Eglin AFB, Florida

               McCool, John C, Eglin AFB, Florida

               Temple, James K, Eglin AFB, Florida

               Griffin, Susan M., Macdill AFB, Florida

               Russell, Deborah, Macdill AFB, Florida

               Nettelhorst, Doug M, Macdill AFB, Florida

               Stallworth, Hugh T, Macdill AFB, Florida

               Bob McCaskey, Macdill AFB, Florida

               Crutchfield, Chris, Macdill AFB, Florida

               Melnyk, Michael S., Macdill AFB, Florida




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                Lopez, Tina M, Macdill AFB, Florida

                Cerny, Jeffrey D., Macdill AFB, Florida

                Muccio, Anthony B., Eglin AFB, Florida

                McKinney, Scott E Lt.Col., Eglin AFB, Florida

                Purvis, Brad Civ, Eglin AFB, Florida

                'Kirsch, Jim', Eglin AFB, Florida

                Hughes, Stacey L, Eglin AFB, Florida (See Exhibit 13, attached to this affidavit).

         37) Ultimately, I became aware that James Risen had published these false reports in the

            Book and that Risen was conducting a nationwide publicity campaign to sell the

            Book.

         38) I heard and watched James Risen repeatedly in national and radio interviews

            discussing his book but primarily about me, mostly ignoring and intentionally

            omitting the rest of his Book in those interviews while attacking and defaming me as

            a private individual.

         39) In radio, television, and newspaper interviews, James Risen mainly focused on

            slandering me in order to sell the Book in Florida and elsewhere.

         40) Risen’s appearances on radio and television were not just commentary but attempts to

            stimulate the sale of books inside Florida and elsewhere.

         41) Risen was speaking on the radio and television shows in order to move books off of

            Florida bookstore shelves and to the checkout counters in Florida and elsewhere.

         42) The defamation by Defendants of me is not a criticism of the U.S. Government in the

            District of Columbia, but excuses the U.S. Government as an innocent and

            unsuspecting victim, while blaming me. Therefore, the U.S. Government has not




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            suffered harm within Washington, D.C.

         43) I had relatively little contact with the U.S. Government in Washington, D.C.,

            Maryland or Virginia. It was the companies that I worked under, eTreppid and later

            BLXWARE, who contracted with regional offices at various U.S. Government bases

            or facilities. I interacted almost entirely with technical people pursuant to the

            contracts.

         44) It was Warren Trepp and later Edra Blixseth who used their contacts with the U.S.

            Government to seek and arrange contracts for our work. I did not persuade the U.S.

            Government to hire me, Trepp and Blixseth did. My own interaction with offices or

            officials in Washington, D.C. was very limited because I was not the one running the

            companies nor primarily interacting with the U.S. Government.

         45) Starting as early as 2011, I was contacted by James Risen asking about my secret

            work under contract for the U.S. Government in support of anti-terrorism efforts.

         46) I see that in James Risen’s Declaration attached to the Defendants’ Motion to

            Dismiss, Risen states that he has been working on the Book since 2011.

         47) I continually provided numerous warnings, in writing, to James Risen that the false

            statements he mentioned and later published in October 2014 in the Book are false.

         48) However, James Risen attempted to blackmail me by demanding that I provide

            classified documents and information to him or else he would publish the false and

            misleading statements that he later did publish in the Book. That is, when I warned

            him that the reports were false and misleading, James Risen responded to me by

            telling me that he would not publish those false statements if instead I provided him

            with classified information and documents. That is, James Risen demanded that I




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            commit multiple crimes as the price for Risen not publishing the false and misleading

            reports about me. Of course, I refused to be blackmailed into breaking the law as the

            price for not being defamed.

         49) Writers Aram Roston and James Risen were both after John Brennan’s information.

            They both knew that I had worked for John Brennan. Both wanted his emails.

         50) Roston and Risen published false and defamatory information about me to try to

            pressure me into releasing classified information about John Brennan and others in

            the war on terror to them as the price for them telling the truth.

         51) However, Roston and Risen knew that my work was real and legitimate, because they

            sought to obtain secret and classified information from Brennan from me.

         52) Roston and Risen published defamation about me to punish and pressure me for not

            illegally disclosing classified information and material to them.

         53) In both cases, I told Risen and Roston I would have to turn over classified

            information, a road I wasn’t willing to go down. I was never what they were after.

            They were writing these stories to hurt me so that I would provide classified

            information about the various administrations. I was just their pawn.

         54) Attached to this affidavit as Exhibit 8 are a few of my communications to James

            Risen informing him in advance of the publication of the Book that his statements

            were not only false but preposterous and that his sources were clearly unreliable.

         55) In fact, on November 1, 2012, discussing the Book that he was then writing, I warned

            James Risen under the email address “TheAgencyInsider@Hotmail.com” that his

            reporting was false including because Warren Trepp was the CEO of eTreppid and

            kept all the money. See Exhibit 8, attached to this affidavit.




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         56) Risen also promised in that same email thread: “If you give us the Brennan emails,

             we will write a story.” See Exhibit 8, attached to this affidavit.

         57) However, this response was in the context of a long back-and-forth discussion

             concerning the falsehood of Risen’s false and misleading statements against me.

         58) Risen also promised in the attached email thread: “As I said on the phone, I protect

             my sources. I will never divulge the identify of my sources in a leak investigation.

             But I also have to know that the source is telling me the truth. Jim”

         59) So Risen admitted that it was his professional responsibility to determine that the

             sources he used to defame me are telling the truth. But Risen did not do that. The

             sources he relied upon were obviously not telling the truth, as is patently obvious.

         60) I warned James Risen concerning the falsehood of his reporting in that November 1,

             2012, email thread, attached:

                 There is a reason the CIA and NSA were there, you must know
                 that.

                 Do you really think the government invoked the State Secrets
                 Privilege from being embarrassed or conned? Negroponte in his in
                 camera declaration, if ever released, was spell it all of out.

                 They government never wanted information to come out regarding
                 the other work. The program started out spying on terrorist, and
                 under Obama quickly moved to spying on Americans!! A program
                 which was started by Brennan in 2003 and continues to this day.
                 This technology is being used today to spy on Americans,
                 including candidate Romney.

                 I don't see you ever publishing that information? See Exhibit 81,

         attached to this affidavit.



  1
   While my counsel turned over these initial disclosures to Defendants’ counsel, Defendants did
  not turn over initial disclosure documents to my counsel in violation of the Court’s Order of
  April 1, 2015. I have asked my counsel to file a motion for order to show cause.

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         61) Furthermore, this November 1, 2012, exchange concerning Risen’s plans writing the

            Book which was eventually published on October 14, 2014, was seven (7) months

            before the revelations by Edward Snowden that mass surveillance of Americans was

            occurring. Therefore, Risen actually knew in 2013 that I was telling the truth and was

            being lied about by his so-called sources. My discussions with James Risen on

            November 1, 2012, were proven true in mid-2013. Therefore, Risen had actual

            knowledge that I was indeed a whistleblower and that the sources he relied upon were

            falsely discrediting me to cover up wrong-doing. In this, of course, Pulitzer Prize

            winning New York Times reporter James Risen intentionally and falsely omitted the

            real story.

         62) I made it clear to James Risen, in the phone call referenced in the email, that the

            Obama administration used mass surveillance technology to alter the 2012 election in

            Florida, and that they will use the technology again in 2016.

         63) In June of 2012, in a telephone call, I told James Risen and Eric Lichtblau that their

            information about me in their 2011 New York Times story was incorrect, and they

            needed to correct it. I also made it clear that I was under a federal court Protective

            Order in Nevada, and a State Secrets Privilege order by the Director of National

            Intelligence not allowing me to discuss my work. In addition, there were sealed

            documents still in the Nevada case. I also made it clear, that the State secrets

            privilege was also issued, to protect the work I did on domestic surveillance. I told

            them I knew they met with my ex attorney Mike Flynn, for several days, in regards to

            their story, and suggested, he had other motives for his conduct.

         64) I also made it clear in June of 2012 that I had a brain aneurysm that was going to be




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            repaired soon, and a risky procedure, and wanted my name cleared in case I died.

         65) Therefore, the Defendants believed they could get away with their defamation

            because I would probably die in the meantime.

         66) In 2013, going over Risen’s and Lichtblau’s heads, I sent emails directly to the editors

            of The New York Times telling them their story was wrong and to retract it.

         67) I sent an email to the Editors of The New York Times, demanding that they correct

            the false reporting about me in 2012.

         68) I believe that The New York Times conveyed my emails requesting a retraction of the

            false statements to James Risen.

         69) In 2012-2014, on at least 10 different occasions I made it clear to Aram Roston of

            Playboy that his story was wrong and told him to retract it.

         70) Carlotta Wells, a U.S. Department of Justice attorney assigned to matters involving

            me, told me that if I talk to the press or leaked information, I will be charged with

            treason for disclosing my work with the NSA and CIA. She told me when I signed

            my Top Secret clearance, I forfeited my right to protect my first amendment rights.

         71) Carlotta Wells additionally said that “If the US Government wants to leak false

            information to the press to hide successful work, and to confuse terrorist groups, they

            will do it irrespective of my rights. Deal with it!”

         72) Carlotta Wells also stated to me and Jack Kemp, about my legal matters with the CIA

            that “I [Carlotta Wells] am just a foot solder doing what I am told of to do from the

            White House. I don’t agree with their strategy, but that is the way it is.” Jack Kemp

            replied, “You are a senior litigation attorney for the DOJ, hard for me to believe that

            you were listening to them.” Carlotta Wells in turn replied “Take it up with you




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             friend George Bush.”

         73) I am personally aware that, through my counsel, two separate letters were sent to

             executives at Houghton Mifflin requesting a retraction of the false and misleading

             publication.

         74) The first letter was sent on January 14, 2015 to Linda K. Zecher, President and Chief

             Executive Officer and Director of Houghton Mifflin Harcourt, William Bayers,

             Executive Vice President and General Counsel, and Houghton Mifflin Harcourt

             located in Boston. See Exhibit 14, attached to this affidavit.

         75) The second letter was sent on February 13, 2015, pursuant to Florida Statute § 770.02

             again requesting a retraction of the false and misleading published statements. See

             Exhibit 15, attached to this affidavit.

         76) On January 20, 2015, I, through my counsel, received a letter from David Eber,

             cc’ing James Risen and William Bayers, declining to redact the false and misleading

             statements and also declining to meet my counsel to resolve matters amicably. See

             Exhibit 16, attached to this affidavit.

         I hereby swear under oath and penalty of perjury that the foregoing facts are true and

  correct to the best of my personal knowledge and belief:




  April 27, 2015


                                                        //Dennis Montgomery//

                                                        Mr. Dennis Montgomery




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                  Voter Registration as of: 4/7/2015    Republican: 4,183,006       Democrat: 4,613,370       Other: 3,212,454      Total: 12,008,830




                                                           Check Your Voter Status
                                                 Verifique su estado como votante
                 Below is your voter information as it appears on your voter record.


                 A continuación encontrará sus datos de votante según nuestros registros.


                 Full Name
                 Nombre completo : DENNIS LEE MONTGOMERY                                         The following 2 links will take you to your
                                                                                                 County's Supervisor of Elections Website
                 Street Address                                                                  where you can get additional information
                 Dirección :                                                                     on:

                 City                                                                            Los siguientes dos vínculos lo
                 Ciudad : MIAMI                                                                  conectarán con el Sitio de su Supervisor
                                                                                                 de Elecciones del Condado para obtener
                 Zip Code                                                                        información sobre:
                 Código postal :

                 County Name                                                                               Your Absentee Ballot Status. /
                 Condado : MIAMI-DADE                                                            Estado como votante en ausencia.
                 Voter Gender                                                                              Your Precinct Location. /
                 Género del votante : Male
                                                                                                 Localización de su Distrito.
                 Date Of Registration
                 Fecha de inscripción : 02/23/2015

                 Party
                 Partido : Republican Party Of Florida

                 Voter Status
                 Calificación como votante : Active*


                *An active voter refers to a registered voter who is eligible to vote.
                *El votante activo es un votante inscripto en el padrón, que cumple con los requisitos necesarios para votar.


                                                                    New Search / Nueva búsqueda




                                         If you are experiencing a problem with this web site please email BVRS Help for assistance.
                        Si tiene problemas con esta página web por favor contáctese por correo electrónico BVRS Help con la División de Elecciones.

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http://registration.elections.myflorida.com/CheckVoterStatus                                                                                            4/13/2015
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                           Exhibit 4
Amazon confirms fulfillment centers in Ruskin, Lakeland | Tampa Bay Times            Page 1 of 2
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Amazon confirms fulfillment centers in Ruskin, Lakeland
             Susan Thurston, Times Staff Writer


Tuesday, October 22, 2013 4:56pm

TAMPA — Online retailer Amazon confirmed Tuesday that it will open a 1-million-square-foot distribution
center in Hillsborough County and announced plans for a second, similar warehouse about an hour away in
Polk County.

The announcement came nearly two weeks after Hillsborough officials said the retailer had completed a real
estate deal for a center in Ruskin, and it ended speculation about whether Amazon wanted two facilities so
close to each other.

Amazon said the centers will process different kinds of orders from customers.

The Ruskin center will pick, pack and ship small items, including books, electronics and consumer goods. A
center to be located on Lakeland will ship large goods such as kayaks and televisions.

Seattle-based Amazon said it would create more than 1,000 full-time jobs at the centers with health care, stock
awards and other benefits. It didn't say when the distribution centers would open or when they would start
hiring.

Site work has already begun on the Hillsborough location at Interstate 75 and State Road 674, and at the
Lakeland location at 1760 County Line Road.

"We appreciate the state, city and county officials who have worked with us to bring these fulfillment centers to
Florida,'' said a statement from Mike Roth, Amazon's vice president of North America operations. "We're
excited to join the community, bringing great jobs and investment to the area."

Gov. Rick Scott announced in June that Amazon would invest $300 million in new warehouses and hire 3,000
people as part of a deal that would eventually require Amazon to charge Florida customers sales tax on
purchases. Currently, those taxes are not collected on purchases because Amazon doesn't have a physical
presence in the state.

But the issue of online sales taxes is being debated in other states and could be resolved nationally by Congress
or courts.

In a statement Tuesday, Scott applauded Amazon for choosing Florida for its new warehouses, known as
fulfillment centers.

"I would like to thank Amazon for recognizing that Florida's business-friendly environment we've helped create
is the perfect place for their latest expansion," he said.




http://www.tampabay.com/news/business/retail/amazon-confirms-fulfillment-centers-in-hil... 4/17/2015
Amazon confirms fulfillment centers in Ruskin, Lakeland | Tampa Bay Times            Page 2 of 2
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Amazon spokeswoman Kelly Cheeseman said the centers combined would employ more than 1,000 full-time
workers but didn't have an exact figure. Amazon prefers to hire full-time workers but may employ part-timers
who request it, she said.

Thousands more could work at the centers as seasonal employees to handle the holiday shopping rush.

Both Hillsborough and Polk counties lured Amazon with financial incentives. Hillsborough approved $6.4
million in property tax breaks over seven years and $1.1 million in payments to Amazon for bringing 375 above-
average paying jobs. Polk okayed a $4.5 million package that would require Amazon to create at least 100 high-
paying jobs and make a minimum investment of $10 million.

Founded by Jeff Bezos, Amazon is expected to post $75 billion in revenue this year — but not a lot of profit.

Despite its stock reaching a record high, Amazon lost money last year. Analysts expect another loss when the
company releases third-quarter results Thursday.

By contrast, McDonald's restaurants this week reported a $1.52 billion profit for the quarter.

Information from the New York Times supplemented this report.

Amazon confirms fulfillment centers in Ruskin, Lakeland 10/22/13
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                                        Healing Afghanistan: A Soldier’s Story
   JUNCTION, Texas – More than 10,000 miles away from home, four Afghan National Army wounded soldiers sit with their sergeant major and
    some American men and women in the heart land of America for a weeklong seminar, March 31- April 3, 2015, to learn skills that will better
                                  enable them to take care of their Afghan brothers wounded in combat.




                                                                                    Headquarters, United States Special Operations Command
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    From:           james risen
    To:             Sectec Astronomy
    Subject:        Re: Agency
    Date:           Thursday, November 01, 2012 1:44:59 PM



   If you give us the Brennan emails, we will write a story

   On Thu, Nov 1, 2012 at 4:34 PM, Sectec Astronomy <theagencyinsider@hotmail.com>
   wrote:
    Hard to imagine that you guys would ever report on anything negative regarding
    Obama?

      DM made it clear who was at the building, and why they were all there. There is a
      reason the CIA and NSA were there, you must know that.

      Do you really think the government invoked the State Secrets Priviledge from beiing
      embarrassed or conned? Negroponte in his in camera declaration, if ever released,
      was spell it all of out.

      They governemnt never wanted information to come out regarding the other
      work. The program started out spying on terrorist, and under Obama quickly moved
      to spying on Americans!! A program which was started by Brennan in 2003 and
      continues to this day. This technology is being used today to spy on Americans,
      including candidate Romney.

      I don't see you ever publishing that information?


      Date: Thu, 1 Nov 2012 16:07:07 -0400

      Subject: Re: Agency
      From: jrisen31@gmail.com
      To: theagencyinsider@hotmail.com

      Hi. As you recall, we had a very long phone conversation recently where we
      discussed how it would be good to report on many of the things that we didn't
      report on previously. I would like to include all of the points that you have raised in
      my book, and also to write about many of these issues in the newspaper. For the
      newspaper, I am particularly interested in the issue of Brennan, and his emails and
      related documents, which you said when we last talked that you might be willing to
      share with me. So I am open to discussing everything with you.
      Jim

      On Thu, Nov 1, 2012 at 3:58 PM, Sectec Astronomy
      <theagencyinsider@hotmail.com> wrote:

               You didn't answer my question:


               You reported on FBI documents, as if they were accurate, when that the
               Judge tossed out all of the claims in their report. The FBI refused to
               produce any of the people in their report for examination by the court.
               That include Daniel Bogden, who was reinstated by Obama as the US
               Attorney for Nevada.
  Case
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           Why did you not mention in your story Judge Cooke scathing report
           against the Warren Trepp, FBI, and other government officials? Judge
           Cooke reported that DM had his 4th admendment constituional rights
           violated?

           How can I ever trust that you will report accurate information when your
           prior story was based on information provided to you by Mike Flynn my
           ex attorney?



           Date: Thu, 1 Nov 2012 15:21:02 -0400

           Subject: Re: Agency
           From: jrisen31@gmail.com
           To: theagencyinsider@hotmail.com

           I have tried West and Venables. I am writing a chapter in my book
           about all this largely because we weren't able to tell much of the story
           in the paper. I would like your input, and your voice in the chapter.

           On Thu, Nov 1, 2012 at 3:16 PM, Sectec Astronomy
           <theagencyinsider@hotmail.com> wrote:


                 DM doesn't need another hachet job on him. Have you
                 tried Agent West or Sloan Venables?

                 You reported on FBI documents, as if they were accurate,
                 when that the Judge tossed out all of the claims in their
                 report. The FBI refused to produce any of the people in
                 their report for examination by the court. That include
                 Daniel Bogden, who was reinstated by Obama as the US
                 Attorney for Nevada.

                 Why did you not mention in your story Judge Cooke
                 scathing report against the Warren Trepp, FBI, and other
                 government officials? Judge Cooke reported that DM had
                 his 4th admendment constituional rights violated?

                 This is so much you guys missed.



                 Date: Thu, 1 Nov 2012 14:54:31 -0400

                 Subject: Re: Agency
                 From: jrisen31@gmail.com
                 To: theagencyinsider@hotmail.com

                 Well, I would like to write more about him and everyone
                 else involved in my book now.
  Case
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                 On Thu, Nov 1, 2012 at 12:51 PM, Sectec Astronomy
                 <theagencyinsider@hotmail.com> wrote:

                       His role? He is the CEO of eTreppid. He got all
                       of the money. Why was he not in your story?


                       Date: Thu, 1 Nov 2012 12:36:09 -0400

                       Subject: Re: Agency
                       From: jrisen31@gmail.com
                       To: theagencyinsider@hotmail.com

                       I have tried to talk to Warren Trepp. If you
                       have any information about his role, I would
                       like to talk to you about it.

                       On Thu, Nov 1, 2012 at 12:18 PM, Sectec
                       Astronomy <theagencyinsider@hotmail.com>
                       wrote:

                             Why have you not chased the
                             money, and contacted Warren
                             Trepp who kept all of the money?
                             I don't get that?


                             Date: Thu, 1 Nov 2012 11:41:01 -
                             0400

                             Subject: Re: Agency
                             From: jrisen31@gmail.com
                             To: theagencyinsider@hotmail.com

                             Both. We discussed how you have
                             information that would be very
                             good for a story about his
                             involvement.
                             But I also want to talk to you more
                             generally about your experiences
                             and work during the war on terror.
                             On Thu, Nov 1, 2012 at 10:55 AM,
                             Sectec Astronomy
                             <theagencyinsider@hotmail.com>
                             wrote:

                                    Is talking to me or
                                    Brennan emails what
                                    your after?

                                    What other information
                                    are you after?
  Case
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                                   Date: Wed, 31 Oct
                                   2012 23:25:56 -0400

                                   Subject: Re: Agency
                                   From:
                                   jrisen31@gmail.com
                                   To:
                                   theagencyinsider@hotmail.com


                                   I thought what we
                                   discussed before was
                                   really interesting, and I
                                   would like to continue
                                   our discussion. As I
                                   mentioned, I am
                                   writing about it in my
                                   book, and I would like
                                   to talk to you for
                                   that.But I would also
                                   like to talk about what
                                   you said about
                                   Brennan and the White
                                   House.

                                   On Wed, Oct 31, 2012
                                   at 7:06 PM, Sectec
                                   Astronomy
                                   <theagencyinsider@hotmail.com
                                   > wrote:

                                          Regarding?
                                            So DM
                                          get attack
                                          in another
                                          article?


                                          Date: Wed,
                                          31 Oct
                                          2012
                                          16:47:58 -
                                          0400

                                          Subject:
                                          Re:
                                          Agency
                                          From:
                                          jrisen31@gmail.com

                                          To:
                                          theagencyinsider@hotmail.com
  Case
Case    1:23-mc-00073-CKK-MAU
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                                      150

                                         Hi. Can we
                                         talk?
                                         Jim Risen


                                         On Fri, Oct
                                         5, 2012 at
                                         6:51 PM,
                                         Sectec
                                         Astronomy
                                         <theagencyinsider@hotmail.com
                                         > wrote:


                                               I
                                               guess
                                               you
                                               can
                                               investigate
                                               what
                                               I
                                               disclosed
                                               and
                                               then
                                               decide.


                                               Date:
                                               Fri,
                                               5
                                               Oct
                                               2012
                                               18:47:34
                                               -
                                               0400

                                               Subject:
                                               Re:
                                               Agency

                                               From:
                                               jrisen31@gmail.com

                                               To:
                                               theagencyinsider@hotmail.com


                                               As
                                               I
                                               said
                                               on
                                               the
                                               phone,
                                               I
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                                               protect
                                               my
                                               sources.
                                               I
                                               will
                                               never
                                               divulge
                                               the
                                               identify
                                               of
                                               my
                                               sources
                                               in
                                               a
                                               leak
                                               investigation.
                                               But
                                               I
                                               also
                                               have
                                               to
                                               know
                                               that
                                               the
                                               source
                                               is
                                               telling
                                               me
                                               the
                                               truth.

                                               Jim


                                               On
                                               Fri,
                                               Oct
                                               5,
                                               2012
                                               at
                                               5:51
                                               PM,
                                               Sectec
                                               Astronomy
                                               <theagencyinsider@hotmail.com
                                               >
                                               wrote:



                                                      Before
                                                      documents
                                                      are
                                                      sent,
  Case
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                                                     you
                                                     agree
                                                     that
                                                     you
                                                     will
                                                     protect
                                                     Dennis
                                                     Montgomery
                                                     as
                                                     a
                                                     protected
                                                     source.
                                                     If
                                                     the
                                                     US
                                                     Government
                                                     attacks
                                                     Dennis
                                                     Montgomery
                                                     you,
                                                     and
                                                     your
                                                     organization
                                                     will
                                                     do
                                                     everything
                                                     possible
                                                     to protect
                                                     and
                                                     defend
                                                     Dennis
                                                     Montgomery.
                                                     Agreed.




                                                     Date:
                                                     Fri,
                                                     5
                                                     Oct
                                                     2012
                                                     17:32:30
                                                     -
                                                     0400

                                                     Subject:
                                                     Re:
                                                     Agency

                                                     From:
                                                     jrisen31@gmail.com
  Case
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     1:15-cv-20782-JEM          Document
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                                                     To:
                                                     theagencyinsider@hotmail.com


                                                     got
                                                     it,
                                                     thanks

                                                     Jim
                                                     Risen



                                                     On
                                                     Fri,
                                                     Oct
                                                     5,
                                                     2012
                                                     at
                                                     5:11
                                                     PM,
                                                     Sectec
                                                     Astronomy
                                                     <theagencyinsider@hotmail.com
                                                     >
                                                     wrote:


                                                              This
                                                              is
                                                              my
                                                              email
                                                              address...
  Case
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                           Exhibit 9
  Case
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  Case
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                         Exhibit 10
  Case
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                         Exhibit 11
  Case
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                                                                  Joe Eskridge, M.D.
                                                              Swedish Neuroscience Institute
                                                                           550 17th Ave #500
                                                                            Seattle WA 98122
                                                                                206.320.4144




     June 27, 2014


     To Whom It May Concern


     Dear Sirs,

     I, Dr. Joe Eskridge recently treated Dennis Montgomery who is a 60 year old man who
     suffered from a cerebral aneurysm. His aneurysm was detected in 2011. He does not
     smoke and does not have any congenital blood vessel diseases that contribute to aneurysm
     development.

     High blood pressure can accelerate aneurysm growth and increase the risk of rupture and
     stroke. Stress can increase blood pressure and contribute to aneurysm growth. On a
     more probable than not basis stress related hypertension caused the development and
     growth of his aneurysm.

     I have performed over 5000 brain artery repair and embolization procedures over the
     past 30 years. I was Professor of Radiology and Neurosurgery at the University of
     Washington Medical School from 1987-2004.



     Sincerely yours,




     Joe Eskridge, M.D.
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                         Exhibit 12
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           Case
              1:15-cv-20782-JEM United
                 1:23-mc-00073-CKK-MAU States Special
                                 Document             Operations
                                                   Document
                                                   40-1          Command
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                                                                            FLSD07/28/23  free encyclopedia
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United States Special Oper ations Command
From Wikipedia, the free encyclopedia

The United States Special Oper ations Command (USSOCOM or SOCOM) is the Unified Combatant Command
charged with overseeing the various Special Operations Component Commands of the Army, Air Force, Navy and                       United States Special Oper ations Command
Marine Corps of the United States Armed Forces. The command is part of the Department of Defense and is the only                                    (USSOCOM)
Unified Combatant Command legislated into being by the U.S. Congress. USSOCOM is headquartered at MacDill Air
Force Base in Tampa, Florida.

The idea of a unified special operations command had its origins in the aftermath of Operation Eagle Claw, the disastrous
attempted rescue of hostages at the American embassy in Iran in 1980. The ensuing investigation, chaired by Admiral
James L. Holloway III, the retired Chief of Naval Operations, cited lack of command and control and inter-service
coordination as significant factors in the failure of the mission.[2] Since its activation on 16 April 1987, U.S. Special
Operations Command has participated in many operations, from the 1989 invasion of Panama to the ongoing Global War
on Terrorism.[3][4]

USSOCOM conducts several covert and clandestine missions, such as direct action, special reconnaissance, counter-
terrorism, foreign internal defense, unconventional warfare, psychological warfare, civil affairs, and counter-narcotics
operations. Each branch has a Special Operations Command that is unique and capable of running its own operations, but
when the different special operations forces need to work together for an operation, USSOCOM becomes the joint
component command of the operation, instead of a SOC of a specific branch.[5]                                                      United States Special Operations Command Emblem
                                                                                                                                Active           April 16, 1987 – present[1]

                                                                                                                                Country               United States of America
 Contents                                                                                                                       Type             Special operations
                                                                                                                                Role             Provide fully capable special
       1 History
                                                                                                                                                 operations forces to defend the
             1.1 Operation Earnest Will
                                                                                                                                                 United States and its interests and
             1.2 Somalia                                                                                                                         plan and synchronize operations
             1.3 Iraq                                                                                                                            against terrorist networks[1]
       2 Current role                                                                                                           Size             63,000[1]
             2.1 War in Afghanistan
                                                                                                                                Part of               Department of Defense
             2.2 Global presence
                                                                                                                                Garrison/HQ      MacDill AFB, Florida, U.S.
       3 Subordinate Commands
                                                                                                                                Nickname         "USSOCOM", "SOCOM"
             3.1 Joint Special Operations Command
                                                                                                                                Engagements
             3.2 Special Operations Command – Joint Capabilities                                                                                 Operation Earnest Will
                                                                                                                                                 Invasion of Panama
             3.3 Army                                                                                                                            Persian Gulf War
             3.4 Navy                                                                                                                            Unified Task Force
                                                                                                                                                 Operation Gothic Serpent
             3.5 Air Force
             3.6 Marine Corps                                                                                                                           Battle of Mogadishu
       4 List of USSOCOM Combatant Commanders
                                                                                                                                                 Operation Uphold Democracy
       5 USSOCOM medal                                                                                                                           Global War on Terrorism
       6 See also
                                                                                                                                                        War in Afghanistan
       7 References                                                                                                                                     Iraq War
             7.1 Citations
             7.2 Bibliography                                                                                                                     Commander s
       8 External links                                                                                                         Current          General Joseph L. Votel[1]
                                                                                                                                commander


Histor y
The unworkable command and control structure of separate U.S. military special operations forces (SOF), which led to the failure of Operation Eagle Claw in 1980,
highlighted the need within the Department of Defense for reform and reorganization. Since the incident, the Army Chief of Staff, General Edward C. "Shy" Meyer, called
for a further restructuring of special operations capabilities, eventually helping to create the U.S. Delta Force.[6] Although unsuccessful at the joint level, Meyer nevertheless
went on to consolidate Army SOF units under the new 1st Special Operations Command in 1982, a significant step to improve the U.S. Army's SOF.

By 1983, there was a small but growing sense in the Congress for the need for military reforms. In June, the Senate Armed Services Committee (SASC) began a two-year-
long study of the Defense Department, which included an examination of SOF spearheaded by Senator Barry Goldwater (R-AZ). With concern mounting on Capitol Hill,
the Department of Defense created the Joint Special Operations Agency on 1 January 1984; this agency, however, had neither operational nor command authority over any
SOF.[7][8] The Joint Special Operations Agency thus did little to improve SOF readiness, capabilities, or policies, and therefore was insufficient. Within the Defense
Department, there were a few staunch SOF supporters. Noel Koch, Principal Deputy Assistant Secretary of Defense for International Security Affairs, and his deputy, Lynn
Rylander, both advocated SOF reforms.[9]

At the same time, a few on Capitol Hill were determined to overhaul United States Special Operations Forces. They included Senators Sam Nunn (D-GA) and William
Cohen (R-ME), both members of the Armed Services Committee, and Representative Dan Daniel (D-VA), the chairman of the United States House Armed Services
Subcommittee on Readiness. Congressman Daniel had become convinced that the U.S. military establishment was not interested in special operations, that the country's


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                                 Document             Operations
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                                                   40-1          Command
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capability in this area was second rate, and that SOF operational command and control  was an endemic problem.[9] Senators Nunn and Cohen
also felt strongly that the Department of Defense was not preparing adequately for future threats. Senator Cohen agreed that the U.S. needed a
clearer organizational focus and chain of command for special operations to deal with low-intensity conflicts.[7]

In October 1985, the Senate Armed Services Committee published the results of its two-year review of the U.S. military structure, entitled
"Defense Organization: The Need For Change."[10] Mr. James R. Locher III, the principal author of this study, also examined past special
operations and speculated on the most likely future threats. This influential document led to the Goldwater-Nichols Defense Reorganization Act
of 1986.[11][12] By spring 1986, SOF advocates had introduced reform bills in both houses of Congress. On 15 May, Senator Cohen introduced
the Senate bill, co-sponsored by Senator Nunn and others, which called for a joint military organization for SOF and the establishment of an
office in the Defense Department to ensure adequate funding and policy emphasis for low-intensity conflict and special operations.[13]
Representative Daniel's proposal went even further—he wanted a national special operations agency headed by a civilian who would bypass the            Senator Barry
                                                                                                                                                       Goldwater, Former
Joint Chiefs and report directly to the Secretary of Defense; this would keep Joint Chiefs and the Services out of the SOF budget process.[8]
                                                                                                                                                       Chairman of the Senate
Congress held hearings on the two bills in the summer of 1986. Admiral William J. Crowe Jr., Chairman of the Joint Chiefs of Staff, led the            Armed Services
Pentagon's opposition to the bills. He proposed, as an alternative, a new Special Operations Forces command led by a three-star general. This          Committee
proposal was not well received on Capitol Hill—Congress wanted a four-star general in charge to give SOF more clout. A number of retired
military officers and others testified in favor of the need for reform.[9] By most accounts, retired Army Major General Richard Scholtes gave the most compelling reasons
for change. Scholtes, who commanded the joint special operations task force in Grenada, explained how conventional force leaders misused SOF during the operation, not
allowing them to use their unique capabilities, which resulted in high SOF casualties. After his formal testimony, Scholtes met privately with a small number of Senators to
elaborate on the problems that he had encountered in Grenada.[14]

Both the House and Senate passed SOF reform bills, and these went to a conference committee for reconciliation. Senate and House conferees forged a compromise. The
bill called for a unified combatant command headed by a four-star general for all SOF, an Assistant Secretary of Defense for Special Operations and Low-Intensity Conflict,
a coordinating board for low-intensity conflict within the National Security Council, and a new Major Force Program (MFP-11) for SOF (the so-called "SOF
checkbook").[15][16] The final bill, attached as a rider to the 1987 Defense Authorization Act, amended the Goldwater-Nichols Act and was signed into law in October 1986.
Congress clearly intended to force DOD and the Administration to face up to the realities of past failures and emerging threats. DOD and the Administration were
responsible for implementing the law, and Congress subsequently had to pass two additional bills to ensure proper implementation.[9] The legislation promised to improve
SOF in several respects. Once implemented, MFP-11 provided SOF with control over its own resources, better enabling it to modernize the force. Additionally, the law
fostered interservice cooperation: a single commander for all SOF promoted interoperability among the forces assigned to the same command. The establishment of a four-
star Commander in Chief and an Assistant Secretary of Defense for Special Operations and Low Intensity Conflict eventually gave SOF a voice in the highest councils of
the Defense Department.[15]

                             Implementing the provisions and mandates of the Nunn-Cohen Act, however, was neither rapid nor smooth. One of the first issues to surface
                             was appointing an ASD (SO/LIC), whose principal duties included monitorship of special operations activities and low-intensity conflict
                             activities of the Department of Defense. The Congress even increased the number of assistant secretaries of defense from 11 to 12, but the
                             Department of Defense still did not fill this new billet. In December 1987, the Congress directed Secretary of the Army John O. Marsh to carry
                             out the ASD (SO/LIC) duties until a suitable replacement was approved by the Senate. Not until 18 months after the legislation passed did
                             Ambassador Charles Whitehouse assume the duties of ASD (SO/LIC).[17]

                             Meanwhile, the establishment of USSOCOM provided its own measure of excitement. A quick solution to manning and basing a brand new
                             unified command was to abolish an existing command. United States Readiness Command (USREDCOM), with an often misunderstood
                             mission, did not appear to have a viable mission in the post Goldwater-Nichols era, and its Commander in Chief, General James Lindsay, had
                             had some special operations experience. On 23 January 1987, the Joint Chiefs of Staff recommended to the Secretary of Defense that
 General James Lindsay       USREDCOM be disestablished to provide billets and facilities for USSOCOM. President Ronald Reagan approved the establishment of the new
 the first Commander in      command on 13 April 1987. The Department of Defense activated USSOCOM on 16 April 1987 and nominated General Lindsay to be the first
 Chief, Special Operations
                             Commander in Chief Special Operations Command (USCINCSOC). The Senate accepted him without debate.[9]
 Command

                             Oper ation Ear nest Will

USSOCOM's first tactical operation involved SEALs, Special Boat Teams (SBT), and 160th Special Operations Aviation Regiment
(Airborne) ("Night Stalkers") aviators working together during Operation Earnest Will in September 1987. During Operation Earnest
Will, the United States ensured that neutral oil tankers and other merchant ships could safely transit the Persian Gulf during the Iran–
Iraq War. Iranian attacks on tankers prompted Kuwait to ask the United States in December 1986 to register 11 Kuwaiti tankers as
American ships so that they could be escorted by the U.S. Navy. President Reagan agreed to the Kuwaiti request on 10 March 1987,
hoping it would deter Iranian attacks.[9] The protection offered by U.S. naval vessels, however, did not stop Iran, which used mines
and small boats to harass the convoys steaming to and from Kuwait. In late July 1987, Rear Admiral Harold J. Bernsen, commander
of the Middle East Force, requested NSW assets. Special Boat Teams deployed with six Mark III Patrol Boats and two SEAL
platoons in August.[9] The Middle East Force decided to convert two oil servicing barges, Hercules and Wimbrown VII, into mobile           MH-60 landing on Hercules
sea bases. The mobile sea bases allowed SOF in the northern Persian Gulf to thwart clandestine Iranian mining and small boat
attacks.

On 21 September, Nightstalkers flying MH-60 and Little Birds took off from the frigate USS Jarrett to track an Iranian ship, the Iran Ajr. The Nightstalkers observed the
Iran Ajr turn off its lights and begin laying mines. After receiving permission to attack, the helicopters fired guns and rockets, stopping the ship. As the Iran Ajr's crew
began to push mines over the side, the helicopters resumed firing until the crew abandoned ship. Special Boat Teams provided security while a SEAL team boarded the
vessel at first light and discovered nine mines on the vessel's deck, as well as a logbook revealing areas where previous mines had been laid. The logbook implicated Iran in
mining international waters.[9]

Within a few days, the Special Operations forces had determined the Iranian pattern of activity; the Iranians hid during the day near oil and gas platforms in Iranian waters
and at night they headed toward the Middle Shoals Buoy, a navigation aid for tankers. With this knowledge, SOF launched three Little Bird helicopters and two patrol craft
to the buoy. The Little Bird helicopters arrived first and were fired upon by three Iranian boats anchored near the buoy. After a short but intense firefight, the helicopters
sank all three boats. Three days later, in mid-October, an Iranian Silkworm missile hit the tanker Sea Isle City near the oil terminal outside Kuwait City. Seventeen crewmen
and the American captain were injured in the missile attack.[9][18] During Operation Nimble Archer, four destroyers shelled two oil platforms in the Rostam oil field. After
the shelling, a SEAL platoon and a demolition unit planted explosives on one of the platforms to destroy it. The SEALs next boarded and searched a third platform 2 miles
(3 km) away. Documents and radios were taken for intelligence purposes.

http://en.wikipedia.org/wiki/United_States_Special_Operations_Command                                                                                                     2/12
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                                 Document             Operations
                                                   Document
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On 14 April 1988, 65 miles (100 km) east of Bahrain, the frigate USS Samuel B. Roberts  150(FFG-58) hit a mine, blowing an immense hole in its hull.[19] Ten sailors were
injured. During Operation Praying Mantis the U.S. retaliated fiercely, attacking the Iranian frigate Sahand and oil platforms in the Sirri and Sassan oil fields.[18] After U.S.
warships bombarded the Sirri platform and set it ablaze, a UH-60 with a SEAL platoon flew toward the platform but was unable to get close enough because of the roaring
fire. Secondary explosions soon wrecked the platform.[9] Thereafter, Iranian attacks on neutral ships dropped drastically. On 3 July 1988, the USS Vincennes shot down an
Iranian civilian airliner, Iran Air Flight 655, killing all 290 people on board, including 66 children. On 18 July, Iran accepted the United Nations cease fire; on 20 August
1988, the Iran–Iraq War ended. The remaining SEALs, patrol boats, and helicopters then returned to the United States.[9] Special operations forces provided critical skills
                                   necessary to help CENTCOM gain control of the northern Persian Gulf and balk Iran's small boats and minelayers. The ability to work at
                                   night proved vital, because Iranian units used darkness to conceal their actions. Additionally, because of Earnest Will operational
                                   requirements, USSOCOM would acquire new weapons systems—the patrol coastal ships and the Mark V Special Operations Craft.[9]

                                 Somalia

                                 Special Operations Command first became involved in Somalia in 1992 as part of Operation Provide Relief. C-130s circled over Somali
                                 airstrips during delivery of relief supplies. Special Forces medics accompanied many relief flights into the airstrips throughout southern
                                 Somalia to assess the area. They were the first U.S. soldiers in Somalia, arriving before U.S. forces who supported the expanded relief
 One of two Iranian oil
 platform set ablaze after       operations of Restore Hope.[9][20][21] The first teams into Somalia were CIA Special Activities Division paramilitary officers with elements
 shelling by American            of JSOC. They conducted very high risk advanced force operations prior to the entry of the follow on forces. The first casualty of the
 destroyers.                     conflict came from this team and was a Paramilitary officer and former Delta Force operator name Larry Freedman. Freedman was awarded
                                 the Intelligence Star for "extraordinary heroism" for his actions.[22]

The earliest missions during Operation Restore Hope were conducted by Navy SEALs. The SEALs performed several hydro-graphic reconnaissance missions to find
suitable landing sites for Marines. On 7 December, the SEALs swam into Mogadishu Harbor, where they found suitable landing sites, assessed the area for threats, and
concluded that the port could support offloading ships. This was a tough mission because the SEALs swam against a strong current which left many of them overheated and
exhausted. Furthermore, they swam through raw sewage in the harbor, which made them sick.[9] When the first SEALs hit the shore the following night, they were surprised
to meet members of the news media. The first Marines came ashore soon thereafter, and the press redirected their attention to them. Later, the SEALs provided personal
security for President George Bush during a visit to Somalia.[9][21] In December 1992, Special Forces assets in Kenya moved to Somalia and joined Operation Restore Hope.
January 1993, a Special Forces command element deployed to Mogadishu as the Joint Special Operations Forces-Somalia (JSOFOR) that would command and control all
special operations for Restore Hope. JSOFOR's mission was to make initial contact with indigenous factions and leaders; provide information for force protection; and
provide reports on the area for future relief and security operations. Before redeploying in April, JSOFOR elements drove over 26,000 miles (42,000 km), captured 277
weapons, and destroyed over 45,320 pounds (20,560 kg) of explosives.[9]

                                             In August 1993, Secretary of Defense Les Aspin directed the deployment of a Joint Special Operations Task Force (JSOTF) to
                                             Somalia in response to attacks made by General Mohamed Farrah Aidid's supporters upon U.S. and UN forces. The JSOTF,
                                             named Task Force (TF) Ranger, was charged with a mission named Operation Gothic Serpent to capture Aidid. This was an
                                             especially arduous mission, for Aidid had gone underground, after several Lockheed AC-130 air raids and UN assaults on his
                                             strongholds.[9][23][24]

                                             While Marines from the 24th MEU provided an interim QRF (Force Recon Det and helicopters from HMM-263), the task force
                                             arrived in the country, and began training exercises. The Marines were asked to take on the Aidid snatch mission, but having the
 Bravo Company, 3rd Battalion of the 75th    advantage of being in the area for more than two months, decided after mission analysis that the mission was a "no-go" due to
 Ranger Regiment in Somalia, 1993.           several factors, centered around the inability to rescue the crew of a downed helicopter (re: the indigenous forces technique of
                                             using RPGs against helicopters and blocking the narrow streets in order to restrict the movement of a ground rescue force). This
                                             knowledge was not passed on to the Rangers, due to the Marines operating from the USS Wasp and the Rangers remaining on
land. TF Ranger was made up of operators from Delta Force, 75th Ranger Regiment, 160th SOAR, Air Force special tactics units, and SEALs from the Naval Special
Warfare Development Group.[9][23] During August and September 1993, the task force conducted six missions into Mogadishu, all of which were successes. Although Aidid
remained free, the effect of these missions seriously limited his movements.[24]

On 3 October, TF Ranger launched its seventh mission, this time into Aidid's stronghold the Bakara Market to capture two of his key lieutenants. The mission was expected
to take only one or two hours.[23] Helicopters carried an assault and a ground convoy of security teams launched in the late afternoon from the TF Ranger compound at
Mogadishu airport. The TF came under increasingly heavy fire, more intense than during previous missions. The assault team captured 24 Somalis including Aidid's
lieutenants and were loading them onto the convoy trucks when a MH-60 Blackhawk was hit by a rocket-propelled grenade (RPG).[9][24] A small element from the security
force, as well as an MH-6 assault helicopter and an MH-60 carrying a fifteen man combat search and rescue (CSAR) team, rushed to the crash site.[9][23][24] The battle
became increasingly worse. An RPG struck another MH-60, crashing less than 1 mile (1.6 km) to the south of the first downed helicopter. The task force faced
overwhelming Somali mobs that overran the crash sites, causing a dire situation.[23] A Somali mob overran the second site and, despite a heroic defense, killed everyone
except the pilot, whom they took prisoner. Two defenders of this crash site, Master Sergeant Gary Gordon and Sergeant First Class Randall Shughart, were posthumously
awarded the Medal of Honor.[9][23][24] About this time, the mission's quick reaction force (QRF) also tried to reach the second crash site. This force too was pinned by
Somali fire and required the fire support of two AH-6 helicopters before it could break contact and make its way back to the base.[9]

The assault and security elements moved on foot towards the first crash area, passing through heavy fire, and occupied buildings south and southwest of the downed
helicopter. They fought to establish defensive positions so not to be pinned down by very heavy enemy fire, while treating their wounded, and worked to free the pilot's
body from the downed helicopter. With the detainees loaded on trucks, the ground convoy force attempted to reach the first crash site. Unable to find it amongst the narrow,
winding alleyways, the convoy came under devastating small arms and RPG fire. The convoy had to return to base after suffering numerous casualties, and sustaining
substantial damage to the their vehicles.

Reinforcements, consisting of elements from the QRF, 10th Mountain Division soldiers, Rangers, SEALs, Pakistan Army tanks and Malaysian armored personnel carriers,
finally arrived at 1:55 am on 4 October. The combined force worked until dawn to free the pilot's body, receiving RPG and small arms fire throughout the night.[9] All the
casualties were loaded onto the armored personnel carriers, and the remainder of the force was left behind and had no choice but to move out on foot.[23] AH-6 gunships
raked the streets with fire to support the movement. The main force of the convoy arrived at the Pakistani Stadium-compound for the QRF-at 6:30 am,[23] thus concluding
one of the bloodiest and fiercest urban firefights since the Vietnam War. Task Force Ranger experienced a total of 17 killed in action and 106 wounded. Various estimates
placed Somali casualties above 1,000.[23] Although Task Force Ranger's few missions were successes, the overall outcome of Operation Gothic Serpent was deemed a
failure because of the Task Force's failure to complete their stated mission, capturing Mohamed Farrah Aidid.[23] Most U.S. forces pulled out of Somalia by March 1994.



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The withdrawal from Somalia, was completed on March 1995.[9] Even though Operation  150Gothic Serpent failed, USSOCOM still made significant contributions to
operations in Somalia. SOF performed reconnaissance and surveillance missions, assisted with humanitarian relief, protected American forces and conducted riverine
patrols. Additionally, they ensured the safe landing of the Marines and safeguarded the arrival of merchant ships carrying food.[9][18]

Ir aq

USSOCOM's 10th Special Forces Group, elements of JSOC and CIA/SAD Paramilitary Officers linked up again and were the first to enter Iraq prior to the invasion. Their
efforts organized the Kurdish Peshmerga to defeat Ansar Al Islam in Northern Iraq before the invasion. This battle was for control of a territory in Northeastern Iraq that
was completely occupied by Ansar Al Islam, an ally of Al Qaeda. This was a very significant battle and led to the termination of a substantial number of terrorists and the
uncovering of a chemical weapons facility at Sargat. These terrorists would have been in the subsequent insurgency had they not been eliminated during this battle. Sargat
was the only facility of its type discovered in the Iraq war. This battle may have been the Tora Bora of Iraq, but it was a sound defeat for Al Qaeda and their ally Ansar Al
Islam. This combined team then led the Peshmerga against Saddam's northern Army. This effort kept Saddam's forces in the north and denied the ability to redeploy to
contest the invasion force coming from the south. This effort may have saved the lives of hundreds if not thousands of coalition service men and women.[25]

At the launch of the Iraq War dozens of 12-member Special Forces teams infiltrated southern and western Iraq to hunt for Scud
missiles and pinpoint bombing targets. Scores of Navy SEALs seized oil terminals and pumping stations on the southern coast.[26]
Air Force combat controllers flew combat missions in MC-130H Combat Talon IIs and established austere desert airstrips to begin
the flow of soldiers and supplies deep into Iraq. It was a far cry from the Persian Gulf war of 1991, where Special Operations forces
were kept largely on the sidelines. But it would not be a replay of Afghanistan, where Army Special Forces and Navy SEALs led the
fighting. After their star turn in Afghanistan, many special operators were disappointed to play a supporting role in Iraq. Many
special operators felt restricted by cautious commanders.[27] From that point, USSOCOM has since killed or captured hundreds of
insurgents and Al-Qaeda terrorists. It has conducted several foreign internal defense missions successfully training the Iraqi security
forces.[28][29]

Cur r ent r ole
United States Special Operations Command played a pivotal role in fighting the former Taliban government in Afghanistan in
2001[30] and toppling it thereafter, as well as combating the insurgency and capturing Saddam Hussein in Iraq. USSOCOM in 2004
was developing plans to have an expanded and more complex role in the global campaign against terrorism,[31] and that role
continued to emerge before and after the killing of Osama bin Laden in Pakistan in 2011.[32][33] In 2010, "of about 13,000 Special
Operations forces deployed overseas, about 9,000 [were] evenly divided between Iraq and Afghanistan."[32]                                    Map of the main battle sites during
                                                                                                                                             the Battle of Mogadishu.
War in Afghanistan

In the initial stages of the War in Afghanistan, USSOCOM forces linked up with CIA Paramilitary Officers from Special Activities
Division to defeat the Taliban without the need for large-scale conventional forces.[34] This was one of the biggest successes of the
global War on Terrorism.[35] These units linked up several times during this war and engaged in several furious battles with the
enemy. One such battle happened during Operation Anaconda the mission to squeeze life out of a Taliban and Al-Qaeda stronghold
dug deep into the Shah-i-Kot mountains of eastern Afghanistan. The operation was seen as one of the heaviest and bloodiest fights in
the War in Afghanistan.[36] The battle on an Afghan mountaintop called Takur Ghar featured special operations forces from all 4
services and the CIA. Navy SEALs, Army Rangers, Air Force Combat Controllers, and Pararescuemen fought against entrenched Al-
Qaeda fighters atop a 10,000-foot (3,000 m) mountain. Subsequently, the entrenched Taliban became targets of every asset in the
sky. According to an executive summary, the battle of Takur Ghar was the most intense firefight American special operators have
been involved in since 18 U.S. Army Rangers were killed in Mogadishu, Somalia, in 1993.[37][38][39] During Operation Red Wings on
28 June 2005, four Navy SEALs, pinned down in a firefight, radioed for help. A Chinook helicopter, carrying 16 service members,
responded but was shot down. All members of the rescue team and three of four SEALs on the ground died. It was the worst loss of
life in Afghanistan since the invasion in 2001. The Navy SEAL Marcus Luttrell alone survived.[40][41] Team leader Michael P.
                                                                                                                                             A 7th SFG Special Forces medic in
Murphy was awarded the Medal of Honor for his actions in the battle.
                                                                                                                                             Kandahar Province, Afghanistan, in
                                                                                                                                             September 2008.
Global pr esence

SOC chief Olson said in 2011 that SOCOM "is a microcosm of the Department of Defense, with ground, air, and maritime components, a global presence, and authorities
and responsibilities that mirror the Military Departments, Military Services, and Defense Agencies."[33] In 2010, special operations forces were deployed in 75 countries,
compared with about 60 at the beginning of 2009.[32] In 2011, SOC spokesman Colonel Tim Nye (Army[42]) was reported to have said that the number of countries with
SOC presence will likely reach 120 and that joint training exercises will have been carried out in most or all of those countries during the year. One study identified joint-
training exercises in Belize, Brazil, Bulgaria, Burkina Faso, Germany, Indonesia, Mali, Norway, Panama, and Poland in 2010 and also, through mid-year 2011, in the
Dominican Republic, Jordan, Romania, Senegal, South Korea, and Thailand, among other nations. In addition, SOC forces executed the high profile killing of Osama bin
Laden in Pakistan in 2011.[33]

Wikileaks' releases of cables from the U.S. Embassy, Pakistan, revealed the presence of a detachment of SOCOM (or possibly United States Army Special Operations
Command) referred to as SOC(FWD)-PAK (09ISLAMABAD2449, 9 August 2010). This unit or headquarters may be, in full form, Special Operations Command
(Forward)-Pakistan. It seems unlikely that the – symbol refers to the minus sign that sometimes means that the unit or headquarters is operating at less than full strength.
The unit or headquarters includes a Military Information Support Team (MIST [1] (http://www.africom.mil/getArticle.asp?art=4866)).[43] Another story that reported on
JSOC/Blackwater anti-terrorist operations in Pakistan was Jeremy Scahill's "The Secret U.S. War in Pakistan" (http://www.thenation.com/article/secret-us-war-pakistan), in
the 7 November 2009, issue of The Nation.

In 2010, White House counterterrorism director John O. Brennan said that the United States "will not merely respond after the fact" of a terrorist attack but will "take the
fight to al-Qaeda and its extremist affiliates whether they plot and train in Afghanistan, Pakistan, Yemen, Somalia and beyond." Olson said, "In some places, in deference to
host-country sensitivities, we are lower in profile. In every place, Special Operations forces activities are coordinated with the U.S. ambassador and are under the
operational control of the four-star regional commander."[32]



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The conduct of actions by SOC forces outside of Iraq and Afghan war zones has been    150
                                                                                        the subject of internal U.S. debate, including between representatives of the Bush
administration such as John B. Bellinger III, on one hand, and the Obama administration on another. The United Nations in 2010 also "questioned the administration's
authority under international law to conduct such raids, particularly when they kill innocent civilians. One possible legal justification – the permission of the country in
question – is complicated in places such as Pakistan and Yemen, where the governments privately agree but do not publicly acknowledge approving the attacks," as one
report put it.[32]

Subor dinate Commands




 Special Operations Command Structure (Media:U.S. Special Operations Command.png).


J oint Special Oper ations Command
[44] Joint Special Operations Command is a component command of the USSOCOM and is charged to study special operations
requirements and techniques to ensure interoperability and equipment standardization, plan and conduct special operations exercises
and training, and develop Joint Special Operations Tactics.[1] It was established in 1980 on recommendation of Col. Charlie
Beckwith, in the aftermath of the failure of Operation Eagle Claw.[45]

Units

        The U.S. Army's 1st Special Forces Operational Detachment-Delta, popularly known as Delta Force, is the first of the two
        primary counter-terrorist units of JSOC and SOCOM.[46] Modeled after the British Special Air Service, Delta Force is
        regarded as one of the premier special operations forces in the world.[47] This is because of Delta's stringent training and
        selection process. Delta recruits primarily from the most talented and highly skilled operators in the Army Special Forces and
                                                                                                                                              The Joint Special Operations
        the 75th Ranger Regiment although Delta will take anyone and everyone that can pass their screening.[23][47] Recruits must            Command insignia
        pass a rigid selection course before beginning training. Delta has received training from numerous U.S. government agencies
        and other tier one SOF and has created a curriculum based on this training and techniques that it has developed.[47] Delta conducts clandestine and covert special
        operations all over the world.[47] It has the capability to conduct myriad special operations missions but specializes in counter-terrorism and hostage rescue
        operations.[23][46][48]
        The Naval Special Warfare Development Group (DEVGRU, SEAL Team Six) is the second of the two primary counter-terrorist units of JSOC and SOCOM.[46]
        DEVGRU is Naval Special Warfare's counterpart to Delta. Like Delta, DEVGRU recruits the best operators from the best units in its branch, the Navy SEALs.
        DEVGRU is capable of performing any type of special operations mission, but trains especially for counter-terrorist and hostage rescue operations.[23][46]
        The Intelligence Support Activity (ISA, The Activity) is the support branch of JSOC and USSOCOM. Its primary missions are to provide Human Intelligence
        (HUMINT) and Signal Intelligence (SIGINT) mainly for Delta and DEVGRU's operations.[46][49] Before the establishing of the Strategic Support Branch in 2001, the
        ISA needed the permission of the CIA to conduct its operations, which sometimes caused it to be less effective in its support of JSOC's primary units.[46][50][51]
        The Air Force 24th Special Tactics Squadron (24th STS) is the AFSOC component of JSOC. The 24th STS usually operates with Delta and DEVGRU because of the
        convenience of 24th STS ability to synchronize and control the different elements of air power and enhance air operations deep in enemy territory.[23]

Portions of JSOC units have made up the constantly changing special operations task force, operating in the U.S. Central Command area of operations. The Task Force 11,
Task Force 121, Task Force 6-26 and Task Force 145 are creations of the Pentagon's post-11 September campaign against terrorism, and it quickly became the model for
how the military would gain intelligence and battle insurgents in the future. Originally known as Task Force 121, it was formed in the summer of 2003, when the military
merged two existing Special Operations units, one hunting Osama bin Laden in and around Afghanistan, and the other tracking Sadaam Hussein in Iraq.[52][53]

Special Oper ations Command – J oint Capabilities

Special Operations Command – Joint Capabilities (SOC-JC) was transferred to USSOCOM from the soon to be disestablished United States Joint Forces Command.[54]

Primary Mission: SOC-JC trains conventional and SOF commanders and their staffs, supports USSOCOM international engagement training requirements, and supports
implementation of capability solutions in order to improve strategic and operational Warfighting readiness and joint interoperability. SOC-JC must also be prepared to
support deployed Special Operations Joint Task Force (SOJTF) Headquarters (HQ).

As a joint sub-unified command under USSOCOM, SOC-JC's core function is to enhance the interoperability of conventional and Special Operations Forces (SOF)
commanders and staffs through robust strategic and operational level joint training. In coordination with the USSOCOM J3, J7/9 and Joint Special Operations University
(JSOU), SOC-JC provides excellent training and support to the education for SOF and Conventional Forces (CF) worldwide. Additionally, SOC-JC supports the joint SOF
capabilities development process while maintaining the flexibility to support emerging initiatives.
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On 1 December 1989 the United States Army Special Operations Command (USASOC) activated as the 16th major Army command. These
special operations forces have been America's spearhead for unconventional warfare for more than 40 years. USASOC commands such units as
the well known Special Forces (SF, or the "Green Berets") and Rangers, and such relatively unknown units as the Psychological Operations
Group (PSYOP) and Civil Affairs Brigade (CA). These are one of the USSOCOM's main weapons for waging unconventional warfare and
counter-insurgency. The significance of these units is emphasized as conventional conflicts are becoming less prevalent as insurgent and guerrilla
warfare increases.[55][56]

Units

        The 75th Ranger Regiment (U.S. Army Rangers) is the premier light-infantry unit of the United States Army and is headquartered at Fort
        Benning, Georgia. The 75th Ranger Regiment's mission is to plan and conduct special missions in support of U.S. policy and objectives.[57]
        The Rangers are a flexible and rapid-deployable force. Each battalion can deploy anywhere in the world within 18 hours notice. The Army
        places much importance on the 75th Ranger Regiment and its training; it possesses the capabilities to conduct conventional and most                   USASOC patch.
        special operations missions. Rangers are capable of infiltrating by land, sea, or air and direct action operations such as conducting raids or
        assaulting buildings or airfields.[58]
        United States Army Special Forces (SF) aka Green Berets perform several doctrinal missions: unconventional warfare, foreign internal defense, special
        reconnaissance, direct action and counter-terrorism. These missions make Special Forces unique in the U.S. military, because they are employed throughout the three
        stages of the operational continuum: peacetime, conflict and war.[59] Foreign internal defense operations, SF's main peacetime mission, are designed to help friendly
        developing nations by working with their military and police forces to improve their technical skills, understanding of human rights issues, and to help with
        humanitarian and civic action projects. Special Forces unconventional warfare capabilities provide a viable military option for a variety of operational taskings that
        are inappropriate or infeasible for conventional forces. Special Forces are the U.S. military's premier unconventional warfare force.[60] Foreign internal defense and
        unconventional warfare missions are the bread and butter of Special Forces soldiers. For this reason SF candidates are trained extensively in weapons, engineering,
        communications and medicine. SF soldiers are taught to be warriors first and teachers second because they must be able to train their team and be able to train their
        allies during a FID or UW mission.[59][61] Often SF units are required to perform additional, or collateral, activities outside their primary missions. These collateral
        activities are coalition warfare/support, combat search and rescue, security assistance, peacekeeping, humanitarian assistance, humanitarian de-mining and counter-
        drug operations.[62]

        The 160th Special Operations Aviation Regiment (Night Stalkers) headquartered at Fort Campbell, Kentucky provides aviation
        support to units within USSOCOM. The Regiment consists of MH-6 and AH-6 light helicopters, MH-60 helicopters and MH-
        47 heavy assault helicopters. The capabilities of the 160th SOAR (A) have been evolving since the early 1980s. Its focus on
        night operations resulted in the nickname, the "Night Stalkers."[63] The primary mission of the Night Stalkers is to conduct
        overt or covert infiltration, exfiltration, and resupply of special operations forces across a wide range of environmental
        conditions.[64]
        4th Military Information Support Group (Airborne) and 8th Military Information Support Group (Airborne) Soldiers use                    Special Forces on a patrol in
        persuasion to influence perceptions and encourage desired behavior.[65][66] PSYOP soldiers supports national objectives at the          Afghanistan.

        tactical, operational and strategic levels of operations. Strategic psychological operations advance broad or long-term
        objectives; global in nature, they may be directed toward large audiences or at key communicators. Operational psychological operations are conducted on a smaller
        scale. 4th PSYOP Gp is employed by theater commanders to target groups within the theater of operations. 4th PSYOP Gp purpose can range from gaining support
        for U.S. operations to preparing the battlefield for combat. Tactical psychological operations are more limited, used by commanders to secure immediate and near-
        term goals. In this environment, these force-enhancing activities serve as a means to lower the morale and efficiency of enemy forces.[67]
        95th Civil Affairs Brigade (Airborne) specialists identify critical requirements needed by local citizens in war or disaster situations. They also locate civilian resources
        to support military operations, help minimize civilian interference with operations, support national assistance activities, plan and execute noncombatant evacuation,
        support counter-drug operations and establish and maintain liaison with civilian aid agencies and other nongovernmental organizations. In support of special
        operations, these culturally oriented, linguistically capable Soldiers may also be tasked to provide functional expertise for foreign internal defense operations,
        unconventional warfare operations and direct action missions.[68]
        Sustainment Brigade (Special Operations) (Airborne) (SBSO(A)) has a difficult mission supporting USASOC. In their respective fields, signal and support soldiers
        provide supplies, maintenance, equipment and expertise allowing Special Operation Forces to "shoot, move and communicate" on a continuous basis. Because
        USASOC often uses Special Operations Forces-unique items, soldiers assigned to these units are taught to operate and maintain a vast array of specialized equipment
        not normally used by their conventional counterparts. SBSO(A) also provides the USASOC with centralized and integrated material management of property,
        equipment maintenance, logistical automation and repair parts and supplies.[69]
        John F. Kennedy Special Warfare Center (USAJFKSWCS) trains USSOCOM and Army Special Operations Forces through development and evaluation of special
        operations concepts, doctrines and trainings.[70]

Navy

The United States Naval Special Warfare Command (NAVSPECWARCOM, NAVSOC, or NSWC) was commissioned April 16, 1987, at Naval Amphibious Base
Coronado in San Diego as the Naval component to the United States Special Operations Command. Naval Special Warfare Command provides vision, leadership, doctrinal
guidance, resources and oversight to ensure component special operations forces are ready to meet the operational requirements of combatant commanders.[71] Today,
SEAL Teams and Special Boat Teams comprise the elite combat units of Naval Special Warfare. These teams are organized, trained, and equipped to conduct a variety of


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missions to include direct action, special reconnaissance, counter-terrorism, foreign 150
                                                                                      internal defense, unconventional warfare and support psychological and civil affairs
operations. Their highly trained operators are deployed worldwide in support of National Command Authority objectives, conducting operations with other conventional
and special operations forces.

Units

        United States Navy SEALs have distinguished themselves as an individually reliable, collectively disciplined and highly skilled special
        operations force. The most important trait that distinguishes Navy SEALs from all other military forces is that SEALs are maritime
        special operations, as they strike from and return to the sea. SEALs (SEa, Air, Land) take their name from the elements in and from
        which they operate. SEALs are experts in direct action and special reconnaissance missions. Their stealth and clandestine methods of
        operation allow them to conduct multiple missions against targets that larger forces cannot approach undetected. Because of the dangers
        inherent in their missions, prospective SEALs go through what is considered by many military experts to be the toughest training regime
                                                                                                                                                           United States Naval
        in the world.[72][73]                                                                                                                              Special Warfare
        Naval Special Warfare Development Group (DEVGRU), referred to as SEAL Team Six, the name of its predecessor which was                              Command emblem.
        officially disbanded in 1987.
        SEAL Delivery Vehicle Teams are SEAL teams with an added underwater delivery capability who use the SDV MK VIII and
        the Advanced SEAL Delivery System (ASDS), submersibles that provides NSW with an unprecedented capability that
        combines the attributes of clandestine underwater mobility and the combat swimmer.[74][75]
        Special Warfare Combatant-craft Crewmen (SWCC) operate and maintain state-of-the-art surface craft to conduct coastal
        patrol and interdiction and support special operations missions. Focusing on infiltration and exfiltration of SEALs and other
        SOF, SWCCs provide dedicated rapid mobility in shallow water areas where larger ships cannot operate. They also bring to
        the table a unique SOF capability: Maritime Combatant Craft Aerial Delivery System—the ability to deliver combat craft via               SEALs emerge from the water during
                                                                                                                                                 a demonstration.
        parachute drop.[1] Like SEALs, SWCCs must have excellent physical fitness, highly motivated, combat-focused and
        responsive in high stress situations.[76]

Air For ce

Air Force Special Operations Command was established May 22, 1990, with headquarters at Hurlburt Field, Florida. AFSOC is one of the 10
Air Force Major Commands or MAJCOMs, and the Air Force component of United States Special Operations Command. It contains the
Twenty-Third Air Force and holds operational and administrative oversight of subordinate special operations wings and groups in the regular
Air Force, Air Force Reserve Command and the Air National Guard.

AFSOC provides Air Force special operations forces for worldwide deployment and assignment to regional unified commands. The command's
SOF are composed of highly trained, rapidly deployable airmen, conducting global special operations missions ranging from precision
application of firepower via airstrikes or close air support, to infiltration, exfiltration, resupply and refueling of SOF operational elements.[77]
AFSOC's unique capabilities include airborne radio and television broadcast for psychological operations, as well as aviation foreign internal
                                                                                                                                                            Air Force Special
defense instructors to provide other governments military expertise for their internal development.
                                                                                                                                                            Operations Command
The command's core missions include battlefield air operations; agile combat support; aviation foreign internal defense; information operations;            emblem.
precision aerospace fires; psychological operations; specialized air mobility; specialized refueling; and intelligence, surveillance and
reconnaissance.[27][78][79]

Units

        Combat Controllers (CCT) are ground combat forces specialized in a traditional pathfinder role while having a heavy emphasis on simultaneous air traffic control, fire
        support (via airstrikes, close air support and command, control, and communications in covert or austere environments.[80][81]
        Pararescuemen (PJ) are the only Department of Defense specialty specifically trained and equipped to conduct conventional and unconventional personnel recovery
        operations. A PJ's primary function is as a personnel recovery specialist with emergency trauma medical capabilities in humanitarian and combat environments.
        Special Operations Weather Technicians (SOWT) gather, assess, and interpret weather and environmental intelligence from forward deployed locations, working
        alongside special operations forces.

Or ganization

        The 1st Special Operations Wing (1 SOW) is located at Hurlburt Field, Florida. Its mission focus is unconventional warfare: counter-terrorism, combat search and
        rescue, personnel recovery, psychological operations, aviation assistance to developing nations, "deep battlefield" resupply, interdiction and close air support. The
        wing's core missions include aerospace surface interface, agile combat support, combat aviation advisory operations, information operations, personnel
        recovery/recovery operations, precision aerospace fires, psychological operations dissemination, specialized aerospace mobility and specialized aerial refueling.[82]
        Among its aircraft is the MC-130 Combat Talon II, a low-level terrain following special missions transport that can evade radar detection and slip into enemy territory
        at a 200-foot (61 m) altitude for infiltration/exfiltration missions, even in zero visibility, dropping off or recovering men or supplies with pinpoint accuracy. It also
        operates the AC-130 Spooky and Spectre gunships that provide highly accurate airborne gunfire for close air support of conventional and special operations forces on
        the ground.[46]
        The 24th Special Operations Wing (24 SOW) is located at Hurlburt Field, Florida. It's composed of the 720th Special Tactics Group, 724th Special Tactics Group,
        Special Tactics Training Squadron and 16 recruiting locations across the United States.[83][84] The Special Tactics Squadrons, under the 720th STG and 724th STG,
        are made up of Special Tactics Officers, Combat Controllers, Combat Rescue Officers, Pararescuemen, Special Operations Weather Officers and Airmen, Air Liaison
        Officers, Tactical Air Control Party operators, and a number of combat support airmen which comprise 58 Air Force specialties.[84]

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        The 27th Special Operations Wing (27 SOW) is located at Cannon AFB, New150
                                                                                Mexico. Its primary mission includes infiltration, exfiltration and re-supply of special
        operations forces; air refueling of special operations rotary wing and tiltrotor aircraft; and precision fire support. These capabilities support a variety of special
        operations missions including direct action, unconventional warfare, special reconnaissance, counter-terrorism, personnel recovery, psychological operations and
        information operations.[85]
        The 193d Special Operations Wing (193 SOW) is an Air National Guard (ANG) unit, operationally gained by AFSOC, and located at Harrisburg International
        Airport/Air National Guard Station (former Olmsted Air Force Base), Pennsylvania. Under Title 32 USC, the 193 SOW performs state missions for the Governor of
        Pennsylvania as part of the Pennsylvania Air National Guard. Under Title 10 USC, the 193 SOW is part of the Air Reserve Component (ARC) of the United States
        Air Force. Its primary wartime and contingency operations mission as an AFSOC-gained unit is psychological operations (PSYOP). The 193 SOW is unique in that it
        is the only unit in the U.S. Air Force to fly and maintain the Lockheed EC-130J Commando Solo aircraft.

        The 919th Special Operations Wing (919 SOW) is an Air Force Reserve Command (AFRC) unit, operationally gained by AFSOC, and
        located at Eglin AFB Auxiliary Field #3/Duke Field, Florida. The 919 SOW flies and maintains the MC-130E Combat Talon I and MC-
        130P Combat Shadow special operations aircraft designed for covert operations.
        The 352d Special Operations Wing (352 SOW) at RAF Mildenhall, United Kingdom serves as the core to United States European
        Command's standing Joint Special Operations Air Component headquarters. The squadron provides support for three flying squadrons,
        one special tactics squadron and one maintenance squadron for exercise, logistics, and war planning; aircrew training; communications;
        aerial delivery; medical; intelligence; security and force protection; weather; information technologies and transformation support and
        current operations.[86]                                                                                                                               Air Force Special
        The 353d Special Operations Group (353 SOG) is the focal point for all U.S. Air Force special operations activities throughout the United             Operators on a training
        States Pacific Command (USPACOM) theater. Headquartered at Kadena AB, Okinawa, Japan the group is prepared to conduct a variety                       mission.

        of high-priority, low-visibility missions. Its mission is air support of joint and allied special operations forces in the Pacific. It maintains a
        worldwide mobility commitment, participates in Pacific theater exercises as directed and supports humanitarian and relief operations.[87]
        The United States Air Force Special Operations School (USAFSOS) at Hurlburt Field, Florida is a primary support unit of the Air Force Special Operations
        Command. The USAFSOS prepares special operations Airmen to successfully plan, organize, and execute global special operations by providing indoctrination and
        education for AFSOC, other USSOCOM components, and joint/interagency/ coalition partners.[88]

Mar ine Cor ps

In October 2005, the Secretary of Defense directed the formation of United States Marine Corps Forces Special Operations
Command, the Marine component of United States Special Operations Command. It was determined that the Marine Corps would
initially form a unit of approximately 2500 to serve with USSOCOM. On February 24, 2006 MARSOC activated at Camp Lejeune,
North Carolina. MARSOC initially consisted of a small staff and the Foreign Military Training Unit (FMTU), which had been
formed to conduct foreign internal defense. FMTU is now designated as the Marine Special Operations Advisor Group
(MSOAG).[89]

As a service component of USSOCOM, MARSOC is tasked by the Commander USSOCOM to train, organize, equip, and deploy
responsive U.S. Marine Corps special operations forces worldwide, in support of combatant commanders and other agencies.
MARSOC has been directed to conduct foreign internal defense, direct action and special reconnaissance. MARSOC has also been
directed to develop a capability in unconventional warfare, counter-terrorism, and information operations. MARSOC deployed its
first units in August 2006, six months after the group's initial activation. MARSOC reached full operational capability in October
2008.[90]                                                                                                                                          United States Marine Corps Forces
                                                                                                                                                   Special Operations Command
Units                                                                                                                                              emblem

        Marine Special Operations "Raider" Regiment (MSOR) consists of a Headquarters Company and three Marine Special
        Operations Battalions, the 1st, 2nd and 3rd MSOB. The Regiment provides tailored military combat-skills training and advisor
        support for identified foreign forces in order to enhance their tactical capabilities and to prepare the environment as directed by
        USSOCOM as well as the capability to form the nucleus of a Joint Special Operations Task Force. Marines and Sailors of the
        MRR train, advise and assist friendly host nation forces – including naval and maritime military and paramilitary forces – to
        enable them to support their governments' internal security and stability, to counter subversion and to reduce the risk of
        violence from internal and external threats. MRR deployments are coordinated by MARSOC, through USSOCOM, in
        accordance with engagement priorities for Overseas Contingency Operations.
        Marine Intelligence Battalion (MIB) trains, sustains, maintains combat readiness, and provides intelligence support at all
        operational levels in order to support MARSOF training and operations worldwide with mission-specific intelligence
        capability.
        Marine Special Operations Support Group (MSOSG) trains, equips, structures, and provides specially qualified Marine forces,
                                                                                                                                                   DA/SR Operators from 1st SOB
        including, operational logistics, intelligence, Military Working Dogs, Firepower Control Teams, and communications support
                                                                                                                                                   (Special Operations Battalion)
        in order to sustain worldwide special operations missions as directed by Commander, U.S. Marine Corps Forces Special                       respond to enemy fire in Afghanistan
        Operations Command (COMMARFORSOC).
        The Marine Special Operations School (MSOS) performs the screening, recruiting, training, assessment and doctrinal development functions for MARSOC. It
        includes two subordinate Special Missions Training Branches (SMTBs), one on each coast.
              The Special Mission Training Branch—East provide special operations training in tactics, techniques and procedures, and evaluation and certification of
              MARSOC forces to specified conditions and standards for SOF. The Marines of MSOS are operators with the training, experience and mature judgment to plan,

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                                                                                                                      67 of
                                                                                 150 and direct action skills.[91]
            coordinate, instruct and supervise development of SOF special reconnaissance


List of USSOCOM Combatant Commander s
      No.   Image                 Name               Br anch     Star t of Ter m     End of Ter m      Time in office


 1.                   GEN James J. Lindsay           USA       16 April 1987       27 June 1990        1,168 days




 2.                   GEN Carl W. Stiner             USA       27 June 1990        20 May 1993         1,058 days




 3.                   GEN Wayne A. Downing           USA       20 May 1993         29 February 1996    1,015 days




 4.                   GEN Henry H. Shelton           USA       29 February 1996    25 September 1997 574 days




 (Acting)             RADM Raymond C. Smith, Jr. USN           25 September 1997 5 November 1997       41 days




 5.                   GEN Peter J. Schoomaker        USA       5 November 1997     27 October 2000     1,087 days




 6.                   GEN Charles R. Holland         USAF      27 October 2000     2 September 2003 1,040 days




 7.                   GEN Bryan D. Brown             USA       2 September 2003 9 July 2007            1,406 days




 8.                   ADM Eric T. Olson              USN       9 July 2007         8 August 2011       1,491 days




 9.                   ADM William H. McRaven         USN       8 August 2011       28 August 2014      1,116 days




 10.                  GEN Joseph L. Votel            USA       28 August 2014      Present
                                                                                                       days



USSOCOM medal
The United States Special Operations Command Medal was introduced in 1994 to recognize individuals for outstanding contributions to, and in support of, special
operations. Since it was created, there have been more than 50 recipients, four of which are not American. Some of which includes: Generał broni Włodzimierz Potasiński
(Poland, 2010, posthumously),[92][93] Kaptein Gunnar Sønsteby (Norway, 2008), Generał brygady Jerzy Gut (Poland, June 2014)[94] and Generał dywizji Piotr Patalong
(Poland, October 2014).[95]

See also
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Exter nal links
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      U.S. Army Special Operations Command (http://www.soc.mil/)                                                                                           Command.
      U.S. Naval Special Warfare Command (http://www.navsoc.navy.mil/)
      U.S. Marine Corps Forces Special Operations Command (http://www.marines.mil/unit/marsoc/Pages/default.aspx)
      Department of Defense (http://www.defenselink.mil/)
      Joint Special Operations University (https://jsou.socom.mil/)


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Categories: Special operations commands of the United States Armed Forces Military units and formations in Florida Counter-terrorism


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United States Centr al Command
From Wikipedia, the free encyclopedia

The United States Centr al Command
(USCENTCOM or CENTCOM) is a theater-level                                     United States Centr al Command
Unified Combatant Command of the U.S. Department
of Defense, established in 1983, taking over the 1980
Rapid Deployment Joint Task Force (RDJTF)
responsibilities.

The CENTCOM Area of Responsibility (AOR)
includes countries in the Middle East, North Africa, and
Central Asia, most notably Afghanistan and Iraq.
CENTCOM has been the main American presence in
many military operations, including the Persian Gulf
War, the War in Afghanistan (2001–present), and the
Iraq War. As of 2015 CENTCOM forces are deployed
primarily in Iraq and Afghanistan in combat roles and
have support roles at bases in Kuwait, Bahrain, Qatar,
the United Arab Emirates, Oman, Pakistan, and central
Asia. CENTCOM forces have also been deployed in
Jordan, and Saudi Arabia in the past, with a small                        Emblem of the United States Central Command.
presence remaining there.as of 2009.
                                                                     Active                 1983–present
As of 22 March 2013 CENTCOM's commander is                           Country                      United States of America
General Lloyd J. Austin, U.S. Army.                                  Type                   Unified Combatant Command

Of all 6 American regional unified combatant                         Headquarters           MacDill Air Force Base
commands CENTCOM is among the three with                                                    Tampa, Florida, U.S.
headquarters outside its area of operations.                         Nickname               CENTCOM
CENTCOM's main headquarters is located at MacDill
                                                                     Engagements            Persian Gulf War
Air Force Base, in Tampa, Florida. A forward
headquarters was established in 2002 at Camp As                                             Iraq War
Sayliyah in Doha, Qatar, which in 2009 transitioned to a                                    War in Afghanistan
forward headquarters at Al Udeid Air Base in Qatar to                                   Commander s
serve American strategic interests. On 12 January,                   Combatant              General Lloyd Austin, USA
2015, CENTCOM's Twitter and YouTube accounts
                                                                     Commander
were hacked.[2]
                                                                     Deputy                 Vice Admiral Mark Fox,
                                                                     Commander              USN [1]

  Contents                                                           Notable                General David Petraeus
                                                                     commanders             Admiral William Fallon
                                                                                            General John Abizaid
           1 History
                                                                                            General Tommy Franks
           2 Structure
                                                                                            General Anthony Zinni
                    2.1 War planning                                                        General James Mattis

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           3 Geographic scope                                150                            General Norman Schwarzkopf
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Histor y
In 1983, U.S. Central Command was established to succeed the Rapid Deployment Joint Task Force,
formed at MacDill AFB, Florida on 1 March 1980, to handle US national security interests in Southwest
Asia, Central Asia and the Persian Gulf.[3]

On 17 May 1987, the USS Stark (FFG-31), conducting operations in the Persian Gulf during the Iran-Iraq
War, was struck by Exocet missiles fired by an Iraqi aircraft, resulting in 37 casualties. Soon afterward, as
part of what became known as the "Tanker War", the Federal government of the United States reflagged
and renamed 11 Kuwaiti oil tankers. In Operation Earnest Will, these tankers were escorted by
USCENTCOM’s Middle East Force through the Persian Gulf to Kuwait and back through the Strait of
Hormuz.[3]

With the 1990 Invasion of Kuwait and the subsequent Operation Desert Shield, hundreds of thousands of
troops were transferred to Saudi Arabia. Islamists objected to non-Muslim troops in Saudi Arabia, and their
use in Operation Desert Storm; this with other attacks on Iraq became a key rallying cry for opposition
movements in Saudi Arabia and elsewhere. By the late 1990s, Central Command gradually moved troops to
other countries, particularly Bahrain, Kuwait, Qatar, Oman, and the United Arab Emirates.

Exercise Internal Look has been one of CENTCOM's primary planning events. It had frequently been used
to train CENTCOM to be ready to defend the Zagros Mountains from a Soviet attack and was held
annually.[4] In autumn 1989, the main CENTCOM contingency plan, OPLAN 1002-88, assumed a Soviet
attack through Iran to the Persian Gulf. The plan called for five and two-thirds US divisions to deploy,
mostly light and heavy forces at something less than full strength (apportioned to it by the Joint Strategic
Capability Plan [JSCAP]). The strategy of the original plan called for these five and two-thirds divisions to
march from the Persian Gulf to the Zagros Mountains and prevent the Soviet Ground Forces from seizing
the Iranian oil fields.[5] After 1990 Norman Schwarzkopf reoriented CENTCOM's planning to fend off a
threat from Iraq and the exercise moved to a biennial schedule. The exercise has been employed for explicit
war planning on at least two occasions: Internal Look '90, which dealt with a threat from Iraq,[4] and
Internal Look '03, which was used to plan what became Operation Iraqi Freedom.

From April to July 1999 CENTCOM conducted Exercise Desert Crossing 1999 centered on the scenario of
Saddam Hussein being ousted as Iraq’s dictator. It was held in the McLean, Virginia, offices of Booz
Allen.[6]:6-7 The exercise concluded that unless measures were taken, “fragmentation and chaos” would
ensue after Saddam Hussein's overthrow.


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In January 2015, CENTCOM's Twitter feed was reported  150 to have been hacked on 11 January by ISIS
sympathizers.[7] for less than one hour. No classified information was posted and “none of the information
posted came from CENTCOM’s server or social media sites",[8] however, some of the slides came from
federally funded Lincoln Laboratory at MIT.[7]

Str uctur e
CENTCOM headquarters staff directorates include personnel, intelligence, operations, logistics, plans &
policy, information systems, training & exercises, and resources, and other functions. The intelligence
section is known as Joint Intelligence Center, Central Command, or JICCENT, which serves as a Joint
Intelligence Center for the co-ordination of intelligence. Under the intelligence directorate, there are several
divisions including the Afghanistan-Pakistan Center of Excellence.

CENTCOM directs four "service component commands" and one subordinate unified command and no
fighting units directly subordinate to it:

The United States Army Central (USARCENT), and the United States Air Forces Central Command
(USAFCENT), both headquartered at Shaw Air Force Base in South Carolina, the U.S. Marine Forces
Central Command (USMARCENT), headquartered at MacDill Air Force Base, Florida and the U.S. Naval
Forces Central Command (USNAVCENT), headquartered at Naval Support Activity Bahrain in the
Kingdom of Bahrain. MacDill Air Force Base also hosts a Sub-unified command called the Special
Operations Command Central (USSOCCENT).

Two major subordinate multi-service commands reporting to Central Command were responsible for
Afghanistan: Combined Joint Task Force 180 and Combined Forces Command Afghanistan (CFC-A).
CFC-A was disestablished in February 2007.[9] From that point onward, the International Security
Assistance Force directed most U.S. forces in Afghanistan, and a U.S. general, General Dan K. McNeill,
assumed command of ISAF that same month.[10]

Temporary task forces include the Central Command Forward - Jordan (CF-J), established in Jordan after
2011. The reason for its establishment has been reported as to seize Syrian WMD if necessary.[11]

On 1 October 2008 Combined Joint Task Force - Horn of Africa at Camp Lemonnier in Djibouti was
transferred to United States Africa Command (USAFRICOM).[12] The United States Forces – Iraq or USF-
I, was a major subordinate multi-service command during the Iraq War order of battle until it was
disestablished in 2011.

Elements of other Unified Combatant Commands, especially United States Special Operations Command
(USSOCOM), operate in the CENTCOM area. It appears that SOCCENT does not direct the secretive Task
Force 77, the ad-hoc grouping of Joint Special Operations Command 'black' units such as Delta Force and
Army Rangers, which is tasked to pursue the most sensitive high value targets such as Al Qaeda and the
Taliban leadership since 11 September 2001. Rather TF 77, which started out as Task Force 11 and has
gone through a number of name/number changes, reports directly to Joint Special Operations Command,
part of USSOCOM.

War planning

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The following code names are known to have been associated with was planning per William Arkin:[13]:46

         CENTCOM OPORDER 01-97, Force Protection
         SOCEUR SUPPLAN 1001-90, 9 May 1989
         CENTCOM CONPLAN 1010, July 2003
         CENTCOM CONPLAN 1015-98, possibly support to OPLAN 5027 for Korea, 15 March 1991
         CENTCOM 1017, 1999
         CONPLAN 1020
         CONPLAN 1067, for possible Biological Warfare response
         CENTCOM CONPLAN 1100-95, 31 March 1992

Globalsecurity.org also lists OPLAN 1002 (Defense of the Arabian Peninsula).

Geogr aphic scope
With the 1983 establishment of CENTCOM Egypt, Sudan,
Kenya, Ethiopia, Somalia and Djibouti came within the area of
responsibility (AOR). Thus CENTCOM directed the 'Natural
Bond' exercises with Sudan, the 'Eastern Wind' exercises with
Somalia, and the 'Jade Tiger' exercises with Oman, Somalia,
and Sudan. Exercise Jade Tiger involved the 31st Marine
Expeditionary Unit with Oman from 29 November 82-8 Dec
82.[13]:404                                                                    CENTCOM Area Of Responsibility
The Area of Responsibility extends to 27 countries:
Afghanistan, Bahrain, Egypt, Iran, Iraq, Jordan, Kazakhstan, Kuwait, Kyrgyzstan, Lebanon, Oman,
Pakistan, Qatar, Saudi Arabia, Syria, Tajikistan, Turkmenistan, United Arab Emirates (UAE), Uzbekistan,
and Yemen. International waters included are the Red Sea, Persian Gulf, and western portions of the Indian
Ocean.[14] Syria and Lebanon were transferred from the United States European Command on 10 March
2004.

Israel is surrounded by CENTCOM countries but remains in United States European Command (EUCOM).
General Norman Schwarzkopf expressed the position over Israel frankly in his 1992 autobiography:
'European Command also kept Israel, which from my viewpoint was a help: I'd have had difficulty
impressing the Arabs with Central Command's grasp of geopolitical nuance if one of the stops on my
itinerary had been Tel Aviv.'[4]:318

On 7 February 2007, plans were announced for the creation of a United States Africa Command which
transferred strategic interest responsibility for all of Africa to the new USAFRICOM, except for Egypt. On
1 October 2008, the Africa Command became operational and Combined Joint Task Force - Horn of Africa,
the primary CENTCOM force on the continent, started reporting to AFRICOM at Stuttgart instead of
CENTCOM in Tampa.



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The U.S. armed forces use a variable number of base150 locations depending on its level of operations. With
ongoing warfare in Iraq and Afghanistan in 2003, the United States Air Force used 35 bases, while in 2006
it used 14, including four in Iraq. The United States Navy maintains one major base and one smaller
installation, with extensive deployments afloat and ashore by U.S. Navy, U.S Marine Corps and U.S. Coast
Guard ships, aviation units and ground units.

Commander s
As of March 2013, GEN Lloyd Austin is commander. He took command from General James Mattis,
USMC. Mattis took command from [15][16][17] Lieutenant General John R. Allen, USMC, the deputy
commander since July 2008, who took temporary command when the previous commander, General David
Petraeus, USA, left to take command of the International Security Assistance Force (ISAF) in Afghanistan
on 23 June 2010.[18]

      No.         Image                  Name                   Ser vice       Star t     End           Time in office

                                                                                       27
                                 GEN Robert                  United States   1 January
 1.                                                                                    November 1,061 days
                                 Kingston                    Army            1983
                                                                                       1985



                                                                             27       23
                                 Gen George B.               United States
 2.                                                                          November November 1,092 days
                                 Crist                       Marine Corps
                                                                             1985     1988



                                                                             23
                                 GEN H. Norman United States                          9 August
 3.                                                                          November              989 days
                                 Schwarzkopf   Army                                   1991
                                                                             1988



                                 Gen Joseph P.               United States   9 August   5 August
 4.                                                                                                1,092 days
                                 Hoar                        Marine Corps    1991       1994




                                 GEN J. H.        United States              5 August   13 August
 5.                                                                                               1,104 days
                                 Binford Peay III Army                       1994       1997




                                 Gen Anthony                 United States   13 August 6 July
 6.                                                                                                1,058 days
                                 Zinni                       Marine Corps    1997      2000

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                                 GEN Tommy                   United States   6 July    7 July
 7.                                                                                              1,096 days
                                 Franks                      Army            2000      2003




                                 GEN John                    United States   7 July    16 March
 8.                                                                                             1,348 days
                                 Abizaid                     Army            2003      2007




                                 ADM William J. United States                16 March 28 March
 9.                                                                                            378 days
                                 Fallon         Navy                         2007     2008



                                                                                      31
                                 LTG Martin E.               United States   28 March
 (Acting)                                                                             October    217 days
                                 Dempsey                     Army            2008
                                                                                      2008



                                                                             31
                                 GEN David H.                United States             30 June
 10.                                                                         October             607 days
                                 Petraeus                    Army                      2010
                                                                             2008



                                 LtGen John R.               United States   30 June   11 August
 (Acting)                                                                                        42 days
                                 Allen                       Marine Corps    2010      2010




                                 Gen James                   United States   11 August 22 March
 11.                                                                                            954 days
                                 Mattis                      Marine Corps    2010      2013




                                 GEN Lloyd                   United States   22 March           Expr ession er r or :
 12.                             Austin                      Army            2013     Incumbent Unexpected number .
                                                                                                days


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Unit decor ations

The unit awards depicted below are for Headquarters, US Central Command at MacDill AFB. Award for
unit decorations do not apply to any subordinate organization such as the service component commands or
any other activities unless the orders specifically address them.




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                                                Joint                            Department of the Army General
                                                              2 August 1990 –
                                                Meritorious                      Order (DAGO) 1991-22 & 1992-
                                                              21 April 1991
                                                Unit Award                       34[19]
                                                Joint
                                                              1 August 1992 – 4
                                                Meritorious                     DAGO 1994-12 & 1996-01
                                                              May 1993
                                                Unit Award
                                                Joint
                                                              8 October 1994 –
                                                Meritorious                    DAGO 2001–25
                                                              16 March 1995
                                                Unit Award
                                                Joint
                                                              1 September 1996 Joint Staff Permanent Order (JSPO) J-
                                                Meritorious
                                                              – 6 January 1997 ISO-0012-97
                                                Unit Award
                                                Joint
                                                              1 October 1997 –
                                                Meritorious                    JSPO J-ISO-0241-98
                                                              15 July 1998
                                                Unit Award
                                                Joint
                                                              16 July 1998 – 1   JSPO J-ISO-0330-99 / DAGO 2001–
                                                Meritorious
                                                              November 1999      25
                                                Unit Award
                                                Joint
                                                              2 November 1999
                                                Meritorious
                                                              – 15 March 2001
                                                Unit Award
                                                Joint         11 September
                                                Meritorious   2001 – 1 May       DAGO 2005–09
                                                Unit Award    2003
                                                Joint
                                                              2 May 2003 – 31
                                                Meritorious
                                                              December 2005
                                                Unit Award
                                                Joint
                                                              1 January 2006 –
                                                Meritorious                      JSPO J-ISO-0061-08
                                                              1 March 2008
                                                Unit Award
                                                Joint
                                                              2 March 2008 – 1
                                                Meritorious
                                                              July 2010
                                                Unit Award
                                                Joint
                                                              2 July 2010 – 31
                                                Meritorious
                                                              July 2012
                                                Unit Award


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Categories: Military units and formations in Florida Organizations based in Tampa, Florida
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  Military units and formations established in 1983 1983 establishments in the United States


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     Police show off Homeland Security intelligence center

     B y Lin d a Tr is ch itta
     Sun Sentinel

     MARCH 20, 2015, 12:15 AM            |   DORAL




     A        t a secret location in Miami-Dade County, analysts and investigators tasked with preventing terrorist
              attacks study tips about possible plots that could be carried out between Key West and Palm Beach.

     They are part of the Southeast Florida Fusion Center, one of 78 centers in the United States and Guam, Puerto Rico
     and the U.S. Virgin Islands that make sure federal and local police agencies talk to one another about pending
     threats.

     On Thursday, the center promoted its "See Something, Say Something" campaign to engage residents of Monroe,
     Miami-Dade, Broward and Palm Beach counties in its efforts.

     Before the Sept. 11, 2001 al-Qaeda attacks when nearly 3,000 died, some of the terrorists trained at Florida air
     fields before flying jets into the World Trade Center, a field in Pennsylvania and the Pentagon in Washington,
     D.C.

     "There was information out there that wasn't being shared," said Lt. Mario Hernandez of Miami-Dade police, the
     agency that manages the eight-year-old center. "One agency had a piece of the puzzle, another agency had a piece
     of the puzzle, nobody had the whole puzzle. We're trying to prevent that from happening again."

     Besides crime analysis, they help local authorities prepare for big national events that South Florida frequently
     hosts and will lend equipment such as cameras to monitor crowds.

     The center's director, acting Maj. Janna Bolinger-Heller, of Miami-Dade Police, said she could not disclose most
     of its success stories or the number of terrorism incidents that have been thwarted.

     But officials said they helped investigate Raees Alam Qazi, 22, and his brother Sheheryar Alam Qazi, 32, of
     Oakland Park, who pleaded guilty March 12 to federal terrorism charges and admitted they plotted a terrorist
     attack on New York City landmarks.

     The center coordinated in 2014 with Miami Gardens police, U.S. Customs and Border Protection and Interpol in
     an investigation of two Bahamian men here illegally. One was sought in his country for the murder of a U.S.
     citizen; Bahamian authorities took him into custody. The other man was deported, according to Homeland
     Security.

     An example of what Bolinger-Heller called "unintended benefits" was how the center's cameras that had been lent
     to the Miami-Dade County Fair helped recover lost children.

     And during a past Urban Beach Week in Miami Beach, a camera placed on a causeway showed police racing to a
     Star Island mansion and a burglary suspect jumping off a backyard dock into Biscayne Bay, she said. The camera
     monitors directed cops to the swimming suspect.

     "You can't really put a price on the kinds of resources we have here and how we can use them to benefit the
http://www.sun-sentinel.com/local/fl-south-florida-homeland-operations-20150319-story.html                                1/3
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     community," Bolinger-Heller said.                                        150
   á    SEARCH
     For events such as Fort Lauderdale's air show or a Super Bowl, the center will begin its threat assessment months
     in advance and
     SUBSCRIBE   LOGpolls
                     IN the other centers in the country for intelligence reports, Lt. Margarita Varela said.

     They also consider local criminal activity, concerns for police and public safety in their preparations. Regardless of
   MEMBER  CENTER
    the professionals'
                     wefforts, Varela said, "the bottom line for the public is we can't do it alone. We have to work hand
     in hand together in order to prevent criminal activity or a terrorism attack from happening in our hometown. Our
    kids go to schoolw
   NEWS              here, our families work here, we go to the malls here, we celebrate here."

     Varela would like the center's tip lines — iwatchsouthflorida.com, seffc@mdpd.com and 855-352-7233 — to be
   CLASSIFIED              w
     used as often as Crime Stoppers.

   BROWARD           w type of person being reported on," Varela said. "Look at the behavior. Was a vehicle or item left
     "We don't want one
     behind? Before 9/11 we could walk by and not even challenge those things. In today's society, we can't. Bring this
   PALM BEACH
    to the attention ofwthe authorities and let us follow up on it."

    Tip s B ox : Eigh t Sign s of Ter r or is m
   SPORTS            w
     Su r veilla n ce: Someone recording or monitoring activities, taking notes, drawing diagrams, marking maps or
   ENTERTAINMENT
     using binocularsw
                     or other visual devices.

    Elicita tion : Groups
   BUSINESS           w or individuals seeking information in person or by mail, phone or email about military
     operations, capabilities or personnel.
   LIFESTYLE               w
     Tes ts of s ecu r ity: Attempts to measure reaction times by police to security breaches; efforts to go through
     security barriers or monitor procedures to assess strengths and weaknesses.
   HEALTH                  w
     Fu n d in g: Suspicious transactions involving large cash payments, withdrawals or deposits; asking for money for
   TRAVEL             w for criminal activities.
     donations, or to pay

    Su p p lies : Purchasing or stealing explosives, weapons or ammunition; acquiring military uniforms, decals, flight
   OPINION            w
     manuals, passes, badges or equipment to make them and other items.
   WEATHER
     Im p er s on a tionw
                        : People who don't seem to belong, whether in a workplace, neighborhood, business or at border
     crossings and impersonation of law enforcement, military or corporate employees.
   SF PARENTING            w
     Reh ea r s a l: Putting people in place and moving them according to a plan without actually committing a terrorist
    act. &One
   CARS       elementw
           TRUCKS    of this activity includes mapping routes and timing traffic lights and flow.

     Dep loym en t: People and supplies getting into position to commit an act. This is the last chance for someone to
   VIDEOS & PHOTO          w
     alert authorities before a terrorist event happens.

     Source: Southeast Florida Fusion Center

     Ltrischitta@Tribune.com, 954-356-4233 or Tw itter @Linda Trischitta

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     ThePostGame




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                                                                           POLITICS


                                               Sheriﬀ Joe vs. Uncle Sam
              Joe Arpaio, America's most flamboyant lawman, hired a private detective to
                 investigate the wife of a federal judge considering whether he was in
                                            contempt of court.




                                                                                                             Ross D. Franklin / AP
                                                                    DAVID A. GRAHAM
                                                                      APR 25, 2015




            Lots of conservatives talk a good game about how citizens should resist
            federal control and devolve power to local governments. Few of them are
            willing to put their convictions into action in quite the same way that Sheriff
            Joe Arpaio is.

            The man who calls himself "America's toughest sheriff" was already in
            trouble with Uncle Sam, on trial for contempt of court in a U.S. district court.

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            It was only once that was under way that Arpaio and his lawyer apparently
            had the idea to sic a private investigator on the wife of the federal judge
            hearing his case. That shows toughness. It shows a willingness to use
            unorthodox tactics to resist federal interference. It's also not especially
            bright.

            Reporters in the courtroom describe a somewhat shocking scene. Lawyers
            had completed their questioning when Judge Murray Snow announced he
            had some questions for Arpaio. After a series of queries, Snow asked: "Are
            you aware that I've been investigated by anyone?"

            The sheriff then admitted that his former attorney had hired the private
            investigator to look into a tipster's allegation that Snow's wife had told
            someone at a restaurant that Snow wanted to prevent Arpaio from being
            reelected. Arpaio's amazing rationalization: "We weren't investigating you.
            We were investigating some comments that came to our attention."

                                                      RELATED STORY




                                                      Sheriff Joe Arpaio: The Most Lawless
                                                      Lawman in America



            The sheriff was on trial for, well, thumbing his nose at the federal
            government. In 2011, Judge Murray Snow issued a ruling demanding that
            Arpaio stop anti-immigration patrols arresting people solely on suspicion of
            being in the country illegally, while Snow continued to consider whether they

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            constituted illegal racial profiling. (In 2013, Snow finally ruled that they did,
            forcing Arpaio to drop the patrols permanently.) Arpaio simply disregarded
            the order for 18 months—as he now acknowledges. The question is whether
            that was intentional or not; if the judge decides it's the former, he could find
            Arpaio in contempt. The sheriff's somewhat improbable explanation is that
            he simply didn't realize that a federal judge had issued the order.

            "I have a deep respect for the courts," Arpaio said. "It really hurts me after 55
            years to be in this position. I want to apologize to the judge. I should have
            known more about these court orders that slipped through the cracks."

            There are two problems with that. One is that a deputy testified this week
            that Arpaio had personally instructed him to continue enforcing federal
            immigration laws, in defiance of the judge's order. The second is that hiring a
            PI to investigate the judge who's considering whether you're in contempt of
            court isn't what most people would consider deep respect.

            "It is contemptuous behavior on its face," a former U.S. attorney told The
            Arizona Republic. "And it is information deserving of further investigation to
            determine if other criminal misconduct occurred here."

            Intimidating or trying to improperly influence a federal judge is in fact a
            crime. But this isn't the first time Arpaio has pulled a stunt like this—and in
            fact, he has a long history of launching investigations into political
            opponents. In 2012, a federal grand jury concluded a three-year
            investigation into abuse-of-power allegations without charging Arpaio.

            The U.S. Department of Justice also has a civil-rights lawsuit pending against
            the sheriff accusing him of retaliating against critics. In a bizarre Spy vs. Spy
            moment, Arpaio also admitted to Snow that he had used county funds in
            2013 to launch an investigation into ... the Justice Department. Elsewhere
            during the questioning, Arpaio "conced[ed] that the agency employed

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            unreliable informants, private investigators and an unknown amount of
            public funds to investigate Arpaio's political enemies," as the Republic put it.

            Arpaio's current attorney pushed back on the big revelation after the hearing,
            telling reporters: "These been no evidence that the sheriff ordered the
            judge's wife to be investigated." But his client's use of the first-person plural
            ("we were investigating some comments that came to our attention") would
            seem to contradict that.

            Courts have already found that Arpaio violated the law, and there's no longer
            any question that other aspects of his behavior—even those not yet
            adjudicated for legality—are outlandish. The law isn't especially conflicted
            on many of the issues about which he's outspoken. The federal government
            has authority to enforce immigration laws; Arpaio's racial profiling was
            unlawful; intimidating a judge, if that's what he's found to be doing, is
            unlawful too; and yes, Barack Obama was born in the United States.



            "I have a deep respect for the courts. I want to
            apologize to the judge. I should have known more
            about these court orders that slipped through the
            cracks."

            But there's a conflict between rule of law and rule of the people, and between
            the federal government and local authority. Arpaio has won six elections,
            never by less than six points. The closest was in 2012, when his legal trouble
            was already underway and well into his ill-advised birther crusade against
            Obama, but in 2008 he won by a comfortable 13 points. The point is:
            Maricopa County voters like Arpaio and have kept returning him to office,
            even as his M.O. has become abundantly clear. Maybe Washington doesn't
            want him enforcing federal immigration laws, but a majority of Phoenix-area
            voters apparently do. Besides, not all of the raps on Arpaio have stuck—
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            witness the federal grand jury that didn't charge him (though that may have
            been mostly because of a challenging burden of proof).

            This conflict between federal and local authority, never far from the surface
            in American history, has seen a resurgence in recent years, as conservative
            governments—mostly at the state level—have reacted to legislation passed by
            Democrats and backed by Obama by attempting to nullify or reject federal
            law. On issues from Obamacare to gun control, state legislators have even
            tried to write laws that would make enforcing federal statutes illegal. Few of
            these laws have passed, though, and if they did, they'd have little chance of
            surviving judicial review.

            What's interesting about Arpaio is that unlike lawmakers who have pursued
            doomed legislative attempts to stop the liberal agenda, the sheriff is fighting
            back using his own executive authority, mixed with street-fighting moves.
            And when the federal judiciary has smacked him down, he's simply
            ratcheted up those efforts.

            Perhaps investigating a federal judge's wife will be one step too far and spell
            his demise. If not, he could run for a seventh time in 2016. There's some
            precedent for voters punishing anti-federal pols in Arizona—they tossed State
            Senator Russell Pearce, the major proponent of Arizona's controversial
            illegal-immigration bill, after he seemed to have gone too far. Don't assume
            the same rules will apply to Joe Arpaio that apply to everyone else, though—
            he certainly doesn't think they do.

            ABOUT THE AUTHOR

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                            National.

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                         U.S. Air Force Intel Unit
                         Helped Kill 1,200 People
                         in a Year
                         361st Intelligence, Surveillance and
                         Reconnaissance Group fed information to
                         commandos

                          by DAVID AXE

                          A secretive group of U.S. Air Force intelligence specialists ﬂying aboard
                          American spy planes helped U.S. military commandos kill more than a
                          thousand enemy combatants in just a single year back in 2012.

                          That’s one startling revelation in the oﬃcial annual history for 2012 of the
                          Air Force’s Intelligence, Surveillance and Reconnaissance Agency, a heavily-
                          redacted copy of which War Is Boring obtained through the Freedom of
                          Information Act.

                          Linguists and analysts from the 361st Intelligence, Surveillance and
                          Reconnaissance Group at Hurlburt Field in Florida ﬂew on at least 31,180
                          combat sorties in 2012, supporting no fewer than 960 separate operations
                          that resulted in Special Operations Forces detaining more than 3,980
                          people and killing at least 1,210, according to the history.

                          That single year’s kill tally probably makes the 361st one of the deadliest
                          individual organizations in the entire U.S. military.




                          The 361st began as an aerial mapping unit during World War II. In 2008, the
                          Air Force revived the unit as part of a massive expansion of intel units to
                          support counterterrorism operations and the wars in Iraq and Afghanistan.



https://medium.com/war-is-boring/u-s-air-force-intel-unit-helped-kill-1-200-people-d335ccf61cd0                                      1/8
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                          Between 2008 and 2012, the Pentagon grew its ﬂeet of spy planes and
                          surveillance drones by 238 percent—until they accounted for half of all Air
                          Force aircraft, according to the ISR Agency history. By 2012 the Defense
                          Department was spending $67 billion a year on intelligence and
                          surveillance.




            Above—a U.S. Air Force MC-12W. At top—airmen from the Air Force’s ISR Agency at work. Air Force photos




                          Many intel ﬂights require specialists to ﬂy aboard the aircraft to quickly
                          analyze the video the plane is shooting or translate the communications
                          between enemy ﬁghters that the aircraft’s receivers pick up.

                          The intelligence personnel can then pass the information they gather to
                          troops on the ground. The info might include the locations and strength of
                          enemy ﬁghters.



https://medium.com/war-is-boring/u-s-air-force-intel-unit-helped-kill-1-200-people-d335ccf61cd0                                      2/8
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                          The 361st—which oversees two smaller units of linguists and analysts, the
                          19th and 25th Intelligence Squadrons—provides the specialists for spy
                          ﬂights supporting Special Operations Forces. The group “is heavily tasked
                          around the world,” the Air Force stated in a fact sheet.

                          Tech. Sgt. Brandi Fast from the 25th Intelligence Squadron was the Defense
                          Department’s Language Professional of the Year in 2013. That year she
                          deployed twice to Southwest Asia—Afghanistan, presumably—and helped
                          during a mission to rescue 14 crew from a coalition helicopter that crashed.



      Fast has a 16,000-word vocabulary in three languages, according to the Air Force.


                          Lt. Col. John Shirley, the 361st’s commander since April 2014, called his
                          people “the best and brightest America and the Air Force has to oﬀer.”




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                                                        A U.S. Air Force U-28. Air Force photo




                          The planes the 361st’s specialists ride in could include special commando
                          aircraft belonging to the Air Force or the Army. The Air Force’s few public
                          releases concerning the 361st speciﬁcally mention U-28 and MC-12W spy
                          planes, which are heavily-modiﬁed turboprop transports sporting
                          sophisticated sensors.

                          The MC-12W was a ﬁxture in Afghanistan until recently. The U-28s spend
                          much of their time in Africa.

                          The 361st’s intel personnel also support drone ﬂights, presumably by sitting
                          in the robot planes’ command trailers and analyzing video and
                          communications intercepts the drones pipe in. In 2012, 19 percent of the
                          31,180 sorties the 361st’s people supported were drone ﬂights, according to
                          the ISR Agency history.



https://medium.com/war-is-boring/u-s-air-force-intel-unit-helped-kill-1-200-people-d335ccf61cd0                                      4/8
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       Based on the more than 1,200 people the 361st helped to kill in 2012, the group’s
      work is certainly deadly to the bad guys. But the unit has also suﬀered casualties of
                                            its own.


                          On Feb. 18, 2012, a U-28 crashed in Djibouti in East Africa, killing Senior
                          Airman Julian Scholten from the 25th Intelligence Squadron.

                          And the 361st’s Staﬀ Sgt. Richard Dickson, who operated signals-
                          intercepting gear, died in Afghanistan on April 27, 2013, when his MC-12W
                          went down in hostile territory.




https://medium.com/war-is-boring/u-s-air-force-intel-unit-helped-kill-1-200-people-d335ccf61cd0                                      5/8
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                                 The NSA Listened as Chinese MiGs Shot
                                 Down American Warplanes
                                 Declassified docs detail Vietnam War air clashes
                                 medium.com




                                 The U.S. Is Sending Specialists to Iraq to
                                 Keep Tabs on Iran’s Agents
                                 Counterintelligence troops help guard against spies
                                 medium.com




                                 The Pentagon Deployed Scent Warfare in
                                 Vietnam
                                 Electronic sniffers literally smelled for the enemy
                                 medium.com




https://medium.com/war-is-boring/u-s-air-force-intel-unit-helped-kill-1-200-people-d335ccf61cd0                                      7/8
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                          IN UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.: 15-cv-20782-Martinez

  DENNIS MONTGOMERY,

                    Plaintiff,
  v.

  RISEN, ET AL.

                 Defendants.
  _____________________________/

                  PLAINTIFF’S REVISED INITIAL DISCLOSURE WITNESS LIST

  Montgomery, Dennis
  Miami, Florida
  Software Validation and all issues relevant to the Complaint

  Risen, James
  Maryland
  Book, defamatory statements, actual malice, communications with Dennis Montgomery and all
  issues relevant to the Complaint

  FRCP Rule 30(b)(6) witnesses of corporate Defendants

  Mr. William Bayers, Esq.
  General Counsel
  Boston, Massachusetts 02116
  Defamation, classified information, asked to correct defamatory statements, no journalistic
  standards, Florida contacts and sales, fact checking and all issues relevant to the Complaint

  Linda K. Zecher
  President, Chief Executive Officer and Director
  Boston, Massachusetts 02116
  Defamation, classified information, asked to correct defamatory statements, fact checking,
  Florida contacts and sales and all issues relevant to the Complaint

  David Eber
  Vice President and Associate General Counsel
  Boston, Massachusetts 02116
  Defamation, classified information, asked to correct defamatory statements, all issues relevant to
  the Complaint




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  Brook Colangelo
  VP Houghton Mifflin Harcourt
  White House Network Email and Network Infrastructure
  all issues relevant to the Complaint

  Houghton Mifflin Harcourt Publishing Company
  Boston, Massachusetts 02116
  all issues relevant to the Complaint

  Rosemary Moseley
  Lake Placid, Florida
  Purchase of Book in Florida
  all issues relevant to the Complaint

  Kimberly Hines
  Ft. Lauderdale, Florida
  Montgomery Reputation, Purchase of Book in Florida
  all issues relevant to the Complaint

  Goss, Porter
  Director of CIA
  Miami, Florida
  Software Validation, White House and Congressional Briefing
  all issues relevant to the Complaint

  Johns, Ken
  Macdill AFB, Florida
  Software Validation, White House and Congressional Briefing, Montgomery Reputation
  all issues relevant to the Complaint

  Lyons, XXXXX
  Macdill AFB, Florida
  Software Validation, White House and Congressional Briefing, Montgomery Reputation
  all issues relevant to the Complaint

  Macbeth, W. Rhys
  Eglin AFB, Florida
  Software Validation, White House and Congressional Briefing, Montgomery Reputation
  all issues relevant to the Complaint

  Nazelrod, Craig
  Eglin AFB, Florida
  Software Validation, White House and Congressional Briefing
  all issues relevant to the Complaint

  Pipes, XXXXX



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   Macdill AFB, Florida
   Reputation Damage
   all issues relevant to the Complaint

   Roche, James
   Macdill, Florida
   Software Validation, White House and Congressional Briefing, CIA Visits, eTreppid Visits
   all issues relevant to the Complaint

   Rumsfeld, Donald
   Florida
   Software Validation, White House and Congressional Briefing, CIA Visits, Reputation damage
   all issues relevant to the Complaint

   Stillman, Phillip
   Attorney Dennis Montgomery
   Miami, Florida
   Dennis Montgomery Legal Briefs, Whistleblower complaints
   all issues relevant to the Complaint

   Madden, Tom
   Boca Raton, Florida
   Reputation, damage to reputation in FL
   all issues relevant to the Complaint

   Olivia, Adrian
   Eglin AFB, Florida
   US Government contracts, CIA Briefings, Software Functionality, Congressional Briefings
   all issues relevant to the Complaint

   Bartholomew Mary L
   Eglin AFB, Florida
   US Government contracts, CIA Briefings, Software Functionality, Congressional Briefings
   all issues relevant to the Complaint

   Fiamengo, Nicholas A
   Eglin AFB, Florida
   US Government contracts, CIA Briefings, Software Functionality, Congressional Briefings
   all issues relevant to the Complaint

   Freeman, Gregory J
   Eglin AFB, Florida
   US Government contracts, CIA Briefings, Software Functionality, Congressional Briefings
   all issues relevant to the Complaint

   Savage Cynthia



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   Eglin AFB, Florida
   US Government contracts, CIA Briefings, Software Functionality, Congressional Briefings
   all issues relevant to the Complaint

   McCool John C
   Eglin AFB, Florida
   US Government contracts, CIA Briefings, Software Functionality, Congressional Briefings
   all issues relevant to the Complaint

   Temple James K
   Eglin AFB, Florida
   US Government contracts, CIA Briefings, Software Functionality, Congressional Briefings
   all issues relevant to the Complaint

   Griffin Susan M.
   Macdill AFB, Florida
   US Government contracts, CIA Briefings, Software Functionality, Congressional Briefings
   all issues relevant to the Complaint

   Russell, Deborah
   Macdill AFB, Florida
   US Government contracts, CIA Briefings, Software Functionality, Congressional Briefings
   all issues relevant to the Complaint

   Nettelhorst Doug M
   Macdill AFB, Florida
   US Government contracts, CIA Briefings, Software Functionality, Congressional Briefings
   all issues relevant to the Complaint

   Stallworth Hugh T
   Macdill AFB, Florida
   US Government contracts, CIA Briefings, Software Functionality, Congressional Briefings
   all issues relevant to the Complaint

   Bob McCaskey
   Macdill AFB, Florida
   Northrop Grumman TASC
   US Government contracts, CIA Briefings, Software Functionality, Congressional Briefings
   all issues relevant to the Complaint

   Crutchfield, Chris
   Macdill AFB, Florida
   US Government contracts, CIA Briefings, Software Functionality, Congressional Briefings
   all issues relevant to the Complaint

   Melnyk, Michael S.



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   Macdill AFB, Florida
   US Government contracts, CIA Briefings, Software Functionality, Congressional Briefings
   all issues relevant to the Complaint

   Lopez Tina M
   Macdill AFB, Florida
   US Government contracts, CIA Briefings, Software Functionality, Congressional Briefings

   Cerny, Jeffrey D.
   Macdill AFB, Florida
   US Government contracts, CIA Briefings, Software Functionality, Congressional Briefings
   all issues relevant to the Complaint

   Muccio Anthony B
   Eglin AFB, Florida
   US Government contracts, CIA Briefings, Software Functionality, Congressional Briefings
   all issues relevant to the Complaint

   McKinney Scott E LtCol
   Eglin AFB, Florida
   US Government contracts, CIA Briefings, Software Functionality, Congressional Briefings
   all issues relevant to the Complaint

   Purvis Brad Civ
   Eglin AFB, Florida
   US Government contracts, CIA Briefings, Software Functionality, Congressional Briefings
   all issues relevant to the Complaint

   'Kirsch, Jim'
   Eglin AFB, Florida
   US Government contracts, CIA Briefings, Software Functionality, Congressional Briefings
   all issues relevant to the Complaint

   Hughes Stacey L
   Eglin AFB, Florida
   US Government contracts, CIA Briefings, Software Functionality, Congressional Briefings
   all issues relevant to the Complaint

   Abramson, Jill
   Former New York Times Editor in Chief
   New York, NY
   Dennis Montgomery Reputation, James Risen, Eric Lichtblau
   all issues relevant to the Complaint

   Anderson, Jesse
   Employee eTreppid Technologies



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   Reno, Nevada
   SOCOM work
   all issues relevant to the Complaint

   Azzinaro, Neil
   2006 Search Warrant
   Las Vegas, Nevada
   2006 Search Warrant
   all issues relevant to the Complaint

   Bauder, Jim
   Employee eTreppid Technologies
   Reno, Nevada
   SOCOM work
   all issues relevant to the Complaint

   Blixseth, Edra
   Beverly Hills, CA
   760-831-1982
   Software Works
   all issues relevant to the Complaint

   Blixseth, Tim
   Medina, WA 98004
   760-333-9024
   Software Works
   all issues relevant to the Complaint

   Frye, Doug
   Malibu, CA
   Government Contracts, Montgomery Reputation, eTreppid Bank Accounts
   all issues relevant to the Complaint

   Sandoval, Michael
   Bellevue, WA
   Software Functionality, Mass Surveillance Technology, Congressional Briefing, Mike Flynn

   Snowden, Edward
   Somewhere in Russia
   Mass Surveillance Technology, NSA and CIA Briefing
   all issues relevant to the Complaint

   Trepp, Warren
   Reno, NV
   US Government contracts, CIA Briefings, Search Warrant, Software Functionality
   all issues relevant to the Complaint



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   Venables, Sloan
   Virginia City, NV
   US Government contracts, CIA Briefings, Search Warrant, Software Functionality
   all issues relevant to the Complaint

   Wiedermann, Peter
   Contractor USAF
   Kirkland, WA
   US Government contracts, CIA Briefings, Search Warrant, Software Functionality
   all issues relevant to the Complaint


      •   This is an initial disclosure witness list and Plaintiff reserves the right to supplement it as
          this case proceeds to discovery and trial.

   Dated: April 27, 2015                                 Respectfully submitted,

                                                         /s/ Larry Klayman
                                                         Larry Klayman, Esq.
                                                         Klayman Law Firm
                                                         FL Bar No. 246220
                                                         7050 W Palmetto Park Rd.
                                                         Suite 15-287
                                                         Boca Raton, FL 33433
                                                         (310) 595-0800
                                                         leklayman@gmail.com
                                                         Attorney for Plaintiff




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                                          ATTACHMENT A

           LIST OF EXAMPLES OF DEFAMATORY STATEMENTS, COMMENTS


                                       DEFAMATION PER SE

          1.      The following statements are “defamatory per se,” recognized under Florida law

   when statements are so powerful in their ability to hurt someone that Florida law presumes

   harmful as a matter of law. Montgomery v. Knox, 23 Fla. 595, 3 So. 211, 217 (1887), such that a

   judge will allow damages to be awarded in these cases even if no evidence of harm has been

   presented. “[T]he law presumes malice in their utterance,” Abraham v. Baldwin, 52 Fla. 151, 42

   So. 591, 592 (1906), where the words are “… of such common notoriety established by the

   general consent of men, that the courts must of necessity take judicial notice of its harmful

   effect.” Layne v. Tribune Co., 108 Fla. 177, 146 So. 234, 236 (1933). 1

          2.      First, on Page 32 of the Book, Risen writes: 2

                  “Consider the example of Dennis Montgomery. He provides a
                  perfect case study to explain how during the war on terror greed and
                  ambition have been married to unlimited rivers of cash to create a
                  climate in which someone who has been accused of being a con
                  artist was able to create a rogue intelligence operation with little or
                  no adult supervision. Crazy became the new normal in the war on
                  terror, and the original objectives of the war got lost in the process.”

          3.      As libel per se, Risen asserted that out of “greed” Montgomery “create[d] a rogue

   intelligence operation with little or no adult supervision and that he was “someone who has been

   accused of being a con artist.”

   1
           Examples of defamation per se include those that hurt one’s profession, business or trade;
   falsely state that a person has a socially unacceptable illness or disease; or falsely state that a
   person has been involved in some kind of criminal activity. Lawnwood Medical Center Inc. v.
   Sadow, 43 So. 3d 710, 729 (Fla. 4th DCA 2010).
   2
           Note that several statements may qualify under different theories, but are presented in full
   for proper context. Some statements are repeated for that portion of the statement that qualifies
   under different theories of defamation under Florida law.
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          4.      Second, on Page 32 of the Book, the Risen writes:

                  “Whatever else he was, Dennis Montgomery was a man who
                  understood how best to profit from America’s decade of fear. He saw
                  the post-9/11 age for what it was, a time to make money. Montgomery
                  was the maestro behind what many current and former U.S. officials
                  and others familiar with the case now believe was one of the most
                  elaborate and dangerous hoaxes in American history, a ruse that was so
                  successful that it nearly convinced the Bush administration to order
                  fighter jets to start shooting down commercial airliners filled with
                  passengers over the Atlantic. Once it was over, once the fever broke
                  and government officials realized that they had been taken in by a
                  grand illusion, they did absolutely nothing about it. The Central
                  Intelligence Agency buried the whole insane episode and acted like it
                  had never happened. The Pentagon just kept working with
                  Montgomery. Justice Department lawyers fanned out across the country
                  to try to block any information about Montgomery and his schemes
                  from becoming public, invoking the state secrets privilege in public, a
                  series of civil lawsuits involving Montgomery. It was as if everyone in
                  Washington was afraid to admit that the Emperor of the War on Terror
                  had no clothes.”

          5.      As libel per se, Risen asserted Montgomery’s work “many current and former

   U.S. officials and others familiar with the case now believe was one of the most elaborate and

   dangerous hoaxes in American history, a ruse that was so successful that it nearly convinced the

   Bush administration to order fighter jets to start shooting down commercial airliners filled with

   passengers over the Atlantic.”

          6.      As libel per se, Risen asserted about the Montgomery that “once the fever broke

   and government officials realized that they had been taken in by a grand illusion, they did

   absolutely nothing about it …”

          7.      Third, on Page 33 of the Book, Risen writes:

                  “A former medical technician, a self-styled computer software
                  expert with no experience whatsoever in national security affairs,
                  Dennis Montgomery almost singlehandedly prompted President
                  Bush to ground a series of international commercial flights based
                  on what now appears to have been an elaborate hoax. Even after it
                  appeared that Montgomery had pulled off a scheme of amazing



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                  scope, he still had die-hard supporters in the government who
                  steadfastly refused to believe the evidence suggesting that
                  Montgomery was a fake, and who rejected the notion that the
                  super-secret computer software that he foisted on the Pentagon and
                  CIA was anything other than America’s salvation.”

          8.      As libel per se, Risen asserted that Montgomery’s work “now appears to have

   been an elaborate hoax.”

          9.      As libel per se, Risen asserted that “die-hard supporters in the government who

   steadfastly refused to believe the evidence suggesting that Montgomery was a fake.”

          10.     As libel per se, Risen asserted that he “that he foisted on the Pentagon and CIA”

   super-secret computer software.

          11.     Fourth, on Page 34 of the Book, the Risen writes:

                  “Montgomery was an overweight, middle-aged, incorrigible gambler,
                  a man who liked to play long odds because he was convinced that he
                  could out-think the house. He once boasted to a business partner that
                  he had a system for counting an eight-deck blackjack shoe, quite a
                  difficult feat for even the best card sharks, and he regularly tested his
                  theories at the El Dorado and the Peppermill Casino in Reno. He
                  usually came up short but that didn’t stop him from playing blackjack
                  on a nightly basis, racking up unwieldy debts that eventually led to his
                  2010 arrest for bouncing more than $ 1 million in bad checks at
                  Caesar’s Palace in Las Vegas.”

          12.     As libel per se, Risen asserted about the Montgomery that he was an “incorrigible

   gambler,” meaning in effect that Montgomery was a gambling addict who was “playing

   blackjack on a nightly basis.” Historically, gambling and in particular an uncontrollable

   gambling addict is a loathsome social status.

          13.     Fifth, on Page 36 of the Book, Risen writes:

                  “Michael Flynn, Montgomery’s former lawyer— who later
                  concluded that Montgomery was a fraud.”




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          14.    As libel per se, Risen asserted about the Montgomery that Montgomery’s lawyer

   “concluded that Montgomery was a fraud.”

          15.    Sixth, on Page 37 of the Book, Risen writes:

                 “By the spring and summer of 2003, eTreppid was awarded contracts
                 by both the air force and U.S. Special Operations Command.
                 Montgomery was able to win over the government in part by offering
                 field tests of his technology —tests that former employees say were
                 fixed to impress visiting officials. Warren Trepp later told the FBI
                 that he eventually learned that Montgomery had no real computer
                 software programming skills, according to court documents that
                 include his statements to the FBI. Trepp also described to federal
                 investigators how eTreppid employees had confided to him that
                 Montgomery had asked them to help him falsify tests of his object
                 recognition software when Pentagon officials came to visit. Trepp
                 said that on one occasion, Montgomery told two eTreppid employees
                 to go into an empty office and push a button on a computer when they
                 heard a beep on a cell phone. Meanwhile, Montgomery carried a toy
                 bazooka into a field outside eTreppid. He was demonstrating to a
                 group of visiting U.S. military officials that his technology could
                 recognize the bazooka from a great distance.”

          16.    As libel per se, Risen asserted about Montgomery that he committed fraud

   including defrauding the U.S. Government, prohibited under the False Claims Act codified at 31

   U.S.C. §§ 3729 – 3733.

          17.    Seventh, on Page 37 of the Book, Risen writes:

                 “After he was in place in the field, he used a hidden cell phone to
                 buzz the cell phone of one the eTreppid employees, who then pushed
                 a key on a computer keyboard, which in turn flashed an image of a
                 bazooka on another screen prominently displayed in front of the
                 military officers standing in another room, according to court
                 documents. The military officers were convinced that Montgomery’s
                 computer software had amazingly detected and recognized the
                 bazooka in Montgomery’s hands. (Montgomery insists that the
                 eTreppid employees lied when they claimed that he had asked them to
                 fix the tests, and also says that the air force issued a report showing
                 that it had verified the tests.)”




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           18.     As libel per se, Risen asserted about Montgomery that he committed fraud

   including defrauding the U.S. Government, prohibited under the False Claims Act codified at 31

   U.S.C. §§ 3729 – 3733.

           19.     Eighth, on Page 40 of the Book, Risen writes:

                   “Montgomery brilliantly played on the CIA’s technical insecurities
                   as well as the agency’s woeful lack of understanding about al
                   Qaeda and Islamic terrorism. He was able to convince the CIA that
                   he had developed a secret new technology that enabled him to
                   decipher al Qaeda codes embedded in the network banner
                   displayed on the broadcasts of Al Jazeera, the Qatar-based news
                   network. Montgomery sold the CIA on the fantasy that al Qaeda
                   was using the broadcasts to digitally transmit its plans for future
                   terrorist attacks. And only he had the technology to decode those
                   messages, thus saving America from another devastating attack.
                   The CIA— more credulous than Hollywood or Las Vegas— fell
                   for Montgomery’s claims. In short, he convinced CIA officials that
                   he could detect terrorist threats by watching television.”

           20.     As libel per se, Risen asserted about Montgomery that “Montgomery sold the

   CIA on the fantasy that al Qaeda was using the broadcasts to digitally transmit its plans for

   future terrorist attacks.”

           21.     As libel per se, Risen asserted about Montgomery that he defrauded the CIA.

           22.     Ninth, on Page 42 of the Book, Risen writes:

                   “A CIA official defensively pointed out that the agency did not
                   actually have a contract with eTreppid at the time Montgomery was
                   providing data from the Al Jazeera videotapes. While they were
                   working closely together during the final months of 2003, the CIA
                   had not yet started paying Montgomery, the official said. The
                   agency never finalized a contract with him because agency staff
                   eventually realized they had been conned, according to this official.
                   But that does not diminish the fact that for a few crucial months, the
                   CIA took Montgomery and his technology very seriously.”

           23.     As libel per se, Risen asserted about Montgomery that “agency staff eventually

   realized they had been conned, according to this official.”




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          24.     Tenth, on Page 46 of the Book, the Risen writes:

                  “It did not take long for the French firm to conclude that the whole
                  thing was a hoax. The French company said that there were simply
                  not enough pixels in the broadcasts to contain hidden bar codes or
                  unseen numbers. The firm reported back to the French government
                  that the supposed intelligence was a fabrication.”

          25.     As libel per se, Risen asserted about Montgomery that “the whole thing”

   (Montgomery’s work) “was a hoax” and a “fabrication.”

          26.     Eleventh, on Page 46 of the Book, the Risen writes:

                  “The CIA never investigated the apparent hoax nor examined how it
                  had been handled inside the agency. No one involved in promoting
                  Montgomery, in vouching for his information to the president, or in
                  proposing to shoot down planes based on his claims ever faced any
                  consequences.”

          27.     As libel per se, Risen asserted about Montgomery that his work was a hoax.

          28.     Twelfth, on Page 47 of the Book, the Risen writes:

                  “At the time of the Christmas 2003 scare, John Brennan was head of
                  the newly created Terrorist Threat Integration Center and in charge of
                  distributing terrorism-related intelligence throughout the government.
                  That meant that Brennan’s office was responsible for circulating
                  Montgomery’s fabricated intelligence to officials in the highest
                  reaches of the Bush administration. But Brennan was never
                  admonished for his role in the affair. After Barack Obama became
                  president, Brennan was named to be his top counterterrorism advisor
                  in the White House. He later became CIA director.”

          29.     As libel per se, Risen asserted about Montgomery that “That meant that

   Brennan’s office was responsible for circulating Montgomery’s fabricated intelligence to

   officials in the highest reaches of the Bush administration.”

          30.     Thirteenth, on Page 50 of the Book, Risen writes:

                  “Edra Blixseth was Dennis Montgomery’s latest mark. After being
                  introduced to him by a former Microsoft executive and then hearing
                  Montgomery explain his software, she agreed in 2006 to bankroll
                  Montgomery to launch a new company, to be called Blxware.



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                  Montgomery needed new government contracts for Blxware, and
                  Edra Blixseth had the money and contacts to try to make it happen.”

          31.     As libel per se, Risen asserted about Montgomery that “Edra Blixseth was Dennis

   Montgomery’s latest mark,” clearly asserting Montgomery to be a con man.

          32.     The libel is false, including because Montgomery owed no stock or ownership in

   BLIXWARE so as to be able to make a “mark” of Edra Blixseth.

          33.     Fourteenth, on November 6, 2014, James Risen appeared as an interview guest

   on “The Daily Show with Jon Stewart,” by Comedy Central, interviewed by Jon Stewart.

   Exhibit A, attached. The television interview was taped at The Daily Show’s studio 11th Avenue

   between 51st and 52nd Street, New York (Manhattan), New York, and broadcast for the first time

   nationwide across the United States of America through cable television and satellite television

   on “The Comedy Central” channel.

          34.     James Risen stated in said television interview for his statements to be broadcast

   on TV that his favorite story is the story of –

                  Dennis Montgomery who is this guy was as a computer software
                  expert, supposed expert. Who convinced the CIA in 2003 that he had
                  the super-secret technology to read Al Jazeera news broadcasts and
                  decipher Al Qaeda codes inside the [interrupted by Jon Stewart]

                  [Jon Stewart] An Enigma machine for Al Qaeda...?

                  [Dennis Montgomery] Right. And he convinced the CIA in 2003 that
                  he could read numbers and letters hidden in the Al Jazeera broadcasts
                  that corresponded with flights that Al Qaeda was going to shoot down,
                  knock--- or blow up….

                  President Bush was so convinced of this that they grounded flights all
                  over the world at Christmas 2003 based on this guy's intelligence or
                  supposed intelligence. It took the French intelligence service, who had
                  gotten very mad because they grounded flights from Paris to Los
                  Angeles. And they demanded that the CIA tell them where they were
                  getting this information. And so they finally [non-verbal




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                  interruption]. They finally got the information. The French told them
                  this is a hoax. This is a fabrication.

                  And as soon as the CIA agreed with them, they covered the whole thing
                  up, and refused to ever talk about it. And Montgomery kept getting
                  more contracts after that.

                  [Other, extended discussion with Jon Stewart on other topics]

                  There is lots of raw intelligence every day that says there is an attack
                  about to happen. You really have to be a pretty sophisticated
                  consumer of intelligence after several years to begin to realize what's
                  real and what's not really a credible threat.

          35.     As libel per se, Risen asserted about Montgomery that “he convinced the CIA in

   2003 that he could read numbers and letters hidden in the Al Jazeera broadcasts that

   corresponded with flights that Al Qaeda was going to shoot down, knock--- or blow up….

          36.     As libel per se, Risen asserted about Montgomery that “The French told them this

   is a hoax. This is a fabrication. And as soon as the CIA agreed with them, they covered the

   whole thing up, and refused to ever talk about it. And Montgomery kept getting more contracts

   after that.” The statement that “the CIA agreed with them” is Risen’s assertion about

   Montgomery’s work that “this is a hoax. This is a fabrication.”

          37.     As libel per se, Risen asserted about Montgomery that “they covered the whole

   thing up, and refused to ever talk about it,” as a way of saying that the CIA had been conned.

          38.     Fifteenth, on October 13, 2014, James Risen gave a television interview 3 with

   Judy Woodruff which was broadcast nationwide by the Public Broadcasting System (PBS). In

   that interview, James Risen made the following statements for broadcast on television, and Judy

   Woodruff repeated many points from James Risen’s book which Risen agreed with and

   endorsed. Much of the interview involved other chapters not relevant here.



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          http://www.pbs.org/newshour/bb/costs-security-price-high/


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                JUDY WOODRUFF: In the next chapter, JAMES RISEN, you write
                about millions of dollars spent on programs that were completely
                fraudulent. One was run by a man named Dennis Montgomery. He
                was a, He was a .... I guess he had worked in computer software...
                but he was a GAMBLER! 4

                JAMES RISEN: Right.

                JUDY WOODRUFF: And he sold the CIA and the Pentagon on
                technology that turned out to be not at all what he said it was.

                JAMES RISEN: It is difficult to tell in some of these cases who is
                scamming who. If you talk to Montgomery, he argues that the CIA
                wanted him to do what he was doing. And so its a fascinating
                dynamic that's developed in the war on terror, between people who
                recognize the opportunities for this gold rush and the agencies which
                are... who have so much money to spend now, they're getting so much
                more money than they ever had before, that in some cases they don't
                know what to do with.

                In this case, they began to believe, in this sort of war fever, that you
                could find Al Qaeda messages hidden in Al Jazeera broadcasts. And
                so that.. that program, that highly secret program, was used to ground
                planes all over Europe and the United States

                JUDY WOODRUFF: When actually there was nothing to it.

                JAMES RISEN: Right

                JUDY WOODRUFF: It was a hoax.

                JAMES RISEN: Right. Right.

                JUDY WOODRUFF: And then there was another part of it where he
                was saying he had special facial recognition software....

                JAMES RISEN: Right. Right

                JUDY WOODRUFF: ... used on drones?

                JAMES RISEN: Yeah. There were cases in which people said that
                he was fooling the military and the CIA about his operations and
                how... what kind of techniques and technologies he had. He would
                argue that the CIA actually wanted him and or the army believed him

   4
         Emphasis, by exclamation in tone of voice, the in original conversation.


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                  and tested it. So it's this very complicated story about a man
                  recognizing an opportunity who had never been involved in national
                  security before and the CIA and the military all just hungry for
                  whoever could come with the latest idea.

          39.     As libel per se, Risen asserted about Montgomery that “you write about millions

   of dollars spent on programs that were completely fraudulent. One was run by a man named

   Dennis Montgomery,” which Risen confirms by saying “Right.” (Actually where the discussion

   is about “the next chapter” that chapter is exclusively about Dennis Montgomery alone.)

          40.     As libel per se, Risen asserted about Montgomery that “When actually there was

   nothing to it,” which Risen confirms by saying “Right.” And also “It was a hoax,” which Risen

   confirms by saying “Right. Right.”

          41.     As libel per se, Risen asserted about Montgomery that “There were cases in

   which people said that he was fooling the military and the CIA about his operations and how...

   what kind of techniques and technologies he had.”

          42.     Sixteenth, on October 24, 2014, James Risen gave an audio interview with Lucy

   Worsley published on the New York Times website, titled “Inside The New York Times Book
                                                                                             5
   Review: James Risen’s ‘Pay Any Price’” which is accessible at that website address.           In this

   interview “Inside The New York Times Book Review,” with Pamela Paul, October 24, 2014,

   James Risen stated for national broadcast:

                  PAMELA PAUL: How do we count and account for the costs of the
                  government's war on terror. We'll talk to James Risen, author of Pay
                  Any Price: Greed, Power, and Endless War.




   5
          See: ArtsBeat: Book Review Podcast: James Risen's 'Pay Any Price', by John Williams,
   New York Times, October 24, 2014, http://artsbeat.blogs.nytimes.com/2014/10/24/book-review-
   podcast-james-risens-pay-any-price/ , based upon Louise Richardson’s book review of Risen’s
   book.


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               JAMES RISEN ("tease" audio clip): It seems to me that what the
               war on terror had become in thirteen years was a search for cash and a
               search for power and status.

               PAMELA PAUL: What is the British fascination with murder?
               Lucy Worsley will explain all joining us to talk with us about her new
               book: The Art of the English Murder.

               LUCY WORSLEY ("tease" audio clip): The public used to consume
               murder in a way that you can still see the modern media doing it
               today. Just look at the Pistorius trial.

               PAMELA PAUL: Alexander Alter will be here with Notes from the
               Publishing world. And Greg Cole has bestseller news. This is "Inside
               the New York Times Book Review." I am Pamela Paul.

               James Risen joins me now. His new book is Pay Any Price: Greed,
               Power, and Endless War. Hi James.

               JAMES RISEN: Hi, thanks for having me.

               PAMELA PAUL: Thanks for being here. Now this is a book that
               covers a lot of territory. Tell us briefly about what it is you set out to
               write about in the book.

               JAMES RISEN: What I wanted to do was, I'd written one book
               before about the war on terror, and I wanted to follow up with a new
               book that kind of looked at where we were 13 years after 9/11 and
               how we had what started out in the immediate aftermath of 9/11 as
               kind of a search for justice or a search for retribution or whatever you
               want to think, say we were doing right after 9/11 as a country. It
               seemed to me that what the war had become in 13 years was a search
               for cash and a search for power and status and that it was becoming
               an endless war in which we had a new mercenary class of people who
               were taking advantage of the war on terror. And that enormous
               unintended consequences had happened. And I began to hear about
               just some really crazy things that were going on. And so I thought it
               would make a good story.

               [The discussion then covers the Chapter "Rosetta" not relevant here,
               concerning a lawsuit for 9/11 families against Saudi Arabia, except
               the ending]

               JAMES RISEN [winds up the Chapter on "Rosetta" by saying]: ....
               in the war on terror became so complicated and so difficult to tell
               what was really going on, to me it was like a case study in how the



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               war on terror had been turned for other uses, and become a....
               something that you could never tell what was the truth and what was
               not the truth. And that to me was at the heart of the problems with the
               war on terror, that you could never tell what's real and what was
               concoction today.

               [The discussion then covers how Risen went about researching the
               book, not relevant here]

               PAMELA PAUL: Did a lot of it arise out of stories that, reporting
               that you'd originally done for the Times?

               JAMES RISEN: Some of it. For instance, I did a chapter The
               Emperor of the War on Terror, about Dennis Montgomery who
               [laughs] who's a strange character, who I'd done a story about him for
               the New York Times along with Eric Lichtbau my colleague there at
               the Times. He's one of the most fascinating characters in the war on
               terror. He... He was a computer software expert who convinced the
               CIA that he could decipher secret codes from Al Qaeda in the Al
               Jazeera news broadcasts. And that he could tell the CIA numbers and
               letters that corresponded with flights that Al Qaeda wanted to attack.
               And the CIA took this so seriously that they grounded, that the Bush
               Administration grounded a bunch of international flights in Christmas
               2003 based on what this guy was telling them. And when they
               realized it was a hoax, they covered the whole thing up and never did
               anything about it. So I had done a story for the Times with.... about
               that and then expanded on that and got a lot more information for the
               book.

               PAMELA PAUL: How did you find out about him?

               JAMES RISEN: Well he had been written about a little bit before we
               wrote about it. But I had also, even before he was written about by
               other people, I had heard from people in the CIA that there was this
               crazy operation that nobody wanted to talk about, that they were all
               embarrassed by. To me that, it was like a case study in just how crazy
               the war on terror has become. And the only thing that makes sense
               about why it’s gotten so crazy, is I think we kind of have deregulated
               national security and we took all, you know, Cheney said we're going
               to take the gloves off. And that means we deregulated national
               security at the same time we poured hundreds of billions of dollars
               into counter-terrorism. And so it’s had enormous unintended
               consequences from what is essentially a national security crisis that is
               kind of like the banking crisis.




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                  [The interview discussion then turns to the alleged deregulation of
                  national security on other topics not relevant here.]

          43.     As libel per se, Risen asserted about Montgomery that “And when they [the CIA]

   realized it was a hoax, they covered the whole thing up and never did anything about it.”

          44.     The libel is false, for the reasons identified above, and including that Montgomery

   never purported to be an expert in intelligence but left interpretation of the data he uncovered to

   intelligence experts of the U.S. Government.

          45.     Seventeenth, James Risen sat for a nationwide television news interview on the

   television show DEMOCRACY NOW! A Daily Independent Global News Hour, with Amy

   Goodman & Juan González, at 207 W. 25th St., Floor 11, New York, NY 10001 on October 14,

   2014. On this nationwide television news broadcast, the conversation turned to:

                  AMY GOODMAN: Dennis Montgomery?

                  JAMES RISEN: Dennis Montgomery is a fascinating character,
                  who—he was a computer software person, self-styled expert, who
                  developed what he said was special technology that would allow him
                  to do things with computers that other people couldn’t do. One of the
                  things that he developed was this imaging technology that he said he
                  could find images on broadcast network news tapes from Al Jazeera.
                  He said that he could read special secret al-Qaeda codes in the
                  banners on the broadcasts of Al Jazeera. And the CIA believed this.
                  And he was giving them information based on watching hours and
                  hours of Al Jazeera tapes, saying that "I know where the next al-
                  Qaeda attack is going to be based—is going to happen." And the Bush
                  administration and the CIA fell for this.

                  AMY GOODMAN: And it was in the news zipper at the bottom of
                  the Al Jazeera broadcasts?

                  JAMES RISEN: Well, he says it was in the banner. But anyway.
                  And so, it was this great—if you talk to him, he argues, well, they—
                  that’s what they were looking for. You know, they convinced him to
                  look for this. You know, it depends on who you talk to. But it was one
                  of the great hoaxes of the war on terror, where they actually grounded
                  planes in Europe, the Bush administration, based on information they




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               were getting from Dennis Montgomery’s so-called decryption of Al
               Jazeera broadcasts.

               And then there’s a whole number of other things, like Alarbus, which
               was this covert program at the Pentagon where a Palestinian involved
               in that was actually trying to use the bank account set up by the secret
               program, Pentagon program, to launder hundreds of millions of
               dollars. And the FBI investigated this, but then tried to keep the whole
               thing quiet.

               AMY GOODMAN: How much did the U.S. government give to
               Dennis Montgomery?

               JAMES RISEN: Millions of dollars. And then he used—he was a
               heavy gambler and eventually, I think, had a lot of financial problems
               as a result of that. So, it’s a strange—to me, the Dennis Montgomery
               story is one of the strangest, because what it shows is, early on in the
               war on terror, as I said, the CIA and all these other agencies had so
               much money to spend on counterterrorism that they were willing to
               throw it at everything. They were so afraid of the next terrorist attack
               that they were willing to believe anybody who came up with some
               idea. And I called that chapter about Montgomery, you know, "The
               Emperor of the War on Terror," because nobody wanted to say that
               the emperor had no clothes.

               AMY GOODMAN: I mean, it had very real effects, aside from
               spending all that money.

               JAMES RISEN: Yeah.

               AMY GOODMAN: For example, planes being sent back.

               JAMES RISEN: Yes, yes. There were planes grounded. International
               flights between the United States and Europe and Mexico were
               grounded. There was talk at the White House even of shooting down
               planes based on this information.

               AMY GOODMAN: Because they could be used, as with September
               11th, as weapons?

               JAMES RISEN: Yeah, as missiles or whatever. And so, it was crazy.
               It was absolutely insane.

               AMY GOODMAN: And it was only the French government who
               then did a study?




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                 JAMES RISEN: Yes, yes. Yeah, the French government finally—
                 you know, the U.S.—the CIA and the Bush administration didn’t
                 want to tell anybody what was really happening, where they were
                 getting this information. You know, "This supersecret information
                 about Al Jazeera, we can’t tell you." And finally, the French
                 intelligence service and the French government said, "You know,
                 you’re grounding our planes. You’ve got to tell us where you’re
                 getting this information." And they got—they finally shared the
                 information with them, and the French got a French tech firm to look
                 at this, and they said, "This is nuts. This is fabrication." And after a
                 while, the CIA was finally convinced maybe the French were right,
                 and they stopped talking about it. They didn’t do anything else. They
                 just like shut it down eventually, but never wanted to talk about what
                 had really happened.

                 AMY GOODMAN: Then Dennis Montgomery, revealed as a con
                 man—

                 JAMES RISEN: Yeah, yeah.

                 AMY GOODMAN: —in jail for that?

                 JAMES RISEN: Well, no, he’s not in jail. But it was a—he actually
                 got more contracts after that, with the Pentagon and other agencies.
                 And he continued to operate for a long time. You know, he kind of
                 went from one agency to the other.

                 AMY GOODMAN: We’re talking to James Risen, Pulitzer Prize-
                 winning investigative journalist for The New York Times. His new
                 book, just out today, Pay Any Price: Greed, Power, and Endless War.
                 When we come back, war corrupts, endless war corrupts absolutely.
                 Stay with us.

                      [break]

          46.    As libel per se, Risen asserted about Montgomery that “But it was one of the great

   hoaxes of the war on terror, where they actually grounded planes in Europe, the Bush

   administration, based on information they were getting from Dennis Montgomery’s so-called

   decryption of Al Jazeera broadcasts.”

          47.    As libel per se, Risen asserted about Montgomery when asked “How much did

   the U.S. government give to Dennis Montgomery?” Risen answered in reply: “Millions of



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   dollars. And then he used—he was a heavy gambler and eventually, I think, had a lot of financial

   problems as a result of that.”

           48.     As libel per se, Risen asserted about Montgomery that “the French got a French

   tech firm to look at this, and they said, ‘This is nuts. This is fabrication.’”

           49.     As libel per se, Risen asserted about Montgomery when asked “Then Dennis

   Montgomery, revealed as a con man—” Risen confirmed in reply: “Yeah, yeah.”

           50.     As libel per se, Risen asserted about Montgomery that he should be in jail.

           51.     Eighteenth, James Risen gave an interview with “Conversations with Great

   Minds” of “The Big Picture RT with talk show host Thom Hartmann on October 24, 2014. 6

                   THOM HARTMAN: ... [Abrupt change of topic starting at about
                   time 5:27] ... There's just this enormous amount of government
                   money. Let's throw it at the private sector. They'll make things well.
                   One of the members of the private sector who came forward and said
                   I've got a secret, I can figure this stuff out, was a guy by the name of
                   Dennis Montgomery.

                   JAMES RISEN: Right. Uh, Dennis Montgomery is one of the best
                   stories in the war on terror. I think somebody should make a movie
                   about him. Dennis Montgomery was a computer software expert who
                   said that he had developed technology that basically could find objects
                   hidden in the video on television. And so he convinced, through a
                   whole series of contacts and meetings that I detail in the book, he was
                   able to get to the CIA and convince the CIA that he had the technology
                   to decipher Al Qaeda codes that were he said were hidden in Al Jazeera
                   news broadcasts.

                   THOM HARTMAN: They were hidden in the Chiron or the --

                   JAMES RISEN: In the banner. In the banner, actually. He said that
                   he could find numbers and letters that were constantly showing up, or
                   not showing up but were being hidden, embedded deeply in the video.
                   And he would then give these numbers and letters to the CIA. And the
                   CIA, either he told them or they convinced themselves that these
                   numbers and letters corresponded to flights, international airline flights,
                   that Al Qaeda was going to attack. And so in December, in Christmas

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           https://www.youtube.com/watch?v=jc_8f4Pp9Zc


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                    2003, the Bush Administration and the CIA took this so seriously that
                    they actually grounded a whole series of international flights coming
                    into and out of the United States, and the White House even considered
                    shooting down some of these flights over the Atlantic.

                    THOM HARTMAN: Whoa.

                    JAMES RISEN: And once the CIA later was convinced by French
                    intelligence that this was all a fabrication and that this kind of
                    technology didn't exist and that these supposed Al Qaeda codes weren't
                    really in the Al Jazeera newscasts, the CIA covered the whole thing up
                    and never went public with it and just tried to act like it never
                    happened.

                    THOM HARTMAN: Well we know how aggressively this and
                    particularly the Obama Administration right now has gone after
                    whistleblowers and reporters. You would think they would also go
                    after people who had scammed the CIA. If one of us walked in off the
                    street and said to the CIA, hey have I got a deal for you, and it was just
                    a total lie, and they gave us millions of dollars, which they gave to
                    Dennis Montgomery, you'd think he would end up in prison.

                    JAMES RISEN: Well, no, he ended up getting more contracts from
                    the military... and the Pentagon. And he was continuing, he continued
                    to operate for several years. It's really a remarkable story.

                    THOM HARTMAN: Yeah, it really and truly is.

                    [Topic changes abruptly to discussions of torture in the war on terror]

           52.      As libel per se, Risen asserted about Montgomery that “the CIA later was

   convinced by French intelligence that this was all a fabrication and that this kind of technology

   didn't exist.”

           53.      As libel per se, Risen asserted about Montgomery that he belongs in prison,

   responding to the question “You would think they would also go after people who had scammed

   the CIA. If one of us walked in off the street and said to the CIA, hey have I got a deal for you,

   and it was just a total lie, and they gave us millions of dollars, which they gave to Dennis

   Montgomery, you'd think he would end up in prison,” by Risen answering in reply: “Well, no,




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   he ended up getting more contracts from the military... and the Pentagon. And he was

   continuing, he continued to operate for several years. It's really a remarkable story.”



                                     GENERAL DEFAMATION

          54.     In addition, Risen also made additional defamatory statements that are explicit

   defamation under Florida law.

          55.     Nineteenth, on Page 49 of the Book, Risen writes:

                  “Trepp was furious. According to court documents, he told the FBI
                  that Montgomery had stolen the software eTreppid had used on secret
                  Pentagon contracts. As federal investigators moved in to investigate
                  the alleged theft of the technology, they heard from Trepp and others
                  that Montgomery’s alleged technology wasn’t real.”

          56.     As explicit libel, Risen asserted about Montgomery that Montgomery had stolen

   valuable software – yet also asserted that the software “wasn’t real.”

                  DEFAMATION BY IMPLICATION UNDER FLORIDA LAW

                                       Analogous to False Light

          57.     For defamation by implication: “ . . . [L]iterally true statements can be defamatory

   where they create a false impression. This variation is known as defamation by implication and

   has a longstanding history in defamation law.” See Jews for Jesus, Inc. v. Rapp, 997 So.2d 1098,

   1106 (Fla. 2008). Defamation by implication occurs when a publication states facts that are

   literally true, but produces a defamatory meaning apparent from a plain reading of the

   publication in its entirety. See Chapin v. Knight-Ridder, Inc. 993 F.3d 1087 (4th Cir. 1993).

          58.     Montgomery thus claims here that if the Court finds that any of the statements

   labeled “First” through “Nineteenth” do not qualify as defamation per se or general defamation,




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   then in the alternative Montgomery claims here that any and all such statements not qualifying as

   defamation per se or general defamation are defamation by implication against Montgomery.

          59.     Across the many examples of libelous statements from the Book or slanderous

   interviews, Risen implies that Montgomery deceived the U.S. Government as to the meaning,

   purpose, or interpretation of hidden data and clues that Montgomery uncovered, implying that

   Montgomery defrauded and conned the U.S. Government.

          60.     In fact, Montgomery refused to speculate as to the interpretation or meaning of

   the data and analyses he uncovered, even when pressed to state what he thought the data might

   mean, but Montgomery left the role of interpretation to U.S. Government intelligence experts.

          61.     Thus, throughout the statements presented herein, Risen libels and slanders

   Montgomery by implication that Montgomery defrauded and scammed the U.S. Government

   concerning the meaning of the information Montgomery uncovered, implying that Montgomery

   obtained millions of dollars by frightening and fooling child-like and gullible CIA officials.

          62.     Across the many examples of libelous statements from the Book or slanderous

   interviews, Risen implies that President George W. Bush’s alleged decisions to ground and

   almost shoot down passenger aircraft around Christmas 2003 (which Risen would have no way

   of knowing about) were a result of Montgomery’s fraud and scams, deceptively manipulating the

   President of the United States and the U.S. national command authority.

          63.     Across the many examples of libelous statements from the Book or slanderous

   interviews, Risen implies that Montgomery should be in jail.

          64.     Among the other statements, in particular, the First example of libel, on Page 32

   of the Book, states that:

                  “Consider the example of Dennis Montgomery. He provides a perfect
                  case study to explain how during the war on terror greed and ambition



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                  have been married to unlimited rivers of cash to create a climate in
                  which someone who has been accused of being a con artist was able to
                  create a rogue intelligence operation with little or no adult supervision.
                  Crazy became the new normal in the war on terror, and the original
                  objectives of the war got lost in the process.”

          65.     Thus, as libel by implication, Risen implies that Montgomery committed fraud

   and went to any lengths motivated by greed, to obtain money at any cost.

          66.     Among the other statements, in particular, in the Eleventh example of libel, on

   Page 46 of the Book, states that:

                  “The CIA never investigated the apparent hoax nor examined how it
                  had been handled inside the agency.”

          67.     Here, as libel by implication, even if it is true that “The CIA never investigated”

   what Risen describes as an “apparent hoax,” the implication is that Montgomery perpetrated a

   hoax upon the CIA, and in return for money, which would be both a fraud and a crime.

          68.     Similarly, in the Sixteenth example of slander from an interview, Risen states that

   “It seemed to me that what the war had become in 13 years was a search for cash and a search

   for power and status and that it was becoming an endless war in which we had a new mercenary

   class of people who were taking advantage of the war on terror,” implying that Montgomery’s

   work is fraudulent in being merely an effort to get cash.

          69.     Among the other statements, in particular, the Nineteenth example of libel, on

   Page 49 of the Book, states that:

                  “Trepp was furious. According to court documents, he told the FBI
                  that Montgomery had stolen the software eTreppid had used on secret
                  Pentagon contracts. As federal investigators moved in to investigate
                  the alleged theft of the technology, they heard from Trepp and others
                  that Montgomery’s alleged technology wasn’t real.”

          70.     As libel by implication, Risen implies that Montgomery stole valuable software

   yet at the same time the software was in fact worthless.



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          71.      In addition, Risen also made additional defamatory statements that are defamation

   by implication under Florida law.

          72.      Twentieth, on the Preface Page of the Book, Risen writes:

                   “I’ve come back,” he repeated. “I was the King of Kafiristan – me
                   and Dravot – crowned Kings we was! In this office we settled it –
                   you setting there and giving us the books. I am Peachey – Peachey
                   Taliaferro Carnehan – and you’ve been setting here ever since –
                   Oh, Lord!”

                   I was more than a little astonished and expressed my feelings
                   accordingly.

                   “It’s true,” said Carnehan, with a dry cackle, nursing his fee, which
                   were wrapped in rags. “True as gospel. Kings we were, with
                   crowns upon our head – me and Dravot – poor Dan – oh, poor,
                   poor Dan, that would never take advice, not though I begged of
                   him!”

                          -- Rudyard Kipling, The Man Who Would be King.

          73. As libel by implication, Risen implies that Montgomery (along with others addressed

                in the book) is a fraud and/or con man as in The Man Who Would be King.

          74. Twenty-first, in the Prologue on Page xiv of the Book, Risen writes:

                   “The new homeland security-industrial complex operates differently.
                   It is largely made up of a web of intelligence agencies and their
                   contractors, companies that mostly provide secret services rather than
                   large weapons systems and equipment. These contractors are hired to
                   help Washington determine the scale and scope of the terrorist threat;
                   they make no money if they determine that the threat is overblown or,
                   God forbid, if the war on terror ever comes to an end.”

          75.      As libel by implication, Risen states “they make no money if they determine that

   the threat is overblown or, God forbid, if the war on terror ever comes to an end,” suggesting that

   Montgomery’s and eTreppid’s profits were contingent upon results, and false results at that.

          76.      Twenty-second, in the Prologue on Page xv of the Book, Risen writes:




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                           “Thus, the creation of a homeland security complex at a time
                  of endless war has bequeathed us with the central narrative of the war
                  on terror – modern tales of greed joined hand in hand with stories of
                  abuse of power. It was inevitable that those wise in the ways of the
                  world would flock to Washington to try to cash in on the war on terror
                  gold rush – and they have. This book offers just a few of those
                  stories. But those trying to monetize America’s obsession with
                  terrorism are not the only ones who have sought to exploit 9/11.”

                          “Opportunism comes in many forms and is driven by more
                  than just greed. Ambition and a hunger for power, status, and glory
                  have become great engines of post-9/11 opportunism as well. The
                  more troubling stories here concern abuses of power that have
                  extended across two presidencies for well over a decade. After 9/11,
                  the United States deregulated national security, stripping away the
                  post-Watergate intelligence reforms of the 1970’s that had
                  constrained executive power for thirty years. The results are morally
                  challenging – and continue to this day.”

          77.     Thus, as libel by implication, Risen implies that Montgomery committed fraud

   and went to any lengths motivated by greed, to obtain money at any cost.

          78.     Twenty-third, in the Prologue on Page xvii of the Book, Risen writes:

                  “Washington’s global war on terror is now in its second decade,
                  thanks to the bipartisan veneer it has gained under Bush and Obama.
                  It shows no signs of slowing down, hustlers and freebooters continue
                  to take full advantage, and the war’s unintended consequences
                  continue to pile up. All too often, things are not what they seem.”

          79.     As libel by implication, Risen implies that Montgomery – one of the key objects

   of the Book – is a “hustler” and a “freebooter.”

          80.     Twenty-fourth, Part 1 of the Book, including Chapter 2 which is focused entirely

   on Dennis Montgomery, Risen have labeled “Part 1: Greed”

          81.     Thus, by placing the chapter focused on Dennis Montgomery under a label for the

   section of the Book of “Greed,” Risen libels Montgomery by implication as being motivated by

   greed to commit fraud and carry out the alleged hoaxes identified in the rest of the Chapter 2.




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          82.     Twenty-fifth, Risen have labeled Chapter 2 of the Book which is focused entirely

   on Dennis Montgomery: “Chapter 2: The Emperor of the War on Terror.”

          83.     By naming the chapter focused on Dennis Montgomery “The Emperor of the War

   on Terror,” Risen libels Montgomery by implication as being the mastermind of the fraud that

   Risen seeks to portray the war on terror to be.

          84.     Twenty-Sixth, on Page 40 of the Book, Risen writes:

                  “The CIA’s Science and Technology Directorate, which had
                  largely been stuck on the sidelines of the war on terror, saw in
                  Dennis Montgomery an opportunity to get in the game. The
                  directorate had played an important role in the Cold War, but in the
                  first few years of the war on terror, it was struggling to determine
                  how technology could be leveraged against groups of terrorists
                  who were trying to stay off the grid.”

      85. As libel by implication, again, Risen blames Montgomery for the decisions of

   government officials.

      86. Twenty-Seventh, on Page 42 of the Book, Risen writes:

                  “Montgomery was telling the CIA exactly what it wanted to hear. At
                  the time, the Bush Administration was obsessed with Al Jazeera, not
                  only because of the networks’ unrelenting criticism of the invasion of
                  Iraq, but also because it had become Osama Bin Laden’s favorite
                  outlet for broadcasting his videotaped messages to the world.”

      87. As libel by implication, Risen implies that Montgomery defrauded and conned the CIA

   by “telling the CIA exactly what it wanted to hear.”

      88. Twenty-Eighth, on Page 42 of the Book, Risen writes:

                  “What remains unclear is how Montgomery was able to convince all
                  of them that he had developed secret software that could decode Al
                  Qaeda’s invisible messages. While he had gotten by a few credulous
                  military officers who came to view his demonstrations, he apparently
                  found it just as easy to persuade the CIA as well.”




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      89. As libel by implication, Risen implies that Montgomery conned the U.S. Government

   with a hoax. It would of course be entirely clear “how Montgomery was able to convince all of

   them” if Montgomery’s work and technology are legitimate.

      90. Twenty-Ninth, on Page 46 of the Book, Risen writes:

                 “Finally the French brought an end to it. Since Air France flights
                 to the United States were among those that had been grounded,
                 French officials had taken a dim view of the entire episode. They
                 began demanding answers from the Americans. The French
                 applied so much pressure on Washington that the CIA was finally
                 forced to reveal to French intelligence the source of the threat
                 information. Once they heard the story of Dennis Montgomery and
                 eTreppid, French officials arranged for a French high-tech firm to
                 reverse-engineer Montgomery’s purported technology. The
                 French wanted to see for themselves whether the claims of hidden
                 messages in Al Jazeera broadcasts made any sense.”

      91. As libel by implication, if not explicit, the passage implies that Montgomery is a fraud

   and that his work is a scam and a hoax.

      92. Thirtieth, on Page 52 of the Book, Risen writes:

                 “Montgomery continued to get defense contracts even during the
                 Obama administration. In 2009, Montgomery was awarded another
                 air force contract, and later claimed that he had provided the
                 government with warning of a threatened Somali terrorist attack
                 against President Obama’s inauguration. Joseph Liberatore, an air
                 force official who described himself as one of “the believers” in
                 Montgomery and said he had heard from ‘various federal agencies
                 thanking us’ for the support Montgomery and his company provided
                 during Obama’s inauguration. The threat, however, later proved to be
                 a hoax.”

      93. As libel by implication, Risen implies that Montgomery’s ability to continue to receive

   contracts is due to Montgomery’s ability to defraud the government (and stupidity of government

   officials) rather than an endorsement of the legitimacy of Montgomery’s work.

      94. Thirty-First, on Page 31 of the Book, Risen writes:




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                 “and a new breed of entrepreneur learned that one of the surest and
                 easiest paths to riches could be found not in Silicon Valley building
                 computers or New York designing clothes but rather in Tysons
                 Corner, Virginia, coming up with new ways to predict, analyze, and
                 prevent terrorist attacks— or, short of that, at least in convincing a
                 few government bureaucrats that you had some magic formula for
                 doing so.”

      95. As libel by implication, Risen implies that Montgomery engaged in fraud to convince a

   few government bureaucrats that he had a magic formula as an easy path to riches.

      96. Thirty-Second, on Page 33 of the Book, Risen writes:

                 “Montgomery’s story demonstrates how hundreds of billions of
                 dollars poured into the war on terror went to waste. With all rules
                 discarded and no one watching the bottom line, government officials
                 simply threw money at contractors who claimed to offer an edge
                 against the new enemies. And the officials almost never checked back
                 to make sure that what they were buying from contractors actually did
                 any good— or that the contractors themselves weren’t crooks. A 2011
                 study by the Pentagon found that during the ten years after 9/ 11, the
                 Defense Department had given more than $ 400 billion to contractors
                 who had previously been sanctioned in cases involving $ 1 million or
                 more in fraud.”

      97. As libel by implication, Risen implies that the money provided to Montgomery (among

   others) went to “waste.”

      98. Thirty-Third, on Page 33 of the Book, Risen writes:

                  “The Montgomery episode teaches one other lesson, too: the chance
                 to gain promotions and greater bureaucratic power through access to
                 and control over secret information can mean that there is no
                 incentive for government officials to question the validity of that
                 secret information. Being part of a charmed inner circle holds a
                 seductive power that is difficult to resist.”

      99. As libel by implication, Risen implies that Montgomery’s work was fraudulent.

      100.       Thirty-Fourth, on Page 33 of the Book, Risen writes:

                 “How his technology worked was a secret. Dennis Montgomery’s
                 computer code became the great treasure behind eTreppid
                 Technologies, the company he and Trepp founded. Later, many of



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                 those around Montgomery began to suspect the reason why
                 Montgomery had to guard his technological innovations so
                 carefully. They came to believe that at least some of the
                 technology didn’t really exist.”

      101.       As libel by implication, Risen implies that Montgomery committed fraud.

      102.       Thirty-Fifth, on Page 35 of the Book, Risen writes:

                 “Montgomery was on the lookout for somebody to bankroll him,
                 and had put out the word to his friends at the casinos that he
                 frequented the most. A year later, Montgomery and Trepp were in
                 business together. Trepp was one of the first, but hardly the last, to
                 be beguiled by Montgomery’s claims that he had achieved
                 breakthroughs in computer technology of historic significance.”

      103.       As libel by implication, Risen implies that Montgomery “beguiled” Warren Trepp

   by committing fraud.

      104.       Thirty-Sixth, on Page 39 of the Book, Risen writes:

                 “For a few months in late 2003, the technology from Dennis
                 Montgomery and eTreppid so enraptured certain key government
                 officials that it was considered the most important and most sensitive
                 counterterrorism intelligence that the Central Intelligence Agency had
                 to offer President Bush. Senior officials at the CIA’s Directorate of
                 Science and Technology began to accept and vouch for Montgomery
                 to officials at the highest levels of the government. Montgomery’s
                 claims grew ever more expansive, but that only solidified his position
                 inside the national security arena. His technology became too
                 impossible to disbelieve.”

      105.       As libel by implication, Risen imply that Montgomery committed fraud and is a

   con man.

      106.       Thirty-Seventh, on Page 40 of the Book, Risen writes:

                 “Montgomery persuaded the spy agency that his special computer
                 technology could detect hidden bar codes broadcast on Al Jazeera,
                 which had been embedded into the video feed by al Qaeda. Allegedly,
                 al Qaeda was using that secret method to send messages to its terrorist
                 operatives around the world about plans for new attacks. Montgomery
                 convinced the CIA that his technology had uncovered a series of




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                  hidden letters and numbers that appeared to be coded messages about
                  specific airline flights that the terrorists were targeting.

      107.        As libel by implication, Risen imply that Montgomery convinced the CIA of

   claims that are not (were not) true.

      108.        Thirty-Eighth, on Page 42 of the Book, Risen writes:

                  “Based on Montgomery’s information, President Bush ordered the
                  grounding of a series of international flights scheduled to fly into the
                  United States. This step caused disruptions for thousands of
                  travelers.”

      109.        As libel by implication, Risen imply that Montgomery convinced President Bush

   and the national command authority of conclusions drawn from Montgomery’s work.

      110.        Thirty-Ninth, on Page 42 of the Book, Risen writes:

                  “One former senior CIA official recalled attending a White House
                  meeting in the week following Christmas to discuss what to do next
                  about the information coming from Montgomery. The official claims that
                  there was a brief but serious discussion about whether to shoot down
                  commercial airliners over the Atlantic based on the intelligence.”

      111.        As libel by implication, Risen imply that Montgomery convinced President Bush

   and the national command authority of conclusions drawn from Montgomery’s work.

      112.        Fortieth, on Page 47 of the Book, Risen writes:

                  “Even more stunning, after the debacle over the bogus Christmas
                  2003 terrorist threats, Montgomery kept getting classified government
                  contracts awarded through several different corporate entities.
                  Montgomery’s problems with the CIA did not stop him from peddling
                  variations of his technology to one government agency after another.
                  The secrecy that surrounded his work once again worked in his favor.
                  CIA officials were reluctant to tell their Pentagon counterparts much
                  about their experiences with Montgomery, so Defense Department
                  officials apparently did not realize that his technology was considered
                  suspect at CIA headquarters.”




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      113.         As libel by implication, Risen implies that Montgomery continued to defraud,

   con, and scam the government, rather than concluding that the U.S. Government recognized the

   legitimacy of Montgomery’s work.

      114.         Forty-First, on Page 48 of the Book, Risen writes:

                   “He successfully infused a sense of mystery around himself. He was
                   like the Wizard of Oz, but now people were beginning to try to
                   examine the man behind the curtain.”

      115.         As libel by implication, Risen implies that the Montgomery engaged in fraud and

   a hoax by keeping details mysterious.

      116.         Forty-Second, on Page 48 of the Book, Risen writes:

                   “The technology didn’t meet the requirements for us,” said a Special
                   Operations Command spokesman drily. Still, there is no evidence that
                   officials at Special Operations Command ever talked with their
                   counterparts at the CIA to check up on Montgomery before awarding
                   him a contract. Special Operations Command paid a total of $ 9.6
                   million to eTreppid under its contract with the firm.”

      117.         As libel by implication, Risen imply that Montgomery again repeated his fraud

   and hoax against a new government agency.

      118.         Forty-Third, on Page 54 of the Book, in the Chapter “The New Oligarchs,”

   Risen writes:

                   CHAPTER 3: The New Oligarchs
                   Page 54: “Dennis Montgomery is, of course, an extreme example of
                   the new kind of counterterrorism entrepreneur who prospered in the
                   shadows of 9/11. But he was hardly alone in recognizing the lucrative
                   business opportunities that the war on terror has presented. In fact, as
                   trillions of dollars have poured into the nation’s new homeland
                   security-industrial complex, the corporate leaders at its vanguard can
                   rightly be considered the true winners of the war on terror.”

      119.         As libel by implication, Risen implies that Montgomery engaged in fraud and a

   hoax motivated by greed.




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                              SOCOM & CIA
                              Visit 03/20/12


   Location:
   75180 Mediterranean
   Palm Desert, CA 92211




   Chris Pipes SOCOM
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     Continuation Sheet

     1. CONTRACT LINE ITEMS:

 ITEM NO      SUPPLIES/SERVICES          MAX QUANTITY           UNIT   UNIT PRICE                MAX AMOUNT
0001AA                                                  1       Each   $25,000.00                  $25,000.00
           Falconview (PFPS) Maps - Compression
           FFP
           1 Each = 1 CPU that this software is installed on.

           FOB: Destination

0001AB                                                  1       Each     $40.00                          $40.00
           Falconview (PFPS) Maps - Plug-in Decoder
           FFP
           1 Each = 1 CPU that this software is installed on.

           FOB: Destination

0001AC                                                  1       Each   $25,000.00                  $25,000.00
           Still Image Compression
           FFP
           1 Each = 1 CPU that this software is installed on.

           FOB: Destination

0001AD                                                  1       Each     $10.00                          $10.00
           Still Image Decoder
           FFP
           1 Each = 1 CPU that this software is installed on.

           FOB: Destination

0001AE                                                  1       Each   $50,000.00                  $50,000.00
           Video Imagery w/ Audio - Compression
           FFP
           1 Each = 1 CPU that this software is installed on.

           FOB: Destination

0001AF                                                 1        Each     $25.00                          $25.00
           Video Imagery w/ Audio - Decoder
           FFP
           1 Each = 1 CPU that this software is installed on.

           FOB: Destination

0001AN                                                  1       Each   $125,000.00                $125,000.00
           Generic Data Compression
           FFP
           1 Each = 1 CPU that this software is installed on.

           FOB: Destination
    Case
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0001AP                                                   1       Each     $50.00                                     $50.00
            Generic Data Decompressor
            FFP
            1 Each = 1 CPU that this software is installed on.

            FOB: Destination

0001AQ                                                   1       Each   $100,000.00                              $100,000.00
            Detection of Human and Non-Human Objects
            FFP
            1 Each = 1 CPU that this software is installed on.

            FOB: Destination




     2. GOVERNMENT FURNISHED PROPERTY.

     a) The Government will furnish one laptop computer to:
                    eTreppid Technologies
                   755 Trademark Dr
                   Reno NV 89521.

     b) Upon receipt of the Government-furnished laptop, the Contractor shall load the software ordered on the
     task order and return the laptop to:
                      HQ USSOCOM
                      ATTN: SOAL-SP (Brad Mohr)
                      7701 Tampa Point Blvd
                      MacDill AFB, FL 33621.

     3. DELIVERY TIMEFRAME. The contract shall have 14 days from the receipt of the Government-furnished
     laptop to load the software and return the laptop to the Government. If the 14th day falls on a weekend or
     federal holiday, the due date shall automatically extend to the next business day.

     //nothing follows//
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                       EXHIBIT K
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                                  March 20, 2023

VIA PERSONAL SERVICE
Carlotta Wells
9301 Garden Court
Potomac, MD 20854

Re:    Smartmatic USA Corp. et al., v. Michael J. Lindell and My Pillow, Inc.
       Court File No.: 22-cv-0098-WMW (JFD)

Dear Ms. Wells:
Enclosed and served upon you is a subpoena issued by The United States District
Court for the District of Minnesota in connection with a lawsuit brought by
Smartmatic USA Corp. and others against My Pillow, Inc. and Michael Lindell.
The enclosed subpoena requires you to present yourself on April 10, 2023, at 9:00
A.M. (Eastern Daylight Time) at the Veritext offices, located at 36 S Charles St
#2002, Baltimore, MD 21201.
Also attached is a copy of a Protective Order in this matter.
                                                                                    ANDREW D. PARKER
If you have any questions, please contact Andrew Parker at parker@parkerdk.com.     CHRISTOPHER M. DANIELS
                                                                                    JESSE H. KIBORT
                                                      Sincerely,
                                                                                    ELIZABETH S. WRIGHT
                                                                                    ALEC J. BECK
                                                      /s/ Andrew D. Parker
                                                                                    LORI A. JOHNSON

                                                      Andrew D. Parker              MATTHEW R. ESLICK
                                                                                    JOSEPH A. PULL
                                                                                    RYAN P. MALONE
                                                                                    JORDON C. GREENLEE
                                                                                    ABRAHAM S. KAPLAN
                                                                                    GREGORY N. ARENSON
                                                                                    REGINALD W. SNELL


                                                                                    FREDERICK C. BROWN
                                                                                     OF COUNSEL


                                                                                    888 Colwell Building
                                                                                    123 Third Street North
                                                                                    Minneapolis, MN 55401

                                                                                    parkerdk.com

                                                                                    Tel: 612.355.4100
                                                                                    Fax: 612.355.4101
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AO 88A (Rev. 12/20) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 22-cv-0098-WMW-JFD

                                                      PROOF OF SERVICE
                      (Tltis section should not befiled with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name ofindividual and title, ifany)
on (date)

            0 I se1ved the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                      ; or

            D I returned the subpoena unexecuted because:


            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of



My fees are$                                       for travel and $                      for se1vices, for a total of$       0.00



            I declare under penalty of pe1jmy that this info1mation is t:Iue.


Date:
                                                                                            Server's signature



                                                                                          Printed name and title




                                                                                            Server's address

Additional info1mation regarding attempted se1vice, etc.:
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AO 88A (Rev. 12/20) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MINNESOTA



 SMARTMATIC USA CORP., SMARTMATIC
 INTERNATIONAL HOLDING B.V. and SGO
 CORPORATION LIMITED,

                                Plaintiffs,
                                                             Case No. 22-cv-00098- WMW-JFD
                        v.

 MICHAEL J. LINDELL and MY PILLOW, INC.,

                                Defendants.




    PROTECTIVE ORDER GOVERNING THE PRODUCTION AND EXCHANGE OF
                    CONFIDENTIAL INFORMATION

       The Court enters the following Protective Order in this case,

       Plaintiffs Smartmatic USA Corp., Smartmatic International Holding B.V., and SGO

Corporation Limited (collectively, “Smartmatic”) and Defendants Michael J. Lindell and My

Pillow, Inc., (collectively, “Defendants”; Smartmatic and Defendants are collectively the

“Parties”) are engaged in discovery proceedings, which include, among other things, taking

depositions, answering interrogatories, and producing documents. The Parties believe that certain

information they have produced or will produce may contain information that is proprietary,

commercially sensitive, or non-public. Under Federal Rules of Civil Procedure 5.2 and 26(c), this

Order Governing the Production and Exchange of Confidential Information (the “Order”) will

govern the handling of documents, testimony (in any form whether by affidavit, declaration, or

deposition), exhibits, transcripts, written discovery requests, interrogatory responses, responses to

requests for admission, and responses to requests for documents, and any other information or



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material produced, given, or exchanged, including any information contained therein or derived

therefrom (“Discovery Material”), by or among any Party or non-Party providing Discovery

Material (each a “Producing Party”) in the above-captioned action (the “Litigation”) to the party

receiving the Discovery Material (“Receiving Party”).

       1.      Any Producing Party may designate any Discovery Material as “Confidential

Discovery Material” under the terms of this Order where such Party in good faith believes that

such Discovery Material contains trade secrets, proprietary business information, competitively

sensitive information or other information the disclosure of which would, in the good faith

judgment of the Party or, as appropriate, non-party designating the material as confidential, be

detrimental to the conduct of that Party’s or non-party’s business or the business of any of that

Party’s or non-party’s customers or clients.

       2.      Any Producing Party may designate any Discovery Material as “Attorneys’ Eyes

Only Discovery Material” under the terms of this Order where such Party in good faith believes

that such Discovery Material contains Attorneys’ Eyes Only Discovery Material. Attorneys’ Eyes

Only Discovery Material is defined as Confidential Discovery Material containing information

such that disclosure other than as provided in this Order could reasonably be expected to cause

irreparable harm to the Producing Party. To the extent source code is discoverable, the Parties will

meet and confer regarding terms and entry of a separate protective order for the source code before

any is permitted to be inspected.

       3.      Any Confidential Discovery Material and Attorneys’ Eyes Only Discovery

Material produced in the Litigation will be used, except by the Producing Party, solely for purposes

of this Litigation and no Receiving Party will provide Discovery Material to any person or entity

(including for any other litigation) or make any Discovery Material public except as permitted in




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this Litigation. Notwithstanding the limitations in the preceding sentence, any Party may use

Discovery Material lawfully obtained independently of this Litigation for any purpose consistent

with any other limitations placed on that Discovery Material.

       4.     Notwithstanding any other provision of this Order, no Receiving Party may provide

Discovery Material designated as Confidential Material or Attorneys’ Eyes Only Material to any

person or entity involved in the Litigation unless and until that person or entity confirms their

understanding of, and agreement to, abide by the terms of this Order.

       5.     The designation of Discovery Material as Confidential Discovery Material or

Attorneys’ Eyes Only Discovery Material will be made in the following manner:

              a.      In the case of documents or other written materials (including affidavits and

                      declarations but not pre-trial deposition or other pre-trial testimony: (i) by

                      affixing the legend “Confidential” or “Attorneys’ Eyes Only” to each page

                      containing any Confidential or Attorneys’ Eyes Only Discovery Material;

                      or (ii) in the case of electronically stored information produced in native

                      format by affixing the legend “Confidential” or “Attorneys’ Eyes Only” to

                      the media containing the Discovery Material (e.g., CD, DVD, thumb drive,

                      external hard drive, or secure file transfer).

              b.      In the case of testimony: (i) by a statement on the record, by counsel, at the

                      time of such disclosure or, in the case of a deposition or other pre-trial oral

                      testimony, before the conclusion of the deposition or pre-trial testimony; or

                      (ii) by written notice, sent to all Parties within 15 business days of receipt

                      of the final deposition transcript or other pre-trial testimony; provided that

                      only those portions of the transcript designated as Confidential or




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                       Attorneys’ Eyes Only Discovery Material will be deemed Confidential or

                       Attorneys’ Eyes Only Discovery Material. Each deposition will be deemed

                       to be Attorneys’ Eyes Only Discovery Material until 15 business days after

                       counsel receive a copy of the final transcript, after which the deposition will

                       be treated in accordance with its confidentiality designation, if any. The

                       Parties may modify this procedure for any particular deposition, through

                       agreement in writing before, or on the record at, such deposition, without

                       further order of the Court.

               c.      In the case of any other Discovery Material, by written notice that the

                       Discovery Material constitutes Confidential or Attorneys’ Eyes Only

                       Discovery Material.

       6.      The designation of Discovery Material as Confidential or Attorneys’ Eyes Only

Discovery Material will constitute a representation that such Discovery Material has been

reviewed by an attorney representing the Party making the designation and that there is a good

faith basis for such designation.

       7.      Inadvertent failure to designate Discovery Material as Confidential or Attorneys’

Eyes Only Discovery Material does not constitute a waiver of such claim and may be corrected.

A Producing Party may designate as Confidential or Attorneys’ Eyes Only any Discovery Material

that has already been produced, including Discovery Material that the Producing Party

inadvertently failed to designate as Confidential or Attorneys’ Eyes Only, (i) by notifying in

writing the Receiving Party to whom the production has been made that the Discovery Material

constitutes Confidential or Attorneys’ Eyes Only Discovery Material, and (ii) providing a

replacement copy of the Discovery Material marked in a manner consistent with Paragraph 5.




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After receiving such notice, the Parties will treat the Discovery Material so designated as

Confidential or Attorneys’ Eyes Only Discovery Material, and such Discovery Material will be

fully subject to this Order from the date of such supplemental notice forward. The Party receiving

such notice will make a reasonable, good -faith effort to ensure that any analyses, memoranda,

notes, or other such materials generated that include or are based upon such newly designated

information are immediately treated as Confidential or Attorneys’ Eyes Only Discovery Material.

In addition, after receiving such notice, any receiving Party that disclosed the Discovery Material

before its designation as “Confidential” or “Attorneys’ Eyes Only” will exercise its best efforts to

ensure (i) the return or destruction of such Discovery Material, if it was disclosed to anyone not

authorized to receive it under this Order, (ii) that any documents or other materials derived from

such Discovery Material are treated as if the Discovery Material had been designated as

“Confidential” or “Attorneys’ Eyes Only” when originally produced, (iii) that such Discovery

Material is not further disclosed except in accordance with the terms of this Order, and (iv) that

any such Discovery Material, and any information derived therefrom, is used solely in accordance

with this Order.

       8.      Confidential Discovery Material may be disclosed, summarized, described,

characterized, or otherwise communicated, orally or in writing, or made available in whole or in

part only to the following persons for use in connection with the Litigation and in accordance with

this Order:

               a.      The Parties’ current employees who are assisting with or making decisions

                       concerning this Litigation, to the extent deemed reasonably necessary by

                       counsel of record for the purpose of assisting in the prosecution or defense

                       of the Litigation;




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           b.    Counsel for the Parties in the Litigation (including in-house counsel), and

                 the partners, associates, paralegals, secretaries, clerical, regular and

                 temporary employees, and service vendors of such counsel (including

                 outside copying and litigation support services) who are assisting with the

                 Litigation;

           c.    Experts, consultants, or independent litigation support services assisting

                 counsel for the Parties, and partners, associates, paralegals, secretaries,

                 clerical, regular and temporary employees, and service vendors of such

                 experts or consultants (including outside copying services and outside

                 support services) who are assisting with the Litigation;

           d.    Persons who appear as an author or recipient on the face of the document to

                 be disclosed;

           e.    Witnesses or deponents, and their counsel, but only to the extent necessary

                 to conduct or prepare for depositions or testimony in the Litigation, and only

                 if furnished, shown, or disclosed in accordance with this Order;

           f.    The Court, persons employed by the Court, translators, videographers, and

                 court reporters who are recording and transcribing any hearing, trial, or

                 deposition in the Litigation or any appeal therefrom;

           g.    A videographer, translator, court reporter, or transcriber who reports, tapes,

                 translates, or transcribes testimony in this Litigation at a deposition and

                 agrees by a statement on the record, before recording or transcribing any

                 such testimony constituting Confidential Discovery Materials, that all such

                 testimony and information revealed at the deposition is and will remain




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                       confidential and will not be disclosed by such translator, videographer,

                       reporter, or transcriber except to the attorneys for each Party and any other

                       person who is present while such testimony is being given, and that copies

                       of any transcript, reporter’s notes or any other transcription records of any

                       such testimony will be retained in confidentiality and safekeeping by such

                       videographer, translator, reporter, or transcriber or will be delivered to the

                       undersigned attorneys;

               h.      Jury consultants and mock jurors, if any, provided each such person

                       executes the form attached as Exhibit A; or

               i.      Any other person only upon (i) order of the Court entered upon notice to the

                       Parties, or (ii) written stipulation or statement on the record of agreement

                       by the Producing Party who provided the Discovery Material being

                       disclosed, provided that such person signs an undertaking in the form

                       attached as Exhibit A hereto;

       9.      Except with the prior written consent of the Producing Party or by Order of the

Court, Attorneys’ Eyes Only Discovery Material shall not be furnished, shown, or disclosed to any

person or entity except to those identified in Paragraph 8(b)–8(i).

       10.     Confidential or Attorneys’ Eyes Only Discovery Material may be provided to

persons listed in Paragraph 8(c) only to the extent necessary for such expert or consultant to prepare

a written opinion, to prepare to testify, or to assist counsel in the Litigation, provided that such

expert or consultant (i) is not a current or former employee of Smartmatic or Defendants subject

to a non-disclosure agreement, (ii) is not a current competitor of Smartmatic or Defendants, an

employee of a current competitor of Smartmatic or Defendants, or advising or discussing




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employment with, or a consultant to, a current competitor of Smartmatic or Defendants, (iii) agrees

to use, and does use, the Discovery Material solely in connection with the Litigation and (iv) agrees

to be bound by the terms of this Order by signing an undertaking in the form attached as Exhibit

A hereto. Counsel for the Party showing, providing, or disclosing Confidential or Attorneys’ Eyes

Only Discovery Material to any person required to execute an undertaking under this Paragraph

will be responsible for obtaining such signed undertaking and retaining the original, executed copy

thereof. “Competitors” are persons or entities endeavoring to engage in the same or similar lines

of business, who provide the same or similar services, who sell the same or similar products, or

who operate in the same markets, as well as any persons who are engaged in any of these activities.

       11.     Should the need arise for any Party or non-party to disclose Confidential or

Attorney’s Eyes Only Discovery Material during any hearing or trial before the Court, including

through argument or the presentation of evidence, such Party or non-party may do so only after

taking such steps as the Court, upon motion of the Producing Party, deems necessary to preserve

the confidentiality of such Confidential or Attorneys’ Eyes Only Discovery Material.

       12.     This Order shall not preclude counsel for any Party from using during any

deposition in this action any Documents or Testimony which has been designated as Confidential

or Attorneys’ Eyes Only Discovery Material under the terms hereof. Any deposition witness who

is given access to Confidential or Attorney’s Eyes Only Discovery Material shall, prior thereto, be

provided with a copy of this Order and shall execute a written agreement, in the form of Exhibit

A attached hereto, to comply with and be bound by its terms. Counsel for the Party obtaining the

certificate shall supply a copy to counsel for the other Parties and, as appropriate, a non-party that

is a Producing Party. If, after being presented with a copy of this Order, a witness refuses to be




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bound by this Order, the Court shall, upon application, enter an order directing the witness’s

compliance with the Order.

       13.     Every person to whom Confidential or Attorneys’ Eyes Only Discovery Material is

disclosed, summarized, described, characterized, or otherwise communicated or made available,

orally or in writing, in whole or in part, will be advised that the information is being disclosed

subject to the terms of this Order and may not be disclosed or used for purposes other than those

permitted hereunder. Each such person will maintain the Confidential or Attorneys’ Eyes Only

Discovery Material, or information derived therefrom, in a manner reasonably calculated to

prevent unauthorized disclosure. Any Party issuing a subpoena to a non-Party will enclose a copy

of this Order and notify the non-Party that the protections of this Order will apply to Discovery

Materials of such non-Party.

       14.     Any pleading, brief, memorandum, motion, letter, affidavit, declaration, or other

document filed with the Court that discloses, summarizes, describes, characterizes, or otherwise

communicates Confidential or Attorneys’ Eyes Only Discovery Materials (a “Confidential Filing”)

must be filed with the Court under seal in accordance with Local Rule 5.6.

       15.     If a Party objects to the designation of Discovery Material as Confidential or

Attorneys’ Eyes Only Discovery Material, that Party (“the Objecting Party”) will send written

notice to the Designating Party that includes a date and time for a meet and confer to discuss the

disputed designation. The Objecting Party and the Designating Party will thereafter meet and

confer either at the suggested date and time or, to the extent the Designating Party is unavailable

at the suggested date and time, at some other agreed date and time. If the meet and confer

procedure does not resolve the dispute, the Objecting Party may, within seven (7) days of the meet

and confer, file a motion with the Court to strike the designation. The Producing Party may, within




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fourteen (14) days, file a response, and the Objecting Party may file a reply within seven (7) days,

after which the matter will be fully briefed and ripe for the Court to resolve the dispute. A hearing

may be held at the discretion of the Court. While such an application is pending, the Discovery

Material or testimony in question will be treated as Confidential or Attorneys’ Eyes Only

Discovery Material pursuant to this Order. The burden of establishing that any Discovery Material

was properly designated as Confidential or Attorneys’ Eyes Only Discovery Material is on the

Designating Party. If an Objecting Party seeking to challenge any designation of Discovery

Material or testimony as Confidential or Attorneys’ Eyes Only fails to object and propose a meet

and confer as described in this paragraph, then the Objecting Party will be deemed to have

permanently waived its right to challenge the designation of the disputed Discovery Material as

Confidential or Attorneys’ Eyes Only.

       16.     The Parties have the right to apply under Federal Rules of Civil Procedure 5.2(e)

and 26 for an order seeking additional safeguards with respect to the use and handling of Discovery

Material or to modify the terms of this Order.

       17.     Entering into this Order, or agreeing to or producing or receiving Discovery

Material or otherwise complying with the terms of this Order, will not:

               a.      prejudice in any way the rights of any Party to (i) seek production of any

                       documents or information in discovery, or (ii) object to the production of

                       any documents or information on the ground that it is not subject to

                       discovery;

               b.      operate as an admission by any Party that any particular Discovery Material

                       constitutes Confidential or Attorneys’ Eyes Only Discovery Material or




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                      contains or reflects trade secrets or any other type of confidential

                      information;

              c.      prejudice in any way the rights of any Party to (i) petition the Court for a

                      further protective order relating to any purportedly Confidential or

                      Attorneys’ Eyes Only Discovery Material, or (ii) seek a determination by

                      the Court whether any Discovery Material or Confidential or Attorneys’

                      Eyes Only Discovery Material should be subject to the terms of this Order;

              d.      prevent any Producing Party from agreeing in writing to alter or waive the

                      provisions or protections provided herein with respect to their designation

                      of any particular Discovery Material;

              e.      prejudice in any way the rights of any Party to object to the relevance,

                      authenticity, use, or admissibility into evidence of any document,

                      testimony, or other evidence subject to this Order;

              f.      preclude any Party from objecting to discovery that it believes to be

                      otherwise improper; or

              g.      operate as a waiver of any attorney-client, work product, business strategy,

                      trade secret or other privilege.

       18.    This Order has no effect upon, and will not apply to, a Producing Party’s use or

disclosure of its own Discovery Material for any purpose. Nothing herein will prevent a Producing

Party from disclosing its own Discovery Material.

       19.    If Discovery Material that is subject to a claim of attorney-client privilege, attorney

work product, or any other applicable privilege or ground on which production of that information

should not be made to any Party (“Inadvertent Production Material”) is inadvertently produced by




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a Producing Party or Parties, such inadvertent production will in no way prejudice or otherwise

constitute a waiver of, or estoppel as to, any claim of attorney-client privilege, work product, or

other applicable privilege.

               a.      A claim of inadvertent production will constitute a representation by the

                       Party claiming inadvertent production that the Inadvertent Production

                       Material has been reviewed by an attorney for the Party claiming

                       inadvertent production and that there is a good faith basis for the claim of

                       inadvertent production.

               b.      If a claim of inadvertent production is made under this Order, with respect

                       to Discovery Material then in the custody of another Party, the Party

                       possessing the Inadvertent Production Material will: (i) refrain from any

                       further examination or disclosure of the claimed Inadvertent Production

                       Material; and (ii) if requested, promptly make a good faith effort to destroy

                       all such claimed Inadvertent Production Material (including summaries and

                       excerpts) and all copies thereof, and certify in writing to that fact. Once a

                       claim of inadvertent production is made, no Party may use the Inadvertent

                       Production Material for any purpose until further order of the Court.

               c.      The Party claiming inadvertent production and a Receiving Party will

                       follow the same procedure set forth in this order for challenging the

                       designation of Inadvertent Production Material; while any motion relating

                       to the Inadvertent Production Material is pending, the Inadvertent

                       Production Material in question will be treated in accordance with

                       Paragraph 7. A Receiving Party may not assert as a ground for challenging




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                      privilege the fact of the inadvertent production, nor may it include or

                      otherwise disclose in any filing relating to the challenge, as an attachment,

                      exhibit, or otherwise, the Inadvertent Production Material (or any portion

                      thereof).

       20.     Nothing herein will be deemed to waive any applicable common law or statutory

privilege or work product protection.

       21.     In the event additional Parties join or are joined in the Litigation, they will not have

access to Confidential or Attorneys’ Eyes Only Discovery Material until the newly joined Party

by its counsel has executed this Order and filed with the Court its agreement to be fully bound by

it.

       22.     Subject to the requirements of Federal Rules of Civil Procedure 5.2(e) and 26, the

provisions of this Order will, absent written permission of the Designating Party or further order

of the Court, continue to be binding throughout and after the conclusion of the Litigation,

including, without limitation, any appeals therefrom, except as provided in Paragraph 24.

       23.     In the event that any Confidential or Attorneys’ Eyes Only Discovery Material is

used in open court during any court proceeding or filed, marked, or offered as a trial exhibit, the

material will lose its confidential status and become part of the public record, unless the

Designating Party applies for and obtains an order from this Court specifically maintaining the

confidential status of particular material. Before any court proceeding in which Confidential or

Attorneys’ Eyes Only Discovery Material is to be used, counsel will confer in good faith on such

procedures that may be necessary or advisable to protect the confidentiality of any such Discovery

Material.




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       24.     Within 60 days after receiving notice of the entry of an order, judgment, or decree

finally disposing of the Litigation, or any other proceeding in which Confidential or Attorneys’

Eyes Only Discovery Material is permitted to be used, including the exhaustion of all possible

appeals, and upon the written request of the Designating or Producing Party, all persons having

received Confidential or Attorneys’ Eyes Only Discovery Material will either (i) make a good faith

and reasonable effort to return such material and all copies thereof (including summaries, excerpts,

and derivative works) to counsel for the Producing Party; or (ii) make a good-faith and reasonable

effort to destroy all such Confidential or Attorneys’ Eyes Only Discovery Material, and certify to

that fact in writing to counsel for the Designating or Producing Party. However, counsel for the

Parties will be entitled to retain court papers, trial transcripts, and attorney work product containing

Confidential or Attorneys’ Eyes Only Discovery Material, provided that such counsel, and

employees of such counsel, will maintain the confidentiality thereof and will not disclose such

court papers, trial transcripts, or attorney work product containing Confidential or Attorneys’ Eyes

Only Discovery Material to any person except under a court order or agreement by the Designating

and Producing Party or except as otherwise required by law. All materials returned to the Parties

or their counsel by the Court likewise will be disposed of in accordance with this paragraph.

       25.     If any person in possession of Confidential or Attorneys’ Eyes Only Discovery

Material receives a subpoena or other compulsory process seeking the production or other

disclosure of Confidential or Attorneys’ Eyes Only Discovery Material the person neither

produced nor designated (collectively, a “Demand”), the person will give written notice to counsel

for the Designating and Producing Parties within three business days of receipt of such Demand

(or if a response to the Demand is due in less than three business days, at least 24 hours prior to

the deadline for a response to the Demand), identifying the Confidential or Attorneys’ Eyes Only




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Discovery Material sought and enclosing a copy of the Demand, and must object to the production

of the Confidential or Attorneys’ Eyes Only Discovery Material on the grounds of the existence

of this Order. The burden of opposing the enforcement of the Demand will fall on the Designating

Party. Nothing herein will be construed as requiring the person receiving the Demand or anyone

else covered by this Order to challenge or appeal any order requiring production of Confidential

or Attorneys’ Eyes Only Discovery Material covered by this Order, or to subject itself to any

penalties for noncompliance with any legal process or order, or to seek any relief from this Court

or any other court. Compliance by the person receiving the Demand with any court order directing

production under a Demand of any Confidential or Attorneys’ Eyes Only Discovery Material will

not constitute a violation of this Order.

       26.     Absent a court order, no person who is not a party to the Litigation who receives

Confidential or Attorneys’ Eyes Only Discovery Material as permitted under the terms of this

Order (“a Non-Party”) will reveal any Confidential or Attorneys’ Eyes Only Discovery Material

or the information contained therein, to anyone not entitled to receive such Confidential or

Attorneys’ Eyes Only Discovery Material under the terms of this Order. In the event that

Confidential or Attorneys’ Eyes Only Discovery Material is disclosed to any person other than in

the manner authorized by this Order, or that any information comes to the non-party’s attention

that may indicate there was or is likely to be a loss of confidentiality of any Confidential or

Attorneys’ Eyes Only Discovery Material, the non-party responsible for the disclosure or loss of

confidentiality will immediately inform the Designating and Producing Party of all pertinent facts

relating to the disclosure or loss of confidentiality, including, if known, the name, address, and

employer of each person to whom the disclosure was made. The non-party responsible for the

disclosure or loss of confidentiality will also make reasonable efforts to prevent disclosure of




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Confidential or Attorneys’ Eyes Only Discovery Material by each unauthorized person who

receives the information.

       27.     The production of any Discovery Material by any non-party is subject to and

governed by the terms of this Order.

       28.     If a Party violates this Order by intentionally releasing or otherwise disclosing

Confidential or Attorneys’ Eyes Only Discovery Material to persons or entities not entitled to such

material under this Order or learns of the disclosure of such material and does not immediately

inform the Designating and Producing Party, the Court may impose sanctions under Federal Rule

of Civil Procedure 37(b)(2)(A)(i)-(vi).

       29.     The Court will retain jurisdiction over all persons subject to this Order to the extent

necessary to enforce any obligations arising hereunder or to impose sanctions for any violation

thereof.



Dated: November 3, 2022
                                                      s/ John F. Docherty
                                                      JOHN F. DOCHERTY
                                                      United States Magistrate Judge




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                                           EXHIBIT A

       Smartmatic USA Corp., et al., v. Lindell, et al., Case No. 22-cv-0098-WMW-JFD

       I have read the Protective Order Dated _____________, 2022 in this action (the “Order”)

and undertake to access and use Discovery Material, Confidential Material, and Attorneys’ Eyes

Only Material only as the Order permits.

       Signed this ___ day of _______________, 2022.

                                                   ____________________________________
                                                   [Name]




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                       EXHIBIT 2
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         Touhy Summary of Information Sought and Relevance to Proceeding

      To the extent that the Department of Justice Touhy regulations may apply to the

attached subpoena, the importance and the relevance of the information the issuing party

intends to seek through the deposition of Carlotta Wells is as follows.

      The testimony sought from Ms. Wells is of major importance to the defenses of

Michael J. Lindell and My Pillow, Inc. in the captioned proceeding, Smartmatic USA

Corp. et al. v. Michael J. Lindell and My Pillow, no. 22-cv-00098-WMW-JFD in the

U.S. District Court for the District of Minnesota. The plaintiffs’ claims in that action

allege that Mr. Lindell made false statements about the 2020 election. One of Mr.

Lindell’s defenses is that his statements were based in significant part upon information

he received from and about a former government contractor named Dennis Montgomery,

including information about technology developed by Mr. Montgomery and provided to

the Central Intelligence Agency to hack/penetrate electronic election systems, and

otherwise gather related internet traffic that could impact election systems. Ms. Wells

interacted extensively with Mr. Montgomery concerning his work for the government.

Mr. Lindell’s and My Pillow, Inc.’s defenses include the defense that the allegedly

defamatory statements were true, and the defense that the statements were plausible. Ms.

Wells can provide information showing that Mr. Lindell’s reliance on Mr. Montgomery

and the information he stated he possessed was reasonable.




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      Ms. Wells’s testimony will support the defenses of Mr. Lindell and My Pillow by

showing the following:

      (1) The United States Government asked a federal district to enter a protective

         order restricting inquiry into certain information in litigation between Mr.

         Montgomery and his former employer, Montgomery v. ETreppid Techs., Inc.,

         no. 06-cv-56 (D. Nev. Aug. 29, 2007). See attached Exhibit A.

      (2) The United States Government seized boxes of documents related to Mr.

         Montgomery from the offices of Mr. Montgomery’s former attorney. See

         attached Exhibit B.

      (3) Ms. Wells attended a deposition of Mr. Montgomery together with two federal

         agents whose names she refused to provide. See attached Exhibit C. Ms. Wells

         attended the deposition for purposes related to the protective order in

         Montgomery v. ETreppid. At that deposition, Ms. Wells had certain

         conversations with Mr. Montgomery, not recorded on the transcript, which

         demonstrate the nature of the work Mr. Montgomery performed for the

         government, on which the defendants are relying for their defense in the

         Smartmatic v. My Pillow litigation.

      (4) Ms. Wells attended a court hearing in 2008 in which she instructed Mr.

         Montgomery not to answer several questions on the basis of the state secrets

         privilege related to work performed by Mr. Montgomery for the United States

         government. See attached Exhibit D.



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      (5) Ms. Wells attended a court hearing in 2008 in which she asked the district

          court to allow her to remove and redact information from exhibits related to

          Mr. Montgomery, on the basis of the state secrets privilege. See attached

          Exhibit E.

      (6) Ms. Wells had additional conversations and dealings with Mr. Montgomery in

          connection with Mr. Montgomery’s work for the United States Government.

      Importantly, Mr. Lindell and My Pillow do not intend to ask Ms. Wells to

disclose the substance of attorney-client communications or work product material

generated in the course of her representation of the United States. The information they

seek concerns non-privileged matters.

      Ms. Wells’s testimony will support the Mr. Lindell’s and My Pillow, Inc.’s

defenses that the information Mr. Lindell received about and from Mr. Montgomery was

accurate, credible, and reasonable to rely upon in making the statements for which the

Smartmatic plaintiffs are suing him in the lawsuit for which this subpoena is issued. Ms.

Wells’s testimony is additionally expected to support the factual conclusions that Mr.

Montgomery’s account of his past activities is true, that Mr. Montgomery performed

work for the United States government, and that Mr. Montgomery’s work was relied

upon and used by the United States Government.

      Lindell and My Pillow, Inc. have a right to gather the evidence of Ms. Wells’s

knowledge concerning Mr. Montgomery’s activities to support their defenses concerning

Mr. Lindell’s reliance on Mr. Montgomery, and to defend against any attacks the

Smartmatic plaintiffs may assert against Mr. Montgomery’s credibility.
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       Disclosure of Ms. Wells’s testimony is appropriate as part of discovery in the

Smartmatic USA Corp. et al., v. Michael J. Lindell and My Pillow, Inc. action, which is

open and ongoing. The testimony sought is not privileged, no statute would be violated

by disclosure of it, and it would not require disclosure of classified information, reveal

any confidential source or investigation, or improperly reveal trade secrets. To the

extent Ms. Wells’s testimony is deemed sensitive or confidential, the testimony could be

designated as confidential under the Protective Order entered by the District Court in

this action, attached to the subpoena. Mr. Lindell and My Pillow, Inc. believe that Ms.

Wells’s testimony concerning Mr. Montgomery can be taken without creating any issue

of state secrets, because the testimony concerns events from long ago and because the

testimony can be given in a general way as to avoid any lingering concerns over

classified information.

       Mr. Lindell and My Pillow, Inc. seek testimony that (1) Mr. Montgomery worked

on U.S. government programs that involved information protected by the State Secrets

Privilege; (2) the federal government undertook active measures to prevent Mr.

Montgomery from disclosing state secrets, including seizing documents from his

attorney, attending his deposition, and attending court hearings at which he testified; (3)

Ms. Wells engaged in conversations with Mr. Montgomery on multiple occasions

regarding the State Secrets Privilege and what information Mr. Montgomery was

permitted to disclose or prohibited from disclosing; (4) the United States Government’s

desire to protect State Secret information held by Mr. Montgomery continues today; (5)

Exhibits A, B, C, D, and E accurately reflect the events they describe.
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 8   Federal Programs Branch
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 9   U.S. Department of Justice
     20 Massachusetts Ave., NW/P.O. Box 883
10   Washington, D.C. 20044
                                UNITED STATES DISTRICT COURT
11                                    DISTRICT OF NEVADA
12   ETREPPID TECHNOLOGIES, LLC,         )
                                         )
13               Plaintiff,              )
                                         )                       CV-N- 06-00145 (BES)(VPC)
14   v.                                  )
                                         )
15   DENNIS MONTGOMERY, et al.,          )
                                         )
16               Defendants.             )
                                         )
17   DENNIS MONTGOMERY, et al.,          )
                                         )
18               Plaintiffs,             )
                                         )                       CV-N-06-00056 (BES)(VPC)
19   v.                                  )
                                         )
20   ETREPPID TECHNOLOGIES, INC.,        )
     et al.,                             )
21                                       )
                 Defendants.             )
22   ____________________________________)
23                         NOTICE OF MOTION AND MOTION FOR
                         PROTECTIVE ORDER BY THE UNITED STATES
24
            TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD: Please take notice that,
25
     pursuant to Federal Rule of Civil Procedure 26(c), defendant, the United States Department of
26
     Defense (DoD), hereby submits its motion for a protective order to prevent disclosure of
27
     information that could harm the national security interests of the United States. In addition, DoD
28
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 1   moves to stay its discovery obligations during the pendency of its motions to dismiss all claims
 2   against the government in these cases. The motion is based on this notice of motion and motion
 3   and the following memorandum of points and authorities.
 4                   MEMORANDUM OF POINTS AND AUTHORITIES
            IN SUPPORT OF UNITED STATES’ MOTION FOR PROTECTIVE ORDER
 5
                                             INTRODUCTION
 6
            The United States seeks a protective order in these cases pursuant to Rule 26(c)1 to
 7
     prevent the disclosure of information relating to (1) the existence or non-existence of any actual
 8
     or proposed relationship, agreement, connection, contract, transaction, communication, or
 9
     meeting of any kind between an intelligence agency as defined in 50 U.S.C. § 401(a)(4), which
10
     includes intelligence elements of the military services; and (2) any actual or proposed interest in,
11
     application, or use by any intelligence agency, or any current or former official, employee, or
12
     representative thereof, of any technology, software, or source code owned or claimed by any
13
     individuals or entities associated with these lawsuits. The basis for the protective order is that
14
     the information is protected by the military and state secrets privilege. That privilege, as properly
15
     asserted by the United States here, acts as an absolute bar when disclosure of the material would
16
     harm national security, regardless of a party’s need for the information. As explained in the
17
     declarations accompanying this motion, because the disclosure of information at issue in this
18
     litigation reasonably could be expected to cause serious, and in some cases exceptionally grave,
19
     damage to national security, see Declaration of John D. Negroponte (Negroponte Dec.), attached
20
21
22
        1
           The United States Department of Defense (DoD) has been named a party to this litigation,
23
     but has moved to dismiss the claims against it on jurisdictional grounds. Even if DoD is
24   dismissed as a party, the United States’ interest in protecting national security information would
     remain and, if appropriate, the government could file a statement of interest pursuant to 28
25   U.S.C. § 517. That statute provides that "any officer of the Department of Justice, may be sent
     by the Attorney General to any State or District in the United States to attend to the interests of
26
     the United States in a suit pending in a court of the United States, or in a court of a State, or to
27   attend to any other interest of the United States."

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 1   hereto as Exhibit 1; see also Classified Declaration to be submitted in camera ex parte,2 the
 2   United States' interest in preserving its state secrets is overriding and must be safeguarded, even
 3   if a party is thereby precluded from establishing its legal position in these cases.
 4          The assertion of the privilege does not mean that there is actually a relationship between
 5   the intelligence community and any individual or entity involved in these cases. Rather, as Mr.
 6   Negroponte explains, in order to protect from disclosure those instances where there is a
 7   relationship, the United States must prevent the disclosure of information that would tend to
 8   either confirm or deny that any relationship or connection exists even in cases where there is no
 9   such relationship. See Negroponte Dec. ¶ 12. To do otherwise would inevitably lead to the
10   compromise of national security information, because if the United States were forced to deny
11   relationships where none existed, the United States' refusal to respond to future allegations in
12   other cases would, as one district court explained, "be tantamount to a confirmation." See
13   Maxwell v. First National Bank of Maryland, 143 F.R.D. 590, 595 (D. Md. 1992). For these
14   reasons, the Court should uphold the United States' assertion of the military and state secrets
15   privilege and enjoin the disclosure of any information that might tend to confirm or deny the
16   existence or non-existence of any relationship (including any communication, meeting or
17   transaction) between the U.S. intelligence community and any individual or entity associated
18   with the underlying events giving rise to these suits, as well as any actual or proposed interest in,
19   application, or use by any intelligence agency other than the United States Air Force of any
20   technology, software, or source code owned or claimed by any individuals or entities associated
21   with these lawsuits.
22          Further, on June 21, 2006, DoD filed motions to dismiss all of the claims against it as
23   asserted in these cases. Etreppid filed its notices of non-opposition on July 10, 2006.
24
25          2
               The classified in camera, ex parte declaration can be made available for review by the
     Court at its convenience. Because of the declaration’s classification level, however, it must be
26
     stored at all times, except when being reviewed by appropriate personnel, in a Sensitive
27   Compartmented Information Facility (SCIF).

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 1   Montgomery’s opposition were filed, under seal, on September 15, 2006. Defendant has not yet
 2   been served with discovery requests, although the deadline for the parties to produce their initial
 3   disclosures was, by stipulation of the parties, August 14, 2006. In its motions to dismiss, DoD
 4   argued that the Court should dismiss these actions as to DoD for lack of subject matter
 5   jurisdiction. If the Court grants the government’s motions, it will dispose of the claims against
 6   DoD in their entirety. Therefore, in the interests of judicial economy, the Court should exercise
 7   its discretion under Rule 26(c) of the Federal Rules of Civil Procedure and stay all discovery
 8   relating to DoD pending its ruling on the government’s motions to dismiss.3
 9          Counsel for the parties conferred in an attempt to reach agreement on the issues raise in
10   this motion, but were unable to do so.
11                                            BACKGROUND
12          A.      Factual Statement
13          The instant litigation is comprised of two actions, Civil Action No. 06-00056 (hereinafter
14   referred to as the “Federal Case”) and Civil Action No. 06-00145 (hereinafter referred to as the
15   “Removed Case”). Dennis Montgomery, et al. (Montgomery) and eTreppid Technologies, Inc.
16   (eTreppid) have filed countersuits relating, inter alia, to claims involving copyright infringement,
17   misappropriation of trade secrets, breach of contract, and breach of fiduciary duty. Montgomery
18   also has filed claims against DoD in both suits, seeking declaratory relief in both as well as relief
19   for copyright infringement in the Federal Case. The dispute between the private parties primarily
20   concerns the ownership of source codes and their derivatives, see Federal Case Complaint ¶¶ 11-
21   14; Removed Case Complaint ¶¶ 31-33; Removed Case Countercomplaint ¶ 23.
22          In a complaint originally filed in state court, eTreppid has asserted a claim of entitlement
23   to protect and recover trade secrets from Montgomery. Removed Case Complaint ¶ 35.
24   Montgomery, a former employee, officer, and director of the company, filed a counter-complaint
25
            3
              DoD does not take a position with respect to whether discovery between eTreppid and
26
     Montgomery should proceed notwithstanding the pendency of the government’s motion to
27   dismiss.

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 1   as well as a federal court action, alleging that eTreppid had infringed his copyright interests.
 2   Montgomery claims that he is an inventor and software developer who developed software for
 3   which he was granted copyrights in 1982. Removed Case Counter-complaint ¶ 8; Federal Case
 4   Complaint ¶ 8. Montgomery asserts that, after registration of the copyrights, he developed
 5   derivative works based on the copyrighted technology. Removed Case Counter-complaint ¶ 9;
 6   Federal Case Complaint ¶ 9. In September 1998, Montgomery and counter-defendant Warren
 7   Trepp formed eTreppid. Removed Case Counter-complaint ¶ 10; Federal Case Complaint ¶ 10.
 8   Pursuant to an agreement entered into between Montgomery and Trepp, Montgomery alleges he
 9   contributed certain technology in exchange for a 50 percent interest in eTreppid. Id.
10          The dispute between Montgomery and eTreppid stems from the issue of the extent to
11   which Montgomery retained the sole interest in the derivative works based on the copyrighted
12   technology. Removed Case Counter-complaint ¶¶ 11-14; Federal Case Complaint ¶¶ 11-14.
13   Montgomery alleges that, in 2003, eTreppid “began sublicensing the Derivative Works to various
14   entities, including the United States government and collecting licensing fees for the
15   sublicenses,” without having a license to take such action. Removed Case Counter-complaint ¶¶
16   16-18; Federal Case Complaint ¶¶ 16-18. Further, Montgomery claims that, to the extent
17   eTreppid had “an oral nonexclusive license to exploit the Derivative Works,” such oral license
18   was terminated in January 2006. Removed Case Counter-complaint ¶¶ 17-18; Federal Case
19   Complaint ¶¶ 17-18. For its part, eTreppid claims that Montgomery has misappropriated trade
20   secrets, violated the terms of his contracts with eTreppid, and improperly converted confidential
21   information for his own use. Removed Case Complaint ¶¶ 36, 43, 46.
22          Montgomery also has asserted a claim against DoD. Montgomery alleges that he is
23   prevented from fully disclosing the information he needs to present his case because he signed a
24   “secrecy contract” with the United States government relating to the nature of the work that he
25   performed on behalf of the government while associated with eTreppid and that disclosure of
26   such information could subject him to criminal prosecution. Federal Complaint ¶¶ 69, 71;
27
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 1   Removed Case Counter-complaint ¶ 24. Montgomery claims that he can neither defend against
 2   eTreppid’s claims nor prosecute his own without revealing the “nature of the technology, the type
 3   of work he has performed on the government contracts using his technology versus that of
 4   eTreppid, and the capabilities of his technology . . . in performing work for certain government
 5   agencies.” Federal Case Complaint ¶¶ 71; Removed Case Counter-complaint ¶¶ 24. Accord
 6   Federal Case Complaint ¶¶ 72; Removed Case Counter-complaint ¶¶ 25. Montgomery therefore
 7   seeks, in both cases, a declaration that disclosure of such information will not constitute a
 8   violation of the “the contract between Montgomery and the United States to maintain [] secrets,
 9   and/or a declaration of immunity for Montgomery from the United States.” Federal Case
10   Complaint ¶ 73; Removed Case Counter-complaint ¶ 26.
11          Montgomery signed a Classified Information Nondisclosure Agreement (Nondisclosure
12   Agreement), which was executed with the Defense Security Service, an agency within the DoD,
13   on September 16, 2003. Exhibit 2. Pursuant to the terms of the Nondisclosure Agreement,
14   Montgomery inter alia: (1) accepted certain obligations in exchange for being granted access to
15   classified information (para. 1); (2) agreed never to divulge classified information to anyone
16   unless authorized under the terms of the agreement and to comply with all laws prohibiting the
17   unauthorized disclosure of classified information (para. 3); (3) stated he had been advised that
18   the unauthorized disclosure of classified information could violate certain criminal statutes (para.
19   4); (4) stated he understood that the United States government may seek any remedy available to
20   it to enforce the terms of the agreement, including but not limited to seeking a court order to
21   prohibit the unauthorized disclosure of classified information (para. 6); (5) stated he understood
22   that the classified information to which he would have or obtain access to was and would remain
23   the property and under the control of the United States government (para. 7); and (6) agreed that
24   the conditions and obligations imposed upon him under the agreement apply unless and until he
25   is relieved of such obligations in writing by an authorized representative of the United States
26   government (para. 8). Id.
27
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 1          B.      Terms of the Proposed Protective Order
 2          The proposed protective order (Exhibit 3) states that certain intelligence information that
 3   may or may not be relevant to the claims and defenses of the parties to this litigation is subject to
 4   the state secrets privilege, the disclosure of which reasonably could be expected to cause serious,
 5   and in some cases exceptionally grave, damage to the national security of the United States (para.
 6   1). The proposed order then defines the categories of information that shall not be discussed,
 7   mentioned or otherwise subject to discovery or disclosure during all proceedings in this action:
 8                  2. The parties to these actions shall not serve or take any discovery
                    relating to or questioning the existence or non-existence of any actual or
 9                  proposed relationship, agreement, connection, contract, transaction,
                    communication, or meeting of any kind between any entity in the
10                  intelligence community as defined by the National Security Act of 1947,
                    50 U.S.C. § 401(a)(4), which includes intelligence elements of the military
11                  services [hereinafter referred to as “any intelligence agency”], or any
                    current or former official, employee, or representative thereof, and any
12                  individuals or entities associated with these lawsuits, or any current or
                    former officer or employee thereof.
13
                    3. The parties to these actions shall not serve or take any discovery relating to or
14                  questioning any actual or proposed interest in, application, or use by any
                    intelligence agency, or any current or former official, employee, or representative
15                  thereof, of any technology, software, or source code owned or claimed by any
                    individuals or entities associated with these lawsuits.
16
     Accord paragraphs 5 and 6.
17
            In addition, the proposed order (para. 4) delineates issues relating to the parties’
18
     interactions with the government that would not be precluded. The areas in which questions or
19
     discovery would not be precluded include:
20
                            a. The existence and nature of the “Big Safari” contract
21          [hereinafter referred to as “the contract”] between eTreppid, Inc. and the United
            States Air Force, including but not limited to the fact that the contract required
22          eTreppid to perform data analysis and the fact that the data analysis eTreppid
            performed under the contract involved image identification technology;
23
                            b. The fact that the contract required employees and/or officers of
24          eTreppid, Inc. to sign secrecy agreements with the Department of Defense;
25                         c. The technical specifications relating to any technology, owned
            or claimed by any non-government individual or entity associated with these
26          lawsuits, used under the terms of the contract or any other contract, relationship,
            agreement, connection, contract, transaction, communication, or meeting of any
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 1          kind, unless covered by paras. 2 and 3 above;
 2                          d. Any actual or potential commercial or government applications
            of any technology owned or claimed by any non-government individual or entity
 3          associated with these lawsuits at any time, except to the extent that any
            application is covered by paragraph 2 and/or 3 above; and
 4
                            e. Facts relating to the issue of ownership, by any non-government
 5          individual or entity associated with these lawsuite, of any right or interest in the
            source code, software, or other technology owned or claimed by the parties to
 6          these lawsuits, except to the extent that any application is covered by paragraph 2
            and/or 3 above.
 7
            The proposed order also states that, to the extent information or documents are sought by
 8
     the private parties that would implicate the information defined in paragraphs 2 and 3 of the
 9
     proposed order, then such requests shall be deemed, without the need for objection, not to require
10
     a response that would include any such information (paras. 7 and 8). The proposed order further
11
     sets forth measures by which the United States can ensure that the classified information is
12
     protected against disclosure by, for example, requiring service upon attorneys representing the
13
     government of all discovery and motions (para. 10), requiring notice to the government’s
14
     attorneys of all decisions and notices for hearings in this litigation (para 11), authorizing
15
     attendance by attorneys for the United States at all depositions and proceedings as well as their
16
     right to make objections as necessary to protect national security information (para. 12), and
17
     authorizing the participation by attorneys for the United States in any proceeding in this litigation
18
     (para. 13).
19
            Finally, as noted above, the proposed protective order also provides that the government
20
     is excused from its Rule 26 obligations during the pendency of DoD’s motion to dismiss. The
21
     obligations that are to be stayed include complying with the obligation to produce initial
22
     disclosures as all well as all discovery obligations.
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 1                                               ARGUMENT
 2   I.       The Standard Of Review Is A Narrow One, And A Properly Invoked
              Claim Of The State Secrets Privilege Is An Absolute Bar To Disclosure
 3
              The military and state secrets privilege is a unique privilege, with constitutional
 4
     underpinnings,4 which permits the Government to protect against the unauthorized disclosure in
 5
     litigation of information that may adversely affect national security interests. See United States
 6
     v. Reynolds, 345 U.S. 1, 7-8 (1953); Black v. United States, 62 F.3d 1115, 1118 (8th Cir. 1995),
 7
     cert. denied, 517 U.S. 1154 (1996); Ellsberg v. Mitchell, 709 F.2d 51, 56 (D.C. Cir. 1983), cert.
 8
     denied, 465 U.S. 1038 (1984). The privilege is not limited to military secrets, but is “both
 9
     expansive and malleable.” Ellsberg, 709 F.2d at 57. Thus, it includes within its scope
10
     information that would result in “'impairment of the nation's defense capabilities, disclosure of
11
     intelligence-gathering methods or capabilities, and disruption of diplomatic relations with foreign
12
     governments.'” Black, 62 F.2d at 1118 (quoting Ellsberg, 709 F.2d at 57).5
13
14
          4
15       National security information is subject to the exclusive control of the President and the
     Executive Branch of the U.S. Government, pursuant to the President's powers under Article II of
16   the Constitution. Department of Navy v. Egan, 484 U.S. 518, 527 (1988). Justice Stewart
     observed in his concurring opinion in New York Times Co. v. United States, 403 U.S. 713, 728-
17
     29 (1971), as follows:
18
              If the Constitution gives the Executive a large degree of unshared power in the
19            conduct of foreign affairs and the maintenance of our national defense, then under
              the Constitution the Executive must have the largely unshared duty to determine
20
              and preserve the degree of internal security necessary to exercise that power
21            successfully.

22        5
          See, e.g., Reynolds, 345 U.S. at 5 (Air Force crash investigation report containing national
     security information was privileged); Fitzgerald v. Penthouse Int'l, Ltd., 776 F.2d 1236, 1242-43
23
     (4th Cir. 1985) (expert testimony on Navy marine mammal research programs was precluded as
24   privileged); Northrop Corp. v. McDonnell Douglas Corp., 751 F.2d 395, 400-402 (D.C. Cir.
     1984) (Department of Defense documents containing national security information, including
25   communications with foreign governments and intra-government letters, were privileged);
     Halkin v. Helms, 690 F.2d 977, 990, 993 (D.C. Cir. 1982) (information concerning diplomatic
26
     relations with foreign governments and intelligence-gathering methods and capabilities was
27   privileged).

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 1          The military and state secrets privilege is invoked when the government makes [1] a
 2   "formal claim of privilege, [2] lodged by the head of the department which has control over the
 3   matter, after [3] actual personal consideration by that officer." Reynolds, 345 U.S. at 7-8
 4   (footnotes omitted); Black, 62 F.3d at 1118. The privilege is asserted to protect against the
 5   unauthorized disclosure of information that may adversely affect national security interests,
 6   regardless of how the person who has the information or seeks its disclosure is related to the
 7   Government. See generally 2 S. Stone & R. Taylor, Testimonial Privileges § 9.12 at 9-37 (2d ed.
 8   1995). Thus, “the privilege may be invoked only by the government and may be asserted even
 9   when the government is not a party to the case.” Zuckerbraun v. General Dynamics Corp., 935
10   F.2d 544, 546 (2d Cir. 1991) (citing Fitzgerald, 776 F.2d 1236 (4th Cir. 1985)).
11          The standard of review of a military and state secrets privilege claim is a "narrow one,"
12   and "[c]ourts should accord the 'utmost deference' to executive assertions of privilege upon
13   grounds of military or diplomatic secrets." Halkin v. Helms, 598 F.2d 1, 9 (D.C. Cir. 1978); see
14   also Reynolds, 345 U.S. at 10; Black, 62 F.3d at 1119. The role of the court is to assess the
15   validity of the claim of privilege, satisfying itself that there is a reasonable danger that disclosure
16   will harm national security. Zuckerbraun, 935 F.2d at 546-47. “[T]he government need not
17   demonstrate that injury to the national interest will inevitably result from disclosure; a showing
18   of 'reasonable danger' that harm will ensue is sufficient.” Ellsberg, 709 F.2d at 58 (footnote
19   omitted). In this regard, courts have been “willing[] to credit relatively speculative projections of
20   adverse consequences [of disclosure].” Id. at 58 n.35.
21          In considering the claim of military and state secrets privilege, the court should not
22   “forc[e] a disclosure of the very thing the privilege is designed to protect,” Reynolds, 345 U.S. at
23   8, although it is appropriate for the court to consider in camera and ex parte declarations or other
24   submissions of the Government explaining why a matter should be protected, Black, 62 F.3d at
25   1119. See, e.g., Kasza v. Browner, 133 F.3d 1159, 1169 (9th Cir. 1998); Farnsworth Cannon,
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 1   Inc. v. Grimes, 635 F.2d 268, 281 (4th Cir. 1980) (en banc)); Maxwell, 143 F.R.D. at 595.6
 2   Likewise, a judicial opinion on a claim of military and state secrets privilege “should not strip the
 3   veil from state secrets even if ambiguity results in a loss of focus and clarity.” Black, 62 F.3d at
 4   1119; see also Ellsberg, 709 F.2d at 59 n.41 (open, detailed discussion by a court of the
 5   application of general principles to particular facts is impossible in this area of the law).
 6          A properly invoked claim of privilege is an absolute bar to disclosure, no matter how
 7   compelling the need for the information, or relevance thereof, to a proper resolution of the case.
 8   Reynolds, 345 U.S. at 11; Black, 62 F.3d at 1119; Fitzgerald, 776 F.2d at 1240; Northrop, 751
 9   F.2d at 399. In other words, if the court determines that there exists a showing of harm which
10   might reasonably flow from disclosure, the privilege cannot be overcome by "even the most
11   compelling necessity." Reynolds, 345 U.S. at 11; In re Under Seal, 945 F.2d at 1288 n.2 (“Upon
12   proper invocation by the head of the affected department, the privilege renders the information
13   unavailable regardless of the other party's need in furtherance of the action”); Halkin, 690 F.2d at
14
15
            6
                In a number of contexts, national security concerns require ex parte, in camera review
16   of classified information, including any classified state secrets declarations submitted by the
     government, to protect such information from unauthorized disclosure. See e.g., Ellsberg, 709
17
     F.2d at 61 ("It is well settled that a trial judge called upon to assess the legitimacy of a state
18   secrets privilege claim should not permit the requester's counsel to participate in an in camera
     examination of putatively privileged material. The rationale for this rule is that our nation's
19   security is too important to be entrusted to the good faith and circumspection of a litigant's
     lawyer (whose sense of obligation to his client is likely to strain his fidelity to his pledge of
20
     secrecy) or to the coercive power of a protective order"); In re Eisenberg, 654 F.2d 1107, 1112
21   (5th Cir. 1981) ("Our adversarial legal system generally does not tolerate ex parte determinations
     on the merits of a civil case. . . . An exception to this principle is made when countervailing
22   government interests dictate that information sought to be discovered should remain secret.
     Privilege questions are determined on the basis of in camera, ex parte examinations of the
23
     evidence."); In re Under Seal, 945 F.2d 1285 (4th Cir. 1991) (classified in camera affidavit
24   reviewed by both the district court and court of appeals without being disclosed to plaintiff's
     counsel); Stillman v. CIA, 319 F.3d 546, 549 (D.C. Cir. 2003) (same); Crater Corp. v. Lucent
25   Technologies, Inc., 255 F.3d 1361, 1370 n. 4 (Fed. Cir. 2001)(rejecting claims of improper ex
     parte communications between the district court and the government in a case between two
26
     private parties but involving classified information).
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 1   990.
 2          If the consequent unavailability of the information precludes either party from
 3   establishing its legal position on the ultimate issues in the case, then the case must be dismissed.
 4   See Black, 62 F.3d at 1119 (case was properly dismissed where privileged information was at the
 5   core of plaintiff's claims); see also Fitzgerald, 776 F.2d at 1241-42 ("in some circumstances
 6   sensitive military secrets will be so central to the subject matter of the litigation that any attempt
 7   to proceed will threaten disclosure of the privileged matters"); Farnsworth, 635 F.2d at 281 ("any
 8   attempt on the part of the plaintiff to establish a prima facie case would so threaten disclosure of
 9   state secrets that the overriding interest of the United States and the preservation of its state
10   secrets precludes any further attempt to pursue this litigation"); Tilden v. Tenet, 140 F. Supp. 2d
11   623, 627 (E.D. Va. 2000) (case would be dismissed where there was no way in which lawsuit
12   could proceed without disclosing state secrets).7
13   II.    The United States Has Properly Invoked The Privilege, And The Court Should Issue A
            Protective Order Barring Disclosure Of The Information In Question
14
            The United States has properly asserted the military and state secrets privilege in these
15
     cases. The current head of the U.S. Intelligence community, Director of National Intelligence
16
     John D. Negroponte, after personal consideration of the matter, has formally invoked the
17
     privilege on behalf of the United States with respect to the information described in his
18
     declaration. See Reynolds, 345 U.S. at 7-8; Negroponte Dec. ¶¶ 3, 9 (Exhibit 1).8 As Mr.
19
20          7
               Notwithstanding the need to protect certain information from disclosure, the scope of
21   the information that would be protected by the state secrets privilege in these cases is relatively
     limited in scope. For this reason, the government’s proposed protective order specifically
22   identifies issues relating to the parties’ interactions with the government that would not be
     precluded. As a result of the fact that privilege covers only some but not all of the information
23
     relating to the government’s interactions with eTreppid and Montgomery, it appears at this point
24   that the underlying litigation should be able to proceed in some fashion.

25          8
               The public declaration is sufficient to establish the United States' military and state
     secrets privilege claim in this case. See Reynolds, 345 U.S. at 8 (the court should not “forc[e] a
26
     disclosure of the very thing the privilege is designed to protect”). Moreover, while "the court
27   should not jeopardize the security which the privilege is meant to protect by insisting upon an

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 1   Negroponte explains, the information to be protected from disclosure includes information
 2   concerning the existence or non-existence of any actual or proposed relationship involving any
 3   U.S. intelligence agency and any individuals and/or companies associated with these lawsuits and
 4   any actual or proposed interest in, application of, discussion of, or use by any intelligence agency
 5   of any technology owned or claimed by individuals and/or companies associated with these
 6   lawsuits. Negroponte Dec. ¶ 11. The disclosure of this information, which may or may not be
 7   relevant to the parties’ claims and defenses in their lawsuits relating to copyright ownership and
 8   trade secrets, could reasonably be expected to damage the national security. Id. at ¶¶ 9, 12; see
 9   also Classified Declaration submitted in camera ex parte.
10          Based on the assertion by the head of the United States intelligence community that
11   damage to national security could reasonably be expected to result from any disclosure of
12   information that would tend to confirm or deny the existence or non-existence of any relationship
13   between the United States intelligence community and the private parties as well as the
14   application by a member of the U.S. intelligence community of software or technology that the
15   parties claim to own, the United States' claim of privilege is valid. It therefore meets the narrow
16   standard of review to which the state secrets claim is subject, and the Court should accord it the
17   utmost deference. See Halkin v. Helms, 598 F.2d at 9; see also Black, 62 F.3d at 1119. In view
18   of the United States' showing that unauthorized disclosure of the information described in Mr.
19   Negroponte’s declaration could reasonably be expected to cause serious, and in some cases
20   exceptionally grave, damage to national security, whether in response to the parties' discovery
21   requests or otherwise, disclosure of that information is completely barred, no matter how
22
     examination of the evidence, even by the judge alone, in chambers," id. at 10, a more detailed
23
     description of the national security concerns at issue in this case is contained in a classified
24   declaration which the United States has already prepared. Because that declaration is classified,
     it can only be presented for the Court's ex parte, in camera review. The Department of Justice
25   Security Office can arrange for this Court's ex parte, in camera review of the classified
     declaration in a secure setting at the Court's convenience.
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 1   compelling any party's alleged need for the information. Reynolds, 345 U.S. at 11; Northrop,
 2   751 F.2d at 399; Halkin, 690 F.2d at 990.
 3          That the assertion of the military and state secrets privilege might leave a party to litigate
 4   “in the dark” is nothing extraordinary or unusual. Such was the case in Farnsworth, 635 F.2d at
 5   281, where plaintiff's counsel was left unaware of the scope of excluded information, as well as
 6   in Maxwell, 143 F.R.D. at 599-600, where plaintiff's counsel was rebuffed in his attempts to
 7   discover matters with respect to which the privilege had been asserted. In such instances, the
 8   Government simply has an “overriding interest.” See Farnsworth, 635 F.2d at 281. Accordingly,
 9   the Court should issue a protective order prohibiting the disclosure of the information at issue in
10   these cases.
11   III.   In the Interest of Judicial Economy, the Court Should Enter a Protective Order Staying
            Discovery Until Resolution of DoD’s Motion to Dismiss.
12
            Courts have broad discretion under the Federal Rules of Civil Procedure to regulate the
13
     discovery process, Herbert v. Lando, 441 U.S. 153, 177 (1979), including the discretion to deny
14
     discovery. See Fed. R. Civ. P. 26(c); Jarvis v. Regan, 833 F.2d 149, 155 (9th Cir. 1987) (“A
15
     district court's decision to allow or deny discovery is reviewable only for abuse of discretion.”);
16
     Petrus v. Bowen, 833 F.2d 581, 583 (5th Cir. 1987) (“trial court has broad discretion and
17
     inherent power to stay discovery until preliminary questions that may dispose of the case are
18
     determined”); B.R.S. Land Investors v. United States, 596 F.2d 353, 356 (9th Cir. 1979) (“A
19
     district court may properly exercise its discretion to deny discovery where . . . it is convinced that
20
     the plaintiff will be unable to state a claim upon which relief can be granted.”).
21
            Exercise of the Court's discretion to stay discovery is especially appropriate where a
22
     dispositive motion is pending and the discovery sought is not necessary to resolve the issues
23
     raised by that motion. See Alaska Cargo Transport, Inc. v. Alaska R.R. Corp., 5 F.3d 378, 383
24
     (9th Cir. 1993) (stay of discovery was proper where the discovery sought was not relevant to
25
     “whether or not the court ha[d] subject matter jurisdiction”); Jarvis v. Regan, 833 F.2d at 155
26
     (district court properly stayed discovery that was not needed to resolve motion to dismiss); Wood
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 1   v. McEwen, 644 F.2d 797, 801 (9th Cir. 1981) (“A district court may limit discovery ‘for good
 2   cause’ and may continue to stay discovery when it is convinced that the plaintiff will be unable to
 3   state a claim for relief.”) (citation omitted). “Indeed, such a procedure is an eminently logical
 4   means to prevent wasting the time and effort of all concerned, and to make the most efficient use
 5   of judicial resources.” Coastal States Gas Corp. v. Department of Energy, 84 F.R.D. 278, 282
 6   (D. Del. 1979).
 7          These are just such cases. Allowing discovery would impose significant and unnecessary
 8   burdens on DoD (and potentially the Court, if there are discovery disputes) at a time when
 9   significant issues have been raised regarding the Court’s jurisdiction over this matter. Discovery
10   is not needed to resolve those jurisdictional issues and, thus, a stay of discovery is warranted in
11   these circumstances. See Jarvis, 833 F.2d at 155 (“Discovery is only appropriate where there are
12   factual issues raised by a Rule 12(b) motion.”); Rae v. Union Bank, 725 F.2d 478, 481 (9th Cir.
13   1984) (district court properly stayed discovery where plaintiff “failed to point to any specific
14   information obtainable through discovery that would have enabled” plaintiff to withstand motion
15   to dismiss). Given the dispositive jurisdictional issues DoD has raised, the principle of judicial
16   economy favors a stay of discovery until the Court has ruled on the pending motions to dismiss.
17                                             CONCLUSION
18          For the foregoing reasons, the United States' assertion of the military and state secrets
19   privilege should be upheld, discovery involving the government should be stayed pending the
20   disposition of DoD’s motions to dismiss, and the government’s motion for a protective order
21   should be granted.
22   DATED: September 25, 2006
23                                                          Respectfully submitted,
24                                                          PETER D. KEISLER
                                                            Assistant Attorney General
25
                                                            DANIEL G. BOGDEN
26                                                          United States Attorney
                                                            District of Nevada
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                                                          Counsel for Counter-Defendant,
12                                                        United States Department of Defense
13
     IT IS SO ORDERED
14
15   Date: _______________, 2006                  _______________________________
                                                  UNITED STATES DISTRICT JUDGE
16
17
                                     CERTIFICATE OF SERVICE
18
            I hereby certify that I am an employee in the office of the United States Department of
19
     Justice, Civil Division in Washington DC and I am of such age and discretion as to be competent
20
     to serve papers. On September 25, 2006, I served copies of the United States Notice of Motion
21
     and Motion for Protective Order, with the accompanying Memorandum of Points and
22
     Authorities, by placing said copies in postpaid envelopes addressed to the persons named below
23
     at the places and addresses stated below and by depositing said envelopes and contents in the
24
     United States mail at the United States Department of Justice, 20 Massachusetts Avenue,
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     Washington D. C. 20001.
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16                                      United States Department of Justice
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 From:            Eisenberg )0se0b
 To:              Jerry Billie
 Cc:              �
 Subject:         FW: Review of former counsel files at Liner firm by United States
 Date:            Monday, May 24, 2010 1:08:10 PM
 Attadm1ents:     Ljner Document Inventoryodf
                  Ljner Hard Drive Inventory odf
                  Ljner CD Inventoryodf




-----Original Message-----
From: Gomez, Raphael (CIV) [mailto;RaphaeLGoroez@ysdoj.gov]
Sent: Monday, May 24, 2010 12:57 PM
To: Ellyn S. Garofalo; Kathleen Goldberg; Eisenberg, Joseph; Michael
Flynn
Cc: Wells, Carlotta (CIV); Raya, Sharon M. (CIV)
Subject: Review of former counsel files at Liner firm by United States

Counsel,

As we orally have informed you, the United States has conducted an
initial review of the 210 boxes of former counsel files at the Liner
firm.           o e         er s minus the documents and media u e
for further security review, require no further review by the United
States.

Please find attached an inventory of the hard copies, hard drives, and
CD's/DVD's that have been pulled from boxes 101 through 210 (please note
that the first 100 boxes were discovery produced by eTreppid to
Montgomery in the eTreppid case and were released by the United States
in late January 2010).

We will forward a projected date for completion of the review of the
pulled hard copies, hard drives and CD's/DVD's.

If you have any questions, please email or call.

Raphael Gomez
Carlotta Wells

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           CD-000227 *Dark City (Movie)                         DVD
         CD-000228 *School of Rock (Movie)                      DVD
          CD-000229 *Lost in Trans (Movie)                      DVD
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             CD-000239 *Sync master
             CD-000240 * Windows XP
                   CD-000241                                    DVD
        CD-000242 *Video Capture Software
             CD-000243 *Windows XP
                   CD-000244                                    DVD
        CD-000245 *Video Capture Software
             CD-000246 *Windows XP
                   CD-000247                                    DVD
                   CD-000248                                    DVD
                   CD-000249                                    DVD
                   CD-000250                                    DVD
                   CD-000251
                   CD-000252                                    DVD
                   CD-000253                                    DVD

* - Will be reviewed before copying       CD INVENTORY PAGE 5         DOJ Security Office Boxes 1-3
      Case1:23-mc-00073-CKK-MAU
     Case  3:06 cv 00056 MMD CSD.INJ18<fful1elU>UIY6NrOlfV!ed 08/20/22 Page
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                        CD-000254
                        CD-000255
                        CD-000256                                DVD
                        CD-000257                                DVD
                        CD-000258                                DVD
                        CD-000259
                        CD-000260                                DVD
                        CD-000261                                DVD
                        CD-000262                                DVD
                        CD-000263                                DVD
                        CD-000264                                DVD
                        CD-000265
                        CD-000266                                DVD
                        CD-000267
                        CD-000268                                DVD
                        CD-000269                                DVD
                        CD-000270                                DVD
                        CD-000271                                DVD
                        CD-000272
                        CD-000273
                        CD-000274                                DVD
                        CD-000275                                DVD
                        CD-000276
                        CD-000277
                                               BOX 106
                        CD-000219
                                               BOX 114
                    CD- 000278
                    CD- 000279                                   DVD
                    CD- 000280
                    CD- 000281                                   DVD
                    CD- 000282
           CD - 000283* (IBM Commercial)
                    CD- 000284
                    CD- 000285
                    CD- 000286
                    CD- 000287
                    CD- 000288                                   DVD
                    CD- 000289
                    CD- 000290
                    CD- 000291
                    CD- 000292
                    CD- 000293
                    CD- 000294
                    CD- 000295
                    CD- 000296
                CD- 000297* (Adobe)

* - Will be reviewed before copying        CD INVENTORY PAGE 6         DOJ Security Office Boxes 1-3
      Case1:23-mc-00073-CKK-MAU
     Case  3:06 cv 00056 MMD CSD.INJ18<fful1elU>UIY6NrOlfV!ed 08/20/22 Page
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                   CD- 000298
                   CD- 000299
                   CD- 000300
                   CD- 000301
                   CD- 000302
                   CD- 000303
                   CD- 000304
                   CD- 000305                                    DVD
                   CD- 000306
                   CD- 000307
                   CD- 000308
               CD- 000309* (Music)
               CD- 000310* (Win 95)
                   CD- 000311
                   CD- 000312
                   CD- 000313
                   CD- 000314
                   CD- 000315                                    DVD
                   CD- 000316
               CD- 000317* (WIN95)
                   CD- 000318                                    DVD
                   CD- 000319
                   CD- 000320
                   CD- 000321
                   CD- 000322
                   CD- 000323
          CD- 000324* (Old Windows Upd.)
                   CD- 000325
                   CD- 000326
                   CD- 000327
                   CD- 000328
              CD- 000329* (Elvis pt. 2)
                   CD- 000330
                   CD- 000331
                   CD- 000332
                   CD- 000333
                   CD- 000334
                   CD- 000335
                   CD- 000336
                   CD- 000337
                   CD- 000338
                   CD- 000339
                   CD- 000340
                   CD- 000341
                   CD- 000342
                   CD- 000343
                   CD- 000344

* - Will be reviewed before copying        CD INVENTORY PAGE 7         DOJ Security Office Boxes 1-3
      Case1:23-mc-00073-CKK-MAU
     Case  3:06 cv 00056 MMD CSD.INJ18<fful1elU>UIY6NrOlfV!ed 08/20/22 Page
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                   CD- 000345
                   CD- 000346
                   CD- 000347
                   CD- 000348
                   CD- 000349
                   CD- 000350
                   CD- 000351
                   CD- 000352
                   CD- 000353
                   CD- 000354
                   CD- 000355
                   CD- 000356
                   CD- 000357
                   CD- 000358                                       DVD
                   CD- 000359
        CD- 000360** (Unreadable360-370)                            DVD
                   CD- 000361
                   CD- 000362
                   CD- 000363
                   CD- 000364
                   CD- 000365
                   CD- 000366
                   CD- 000367                                       DVD
                   CD- 000368
                   CD- 000369
                  CD- 000370**
          CD- 000371* (Dolby Tes t Files )
                   CD- 000372
           CD- 000373* (Kodak Frames)
        CD- 000374* (Partition Magic 8.02)
                   CD- 000375
                CD - 000376* (HP)                                   DVD
                CD- 000377* (ADP)
                   CD- 000378
                   CD- 000379                                       DVD
                   CD- 000380
              CD- 000381* (Win XP)
                   CD- 000382
                   CD- 000383                                       DVD
          CD - 000384* (Mic Office2003)
              CD- 000385* (Mic XP)
          CD- 000386* (Dancing w/ Stars)                            DVD
          CD- 000387* (Dancing w/ Stars)                            DVD
                   CD- 000388                                       DVD
                   CD- 000389
                   CD- 000390
                   CD- 000391                                       DVD

* - Will be reviewed before copying          CD INVENTORY P AGE 8         DOJ Security Office Boxes 1-3
      Case1:23-mc-00073-CKK-MAU
     Case  3:06 cv 00056 MMD CSD.INJ18<fful1elU>UIY6NrOlfV!ed 08/20/22 Page
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                     CD- 000392                                    DVD
                     CD- 000393                                    DVD
                     CD- 000394
                     CD- 000395
              CD- 000396* (Symantec)
                CD- 000397* (Mic XP)
                     CD- 000398                                    DVD
           CD- 000399* (Mic Office 2003)
                CD- 000400* (Mic XP)
           CD- 000401* (Dancing w/ Stars)                          DVD
           CD- 000402* (Dancing w/ Stars)                          DVD
                     CD- 000403                                    DVD
                     CD- 000404
                     CD- 000405
                     CD- 000406                                    DVD
                     CD- 000407                                    DVD
                     CD- 000408                                    DVD
                     CD- 000409
                     CD- 000410
              CD- 000411* (Symantec)
            CD- 000412* (Microsoft XP)
                     CD- 000413                                    DVD
           CD- 000414* (Mic Office 2003)
                CD- 000415* (Mic XP)
           CD- 000416* (Dancing w/ Stars)                          DVD
           CD - 000417* (Dancing w/ Stars)                         DVD
                     CD- 000418                                    DVD
                     CD- 000419
                     CD- 000420
                     CD- 000421                                    DVD
                     CD- 000422                                    DVD
                     CD- 000423                                    DVD
                     CD- 000424
                     CD- 000425
               CD- 000426*(Symantec)
                CD - 000427* (Mic XP)
                                                 BOX117
                        CD- 000220
                                                 BOX131
                        CD-000217
                                                 BOX145
                        CD- 000218
                                                 BOX165
                        CD-000431
                        CD- 000432
                                                 BOX180
                        CD-000221

* - Will be reviewed before copying          CD INVENTORY PAGE 9         DOJ Security Office Boxes 1-3
     Case  3:06 cv 00056 MMD CSD.INJ18<fful1elU>UIY6Nr
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                                          BOX 181
                        CD-000202
                        CD-000203
                        CD-000204
                        CD-000205                              DVD
                        CD-000206                              DVD
                        CD-000207
                        CD-000208                              DVD
                        CD-000209
                        CD-000210
                        CD-000211
                        CD-000212                              DVD
                        CD-000213                              DVD
                        CD-000214
                        CD-000215
                        CD-000216
                        CD-000430                              DVD
                                         BOX 188-1
                        CD-000222
                                          BOX 189
                       CD- 000428
                                          BOX 190
                       CD- 000429
                                          BOX 207
                        CD-000433
                        CD-000434
                        CD-000435




* - Will be reviewed before copying   CDINVENTORYPAGEl0              DOJ Security Office Boxes 1-3
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 Present   BOX   CONTENTS       DESCRIPTION                                            RELEASED            PULL D ETAILS
   N/A        1 DISCOVERY       N/A                                                       y
                                                                                                                           ()
   N/A        2 DISCOVERY       N/A                                                       y                                Sl>
                                                                                                                           (/)
   N/A        3 DISCOVERY       N/A                                                       y
                                                                                                                           Cl)
                                                                                                                           w
   N/A        4 DISCOVERY       N/A                                                       y                                0
                                                                                                                           en
   N/A        5 DISCOVERY       N/A                                                       y                                 I



   N/A        6 DISCOVERY       N/A                                                       y
                                                                                                                           0
   N/A        7 DISCOVERY       N/A                                                       y                                0
                                                                                                                           0
   N/A        8 DISCOVERY       N/A                                                                                        (J1
                                                                                          y                                en
                                                                                                                            I
   N/A       9 DISCOVERY        N/A                                                       y                                �
   N/A       10 DISCOVERY       N/A                                                       y                                �
                                                                                                                           0
   N/A      11 DISCOVERY        N/A                                                       y
                                                                                                                           ()
   N/A      12 DISCOVERY        N/A                                                       y                                (/)
                                                                                                                           0
   N/A       13 DISCOVERY       N/A                                                       y
   N/A       14 DISCOVERY       N/A                                                       y                                0
                                                                                                                           0
                                                                                                                           (")
   N/A       15 DISCOVERY       N/A                                                       y                                C
   N/A      16 DISCOVERY        N/A                                                       y                                3
                                                                                                                           Cl)
   N/A       17 DISCOVERY       N/A                                                       y
                                                                                                                           :::i
                                                                                                                           I-"
   N/A      18 DISCOVERY        N/A                                                       y                                N
                                                                                                                           I-"
   N/A       19 DISCOVERY       N/A                                                       y                                en
                                                                                                                           N
                                                                                                                            I

   N/A      20 DISCOVERY        N/A                                                       y
   N/A      21 DISCOVERY        N/A                                                       y                                "Tl
   N/A                          N/A                                                                                        Cl)
            22 DISCOVERY                                                                  y                                a.
   N/A      23 DISCOVERY        N/A                                                       y                                0
                                                                                                                           (X)
   N/A       24 DISCOVERY       N/A                                                       y                                N
                                                                                                                           0
   N/A       25 DISCOVERY       N/A                                                       y                                N
   N/A
                                                                                                                           N
            26 DISCOVERY        N/A                                                       y
   N/A       27 DISCOVERY       N/A                                                       y                                -u
                                                                                                                           Sl>
   N/A       28 DISCOVERY       N/A                                                       y                                (0
                                                                                                                           Cl)
   N/A       29 DISCOVERY       N/A                                                       y                                I-"
                                                                                                                           w
   N/A       30 DISCOVERY       N/A                                                       y                                N
   N/A       31 DISCOVERY       N/A                                                       y
                                                                                                                           I-"
   N/A       32 DISCOVERY       N/A                                                       y                                (0
                                                                                                                           �
   N/A       33 DISCOVERY       N/A                                                       y




DOJ Security Office Boxes 1-3                   DOCUMENT INVENTORY PAGE 1
                        Case 1:23-mc-00073-CKK-MAU   Document 1-7     Filed 07/28/23   Page 693 of 1046
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  N/A       34 DISCOVERY        N/A                                                     y
  N/A       35 DISCOVERY        N/A                                                     y
                                                                                                          ()
  N/A       36 DISCOVERY        N/A                                                     y                 Sl>
                                                                                                          (/)
  N/A       37 DISCOVERY        N/A                                                     y
                                                                                                          Cl)
                                                                                                          w
  N/A       38 DISCOVERY        N/A                                                     y                 0
                                                                                                          en
  N/A       39 DISCOVERY        N/A                                                     y                  I



  N/A       40 DISCOVERY        N/A                                                     y
                                                                                                          0
  N/A       41 DISCOVERY        N/A                                                     y                 0
                                                                                                          0
  N/A       42 DISCOVERY        N/A                                                                       (J1
                                                                                        y                 en
                                                                                                           I
  N/A       43 DISCOVERY        N/A                                                     y                 �
  N/A       44 DISCOVERY        N/A                                                     y                 �
                                                                                                          0
  N/A       45 DISCOVERY        N/A                                                     y
                                                                                                          ()
  N/A       46 DISCOVERY        N/A                                                     y                 (/)
                                                                                                          0
  N/A       47 DISCOVERY        N/A                                                     y
  N/A       48 DISCOVERY        N/A                                                     y                 0
                                                                                                          0
                                                                                                          (")
  N/A       49 DISCOVERY        N/A                                                     y                 C
  N/A       so DISCOVERY        N/A                                                     y                 3
                                                                                                          Cl)
  N/A       51 DISCOVERY        N/A                                                     y
                                                                                                          :::i
                                                                                                          I-"
  N/A       52 DISCOVERY        N/A                                                     y                 N
                                                                                                          I-"
  N/A       53 DISCOVERY        N/A                                                     y                 en
                                                                                                          N
                                                                                                           I

  N/A       54 DISCOVERY        N/A                                                     y
  N/A       55 DISCOVERY        N/A                                                     y                 "Tl
  N/A       56 DISCOVERY        N/A                                                                       Cl)
                                                                                        y                 a.
  N/A       57 DISCOVERY        N/A                                                     y                 0
                                                                                                          (X)
  N/A       58 DISCOVERY        N/A                                                     y                 N
                                                                                                          0
  N/A       59 DISCOVERY        N/A                                                     y
  N/A       60 DISCOVERY        N/A                                                     y
                                                                                                          N
  N/A       61 DISCOVERY        N/A                                                     y                 -u
                                                                                                          Sl>
  N/A       62 DISCOVERY        N/A                                                     y                 (0
                                                                                                          Cl)
  N/A       63 DISCOVERY        N/A                                                     y                 I-"
                                                                                                          w
  N/A       64 DISCOVERY        N/A                                                     y                 w
  N/A       65 DISCOVERY        N/A                                                     y
                                                                                                          I-"
  N/A       66 DISCOVERY        N/A                                                     y                 (0
                                                                                                          �
  N/A       67 DISCOVERY        N/A                                                     y




DOJ Security Office Boxes 1-3                   DOCUMENT INVENTORY PAGE 2
                        Case 1:23-mc-00073-CKK-MAU                           Document 1-7   Filed 07/28/23   Page 694 of 1046
                                                                  LINER FILES: DOCUMENT INVENTORY

  N/A       68 DISCOVERY        N/A                                                                           y
  N/A       69 DISCOVERY        N/A                                                                           y
                                                                                                                                ()
  N/A       70 DISCOVERY        N/A                                                                           y                 Sl>
                                                                                                                                (/)
                                                                                                                                Cl)
  N/A       71 DISCOVERY        N/A                                                                           y
                                                                                                                                w
  N/A       72 DISCOVERY        N/A                                                                           y                 0
                                                                                                                                en
  N/A       73 DISCOVERY        N/A                                                                           y                  I



  N/A       74 DISCOVERY        N/A                                                                           y
                                                                                                                                0
  N/A       75 DISCOVERY        N/A                                                                           y                 0
                                                                                                                                0
  N/A                           N/A                                                                                             (J1
            76 DISCOVERY                                                                                      y                 en
                                                                                                                                 I
  N/A       77 DISCOVERY        N/A                                                                           y                 �
  N/A       78 DISCOVERY        N/A                                                                           y                 �
                                                                                                                                0
  N/A       79 DISCOVERY        N/A                                                                           y
                                                                                                                                ()
  N/A       80 DISCOVERY        N/A                                                                           y                 (/)
                                                                                                                                0
  N/A       81 DISCOVERY        N/A                                                                           y
  N/A       82 DISCOVERY        N/A                                                                           y                 0
                                                                                                                                0
                                                                                                                                (")
  N/A       83 DISCOVERY        N/A                                                                           y                 C
  N/A       84 DISCOVERY        N/A                                                                           y                 3
                                                                                                                                Cl)
                                                                                                                                :::i
  N/A       85 DISCOVERY        N/A                                                                           y
                                                                                                                                I-"
  N/A       86 DISCOVERY        N/A                                                                           y                 N
                                                                                                                                I-"
  N/A       87 DISCOVERY        N/A                                                                           y                 en
                                                                                                                                 I
                                                                                                                                N
  N/A       88 DISCOVERY        N/A                                                                           y
  N/A       89 DISCOVERY        N/A                                                                           y                 "Tl
                                                                                                                                Cl)
  N/A       90 DISCOVERY        N/A                                                                           y                 a.
  N/A       91 DISCOVERY        N/A                                                                           y                 0
                                                                                                                                (X)
  N/A       92 DISCOVERY        N/A                                                                           y                 N
                                                                                                                                0
  N/A       93 DISCOVERY        N/A                                                                           y                 N
                                                                                                                                N
  N/A       94 DISCOVERY        N/A                                                                           y
  N/A       95 DISCOVERY        N/A                                                                           y                 -u
                                                                                                                                Sl>
  N/A       96 DISCOVERY        N/A                                                                           y                 (0
                                                                                                                                Cl)
  N/A       97 DISCOVERY        N/A                                                                           y                 I-"
                                                                                                                                w
  N/A       98 DISCOVERY        N/A                                                                           y                 .t,.

  N/A       99 DISCOVERY        N/A                                                                           y
                                                                                                                                I-"
  N/A      100 DISCOVERY        N/A                                                                           y                 (0
                                                                                                                                .t,.
                                llwl;.
  N/A      101 OTHER                                                                                          y
                                Pull 1: CDs that aooear to be discovery materials


DOJ Security Office Boxes 1-3                                         DOCUMENT INVENTORY PAGE 3
                        Case 1:23-mc-00073-CKK-MAU                           Document 1-7     Filed 07/28/23   Page 695 of 1046
                                                                      LINER FILES: DOCUMENT INVENTORY

  N/A      102 OTHER            N/A                                                                             y
                                4 Pulls:
                                                                                                                                  ()
                                Pull 1: 6/19/06 Flynn Email (001--005)                                                            Sl>
           103 OTHER                                                                                            N                 (/)
   YES                          Pull 2: 7/19/06 Flynn Email (001--004)                                                            Cl)
                                Pull 3: 8/14/06 Flynn Email (001--014)                                                            w
                                Pull 4: 9/26/06 M on�omerv Email 1001-0161                                                        0
                                                                                                                                  en
                                                                                                                                   I
                                                                                                                                  (')
  YES      104 OTHER            1 Pull:                                                                         N
                                Pull 1: 3/1/06 Flvnn Ltr (001--008)                                                               0
                                                                                                                                  0
  N/A      105 OTHER            Hard drives and CDs                                                             N                 0
                                                                                                                                  (J1
                                llw!..                                                                                            en
  N/A      106 OTHER                                                                                            y                  I

                                Pull 1: CD                                                                                        �
                                �                                                                                                 �
                                                                                                                                  0
                             Pull 1: 3/11/06 Dec of Flynn (001--004);
                             Pull 2: 3/11/06 Dec of Flynn (001--004);                                                             ()
                                                                                                                                  (/)
  YES      107 PLEADINGS     Pull 3: 4/3/06 Reply Memo (001-029);                                               y                 0
                             Pull 4: 4/21/08 Reply Memo (001-035);
                             Pull 5: 3/11/06 Dec of Flynn (001--006);                                                             0
                                                                                                                                  0
                            IP11II 6• 4/3/06 R<>nlv M<>mn Inn• .ll7Q\                                                             (')
                                                                                                                                  C
                             2 Pulls:                                                                                             3
                             Pull 1:Flynn Declar a tion (001-007)                                                                 Cl)
  YES      108 PLEADINGS                                                                                        y                 :::i
                                                                                                                                  ,-,.
                             Pull 2: 3/17/07 Email (001--002)
                                                                                                                                  I-"
                                                                                                                                  N
                                                                                                                                  I-"
                                �                                                                                                 en
  YES      109 OTHER            Pull 1: 2/26/07 Email (001);                                                    y                 N
                                                                                                                                   I


                                Pull 2: 2/13/07 Email (001)
  N/A      110 OTHER            N/A                                                                             y                 "'Tl
                                                                                                                                  Cl)
  N/A      111 OTHER            N/A                                                                             y                 a.
                                                                                                                                  0
  N/A      112 OTHER            N/A                                                                             y

                                                                                                                                  --
                                                                                                                                  (X)
                                i.eM..llli..                                                                                      N
                                                                                                                                  0
                                Pull 1: 2/13/07 Email (001--009);                                                                 N
                                Pull 2: 2/26/07 Email (001--004);                                                                 N
  YES      113 OTHER
                                Pull 3: 3/16/07 Email (001--012);                                                                 ""O
                                Pull 4: 3/16/07 Email (001--008);                                                                 Sl>
                                                                                                                                  (0
                                Pull 5: 3/24/07 Email IMl--0031                                                                   Cl)
  N/A      114 OTHER            CDs for re view                                                                 N                 I-"
                                                                                                                                  w
  N/A      115 PLEADINGS        N/A                                                                             y                 (J1

  N/A      116 OTHER            Hard drives                                                                     N                 ......
                                                                                                                                  0
                                                                                                                                  I-"
                                                                                                                                  (0
                                                                                                                                  �




DOJ Security Office Boxes 1-3                                           DOCUMENT INVENTORY PAGE 4
                        Case 1:23-mc-00073-CKK-MAU                              Document 1-7            Filed 07/28/23         Page 696 of 1046
                                                                    LINER FILES: DOCUMENT INVENTORY

                                �
                                Pull 1: 3/11/06 Dec of Flynn; (001-004)
   YES     117 PLEADINGS        Pull 2: 4/3/06 Reply Mem (001-029);                                                              y                    ()
                                                                                                                                                      Sl>
                                Pull 3: CD pulled;                                                                                                    (/)
                                                                                                                                                      Cl)
                                Pull 4: List of T. Pham file nulled 1001-0141                                                                         w
                                1 Pull:                                                                                                               0
   YES     118 PLEADINGS
                                Pull 1: 3/11/06 Dec of Flvnn 1001-0041
                                                                                                                                 y                    en
                                                                                                                                                       I


                                !.fY1l1..
                                Pull 1: 5/21/08Reply Memo (001-035);                                                                                  0
   YES     119 PLEADINGS        Pull 2: 3/11/06 Dec of Flynn (001-010);                                                          y                    0
                                                                                                                                                      0
                                Pull 3: 4/3/06 Reply Memo (001-029); •                                                                                (J1
                                                                                                                                                      en
                                Pull 4: (001-004) 3/11/06 Dec of Flvnn 1001-0041                                                                       I

                                                                                                                                                      �
                                3 Pulls:                                                                                                              �
                                Pull 1: 9/26/06 Montgomery Email (001)                                                                                0
   YES     120 OTHER                                                                                                             l
                                Pull 2: 9/26/06 Montgomery Email (001)                                                                                ()
                                Pull 3: 9/26/06 Monte:omerv Email 10011                                                                               (/)
                                                                                                                                                      0
   N/A     121 OTHER            N/A                                                                                              y
   N/A     122 OTHER            N/A                                                                                              y                    0
                                                                                                                                                      0
   N/A     123 OTHER            N/A                                                                                              y                    (")
                                                                                                                                                      C
                                1 Pull:                                                                                                               3
   YES     124 OTHER                                                                                                                                  Cl)
                                Pull 1: Montgomery Discovery (not Bates labeled by parties) (001-120)                                                 :::i
                                                                                                                                                      I-"
                             20 Pulls:                                                                                                                N
                                                                                                                                                      I-"
                             Pull 1: 5/4/07 Flynn Ltr (001-013);                                                                                      en
                                                                                                                                                       I
                             Pull 2: 5/5/07 Flynn Ltr (001-013);                                                                                      N
                             Pull 3: 9/23/06 SF.95.doc (001-013);
                                                                                                                                                      "Tl
                             Pull 4: 8/24/06 Interrogatories (001-018);
                                                                                                                                                      Cl)
                             Pull 5: 3/1/06 Draft Rumsfield, et al. Ltr (001-046);                                                                    a.
                             Pull 6: 6/3/07 Flynn Email (001)                                                                                         0
                                                                                                                                                      (X)
                             Pull 7: 6/3/07 Flynn Email (001-008)                                       Pull 18: 5/9/07 Flynn Email (001-003)         N
                             Pull 8: 6/6/07 Flynn Email (001)                                                                                         0
   YES     125 OTHER                                                                                    Pull 19: Rumsfeld Ltr (001-008)               N
                             Pull 9: 6/10/07 Flynn Email (001)                                          Pull 20: 4/9/07 Flynn Email (001-002)     N   N
                             Pull 10: Exhibit Listing and Description (001-002)
                             Pull 11: 6/23/07 Flynn Email (001-004)                                                                                   ""O
                                                                                                                                                      Sl>
                             Pull 12: 6/23/07 Flynn Email (001-003)                                                                                   (0
                                                                                                                                                      Cl)
                             Pull 13: 6/23/07 Flynn Email (001-004)                                                                                   I-"
                             Pull 14: 6/23/07 Flynn Email (001-002)                                                                                   w
                                                                                                                                                      en
                             Pull 15: 4/13/07 Flynn Ltr (001-010)
                             Pull 16: Draft Flynn Ltr (001-015)                                                                                       I-"
                            ,_ .... �,ft,__ r-1,     -   . -- ---                                                                                     (0
                                                                                                                                                      �




DOJ Security Office Boxes 1-3                                           DOCUMENT INVENTORY PAGE 5
                        Case 1:23-mc-00073-CKK-MAU                          Document 1-7          Filed 07/28/23   Page 697 of 1046
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                                11 Pulls:
                                Pull 1: 5/8/07 Mont Email (001-002);
                                Pull 2: 3/1/06 Rumsfield Ltr (001-007;                                                                                  ()
                                                                                                                                                        Sl>
                                Pull 3: Etreppid legal spreadsheet (001-033);                                                                           (/)
                                                                                                                                                        Cl)
                                Pull 4: 6/10/07 Email (001-003);                                                                                        w
                                Pull 5: 6/10/07 Email(OOl-002);                                                                                         0
                                Pull 6: 6/10/07 Email (001-002);
                                                                                                                                                        en
                                                                                                                                                         I


                                Pull 7: 6/10/07 Emai (001-0021;
                                Pull 8: 6/10/07 Email (001-003);                                                                                        0
                                                                                                                                                        0
   YES     126 OTHER            Pull 9: 6/6/07 Email (001-002);                                                     N                                   0
                                                                                                                                                        (J1
                                Pull 10: 6/4/07 Email (001-003);                                                                                        en
                                                                                                                                                         I
                                Pull 11: 6/3/07 Email {001-017);                                                                                        �
                                Pull 12: 6/11/07 Montgomery Declaration (001-004);                                                                      �
                                Pull 13: 6/10/07 Email (001-021);                                                                                       0
                                Pull 14: 3/11/06 Declaration (001-009);                                                                                 ()
                                                                                                                                                        (/)
                                Pull 15: Reply Memo Buckthorne (001-037);                                                                               0
                                Pull 16: 4/18/06 Email (001-G04);
                                Pull 17: Montgomery Objection to DOD (06-cv-056 Dkt# 125) (001·                                                         0
                            ,   ____                                                                                                                    0
                                                                                                                                                        (")
  N/A      127 OTHER            Hard drives                                                                         N                                   C
                                                                                                                                                        3
  N/A      128 OTHER            N/A                                                                                 y                                   Cl)
                                                                                                                                                        :::i
  N/A      129 OTHER            N/A                                                                                 y
                                                                                                                                                        I-"
  N/A      130 OTHER            N/A                                                                                 y                                   N
                                                                                                                                                        I-"
                                llYlli.                                                                                                                 en
  N/A      131 OTHER                                                                                                y                                   N
                                                                                                                                                         I

                                Pull 1: CD
  N/A      132 OTHER            N/A                                                                                 y                                   "'Tl
  N/A      133 OTHER            N/A                                                                                 y                                   Cl)
                                                                                                                                                        a.
                                il!!.l!si.                                                                                                              0
                                Pull 1: 7/5/06 Email (001-014);                                                                                         (X)
   YES     134 OTHER                                                                                                N                                   N
                                Pull 2: 5/30/06 Email (001-002);                                                                                        0
                                Pull 3: Notes (001-007);                                                                                                N
                                                                                                                                                        N
                                Pull 4: 9/26/06 Flvnn Email 1001-0081
                                4Pulls:                                                                                                                 -u
                                Pull 1: Montgomery Declaration {001-004)                                                                                Sl>
                                                                                                                                                        (0
                                Pull 2: Response to DOD Motion (001-202)                                                              Pull 1:001-004    Cl)
   YES     135 PLEADINGS                                                                                                                                I-"
                                Pull 3: Montgomery Declaration {001-023)                                                              Pull 2: 001-202   w
                                Pull 4: 10/30/06 Sealed Montgomery Deel. in Response to DOD Motion                                                      --..J
                                for Protective Order -Si,med-1001-0231
                                                                                                                                                        I-"
                                                                                                                                                        (0
                                                                                                                                                        �




DOJ Security Office Boxes 1-3                                           DOCUMENT INVENTORY PAGE 6
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                                �
                                Pull 1: 7/5/06 Email (001);
                                                                                                                                                               Pull 1: 001-022    ()
   YES     136 OTHER            Pull 2: Contract Documents (001-010);                                                             y
                                                                                                                                                               Pull 2:            Sl>
                                Pull 3: Negroponte Questions (001-005)                                                                                                            (/)
                                                                                                                                                                                  Cl)
                                Pull 4: Montoomerv Declaration 1001-0221                                                                                                          w
                                l.f!ill1:                                                                                                                                         0
                                Pull 1: 4/10/06 Park Email (001-004);                                                                                                             en
                                                                                                                                                               Pull 2: 001-004     I
                                                                                                                                                                                  (")
  YES      137 OTHER            Pull 2: 3/11/06 Flynn Declaration -Unsigned- (001-004)                                            y
                                                                                                                                                               Pull 3: 001-029
                                Pull 3: Reply Memo for Return of Property (001-029)                                                                                               0
                                                                                                                                                                                  0
                                                                                                                                                                                  0
                                                                                                                                                                                  (J1
  YES      138 PLEADINGS        N/A                                                                                               y                                               en
                                                                                                                                                                                   I

                                                                                                                                                                                  �
                                                                                                                                                                                  �
                                                                                                        Pull 15: Complaint for violation of false claims act                      0
                                30 Pulls;
                                Pull 1: 2/2007 Flynn Declaration (001-016);
                                                                                                        Draft-5 (001-046);                                                        ()
                                                                                                        Pull 16: Complaint for violation of false claims act                      (/)
                                Pull 2: 2/2007 Montgomery Declaration (001-009;                                                                                                   0
                                                                                                        Draft-6 (001-046);
                                Pull 3: 2/26/2007 Email (001);
                                                                                                        Pull 17: Flynn Declaration (001-004);                                     0
                                Pull 4: 2/13/2007 Email (001-003);                                                                                                                0
                                                                                                        Pull 18: Flynn Declaration (001-006);                                     (")
                                Pull 5: 2/2007 Montgomery Declaration (001-005);                                                                                                  C
                                                                                                        Pull 19: Motion to Unseal (001-017);
                                Pull 6: 2/2007 Montgomery Declaration (001-006);
                                                                                                        Pull 20: Flynn Declaration (001-012);                                     3
                                Pull 7: 2/2007 Flynn Declaration in Supp of Montgomery Opp. to Govt                                                                               Cl)
                                                                                                        Pull 21: Flynn Declaration (001-011);                                     :::i
                                                                                                                                                                                  ,-,.
                                Motion to Strike (001-018);
                                                                                                        Pull 22: Negroponte Questions (001-009);                                  I-"
                                Pull 8: 2/2007 Montgomery Declaration 2 copies -Unsigned-(001-019);                                                                               N
                                                                                                        Pull 23: Negroponte Questions (001-006);                                  I-"
                                Pull 9: 3/2007 Email Chain (001-011);
                                                                                                        Pull 24: Negroponte Questions (001-004);
                                                                                                                                                                                  en
                                                                                                                                                                                   I
  YES      139 OTHER            Pull 10: 3/16/07 Email (001-004);                                                                                                                 N
                                                                                                        Pull 25: Negroponte Questions (001-004);
                                Pull 11: Complaint for violation of false claims act Draft-1 (001-046);
                                                                                                        Pull 26: 2/9/07 Flynn Ltr (001-005);                                      "Tl
                                Pull 12: Complaint for violation of false claims act Draft-2 (001-047);
                                                                                                        Pull 27: 2/9/07 Flynn Ltr (001-005);                                      Cl)
                                Pull 13: Complaint for violation of false claims act Draft-3 (001-044);                                                                           a.
                                                                                                        Pull 28: 2/9/07 Flynn Ltr (001-003);                                      0
                                Pull 14: Complaint for violation of false claims act Draft-4 (001-040);

                                                                                                                                                                                  --
                                                                                                        Pull 29: 3/24/07 Email (001-002)                                          (X)
                                                                                                        Pull 30: 1/2007 Montgomery Declaration (001-007)                          N
                                                                                                                                                                                  0
                                                                                                                                                                                  N
                                                                                                                                            N                                     N
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                                                                                                                                                                                 Sl>
                                                                                                                                                                                 (0
                                                                                                                                                                                 Cl)
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DOJ Security Office Boxes 1-3                                         DOCUMENT INVENTORY PAGE 7
                        Case 1:23-mc-00073-CKK-MAU                             Document 1-7         Filed 07/28/23         Page 699 of 1046
                                                                 LINER FILES: DOCUMENT INVENTORY

                                l..f!!!!!..
                                Pull 1: Transcript Excerpt (001-005);
                                Pull 2: Transcript Excerpt (001-005);                                                                                                       ()
                                                                                                    Pull 6: 10/06 2 Copies Sealed Declaration of                            Sl>
                                Pull 3: 8/16/06 Sealed Declaration of Montgomery -Unsigned- (001-                                                                           (/)
                                                                                                    Montgomery -Unsigned (001-045);                                         Cl)
   YES     140 OTHER            009);                                                                                                                                       w
                                                                                                    Pull 7: 11/30/06 Sealed Declaration of Montgomery -
                                Pull 4: 8/16/06 Sealed Declaration of Montgomery -Unsigned-(001-                                                                            0
                                019);
                                                                                                    Unsigned- (001-022)                N                                    en
                                                                                                                                                                             I
                                                                                                                                                                            (")
                                Pull 5: 8/16/06 Sealed Declaration of Montgomery -Unsigned- (001-                                                                            '
                            ln.,n\.                                                                                                                                         0
                                                                                                                                                                            0
  N/A      141 PLEADINGS        N/A                                                                                         y                                               0
                                                                                                                                                                            (J1
  N/A      142 OTHER            N/A                                                                                         y                                               en
                                                                                                                                                                             I

  N/A      143 OTHER            N/A                                                                                         y                                               �
                                                                                                                                                                            �
  N/A      144 OTHER            N/A                                                                                         y                                               0
  N/A      145 OTHER
                                1 Pull:
                                                                                                                            y                                               ()
                                Pull 1: CD                                                                                                                                  (/)
                                                                                                                                                                            0
  N/A      146 PLEADINGS        N/A                                                                                         y
                                10 Pullsi                                                                                                                                   0
                                                                                                                                                                            0
                              Pull 1: MONT40-43 (001-004);                                                                                                                  (")
                              Pull 2: MONT 288-296 (001-008);                                                                                                               C
                              Pull 3: MONT318-337 (001-020);
                                                                                                                                                                            3
                                                                                                                                                                            Cl)
                                                                                                                                                                            :::i
                                                                                                                                                                            ,-,.
                              Pull 4: 4/13/07 Flynn Ltr (001-018);
   YES     147 OTHER          Pull 5: 2/9/07 Flynn Ltr (2 copies) (001-010);                                                y                                               I-"
                                                                                                                                                                            N
                              Pull 6: 6/22/06 Email (001-002);                                                                                                              I-"
                                                                                                                                                                            en
                                                                                                                                                                             '
                              Pull 7: 6/22/06 Email (001-005);                                                                                                              N
                              Pull 8: 3/1/06 Flynn Ltr (001-013);
                              Pull 9: 6/23/07 Flynn Email (001-007);                                                                                                        "'Tl
                            1 ....... ,n. t:./')-:,./n7 r,____ r-�.i 1nn11                                                                                                  Cl)
                                                                                                                                                                            a.
  N/A      148 OTHER            N/A                                                                                         y
                                                                                                                                                                            0


                                                                                                                                                                            --
  N/A      149 PLEADINGS        N/A                                                                                         y                                               (X)
                                                                                                                                                                            N
                                ll.!!lli.;_                                                                                                                                 0
                                Pull 1: 10/06 Draft Montgomery Response to DOD Motion for                                                                                   N
                                                                                                                                                          Pull 1: 001-044   N
   YES     150 PLEADINGS        Protective Order (001-044);                                                                 y
                                                                                                                                                          Pull 2: 001-009
                                Pull 2: 03/22/07 Montgomery Response to DOD Motion for                                                                                      -u
                                                                                                                                                                            Sl>
                                Reconsideration 1001-009\                                                                                                                   (0
                                1 Pull:                                                                                                                                     Cl)
   YES     151 OTHER                                                                                                        y                                               I-"
                                Pull 1: 6/11/07 Monte:omerv Declaration (001-0041                                                                                           w
                                                                                                                                                                            (0
   N/A     152 PLEADINGS        N/A                                                                                         y
                                                                                                                                                                            0
   N/A                          N/A
                                                                                                                                                                            -h
           153 OTHER                                                                                                        y
                                                                                                                                                                            I-"
   N/A     154 OTHER            N/A                                                                                         y                                               (0
                                                                                                                                                                            �
   N/A     155 OTHER            N/A                                                                                         y



DOJ Security Office Boxes 1-3                                        DOCUMENT INVENTORY PAGE 8
                           Case 1:23-mc-00073-CKK-MAU                         Document 1-7             Filed 07/28/23   Page 700 of 1046
                                                                    LINER FILES: DOCUMENT INVENTORY

  N/A       156 PLEADINGS       N/A                                                                                      y
  N/A       157 PLEADINGS       N/A                                                                                      y
                                                                                                                                            ()
                               �                                                                                                            Sl>
                                                                                                                                            (/)
                                Pull 1: 4/13/07 Flynn Ltr (001-018);                                                                        Cl)
                                Pull 2: 2/9/07 Flynn Ltr (001-010);                                                                         w
                                                                                                                                            0
   YES      158 OTHER           Pull 3: 6/22/06 Flynn Email (001-002);                                                   y                  en
                                                                                                                                             I
                                Pull 4: 6/22/06 Flynn Email (001-002);                                                                      (")
                                Pull 5: 3/1/06 Flynn Ltr (001-013);
                                                                                                                                            0
                              I Pull 6· 7 /26/06Flvnn I tr /001 007}                                                                        0
                                                                                                                                            0
  N/A      159 PLEADINGS        N/A                                                                                      y                  (J1
  N/A                           N/A
                                                                                                                                            en
           160 OTHER                                                                                                     y                   I

                                                                                                                                            �
  N/A      161 PLEADINGS        N/A                                                                                      y                  �
  N/A      162 DISCOVERY        N/A                                                                                      y                  0
  N/A      163 PLEADINGS        N/A                                                                                      y
                                                                                                                                            ()
                                                                                                                                            (/)
   YES     164 OTHER            ll!!lli.                                                                                 y
                                                                                                                                            0
                                Pull 1: 4/13/07 Flvnn Ltr. (001-009)
                                                                                                                                            0
                                �                                                                                                           0
                                Pull 1: CD With Document Attach ed (001)                                                                    (")
   YES      165 OTHER                                                                                                    y                  C
                                Pull 2: CD With Document Attach ed (001-030)                                                                3
                                                                                                                                            Cl)
                                                                                                                                            .....
                                                                                                                                            :::i
                                �                                                                                                           I-"
                                Pull 1:.DM2845-2886(001-042);                                                                               N
   YES      166 OTHER                                                                                                    y                  I-"
                                Pull 2: DM2987-2998(001-012);                                                                               en
                                                                                                                                             I
                                Pull 3: DM3145-3151 I001-007l                                                                               N
  N/A      167 OTHER            N/A                                                                                      y
                                                                                                                                            "Tl
  N/A      168 PLEADINGS        N/A                                                                                      y                  Cl)
                                                                                                                                            a.
  N/A      169 OTHER            N/A                                                                                      y
                                                                                                                                            0


                                                                                                                                            --
  N/A      170 OTHER            N/A                                                                                      y                  (X)
                                                                                                                                            N
                                ll1!ll...                                                                                                   0
   YES     171 OTHER                                                                                                     y
                                                                                                                                            N
                                Pull 1: Draft Flvnn Ltr (001-0081
                                                                                                                                            N
   YES      172 OTHER           ll1!ll...                                                                                y                 ""O
                                Pull 1: Potential witness list with handwr itten notations (001-002)                                       Sl>
                                                                                                                                           (0
                                                                                                                                           Cl)
  N/A       173 PLEADINGS       N/A                                                                                      y
                                                                                                                                           I-"
                                �                                                                                                          .j::,.
                                                                                                                                           0
                                Pull 1: 2/27/07Dec of Flynn(OOl-037);
   YES      174 PLEADINGS       Pull 2: 6/2/06Dec of Michael West (001-008);                                             y                 ......
                                                                                                                                           0
                                                                                                                                           I-"
                                Pull 3: 06-cv-0263Dkt# 125 Transcript (001-085);                                                           (0
                                                                                                                                           .j::,.
                                Pull 4: 3/3/06Dec of Michael West 1001-0141
  N/A      175 PLEADINGS        N/A                                                                                      y



DOJ Security Office Boxes 1-3                                            DOCUMENT INVENTORY PAGE 9
                           Case 1:23-mc-00073-CKK-MAU                        Document 1-7     Filed 07/28/23   Page 701 of 1046
                                                                      LINER FILES: DOCUMENT INVENTORY

                                ll.!!lli.;_
   YES     176 OTHER            Pull 1: 4/13/07 Flynn Ltr toCheney (001-009);                                   y
                                Pull 2: Dec of Flvnn (001-020)                                                                     ()
                                                                                                                                   Sl>
   N/A     177 PLEADINGS        N/A                                                                             y                  (/)
                                                                                                                                   Cl)
   N/A     178 OTHER            N/A                                                                             y                  w
                                                                                                                                   0
                                2 Pulls:                                                                                           en
   YES     179 OTHER            Pull 1: 6/3/07 Email (001-012);                                                 y                   I
                                                                                                                                   (")
                                Pull 2: 5/8/07 Email (001)
                                                                                                                                   0
   N/A     180 OTHER            1 Pull: CD                                                                      y                  0
                                                                                                                                   0
  N/A      181 OTHER            �5CDs pulled                                                                    y                  (J1
                                                                                                                                   en
  N/A      182 PLEADINGS        N/A                                                                             y                   I

                                                                                                                                   �
  N/A      183 OTHER            N/A                                                                             y                  �
                                                                                                                                   0
  N/A      184 OTHER            N/A                                                                             y
                                                                                                                                   ()
  N/A      185 OTHER            N/A                                                                             y                  (/)
                                                                                                                                   0
  N/A      186 OTHER            N/A                                                                             y
  N/A      187 OTHER            N/A                                                                             y                  0
                                                                                                                                   0
  N/A      188 PLEADINGS        1 Pull: CD pulled                                                               y                  (")
                                                                                                                                   C
  N/A      189 OTHER            1 Pull: CD pulled                                                               y                  3
                                                                                                                                   Cl)
  N/A      190 OTHER            1.fw!.CD pulled                                                                 y                  :::i
                                                                                                                                   ,-,.
  N/A      191 OTHER            llwl1..2 Hard drives removed                                                    y                  I-"
                                                                                                                                   N
                                                                                                                                   I-"
  N/A      192 OTHER            N/A                                                                             y                  en
                                                                                                                                    I

                                ll.!!lli.;_                                                                                        N
                                Pull 1: 06-cv-0263 Dkt# 103, MONT318-337 (001-020);
   YES     193 PLEADINGS                                                                                        y                  "Tl
                                Pull 2: MONT288-296 (001-009);
                                                                                                                                   Cl)
                                                                                                                                   a.
  N/A      194 OTHER            N/A                                                                             y                  0


                                                                                                                                   --
                                                                                                                                   (X)
                                � 3/22/07 Montgomery's Response to DoD's Request for                                               N
   YES     195 PLEADINGS                                                                                        y                  0
                                Protection Order (001-009)
                                                                                                                                   N
   YES     196 OTHER            1.!!Y!!.;_                                                                      y                  N
                                Pull 1: Praver for Relief (001-042)
                                1.fw!.:                                                                                            -u
   YES     197 PLEADINGS                                                                                        y                 Sl>
                                Pull 1: 3/11/06 Dec of Flvnn (001-006)                                                            (0
                                                                                                                                  Cl)
  N/A      198 DISCOVERY        N/A                                                                             y                 I-"
                                                                                                                                  .j::,.
  N/A      199 PLEADINGS        N/A                                                                             y                 I-"
  N/A      200 PLEADINGS        N/A                                                                             y                 ......
                                                                                                                                  0
   N/A     201 OTHER            Hard drives                                                                     N                 I-"
                                                                                                                                  (0
                                                                                                                                  .j::,.
   N/A     202 OTHER            Hard drives                                                                     N



DOJ Security Office Boxes 1-3                                          DOCUMENT INVENTORY PAGE 10
                        Case 1:23-mc-00073-CKK-MAU                                  Document 1-7     Filed 07/28/23   Page 702 of 1046
                                                                          LINER FILES: DOCUMENT INVENTORY

  N/A      203 OTHER            Hard d rives                                                                           N
  N/A      204 OTHER            N/A                                                                                    y
                                                                                                                                                            ()
                                �                                                                                                                           Sl>
                                                                                                                                                            (/)
                                Pull 1: 4/10/06 Email (001-004);                                                                                            Cl)
                                Pull 2: 10/31/07 Email (001-002);                                                                                           w
                                                                                                                                                            0
                                Pull 3: 3/16-18/07 Email chain (001-004);                                                                                   en
                                                                                                                                                             I
                                Pull 4: 3/16-18/07 Email chain (001-007);                                                                                   (')
   YES     205 OTHER            Pull 5: 3/16-18/07 Email chain (001-007);                                              y
                                                                                                                                                            0
                                Pull 6: 6/23/07 Email (001);                                                                                                0
                                                                                                                                                            0
                                Pull 7: 3/11/06 Dec of Montgomery for Return of Property-Unsigned-                                                          (J1
                                & 4/3/06 Reply Memo un S upport of Motion for Return of Property                                                            en
                                                                                                                                                             I

                                (001-033);                                                                                                                  �
                            ln.. 11 R• :!/11 /n,::.. n~ nf i:1,,__ , /1Vl1.l\rull                                                                           �
                                                                                                                                                            0
  N/A      206 OTHER            N/A                                                                                    y
                                                                                                                                                            ()
                                                                                                                                                            (/)
                                �
                                                                                                                                                            0
                                Pull 1: 2 CDs
                                Pull 2: Cover sheet and Index of Emails in "lnbox" (001-0038)                                                               0
                                Pull 3: Index of Emails in "Sent" (001-015)                                                                                 0
  YES      207 PLEADINGS                                                                                               y                                    (')
                                Pull 4: 1 CD                                                                                                                C
                                Pull 5: Index of Emails in "lnbox" (001-037)
                                                                                                                                                            3
                                                                                                                                                            Cl)
                                Pull 6: Index of Emails in "Sent" (001-016)                                                                                 :::i
                                                                                                                                                            ,-,.
                                                                                                                                                            I-"
                                                                                                                                                            N
                                                                                                                                                            I-"
  N/A      208 OTHER            N/A                                                                                    y                                    en
                                                                                                                                                             I
                                                                                                                                                            N
                                .l.fwJ&
                                Pull 1: Sealed Montgomery Declaration (001-036)                                                                             "'Tl
  YES      209 PLEADINGS                                                                                               y                 Pull 3: 001-022
                                Pull 2: Working Chronology (001-014)                                                                                        Cl)
                                Pull 3: Sealed Monteomerv Declaration 1001-0221                                                                             a.
                                                                                                                                                            0
  N/A      210 OTHER            Hard drives                                                                            N

                                                                                                                                                            --
                                                                                                                                                            (X)
                                                                                                                                                            N
                                                                                                                                                            0
                                                                                                                                                            N
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                                                                                                                                                           Cl)
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DOJ Security Office Boxes 1-3                                                 DOCUMENT INVENTORY PAGE 11
   Case1:23-mc-00073-CKK-MAU
   Case 3:06-cv-00056-MMD-CSD Document
                               Document1216-2 Filed07/28/23
                                        1-7 Filed   08/20/22 Page
                                                             Page 703
                                                                  143 of
                                                                      of 1046
                                                                         194
                                LINER FILES: HARD DRIVE INVENTORY


                                                            DOJ COPY SERIAL   CLIENT COPY
HARD DRIVE No.         SERIAL No.        ADDITIONAL INFO          No.          SERIAL No.
                                                BOX 105
                                       Security Bag No.
HD-40              WMAEH1731597        075287
                                       Security Bag
HD-41              WCAEP1015275        No.075277
                                       Security Bag No.
HD-42              WMAMR1202131        075269
                                       Security Bag
                                       No.075256; Copy of
HD-43              ZFUG712N            WMA8C2315047
                                       Security Bag No.
HD-44              WMAEH1732002        075292
                                       Security Bag No.
HD-45              9QG8HSDQ            075273
                                       Security Bag
HD-46              WMA9P1151187        No.075284
                                       Security Bag No.
                                       075245;
                                       Copy of
HD-47              9QG8N147            WMAMR1203238
                                       Security Bag
                                       No.075279;
                                       Copy of
HD-48              6QF462VG            WCAEP1015275
                                       Security Bag No.
HD-49              WMAEP1123872        075263
HD-50              3PM08V7Q
HD-51              5QD337JK
                                       Security Bag No.
HD-52              WMACK1617687        75261
                                       Security Bag No.
HD-53              WMAEP1142476        075286
                                       Security Bag No.
                                       075290:
                                       Copy of
HD-54              RG0VEH9A            WMAEH1732002
                                       Security Bag No.
HD-55              WMAMR1202248        075260
                                       Security Bag
HD-56              WMAEH1283328        No.075289
                                       Security Bag
HD-57              WMAMR1277950        No.075281
                                       Security Bag No.
HD-58              WMAEH1202303        075265
                                       Security Bag No.
                                       075271;
                                       Copy of
HD-59              6QF46574            WMAEH1202303
                                       Security Bag No.
HD-60              WCAL75136659        075285


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                                     Security Bag No.
HD-61              7BA08HPG          075288
                                     Security Bag No.
HD-62              WMA8C2315047      075257
                                     Security Bag No.
HD-63              WMAMR1068824      075267
                                     Security Bag No.
HD-64              WMAMR1203238      075246
HD-65
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HD-67
HD-68
HD-69
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HD-72
HD-73
HD-74
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HD-79
HD-80
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HD-84
HD-85
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HD-89
HD-90
                                              BOX 116
                                     Security Bag No.
HD-1               WMA8C4544113      033654517
                                     Security Bag No.
                                     075298;
                                     Copy of
                                     WMAEH2602257
HD-2               WCARW0431467
                                     Security Bag No.
                                     033654510;
                                     Copy of
HD-3               WCARW0415948      WMAEH2694097
                                     Security Bag No.
HD-4               WCA8C3998460      033654515
                                     Security Bag No.
HD-5               WMAEH2694097      033654518
                                     Security Bag No.
HD-6               WCAEP1014382      033654520


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                                     Security Bag No.
HD-7               WMAEH2602257      033654516
                                     Security Bag No.
HD-8               WCAEP1003948      033654519
HD-9               9QG812MG
HD-10              9QJ0RXGJ
                                             BOX 127
HD-13              WMAMR1538581
HD-14              WMAMR1612253
HD-15              WMAMR1624507
HD-16              WMA8C3243070
HD-17              WMAD15194737
HD-18              WMAD15335294
HD-19              3CK00XXY
HD-20              WMA8C1223396
HD-21              WCAD13691228
HD-22              WMAMR1673681
HD-23              WMAD16644525
HD-24              WMAMR1538197
HD-25              3CK028W3
HD-26              WMAMR1538570
HD-27              WMAMR1509932
HD-28              WMAMR1580671
HD-29              WMAA61102098
HD-30              2544801F3NQ0C6
HD-31              WMAMR1523649
HD-32              WMAMR1580666
HD-33              WMAMR1066012
HD-34              WMAMR1537929
HD-35              WMAMR1539942
HD-36              WMAMR1539825
HD-37              WCAD16502878
HD-38              WMAD15256807
HD-39              WMAMR1543003
                                              BOX 191
                                     Security Bag No.
HD -11             9QG7CDDE          072755
                                     Security Bag
HD-12              6QG31F7K          No.072754
                                              BOX201
HD-65              3PM0686P
HD-66              9QM26YN3
HD-67              9QM3FKKW
HD-68              3QD03188
                                             BOX202
HD-69              3QD08W2N
HD-70              3QD0L7T0
HD-71              9QJ0WW9R
                                             BOX203
HD-72              9QJ16874
HD- 73             PAG2NLRC
HD-74              3QJ01RQ1


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HD-75              3PM0LVN8
HD- 76             5QG06MMH
                                   BOX 210 *Labeled as defective
                                     Security Bag No.
                                     075274;
                                     Copy of
HD-77              RBRAPJNA          WMA8C4544113
                                     Security Bag No.
                                     075255;
                                     Copy of
HD-78              WCARW0431405      WCAEP1003948
                                     Security Bag No.
                                     075254;
                                     Copy of
HD-79              RG0VEMRA          WMAEP1142476
                                     Security Bag No.
                                     033654504;
                                     Copy of
HD-80              WCARW0431298      WCAEP1014382
                                     Security Bag No.
                                     075293;
                                     Copy of
HD- 81             R7CRDRKK          WMACK1617687
                                     Security Bag No.
                                     075278;
                                     Copy of
HD-82              RG0VAUYA          WMAEH1731597
                                     Security Bag No.
                                     075283;
                                     Copy of
HD-83              RG0VEMKA          WCAL75136659
                                     Security Bag No.
                                     075295;
                                     Copy of
HD-84              9QG8LXX5          WMAMR1277950
                                     Security Bag No.
                                     075248;
                                     Copy of
HD-85              9Q8N28G           WMAMR1202131
HD-86              N/A               N/A
                                     Security Bag No.
                                     033654508; Copy of
HD-87              R7CRD72K          WMAEH1283328
                                     Security Bag No.
                                     033654501; Copy of
HD-88              RBRAA9VA          WCA8C3998460
                                     Security Bag No.
                                     075252;
                                     Copy of
HD-89              9QG8LSVQ          WMAMR1202248




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                                LINER FILES: HARD DRIVE INVENTORY


                                     Security Bag No.
                                     075262;
                                     Copy of
HD-90              RG0ZLL8A          WMAEP1123872




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                       EXHIBIT C
     Case 1:23-mc-00073-CKK-MAU                      Document 1-7              Filed 07/28/23         Page 709 of 1046
                         Dennis Lee Montgomery                     -        November 18, 2010
                UNITED STATES BANKRUPTCY COURT                    1           For the United States of America:
                CENTRAL DISTRICT OF CALIFORNIA
                                                                  2                U.S. DEPARTMENT OF JUSTICE

     In re: Dennis and Kathleen    )                              3                CIVIL DIVISION
     Montgomery                    )                              4                BY:    CARLOTTA P. WELLS, Senior Counsel
                                   )
                                                                  5                Federal Programs Branch
     Michael J. Flynn,             )
                                   )                              6                20 Massachusetts Avenue, NW
                  Plaintiff,       )                              7                Room 7150
                                   )                              8                Washington, DC    20530
                    vs.            ) Case No.: 2:10-bk-18510-bb
                                   )
                                                                  9                (202) 514-4522
     Dennis Lee Montgomery and     )                              10         Also Present:
     Brenda Kathleen Montgomery,   )                              11              Michael J. Flynn, Esq.
                                   )
                                                                  12              Sharon Raya, Paralegal to Ms. Wells
                  Defendants.      )
     ______________________________)                              13              Tom (last name withheld), U.S. Government
                                                                  14              Morgan (last name withheld), U.S.
                                                                  15              Government
                                                                  16         Videographer:
       Videotaped Deposition of:   DENNIS LEE MONTGOMERY          17              Jesse Navarro, Orravan Video Litigation
       Date:                       November 18, 2010
                                                                  18              Services
       Reported by:                Stephanie P. Borthwick
                                   C.S.R. No. 12088               19
                                                                  20
                                                                  21
                                                                  22
                                                                  23
                                                                  24
                                                                  25

                                                                                                                        Page 3

1          Deposition of DENNIS LEE MONTGOMERY, taken on          1                               INDEX
2    behalf of the Plaintiff, before Stephanie P.                 2
3    Borthwick, a Certified Shorthand Reporter,                   3    Deposition of DENNIS LEE MONTGOMERY
4    commencing at the hour of 9:20 a.m., Thursday,               4           Taken on November 18, 2010
5    November 18, 2010, at the offices of Yates Court             5
6    Reporters, 74967 Sheryl Avenue, Palm Desert,                 6    Examination By:                                     Page
7    California.                                                  7    MR. CONANT                                             24
8    APPEARANCES:                                                 8
9          For the Plaintiff:                                     9    Information Requested:
10               CONANT LAW, LLC                                  10         (None)
11               Attorneys at Law                                 11
12               BY:   CHRISTOPHER J. CONANT, ESQ.                12   Questions Instructed Not to Answer:          Page Line
13               730 17th Street                                  13   Q.    Has your attorney, to your               45      3
14               Suite 200                                        14         knowledge, been in contact with any
15               Denver, Colorado     80202                       15         agency of the United States
16               (303) 298-1800                                   16         government concerning your personal
17         For the Defendants:                                    17         property that's listed on these
18               DION-KINDEM & CROCKETT                           18         schedules?
19               Attorneys at Law                                 19   Q.    Is it your testimony,                    46      9
20               BY:   WILLIAM E. CROCKETT, ESQ.                  20         Mr. Montgomery, that you have no
21               LNR Warner Center                                21         personal property that falls within
22               21271 Burbank Boulevard                          22         the description of this paragraph
23               Suite 100                                        23         here on page 22-9?
24               Woodland Hills, California      91367-6667       24   ///
25               (818) 883-4400                                   25   ///

                                                        Page 2                                                          Page 4

                                                                                                      1 (Pages 1 to 4)
                              YATES COURT REPORTERS                            800.669.1866
     Case 1:23-mc-00073-CKK-MAU                   Document 1-7            Filed 07/28/23       Page 710 of 1046
                           Dennis Lee Montgomery              -        November 18, 2010
1    Q.    Have you ever described to anyone in   53    3    1    Q.    Have you defrauded Mr. Kennedy in      144   25
2          any form a noise filtering                        2          connection with his investment in
3          technology that you had created?                  3          Demaratech, LLC?
4    Q.    You don't recall if it's true or       77    25   4    Q.    Did -- Mr. Montgomery, during          148   10
5          not, Mr. Montgomery?                              5          President Obama's inauguration in
6    Q.    You mean to tell me that you met       82    21   6          January of 2009, were you the cause
7          with someone in the vice president's              7          of any form of terror -- heightened
8          office and you can't recall what it               8          terror alert in the Washington,
9          was about, Mr. Montgomery?                        9          D.C., area?
10   Q.    This is about the source code, isn't   85    15   10   Q.    Do you ever monitor PACER in           150   20
11         it, Mr. Montgomery?                               11         Montana, U.S. District Court -- U.S.
12   Q.    Do you understand the English          99    19   12         Bankruptcy Court in the District of
13         language, Mr. Montgomery?                         13         Montana?
14   Q.    Well, so you visited the vice          107   12   14   Q.    What attorney-client communications    151   18
15         president's office, but you don't                 15         would lead Mr. Flynn to believe that
16         recall the nature of the meeting?                 16         you were causing terror threats in
17   Q.    What would cause your attorney to      112   16   17         or around January of 2009?
18         put a statement like that on your                 18   Q.    When did Mr. Flynn cease to be your    152   4
19         bankruptcy schedule?                              19         attorney?
20   Q.    Can you explain to me your             119   6    20   Q.    So you're suggesting that you didn't   157   12
21         conversations with Edra Blixseth                  21         write that, Mr. Montgomery?
22         concerning --                                     22   ///
23   Q.    -- the preparation of this document?   119   11   23   ///
24   ///                                                     24   ///
25   ///                                                     25   ///

                                                    Page 5                                                       Page 7

1    Q.    Mr. Montgomery, can you please         123   15   1    Q.    Why would Edra tell you, "With all     165   12
2          explain to me your conversation with              2          going on, much of which you
3          Ms. Montgomery concerning the                     3          encouraged me to move forward with,
4          preparation of this document, which               4          why are you doing this at this
5          is marked as Plaintiff's Exhibit                  5          time?"
6          No. 7.                                            6    Q.    Mr. Montgomery, how does your          166   2
7    Q.    Isn't it true, Mr. Montgomery, that    125   8    7          relationship with Edra Blixseth
8          you worked with Ms. Blixseth to help              8          implicate you in any criminal
9          her kill the sale of the Yellowstone              9          proceeding?
10         Club to Cross Harbor?                             10   Q.    Do you know why the Israeli            171   24
11   Q.    Mr. Montgomery, is this statement in   140   7    11         government would be?
12         here regarding -- where it says                   12   Q.    Why would Edra say, "You are the key   180   5
13         Dennis Montgomery and Demaratech, it              13         to our success"?
14         has been their desire from the first              14   Q.    Is it hard to recall what a person     227   25
15         contact to try and sell their                     15         does with $800,000, Mr. Montgomery?
16         technology to various institutions                16   Q.    You had a plan, because you knew the   232   5
17         of the Israeli government, including              17         software was always bogus and you
18         Mossad and Army Intelligence --                   18         knew that the only way to get out
19   Q.    Is this a true statement,              141   15   19         from the sanction was to get rid of
20         Mr. Montgomery, in any sense?    Has              20         the litigation so you settled by
21         it ever been your desire to sell                  21         executing the $25 million judgment.
22         technology to various institutions                22         You knew at the time that you could
23         within the Israeli government?    Is              23         never satisfy the $25 million
24         that a true statement,                            24         judgment, so you knew the only way
25         Mr. Montgomery?                                   25         to get out from the $25 million

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                             YATES COURT REPORTERS                        800.669.1866
     Case 1:23-mc-00073-CKK-MAU                   Document 1-7           Filed 07/28/23         Page 711 of 1046
                           Dennis Lee Montgomery               -     November 18, 2010
1          judgment was to file for bankruptcy.               1     7       December 12, 2007, letter to        116
2          And the whole time before that you                 2             Timothy Blixseth on the
3          knew that the software was                         3             letterhead of the U.S.
4          fraudulent, yet you're getting paid                4             Department of Justice
5          $1.2 million a year for this                       5     8       56-page printout of back            132
6          fraudulent software.    So the whole               6             records for Demaratech, LLC
7          time you're hoarding away this cash                7     9       Two-page June 30, 2010, email       137
8          that you're getting, the                           8             from Concerned Citizen to
9          $1.2 million a year you're getting,                9             Michael.west@ic.fbi.gov re
10         because you know at some -- you know               10            Montgomery
11         it's all going to collapse when                    11    10      February 26, 2009, email            155
12         you're discovered that your software               12            string, top email from
13         is a complete fraud.                               13            LearG2@aol.com to
14   Q.    Didn't you know the whole time the     233   17    14            dennis@ncoder.net et al., re
15         software was bogus, that you were                  15            Blxware
16         pedaling bogus software?                           16    11      Six pages of indictments            166
17   Q.    The source code that we're been        234    3    17    12      Email string dated November         169
18         referring to all day today in the                  18            11, 2010, between George
19         Plaintiff's Exhibit 3, in these                    19            Birnbaum and Tim Blixseth re
20         emails, the source code, you knew it               20            Montgomery
21         was bogus didn't you,                              21    13      Email string, top email dated       175
22         Mr. Montgomery?                                    22            February 26, 2009, from
23   ///                                                      23            LearG2@aol.com to
24   ///                                                      24            dennis@ncoder.net, et al., re
25   ///                                                      25            Installation

                                                    Page 9                                                   Page 11

1    Exhibits:                                                1     14      Two-page email from                 177
2     1          36-page U.S. Bankruptcy Court          33    2             LearG2@aol.com to
3                Summary of Schedules filed                   3             dennis@ncoder.net, et al., re
4                7/13/09                                      4             Ratheon and other
5     2          Six-page Plaintiff's Second            49    5             opportunities
6                Set of Requests for Production               6     15      One-page email string, top          189
7                of Documents                                 7             email from LearG2@aol.com to
8     3          23-page Sealed Declaration of          54    8             dennis@ncoder.net, et al., re
9                Dennis Montgomery in Support                 9             Secret Service
10               of his Oppositions to DOD's                  10    16      Six-page article entitled The       195
11               and ETreppid's Motions for                   11            Man Who Conned the Pentagon
12               Protective Orders                            12    17      Eight-page email and                201
13    4          Six-page Dennis Montgomery's           61    13            attachment dated August 23,
14               Responses to Plaintiff's                     14            2007, from Patricia Yarborough
15               Requests for Production of                   15            to Jory Russell re Dennis
16               Documents, Set Two                           16            Montgomery
17    5          Three-page Second Declaration          90    17    18      143 pages of bank records           219
18               of SA Michael A. West                        18    19      15 pages of a Wells Fargo           285
19    6          November 8, 2007, redacted             114   19            Portfolio Management Account
20               letter to Timothy Blixseth on                20            for January 2007
21               the letterhead of U.S.                       21    20      36 pages of bank records of         303
22               Department of Justice                        22            Istvan Burgyan, Bates
23   ///                                                      23            Nos. 00349-384
24   ///                                                      24   ///
25   ///                                                      25   ///

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                                                                                    3 (Pages 9 to 12)
                                YATES COURT REPORTERS                    800.669.1866
     Case 1:23-mc-00073-CKK-MAU                      Document 1-7              Filed 07/28/23            Page 712 of 1046
                         Dennis Lee Montgomery                     -      November 18, 2010
1      21        19-page Wells Fargo PMA                    306    1   because to do so would violate the terms of the
2                Package of Istvan Burgyan,                        2   United States protective order, which all the
3                Bates Nos. 00552-70                               3   parties to the bankruptcy proceeding have agreed to.
4      22        Five pages of Istvan Burgyan's             309    4             MR. CROCKETT:     Bill Crockett on behalf of
5                bank records, Bates                               5   Dennis Montgomery.
6                Nos. 00943-47                                     6             THE WITNESS:     Dennis Montgomery.
7      23        Two-page Bank of America                   312    7             THE VIDEOGRAPHER:       Would the court reporter
8                statement of Istvan Burgyan,                      8   please swear in the witness.
9                Bates Nos. 00933-34                               9             THE REPORTER:     Please raise your right
10    24        One page of photocopied                     313   10   hand.
11              documents including a                             11             Do you solemnly state under penalty of
12              cashier's check paid to                           12   perjury that the testimony you will give in this
13              Caesar's Casino and Wells                         13   matter will be the truth, the whole truth, and
14              Fargo Bank records.                               14   nothing but the truth?
15    25        18 pages of MontBleu Resort                 315   15             THE WITNESS:     Yes.
16              Memo Reports                                      16             THE REPORTER:     Thank you.
17    26        Three-pages of win/loss                     324   17             MR. CONANT:     Okay.   Thank you.
18              documents                                         18             Before we start examining the witness, I
19    27        37 pages of Customer                        328   19   want to state for the record that there are present
20              Transaction Inquiries                             20   in the room four representatives from the U.S.
21    28        11 pages of miscellaneous                   330   21   Government, two of which apparently have no last
22              casino documents                                  22   name.
23   ///                                                          23             We'll ask on the record of Ms. Wells to
24   ///                                                          24   provide their last names and the government agency
25   ///                                                          25   that they purportedly work for.

                                                        Page 13                                                             Page 15

1               THE VIDEOGRAPHER:    Good morning.   Here          1             MS. WELLS:     And I cannot, because to do so
2    begins Media No. 1 in the video deposition of Dennis          2   would violate the terms of the United States
3    Lee Montgomery in the matter of Michael J. Flynn              3   protective order.
4    versus Dennis Lee Montgomery, et al., in the                  4             MR. CONANT:     Ms. Wells, do you have a copy
5    United States Bankruptcy Court of California, Case            5   of the protective order in front of you?
6    No. 2:10-bk-18510-bb.                                         6             MS. WELLS:     I do.    Do you have one?
7               Today's date is November 18th, 2010.      The      7             MR. CONANT:     I have a copy in front of me.
8    time is 9:20 a.m.    This deposition is being taken at        8   I'd like to actually get it admitted as an exhibit
9    74967 Sheryl Avenue, Palm Desert, California, and             9   in this deposition.
10   was made at the request of Mr. Christopher Conant of         10             Let me -- while I work on getting extra
11   the law offices of Conant Law, LLC.                          11   copies to admit as an exhibit, Ms. Wells, can you
12              The videographer is Jesse Navarro here on         12   review the protective order and identify which
13   behalf of Orravan Video Litigation Services,                 13   specific portion of the protective order you're --
14   Indian Wells, California.                                    14             MS. WELLS:     Am I a witness now?     All I can
15              Would counsel and all present please              15   tell you is it's pretty self-evident from the face
16   identify yourselves and state whom you represent.            16   of the United States protective order what's
17              MR. CONANT:   Christopher Conant for the          17   protected, what isn't.
18   plaintiff, Michael J. Flynn.                                 18             The information that's protected is set
19              MR. FLYNN:    And Michael J. Flynn in             19   forth in paragraphs 2 and paragraphs 3.
20   persona.                                                     20             MR. CONANT:     How does those pertain
21              MS. WELLS:    Carlotta Wells on behalf of the     21   specifically to the identities of these gentlemen
22   United States and with the United States Department          22   and why they're here today?
23   of Justice.   Sharon Raya is with me from my office.         23             MS. WELLS:     I think it's self-evident and
24   With me, also, are Morgan and Tom, who are with the          24   if you want to read those paragraphs into the
25   government and I can't disclose anything further             25   record, feel free to.

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                                                                                          4 (Pages 13 to 16)
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     Case 1:23-mc-00073-CKK-MAU                   Document 1-7              Filed 07/28/23           Page 713 of 1046
                         Dennis Lee Montgomery                 -      November 18, 2010
1             MR. CONANT:    I don't -- well --                1   reviewed in connection with your meeting with Judge
2             MS. WELLS:    Paragraphs 2 and 3 of the          2   Pro that were -- that originated from my client
3    United States protective order, which is                  3   Michael Flynn?
4    Document 253, District of Nevada Case File 30656.         4               MS. WELLS:    This is not the subject of this
5             MR. CONANT:    Ms. Wells, who is making the      5   deposition.     We're not here to talk about this.        If
6    decision regarding what is -- why these gentleman         6   Mr. Flynn wants to have a conversation with me about
7    are here?                                                 7   this we can have it, but it's not appropriate for
8             Who in the government made a decision why        8   the record.
9    these gentlemen are here?    Who in the government        9               MR. CONANT:    It is appropriate for the
10   made a decision for these two gentlemen to be here       10   record.     You are --
11   today?                                                   11               MS. WELLS:    It does -- what does that have
12            MS. WELLS:    This particular deposition is     12   to do with the information we're here to protect
13   being handled in the manner that all information         13   now?     The long and the short of it is that there
14   related to this case has been handled.    It's been a    14   were documents, as you know, from the Order that the
15   joint decision between those attorneys representing      15   court in Montana sent to Judge Pro.
16   the United States' interests and the agencies whose      16               He asked the United States to take a look
17   information we're protecting.                            17   at them to determine the extent to which there's
18            That's all I'm going to say.                    18   information that may or may not be protected under
19            MR. CONANT:   Were these gentleman at all       19   the United States protective order.
20   involved in any way in the litigation in Nevada?         20               Upon the limited review that we did in his
21            MS. WELLS:    I'm not going to go any further   21   chambers yesterday, we determined that there was
22   than what I've already said.                             22   enough of a question there that we need to take the
23            MR. CONANT:   Were you meeting with Judge       23   documents back with us to Washington to do a more
24   Pro in the U.S. District Court for the district of       24   thorough review.     That's it.
25   Nevada yesterday?                                        25               MR. CONANT:    What documents did you review?

                                                    Page 17                                                            Page 19

1             MS. WELLS:    At Judge Pro's insistence, yes.    1               MS. WELLS:    The documents that the court in
2    We met with him in his chambers yesterday.                2   Montana sent.
3             MR. CONANT:    Who is "we"?                      3               MR. CONANT:    What documents were those?
4             MS. WELLS:    The people representing the        4               MS. WELLS:    I didn't take a list.    It's not
5    United States Department of Justice and the United        5   a very big -- it's a small pile, not even an inch
6    States in this case.                                      6   thick.
7             MR. CONANT:    Who were those?   I'm asking      7               MR. FLYNN:    This is Michael Flynn.    I'm
8    for the identities, Ms. Wells.                            8   going to put a statement on the record.
9             MS. WELLS:    All I'm saying is that people      9               The documents that were given to David
10   from the government met with him and I mean it           10   Cotner, counsel for the trustee in the Montana
11   actually -- if you really need to know, it was the       11   bankruptcy proceeding, were very limited and I
12   four of us here.                                         12   specifically reviewed them before giving them to
13            MR. CONANT:   Did Judge Pro -- when did         13   Cotner.
14   Judge Pro contact you to meet with him?                  14               They were apparently subsequently given to
15            MS. WELLS:    I'm not going to say anything     15   Judge Kirscher and they had all been previously
16   more other than we're complying with the terms of        16   reviewed by the federal government, Department of
17   the order that Judge Pro entered, I believe it was       17   Justice, and approved.       And except for the Sandoval
18   October 30th, and we were there because of that          18   complaint, they are publicly on file in the Nevada
19   order.                                                   19   District Court and can be picked up online.
20            MR. CONANT:   What order?                       20               So unless documents were added that I don't
21            MS. WELLS:    Let's see.                        21   know about -- and I don't know about any of the
22            It was the order dated October 28th, 2010,      22   documents, I don't have the identity of the
23   Docket No. 1172, same case, Montgomery versus            23   documents that were given to Judge Kirscher or
24   eTreppid Technology.                                     24   subsequently conveyed to Judge Pro -- there are no
25            MR. CONANT:   Were there any documents          25   documents that do not comply with the US protective

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1    order in any way.                                         1   here from the US government, two of who, apparently,
2            So if either documents were added by              2   have no last names and are from some unidentified
3    someone or there has been a change in the position        3   agency with the government.
4    of the Department of Justice with regard to the           4              And for the record, Ms. Wells is not
5    scope of the protective order, then there is nothing      5   indicating how their involvement is at all
6    in any of the documents given to Cotner, apparently       6   implicated in the protective order.      The protective
7    passed on to Judge Kirscher, which would violate the      7   order only governs issues concerning intelligence
8    terms of the U.S. protective order.                       8   agencies as defined in the National Security Act and
9            MR. CONANT:     Do you have a copy, Ms. Wells,    9   we have no indication of what agencies these
10   of the letter or whatever communication there was        10   gentlemen are with and whether they're with an
11   between Judge Kirscher and Judge Pro?                    11   intelligence agency or whether it's an
12           MS. WELLS:    No.                                12   administrative branch of the government that's not
13           MR. CONANT:     Who at the government have you   13   included within the National Security Act as an
14   been talking to regarding the matter involving the       14   intelligence agency.
15   letter from Judge Kirscher to Judge Pro?                 15              So we simply don't know what is -- what is
16           MS. WELLS:    I'm not here to answer these       16   purportedly being protected by the protective order
17   questions.   I'm here to enforce the terms of the        17   or not.
18   United States protective order and only people with      18              MR. FLYNN:   We think -- at this juncture
19   the United States have that authority and the            19   I'll put on the record that I believe -- I didn't
20   ability to determine what's protected and what isn't     20   believe it during the Nevada proceedings, I thought
21   and that's all we're here for.                           21   there were legitimate interests to be protected in
22           It's a very limited role that we're              22   terms of identities of intelligence agency
23   playing, it's a very limited role, and I can tell        23   individuals, but at this point I believe that the
24   you on the record that what we're doing here today       24   Department of Justice has gone far beyond that and
25   is entirely consistent with what we've done ever         25   is now using, under the guise of national security

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1    since we first got involved in this case and ever         1   for reasons related to the facts that I put in the
2    since Judge Pro acknowledged there was information        2   emails to you, Carlotta, has gone far beyond the
3    to be protected.                                          3   scope of national security in an effort to cover up
4            That's all I'm going to say and I'll keep         4   or conceal the fraudulent activities of
5    saying the same thing over and over again.                5   Mr. Montgomery as I've repeatedly said in emails.
6            MR. FLYNN:    It's completely inaccurate.         6              So why don't we just start.
7    For the record, these gentlemen, however nice             7                           EXAMINATION
8    gentleman they may be, never participated and never       8   BY MR. CONANT:
9    appeared in courtrooms in any of the Nevada               9       Q.     Okay.   All right.   Turning to
10   proceedings, Ms. Wells, and you know it and I know       10   Mr. Montgomery.     Mr. Montgomery, let's start
11   it.                                                      11   something.
12           So this four-person deluge from the              12              Can you state your name for the record.
13   Department of Justice in Dennis Montgomery's             13       A.     Dennis Montgomery.
14   deposition is apparently being done for some reasons     14       Q.     What's your -- do you have a middle name?
15   completely extraneous to the materials in the            15       A.     Lee.
16   protective order, but why don't we get started.          16       Q.     Do you understand what it means to take a
17           MR. CONANT:     I just want to state one last    17   deposition, Mr. Montgomery?
18   thing for the record.    When I deposed Istvan Burgyan   18       A.     Yes.
19   in this very case on September 22nd, the U.S.            19       Q.     What do you understand that to mean?
20   Government showed no interest in this matter.            20       A.     You're going to ask me questions; I'm going
21           I had to call Mr. Gomez at his office in         21   to answer them.
22   D.C. halfway through the deposition, because there       22       Q.     Do you know -- do you understand that your
23   became an issue regarding the protective order.          23   testimony today is under the penalty of perjury?
24   Mr. Gomez was completely indifferent regarding this      24       A.     Yes.
25   case and now, for some reason, we have four people       25       Q.     Do you understand what that means?

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1        A.   Yes.                                               1          Q.     Doing what with computers?
2        Q.   What does it mean to you?                          2          A.     Biomedical work.
3        A.   You've got to tell the truth.                      3          Q.     Mr. Montgomery, what kind of biomedical
4        Q.   What happens if you don't tell the truth?          4   work with computers were you doing?
5        A.   You get in trouble.                                5          A.     Electrocardiogram, blood gas analysis,
6        Q.   What kind of trouble?                              6   pulmonary function, those kinds of functions.
7        A.   Whatever.                                          7          Q.     Functions.
8        Q.   What does that mean?                               8                  How does that relate to -- what would you
9             MR. CROCKETT:    Calls for speculation.    Next    9   do with computers?          Would you code software
10   question, Counsel.                                         10   programs?
11   BY MR. CONANT:                                             11          A.     Yes.
12      Q.    Mr. Montgomery, I'll represent to you that        12          Q.     And what is your background in software
13   if you do not tell the truth and you unintentionally       13   development?
14   do not tell the truth you could be prosecuted by the       14          A.     Well, I started it then, at that period of
15   federal government for lying under oath and that           15   time.       The hospital had bought a number of computers
16   carries with it all sorts of criminal penalties,           16   and were trying to do at that time, I believe,
17   which I'm sure your attorney can advise you about.         17   automated EKG analysis and I was working with a
18            Mr. Montgomery, have you brought any              18   group of cardiologists to do it.
19   documents with you today to this deposition?               19          Q.     So at some point along the line is it fair
20      A.    No.                                               20   to say that you learned how to program computer
21      Q.    All right.   Mr. Montgomery, are you a            21   software?
22   United States citizen?                                     22          A.     Yes.
23      A.    Yes.                                              23          Q.     How did you learn that?
24      Q.    Can you briefly describe to me your               24          A.     I just learned it.
25   background, your educational background, and your          25          Q.     Did you read books about it?

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1    work background?                                            1          A.     I mean that's 30 years ago.     Yes, I'm sure
2        A.   Go on?                                             2   I read books.
3             I went to Grossmont College as a -- I got          3          Q.     Do you have any formal training in --
4    an AA in biomedical technology.                             4          A.     I think there were computer programming
5             Is that what you want, me to go forward            5   classes that were offered with the program.            I don't
6    from there?                                                 6   recall at the time, because the PC wasn't available
7        Q.   Yeah.    What year did you graduate from           7   yet.        They didn't come out to '81.
8    Grossmont?                                                  8                  MR. FLYNN:   Did you take any of these
9        A.   I don't recall.   I think '73, '74.                9   classes.
10      Q.    Yeah, please.                                     10   BY MR. CONANT:
11      A.    I went to San Diego State for a year -- I         11          Q.     Did you take any of these classes?
12   believe, I don't remember the exact time -- and then       12          A.     I don't recall specifically.
13   I began working as a biomedical technician at local        13          Q.     So you don't recall whether you've ever
14   hospitals.                                                 14   taken any class where you can learn how to program
15      Q.    Okay.    From what years did you work as a        15   computer software?
16   biomedical --                                              16          A.     I don't remember the list of classes.          I
17      A.    I think '73 to, I would say, '76, '77.     I      17   just don't recall.
18   don't recall specifically the exact date.                  18          Q.     Have you ever taken a class?
19      Q.    Okay.    When did you -- what did you do          19          A.     I don't -- at times I had to have, yes,
20   after you worked in the hospital?                          20   because there were classes that I took -- at the
21      A.    I went to work as a consultant.                   21   time those computers were Hewlitt Packard.            They
22      Q.    What does that mean, "consultant"?                22   were not IBM-based and I know I went to Hewlitt
23      A.    I was just trying to get work.                    23   Packard classes.
24      Q.    What kind of work?                                24          Q.     So you took some classes offered my Hewlitt
25      A.    Computer.                                         25   Packard?

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1          A.   By the people making the computers.                 1   BY MR. CONANT:
2          Q.   What years were those?                              2       Q.      Has any instructor ever taught you how to
3          A.   Same time frame we discussed, between the           3   write computer code, Mr. Montgomery?
4    time while I was going to Grossmont College and                4       A.      What do you mean "computer code"?
5    San Diego State and then, I would say, up until even           5               MR. CROCKETT:     I will object to the
6    after I left as a consultant.                                  6   question on the grounds as vague.
7          Q.   I'm looking for some specific years.                7               MR. CONANT:     I'm objecting to the fact that
8          A.   '73 to '80 I guess, let's just say.                 8   your client is evading the question.
9          Q.   Okay.   So how many classes in computer --          9               MR. CROCKETT:     Well, if you want to object
10         A.   I'm sorry.                                         10   to your questions, knock yourself out.
11         Q.   Let me just back up here, so we can get            11               MR. FLYNN:    Ask him --
12   this out on the record that for the court reporter            12   BY MR. CONANT:
13   it's challenging when we speak over each other, so I          13       Q.      Do you know what source code is,
14   will try to not interrupt you, if you could try not           14   Mr. Montgomery?
15   to start your answer before I finish my question.             15               MR. CROCKETT:     I'm sorry, I want to enter
16         A.   All right.                                         16   an objection right here.        This gentleman is not
17         Q.   Okay.   So how many classes in software            17   admitted as an attorney in the case.        He is the
18   programming have you taken from, say, 2010 until,             18   plaintiff.     He's not admitted pro hoc.     He's not
19   say, 1970?                                                    19   licensed in the state of California.
20         A.   What do you mean by "classes"?                     20               Is he asking the questions or --
21         Q.   Were there -- where you had an instructor          21               MR. CONANT:     Mr. Crockett, I'll conduct the
22   who's teaching you how to, you know, create software          22   deposition in the manner I feel appropriate.         He's
23   code.                                                         23   the plaintiff here.       He can --
24              MR. CROCKETT:    Question is vague.                24               MR. CROCKETT:     You want to sit in his lap?
25   Ambiguous.    Lacks foundation.                               25               MR. CONANT:     Let me finish, please.

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1    BY MR. CONANT:                                                 1               He can participate in this deposition in
2          Q.   Do you understand the question,                     2   any manner that I feel appropriate.
3    Mr. Montgomery?                                                3               MR. CROCKETT:     Okay.
4          A.   Well, I'm not certain if you've ever asked          4               MR. CONANT:     He's not harassing the
5    me that I ever went to a class on computers.                   5   witness.     He's not doing anything unethical.
6          Q.   Yeah, correct.                                      6               I'll conduct the deposition, thank you.
7          A.   Class meaning one time a week?     I don't --       7               MR. CROCKETT:     Is there a question pending?
8          Q.   I don't know.    That's what I'm asking.     I      8   BY MR. CONANT:
9    just want to know how much training, formal or                 9       Q.      Do you know, Mr. Montgomery, what source
10   informal, you have in programming computer software.          10   code is?
11         A.   What type of computers are you referring           11       A.      Yes.
12   to?                                                           12       Q.      What does the word source code mean to you?
13         Q.   I don't know.    I'm not an expert in              13       A.      A language used by a compiler to generate
14   computers.    I'm a lawyer.   I'm not a -- I'm not a          14   source code, to generate an executable code.
15   computer guy, so that's why I'm asking.                       15       Q.      I don't understand what any of that means.
16              MR. CROCKETT:    Have you --                       16   Can you explain to me what a compiler is?
17              MR. CONANT:   Mr. Crockett, please, let me         17       A.      It's a program written by a person that
18   finish my question.                                           18   makes a development, a system development, for a
19              MR. CROCKETT:    Go right ahead.   Is your         19   computer language and gives you a number of tools by
20   question finished?                                            20   which you are to generate programs to run on that
21              Is your question finished?     Is your             21   platform.
22   question finished?                                            22       Q.      Have you ever had any training in how to
23              You're asking me to wait.                          23   develop source code?
24              MR. FLYNN:    Just ask if any instructor ever      24       A.      I'm sure I have.
25   taught him how to write code.                                 25       Q.      What is that training?

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1        A.     I don't recall specifically.                       1       A.      I talked on the phone.
2        Q.     Okay.   So is it fair to say,                      2       Q.      On the phone?
3    Mr. Montgomery, that you know how to write source             3       A.      Yeah.
4    code, but you don't recall how you ever learned to            4       Q.      You talk about this deposition?
5    write it?                                                     5       A.      I don't believe so.
6               MR. CROCKETT:    Question's vague and              6       Q.      Did you talk about anything regarding
7    ambiguous.    Lacks foundation.    May assume facts not       7   Mr. Blixseth, Timothy L. Blixseth?
8    in evidence.                                                  8       A.      I don't recall.
9               You think you can answer it as it's                9       Q.      Anything regarding Mr. Flynn?
10   phrased, go ahead.                                           10       A.      I don't recall.
11             THE WITNESS:     You kind of just learn it         11       Q.      So you had a conversation with Ms. Blixseth
12   over the years.     As the technology develops, so do        12   a week ago, but you don't recall anything about the
13   you kind of with it.     That's my answer.                   13   conversation; is that accurate, Mr. Montgomery?
14             MR. CONANT:    Mr. Montgomery, I'm going to        14       A.      I don't recall specifically what we talked
15   hand to you what will be marked as --                        15   about.
16             You're going to have to help me keep track         16       Q.      That wasn't it.      That didn't answer my
17   here.    We'll be on Exhibit 1.                              17   question.
18             I only have three copies here.     I only          18       A.      Okay.   I'm sorry.
19   have -- the suitcase is only so big, so I'll hand            19       Q.      Is it fair to say you talked to
20   one to you; if you want the copy --                          20   Ms. Blixseth a week ago, but you have no idea what
21             You'll mark the one that the witness has?          21   you talked to her about?
22             THE REPORTER:    Yeah.                             22               MR. CROCKETT:     That mischaracterizes what
23             (Exhibit 1 was marked for identification.)         23   he said.     He said he didn't recall.
24             MR. CONANT:    Mr. Crockett.                       24               MR. CONANT:     I'm asking him to answer my
25             MR. CROCKETT:    Are you starting with 1?          25   question.

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1               MS. WELLS:   Can I see a copy, just take a         1               THE WITNESS:     I just did.   I already did.
2    look at it for a second?                                      2   I said I don't recall.
3               MR. FLYNN:   We're going to go to the part         3   BY MR. CONANT:
4    where the technology is listed.                               4       Q.      It was a yes-or-no question.
5               MS. WELLS:   That's fine.                          5       A.      Well, if I don't recall I guess the answer
6    BY MR. CONANT:                                                6   is no, I don't recall.
7        Q.     Mr. Montgomery, can you please review this         7       Q.      You don't recall.
8    document that I've handed you.                                8               Mr. Montgomery, yesterday you were in
9        A.     Okay.                                              9   Las Vegas, were you not?
10      Q.     Let me know when you're reviewed it to your        10       A.      Yes.
11   satisfaction.                                                11       Q.      What were you doing in Las Vegas yesterday?
12             MR. FLYNN:    I'll mark the technology             12       A.      I'm going to take the -- I'm going invoke
13   section for the declaration.                                 13   my right to the Fifth Amendment.
14             MR. CONANT:    Okay.                               14       Q.      Mr. Montgomery, are you aware of any
15             THE WITNESS:     Okay.                             15   criminal proceedings against you at this time?
16   BY MR. CONANT:                                               16       A.      I'm going to invoke my right under the
17      Q.     Okay.    Thank you, Mr. Montgomery.   Now          17   Fifth Amendment.
18   before I forget, I just had a few questions I want           18       Q.      Well, I'm not asking you to tell me
19   to ask and then we'll move on to the schedule.               19   anything about what you may have done.         I'm asking
20             Can you tell me the last time you                  20   you are you aware of any criminal proceedings
21   communicated with Edra Blixseth?                             21   against you at this time?
22      A.     I think it was in the last week.                   22               MR. CROCKETT:     Counsel, he has advised you
23      Q.     What did you communicate with her?                 23   and I will advise you that he is taking his Fifth
24      A.     I don't recall.                                    24   Amendment privilege and he's not going to answer
25      Q.     How did you communicate with her?                  25   that question.

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1               And if you have a difficulty with it, I'm        1   equipment, have you not?
2    sure we can take it up with a judge.                        2              MR. CROCKETT:     Which office are you talking
3               MR. CONANT:    Did he answer it -- well, did     3   about?
4    he answer it by taking the Fifth Amendment,                 4              Which office are you talking about?        I'll
5    Mr. Crockett?                                               5   object to the question as vague and ask you to
6               MR. CROCKETT:    Did he answer what, the last    6   rephrase it.
7    question?                                                   7              MR. FLYNN:     Within 300 yards of here.
8               MR. CONANT:    My last question.                 8   BY MR. CONANT:
9               MR. CROCKETT:    You heard him do that and       9       Q.     Within 300 yards of here, Mr. Montgomery,
10   it's on the record, Counsel.                               10   you've maintained an office, have you not?
11   BY MR. CONANT:                                             11       A.     I'm asserting my right under the Fifth
12      Q.      Mr. Montgomery, so you're taking the Fifth      12   Amendment.
13   Amendment -- you're pleading the Fifth Amendment in        13       Q.     What happened with the equipment that was
14   response to my question about whether you're aware         14   stored in that office?
15   of any criminal proceedings against you; is that           15       A.     I'm asserting my right under the Fifth
16   correct?                                                   16   Amendment.
17      A.      I've already answered the question.             17       Q.     That was computer equipment, was it not,
18              MR. CROCKETT:   Asked and answered, Counsel.    18   Mr. Montgomery, that you maintained in that office?
19   Next question.                                             19       A.     I'm asserting my right under the Fifth
20   BY MR. CONANT:                                             20   Amendment.
21      Q.      Mr. Montgomery, I understand that you have      21       Q.     Wasn't that computer equipment that you
22   paid to the Clark County district attorney in Nevada       22   obtained from Edra Blixseth, Mr. Montgomery?
23   approximately $450,000; is that correct?                   23       A.     I'm asserting my right under the Fifth
24      A.      I'm taking the Fifth Amendment.                 24   Amendment.
25      Q.      Where did you get the money to pay the          25       Q.     Wasn't that equipment you obtained from a

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1    Clark County D.A. this approximately $450,000?              1   company called Blxware, Mr. Montgomery?
2        A.     I'm asserting my right under the Fifth           2       A.     I'm asserting my right under the Fifth
3    Amendment.                                                  3   Amendment.
4               MR. FLYNN:    Did you get it from Istvan         4              MR. CROCKETT:     Why don't you just sit in
5    Burgyan.                                                    5   his lap.
6    BY MR. CONANT:                                              6              MR. CONANT:     Thank you, Mr. Crockett.     I
7        Q.     Did you get it from Istvan Burgyan,              7   appreciate you keeping your comments to yourself.
8    Mr. Montgomery?                                             8   If you're not going to object or advise your client,
9        A.     I'm asserting my right under the Fifth           9   then you can keep your comments to yourself.
10   Amendment.                                                 10              MR. CROCKETT:    I object to him continually
11              MR. FLYNN:    Did you give money to Istvan      11   asking questions.
12   Burgyan.                                                   12              MR. CONANT:     He's not asking any questions,
13   BY MR. CONANT:                                             13   Mr. Crockett.
14      Q.      Have you ever given money to Istvan             14              MR. CROCKETT:    Of course not.
15   Burgyan?                                                   15              A little louder, then he won't have to
16      A.      I'm asserting my right under the Fifth          16   repeat it.
17   Amendment.                                                 17   BY MR. CONANT:
18      Q.      Okay.   Mr. Montgomery, do you now or have      18       Q.     Mr. Montgomery, the computer equipment that
19   you ever maintained an office in Palm Desert or this       19   you took out of this office that's 300 yards away
20   general area?                                              20   from here, that was computer equipment that you
21      A.      I'm asserting my right under the Fifth          21   listed on your schedule; isn't that correct?
22   Amendment.                                                 22              MR. CROCKETT:    Object to the question.
23      Q.      Mr. Montgomery, you had within this office      23   Assumes facts not in evidence.
24   a large amount of -- strike that.                          24              Go ahead.
25              You've had in this office computer              25              THE WITNESS:    I assert my right under the

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1    Fifth Amendment.                                             1   property, Mr. Montgomery?
2    BY MR. CONANT:                                               2       A.      Yes.
3        Q.   Mr. Montgomery, turn with me to your                3       Q.      Okay.    Now flip with me to what is
4    schedules, which have been marked as Exhibit 1, and          4   identified down at the bottom right-hand corner as
5    let's go ahead and lay the foundation for these              5   22-8.     I'm looking at line 20 or Entry No. 22.
6    first.                                                       6               It's identified as Patents, Copyright and
7             Mr. Montgomery, do you recognize this               7   other Intellectual Property.        Do you see that,
8    document here that's marked as Exhibit No. 1?                8   Mr. Montgomery?
9        A.   Yeah.    Yes.                                       9       A.      Yes.
10      Q.    What do you recognize this document to be?         10       Q.     Look over at the right-hand column there,
11      A.    Looks like my bankruptcy filing.                   11   there purports to be a value of $10 million.
12      Q.    Can you clarify that for me, your                  12              Do you see that?
13   bankruptcy filing?                                          13       A.     Yes.
14      A.    Looks like a document that was used in my          14       Q.     Can you explain to me what that $10 million
15   bankruptcy filing.                                          15   item of intellectual property is, Mr. Montgomery?
16      Q.    Okay.    Can you turn to the last page for me      16       A.     I'm asserting my right under the Fifth
17   of Exhibit 1.    Up at the, I guess, the top half of        17   Amendment.
18   the document purports to be a signature of Dennis           18       Q.     All right.      Flip with me to the following
19   Lee Montgomery.                                             19   page identified at the bottom right-hand corner as
20            Do you see that, Mr. Montgomery?                   20   page 22-9.
21      A.    Yes.                                               21              Mr. Montgomery, are you at that page?
22      Q.    Is that your signature?                            22       A.     Yes.
23      A.    It appears to be.                                  23       Q.     Do you see that bottom paragraph on this
24      Q.    Do you recall signing a document that              24   page that begins with "In addition"?
25   looked like this, Mr. Montgomery?                           25       A.     Yes.

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1        A.   I signed a bankruptcy document.                     1       Q.      Can you read that paragraph for the record,
2        Q.   Do you recall signing this document?                2   please.
3        A.   If this is my bankruptcy document.                  3               MR. CROCKETT:     Go ahead.
4        Q.   Is that a yes or a no?                              4               THE WITNESS:     "In addition, Dennis
5        A.   Yes.                                                5   Montgomery is the holder of certain intellectual
6        Q.   Turn with me to -- one, two, three, four --         6   property rights which are subject to the National
7    the fifth page of this, of your bankruptcy                   7   Security Act 1947, 11 U.S.C. Section 401(a) et
8    Schedule B.                                                  8   seq" -- I guess -- I don't know what that means.
9             MR. CROCKETT:     For the record, this would        9   BY MR. CONANT:
10   be page 22-5 as it's been handwritten in the lower          10       Q.     Et seq.
11   right-hand corner of the document.                          11       A.     -- "et seq., and is by such Act prohibited,
12   BY MR. CONANT:                                              12   without the express consent of the United States
13      Q.    Turn with me to the --                             13   Department of Justice and certain other agencies of
14            MR. CROCKETT:    Is that correct, Counsel?     I   14   the United States of America from making any
15   want to make sure we're on the same page.                   15   disclosures with respect thereto.
16            MR. CONANT:     I'm going to clarify this          16              "Any requested information with respect
17   here.                                                       17   thereto must be directed to Raphael Gomez,
18      Q.    Turn with me to the following page that            18   United States Department of Justice, Civil Division,
19   your counsel just identified to line number 35.      Do     19   Senior Trial Counsel, 950 Pennsylvania Avenue,
20   you see that down at the bottom, "Other personal            20   Northwest, Washington, D.C., 20530, (202) 514-1318."
21   property of any kind not already listed"?                   21       Q.     Thank you.
22            Do you see that row I'm referring to?              22              Mr. Montgomery, have you had any
23      A.    Yes.                                               23   discussions within the prior year with any
24      Q.    Do you see that row identifies                     24   government agency concerning the intellectual
25   approximately $38 million worth of personal                 25   property that you just described?

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                                                                                         11 (Pages 41 to 44)
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                        Dennis Lee Montgomery                       -      November 18, 2010
1        A.     I assert my right under the Fifth                   1       Q.     Do you have any personal property that
2    Amendment.                                                     2   falls within the category of intellectual property
3        Q.     Has your attorney, to your knowledge, been          3   that is described here on the bottom paragraph of
4    in contact with any agency of the United States                4   22-9?
5    government concerning your personal property that's            5              MR. CROCKETT:     Well, I'll object to the
6    listed on these schedules?                                     6   question again as it assumes facts not in evidence.
7               MR. CROCKETT:    I'll object to the question.       7   It may require him to draw a legal conclusion.
8    It's plainly calling for attorney-client                       8              Why don't you define for him what you mean
9    communication.                                                 9   by intellectual property in context of the question?
10              Instruct him not to answer.                        10              MR. CONANT:     I'm asking --
11              MR. FLYNN:    Have him describe the                11              MR. CROCKETT:     Let me finish, Counsel.
12   intellectual --                                               12   Thank you.
13   BY MR. CONANT:                                                13              MR. CONANT:     Are you done?
14      Q.      Mr. Montgomery, can you briefly describe to        14              MR. CROCKETT:     Yes.
15   me the intellectual property that we're discussing            15              MR. CONANT:     Thank you.
16   here that you just described in your schedules as             16       Q.     There's a straightforward question here,
17   being subject to the National Security Act?                   17   Mr. Montgomery.     This bottom paragraph of your
18              MR. CROCKETT:   Ms. Wells, do you have any         18   bankruptcy schedule identifies you as the holder of
19   objection to him answering this question?                     19   certain intellectual property.
20              MS. WELLS:    No.                                  20              Do you see that, Mr. Montgomery?
21              MR. FLYNN:    See, we're on the same side.         21              MR. FLYNN:    Describe intellectual property.
22              THE WITNESS:    I don't believe -- I               22   Please describe the intellectual property.
23   didn't -- I don't believe I put this segment on               23   BY MR. CONANT:
24   there.    I could be wrong.     I don't recall that           24       Q.     Can you answer the question,
25   specifically.                                                 25   Mr. Montgomery?

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1    BY MR. CONANT:                                                 1              MR. CROCKETT:     Read the question back,
2        Q.     Mr. Montgomery, you signed these -- you             2   please, would you, Ms. Reporter.
3    signed your schedules under penalty of perjury, did            3              MR. CONANT:     I'll just ask the question
4    you not?                                                       4   again.
5        A.     Yes.                                                5       Q.     Mr. Montgomery, do you see this bottom
6        Q.     So is it your testimony, Mr. Montgomery,            6   paragraph on the page identified as 22-9?
7    that you have no personal property that is subject             7       A.     Yes.
8    to -- I'm sorry, strike that.                                  8       Q.     Do you see that it says Dennis Montgomery
9               Is it your testimony, Mr. Montgomery, that          9   is the holder of certain intellectual property
10   you have no personal property that falls within the           10   rights?
11   description of this paragraph here on page 22-9?              11              Do you see that, Mr. Montgomery?
12              MR. CROCKETT:   I'll object to the question.       12       A.     Yes.
13   It's argumentative.      It assumes facts not in              13       Q.     Describe those intellectual property rights
14   evidence.                                                     14   to me.
15              Would you like to rephrase it, Counsel?            15       A.     I assert my right under the Fifth
16              MR. CONANT:    No.   I want him to answer the      16   Amendment.
17   question.                                                     17              MR. FLYNN:    I'm glad these gentlemen
18              MR. CROCKETT:   I'll instruct him not to           18   stayed.
19   answer.                                                       19              MR. CROCKETT:     Can we go off the record for
20   BY MR. CONANT:                                                20   a moment, please.       I need to talk to my client.
21      Q.      Mr. Montgomery, do you have any personal           21              MR. CONANT:     You can go off the record.
22   property that falls within the description --                 22              MR. CROCKETT:     Thanks.
23              MR. FLYNN:    Intellectual.                        23              THE VIDEOGRAPHER:        Going off the record.
24              MR. CONANT:    I'm sorry.   Thank you,             24   The time is 9:56 a.m.
25   Mr. Flynn.                                                    25              (Recess taken.)

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                       Dennis Lee Montgomery                    -      November 18, 2010
1             THE VIDEOGRAPHER:      The time is 10 a.m.        1   Entry No. 815 and let me know when you have reviewed
2    We're back on the record.                                  2   it to your satisfaction.
3             MR. CONANT:    All right.   Mr. Montgomery,       3              (Witness complies.)
4    I'm going to hand you what is going to be marked as        4              THE WITNESS:     All right.     I've read it.
5    Plaintiff's Exhibit 2.                                     5   BY MR. CONANT:
6             You'll want a copy of this, Ms. Wells.            6       Q.     Thank you, Mr. Montgomery.
7             Do you need a copy?     I'm sorry, your name      7              Now if you recall, Mr. Montgomery, you were
8    again?                                                     8   sanctioned by the U.S. District Court for the
9             THE REPORTER:    Stephanie.                       9   District of Nevada to the tune of $2500 a day until
10            MR. CONANT:    Stephanie.                        10   you produced the source code as referenced in
11            Do you need a copy, Stephanie, or are you        11   Exhibit 1; isn't that correct?
12   going to get --                                           12       A.     I didn't recall that.        I recall there was a
13            THE REPORTER:   I can use his if he leaves       13   sanction of some type.       I don't remember
14   them there.                                               14   specifically that.
15            MR. CONANT:    Okay.                             15       Q.     Do you recall the sanction was to compel
16            THE REPORTER:   Could you identify them for      16   you to produce the source codes referenced in this
17   the record as we go through for me, please.     Thanks.   17   Exhibit 1?
18            MR. CONANT:    Yeah.                             18       A.     I thought it was more than that.
19            (Exhibit 2 was marked for identification.)       19       Q.     What else did you think it involved, the
20   BY MR. CONANT:                                            20   sanction order?
21      Q.    Mr. Montgomery, I've handed you what is          21       A.     I thought it was just a general production.
22   going to be marked as Plaintiff's Exhibit 2.     These    22       Q.     Did you ever produce the source codes
23   are Plaintiff's Second Set of Requests for                23   identified in this Exhibit 1, Mr. Montgomery?
24   Production of Documents that were served on your          24              Let me clarify:     Did you ever produce the
25   counsel in this case by me.                               25   source codes as you were ordered to do by the U.S.

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1             Would you turn to page 2.     It's marked --      1   District Court for the District of Nevada?
2    at the bottom it's actually the third page of the          2       A.     I'm not certain.
3    document, but it's labeled as page 2.     Request for      3       Q.     You're not certain whether you ever
4    Production No. 1 asks you produce the source codes.        4   produced them, Mr. Montgomery?          Is that the answer
5    If you look above Request for Production No. 1             5   to the question?
6    you'll see the definition of source codes.                 6       A.     I'm not certain.        That's my answer.
7             Do you see that, Mr. Montgomery, where it         7       Q.     Did you ever produce noise filtering codes
8    defines source codes?                                      8   Mr. Montgomery?
9        A.   Yes.                                              9       A.     I don't know what you mean.
10      Q.    Can you read that for me where it defines        10       Q.     Have you ever discussed noise filtering
11   source codes?                                             11   technology to -- let me back up.
12      A.    "Source codes means those computer software      12              Have you ever described, in any declaration
13   codes that you were ordered to produce by the             13   or affidavit that you've signed, noise filtering
14   United States District Court for the District of          14   technology?
15   Nevada for which you were sanctioned by the Court in      15       A.     I'm not certain.
16   the amount of $2500 per day to compel your                16       Q.     Now these source codes here, these were
17   production of those codes and which are referenced        17   source codes for software that purportedly decrypted
18   in Docket Entry No. 815 in Case No. 3:06-cv-0056 in       18   transmissions being broadcast by Al-Jazeera?
19   the" United -- "in the U.S. District" for the "Court      19              MR. CROCKETT:     Is that a question?
20   for the District of Nevada and which is attached          20              MR. CONANT:     Yeah.
21   hereto as Exhibit 1."                                     21              THE WITNESS:     I thought that was a
22      Q.    All right.    Can you turn to Exhibit No. 1      22   statement you were making.
23   which is on the back of this document,                    23   BY MR. CONANT:
24   Mr. Montgomery.                                           24       Q.     Have you ever --
25            Can you review that docket entry, Docket         25              MR. FLYNN:     Have you ever described to

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                                                                                       13 (Pages 49 to 52)
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                        Dennis Lee Montgomery                     -         November 18, 2010
1    anyone --                                                    1   Mr. Montgomery?
2    BY MR. CONANT:                                               2         A.     Yes.
3        Q.     Have you ever described to anyone in any          3         Q.     Turn with me, Mr. Montgomery, to the second
4    form a noise filtering technology that you had               4   to last page of this document.          Do you see where it
5    created?                                                     5   says Dennis Montgomery on the signature line,
6               MR. CROCKETT:    Technology different from        6   Mr. Montgomery?
7    software?    Object to the question as vague,                7         A.     Yes.
8    ambiguous, not calculated to lead to the discovery           8         Q.     Is that your signature, Mr. Montgomery?
9    of admissible evidence.                                      9         A.     It appears so.
10   BY MR. CONANT:                                              10         Q.     Mr. Montgomery, turn with me to page No. 4.
11      Q.      When I refer to technology, Mr. Montgomery,      11         A.     4 at the bottom or the fourth page?
12   I refer to the word in the broadest sense, but as           12         Q.     Page No. 4 at the bottom, meaning the
13   relevant here it'll refer primarily to software,            13   number 4 appears at the bottom the page.
14   computer software.                                          14         A.     Yeah. Okay.
15              MR. CROCKETT:   What else does it refer to,      15         Q.     I'm going to read line No. 1 here beginning
16   Counsel?                                                    16   with the sentence, "I have."         Please read along with
17              MR. CONANT:   I want Mr. Montgomery to           17   me:    "I have provided the," quote --
18   explain.                                                    18         A.     I'm not on the right page then.      You're
19              MR. CROCKETT:   Explain --                       19   talking 4 on the bottom?
20              MR. CONANT:   He's represent --                  20         Q.     Page 4 on the bottom.
21              MR. CROCKETT:   Excuse me, may I finish?         21         A.     What line number?
22              MR. CONANT:   No, let me finish.                 22         Q.     Line No. 1.
23              MR. CROCKETT:   You had finished the             23                MR. FLYNN:     You're there.
24   question.    You interrupted me, Mr. Conant.                24                THE WITNESS:     My line says, "The local."
25              MR. CONANT:   Thank you, Mr. Crockett.           25   ///

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1               MR. CROCKETT:    You're welcome and I'll          1   BY MR. CONANT:
2    continue to speak, if I may, because you're asking           2         Q.     I'm starting with the first full sentence.
3    him now to define what you mean by the use of the            3         A.     Oh, I'm sorry.     Okay.
4    word technology and I'll instruct him not to answer          4         Q.     "I have provided the 'output' from my
5    to the extent there's any question pending and ask           5   decoding programs without compensation to our
6    you to rephrase.                                             6   government in order to stop terrorist attacks and
7               MR. FLYNN:    That's your copy.   That's their    7   save American lives.
8    copy.    I'll make sure we've got the same one.              8                "My source codes for this decoding
9               MR. CONANT:    Is it --                           9   technology, which derives from my 'ODS' are what
10              MR. FLYNN:    Yeah, that's his.                  10   Trepp and several government officials were
11              MR. CONANT:   We have four of these.             11   attempting to steal from me when they raided my
12              MR. FLYNN:    That's yours, Mr. Crockett.        12   home."
13   That's yours, Carly.                                        13                Is that your statement, Mr. Montgomery?
14              MS. WELLS:    Thank you.                         14                MR. CROCKETT:     Document speaks for itself.
15              MR. CONANT:   Mr. Montgomery, I'm handing        15   BY MR. CONANT:
16   you what's going to be marked as Plaintiff's Exhibit        16         Q.     Mr. Montgomery, can you answer the
17   No. 3.                                                      17   question, please.
18              (Exhibit 3 was marked for identification.)       18         A.     What's the question?
19   BY MR. CONANT:                                              19         Q.     Is that your statement?
20      Q.      Mr. Montgomery, I've handed you what's           20         A.     It's written on that piece of paper.
21   going to be marked as Plaintiff's Exhibit No. 3.            21         Q.     Which you signed; is that correct,
22   The title of this document is Sealed Declaration of         22   Mr. Montgomery?
23   Dennis Montgomery in Support of his Oppositions to          23                MR. CROCKETT:     Counsel, this is really
24   DOD's and eTreppid's Motion for Protective Orders.          24   argumentative.      You know that this is a statement
25              Do you see that on the first page,               25   out of a declaration that he signed October 30th,

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                                                                                           14 (Pages 53 to 56)
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                         Dennis Lee Montgomery                    -      November 18, 2010
1    2006.                                                        1   out here.
2    BY MR. CONANT:                                               2               THE VIDEOGRAPHER:     Going off the record.
3        Q.     Mr. Montgomery, is that a truthful                3   The time is 10:13 a.m.
4    statement on your part?                                      4               (Break in the proceedings.)
5               MR. CROCKETT:    At what point in time,           5               THE VIDEOGRAPHER:     The time is 10:14 a.m.
6    Counsel?    The question is vague and ambiguous.             6   We're back on the record.
7    BY MR. CONANT:                                               7   BY MR. CONANT:
8        Q.     When you wrote it, Mr. Montgomery.                8       Q.      All right.     Mr. Montgomery, I wanted to
9               MR. CROCKETT:    That also assumes facts not      9   back up.     Before we went off the record, I wanted to
10   in evidence.                                                10   back up to my questioning pertaining to Exhibit
11              MR. CONANT:   I'm sorry, let me back up.         11   No. 3, which is the Sealed Declaration of Dennis
12      Q.      When you signed this document, was this a        12   Montgomery in Support of his Oppositions to DOD's
13   truthful statement on your part?                            13   and eTreppid's Motions for Protective Order, which
14      A.      I'm going to assert my right under the           14   is a declaration you signed under penalty of
15   Fifth Amendment.                                            15   perjury.
16      Q.      Mr. Montgomery, describe what this decoding      16               Turn with me to the page identified at the
17   program is and what you -- sorry.                           17   bottom as page No. 4 of this document.          And, just to
18              Describe what you mean on this line 1 by         18   clarify, the paragraph I'm reading from begins on
19   "decoding programs."                                        19   line 1, goes to line 4 to 5.
20      A.      I'm going to assert my right under the           20               MR. CROCKETT:     Actually, the paragraph
21   Fifth Amendment.                                            21   begins on line 25 of the preceding page, Counsel.
22      Q.      Mr. Montgomery, describe what you mean on        22               MR. CONANT:     I'm reading from line 1 of
23   line 2, starting with the first full sentence on            23   page 4 at the very beginning of the first full
24   line 2, quote, "My source codes."                           24   sentence.
25              Please describe to me what "my source            25               MR. FLYNN:     Read the entire --

                                                       Page 57                                                             Page 59

1    codes" refers to?                                            1   BY MR. CONANT:
2        A.     I'm going to assert my right under the            2       Q.      And please follow along, Mr. Montgomery.
3    Fifth Amendment.                                             3               "I have provided the 'output' from my
4        Q.     These, quote, unquote, "source codes," are        4   decoding programs without compensation to our
5    they not the same source codes that you identified           5   government in order to stop terrorist attacks and
6    on your bankruptcy schedules on -- and then turn             6   save American lives.        My source codes for this
7    back to -- we have Plaintiff's Exhibit 1, which is           7   decoding technology which derives from my 'ODS' are
8    the bankruptcy schedules.                                    8   what Trepp and several government officials were
9               MR. FLYNN:    Did you read the whole thing        9   attempting to steal from me when they raided my
10   into the record?                                            10   home.
11   BY MR. CONANT:                                              11               MR. FLYNN:     Did you ever create any source
12      Q.      All right.    Before you answer that             12   code that was used to stop terrorist attacks?
13   question, let me go back, Mr. Montgomery.                   13   BY MR. CONANT:
14      A.      Go back to what?                                 14       Q.      Mr. Montgomery, have you ever created any
15      Q.      We're going to go back to Plaintiff's            15   source code that was used to stop terrorist attacks?
16   Exhibit --                                                  16       A.      I'm going to assert my right under the
17              Stephanie, what Plaintiff's exhibit are we       17   Fifth Amendment.
18   on right now?                                               18               MR. FLYNN:     All right.
19              THE REPORTER:   3.                               19               MR. CONANT:     I'm going to keep going.
20              MR. CROCKETT:   Are we marking the               20       Q.      All right.     Mr. Montgomery, turn with me
21   declaration?                                                21   back to Plaintiff's Exhibit No. 2.
22              MR. CONANT:   Yeah, start marking these          22               All right.     We'll go look at Request for
23   things.                                                     23   Production No. 1 where you are requested to produce
24              Let me go -- can we go off the record here       24   the source codes.        I'm going to hand you what will
25   for a second so I can get the exhibits straightened         25   be marked as Plaintiff's Exhibit No. --

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                                                                                         15 (Pages 57 to 60)
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                        Dennis Lee Montgomery                   -      November 18, 2010
1             THE REPORTER:    -- 4.                            1   to take down every word that's said in this room,
2             MR. CONANT:    -- 4.                              2   Mr. Conant.
3             I got it.                                         3               THE REPORTER:     That I can hear.
4             All right.    Mr. Montgomery, I've handed you     4               MR. CROCKETT:     That you can hear.     Well --
5    what's marked as Plaintiff's Exhibit No. 4.     This is    5   BY MR. CONANT:
6    Dennis Montgomery's Responses to Plaintiff's               6       Q.      Mr. Montgomery, what is your evaluation --
7    Requests for Production of Documents, Set Two.             7               MR. CROCKETT:     Are you withdrawing the
8             (Exhibit 4 was marked for identification.)        8   prior question?
9    BY MR. CONANT:                                             9               MR. CONANT:     I'm continuing on with the
10      Q.    Turn with me to what's identified as page 3      10   deposition.
11   on the bottom of -- on the bottom of page 3,              11       Q.      Mr. Montgomery, what is your evaluation of
12   Response to -- I'm reading, "Response to Request for      12   these source codes that you refer to here in
13   Production No. 1."                                        13   Response to Request for Production No. 1?
14            Your response, Mr. Montgomery, if you read       14               MR. CROCKETT:     Well, the question lacks
15   with me beginning on line 20 says, "Subject to and        15   foundation.     It's vague.     It's ambiguous.     It may be
16   without waiving the foregoing objections, Defendant       16   compound.
17   responds as follows:    After diligent search and         17               Can you answer it as it's phrased or should
18   reasonable inquiry, the source codes are not in the       18   he rephrase it?
19   possession, custody or control of the Defendant.          19               THE WITNESS:    I don't understand what
20            "Defendant believes the source codes may be      20   you're asking me.
21   in the possession, custody or control of the              21   BY MR. CONANT:
22   United States Government."                                22       Q.      Mr. Montgomery, these source codes that are
23            Do you see that, Mr. Montgomery?                 23   referred to in these requests for production of
24      A.    Yes.                                             24   documents, these are included within the
25      Q.    Is that a truthful statement,                    25   intellectual property you identify in your

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1    Mr. Montgomery?                                            1   bankruptcy schedules, are they not?
2        A.   Well, there's several statements there.           2       A.      I don't understand that question.
3    Which one?                                                 3       Q.      The source codes --
4             MR. CROCKETT:    I'll object.    Compound.        4               MR. FLYNN:     Start here where he says --
5    BY MR. CONANT:                                             5               MR. CONANT:     All right.
6        Q.   The source codes are in the possession of         6       Q.      All right.     We're going to withdraw the
7    the government.                                            7   prior line of questioning.        We'll go back to Exhibit
8        A.   I turned 12 drives over to the Liner law          8   No. 3.
9    firm as part of the discovery order that was issued        9               MR. FLYNN:     Read it into record.
10   by Judge Cook.    I believe it was in June of '09.        10   BY MR. CONANT:
11            No, excuse me, May of '09.      May of '0- --    11       Q.      All right.     Mr. Montgomery, turn to page
12   yes, May of '09, prior to my bankruptcy filing.           12   No. 5 of this document.        I'm looking at the
13      Q.    Mr. Montgomery, is your testimony that           13   beginning of paragraph No. 8 or labeled as paragraph
14   these source codes, which you've identified as worth      14   No. 8.
15   $500 million, are no longer in your possession?           15               Do you see that, Mr. Montgomery, begins
16            MR. CROCKETT:   Sir, if you're referring to      16   with, "In September 2005"?
17   a document or a statement that he's made --               17       A.      I see the paragraph.
18            THE WITNESS:    I don't --                       18       Q.      Okay.   I'm going to read into the record
19            MR. CROCKETT:   -- I'll object.    Assumes       19   the first sentence of that paragraph.
20   facts not in evidence.   Lacks foundation.    Vague.      20               "In September 2005 Trepp told me that the
21   Ambiguous.   And if you'd read it back, I think it's      21   government had appropriated $100 million for the
22   confusing too, but let's read it back.                    22   coding technology but he was demanding
23            MR. FLYNN:    What is your --                    23   $500,000,000."
24            MR. CONANT:    As long as he's talking, she      24               Do you see that sentence, Mr. Montgomery?
25   can't read the question back, because she's required      25       A.      The quote by Trepp?

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                                                                                       16 (Pages 61 to 64)
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                        Dennis Lee Montgomery                      -         November 18, 2010
1               MR. CROCKETT:    It's a yes-or-no question.        1                MR. CROCKETT:      Yes, it does.
2    BY MR. CONANT:                                                2                MR. CONANT:      Are you testifying,
3        Q.     The whole sentence that I just read, the           3   Mr. Crockett, or is your client testifying?
4    whole first sentence of paragraph No. 8,                      4                MR. CROCKETT:      Is he asking questions or
5    Mr. Montgomery.                                               5   are you?
6        A.     I see it.                                          6                MR. CONANT:      It doesn't matter,
7        Q.     Was that a truthful statement when you made        7   Mr. Crockett.         It frankly doesn't matter.      I don't
8    that, Mr. Montgomery?                                         8   understand.
9               MR. CROCKETT:    So we're clear, are you           9                If you want to get into this whole --
10   asking is it truthful that Trepp told him that?              10                MR. FLYNN:      Just ignore him.
11              MR. CONANT:    I'm asking is the sentence         11                Do you have any source code technology in
12   true.                                                        12   your possession as described in your bankruptcy
13              MR. CROCKETT:   That in September 2005 Trepp      13   schedule.
14   told him the following information?                          14                MR. CONANT:      Let's take a -- we're going to
15              MR. CONANT:    Yes.                               15   take a brief recess and go off the record here.
16              THE WITNESS:    It's on the declaration.          16                THE VIDEOGRAPHER:      Going off the record.
17              MR. FLYNN:    Where is the decoding               17   The time is 10:23 a.m.
18   technology.                                                  18                (Recess taken.)
19   BY MR. CONANT:                                               19                THE VIDEOGRAPHER:      The time is 10:29 a.m.
20      Q.      Where is the decoding technology,                 20   We're back on the record.
21   Mr. Montgomery?                                              21                MR. FLYNN:      Truth always triumphs.
22      A.      Is this Mr. Flynn asking me or you?               22                THE WITNESS:      Ha ha, from you.
23      Q.      I'm asking you.    There's a question             23                MR. FLYNN:      Just depends on the body count
24   pending.                                                     24   to get there.
25              Where is the decoding technology that you         25   ///

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1    reference in the sentence that I just read?                   1   BY MR. CONANT:
2               MR. CROCKETT:    If you know.                      2         Q.     All right.      Mr. Montgomery --
3               THE WITNESS:    I don't recall.                    3                We're back on the record, Stephanie?
4               MR. FLYNN:    Do you have possession of it         4                Thank you.
5    now.                                                          5                Turn with me to Plaintiff's Exhibit No. 3,
6    BY MR. CONANT:                                                6   if you would, page No. 2 and, just to be clear,
7        Q.     Do you have possession of this technology          7   there's -- going forward on this deposition if
8    now, Mr. Montgomery?                                          8   there's a document with a page number at the bottom,
9        A.     What technology?                                   9   when I refer to the page number I'm referring to the
10      Q.      The decoding technology referenced in the         10   actual number identified at the bottom of the page.
11   sentence I just read.                                        11                Do you understand, Mr. Montgomery?
12      A.      That was used in what time frame?                 12         A.     Yes.     Yes.
13              MR. CROCKETT:   I'm going to object to the        13         Q.     Great.
14   entire line of questioning, because this is all              14                Look with me, page No. 2 right between
15   based on decoding technology as described by Warren          15   lines 18 and 19.
16   Trepp in this declaration and perhaps you should ask         16                MR. FLYNN:      20, read it.
17   Mr. Trepp what he meant and get that on the record           17   BY MR. CONANT:
18   so we can then have his --                                   18         Q.     I'm going to read here this paragraph that
19              MR. FLYNN:    That's false.   The decoding        19   starts, "Multiple software programs developed,
20   technology was referenced earlier by him.                    20   owned, possessed and used exclusively by me derived
21              MR. CROCKETT:   If he's Geppetto, what does       21   from my 'ODS' between 1984 and December 31, 2002,
22   that make you?                                               22   some of the source codes for which are direct
23              MR. FLYNN:    Statement.                          23   derivative of my copyrights and which, beginning in
24              MR. CONANT:    The document speaks for            24   November 2002, I began to adapt to military
25   itself.                                                      25   applications on behalf of the Department of Defense,

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1    the Navy, the Air Force and" redacted, "mostly                 1   BY MR. CONANT:
2    utilized in the war on terror between March 2003 and           2          Q.     Mr. Montgomery, is any part of that
3    the present."                                                  3   statement untrue which I just read into the record?
4                MR. FLYNN:    Is that a truthful statement?        4                 MR. CROCKETT:     Well, I'll object.
5    BY MR. CONANT:                                                 5                 THE WITNESS:     I don't know what's redacted.
6          Q.    Is that a truthful statement,                      6   Maybe if you tell me what's redacted I could tell
7    Mr. Montgomery?                                                7   you.
8                MR. CROCKETT:    I'm going to object to the        8   BY MR. CONANT:
9    question, because it's compound because there are              9          Q.     What I read, is there anything in here
10   multiple statements in there.                                 10   that's not true, Mr. Montgomery?
11               So are you asking him the entirety or you         11          A.     Is there anything in here that's not true?
12   want to break it down?                                        12                 MR. CROCKETT:     Are you asking as of today?
13               MR. FLYNN:    Any part.                           13   As of the date it was signed?          What?     It's vague as
14   BY MR. CONANT:                                                14   to time.       It's also compound and I object on that
15         Q.    Is there any part of what I just read             15   basis.
16   that's not true, Mr. Montgomery?                              16   BY MR. CONANT:
17         A.    Is there any part that's not true?                17          Q.     When Mr. Montgomery signed this under
18               Which -- is there any -- it's like a double       18   penalty of perjury --
19   negative you're asking me.                                    19          A.     You mean the document that Mr. Flynn wrote.
20               MR. CROCKETT:    Yeah.                            20                 MR. CROCKETT:     Just listen to the question.
21   BY MR. CONANT:                                                21   BY MR. CONANT:
22         Q.    Is there anything -- is there anything            22          Q.     Mr. Montgomery, when you signed that
23   that's not true in there, Mr. Montgomery?                     23   document under penalty of perjury, is there anything
24               You wrote that, I want to know --                 24   in that statement that is untrue?
25         A.    Actually, Mr. Flynn wrote it; I didn't.           25          A.     I'm not certain.

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1          Q.    You signed it.                                     1                 MR. FLYNN:     Just read the entire thing.
2          A.    Mr. Flynn wrote it.      Mr. Flynn wrote all of    2   BY MR. CONANT:
3    this.      Let's make it clear.                                3          Q.     All right.     Turn with me to page No. 4,
4          Q.    You signed it.                                     4   line 16, Mr. Montgomery, and we're again on
5          A.    Mr. Flynn wrote this.                              5   Plaintiff's Exhibit No. 3.
6                MR. FLYNN:    Just say is any part of it           6                 I'm going to start reading from the first
7    untrue.                                                        7   full paragraph of line 16, "No person at eTreppid is
8                THE WITNESS:    Mr. Flynn, you wrote it as my      8   able" --
9    attorney.     Did you or did you not write it?                 9          A.     Oh, wait, I'm sorry.     Page 4?
10               He's here.    Let's just --                       10          Q.     Correct.
11   BY MR. CONANT:                                                11          A.     I'm sorry, go ahead.
12         Q.    He's not --                                       12          Q.     "No person at eTreppid is able, to my
13         A.    But he has no problem asking questions,           13   knowledge, to create the source codes that I have
14   have him answer it.       Did you write this?   Did you       14   created having multiple applications in the war on
15   write this?                                                   15   terror and other military uses.
16               MR. FLYNN:    Next question.                      16                 "Conclusive proof on this issue is
17               THE WITNESS:    Yeah.                             17   established by the recent interception of the
18   BY MR. CONANT:                                                18   attempts by terrorists operating out of London to
19         Q.    This is a deposition of you,                      19   blow up jetliners originating in London and bound
20   Mr. Montgomery.     The questions are being asked of          20   for the U.S.
21   you, not of anybody else in here.                             21                 "I gave the appropriate authorities within
22               MR. FLYNN:    Is any part of that untrue --       22   the U.S. Government accurate and very specific
23               THE WITNESS:    Are you asking the question       23   intelligence regarding this terrorist plot from 'my
24   or your attorney?                                             24   decoding software,' as I had done in the past, weeks
25   ///                                                           25   prior to the arrest by the London authorities --

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1    without compensation."                                      1                MR. CROCKETT:     Which one should we listen
2               I'm going to continue on to paragraph 7.         2   to?
3    "Neither Warren Trepp nor eTreppid Technologies nor         3   BY MR. CONANT:
4    any person working there have ever owned, possessed         4         Q.     Mr. Montgomery, is any part of that
5    or processed 'output' from my source codes using the        5   statement untrue?
6    special government contracts.                               6                MR. CROCKETT:     Any part of what statement,
7               "Other eTreppid individuals, as well as          7   Counsel?
8    government officials identified herein, had access          8                THE WITNESS:     Which one?
9    to the output only after I had processed it."               9                MR. CONANT:     Again, Mr. Crockett --
10              Moving on to the following paragraph, "In       10                (Simultaneous colloquy.)
11   September 2005, Trepp told me that the government          11                THE REPORTER:     One at a time, please.
12   had appropriated $100 million for the 'decoding            12                MR. CONANT:     For the record, Mr. Montgomery
13   technology' but he was demanding $500 million."            13   and Mr. Crockett have felt it necessary to raise
14              MR. FLYNN:    Is any part of that untrue?       14   their voices during this exchange for whatever
15   BY MR. CONANT:                                             15   reason.
16         Q.   Mr. Montgomery, is any part of what I read,     16                Now there's a question pending here.       Was
17   from page 4 starting at line 16 and continuing on to       17   any of the statement, which I've identified as
18   page 5 ending on line 4 and a half, untrue?                18   beginning on page 4, line 16, continuing to page 5,
19              MR. CROCKETT:   I'll object to the question     19   line 4 and a half, is any of that untrue,
20   as assuming facts not in evidence.      It's also          20   Mr. Montgomery?
21   argumentative.                                             21                MR. CROCKETT:     The question is vague.    It's
22              You've taken statements out of context.         22   ambiguous.
23   You're taking partial statements from a declaration        23                MR. CONANT:     You've already objected.
24   he signed under penalty of perjury and you haven't         24   Thank you, Mr. Crockett.
25   established the appropriate foundation to do that.         25                MR. CROCKETT:     You've interrupted me again

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1               In addition to which the document that is        1   and the next time we'll adjourn the depo, if you
2    in front of him is redacted by someone other than us        2   like, and go take this to a judge.            I'd be glad to
3    and I believe, based on his prior testimony, he's           3   put this record in front of a judge and let the
4    not certain of the statements that have been                4   judge decide whether or not what you're doing here
5    redacted and therefore presents a difficult problem         5   is appropriate.
6    for him to try to answer the question as you phrased        6                MR. CONANT:     Very good.
7    it.                                                         7                MR. CROCKETT:     Now if you'd like to let me
8               You want to try to rephrase it?                  8   finish my objection, I will, and if you want to cut
9               MR. CONANT:    No.   Mr. Crockett, for the       9   me off, just say so.
10   record, none of what I just read was redacted from         10                MR. FLYNN:     Get an answer.
11   the document.                                              11   BY MR. CONANT:
12              No. 2, I'll remind you your client is           12         Q.     I want an answer.
13   testifying, not you.      You're coaching the witness      13         A.     Is he asking the question or are you?
14   and you're obstructing his testimony, for the              14                MR. CROCKETT:     Can you read the question
15   record.                                                    15   back that he's supposed to be answering, please.
16              MR. CROCKETT:   For the record, that's --       16                THE WITNESS:     Yeah.
17   you've made your statement.                                17                MR. CONANT:     I'll just read it again.
18              THE WITNESS:    I don't know.   What's the      18         Q.     Mr. Montgomery --
19   question?                                                  19         A.     Starting on what page?
20              MR. FLYNN:    Is any part of it untrue.         20                Starting on what page?        Bottom of page 4?
21              THE WITNESS:    Is he asking it or you?         21                MR. CROCKETT:     He said he's going to ask
22              MR. CROCKETT:   For the record, who's asking    22   the question again.
23   the questions, Counsel?                                    23   BY MR. CONANT:
24              THE WITNESS:    There's two people asking       24         Q.     Mr. Montgomery, is any part of your
25   questions.                                                 25   statements on page 4, beginning at line 16, and

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1    continuing to page 5, line 4 and a half, untrue?               1              What are those source codes that you have
2               MR. CROCKETT:    Sorry, the reference again?        2   created that you're referring to right there?
3    Page what to what?                                             3       A.     I don't recall specifically.
4               MR. CONANT:    We're looking, again, at             4       Q.     You don't recall what those source codes
5    Plaintiff's Exhibit No. 3.                                     5   are, Mr. Montgomery?
6               MR. CROCKETT:    I understand the exhibit.     I    6       A.     Be specific.
7    want to make sure I've got the right --                        7       Q.     Have you created source codes for use by
8               MR. CONANT:    For I think the sixth time now       8   the U.S. Government, Mr. Montgomery?
9    I'll identify the statement made by Mr. Montgomery             9       A.     Yes.
10   beginning on page 4, line 16, and going on to page            10       Q.     Can you describe the source codes that
11   5, line 4 and a half.                                         11   you've created for use by the U.S. Government?
12              THE WITNESS:    Well, the statement was made       12       A.     During what time frame?
13   by Mr. Flynn.    I signed the declaration.     This was       13              MR. FLYNN:     Any time.
14   written by Mr. Flynn.      We got it?                         14   BY MR. CONANT:
15              MR. CROCKETT:   Just --                            15       Q.     Any time frame.
16              THE WITNESS:    I don't recall.                    16       A.     I would have to violate the U.S. protective
17              MR. CROCKETT:   The sentence that starts at        17   order to do that.
18   page 4, line 16, and you want it ended at                     18       Q.     Mr. Montgomery, according to the U.S.
19   paragraph 8 on page 5 at line 7; is that right,               19   protective order, only the U.S. Government has the
20   Counsel?                                                      20   right to --
21              MR. CONANT:    It's on the record the lines        21       A.     Okay, I'm sorry.
22   that I want him to identify.                                  22       Q.     -- to invoke protection under the
23              THE WITNESS:    Yeah, I don't recall.              23   protective order.
24   BY MR. CONANT:                                                24       A.     But if I don't tell the Government I'm
25      Q.      You don't recall if it's true or not,              25   going to violate the protective order then I would

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1    Mr. Montgomery?                                                1   violate it, wouldn't I?
2               MR. CROCKETT:    That's argumentative.    Don't     2       Q.     I would want you to answer the question.
3    answer.                                                        3       A.     I just --
4    BY MR. CONANT:                                                 4       Q.     Continue with your answer.
5        Q.     Mr. Montgomery -- okay.      Let's narrow down      5       A.     I've answered it.
6    the details here.    Did you provide conclusive proof          6       Q.     Mr. Montgomery, for the record, the
7    that -- I'm sorry.    Let me back up.                          7   protective order --
8               Did you provide the U.S. Government with            8              MR. FLYNN:     Don't go there.
9    information -- with information concerning attempts            9              MR. CONANT:     All right.
10   by terrorists to blow up jetliners?                           10              MR. FLYNN:     Ask him if he gave --
11              MR. CROCKETT:   At any point in time?              11              MR. CONANT:     Let me --
12   BY MR. CONANT:                                                12              MR. FLYNN:     -- very specific intelligence
13      Q.      With respect to reference to the statement.        13   regarding decoding -- did he give that information.
14      A.      I don't recall if I did.                           14   Did he give that information.
15      Q.      The statement where it says, "No person at         15   BY MR. CONANT:
16   eTreppid is able, to my knowledge, to create the              16       Q.     Read with me, Mr. Montgomery, on page 4,
17   source codes that I have created," what are these             17   line 21, beginning with the first full sentence.
18   source codes that you have created, Mr. Montgomery?           18              MR. FLYNN:     This the Cheney office.
19              Can you please describe those.                     19   BY MR. CONANT:
20      A.      In regard to what?   ODS?                          20       Q.     "I gave the appropriate authorities within
21      Q.      Mr. Montgomery, I'm asking -- I'm reading          21   the U.S. Government accurate and very specific
22   beginning on page 4, line 16, first full sentence             22   intelligence regarding this terrorist plot from my
23   beginning on line 16, "No person at eTreppid is               23   decoding software, as I have done in the past, weeks
24   able, to my knowledge, to create the source codes             24   prior to the arrests by the London authorities --
25   that I have created."                                         25   without compensation."

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1             MR. FLYNN:    Did you do that.                    1                I'll object and instruct him not to answer.
2    BY MR. CONANT:                                             2                MR. FLYNN:     Did you give him a CD with the
3        Q.   Did you give -- did you give the U.S.             3   alleged terrorist plots.
4    Government this -- this very specific intelligence         4   BY MR. CONANT:
5    that you're referring to here?                             5         Q.     Did you give anyone in Dick Cheney's office
6        A.   I'm going to assert my right under the            6   a CD regarding alleged terrorist plots?
7    Fifth Amendment.                                           7                THE WITNESS:     I don't recall.
8        Q.   Isn't it true, Mr. Montgomery, that this,         8                MR. FLYNN:     Did you give it to Tim Blixseth
9    quote, unquote, "decoding software" that you               9   instead?      Did you give the CD to Tim Blixseth?
10   reference on line 22 is just a complete fraud?            10   BY MR. CONANT:
11            MR. CROCKETT:   Hold it.                         11         Q.     Did you give the CD to Tim Blixseth?
12            Go ahead.                                        12         A.     Is this Mr. Blixseth and you are both
13            THE WITNESS:    I'm going to assert my right     13   Mr. Blixseth's attorneys?         Is this a Blixseth
14   under the Fifth Amendment.                                14   question or a Flynn question?
15            I couldn't hear Mr. Flynn's question.            15         Q.     I'm asking the questions, Mr. Montgomery.
16            MR. CONANT:    That's fine.   I'll repeat it.    16         A.     Yeah.
17            THE WITNESS:    Okay.                            17                MR. CROCKETT:     Let's let him get it out on
18   BY MR. CONANT:                                            18   the record.
19      Q.    Beginning on line 21, going to line 24 and       19                Go ahead.
20   a half where you reference this very specific             20   BY MR. CONANT:
21   intelligence regarding the terrorist plot that you        21         Q.     Have you given any information about
22   got from your decoding software regarding these           22   terrorist plots to Tim Blixseth, Mr. Montgomery?
23   arrests in London, isn't that the same information        23                MR. CROCKETT:     At any point in time.
24   you and Edra Blixseth provided to a person within         24                THE WITNESS:     I don't recall.
25   Dick Cheney's office?                                     25   ///

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1             MR. CROCKETT:    I'll object to the question.     1   BY MR. CONANT:
2    It lacks foundation.    It assumes facts not in            2         Q.     You don't recall if you have or not?
3    evidence.   It may be argumentative, I'm not sure.   I     3         A.     That's correct.     That's my answer.
4    don't know enough about the question.                      4         Q.     So you've got -- I'm reading this
5             Can you answer it the way it's phrased?           5   declaration of yours, Mr. Montgomery --
6             THE WITNESS:    No.                               6         A.     The one that Mr. Flynn wrote.
7             I don't understand what you're asking me.         7         Q.     -- you're referencing all this source code.
8    BY MR. CONANT:                                             8                What is the source code all about?        Can you
9        Q.   Did you provide -- have you ever talked to        9   tell me about it?
10   anyone within Dick Cheney's office regarding --           10         A.     I don't recall specifically.
11   regarding your decoding software?                         11         Q.     You don't recall what all this source code
12      A.    I went to their office.    I don't recall        12   is about concerning terrorist attacks?
13   that specifically.                                        13                MR. CROCKETT:     Question is argumentative.
14      Q.    Can you explain to me what your visit to         14   I'll object.
15   Dick Cheney's office was about?                           15                THE WITNESS:     Ever?
16      A.    No.                                              16   BY MR. CONANT:
17      Q.    Why can you not explain it?                      17         Q.     Yes.
18      A.    I can't recall.                                  18         A.     Ever.   Violates the United States
19            MR. FLYNN:    Did you give him a CD.             19   protective order.
20   BY MR. CONANT:                                            20                MR. CONANT:     Ms. Wells, is there anything
21      Q.    You mean to tell me that you met with            21   in my question that would violate the U.S.
22   someone in the vice president's office and you can't      22   protective order?
23   recall what it was about, Mr. Montgomery?                 23                MS. WELLS:     Can you please read the
24            MR. CROCKETT:   Don't answer that question.      24   question to me.
25   It's argumentative.                                       25   ///

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1    BY MR. CONANT:                                               1         A.     Did it exist?
2        Q.    Mr. Montgomery, the source code --                 2         Q.     Does it exist?
3              MR. CROCKETT:      You're withdrawing the prior    3                MR. CROCKETT:      He's asking you as of today,
4    question?                                                    4   if you know.
5              MR. CONANT:    I'm rephrasing it.                  5                THE WITNESS:      To what time are you
6        Q.    Is there anything -- okay.     Let's back up       6   referring to?
7    here and stay with me, if you can, Mr. Montgomery.           7   BY MR. CONANT:
8        A.    I'll try.                                          8         Q.     Does it exist?
9        Q.    Okay.     There's lots of references in this       9                MR. CROCKETT:      That would be as of today;
10   declaration about your source code, isn't there?            10   correct, Counsel?
11      A.     You want me to read the whole thing?              11                MR. FLYNN:      As referenced in your
12             MR. CROCKETT:      Document speaks for itself.    12   schedules.
13   Next question.                                              13   BY MR. CONANT:
14   BY MR. CONANT:                                              14         Q.     Yes, today.
15      Q.     This is about the source code, isn't it,          15         A.     I don't recall.
16   Mr. Montgomery?                                             16         Q.     You don't recall --
17             MR. CROCKETT:      What's "this"?                 17         A.     You just asked me the question.         I answered
18             MR. CONANT:    The document I'm referring to.     18   it.
19   The document, Plaintiff's Exhibit 3.                        19         Q.     Did it ever exist, Mr. Montgomery?
20             MR. CROCKETT:      The document speaks for        20         A.     It could have.
21   itself and the question is argumentative as well.           21                MR. FLYNN:      Is it referenced --
22             Don't answer it.                                  22   BY MR. CONANT:
23             Ask another one, Counsel.                         23         Q.     Is this decoding software referenced in
24   BY MR. CONANT:                                              24   your bankruptcy schedule, Mr. Montgomery?
25      Q.     Mr. Montgomery, what is the source code           25         A.     Is the decoding -- I don't know.

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 1   that you refer to throughout this declaration?               1         Q.     What -- what intellectual property is
 2       A.      I would have to read it again.                   2   referenced in your bankruptcy schedules?
 3       Q.      I just want -- we've read what we already        3         A.     Which exhibit would that be Mr. --
 4   read.                                                        4         Q.     Let's go back to Exhibit No. 1.
 5       A.      You've read 10 lines out of 30 pages.            5         A.     Okay.
 6       Q.      Is there not -- have we not read                 6         Q.     I believe we're back to page 22-9.
 7   representations by you about software --                     7         A.     22-9.   Okay.
 8               MR. CROCKETT:    Who's raising their voice       8         Q.     All right.      Bottom paragraph that you read
 9   now, Counsel.                                                9   previously, "In addition, Dennis Montgomery is the
10   BY MR. CONANT:                                              10   holder of certain intellectual property rights."
11       Q.      Is there not --                                 11                What is that?      What are those intellectual
12               MR. FLYNN:   Decoding software.    Is there     12   property rights, Mr. Montgomery?
13   any decoding software.                                      13         A.     I have to ask a question, because I'm not
14   BY MR. CONANT:                                              14   certain of something.
15       Q.      Mr. Montgomery, let's look at line 22,          15                MR. CROCKETT:      Well, on that ground I'll
16   page 4.                                                     16   object to the question.          It's vague and ambiguous
17       A.      I'm there.                                      17   and assumes facts not in evidence and ask you to
18       Q.      All right.   Look at the phrase "decoding       18   rephrase.
19   software" in quotes.                                        19                MR. FLYNN:      What rights you're referring to
20       A.      I see it.                                       20   in your schedule.
21       Q.      Was there any such decoding software?           21                MR. CONANT:      Yeah.
22       A.      Ever?                                           22         Q.     Mr. Montgomery, describe all intellectual
23       Q.      Yes.                                            23   property rights that you're referring to here in
24       A.      Yes.                                            24   your bankruptcy schedule.
25       Q.      Does it exist?                                  25         A.     That's his question or yours?

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                                                                                           22 (Pages 85 to 88)
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                          Dennis Lee Montgomery                   -      November 18, 2010
1        Q.    It's a question to you, Mr. Montgomery.            1              THE WITNESS:     Okay.
2        A.    He's the one that said it.                         2              MR. FLYNN:     All right.    Terrorist regarding
3        Q.    Fine.                                              3   Al-Jazeera, ask him.       Ask him if he said -- ask him
4        A.    I'm just wondering how long you're going to        4   about the noise.
5    parrot what he keeps saying.                                 5   BY MR. CONANT:
6        Q.    As long as I need to.                              6       Q.     All right.     Mr. Montgomery -- well, let me
7        A.    I got it.                                          7   back up.
8              What -- okay.    So I'm sorry, again, what         8              I'll represent this is -- Plaintiff's
9    was -- ask it again, please.                                 9   Exhibit 5 is the Second Declaration of SA Michael A.
10      Q.     What is this intellectual property that you       10   West.    I understand SA to refer to Special Agent
11   reference here in your bankruptcy schedule?                 11   Michael West.      This was a document filed in Case
12      A.     Okay.   You're referring to the paragraph on      12   No. -06-263 [sic] in the United States District
13   the bottom of this document.       Is that what you're      13   Court for the District of Nevada, Docket No. 76-2.
14   referring to?                                               14              Mr. Montgomery, turn with me to page 2,
15      Q.     Correct.                                          15   paragraph 6, and read along.         "On August 10,
16      A.     Okay.   I would like to ask you a question,       16   2006" --
17   because I'm not certain of something.       So I don't      17       A.     No. 2, I'm sorry.
18   remember specifically that paragraph on the bottom          18              MR. CROCKETT:     Page 2, paragraph 6.
19   of the original document that I filed.        I'm not       19              THE WITNESS:     Okay.
20   saying it's not, but I'm not certain.                       20   BY MR. CONANT:
21      Q.     All right.                                        21       Q.     "On August 10, 2006, I received a telephone
22      A.     So if somebody has my original or whatever,       22   call from Special Agent Gabriel Gunderson of the
23   I'd like to see it.                                         23   Seattle FBI office who advised me that his office
24      Q.     What do you mean by --                            24   received information from Azimyth, a company located
25      A.     I mean I don't remember that specifically,        25   in Bellevue, Washington, which had discovered

                                                       Page 89                                                              Page 91

1    me putting this on there.       Okay.   That's what I'm      1   terrorist threat-related information.
2    saying.   I'm not saying it wasn't on there, I'm not         2              "Special Agent Gunderson related that
3    saying it wasn't put on there, but I don't remember          3   Michael Sandoval, chief executive officer of
4    specifically me putting that on there.                       4   Azimyth, had contacted a retired Central
5        Q.    All right.    Would it make sense -- I mean        5   Intelligence Agency former chief of station residing
6    do you have intellectual property, though, that is           6   in Washington and offered to provide the U.S.
7    subject to the National Security Act of 1947?                7   Government terrorist threat-related information.
8              MR. CROCKETT:    It's a yes-or-no question.        8              "Special Agent Gunderson further related
9              THE WITNESS:    I'm not certain.                   9   that Dennis L. Montgomery was the Azimyth employee
10             MR. FLYNN:    Mark this next exhibit.             10   who located the information.         Special Agent
11             MR. CONANT:    All right.                         11   Gunderson advised me in a subsequent conversation
12             MR. FLYNN:    Mark it.   Copy for                 12   that Mr. Montgomery had reported that he located
13   Mr. Crockett.                                               13   increased noise in recent Al-Jazeera video
14             MR. CONANT:    We're going to mark what's         14   transmissions."
15   going to be identified as Plaintiff's Exhibit No. 5,        15              Do you see that sentence?
16   which is the Second Declaration of SA Michael A.            16              MR. CROCKETT:     Which sentence?    There are
17   West.                                                       17   multiple sentences there.
18             (Exhibit 5 was marked for identification.)        18              MR. CONANT:     I'm sorry.
19             MR. CONANT:    Do you have a copy for me?         19       Q.     Did you read that paragraph,
20             MR. FLYNN:    Yeah.                               20   Mr. Montgomery?
21             Read this entire paragraph into the record.       21       A.     I listened when you read it.
22             MR. CONANT:    6?                                 22       Q.     Okay.    Is it true that you reported that
23             MR. FLYNN:    Yeah, read the entire paragraph     23   you located increased noise in recent Al-Jazeera
24   into the record.     Read it.                               24   video transmissions?
25             MR. CROCKETT:   Yeah, yeah, yeah.                 25       A.     You'd have to ask Mr. West.       He signed

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                          Dennis Lee Montgomery                   -      November 18, 2010
1    this; I didn't.                                              1          A.         I believe it said "noise," didn't it?
2        Q.     I'm asking you.                                   2   Noise.
3        A.     Well, I don't recall.                             3                     MR. CROCKETT:     I think this is a different
4        Q.     Have you ever reported to anyone in the           4   question.
5    United States Government about things you've heard           5   BY MR. CONANT:
6    or saw in Al-Jazeera video transmissions?                    6          Q.         My question, Mr. Montgomery.
7               MR. CROCKETT:    That's mischaracterizes          7          A.         I'm sorry.     I thought you were referring to
8    what's in this document.       It's also confusing.   It     8   paragraph 6 again.
9    also lacks foundation and it's not limited as to             9          Q.         My question, Mr. Montgomery.
10   time.                                                       10          A.         Okay.
11              With all those objections in place, do you       11                     MR. CONANT:     Can you read my question back
12   understand the question?                                    12   for Mr. Montgomery, Ms. Borthwick.
13              THE WITNESS:    You mean noise?   Is that what   13                     MR. FLYNN:     And then did he claim he was
14   you mean?    I'd have to take the -- it would violate       14   decrypting.
15   the U.S. protective order.                                  15                     THE WITNESS:     Can you please speak up.      I
16   BY MR. CONANT:                                              16   can't hear you, Mr. Flynn.              Speak up.
17      Q.      Mr. Montgomery --                                17                     THE REPORTER:     Question, "In the summer of
18              Ms. Wells --                                     18   2006 did you provide anybody with any information
19              MR. FLYNN:    No.                                19   regarding things you were hearing or learning from
20              MR. CONANT:    I withdraw the question.          20   Al-Jazeera video transmissions?"
21              MR. FLYNN:    Did you provide at any time        21                     THE WITNESS:     What's that, I didn't hear
22   after --                                                    22   you.        Oh.
23              THE WITNESS:    I can't hear him.   Can you      23                     MR. CONANT:     Ms. Borthwick's question.
24   speak up, please.                                           24                     THE WITNESS:     I'm sorry.
25              MR. CONANT:    I'll repeat the question.         25                     I can't recall.

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1               THE WITNESS:    Oh.                               1                     MR. FLYNN:     Did you ever decrypt al-Qaida
2               MR. FLYNN:    -- any information in the           2   from Al-Jazeera video.
3    summer of 2006 through this -- relating to                   3   BY MR. CONANT:
4    Al-Jazeera video transmissions.                              4          Q.         Have you ever represented to anyone that
5    BY MR. CONANT:                                               5   you could decrypt Al-Jazeera video transmissions?
6        Q.     In the summer of 2006, Mr. Montgomery --          6          A.         I don't know what the term "decrypt" means.
7        A.     I don't think that's what he just said.           7          Q.         Did you ever represent to anyone that there
8        Q.     Thank you.                                        8   were messages hidden in Al-Jazeera video
9               Mr. Montgomery, in the summer of 2006 did         9   transmissions?
10   you advise or contact Special Agent Gunderson               10          A.         What do you mean "messages"?
11   regarding any information you got from Al-Jazeera           11          Q.         The common use.
12   video transmissions?                                        12          A.         No, what's the common use?        I don't
13              MR. FLYNN:    Did he give it to Sandoval.        13   understand.
14              THE WITNESS:    Is that your question or his?    14          Q.         Messages, Mr. Montgomery.
15   I'm confused.      He just asked did I give it to           15                     MR. FLYNN:     Or recordings.
16   Sandoval and you asked me a question.        I'm confused   16                     THE WITNESS:     Is he asking the question or
17   as to who I'm supposed to be answering.                     17   are you?
18   BY MR. CONANT:                                              18   BY MR. CONANT:
19      Q.      My question, Mr. --                              19          Q.         Did you represent to anyone that you could
20      A.      Okay.   Well, now I forgot it because he         20   identify target coordinates being transmitted in
21   asked me one.                                               21   Al-Jazeera?
22      Q.      Have you provided -- in the summer of 2006       22          A.         That I, personally, could?        That me could?
23   did you provide anybody with any information                23   I don't recall.
24   regarding things you were hearing or learning from          24          Q.         All right.     Same question, did you ever
25   Al-Jazeera video transmissions?                             25   represent to anyone that software you had created

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                        Dennis Lee Montgomery                      -      November 18, 2010
1    could find hidden messages within Al-Jazeera video            1              THE REPORTER:     Question, "All right.     Same
2    transmissions?                                                2   question, did you ever represent to anyone that
3              MR. CROCKETT:    That's a different question.       3   software you had created could find hidden messages
4              THE WITNESS:    What do you mean "hidden"?          4   within Al-Jazeera video transmissions?"
5              MR. CROCKETT:    We were talking about target       5              MR. CROCKETT:     I'll object to the question
6    coordinates before.     We're back to messages?               6   on the grounds it assumes facts not in evidence,
7              MR. CONANT:    The question.   The question I       7   that it is vague and ambiguous as to the use of the
8    just asked.                                                   8   term "messages" in the context of the question.
9              MR. CROCKETT:    I'm just --                        9              In addition, it is not in the record and
10             MR. CONANT:    Mr. Crockett, you are               10   there's no evidence providing a foundation as to
11   interfering with Mr. Montgomery's testimony.                 11   what you mean by "Al-Jazeera broadcasts."
12             MR. CROCKETT:   No, I'm not.    I'm doing my       12   BY MR. CONANT:
13   job, Mr. Conant, and if you don't understand that            13       Q.     Can you answer the question?
14   I'm sorry.    I get to listen to your question, I get        14       A.     I'm confused.     No, I'm confused.
15   to object and I get to finish my objection.                  15   "Messages," I don't understand what you mean.
16             If you read the question back, please, I'll        16       Q.     What do you understand a message to be,
17   file my objections.                                          17   Mr. Montgomery?
18             THE WITNESS:    You want to -- I can't hear,       18       A.     You tell me.     I'm confused.
19   because you're talking too loud, Mr. Flynn.        Please    19       Q.     Do you understand the English language,
20   stop.   I can't hear what's going on.     You're             20   Mr. Montgomery?
21   interfering with my right -- ability to give an              21              MR. CROCKETT:     It's argumentative.
22   accurate deposition and to do a deposition.                  22              Don't answer.
23             Please stop doing what you're doing.       I       23              MR. CONANT:     I'm asking him a question.
24   don't like it.                                               24              THE WITNESS:    I can't hear him talk,
25             MR. CONANT:    Ms. Borthwick, can you --           25   Mr. Flynn, when you keep interrupting and going over

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1              MR. FLYNN:    We're going to get to the             1   his voice.     Please stop it.
2    truth, Mr. Montgomery.                                        2              MR. FLYNN:     The record speaks for itself.
3              THE WITNESS:    Unfortunately, your warped          3              THE WITNESS:     I know it does, but I can't
4    perception of the truth to benefit your client,               4   hear him when you keep talking to him.
5    Mr. Tim Blixseth, and violating my attorney-client            5              What's the question?
6    privileges to do it is outrageous.       That's what's        6              MR. FLYNN:     Decoding coordinates.
7    outrageous.                                                   7              THE WITNESS:     I can't hear, Mr. Flynn,
8              MR. CROCKETT:    May we have the question           8   when --
9    back please, Ms. Reporter.                                    9              Go ahead.
10             THE WITNESS:    You're a real piece of work.       10   BY MR. CONANT:
11             MR. CROCKETT:   Easy.                              11       Q.     Do you understand the English language,
12             MR. FLYNN:    Target coordinates.                  12   Mr. Montgomery?
13             THE WITNESS:    I can't -- speak up if you're      13       A.     Yes.
14   going to talk.                                               14       Q.     What do you understand the word "message"
15             I can't hear him.                                  15   to mean within the English language?
16             MR. CROCKETT:   Mr. Flynn, every time --           16       A.     It could mean anything.
17             And, Ms. Reporter, I would like you,               17              MR. CROCKETT:     As a noun or a verb?
18   please, to record as much of Mr. Flynn as you can            18   BY MR. CONANT:
19   hear.                                                        19       Q.     So you don't understand.
20             But, Mr. Flynn, every time you speak she           20       A.     It could mean anything.
21   has to stop and start taking down what you're                21       Q.     That's what I'm asking.
22   saying.   I'd asked for the question to be read back.        22       A.     I got a message in a bottle.      That could be
23   Can we have that happen, please.                             23   a message.     I got a message from my wife, a text
24             MR. CONANT:    Ms. Borthwick, can you read         24   message.     I got an email.     That could be a message.
25   back my most recent question to Mr. Montgomery.              25       Q.     Some form of communication then,

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                         Dennis Lee Montgomery                   -      November 18, 2010
1    Mr. Montgomery?                                             1   Mr. Montgomery?
2        A.   Some form of communi- -- it could be, yes.         2       A.     No.     Why don't you describe it?
3        Q.   That's what you understand a message to be?        3       Q.     I think you described it.
4        A.   No.   That's what you told me it meant.            4       A.     No, I just used the word.
5        Q.   I'm asking you:    Do you understand the word      5       Q.     Well, when you used the word -- let's look
6    "message" to mean some form of communication?               6   here.
7        A.   It could mean that, yes.                           7       A.     What document are we looking at?
8        Q.   Now have you ever told anyone that you had         8       Q.     Give me a second, please, Mr. Montgomery.
9    software that could decode messages within                  9              All right.     Let's look at page 4, line 19
10   Al-Jazeera video transmissions?                            10   and a half, of Plaintiff's Exhibit No. 3.
11      A.    I'd violate the U.S. protective order in          11       A.     Got it.
12   answering that.                                            12              Which page?
13            MR. CONANT:    For the record, Ms. Wells          13       Q.     Page 4.
14   raised no objection --                                     14       A.     Yeah.
15            THE WITNESS:    Okay.                             15              Okay.     Which line?
16            MR. CONANT:    -- to a violation --               16       Q.     Let's look at line 19 and a half.
17            THE WITNESS:    Okay.                             17       A.     Okay.
18            MR. CONANT:    -- with respect to the U.S.        18       Q.     Let's see -- one, two, three, four -- the
19   protective order.                                          19   fifth word over from the left margin I see the word
20      Q.    Mr. Montgomery, have you ever told                20   "terrorist."
21   anyone -- strike that.                                     21              Do you see that, Mr. Montgomery?
22            Have you ever told Edra Blixseth that you         22       A.     Yes.
23   had software that could decode target coordinates in       23       Q.     What do you understand the word "terrorist"
24   communicating with an Al-Jazeera broadcast?                24   to mean, Mr. Montgomery?
25      A.    I don't recall if I did or not.                   25              MR. CROCKETT:     In that sentence --

                                                     Page 101                                                            Page 103

1        Q.   Did you ever -- Mr. Montgomery, did you            1              THE WITNESS:     I'm confused.     What do you
2    ever tell Tim Blixseth that you had created software        2   mean?
3    that could decode target coordinates hidden within          3              MR. CROCKETT:     -- or are you speaking
4    Al-Jazeera transmissions?                                   4   generally?       I'll object to the question.     It lacks
5        A.   I don't recall I did or not.                       5   foundation.       It's vague and ambiguous.     It's not
6             Are you Tim Blixseth's attorney?                   6   clear what you're referring to.
7        Q.   Mr. Montgomery, I'm the one asking the             7   BY MR. CONANT:
8    questions.                                                  8       Q.     All right.     Mr. Montgomery, let's ask it
9        A.   I'm just curious.    I'd like to know.             9   both ways since we're confused.       Generally, what do
10      Q.    Well, I'm not going to answer that.               10   you understand the word "terrorist" to mean?
11      A.    Okay.                                             11       A.     A bad person.
12            I don't recall if I did or not.                   12       Q.     A bad person?
13      Q.    All right.    Mr. Montgomery, did you ever        13              Am I a terrorist, Mr. Montgomery?
14   tell Michael Sandoval that you had created software        14              MR. CROCKETT:     Are you asking him to answer
15   that could decode target coordinates hidden within         15   that?
16   Al-Jazeera transmissions?                                  16   BY MR. CONANT:
17      A.    That's different than the question you just       17       Q.     Yes.
18   asked me.                                                  18       A.     No.
19      Q.    That's okay.                                      19       Q.     Now let's look at -- well, let's look now
20      A.    I don't recall if I did or not.                   20   at line 19 and a half, page 4.
21      Q.    Did you ever create any software that could       21              MR. FLYNN:     Did you uncover terrorist --
22   detect terrorist communications?                           22              THE WITNESS:     I can't hear him, Mr. Flynn,
23      A.    I wouldn't know.    What do you mean              23   when he --
24   "terrorist communications"?                                24              MR. CROCKETT:     Be quiet so she can write
25      Q.    Do you know what a terrorist is,                  25   down what he said.

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                         Dennis Lee Montgomery                   -      November 18, 2010
1        Q.     Now, Mr. Montgomery, can you turn with me        1   you listed on your bankruptcy schedule?
2    to what's going to be marked on my copy as                  2       A.     I'm going to invoke my right under the
3    page 3-22 --                                                3   Fifth Amendment.
4               MR. FLYNN:   On the lower right-hand corner.     4       Q.     Okay.
5    BY MR. CONANT:                                              5              MR. FLYNN:    Did he get that money for the
6        Q.     -- on the lower right-hand corner.               6   use of -- that's listed in the bankruptcy schedule.
7        A.     Okay.                                            7   BY MR. CONANT:
8        Q.     Do you see -- I want to make sure we're on       8       Q.     Mr. Montgomery, did you receive this
9    the same page.     It appears we are.                       9   $12,500 for using the -- let me strike that.
10              Do you see this appears to be,                  10              Is this $12,500 that you received some form
11   Mr. Montgomery, images of checks written on a              11   of compensation for Demaratech using your
12   Demaratech, LLC, account?                                  12   intellectual property, Mr. Montgomery?
13              Do you see that, Mr. Montgomery?                13       A.     I'm going to invoke my right under the
14      A.      Yes.                                            14   Fifth Amendment.
15      Q.      Do you see up in the upper left-hand corner     15       Q.     All right.    I'm going to turn now to
16   Check No. 1520, Mr. Montgomery?                            16   page 3-29.
17      A.      Yes.                                            17              MR. FLYNN:    Did you say the date of that
18      Q.      It says, "Pay to the order of Dennis            18   last check?    Put the date on the record.
19   Montgomery."                                               19              MR. CONANT:    All right.   For the record,
20              Do you see that, Mr. Montgomery?                20   the date of the last check on page dash 3 -- 3-22
21      A.      Yes.                                            21   Check No. 1520 is dated March 3, 2010.
22      Q.      Is that you, Mr. Montgomery?                    22       Q.     Now if you turn with me, Mr. Montgomery, to
23      A.      I believe so.                                   23   page 3-29, if you look on the left-hand column
24      Q.      Do you see that it purports to be a check       24   there's a check, Check No. 5038.
25   made out to you in the amount of $12,500?                  25              Do you see that, Mr. Montgomery?

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1        A.     Yes.                                             1       A.     Yes.
2        Q.     Did you receive that $12,500 from                2       Q.     It's made out to Dennis Montgomery.
3    Demaratech?                                                 3              Is that you, Mr. Montgomery?
4        A.     I'm going to invoke my right under the           4       A.     I presume so.
5    Fifth Amendment.                                            5       Q.     It's made out in the amount of $12,500.
6        Q.     Mr. Montgomery, can you explain to me what       6              Do you see that?
7    you did at Demaratech, LLC?                                 7       A.     Yes.
8        A.     I'm going to invoke my right under the           8       Q.     Did you receive that $12,500?
9    Fifth Amendment.                                            9       A.     I'm going to invoke my right under the
10      Q.      When I deposed Mr. Burgyan, I asked him         10   Fifth Amendment.
11   about the source codes -- or intellectual property         11       Q.     What did you do with that $12,500?
12   listed on your bankruptcy schedules and I asked him        12       A.     I'm going to invoke my right under the
13   if Demaratech was using in its business any of that        13   Fifth Amendment.
14   intellectual property that you listed on your              14       Q.     Isn't that $12,500 money you received
15   bankruptcy schedules.                                      15   compensation for use by Demaratech of the
16              Now, he said no, but he said something          16   intellectual property you listed on your bankruptcy
17   curious.    He said that the -- it was derived.    The     17   schedule, Mr. Montgomery?
18   software that Demaratech was using was derived from        18       A.     I'm going to invoke my right under the
19   your intellectual property.                                19   Fifth Amendment.
20              Does that sound accurate to you,                20       Q.     Mr. Montgomery, are you aware of any
21   Mr. Montgomery?                                            21   efforts by anyone at Demaratech to sell software
22      A.      I'm going to invoke my right under the          22   technology to Israel?
23   Fifth Amendment.                                           23       A.     I'm going to invoke my right under the
24      Q.      In what way is the software that Demaratech     24   Fifth Amendment.
25   is using different than the intellectual property          25              MR. CONANT:    I'm going to introduce what's

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                        Dennis Lee Montgomery                   -      November 18, 2010
1    going to be marked as Plaintiff's Exhibit No. 9.           1   Birnbaum who is associated with the government of
2              (Exhibit 9 was marked for identification.)       2   Israel.
3              MR. CROCKETT:    Mr. Conant, we don't need to    3       A.      I'm sorry.    I didn't hear that.     That was
4    take a break, but the deponent would like some water       4   my mistake.     What did you say?
5    and there doesn't appear to be any more in the room.       5       Q.      Simply describing what this document is,
6              MR. CONANT:    There does not appear.            6   it's an email from Concerned Citizen to Michael
7              Ms. Wells, you're going to want a copy.          7   West, who is an FBI agent.
8              MR. FLYNN:    You're not getting mine,           8               Concerned Citizen -- the Concerned Citizen
9    Mr. Crockett.                                              9   email address is the email address of George
10             MR. CROCKETT:   Not asking for it.              10   Birnbaum.
11             Mr. Conant, we don't need to take a break,      11               MR. CROCKETT:     Do you know the source of
12   an adjournment, but the deponent would like to have       12   this document, counsel?
13   some water and there isn't any more in the room.          13               MR. CONANT:     I do.
14             MR. CONANT:    We can recess.                   14               MR. CROCKETT:     What is it?
15             MR. CROCKETT:   Then we'll take a break and     15               MR. CONANT:     I'm not going to -- I'm not
16   we're getting some water.                                 16   going to state.
17             THE REPORTER:   Mr. Montgomery, your --         17               MR. CROCKETT:     Then any question you ask is
18   your --                                                   18   going to lack foundation until you can explain where
19             THE WITNESS:    I'm sorry.                      19   you got this document, which appears to be an email
20             MR. CROCKETT:   Get some water and come on      20   to an FBI agent.
21   back.                                                     21               MR. CONANT:     We'll continue on.
22             MR. CONANT:    Go off the record.               22               MR. CROCKETT:     We will.
23             THE VIDEOGRAPHER:   Going off the record.       23   BY MR. CONANT:
24   The time is 11:43 a.m.                                    24       Q.      It says, "Dear Agent West, per my
25             (Break in the proceedings.)                     25   conversation with Tim Blixseth I'm forwarding to you

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1              THE VIDEOGRAPHER:    The time is 11:45 a.m.      1   a brief timeline of the events regarding my contact
2    We're back on the record.                                  2   with Dennis Montgomery and Demaratech.
3    BY MR. CONANT:                                             3               "It has been their desire from the first
4        Q.    All right.    Mr. Montgomery, I don't know if    4   contact to try and sell their technology to various
5    you've had a chance to review Plaintiff's Exhibit 8,       5   institutions within the Israeli government,
6    but, if you haven't --                                     6   including the Mossad and Army Intelligence."
7        A.    You mean 9.                                      7               Mr. Montgomery, is this statement in here
8        Q.    I'm sorry, is it Plaintiff's Exhibit 9 now?      8   regarding -- where it says Dennis Montgomery and
9              Do you know who George Birnbaum is?              9   Demaratech, it has been their desire from the first
10      A.     I don't recall the name specifically.           10   contact to try and sell their technology to various
11      Q.     Have you ever contacted -- have you ever        11   institutions of the Israeli government, including
12   been in contact with anyone associated with the           12   Mossad and Army Intelligence --
13   government of Israel to sell software?                    13               MR. CROCKETT:     I'm going to object to the
14      A.     I'm going to invoke my right under the          14   question and any other question relating to this
15   Fifth Amendment.                                          15   document.     It is -- the questions lack foundation.
16      Q.     Can you please review Plaintiff's Exhibit       16   It appears to be argumentative.
17   No. 9.                                                    17               This may well be a document that you
18      A.     I did.                                          18   fabricated for purposes of these depositions and
19      Q.     All right.    Now I'm going to read -- I'm      19   unless and until you can identify the source of the
20   going to represent that this, Plaintiff's Exhibit         20   document and provide some basis for us to understand
21   No. 9, is an email dated June 30, 2010, from an           21   that it's legitimate, you might as well go get a
22   email address from Concerned Citizen to Michael           22   book of fairy tales and ask him questions out of
23   West, who's an FBI agent.                                 23   those.
24             I'll represent that the Concerned Citizen       24               I'm going to instruct him not to answer.
25   email is from a gentleman by the name of George           25               MR. FLYNN:    I'll authenticate it.     It was

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     Case 1:23-mc-00073-CKK-MAU                      Document 1-7                 Filed 07/28/23            Page 737 of 1046
                        Dennis Lee Montgomery                      -         November 18, 2010
1    authentic communication between you and Edra                  1   Mr. Montgomery's counsel Steve Skirvin.
2    Blixseth?                                                     2                Why there appears to be three separate
3        A.     I don't recall.                                    3   copies of the same indictment, I don't know, but
4        Q.     You don't recall if you ever had this              4   this is the way I received it from Mr. Skirvin.
5    communication?                                                5         Q.     Mr. Montgomery, isn't it true you are under
6               MR. CROCKETT:    Asked and answered, Counsel.      6   indictment by the Clark County district attorney for
7               MR. CONANT:    All right.                          7   obtaining money under false pretenses?
8               THE WITNESS:    You just keep asking the same      8         A.     I'll going to assert my right under the
9    question until you get an answer you want.       I've         9   Fifth Amendment.
10   answered it three times.     I don't recall.                 10         Q.     All right.    Theft, Mr. -- are you under
11   BY MR. CONANT:                                               11   indictment by the Clark County DA for theft?
12      Q.      Why would Edra tell you, "With all going          12         A.     I'll assert my right under the Fifth
13   on, much of which you encouraged me to move forward          13   Amendment.
14   with, why are you doing this at this time?"                  14         Q.     Are you under indictment for drawing and
15              MR. CROCKETT:   Calls for speculation.     I'll   15   passing a check without sufficient funds in drawee
16   instruct him not to answer.                                  16   bank with intent to defraud?
17   BY MR. CONANT:                                               17         A.     I'm going to assert my right under the
18      Q.      I'm asking you:   You have a relationship         18   Fifth Amendment.
19   with Edra Blixseth, do you not, Mr. Montgomery?              19         Q.     Are you aware -- okay.       So we're aware of
20      A.      I know Edra Blixseth.                             20   this indictment against you, Mr. Montgomery.
21      Q.      Can you explain to me your prior business         21                Are you aware of any other criminal
22   relationship with Edra Blixseth?                             22   proceedings against you?
23      A.      No.                                               23         A.     I'll assert my right under the Fifth
24      Q.      Why can you not --                                24   Amendment.
25      A.      I'll take the Fifth.    I'll assert the right     25         Q.     Can you explain to me your current

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1    under the Fifth.                                              1   relationship with Edra Blixseth?
2        Q.     Mr. Montgomery, how does your relationship         2         A.     I'll assert my right under the Fifth
3    with Edra Blixseth implicate you in any criminal              3   Amendment.
4    proceeding?                                                   4                MR. CONANT:     Let's break for lunch.
5               MR. CROCKETT:    Don't answer that question.       5                THE VIDEOGRAPHER:       Going off the record.
6    BY MR. CONANT:                                                6   The time is 12:11 p.m.
7        Q.     Mr. Montgomery, you are under indictment by        7                (Luncheon recess.)
8    the Clark County D.A. for the state of Nevada, are            8                THE VIDEOGRAPHER:       The time is 1:17 p.m.
9    you not?                                                      9   We're back on the record.
10      A.      I'll assert my right under the Fifth              10                MR. CONANT:     All right.    Mr. Montgomery.
11   Amendment.                                                   11                Can we just -- do we need to swear him back
12              What, are you upset because I asserted my         12   in?
13   right?   I'm still going to assert it.                       13                THE REPORTER:     No.
14              MR. FLYNN:    C.J., let's break for lunch.        14   BY MR. CONANT:
15              MR. CONANT:    Want to break for lunch?    Let    15         Q.     Where do you currently reside,
16   me just finish this last one.                                16   Mr. Montgomery?
17              I'm going to hand Mr. Montgomery what's           17         A.     My address?
18   going to be marked as Plaintiff's Exhibit No. 11.            18         Q.     Yes.
19              (Exhibit 11 was marked for identification.)       19         A.     6 Toscana Way West, Rancho Mirage,
20              THE WITNESS:    Thank you.                        20   California.
21              MR. CONANT:    All right.    Plaintiff's          21         Q.     Where do you currently work?
22   Exhibit No. 11 is represented to be a Summons issued         22         A.     Out of my home.
23   by the District Court for Clark County, Nevada.         I    23         Q.     What do you do, currently?
24   will represent that I received this document in its          24         A.     I'm unemployed.
25   form, in the current -- in its current form from             25         Q.     Do you have any form of income right now,

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     Case 1:23-mc-00073-CKK-MAU                      Document 1-7                  Filed 07/28/23             Page 738 of 1046
                        Dennis Lee Montgomery                      -         November 18, 2010
1    Mr. Montgomery?                                               1   would have any reason to understand what this email
2        A.     No.                                                2   is about.        It calls for speculation.
3        Q.     All right.    All right.    Let's go back and      3                  If you can answer the question, go ahead.
4    talk about Mr. Birnbaum.                                      4                  THE WITNESS:     I don't recall.
5               Do you remember our discussion with                5   BY MR. CONANT:
6    Mr. Birnbaum, Mr. Montgomery?                                 6          Q.      You don't recall?
7        A.     Not really.                                        7          A.      I don't -- I don't understand this
8        Q.     Have you ever talked to George Birnbaum?           8   document.
9               MR. CROCKETT:    Asked and answered.               9          Q.      Do you know -- do you know why the Israeli
10   BY MR. CONANT:                                               10   government would be investigating you,
11      Q.     So your answer, Mr. Montgomery?                    11   Mr. Montgomery?
12      A.     Asked and answered.                                12                  MR. CROCKETT:     Are you representing that
13             MR. CONANT:     All right.   I'm going to          13   they are?
14   hand -- well, I'll hand it to the court reporter so          14                  THE WITNESS:     You are?
15   she can mark it Plaintiff's Exhibit --                       15                  MR. CONANT:     I'm asking a question if he
16             THE REPORTER:    12.                               16   knows.
17             MR. CONANT:     -- 12.                             17                  MR. CROCKETT:     If he knows why they would
18             (Exhibit 12 was marked for identification.)        18   be?
19             MR. CONANT:     Copy for you.                      19                  MR. CONANT:     Yeah.
20             MR. FLYNN:     Copy for --                         20                  MR. CROCKETT:     That would presume that they
21             MS. WELLS:     Is this ours to work with?          21   are.        Do you know that they are?       Are you
22             MR. FLYNN:     C.J., you got something to work     22   representing that they are?
23   with?                                                        23   BY MR. CONANT:
24             MR. CONANT:     I'll wing it.                      24          Q.      Do you know why the Israeli government
25             Find my copy here.                                 25   would be?

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1        Q.     Can you review that email, Mr. Montgomery?         1                  MR. CROCKETT:     Oh, Lord.    Calls for
2        A.     Yeah, I did.                                       2   speculation and it's argumentative.             I'll instruct
3        Q.     All right.    Did you read down at the bottom      3   you not to answer.
4    where -- I'll represent this is an email                      4                  THE WITNESS:     My attorney said not to
5    correspondence between Tim Blixseth and George                5   answer; I'm not going to answer.
6    Birnbaum dated, approximately, November -- well, let          6                  MR. CONANT:     Mr. Crockett, you're -- you
7    me pull up my copy here.                                      7   are, in effect, trying to replace your testimony for
8               All right.    Now at the bottom,                   8   Mr. Montgomery's testimony.
9    Mr. Montgomery, you'll see the email correspondence           9                  MR. CROCKETT:     Would you like to adjourn
10   begins down at the bottom dated November 11, 2010.           10   and we'll take this to the judge?             Would you like
11   Tim Blixseth writes to George Birnbaum, "George, he          11   to?     I'd be delighted to do that.
12   was indicted yesterday.     Best regards, Tim                12                  MR. CONANT:     I would like you to stop
13   Blixseth."    The subject in this email is                   13   obstructing --
14   "Montgomery."                                                14                  MR. CROCKETT:     I'm going to do what I think
15             George Birnbaum writes, "Happy days.        The    15   I need to do.        Counsel, if you don't like it, you're
16   guy is bad news.   I know the Israelis helped Feds           16   welcome to take it to the court.
17   here.    One of the reasons I had to go dark on the          17                  MR. CONANT:     You feel it appropriate to
18   issue.   All the best."                                      18   obstruct your client from answering.
19             Mr. Montgomery, do you have any reason --          19                  MR. CROCKETT:     Just like the last question
20   do you know why Mr. Birnbaum would be -- would you           20   that you asked, you are assuming things that aren't
21   have knowledge of your involvement with the Israeli          21   true and that you haven't any evidence of.
22   government?                                                  22                  Now if you'd like to ask a question, go
23             MR. CROCKETT:    I'll object to the question.      23   ahead.
24   There's no foundation for this document.       There is      24                  MR. CONANT:     Mr. Crockett, you understand
25   no factual basis that you've established that he             25   the difference between being in trial and asking a

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     Case 1:23-mc-00073-CKK-MAU                      Document 1-7               Filed 07/28/23             Page 739 of 1046
                        Dennis Lee Montgomery                    -         November 18, 2010
1    witness questions at trial versus asking a                  1         Q.     Have you ever discussed Ron Burkle with
2    witness --                                                  2   Edra Blixseth?
3              MR. CROCKETT:    Do you have a question for       3         A.     I just told you I don't who that person is.
4    the witness?                                                4         Q.     Have you ever heard the name Ron Burkle?
5              MR. CONANT:    I'm not done with my               5         A.     I don't -- I don't know.
6    statement.                                                  6                MR. CONANT:     All right.   I'm going to --
7              Do you understand the difference between          7   let's see.         I'm going to introduce Plaintiff's
8    examining a witness in trial and examining a witness        8   Exhibit No. --
9    at a deposition, Mr. Crockett?                              9                13?
10             MR. CROCKETT:   Counsel, I'm not to going to     10                THE REPORTER:     Yes.
11   dignify that with a response.     If you have a            11                (Exhibit 13 was marked for identification.)
12   question, you can ask it.                                  12                THE WITNESS:     Thanks.
13             MR. CONANT:    So you have -- you do not         13                THE REPORTER:     Welcome.
14   understand the difference, Mr. Crockett?                   14   BY MR. CONANT:
15             MR. CROCKETT:   I understand what I              15         Q.     All right.     Mr. Montgomery, I'm going to
16   understand.    You need to be asking questions of the      16   represent this is a copy of an email that we pulled
17   witness, not of me, Counsel.                               17   off of Jory Russell's computer.
18             MR. CONANT:    Great.                            18         A.     Okay.
19             MR. CROCKETT:   If you don't understand          19         Q.     Again, at the top you'll see a From
20   that, you must not have ever taken a deposition            20   LearG2@aol.com below that the To line
21   before.                                                    21   dennis@ncoder.net below that beginning of a
22   BY MR. CONANT:                                             22   sentence, "In a message dated 2/26/09
23      Q.     Okay.   Mr. Montgomery, have you ever had        23   dennis@ncoder.net writes, Joe L., facility
24   any contact with the Israeli government concerning         24   installation is scheduled for tomorrow.          He has
25   any form of software that you own?                         25   waited two months for it.         I just told him to cancel

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1        A.    I'm going to invoke my right under the            1   it and I'm going home.
2    Fifth Amendment.                                            2                "Brian is having a baby (scheduled
3        Q.    Are you aware of any federal investigation        3   C-section) tomorrow.         I was going to stay and work
4    of you concerning your attempts to sell software to         4   on the installation since it has taken two months to
5    the Israeli government?                                     5   get the right people here, but not now."
6        A.    I'm going to invoke my right under the            6                Do you see that, Mr. Montgomery?
7    Fifth Amendment.                                            7         A.     Yes.
8        Q.    Have you told anyone in the Israeli               8         Q.     Did you write that, Mr. Montgomery?
9    government in any form of words that you were having        9         A.     I don't recall.
10   your name cleared by the United States government?         10         Q.     Do you understand the context for that --
11      A.     I'm going to invoke my right under the           11   what I just read?
12   Fifth Amendment.                                           12         A.     Well, if the Brian is my son, that must
13      Q.     Mr. Montgomery, has Edra Blixseth made any       13   have been when his son was born, I guess.
14   effort to connect you to the Israeli government in         14         Q.     So who is the Joe L. that you're referring
15   an effort to sell your software?                           15   to?
16             MR. CROCKETT:   Calls for speculation.           16         A.     I don't recall writing this.      You just
17   Assumes facts not in evidence.    Lacks factual            17   asked me that.
18   predicate.                                                 18         Q.     Would it be Joe Libertore?
19             THE WITNESS:    I'm going to assert my right     19         A.     It could be.
20   under the Fifth Amendment.                                 20         Q.     What would "facility installation" refer
21   BY MR. CONANT:                                             21   to?
22      Q.     And has Ron Burkle had any involvement in        22                MR. CROCKETT:     Are you asking him to
23   you getting connected with the Israeli government in       23   speculate?
24   an attempt to sell your software to the government?        24                MR. CONANT:     I'm asking him to answer the
25      A.     I don't even know who that is.                   25   question, Mr. Crockett.

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                       Dennis Lee Montgomery                      -      November 18, 2010
1             THE WITNESS:     I don't recall.    You asked me    1   BY MR. CONANT:
2    if I wrote this, I said I don't recall.      You're          2          Q.     Okay.   Now -- so this is an email that you
3    referencing you got it off a hard drive, so I've             3   received from Edra Blixseth; is that correct?
4    answered it.                                                 4          A.     I don't know if I received it or not, but I
5    BY MR. CONANT:                                               5   see who sent it.
6        Q.   Is that not your email address,                     6          Q.     Do you -- okay.
7    dennis@ncoder.net?                                           7                 Now I want to read the first full paragraph
8        A.   Yeah.   Sure.    You asked me that, I said          8   of the text starting with the first full sentence
9    yes.                                                         9   from Edra, "We are going over numbers and ways to
10      Q.    And then below that paragraph I just               10   make this start paying for itself."
11   wrote -- I just read it says, "Why Dennis?"                 11          A.     Where is this at?
12      A.    You asked me if I recall this email.        I      12                 MR. CROCKETT:     What?
13   said I don't, so why that's on there I don't know.          13   BY MR. CONANT:
14      Q.    Do you recognize the "why Dennis" as being         14          Q.     First full paragraph of text in the email,
15   from Edra Blixseth?                                         15   second sentence.
16      A.    You mean those two words, "Why Dennis?"            16                 MR. CROCKETT:     First full paragraph starts,
17   Ever used in my life, ever, or only in this email?          17   "Dennis."
18      Q.    I'm asking the "Why Dennis," right here in         18                 THE WITNESS:    "Dennis, I wanted to write."
19   this email?                                                 19   BY MR. CONANT:
20      A.    I have no idea.                                    20          Q.     All right.     Correction, second full
21            MR. CONANT:     All right.   I'm going to          21   paragraph.
22   introduce what's going to be marked as Plaintiff's          22          A.     Okay.
23   Exhibit 14.                                                 23          Q.     "We are going over numbers and ways to make
24            (Exhibit 14 was marked for identification.)        24   this start paying for itself.           You, as always, are
25            MR. CONANT:     Actually -- yeah.                  25   the key to our success."

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1             I don't have a copy for them.                       1                 Now above that she says, "Dennis, I wanted
2             MR. FLYNN:    You're going to need this;            2   to write as I'm very excited about what might be
3    right?                                                       3   doors we can get open now and start monetizing
4             MR. CONANT:     Uh-huh.                             4   Blxware."
5        Q.   All right.    Have you had a chance to read         5                 Why would Edra say, "You are the key to our
6    this email, Mr. Montgomery?                                  6   success"?
7        A.   No.                                                 7                 MR. CROCKETT:     Your question by its nature
8             MR. FLYNN:    While he's reading it, let them       8   calls for speculation and is objectionable on that
9    read.                                                        9   basis.
10            (Witness reads.)                                   10                 I'll instruct you not to answer.
11            THE WITNESS:    Okay.                              11   BY MR. CONANT:
12   BY MR. CONANT:                                              12          Q.     Mr. Montgomery, answer the question,
13      Q.    All right.                                         13   please.
14            All right.    Do you recall -- this is an          14          A.     My attorney told me not to answer the
15   email that purports to be from LearG2@aol.com and           15   question.
16   you recognize that's Edra Blixseth's email?                 16          Q.     Mr. Montgomery, have you ever had any
17      A.    Yes.                                               17   conversation with Ms. Blixseth about you being the
18      Q.    And it's to dennis@ncoder.net.                     18   key to Blxware's success?
19            Do you see that, Mr. Montgomery?                   19          A.     I don't know.
20      A.    Yes.                                               20          Q.     Why would Edra Blixseth say such a thing to
21      Q.    And that's your email address, isn't it?           21   you?
22      A.    Yes.                                               22                 MR. CROCKETT:     Calls for speculation.
23      Q.    It's dated August 27, 2008?                        23   Lacks factual predicate and lacks foundation.
24            MR. CROCKETT:    Document speaks for itself.       24   BY MR. CONANT:
25            THE WITNESS:    Yes.                               25          Q.     Mr. Montgomery, please explain to me your

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                         Dennis Lee Montgomery                    -      November 18, 2010
1    Cardiac Network, Inc.                                        1   Fifth Amendment.
2               Do you see that, Mr. Montgomery?                  2       Q.     And isn't Josh Kennedy a funder of
3        A.     Yes.                                              3   Demaratech, LLC?
4        Q.     Do you know why Cardiac Network, Inc.,            4       A.     I'm going to assert my right under the
5    would be depositing $200,000 into Istvan Burgyan's           5   Fifth Amendment.
6    account?                                                     6       Q.     Wasn't -- didn't Josh Kennedy invest this
7        A.     I'm going to assert my right under the            7   money in Demaratech based on representations by you
8    Fifth Amendment.                                             8   that you had software that you could -- you could
9        Q.     Isn't it true that Demaratech was -- well,        9   sell to a government agency?
10   strike that.                                                10       A.     I'm going to assert my right under the
11              Isn't it true that Cardiac Network entered       11   Fifth Amendment.
12   into some arrangement with Istvan Burgyan in                12              He's very distracting talking on the phone
13   exchange for technology that you were -- you had            13   over there.
14   created?                                                    14              I guess it doesn't matter.
15      A.      I'm going to assert my right under the           15       Q.     All right.    Mr. Montgomery, can you turn to
16   Fifth Amendment.                                            16   Bates stamp No. 559.
17      Q.      Isn't that same technology the same              17       A.     Yeah, okay.
18   technology listed in your bankruptcy schedule,              18       Q.     I see a deposit dated 12/15 in the amount
19   Mr. Montgomery?                                             19   of -- I'm sorry, it's a withdrawal in the amount of
20      A.      I'm going to assert my right under the           20   a hundred thousand dollars.
21   Fifth Amendment.                                            21       A.     I see that.
22      Q.      Isn't it true that for a number of years         22       Q.     Do you see that?
23   you were funneling money to Mr. Burgyan to conceal          23       A.     Yes.
24   cash from your creditors, Mr. Burgyan -- I mean             24       Q.     And the -- the description appears to be
25   Mr. Montgomery?                                             25   David Z. Chesnoff.

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1        A.     I'm going to assert my right under the            1              Mr. Montgomery, who is David Chesnoff?
2    Fifth Amendment.                                             2       A.     I'm going to assert my right under the
3        Q.     Okay.   All right.   Let's -- let me go --        3   Fifth Amendment.
4    let's put that one away for now.     That's fine.            4       Q.     Isn't he your criminal defense counsel in
5               Let's go to -- I'm going to hand you              5   Clark County, Nevada?
6    Plaintiff's Exhibit 21.                                      6       A.     I'm going to assert my right under the
7               (Exhibit 21 was marked for identification.)       7   Fifth Amendment.
8    BY MR. CONANT:                                               8       Q.     Didn't he appear for you yesterday at your
9        Q.     All right.                                        9   arraignment, Mr. Montgomery?
10              All right.    Mr. Montgomery, if you look at     10       A.     I'm going to assert my right under the
11   Bates stamp No. 558 on Plaintiff's Exhibit 21 --            11   Fifth Amendment.
12      A.      558, okay.                                       12       Q.     Speaking of the arraignment yesterday in
13              MS. WELLS:    For the record, are these more     13   Clark County, what did the judge give you a two-week
14   bank records?                                               14   extension for?
15              MR. CONANT:   Yeah, for the record.              15       A.     I'm going to assert my right under the
16      Q.      -- I see a deposit 12/14 into Istvan             16   Fifth Amendment.
17   Burgyan's bank account in the amount of $130,000            17       Q.     Did he give you an extension to arrange
18   from Backhouse Fiduciary Services.                          18   some sort of financing to pay off the DA,
19              Do you know -- are you familiar with             19   Mr. Montgomery?
20   Backhouse Fiduciary Services, Mr. Montgomery?               20       A.     I'm going to assert my right under the
21      A.      I'm going to assert my right under the           21   Fifth Amendment.
22   Fifth Amendment.                                            22       Q.     Mr. Montgomery, you've paid the DA
23      Q.      Isn't Backhouse Fiduciary Services               23   $450,000 --
24   connected with Josh Kennedy?                                24              We've asked this question.    I'll move on.
25      A.      I'm going to assert my right under the           25              Now I'm looking back at this 12/15

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                          Dennis Lee Montgomery                  -      November 18, 2010
1    withdrawal from Istvan Burgyan's account to what            1       A.      I'm going to assert my right under the
2    appears to be David Chesnoff who is your criminal           2   Fifth Amendment.
3    counsel.                                                    3       Q.      Isn't it true that this $15,000 is really
4               Why would Istvan Burgyan pay a hundred           4   your money, Mr. Montgomery?
5    thousand dollars to your criminal counsel?                  5       A.      I'm going to assert my right under the
6        A.     I'm going to assert my right under the           6   Fifth Amendment.
7    Fifth Amendment.                                            7       Q.      Now you said a minute ago, Mr. Montgomery,
8        Q.     Isn't it true this is really your hundred        8   that one of your mortgage payments is to Aurora Loan
9    thousand dollars, Mr. Montgomery?                           9   Services.
10      A.      I'm going to assert my right under the          10       A.      That's correct.
11   Fifth Amendment.                                           11       Q.      Okay.    I see now, if you look down to
12              MR. CONANT:    All right.   Let's hand you      12   June 4 --
13   what we've marked as Plaintiff's Exhibit No. 22.           13       A.      I see.
14              (Exhibit 22 was marked for identification.)     14       Q.      -- you have a withdrawal in the amount of
15   BY MR. CONANT:                                             15   $8,104.40.
16      Q.      All right.    Mr. Montgomery, who do you --     16               Do you see that, Mr. Montgomery?
17   do you pay your mortgage, Mr. Montgomery?                  17       A.      Yes.
18      A.      Ever you mean?                                  18       Q.      That's to Aurora Loan Services,
19      Q.      Who do you have -- who do you currently         19   Mr. Montgomery?
20   have -- what banks do you currently have to pay            20       A.      Yes.
21   mortgage payments to, Mr. Montgomery?                      21       Q.      Isn't that a mortgage payment,
22      A.      Bank of America.                                22   Mr. Montgomery, for one of the mortgages that you
23      Q.      You just have one mortgage that you pay?        23   owe money to?
24      A.      No.    Aurora Home Loans, I don't know the      24               Or -- let me rephrase it.
25   name of the bank but --                                    25               This $8100 payment to Aurora Loan Services,

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1        Q.     You think it's Aurora Loan Services?             1   isn't that a payment for one of -- on a mortgage
2               THE REPORTER:    Sorry?                          2   payment that you're responsible for, Mr. Montgomery?
3               THE WITNESS:    Aurora.                          3       A.      I'm going to assert my right under the
4    BY MR. CONANT:                                              4   Fifth Amendment.
5        Q.     Aurora Loan, okay.                               5       Q.      It's really your -- so Mr. Burgyan is
6               I'm sorry, Mr. Montgomery, I didn't mean to      6   really paying -- strike that.
7    cut you off.                                                7               All right.    Let's hand you what we've
8               All right.    If you look at me [sic] with       8   marked as Plaintiff's Exhibit 23.
9    Bates stamp No. 944, there is a withdrawal in the           9               (Exhibit 23 was marked for identification.)
10   amount -- dated June 1, in the amount of $15,000.          10   BY MR. CONANT:
11              Do you see that, Mr. Montgomery?                11       Q.      All right.    If you look here at the
12      A.      Yes.                                            12   statement Bates stamp No. 934, again this is a
13      Q.      And the description is wire transfer out,       13   checking account of Istvan Burgyan.       Now all of
14   JMBM retainer, and then it says Joseph A.                  14   these -- Mr. Burgyan laid the foundation for all
15   Eisenberg -- or Gisenberg, PC.                             15   these statements in his exam -- or deposition.
16              Do you know who Joseph Gisenberg is,            16               Could you look at the -- do you see,
17   Mr. Montgomery?                                            17   Mr. Montgomery, a withdrawal in the amount of
18      A.      I'm going to assert my right under the          18   $30,000 dated August -- August 3?
19   Fifth Amendment.                                           19       A.      Yes.
20      Q.      Isn't he your counsel in your main              20       Q.      Now I see here that it's -- again in the
21   bankruptcy case, Mr. Montgomery?                           21   description we have another reference to David Z.
22      A.      I'm going to assert my right.                   22   Chesnoff and then, again, the last word in this
23      Q.      Why would Mr. Burgyan pay $15,000, a            23   description is Dennis.
24   $15,000 retainer, to your bankruptcy counsel,              24               What was that $30,000 paid for?
25   Mr. Montgomery?                                            25       A.      I'm going to assert my right under the

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                        Dennis Lee Montgomery                    -      November 18, 2010
1    Fifth Amendment.                                            1   cash with it, Mr. Montgomery?
2        Q.    Isn't it -- those were funds paid to your         2       A.      I'm going to assert my right under the
3    criminal counsel, are they not, Mr. Montgomery?             3   Fifth Amendment.
4        A.    I'm going to assert my right under the            4       Q.      What did you do with the cash that you got
5    Fifth Amendment.                                            5   from the casino, Mr. Montgomery?
6        Q.    Isn't that, in fact, your money,                  6       A.      I'm going to assert my right under the
7    Mr. Montgomery, that's going to Mr. Chesnoff?               7   Fifth Amendment.
8        A.    I'm going to assert my right under the            8       Q.      Do you still have this $50,000 in cash,
9    Fifth Amendment.                                            9   Mr. Montgomery?
10             We need to stop.    I need to go to the rest     10       A.      I'm going to assert my right under the
11   room.                                                      11   Fifth Amendment.
12             MR. CONANT:   Okay.                              12               MR. CONANT:    All right.    I'm going to hand
13             THE VIDEOGRAPHER:     This marks the end of      13   you what we've marked as Plaintiff's Exhibit 25.
14   Media No. 3.   The time is 4:19 p.m.    We're off the      14               (Exhibit 25 was marked for identification.)
15   record.                                                    15               THE WITNESS:    That's it.
16             (Recess taken.)                                  16               MR. CONANT:    Sorry.
17             THE VIDEOGRAPHER:     This marks the beginning   17   BY MR. CONANT:
18   of Media No. 4.    The time is 4:23 p.m.   We're back      18       Q.      Mr. Montgomery, can you tell me what -- can
19   on the record.                                             19   you tell me what casinos you've gambled at since
20             MR. CONANT:   All right.   Mr. Montgomery,       20   2006?
21   I'm going to hand you what'll be marked as                 21       A.      I'm going to assert my right under the
22   Plaintiff's Exhibit 24.                                    22   Fifth Amendment.
23             (Exhibit 24 was marked for identification.)      23       Q.      Between 2006 -- within the year 2006, can
24   BY MR. CONANT:                                             24   you tell me how much money you've won gambling or
25      Q.     All right.    Mr. Montgomery, take a second      25   how much you money you've lost gambling?

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1    to review this document.                                    1       A.      I'm going to assert my right under the
2        A.    Okay.                                             2   Fifth Amendment.
3        Q.    I'm going to represent that this is a --          3       Q.      I'll ask you the same question for 2007.
4    this is a document we got from a casino in relation         4   Can you tell me how much money you won gambling or
5    to a subpoena.                                              5   lost gambling?
6              Does this -- did you -- is this your              6       A.      I'm going to assert my right under the
7    cashier's check, Mr. Montgomery, that you -- I'm            7   Fifth Amendment.
8    sorry.    Let me back up.                                   8       Q.      I'm asking for net.      When I'm asking how
9              Is this one of the cashier's checks that          9   much you won, how much you lost, I'm asking net for
10   you got from Wells Fargo Bank on April 25, 2006?           10   the year.
11      A.     I'm going to assert my right under the           11       A.      I'm going to assert my right under the
12   Fifth Amendment.                                           12   Fifth Amendment.
13      Q.     What did you do with this -- did you bring       13       Q.      Isn't it true that -- well, let me back up.
14   this cashier's check and cash it with -- I shouldn't       14               For the year 2008 can you tell me how much
15   say "cash it."    Let me strike that.                      15   you won gambling or how much you lost gambling?
16             Did you submit this cashier's check to           16       A.      I'm going to assert my right under the
17   Caesar's Casino?                                           17   Fifth Amendment.
18      A.     I'm going to assert my right under the           18       Q.      Same question for 2009.
19   Fifth Amendment.                                           19       A.      Same answer.
20      Q.     What did you do -- what was the purpose of       20       Q.      Isn't it true that for the years 2008
21   giving Caesar's Casino this $50,000 cashier's check?       21   through 2009 you've won more money gambling than
22      A.     I'm going to assert my right under the           22   lost?
23   Fifth Amendment.                                           23       A.      I'm going to assert my right under the
24      Q.     Didn't you take this money out,                  24   Fifth Amendment.
25   Mr. Mont- -- take this check to the casino and get         25       Q.      Approximately how much money have you

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                        Dennis Lee Montgomery                  -      November 18, 2010
1    borrowed in one form or another, Mr. Montgomery,          1   you --
2    from casinos --                                           2       A.     25.
3        A.   I'm going to assert my right under the           3       Q.     On 25.
4    Fifth Amendment.                                          4              Can you flip with me to -- it's going to be
5        Q.   Let me finish the question.                      5   the -- one, two, three, four, five, six, seven --
6             Between the years 2006, 2009, how much           6   the eighth page from the back.
7    money have you borrowed from casinos,                     7       A.     What's the top say?
8    Mr. Montgomery?                                           8       Q.     Well, MontBleu Resort.
9        A.   I'm going to assert my right under the           9       A.     How about memo ID, which number is it?
10   Fifth Amendment.                                         10       Q.     Memo ID 30936.
11            MR. FLYNN:   When he was getting those          11       A.     Okay.     I see it.
12   millions of dollars of cash from Edra Blixseth, was      12       Q.     All right.     On the right-hand column it
13   he putting second mortgages on his homes.                13   says, "Memo Title:       Customer robbed.     Memo Text:
14   BY MR. CONANT:                                           14   4/6/6," I assume 4/6/2006, April 6, 2006, "Customer
15      Q.    Mr. Montgomery, we just reviewed all your       15   visit today, he was robbed of $300,000 down in Reno.
16   bank statements where you received a large amount of     16   Was not hurt.       Brought in $100K cashier's check to
17   money from Edra Blixseth's entities.                     17   take care of half his outstanding markers.          Says he
18            During that time period, were you taking        18   will pay the remainder within" seven -- I'm sorry,
19   out second mortgages on real estate?                     19   "within three weeks.nan          Tickled remaining" hundred
20      A.    I'm going to invoke my right under the          20   thousand to 5/7/06 [sic].
21   Fifth Amendment.                                         21              I'll represent to you these are documents
22      Q.    What did you do with all the cash you took      22   that we received in connection with subpoenas we
23   out on these mortgages on your real estate?              23   served on the MontBleu Resort.
24      A.    I'm going to invoke my right under the          24              Is that true, Mr. Montgomery?        Did you tell
25   Fifth Amendment.                                         25   a casino that you were robbed of $300,000 in Reno?

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1        Q.   All right.    Did you put second mortgages on    1       A.     Assert my right under the Fifth Amendment.
2    each piece of real estate that you owned during this      2              MR. FLYNN:     Here's how he did it, by making
3    time period?                                              3   it look like --
4        A.   I'm going to invoke my right under the           4   BY MR. CONANT:
5    Fifth Amendment.                                          5       Q.     How much money -- well, let's go back to --
6        Q.   All right.    Mr. Montgomery, do you not want    6   how much money, approximately, were you borrowing?
7    to file your tax returns for '08 and '09 because you      7              Let me back up.        Do you understand what a
8    don't want to report your wins from gambling?             8   marker is in casino parlance?
9        A.   I'm going to assert my right under the           9       A.     I'm going to assert my right under the
10   Fifth Amendment.                                         10   Fifth Amendment.
11      Q.    All right.   Let me see here.                   11       Q.     Isn't a marker kind of like a note that the
12            Have you ever reported to a casino that you     12   casino advances you money in some manner and you,
13   were robbed of a large amount of money,                  13   essentially, have to pay it back?
14   Mr. Montgomery?                                          14       A.     I'm going to assert my right under the
15      A.    I'm going to assert my right under the          15   Fifth Amendment.
16   Fifth Amendment.                                         16       Q.     So weren't you taking out markers to
17      Q.    Okay.    Were you, in fact, robbed of any       17   gamble, you'd win, but then not pay back the marker?
18   money at any time, Mr. Montgomery?                       18       A.     I'm sorry.     Are you done?
19      A.    I'm sorry.                                      19       Q.     I'm done.
20            Are you done?                                   20       A.     I'm going to assert my right under the
21      Q.    I'm trying to find it.   It's in here.   I'm    21   Fifth Amendment.
22   just trying to find the exact reference to it,           22       Q.     Now I notice that this memo text, 4/6/2006,
23   because there's an interesting -- yeah.   I just want    23   this is the same day that you were receiving, I
24   to find it.                                              24   think, based on your records, over a million dollars
25            All right.   Mr. Montgomery, on -- are          25   from Opspring; is it not, Mr. Montgomery?

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                        Dennis Lee Montgomery                    -      November 18, 2010
1               THE WITNESS:    I despise that he keeps          1   credit, Mr. Montgomery, during this time period?
2    looking at the government and smiling and winking.          2       A.     I'm going to assert my right under the
3    It's just annoying.                                         3   Fifth Amendment.
4               MR. CROCKETT:    Almost done.   Almost done.     4       Q.     How much cash -- what is a -- what is a --
5               THE WITNESS:    I'm going to assert my right     5   what is a casino -- how does a casino operate with
6    under the Fifth Amendment.                                  6   respect to how much money they're willing to extend
7    BY MR. CONANT:                                              7   to you on credit?
8        Q.     So you were robbed -- you were purportedly       8              MR. CROCKETT:     Calls for speculation.
9    robbed of $300,000, but at the same time it appears         9   BY MR. CONANT:
10   that you still had outstanding markers owed to the         10       Q.     In your experience with the casinos,
11   casinos.                                                   11   Mr. Montgomery, how do you get -- how did you
12              In fact, this memo says brought in -- you       12   establish a line of credit with all these casinos,
13   brought in a hundred K cashier's check to take care        13   Mr. Montgomery?
14   of his -- "to take care of half his outstanding            14       A.     I'm going to assert my right under the
15   markers."                                                  15   Fifth Amendment.
16              So you had roughly $200,000 in outstanding      16              MR. CONANT:     All right.
17   markers and you paid down a hundred thousand dollars       17              All right.    Just got to get through some of
18   of those, but the very same day you're being paid          18   these.    The amount, the volume, of documents here
19   over a million dollars from -- you receive over a          19   you see from casinos is -- one point just absolutely
20   million dollars from Edra's entities.                      20   overwhelming, so we've had to get through some of
21              So the question is why didn't you just pay      21   this.
22   off all your markers with all the money you were           22              All right.    Mr. Montgomery, I'm going to
23   receiving from Edra's entities?                            23   hand you what will be marked as Plaintiff's Exhibit
24      A.      I'm going to assert my right under the          24   No. 26.
25   Fifth Amendment.                                           25              Are we at 26?

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1               MR. FLYNN:   He's hired an accountant to go      1              THE REPORTER:     Yes.
2    through all of his records to determine what his            2              (Exhibit 26 was marked for identification.)
3    wins and losses were at the casinos.                        3              MR. CONANT:     All right.    I'll represent
4    BY MR. CONANT:                                              4   these are documents we have received in response to
5        Q.     Now, Mr. Montgomery, you said you haven't        5   subpoenas.
6    yet filed your tax returns for '08 or '09.      Have you    6              MR. CROCKETT:     When were these subpoenas
7    hired an accountant to help you determine your wins         7   served, counsel?
8    and your losses from the various casinos?                   8              MR. CONANT:     When?
9        A.     I assert my right under the Fifth                9              MR. CROCKETT:     Yes.
10   Amendment.                                                 10              MR. CONANT:     I don't recall.    You received
11      Q.      What I mean hired an accountant, I mean         11   notice of service.
12   hired an accountant to help you prepare your tax           12              MR. CROCKETT:     I don't believe we did.
13   returns?                                                   13              MR. CONANT:     Your firm received notice of
14      A.      I'm going to going to assert my right under     14   service of the subpoenas.
15   the Fifth Amendment.                                       15              MS. WELLS:    Can you identify for the record
16      Q.      All right.   Now, Mr. Montgomery, if you        16   what these documents are, please.
17   flip to the next page here, September 1, '06, Memo         17              MR. CONANT:     Yeah.    These are letters
18   ID 42710, "Memo Text:      Customer requests increase to   18   written to Dennis Montgomery from Caesar's Tahoe
19   300k, denied at this point.     Keep at 200k per Mike      19   asking for his win/loss records.
20   Jones."                                                    20       Q.     Mr. Montgomery, I see here on the first
21              Who's Mike -- do you know who Mike Jones is     21   page below -- the first page, "Dear Dennis, below is
22   that they're referring to here?                            22   your estimated win and/or loss information per your
23      A.      I'm going to assert my right under the          23   request for the period September 2005 through
24   Fifth Amendment.                                           24   December 31, '05," and then it appears that your
25      Q.      Were you asking casinos for extensions of       25   total win/loss is $83,400.

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                        Dennis Lee Montgomery                  -      November 18, 2010
1             Do you recall why you requested this             1   Fifth Amendment.
2    information from the casino, Mr. Montgomery?              2       Q.     All right.     And then last page,
3        A.   I'm going to assert my right under the           3   January '07 through December 31, '07, this document
4    Fifth Amendment.                                          4   purports to show that you lost 36,800.
5        Q.   Did you report this $83,000 win on your          5              Is that accurate, Mr. Montgomery?
6    2005 tax returns -- or your tax year 2005 tax             6       A.     I'm going to assert my right under the
7    returns, Mr. Montgomery?                                  7   Fifth Amendment.
8             MR. CROCKETT:    Sorry, Counsel, all three of    8       Q.     Did you report that loss on any of your tax
9    these letters are dated September 16th and yet they       9   returns?
10   deal with years 2005, '-6 and '-7 and this is the        10       A.     I'm going to assert my right under the
11   way they were produced to me.                            11   Fifth Amendment.
12            MR. CONANT:   This is the way they were         12       Q.     All right.     Moving on.
13   produced to me.    I haven't altered these documents     13              MR. FLYNN:     Does he have an estimate of how
14   in any way.                                              14   much he lost, how much he lost gambling --
15      Q.    Mr. Montgomery?                                 15   BY MR. CONANT:
16      A.    I'm sorry, rephrase the question.               16       Q.     Mr. -- Mr. Montgomery, do you have an
17            MR. CROCKETT:    I'm sorry, read the question   17   estimate of the net amount of money you've lost
18   back, please.                                            18   gambling between April '06 and March of 2009?
19   BY MR. CONANT:                                           19       A.     I'm going to assert my right under the
20      Q.    Did you report this $83,400 win on your tax     20   Fifth Amendment.
21   year 2005 tax returns?                                   21              MR. FLYNN:     Same thing on wins.
22      A.    I don't recall.   I don't recall.               22   BY MR. CONANT:
23      Q.    Mr. Montgomery, isn't it true that part of      23       Q.     Same question with respect to how much
24   your entire scheme was to horde away a bunch of cash     24   you've won, net, between April '06 and March of
25   and then file bankruptcy and claim that you lost all     25   2009?

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1    your money gambling, Mr. Montgomery?                      1       A.     Same answer.
2        A.   Assert my right under the Fifth Amendment.       2              MR. CONANT:     All right.
3        Q.   All right.    Mr. Montgomery, I'm looking at     3              All right.     Okay.    Mr. Montgomery, I'm
4    the second page of this exhibit here, "Dear Dennis,       4   going to hand you what's going to be marked as
5    below is your estimated win and/or loss information       5   Plaintiff's Exhibit 27, I believe.
6    per your request for the period January 2006 through      6              (Exhibit 27 was marked for identification.)
7    December 31, 2006," and then it shows a loss of           7              THE WITNESS:     Thank you.
8    $132,600.                                                 8              MR. CONANT:     I don't have an extra copy.
9             Mr. Montgomery, do you recall why you            9              All right.     I'll represent this is a
10   requested your win/loss record for this -- for the       10   printout from -- in response to a subpoena I served
11   MontBleu Resort?                                         11   on -- unfortunately which casino is not obvious, but
12      A.    I'm going to assert my right under the          12   I can find the copy here.
13   Fifth Amendment.                                         13              Yes, Peppermill.       This is in response to a
14      Q.    Did you report that $132,000 loss on your       14   subpoena I served on the Peppermill Resort -- or
15   taxes, Mr. Montgomery?                                   15   Casino, I should say.
16      A.    I'm going to assert my right.                   16       Q.     Now, Mr. Montgomery, I see here that on
17      Q.    Did you really lose $132,600,                   17   August 6, 2010, first entry here, says amount
18   Mr. Montgomery?                                          18   $5,000, that they received a payment from you in the
19      A.    I'm going to assert my right under the          19   amount of $5,000.
20   Fifth Amendment.                                         20              Do you recall making a payment to any
21      Q.    Does that include money that was borrowed?      21   casino in the amount of $5,000 on or about August 6,
22   Does the $132,000 included in this lawsuit, does         22   2010?
23   that include money that was borrowed by you from the     23       A.     I assert my right under the Fifth
24   resort, Mr. Montgomery?                                  24   Amendment.
25      A.    I'm going to assert my right under the          25       Q.     And I see here for July 16 another payment

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                        Dennis Lee Montgomery                 -      November 18, 2010
1    in the amount of $5,000.                                 1               MS. WELLS:    Do you mind identifying this
2             Do you see that, Mr. Montgomery?                2   for the record, please.
3        A.   I see it.                                       3               MR. CONANT:     You'll probably want a copy of
4        Q.   Okay.    Do you recall making that payment,     4   this.     It's a -- this is another document that we
5    Mr. Montgomery?                                          5   received in response to a subpoena -- sorry.
6        A.   I assert my right under the Fifth               6               This one was on, I believe, again, the
7    Amendment.                                               7   Peppermill Resort.
8        Q.   What are -- the source of the funds for         8       Q.      All right, Mr. Montgomery looking at a page
9    that payment, Mr. Montgomery?                            9   that --
10      A.    I assert my right under the Fifth              10       A.      Well, just tell me which one.
11   Amendment.                                              11       Q.      I'm trying to see how they identify this
12      Q.    Is this -- is this payment here part of an     12   here.
13   arrangement with the casino or the DA to prevent        13               It says -- on the description says -- well,
14   being indicted by any casino?                           14   let me just count it again -- one, two, three -- the
15      A.    I assert my right under the Fifth              15   fourth page, the fourth page, and the description
16   Amendment.                                              16   under the section Additional Remarks begins --
17      Q.    Does this represent any arrangement with       17       A.      This page 4; right?
18   you -- or between you and a casino or the Clark         18       Q.      I believe so.
19   County DA to avoid criminal sanctions,                  19               It says, "Last two 5K payments," do you see
20   Mr. Montgomery?                                         20   that, Mr. Montgomery?
21      A.    Assert my right under the Fifth Amendment.     21       A.      Yes.
22      Q.    What's the source of these funds that          22       Q.      I'll read what's on this page.     "Last two
23   you're making payments with to the casino,              23   5K payments posted are from checks received from"
24   Mr. Montgomery?                                         24   Dennis Montgomery -- "Dennis's attorney, Scott
25      A.    I assert my right under the Fifth              25   Freeman.     Mr. Freeman keeps in touch with Rob Erwin

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1    Amendment.                                               1   and let's him know when he is sending a check.
2        Q.   Aren't these -- aren't these pre funds that     2               "Recently Mr. Freeman told Rob that Dennis
3    you stored away prior to filing for bankruptcy,          3   is in Europe meeting with companies that may be
4    Mr. Montgomery?                                          4   interested in buying some of his software.        Rob
5        A.   I assert my right under the Fifth               5   spoke with Dennis's attorney, Scott Freeman," 10 --
6    Amendment.                                               6   then we have the number 10/28.
7        Q.   Okay.                                           7               "Freeman told Rob that Dennis is currently
8             MR. FLYNN:    Ask him about the money he got    8   in Paris signing contracts.        Maybe some money coming
9    from Edra.                                               9   to us from this," question mark, question mark.
10            MR. CONANT:    Mr. Montgomery, I'm going to    10               Do you see this description,
11   hand you what's been marked as Plaintiff's              11   Mr. Montgomery?
12   Exhibit 28.                                             12       A.      Yes.   I see what you read.
13            (Exhibit 28 was marked for identification.)    13               MR. FLYNN:    Ask him what software he was
14            MR. CROCKETT:   Do you have extra copies of    14   pedaling.
15   these?                                                  15   BY MR. CONANT:
16            MR. CONANT:    I do of this one.               16       Q.      Now, the way I read this you've got two
17            MR. CROCKETT:   I'd like a copy of this        17   dates going down the right-hand column 2/16/2010
18   before we leave.                                        18   then -- well, 11/20/09 and then below that 10/21/09
19            THE WITNESS:    Well, actually --              19   and my understanding of how these read is the date
20            MR. CROCKETT:   There's only one 27 and I'd    20   for each line in the remarks section, each line
21   like a copy of it.                                      21   corresponds to the date in the right-hand column for
22            THE WITNESS:    Okay.                          22   that line.
23   BY MR. CONANT:                                          23               So on February 16th, 2010, it appears that
24      Q.    Mr. Montgomery, I ask you to flip to the --    24   an attorney was representing to a representative of
25   one, two, three -- I believe the third --               25   this casino that you were in Europe meeting with

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1    companies that may be interested in buying some of        1       A.     I'm going to assert my right under the
2    your software.                                            2   Fifth Amendment.
3               Do you see that, Mr. Montgomery?               3       Q.     Now did you have possession of this
4        A.     Yes.                                           4   software that you were supposedly in Europe meeting
5        Q.     Is that an accurate statement,                 5   with potential buyers?
6    Mr. Montgomery?                                           6       A.     I'm going to assert my right under the
7        A.     I'm going to assert my right under the         7   Fifth Amendment.
8    Fifth Amendment.                                          8       Q.     All right.
9        Q.     Were you in Europe trying to sell software?    9              All right.     Turn to the next page.
10      A.      I'm going to assert my right under the        10       A.     I have to leave at 5 o'clock.
11   Fifth Amendment.                                         11       Q.     We'll be done by 5 o'clock.
12      Q.      Was that software that was listed in your     12       A.     Oh, okay.
13   bankruptcy schedule, Mr. Montgomery?                     13              Okay.
14      A.      I'm going to assert my right under the        14       Q.     All right.     I see here first line under
15   Fifth Amendment.                                         15   additional remarks first full sentence, "Rob had
16      Q.      Is this the same software that we saw         16   been told by him he would call Rob to let him know
17   referred to everywhere in Plaintiff's Exhibit 3, the     17   about a payment to Dennis."
18   source code that could detect terrorist attacks,         18              That was -- I'm sorry.       That was
19   Mr. Montgomery?                                          19   October 21, '09, entry.
20      A.      I'm going to assert my right under the        20              I'm looking now at September 18, '09,
21   Fifth Amendment.                                         21   entries.     "We received a call from local attorney
22      Q.      Is this when you were meeting with Israel     22   Scott Freeman about a month ago.        He said he's
23   to try and sell them software?                           23   working with Dennis's attorney in Las Vegas and
24      A.      I'm going to assert my right under the        24   wanted to know if we had turned this over to the
25   Fifth Amendment.                                         25   DA's office.

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1        Q.     Mr. Montgomery, I'm going to now talk --       1              "Rob spoke with Scott and sounded as if
2    turn to the part dated November 20, '09.                  2   Dennis may want to make a payment arrangement.
3        A.     Okay.                                          3   Scott was going to get back to us."
4        Q.     "Rob spoke with Dennis's attorney, Scott       4              Is that true, Mr. Montgomery, were you
5    Freeman.    Freeman told Rob that Dennis is currently     5   trying to make a payment arrangement with the
6    in Paris signing contracts."                              6   Peppermill Casino?
7               Were you in Paris signing contracts in         7       A.     I'm asserting my right under the Fifth
8    approximately in November of '09?                         8   Amendment.
9        A.     I'm going to assert my right under the         9       Q.     How would you -- how would you make such a
10   Fifth Amendment.                                         10   payment arrangement, Mr. Montgomery, at this time in
11      Q.      What contracts would those be referring to?   11   September 18 of 2009?
12      A.      I'm going to assert my right under the        12       A.     I'm asserting my right under the Fifth
13   Fifth Amendment.                                         13   Amendment.
14      Q.      And weren't those contracts associated with   14       Q.     All right.     Okay.
15   property listed on your bankruptcy schedule,             15              All right.     If you flip with me to -- oh,
16   Mr. Montgomery?                                          16   on the right-hand side dates dated -- remarks dated
17      A.      I'm going to assert my right under the        17   October of '06, October 16, '06.
18   Fifth Amendment.                                         18       A.     '06?
19      Q.      At the same time were you attempting to       19       Q.     Yeah.
20   sell this software to the federal government?            20       A.     Which, which period of time?
21      A.      I'm going to assert my right under the        21              MR. CROCKETT:     Same exhibit.
22   Fifth Amendment.                                         22              THE WITNESS:     Oh, okay.
23      Q.      And when I mean "software," I mean the        23              MR. FLYNN:     1099.
24   software referenced in the dates for February 16,        24   BY MR. CONANT:
25   2010.                                                    25       Q.     All right.     Mr. Montgomery, between the

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1    years of -- well, between April '06 and March of             1   microphone.
2    2009, how -- what did -- what is reflected as your           2              All right.     Sorry.
3    income in W-2s issued to you by Edra Blixseth's              3              THE WITNESS:     I'm confused.     I thought the
4    entities?                                                    4   tax year was the next -- the next year that reported
5        A.    I don't recall.                                    5   the previously year's.
6        Q.    For any year?                                      6   BY MR. CONANT:
7        A.    I don't recall.                                    7       Q.     Right.
8        Q.    Less than a million dollars or more than a         8              So your W-2 that reflects your taxes --
9    million dollars?                                             9   your income for 2008.       If I'm asking for your tax
10      A.     For what period?                                  10   year 2008 W-2, I want the W-2 --
11      Q.     Let's start with year -- tax year 2006.           11       A.     -- for 2007?
12      A.     Tax year or calendar year?                        12       Q.     No, the W-2 that refers to your 2008
13      Q.     Tax year -- for tax year 2006, what would         13   income.
14   be reflected in your W-2 for that tax year?                 14              MR. CROCKETT:     Which would be the one that
15      A.     I don't recall.                                   15   you would receive by January 31st, 2009.
16      Q.     For 2007, would it be -- I'm talking about        16              THE WITNESS:     Right.   Right.    Right.
17   tax year 2006 now, would it be less than a million          17   Right.
18   dollars or more than a million dollars?                     18              I don't recall.
19      A.     I believe we went already went through this       19              What's the previous question you asked me
20   same exact question.                                        20   regarding 2007?      I want to -- I may have answered --
21      Q.     I asked you how much --                           21   I want to make sure.
22      A.     I don't recall.                                   22   BY MR. CONANT:
23      Q.     What would be reflected in your tax year          23       Q.     Sure.
24   2007 W-2 --                                                 24       A.     Can you repeat it?
25      A.     I don't recall -- I'm sorry.                      25       Q.     Yeah, for tax year 2007, what is reflected

                                                      Page 337                                                            Page 339

1        Q.    -- as your income from Ms. Blixseth's              1   on your W-2 for that tax year?
2    entities?                                                    2       A.     I don't recall.
3        A.    I don't recall.                                    3              MR. FLYNN:     Same question 1099s.
4        Q.    Less than a million dollars or more than a         4   BY MR. CONANT:
5    million dollars?                                             5       Q.     Did you receive any 1099s from any of
6        A.    For 2007?                                          6   Ms. Blixseth's entities?
7        Q.    Yes.                                               7       A.     At one point I was getting W-2s and at one
8        A.    I would think less.                                8   point I was getting 1099s.         I don't remember when.
9        Q.    And for 2008, what would be reflected in           9       Q.     Do you recall how much your income was
10   your tax year 2008 W-2s?                                    10   reflected on any 1099 that you received for any tax
11      A.     I want to make sure I don't get in trouble.       11   year?
12             MR. CROCKETT:   I think you've confused both      12       A.     I don't recall, no.
13   of us.                                                      13       Q.     And when I say -- I'm referring to 1099s
14             THE WITNESS:    Yeah.   You've changed.   Which   14   issued by Ms. Blixseth's entities.
15   one are you talking about?    The easiest way to tell       15       A.     I understood the question.
16   me is just that year.                                       16              I don't -- I'm not certain.        I don't recall
17             Tax year, isn't that the next year?               17   is my point.       I don't recall what I got on either a
18   BY MR. CONANT:                                              18   W-2 or a 1099.
19      Q.     Well, if you're getting a W-2 for tax year        19       Q.     So it's safe to say that with respect to
20   2008 --                                                     20   1099s or W-2s for tax years 2006 through 2009 for
21             MR. CROCKETT:   For calendar year 2008.           21   income you received from Edra Blixseth's entities,
22             THE WITNESS:    You mean calendar year.           22   you just don't recall what would be on those?
23             MR. CONANT:    Calendar year is -- for            23       A.     I don't have my taxes on them and you've
24   individuals is same for -- it's the same for --             24   been hitting me for eight straight hours and I'm
25             MR. CROCKETT:   Hold on.   I lost my              25   tired.

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1               MR. CROCKETT:    Answer the question.             1              I hereby declare under penalty of perjury
2               THE WITNESS:    I don't know.                     2   under the laws of the State of California that I
3               MR. CONANT:    That's all I wanted to know.       3   have read the foregoing deposition and that the
4               MR. CROCKETT:    Because the documents are        4   testimony contained therein is a true and correct
5    the best evidence anyway.                                    5   transcript of my testimony given at said time and
6               THE WITNESS:    I know.                           6   place.
7               It's 5.   I really need to leave at               7              Dated this ______ day of ______________,
8    5 o'clock and it's 5 o'clock.                                8   2010, at _______________________, _________________.
9               Or is it not maybe.                               9
10              MR. CONANT:    I have two minutes.               10
11              Anything further?                                11                              __________________________
12              THE WITNESS:    Are these ours to take?          12                                  Signature of Witness
13              THE REPORTER:   No.                              13
14              THE WITNESS:    These are yours?                 14
15              MR. CROCKETT:   These are --                     15
16   BY MR. CONANT:                                              16
17         Q.   Mr. Montgomery, the reference that we just       17
18   saw on these casino records, your attempts to sell          18
19   your software to countries overseas, did Edra               19
20   Blixseth have any involvement at all with your              20
21   efforts in that regard?                                     21
22         A.   I've answered the Fifth.                         22
23              MR. CONANT:    It's 5 o'clock.                   23
24   Mr. Montgomery needs to go, as does his attorney.           24
25   I'm going to hold -- I'll reserve the right to              25

                                                      Page 341                                                      Page 343

1    continue this deposition subject to Judge Bluebon's          1
2    (phonetic) rulings on the propriety of any refusal           2                        CERTIFICATE
3    to answer in the case that there's no privilege, his         3                             OF
4    refusal to produce documents that we've requested            4                CERTIFIED SHORTHAND REPORTER
5    he's hid behind the Fifth Amendment privilege for.           5
6               THE WITNESS:    Okay.                             6              I, Stephanie P. Borthwick, Certified
7               MR. CONANT:    So with that, I think we'll go     7   Shorthand Reporter of the State of California, do
8    off the record.                                              8   hereby certify:
9               THE VIDEOGRAPHER:     This concludes today's      9              That the foregoing deposition was taken
10   proceeding in the video deposition of Dennis Lee            10   before me at the time and place therein set forth,
11   Montgomery.    The total number of media used was           11   at which time DENNIS LEE MONTGOMERY was duly sworn
12   four.                                                       12   by me;
13              We're going off the record.      The time is     13              That the testimony of the witness and all
14   5 p.m.                                                      14   objections made at the time of the examination were
15              THE REPORTER:   Copies?                          15   recorded stenographically by me and thereafter
16              MS. WELLS:    Yes.                               16   transcribed, said transcript being a true copy of my
17              MR. CROCKETT:   You better send me one.          17   shorthand notes thereof, and a true record of the
18              (The deposition was concluded at 5 p.m.)         18   testimony given by the witness.
19                                                               19              In witness whereof, I have subscribed my
20   ///                                                         20   name this date:   December 7th, 2010.
21   ///                                                         21
22   ///                                                         22
23   ///                                                         23                        ____________________________
24   ///                                                         24                        STEPHANIE P. BORTHWICK, CSR
25   ///                                                         25                        Certificate No. 12088

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   1                     UNITED STATES DISTRICT COURT
                               DISTRICT OF NEVADA
   2        BEFORE THE HONORABLE VALERIE P. COOKE, MAGISTRATE JUDGE
                                    ---o0o---
   3

   4     Dennis Montgomery, et al.,          :   No. 3:06-cv-056-PMP-VPC
                                             :
   5                      Plaintiff,         :   August 19, 2008
                                             :
   6               -vs-                      :   United States District Court
                                             :   400 S. Virginia Street
   7     ETreppid Technologies,              :   Reno, Nevada 89501
         et al.,                             :
   8                                         :        VOLUME II
                          Defendant.         :
   9                                         :

  10

  11
                                    TRANSCRIPT OF
  12                         CONTINUED SHOW CAUSE HEARING

  13
        A P P E A R A N C E S:
  14
        FOR THE PLAINTIFF:                    Randall Sunshine
  15                                          Ellyn Garofalo
                                              Attorneys at Law
  16

  17    FOR DEFENDANT ETREPPID:               Stephen Peek
                                              Jerry Snyder
  18                                          Attorneys at Law

  19    FOR COUNTER-DEFENDANTS:               Bridgett Robb-Peck
                                              Gregory Schwartz
  20                                          Attorneys at Law

  21    FOR INTERESTED PARTY:                 Carlotta Wells
                                              U.S. Department of Defense
  22

  23

  24    Proceedings recorded by mechanical stenography produced by
        computer-aided transcript
  25


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   1

   2    Reported by:                         KATHRYN M. FRENCH, RPR, CCR
                                             NEVADA LICENSE NO. 392
   3                                         CALIFORNIA LICENSE NO. 8536

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   1           Reno, Nevada, Tuesday, August 19, 2008, 9:00 a.m.

   2                                   ---OoO---

   3

   4                     THE COURT:    Thank you.    Please be seated.

   5                     THE CLERK:    This is the date and time

   6    set for continued Show Cause Hearing in case number

   7    3:06-cv-056-PMP-VPC, Dennis Montgomery, and others, versus

   8    eTreppid Technologies, and others.

   9                Present on behalf of plaintiff, Ellyn Garofalo and

  10    Randall Sunshine.

  11                Present on behalf of defendant, Stephen Peek and

  12    Jerry Snyder.

  13                Present on behalf of counter-defendant,

  14    Bridgett Robb-Peck.

  15                Present on behalf of interested party,

  16    Carlotta Wells.

  17                     THE COURT:    Good morning everybody.

  18                Let the record reflect it is 9:08 a.m.          The Court

  19    intends to start promptly nine o'clock a.m.           So I think

  20    Mr. Peek may have been here early setting things up, but I

  21    expect that we commence at nine o'clock sharp, just for

  22    future reference.

  23                Counsel.

  24                     MS. GAROFALO:     Good morning, Your Honor.       I

  25    think the eight minutes late may have been well spent.


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   1    Mr. Peek and I have been discussing what is one of the key

   2    issues here, which I think we have reached a resolution on.

   3                As the Court knows, there's been much talk about

   4    the Glogauer e-mails and PST files, the original PST files.

   5    The Glogauer PST files have now been received back from the

   6    Washington attorneys, Scatton lawyers, who were using that in

   7    the Grand Jury proceedings.       There is an issue with one, at

   8    least one, e-mail chain which, in response to a word search,

   9    does indicate that there may be some information subject to

  10    the State Secret's Privilege on the Glogauer PST.

  11                We've talked to Ms. Wells, who will be talking to

  12    her client about the best way to handle it.           We've indicated

  13    to Mr. Peek that we would prefer Mr. Montgomery remove those

  14    files, necessarily open those files.         And we've come up with

  15    several alternatives that, hopefully, by the end of the day,

  16    we will be able to convey to the Court that we have resolved

  17    the issue, and that those hard drives will be produced

  18    forthwith to Mr. Peek.

  19                     THE COURT:    All right.    Very good.

  20                Mr. Peek.

  21                     MR. PEEK:    I have nothing to say.      I appreciate

  22    the proffer, Your Honor, and I've accepted.           And, certainly,

  23    we're going to be speaking with Ms. Wells and see if we can't

  24    find a way to expedite this.

  25                     THE COURT:    Thank you very much.


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   1                     MS. GAROFALO:     Thank you.

   2                     THE COURT:    Thank you, counsel.

   3                The other matter, counsel, we're just trying get

   4    exhibits sorted out.      And I understand counsel can do that

   5    later on today, toward the end of the afternoon.

   6                Is that correct, counsel?

   7                     MR. SUNSHINE:     Yes, Your Honor.

   8                     THE COURT:    Okay.   Very good.

   9                Correct, Mr. Peek?

  10                     MR. PEEK:    Yes, Your Honor.

  11                     THE COURT:    All right.    Mr. Peek, by my count,

  12    you've got 4 hours and 17 minutes.

  13                     MR. PEEK:    That's about what I calculated, too,

  14    Your Honor.

  15                     THE COURT:    All right.    So you may proceed, sir.

  16                     MR. PEEK:    Just need a witness, and we're ready

  17    to go.

  18                     THE COURT:    All right.

  19                         DIRECT EXAMINATION (resumed)

  20    BY MR. PEEK:

  21     Q    Mr. Montgomery, I wanted to go back and clear up a few

  22    things that I hadn't covered yesterday.          And I'm going to

  23    start with, at least, the NBC and Wall Street Journal

  24    communications.

  25                One thing I have not seen in any production at


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   1    all, is any form of communications, whether it be cell phone

   2    record or long distance phone call records of how NBC News was

   3    contacted.

   4                    Did you contact NBC News?

   5     A      No.

   6     Q      Who did?

   7     A      Tim Blixseth.

   8     Q      Okay.    Did he do it -- do you know whether he did it by

   9    telephone or by e-mail?

  10     A      I believe phone.    I don't know for certain, but my

  11    understanding was he was the one who had the contact with

  12    them.

  13     Q      And do you know at whose prompting Mr. Blixseth contacted

  14    NBC News?

  15     A      No.

  16     Q      Was it at yours?

  17     A      No.

  18     Q      Did you tell Mr. Blixseth that you had certain e-mails

  19    that would be of interest to NBC News?

  20     A      I don't recall that I did or not.

  21     Q      Well, why was it that he would contact NBC News, other

  22    than to talk about the Jale Trepp and Glogauer e-mail?

  23     A      You would have to ask him.

  24     Q      Did you testify tell him about the Len Glogauer e-mail?

  25     A      No.


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   1     Q    Did you give him a copy?

   2     A    No.

   3     Q    Did you tell him about the Jale Trepp e-mail?

   4     A    I don't recall if I did or not.

   5     Q    The Wall Street Journal, did you contact John Wilke, or

   6    did somebody else contact John Wilke?

   7     A    I didn't.

   8     Q    Okay.   And who did?

   9     A    I don't know if it was Tim or Edra.

  10     Q    Okay.   One of those two?

  11     A    I want to say Tim, but I'm -- I'm not certain.

  12     Q    Okay.   And do you know when he did that?

  13     A    No.

  14     Q    Do you know whether he did it by phone or by e-mail?

  15     A    I don't know.

  16     Q    And do you know why he did it?

  17     A    No.

  18     Q    Did you tell him something that caused him to -- that you

  19    believe caused him to contact the Wall Street Journal?

  20     A    I did talk with him, I think, on one occasion.

  21     Q    I mean, for example, did you tell him that you had a

  22    Len Glogauer e-mail?

  23     A    I don't recall if I said that exactly or not.

  24     Q    Did you tell him what you believed about the Jale Trepp

  25    e-mail?


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   1     A    I don't recall that one specific instance or not.

   2     Q    Did you tell him that you had evidence that Mr. Trepp had

   3    given casino chips and cash to Congressman Gibbons?

   4     A    I told him I saw it.

   5     Q    You told him you saw it.       Okay.

   6                And did you tell him you saw it on one, or more than

   7    one instance, or more than one instance?

   8                     MS. GAROFALO:     Your Honor, objection.      Relevance

   9    based on the -- objection.       Relevance.

  10                     THE COURT:    Mr. Peek.

  11                     MR. PEEK:    Your Honor, what I'm trying to get at

  12    is whether there are communications that Mr. Montgomery would

  13    have that should have been produced.

  14                     MS. GAROFALO:     I'll withdraw the objection at

  15    this time, Your Honor, but we are here to focus --

  16                     MR. PEEK:    And I'll do this quickly.       Sorry.

  17                     MS. GAROFALO:     -- to the core issues.      Not to

  18    the underlying merits of the case.

  19                     THE COURT:    I agree.      Okay.

  20                All right.    The Court does concur, to some extent,

  21    with Mr. Montgomery's counsel about the focus.

  22                So, go ahead, with that comment, Mr. Peek.

  23    BY MR. PEEK:

  24     Q    Did you provide any communications to Mr. Blixseth via

  25    e-mail, for example?


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   1     A    I don't recall if I did or not.

   2     Q    And if you did, those would be where, sir?

   3     A    I mean, I don't have them.       If he has them -- maybe he

   4    has them.     I don't know.

   5     Q    When you say you don't have them, what efforts have you

   6    made to look for them?

   7     A    I've -- we went through this for four days.           I've looked

   8    everywhere for everything you asked for, diligently.

   9     Q    And you also told us yesterday that you believe if there

  10    were any communications regarding your efforts to transfer,

  11    sell, assign the data compression, anomaly detection, pattern

  12    recognition, Object Tracking, Source Code, it would have been

  13    on your computer, the computer that was seized by the FBI.

  14                  Do you remember that testimony from yesterday?

  15     A    Yes, I -- yes.

  16     Q    Okay.    And so that would be the only place that it would

  17    be, or would it be other places?

  18     A    I mean there could have been another copy of that drive,

  19    or I mean --

  20     Q    Well, you told us yesterday you thought there was another

  21    copy of that drive because the video was on that.

  22     A    Right.

  23     Q    So was there another copy of that drive?

  24     A    Not that I know of, but I've not looked through

  25    everything.     There's still five drives left.        I've referred


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   1    to this before.

   2     Q    Okay.    And so it would be somewhere on those five drives?

   3     A    It could be.    I mean, I have a number of CDs, which it

   4    could have been on those too.

   5     Q    Now, after -- well, there are certainly some e-mails that

   6    I think you have produced.       I don't know whether you produced

   7    them or somebody else produced them, but there are e-mails of

   8    communications with respect to the transfer, assignment of the

   9    Source Code, correct?

  10     A    Yes.

  11     Q    You've seen those?

  12     A    Yes.

  13     Q    Okay.    Now, the other thing that we know is that the

  14    FBI seized your material on or about March 1st of 2006,

  15    correct?

  16     A    Yes.

  17     Q    And that we also know from Exhibit 9, which you've seen

  18    before, I believe.     I -- let me just make sure I got the right

  19    exhibit.

  20                  Actually, it's exhibit 8.

  21                  Let me just refer you to Exhibit 8.      That is your

  22    response to requests for production that came from Miss Klar,

  23    or from the Liner Law Firm to us, on or about May 26th.

  24                  Do you see that e-mail in the first page of that?

  25     A    Yes.


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   1     Q    And then attached to that are all the documents that are

   2    referenced in that e-mail.

   3                  Do you see that?

   4     A    Yes.

   5     Q    Okay.     Do you recognize this production as something that

   6    you produced on or about May 26th, 2006 -- excuse me, 2008.

   7     A    No.     I mean, I -- I don't know that.

   8     Q    Okay.     Well, let me just then follow-up.

   9                  Would you turn to a page that is marked MONT-184.

  10    And these are in date numerical, ascending order.

  11     A    Mine goes to 182 -- oh, no.       Then it starts with another

  12    e-mail.

  13                  Oh, I see.    I got it.

  14     Q    Okay.

  15     A    Sorry.

  16     Q    Do you see that e-mail there?

  17     A    Yes.

  18     Q    What's the address of Dennis Montgomery there?

  19     A    Dennis@ncoder.net.

  20     Q    Now, yesterday, you told us you didn't think you setup

  21    that e-mail account in mid 2006.

  22                  Do you remember that testimony?

  23     A    Yes.     Yes.

  24     Q    You were wrong?

  25     A    Yes.     Obviously.


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   1     Q    You were using the Montgomery@ncoder.net in March of

   2    2006, were you not?

   3     A    I didn't think so, but it may have been.

   4     Q    Well, did you get this e-mail that was addressed to

   5    Dennis@ncoder.net?

   6     A    I'm believing you.     I see it.

   7     Q    You don't have to believe me.

   8     A    I'm saying I may -- maybe I set it up earlier.          I don't

   9    recall.

  10     Q    Okay.   But, anyway, this is an e-mail dated March 27th,

  11    2006, is it not?

  12     A    Yes.

  13     Q    It's e-mail that wouldn't be on your home computer,

  14    isn't it?

  15     A    Correct.

  16     Q    Because your e-mail, your e-mail was seized on or about

  17    March 1st?

  18     A    Yes.

  19     Q    So, yesterday, when you told us all of those e-mail

  20    communications that would be on your -- with respect to

  21    transfer assignment of the Source Code would be on your home

  22    computer that was seized by the FBI, that is now in hard drive

  23    with the nine one one serial number ending -- do you remember

  24    that from yesterday?

  25     A    I didn't think I said exactly that.


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   1     Q      Well, that's what you told us yesterday.       If there were

   2    any e-mails, they would be on that hard drive.          You've given

   3    me everything.

   4     A      I didn't say there wouldn't be any.      I said there would

   5    be some.

   6     Q      Oh, okay.   So there are some at Dennisencoder.net, are

   7    there?

   8     A      You keep asking me that.    There are none.

   9     Q      There are none.   Well, here's one right here 184, is it

  10    not?

  11     A      I see that.

  12     Q      It's on your e-mail.    It's on your e-mail, isn't it?

  13     A      Yeah.   This could have shall be deleted a year ago.

  14     Q      Okay.   So you deleted these e-mails?

  15     A      No, I didn't.

  16     Q      Well, they were deleted, correct?

  17     A      I don't have that.   That's correct.

  18     Q      Okay.   So these e-mails that you have that were produced,

  19    didn't come from you, is that correct?         This e-mail, that

  20    is --

  21     A      I didn't --

  22     Q      -- exhibit --

  23     A      I don't -- I didn't have the agreements that I signed.

  24    My attorney, Mike Flynn, did.       And he's never given them back

  25    to me.    So, I couldn't have produced these signed documents


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   1    because Mr. Flynn is holding my documents -- like many other

   2    things.

   3     Q    Okay.    But you at least -- and you didn't have the

   4    e-mails either that are produced here?         Somebody else did.

   5     A    I don't know who produced this particular e-mail.           I

   6    mean, I don't know if Mike Flynn produced it.          I don't know.

   7     Q    Well, your -- you, through your lawyer, produced it.

   8    That's all I know.

   9     A    Okay.

  10     Q    You don't know how they came into his possession, is that

  11    your testimony?

  12     A    I can't answer that without giving up attorney/client

  13    privileged information.

  14     Q    Well, did you provide e-mails to your attorneys that

  15    covered the period of March 2006 through April 2006 that refer

  16    to your transfer/assignment of the Source Code?

  17     A    I didn't think -- the e-mails that I know of --

  18     Q    Well --

  19     A    Can I answer the question?

  20     Q    It's a simple yes or no.

  21                  Did you or did you not provide --

  22     A    I don't know specifically if that happened or not.

  23     Q    Okay.    So you don't know whether you did provide these

  24    e-mails that were produced by your counsel.

  25                  Is that your testimony?


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   1     A      That's correct.

   2     Q      Okay.    And where would those e-mails be today?

   3     A      I believe I gave e-mails between myself and Mike Flynn

   4    that were privileged e-mails.

   5     Q      That's not what I asked.

   6                    Where are the e-mails that are referenced here --

   7     A      Oh.

   8     Q      -- in Exhibit 8?

   9     A      I don't know.    I don't know.

  10     Q      Okay.    And there are actually, in Exhibit 8, a number of

  11    them.    You can look at, you know, MONT-185.

  12     A      Yeah, I see them.

  13     Q      186.

  14     A      Which they all refer to Mike Flynn.

  15     Q      Okay.    Did they come from Mike Flynn?

  16     A      God, knowing him, I don't know.      I don't know.

  17     Q      You don't know the source of these, is that correct?

  18     A      No, but I did give the e-mails that were -- I thought

  19    I was supposed to give that were e-mails that were between

  20    myself and Mike Flynn.

  21     Q      Okay.    So you had some of those someplace then?

  22     A      Yes, at some point.

  23     Q      Where did you have those?

  24     A      I think they were burned onto a CD.

  25     Q      And so then would that be all of the e-mails you had


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   1    between yourself and Mike Flynn that you burned on the CD?

   2     A     I believe so.

   3     Q     Okay.    And then you must have retained copies of those

   4    e-mails in order to burn them onto a CD, is that correct?

   5     A     No.   I gave them -- what I had, I burned them onto a CD.

   6     Q     Right before you burned them onto a CD, you took them off

   7    some other form of electronic media, did you not, sir?

   8     A     I think there -- I didn't know what the original source

   9    was.     I don't know whether it was a CD or disk drive.

  10     Q     Well, how did they -- what source --

  11                       THE COURT:    Okay.   Stop.   Stop.

  12                      MR. PEEK:     -- or hard drive --

  13                       THE COURT:    I just want to admonish both

  14    counsel, and you, Mr. Montgomery, the court reporter cannot

  15    report accurately if you talk over one another.          So please

  16    take care to not do that.

  17                   Go ahead, sir.    Start again.

  18    BY MR. PEEK:

  19     Q     From what media source did you obtain the e-mails between

  20    you and Mike Flynn that you burned onto either a CD or a hard

  21    drive?

  22     A     An Outlet file.

  23     Q     And where was that outlet file?

  24     A     On a hard drive.

  25     Q     And on whose hard drive was that?


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   1     A    Mine.

   2     Q    Did the hard drive only save e-mails between you and

   3    Mr. Flynn, or did it save all e-mails?

   4     A    Just those.

   5     Q    So did you setup one program in your computer that it

   6    would only save e-mails between you and Mr. Flynn?

   7     A    I don't remember if it was setup that way specifically

   8    or not.

   9     Q    Okay.    But for some reason or another, you kept only the

  10    e-mails in your Outlook file between you and Mr. Flynn, but

  11    not others, is that correct?

  12     A    Yes.    Because Mr. Flynn was very adversarial to me.

  13     Q    In 2006 he was?

  14     A    Yes.

  15     Q    Okay.    And that would be in March of 2006, he was very

  16    adversarial to you?

  17     A    No.    Not at the beginning.

  18     Q    Well, when did you start saving your e-mails between you

  19    and Mr. Flynn?

  20     A    Well, since I knew Mr. Flynn.

  21     Q    Okay.    And those are the only e-mails that you saved, is

  22    that correct?    Is that your testimony?

  23     A    I -- there were e-mails on Opspring's computers that

  24    Michael Sandoval retained.

  25     Q    But this is before Mr. Sandoval, in this Exhibit A, is


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   1    it not?

   2     A    Yeah, I know.    But, you're talking about a month before.

   3    This is the month of March.

   4     Q    I am talking about the month of March.

   5     A    I don't recall that, whether I did or not.

   6     Q    Okay.   And these were saved on your personal computer

   7    where the address is Dennis@ncoder.net, is that your

   8    testimony, the ones with Mr. Flynn?

   9     A    Yes.

  10     Q    And you saved no others than the ones between you and

  11    Mr. Flynn, is that your testimony as well?

  12     A    I don't recall the others, if I did or not.

  13     Q    And where are those e-mails today that -- just the ones

  14    that you saved between you and Mr. Flynn?

  15     A    My attorneys'.

  16     Q    Okay.   And where are the ones that you had between you

  17    and others?

  18     A    Well, between Opspring, they were on Opspring's

  19    computers, of which Mr. Sandoval retained.

  20     Q    Okay.   And so Mr. Sandoval would have those?

  21     A    I would say that's a good source.

  22     Q    Okay.   And what about the others that were not the

  23    Opspring e-mails?

  24     A    Well, I just told you I had Opspring and Dennis@ncoder --

  25     Q    I'm talking about the others that would be at


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   1    Dennis@ncoder, where are they?

   2     A    I haven't seen them.      I will look for them.

   3     Q    Okay.   So you think they may exist?

   4     A    I don't think so, but I will surely look.

   5     Q    Okay.   Is this -- have you looked before today?

   6     A    I've been looking for five months.

   7     Q    Have you looked before today?

   8     A    Yes, I have.

   9     Q    Okay.   And in your search, did you find any e-mails that

  10    would be responsive to any requests for production where you

  11    had the e-mail address at Dennis@ncoder.net?

  12     A    I had looked, but I don't think I found them originally.

  13    I mean I haven't seen them.

  14     Q    Okay.   You believe they exist?

  15     A    There's a possibility.

  16     Q    So it's just only a possibility that they may exist?

  17     A    I've looked through a lot of information for five months.

  18     Q    Okay.   Well the request went out to you in November

  19    of '07.   Did you begin looking in November of '07, sir?

  20     A    Yes.

  21     Q    And?

  22     A    And I believe I sent things to my original attorney,

  23    Mr. Flynn.

  24     Q    Mr. Flynn was not your attorney in November of '07, sir.

  25     A    November of '07.


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   1     Q      That's correct, sir.

   2     A      Okay.    I'm sorry.    I thought I had that wrong.

   3     Q      Well, you did have it wrong.

   4     A      Yeah, I got it wrong.      Yeah.

   5                    What was the question?

   6     Q      The question was you've had it since November of '07,

   7    when the request went out to you.          Did you begin looking in

   8    November of '07 when the requests were sent to you?

   9     A      Yes.    And I didn't find any at that time.

  10     Q      So then you've been looking since November of '07, and

  11    it's now August of '08.         So, that's approximately ten months.

  12    Almost nine or ten -- eight, seven or eight months.

  13     A      Is that a question?

  14     Q      Yeah.    So you haven't found anything in this period of

  15    time?

  16     A      I have found stuff.

  17     Q      November '07 --

  18     A      I've produced four million files.       So, I can't say I

  19    didn't find anything.         I have found something.

  20     Q      Sir, my question was really related to the e-mails.

  21    In November of '07, until today, August 19th, have you

  22    found any e-mails, other than the ones that are between

  23    you     and Mr. Flynn, that would be responsive to the requests

  24    for production that would bear the e-mail address at

  25    dennisncoder.net?


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   1     A    And excluding my current attorneys?

   2     Q    Yes, sir.

   3     A    No.    I haven't found any.

   4     Q    Okay.    And the request also required you to produce them

   5    in native format.

   6     A    Correct.

   7     Q    With PST.    So, you haven't done that either, have you?

   8     A    Well, if I find them, and they're in that format, I will

   9    produce them.

  10                      MR. PEEK:    I would offer exhibit 8, Your Honor.

  11                      THE COURT:    Any objection?

  12                      MS. GAROFALO:   No, Your Honor.

  13                      THE COURT:    All right.   Exhibit 8, defendant's

  14    Exhibit 8, is submitted.

  15                  (Whereupon, exhibit 8 -- document, was received in

  16    evidence.)

  17    BY MR. PEEK:

  18     Q    Now, we talked yesterday about Mr. Visconti.

  19                  Do you remember that testimony yesterday of

  20    Mr. Visconti?

  21     A    That was the Chris Shockey e-mail?

  22     Q    Yes.    Do you recall attending a meeting with Mr. Shockey

  23    in December of 2007, in Bellevue, with yourself, Mr. Shockey,

  24    Mr. Rhodes, Mr. Crisman, Mr. Visconti, Mr. Wehnt and

  25    Mr. King?


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   1     A    No.

   2     Q    You don't have any recollection of that at all?

   3     A    No, I don't recognize the guy's name.

   4     Q    You do recognize the other names, Mr. Shockey and

   5    Mr. Rhodes, and Mr. Crisman, do you not?

   6     A    Yes.

   7     Q    And you don't recognize the names Mr. Wehnt and Mr. King

   8    then as well?

   9     A    No.

  10     Q    And did you, during -- well, did you ever make a

  11    presentation to Mr. Visconti, Mr. Wehnt, and Mr. King, in

  12    which you provided a demonstration of the technology showing

  13    a CD quality movie, and what Dennis, what you described, as

  14    a 19 to 1 video compression?

  15     A    No.

  16     Q    You don't ever recall doing that?

  17     A    No.

  18     Q    Do you have or did you have a demonstration of technology

  19    showing the CD quality movie in a 19 to 1 video compression

  20    while you were at Opspring?

  21     A    No.

  22     Q    You did not?

  23     A    No.

  24     Q    Okay.   Following along with some of those marketing

  25    efforts, would you take a moment and look at Exhibit 20.


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   1                       THE COURT:     What volume, sir?

   2                       MR. PEEK:    It's Volume 5, Your Honor.

   3                       THE WITNESS:    Okay.

   4    BY MR. PEEK:

   5     Q     Do you recognize that?

   6     A     Which number?    Exhibit 20?

   7                   I don't know what this --

   8     Q     There's an entire exhibit.       Would you please take a

   9    moment and take a look at it.

  10                       THE COURT:     There's a second page.

  11    BY MR. PEEK:

  12     Q     Do recognize this as the exhibit you submitted?

  13     A     Yes, sir.

  14     Q     And you signed it under penalty of perjury, didn't you,

  15    sir.

  16     A     Yes.

  17     Q     Now, would you turn to paragraph 12 on page 6 of that

  18    exhibit.

  19     A     Okay.

  20     Q     Declaration number 6.

  21     A     Yes, I see it.

  22                   Which one is it?

  23     Q     Paragraph 12.

  24     A     Yes, I see it.

  25     Q     And you say in your declaration:       "Throughout the summer


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   1    and fall of 2006, up to and including the present, I worked

   2    with my current employers to improve my technology.           It is

   3    significantly improved, and we have voluntarily used it in the

   4    last 60 days to voluntarily provide intelligence information

   5    to appropriate officials in, order to save American lives.

   6    Even with its current limited use, it has specifically

   7    diverted specific terrorist threats."

   8                Was that your effort to market the technology to the

   9    United States Government?

  10     A    No.

  11     Q    It was just a voluntary act on your part?

  12     A    No.

  13     Q    No effort to sell or market your --

  14     A    Me?   No.

  15     Q    Well, somebody at Opspring?

  16     A    I didn't.    I wasn't involved.

  17     Q    Did somebody at Opsprings do it, sir?

  18     A    Well, you just asked me that question.

  19     Q    Did somebody at Opsprings do it, sir; market the

  20    technology to the United States Government?

  21     A    I don't know if they did that specifically or not.

  22     Q    Well, when you were providing these voluntary efforts to

  23    the intelligence community of the United States Government,

  24    were you doing so on behalf of Opsprings, or yourself, to

  25    market the Source Code?


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   1     A      No.   I would like the ask the government a question

   2    before I answer this.

   3     Q      If you want to.   I mean, this has been redacted already

   4    by the government.

   5     A      So you want me just to answer the question, right?

   6     Q      No.   Go ahead and ask the government.

   7                      MR. PEEK:   Your Honor, I don't want to --

   8                      THE WITNESS:   I'm not sure -- the question you

   9    asked me again was what?

  10    BY MR. PEEK:

  11     Q      The question was when you provided this information

  12    described in paragraph 12, was it an effort, by Opspring, to

  13    market the technology to the United States Government?

  14     A      I don't think so.

  15     Q      Why was it done then?

  16     A      Uh, we thought it would be helpful.

  17     Q      Did you think it would also be helpful to provide them

  18    this information in order to show the benefits of the Source

  19    Code?

  20     A      Well, we weren't giving them the Source Code.        We were

  21    just giving the output.

  22     Q      Well, sir, the benefits of the Source Code, which would

  23    be the outputs, correct?

  24     A      No.

  25     Q      Right?


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   1     A    No.

   2     Q    So this is not a marketing effort on your part?

   3     A    No.

   4     Q    Not a marketing effort on the part of Opspring, is that

   5    your testimony?

   6     A    Yes.

   7     Q    Is --

   8                      MR. PEEK:    Your Honor, do I need to offer

   9    declarations, Your Honor, that are already part of the record?

  10    I'll just refer to them in closing, but if I -- otherwise, I

  11    would offer Exhibit 20.

  12                      THE COURT:    All right.   Well, let's go ahead,

  13    since they're exhibits.

  14                  Do you have any objection, counsel, just to having

  15    it admitted?     It's part of the record as --

  16                      MS. GAROFALO:   No, Your Honor.

  17                      THE COURT:    All right.   20 is admitted.

  18                  (Whereupon, exhibit 20 -- a document, was received

  19    in evidence.)

  20                      MR. PEEK:    Thank you.

  21    BY MR. PEEK:

  22     Q    Now, we covered yesterday your affidavit, or your, excuse

  23    me, your declaration that you gave where you said that did not

  24    contain any classified information.

  25                  Do you remember that from yesterday?


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   1     A     Yes.

   2     Q     Okay.    Now you've also made a representation to this

   3    court in pleadings that at least 60 to 80 percent of the

   4    technology data consists of files that are covered by the

   5    U.S. Protective Order.

   6                   Do you remember that?

   7     A     Yes.

   8     Q     And is that still your testimony today?

   9     A     I don't know if it -- if it's that high.        But, it's a

  10    sizeable number.

  11     Q     Okay.    And of that so-called 60 to 80 percent of

  12    the technology data, have you provided any of it to the

  13    government?

  14     A     Yes.

  15     Q     Okay.    And that's in the form, I think you said, of two

  16    hard drives that you gave up recently?

  17     A     Three.

  18     Q     Three hard drives very recently.       Okay.

  19                   And how much data was on that?

  20     A     I don't know specifically.      I would think a terabyte or

  21    two.

  22     Q     You would think.    Okay.   You don't know then?

  23     A     Well, one of them was a terabyte.       I think the

  24    other two, one was on a 500, and one was on a 750.           That's

  25    two-and-a-quarter terabytes, and they weren't all full.            So,


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   1    I don't know.

   2     Q    And how did you obtain this information, or this

   3    information on these drives you gave to the government?

   4     A    What do you mean how did I obtain it?

   5     Q    Just exactly how did you obtain it?        Did you take it from

   6    the eTreppid computers?

   7     A    No.

   8     Q    How did it come into your possession then, sir?

   9     A    Government.

  10     Q    Okay.     So the government gave you these hard drives,

  11    first of all, and then you copied them from the government

  12    onto something, some of your own media, is that correct, your

  13    electronic --

  14     A    I think so.    Yeah.

  15     Q    You think so or you know, sir?

  16     A    I -- I don't know specifically.        Are you talking about

  17    the drives that I've given to the government?

  18     Q    No, no, sir.    I'm not talking about --

  19     A    Okay.

  20     Q    --     I'm talking about the data on the hard drives.

  21     A    Yeah.

  22     Q    Did you obtain the data on the hard drives from eTreppid?

  23     A    No.

  24     Q    Okay.     You said you got it from the government.

  25     A    Yes.


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   1     Q    Okay.     When did the government give it to you

   2    specifically?

   3                      MS. WELLS:     Your Honor, I would caution

   4    Mr. Montgomery in providing that answer.          To take the terms

   5    of the Protective Order into account.

   6                      MR. PEEK:     It's just a when.

   7                      MS. WELLS:    That could be a problem.

   8                      MR. PEEK:     A when has problems.   Okay.

   9    BY MR. PEEK:

  10     Q    When did you get if from the government?

  11     A    When did I what?

  12     Q    When did you get it from the government?

  13     A    You want -- you say the date?

  14     Q    No.     You can't say the date --

  15                       MS. WELLS:    No.

  16    BY MR. PEEK:

  17     Q    -- if it came from a source covered by the State Secrets

  18    Privilege?

  19     A    You already asked me --

  20                      THE COURT:     Stop.

  21                      MR. PEEK:     I'll let Ms. --

  22                      THE COURT:     Stop.

  23                      MS. GAROFALO:    Your Honor, I think we're in

  24    direct jeopardy of trespassing on the U.S. Protective Order.

  25                      MR. PEEK:     He can --


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   1                     MS. GAROFALO:    If we are going to proceed,

   2    I think we need to take a short break to confer with

   3    Mr. Montgomery.

   4                     THE COURT:    All right.

   5                     MR. PEEK:    But can Mr. Montgomery confer with

   6    the United States Government, Your Honor, before he answers

   7    that question?

   8                     THE COURT:    Let me ask Ms. Wells.      She, as the

   9    attorney for the government, if it is, she who will tell all

  10    of us what is covered or not under the Protective Order.

  11                 So, Ms. Wells, you understand the nature of

  12    Mr. Peek's questions.      What do you recommend we do.

  13                     MS. WELLS:   I would recommend that

  14    Mr. Montgomery not answer that question, Your Honor.

  15                     THE COURT:    All right.    She -- counsel for

  16    the United States has directed that, pursuant to the terms

  17    of the U.S. Protective Order, Mr. Montgomery not answer that

  18    question.

  19                     MR. PEEK:    Your Honor, may I confer with

  20    Ms. Wells for a moment, because there are other agencies that

  21    aren't covered by the States Secrets Privilege.

  22                     THE COURT:    All right.    Why don't you just take

  23    a moment and speak privately.       We're not going to take a

  24    recess.     Just the two of you can chat.

  25                 (Mr. Peek and Ms. Wells confer.)


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   1                  (Mr. Schwartz is now joined telephonically.)

   2                      THE CLERK:   Mr. Schwartz, are you there.

   3                      MR. SCHWARTZ:     I am.

   4                      THE COURT:   Thank you.

   5                  Good morning, Mr. Schwartz.     This is Judge Cooke.

   6    We have commenced the Continued Order to Show Cause Hearing,

   7    and Mr. Peek is examining Mr. Montgomery.

   8                  Go ahead, Mr. Peek.

   9                       MR. SCHWARTZ:    Thank you.

  10    BY MR. PEEK:

  11     Q    You've had occasion to meet with the United States

  12    Government, so you know which agencies are covered by the U.S.

  13    Protective Order, is that correct?

  14     A    That's correct.

  15     Q    Okay.    Knowing that, and excluding that from the

  16    question, did any data on the hard drives you provided to

  17    the government come from an agency not covered by the United

  18    States Protective Order?

  19     A    I'm not certain.

  20     Q    Okay.    So I guess if I ask the "when," knowing that

  21    they're from an agency not covered by the Protective Order,

  22    your answer is also that you're not certain?

  23     A    That's correct.

  24     Q    I wanted to at least get into the record, at least, where

  25    you made the representation to the Court.         So, I'm going to


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   1    have you look at, if you would, Document 604, filed in this

   2    proceeding, page 3.

   3                  May I approach, Your Honor?

   4                      THE COURT:    You may.

   5                      THE WITNESS:    Is this in this binder?

   6                      MR. PEEK:    It's not in the binder, but it's part

   7    of the court record.

   8                      THE WITNESS:    Okay.

   9    BY MR. PEEK:

  10     Q    If you look at the paragraph and the representation you

  11    made to this court --

  12     A    The one that's highlighted?

  13                      MS. GAROFALO:    I'm sorry, Your Honor.     But could

  14    Mr. Peek please identify the document.

  15                      THE COURT:    Could you, please.

  16                      MR. PEEK:    Docket 604.

  17    BY MR. PEEK:

  18     Q    Could you read the title of it, since you have the title

  19    of the document.

  20     A    Emergency Request By Montgomery Parties For Status

  21    Conference With the Montgomery Parties' Compliance With the

  22    Court's Order May 7, 2008 Order.

  23     Q    Okay.    And what representation did you make to the Court?

  24     A    Do you want me to read it?

  25     Q    Yes, sir.


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   1     A    "A substantial percentage, i.e. 60/80 of the technology

   2    data consists of files the Montgomery parties reasonably

   3    believe could fall within the provision of the U.S. Protective

   4    Order, docket number 253, and the Non-Disclosure Agreements

   5    executed by Dennis Montgomery, in connection with works

   6    performed for the government of the protected data."

   7     Q    Okay.   So of that 60, 80 percent -- you don't believe

   8    it's that high today, is that correct?

   9     A    It's probably not that high.

  10     Q    Okay.   And have you submitted all of the 60 -- the amount

  11    of data to the United States Government for their review?

  12     A    No.

  13     Q    And in May of 2007, you were telling the Court that

  14    it existed.    Why have you not submitted that data to the

  15    government in accordance with the procedures set forth in the

  16    United States Protective Order?

  17     A    Because for the last four months, I've been doing that.

  18     Q    And all you found are just the three hard drives, is that

  19    correct?

  20     A    Yeah, with one million four hundred thousand files on it.

  21     Q    Okay.   I understand what your testimony is.         All of

  22    which you said was given to you personally by the United

  23    States Government.

  24     A    I said I believed that.

  25     Q    Well, did it or did it not come to you directly from the


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   1    United States Government?       Or, did it come off of the

   2    computers at eTreppid?

   3     A    I can't remember right now everything that was on the

   4    drive that was given to them, to be certain whether that's

   5    correct or not.     I believe it is.     But, I'm not certain.

   6     Q    Thank you.

   7                 Sir, when are you going to comply with the discovery

   8    orders and the Protective Order, and deliver all of the data

   9    that you believe is covered by the States Secrets Privilege to

  10    the United States Government?

  11     A    When it's all been segregated.

  12     Q    When is that, sir?

  13     A    Uh, by the end of the month.

  14     Q    By the end of this month?

  15     A    Yes.

  16     Q    Correct?    Okay.

  17                 So you will deliver everything to the United States

  18    Government, that you believe is covered by the States Secrets

  19    Privilege, to the United States Government for their review,

  20    on or before August 31st of 2008, is that correct?

  21     A    Assuming I'm able to work on it, yes.

  22     Q    Well --

  23     A    Well, I've been in here.      I'm going to be here tomorrow.

  24    I'm going to be here on Thursday.

  25     Q    I just want to know the date certain.


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   1     A    I will surely try by the end of this month.

   2     Q    Okay.    And if not by the end the month, what other date

   3    would you give us?

   4     A    I wouldn't think it would take more than a month to

   5    complete everything that's left.

   6     Q    Okay.    So that would be on or before September 19th would

   7    be the latest date?

   8     A    Yes.

   9     Q    But you will begin doing it when?

  10     A    Well, I've been doing it.

  11     Q    When will you begin?

  12     A    Can I speak?

  13     Q    Okay.

  14     A    I've been doing it for the last four months.

  15     Q    I'll -- sorry.

  16     A    But when I got hit with the second OSC hearing order

  17    under the Source Code, I stopped doing that to work on that.

  18     Q    Okay.    Let me ask my question again.

  19                  When will you begin doing the review to provide the

  20    government the information that you believe is covered by the

  21    States Secrets Privilege?

  22     A    As soon as I return home.

  23     Q    And when will that be?

  24     A    Hopefully on Friday.

  25     Q    Okay.    Now, there are also two articles the Wall Street


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   1    Journal -- another area I forgot -- one was in November '06

   2    and one was in February of '07.

   3                  Do you remember that?

   4     A    No.

   5     Q    Okay.     Let me refresh your recollection then.

   6                  Let me hand the Court exhibits 31 and 32, which are

   7    in Volume VI.

   8                  Do you recognize exhibit 31, sir?      It was an article

   9    that appeared in or around --

  10     A    Yes.

  11     Q    And you recognize Exhibit 32 as an article that appeared

  12    in the Wall Street Journal on or about February 15th 2007?

  13     A    I don't remember this one, but it's obviously my picture,

  14    so -- oh, the Wall Street Journal?

  15     Q    Yes.

  16     A    No.

  17     Q    You don't remember this article as appearing --

  18     A    You said the Wall Street Journal, I thought.

  19     Q    That's what I'm talking about.       Exhibit 32 is an article

  20    in the Wall Street Journal.       The date of it is --

  21     A    I was looking at 33, so --

  22     Q    Okay.

  23     A    Um, no.

  24     Q    You don't recall this article?

  25     A    No.     I thought there was one.


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   1     Q    Okay.    And in the article that appears on Exhibit 31,

   2    there is no mention of a Jale Trepp e-mail is there?

   3     A    Do you want me to read the article?

   4     Q    If you need to, sir.

   5     A    (Witness reviews document.)

   6                  No.

   7     Q    Okay.    And is there mention of the Glogauer e-mail --

   8     A    I didn't --

   9                        THE COURT:   Let him finish his question, sir.

  10    BY MR. PEEK:

  11     Q    Is there a mention of the Glogauer e-mail in this article

  12    November 1st, 2006?

  13     A    I didn't think so.

  14     Q    Okay.    Do you know whether there was a second delivery of

  15    e-mails to Mr. Wilke regarding Mr. Glogauer and Ms. Trepp

  16    after the November 1st, 2006 article appeared?

  17     A    I don't think so.

  18     Q    Did you have any follow-up communications with Mr. Wilke

  19    after the November 1st article appeared?

  20     A    I spoke to him.      I -- I spoke to him.

  21     Q    After November 1st, 2006, sir?

  22     A    Yes.

  23     Q    Did you do it by telephone?

  24     A    Yes.

  25     Q    Okay.


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   1     A    Um, yes.

   2     Q    Did you ever do it personally?

   3     A    I think I only met him once.

   4     Q    Okay.

   5     A    You asked me this -- my nose is bleeding.         I really need

   6    to stop for a minute.

   7                     THE COURT:    All right.

   8                     THE WITNESS:    I got a tissue.

   9                     THE COURT:    Do you want to take a recess, sir?

  10                     THE WITNESS:    Yeah.    Just for a few minutes.

  11                     THE COURT:    All right.    We'll take about a

  12    five-minute recess.      And we will reconvene promptly, and I

  13    mean promptly.     So, five minutes.

  14                     (Recess taken.)

  15                     THE CLERK:    Court is again in session.

  16                     THE COURT:    Please be seated.

  17                     THE WITNESS:    Sorry.

  18                     THE COURT:    You may proceed, Mr. Peek.

  19    BY MR. PEEK:

  20     Q    When you spoke to Mr. Wilke after November 1st, and

  21    before February 5th, November 1st, 2006 and before November --

  22    excuse me, after November 1st, 2006, and before February 15th,

  23    2007, did you discuss the existence of e-mails with Mr. -- the

  24    Glogauer e-mail and the Jale Trepp e-mail?

  25     A    I don't think so.


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   1     Q    So it's your testimony that no other e-mails were

   2    provided to Mr. Wilke after November 1st and before

   3    February 15th?

   4     A    I don't know the exact date that he got them, but that's

   5    correct.

   6     Q    Well, did he get them before November 1st --

   7     A    No.

   8     Q    -- 2006?

   9     A    I think I answered that.      I don't know.

  10     Q    Well --

  11     A    I'm not certain of the exact date because I have said I

  12    don't believe I'm the one that gave them to him.

  13     Q    I know you say you don't believe that.         But, you don't

  14    know for certain whether you did or did not, isn't that

  15    correct, sir?

  16     A    I don't know.    I guess.

  17                     MR. PEEK:    I'd offer 31 and 32, Your Honor.

  18                     THE COURT:    Any objection, counsel.

  19                     MS. GAROFALO:    Yes.   Hearsay.    They're not

  20    authenticated.

  21                     MR. PEEK:    They're not being introduced for

  22    the truth, Your Honor.       They're just being introduced to

  23    show the articles and what was contained in them.           There are

  24    e-mails that are referenced only in the February 15th and

  25    not the November 1st.      And it shows, again, if you will, the


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   1    credibility of this witness.       They're not being introduced for

   2    the truth.

   3                     MS. GAROFALO:     I think, Your Honor, that is

   4    for the truth as to whether or not the e-mails were provided

   5    or included in the article.       I still -- we still object on

   6    hearsay grounds.

   7                     THE COURT:    Well, the objection is overruled.

   8    I think for purposes of this hearing, these e-mails, I don't

   9    believe they're being offered for the truth of the matter

  10    asserted in the e-mails.      I think it goes to trying to

  11    ascertain, for purposes of this Order to Show Cause Hearing,

  12    the extent to which documents, Mr. Montgomery and the

  13    Montgomery parties have been ordered to produce have been

  14    produced.    And it's really serving as a benchmark in the

  15    chronology of the events that occurred in this litigation that

  16    relate to the document production.

  17                 Go ahead, Mr. Peek.

  18                     MR. PEEK:    Thank you.

  19    BY MR. PEEK:

  20     Q    You still have, I think, Exhibit 20 there, which is in

  21    Volume 5, do you not, sir?

  22     A    No.    They took the binder.

  23                     MR. PEEK:    Okay.   She'll get it back for you.

  24                 Thank you Miss Clerk.

  25                     THE COURT:    Exhibit 20, Mr. Peek?


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   1                      MR. PEEK:    Yes, Your Honor.

   2                      THE COURT:     Thank you.

   3    BY MR. PEEK:

   4     Q    Would you turn, sir, to page 3, paragraph 6.

   5     A    Okay.

   6     Q    And the sentence beginning on line 27.

   7                  Do you have that?

   8     A    The one that says, "On that..."?

   9     Q    Yes.

  10     A    Yeah.

  11     Q    And you wrote, at least in this declaration in February

  12    of 2007, that:     "On that basis, and because of the failure of

  13    our government to utilize my technology after my departure

  14    from eTreppid, and because of Warren Trepp's attempts to steal

  15    it with the raid on my home, my current employers engaged

  16    in multiple meetings and conferences with high level Bush

  17    administration officials beginning in May 2006, and continuing

  18    to December 2006."

  19                  Is that correct?

  20     A    Yes.

  21     Q    And those were efforts to market the technology, were

  22    they not?

  23     A    No.

  24     Q    Okay.    And then it says:     "In July 2006, they arranged a

  25    meeting in Vice-President Cheney's office, which I attended


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   1    with several individuals for the purpose of educating and

   2    explaining to the Vice-President that much of my work is so

   3    highly compartmentalized within, that it was likely that some

   4    high level official in the administration, even within the

   5    intelligence community, including certain Air Force officials

   6    aligned with Warren Trepp, potentially even the Director

   7    of National Intelligence, John MacHunting (phonetic),

   8    parentheses, whom certain distrusted, close parentheses,

   9    did not know or understand the full scope of its utilization

  10    on the war on terror, and/or competing financial interests

  11    aligned with Trepp, given this event."

  12                   That was an effort to market as well, wasn't it?

  13     A     No.

  14     Q     It was not an effort to license the technology?

  15     A     No.

  16     Q     Okay.    Now there's an attachment to this exhibit, is

  17    there not, which is a letter, Exhibit 1, from Mr. Flynn to

  18    Mr. Rumsfeld, Cherchoff, and Alberto Gonzales, is there

  19    not?

  20     A     Yes.    Well, there was a fourth person but, obviously,

  21    it's redacted.

  22     Q     And then would you turn to page four of seven of that

  23    letter.

  24     A     Okay.

  25     Q     The bottom of the page.


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   1     A    Yes.

   2     Q    Do you see the sentence beginning, "Mr. Montgomery..."

   3    the last sentence there.

   4     A    Yes.

   5     Q    "Mr. Montgomery desires to enter into an exclusive

   6    license agreement with the U.S. government as soon as

   7    possible."

   8                  That's marketing the technology, the Source Code, is

   9    it not?

  10     A    No.

  11     Q    Okay.    The License agreement is not any effort by you to

  12    license -- excuse me licensing the technology --

  13     A    It's --

  14     Q    -- is not an effort to market it?

  15     A    This is the day they raided my home.

  16     Q    I know that, sir.     I'm just asking --

  17     A    Can I finish speaking?

  18     Q    Sorry.

  19     A    This is the day they raided my home.        And this letter was

  20    originally -- Mr. Flynn had originally written the letter that

  21    I had seen days, before that, that did not have some of this

  22    in there.     He sent this letter the, the day that they were,

  23    you know, when they were at my home raiding me.

  24     Q    Okay.    I, I understand that.

  25     A    So --


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   1     Q    But are --

   2     A    Yeah.

   3     Q    -- you telling this Court then that licensing of the

   4    technology is not marketing the technology, the Source Code?

   5     A    No.    I'm not saying that.     I don't remember -- I just

   6    remember a lot was going on on that day.         And why this was

   7    sent with those exact words, I can't explain.

   8     Q    And there were a number of meetings after March 1st in

   9    order to license the technology with the government.

  10     A    With me?     No.

  11                     MS. GAROFALO:     Objection, Your Honor.

  12    Relevance.    If this is going to documentation, Mr. Peek

  13    should get there.        But it does not appear to be focused on

  14    the discovery issue.

  15                     MR. PEEK:     Your Honor, the discovery issue is

  16    any documents with respect to licensing the technology.            It

  17    would appear to me that there would be additional documents

  18    that would have been utilized by those individuals meeting

  19    in that six-month period of time described by, described in

  20    the affidavit, or in the declaration by Mr. Montgomery.            He

  21    described it.    We don't have any of those so-called documents.

  22                     MS. GAROFALO:     I would ask the Court to then

  23    direct Mr. Peek to focus his questions on what documents

  24    exist; whether documents related to these meetings actually

  25    exist, rather than explore the nature, the number of


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   1    participants and so forth at the meetings, which doesn't seem

   2    to be relevant to this proceeding.

   3                      MR. PEEK:    I have to establish a predicate,

   4    Your Honor that it was for the purpose of marketing, in order

   5    then to get the documents.

   6                      THE COURT:    Right.

   7                  The objection is overruled.     The Court, of course,

   8    is keenly interested in moving things along, but recognizes

   9    that part of the request for production that is part of this

  10    Order to Show Cause hearing is this particular category of

  11    documents.     So the Court, in trying to establish the basis

  12    for Mr. Peek's inquiries is part of it, but please move on,

  13    sir --

  14                      MR. PEEK:    I will.

  15                      THE COURT:    -- in your questions.

  16    BY MR. PEEK:

  17     Q    And then in the last page of the letter, page --

  18    actually, second of last page, page 6 of 7 --

  19     A    Okay.

  20     Q    -- there's another statement there at the end of the

  21    sentence where you want to license the software technology of

  22    Mr. Montgomery.

  23                  Do you see that sentence?

  24     A    Where is it?

  25                  Oh, yes, I see it.   I see that.


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   1     Q    And that's another effort to market, is it not?

   2     A    Not really, no.     Why Michael put this in there when

   3    they're raiding my home, I can't tell you.

   4     Q    Okay.   Where are any of the documents relating to the

   5    efforts to license the technology, first in March of 2006,

   6    and then in that six-month period of time, or whatever period

   7    of time it was in your declaration?        Where are those?

   8     A    To my knowledge there are none, because no one did.

   9     Q    Are you saying you didn't make any presentations --

  10     A    I --

  11     Q    -- then to the government from May 2006, and continued to

  12    December 2006?

  13     A    I went to one meeting, one time, in Washington.          That's

  14    it.

  15     Q    Okay.   And your current employer, that being Opspring,

  16    also went on multiple times in May, between May of 2006 and

  17    December 2006, did they not?

  18     A    I think they only went one time initially.          And they were

  19    with me on the one meeting I went to D.C.         To my knowledge,

  20    there were no others.

  21     Q    Okay.   Well, then when you signed this declaration under

  22    penalty of perjury, were you lying?

  23     A    Which declaration?

  24     Q    The one that's Exhibit 20, where you said that your

  25    employers engaged in multiple meetings and conferences with


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   1    high level Bush administration officials, beginning May of

   2    2006, to December 2006?       Is that a lie?

   3     A     I just said -- no.     You just asked me multiple.      That's

   4    two.   You asked me and I said there were two that I knew of.

   5    Maybe they had others.       I can't tell you what Michael Sandoval

   6    did.   You can talk to him.

   7     Q     Okay.    Thank you.

   8                   Going back to the computers that you backed up, from

   9    time to time.      You said that Mr. Trepp asked you to backup

  10    computers as eTreppid, is that right?

  11     A     Yes.

  12     Q     Did he ask you to back up all the computers at eTreppid?

  13     A     No.

  14     Q     Or just the employees of eTreppid?

  15     A     I don't know if he said all or both.       I don't recall

  16    specifically.

  17     Q     Well, one of the computers you backed up was

  18    John Hughes, was it not?

  19     A     Yes.

  20     Q     Was John Hughes an employee of eTreppid?

  21     A     I wouldn't know if he is or not.        I don't think he was.

  22     Q     And why did you backup his computer?

  23     A     Because it was failing, and he had to have another

  24    laptop, so it had to be taken off his current laptop and put

  25    on another laptop.


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   1     Q    And why did you retain the data on that?

   2     A    I don't recall why I retained it.

   3     Q    You recognize in the production that you made, you

   4    provided, we have data related to Mr. Hughes, correct?

   5     A    Yes.

   6     Q    And that's not responsive to any request at all, is it?

   7     A    Well, I wouldn't say that, because how did I know that he

   8    didn't have something on his laptop that was responsive?

   9     Q    Well, when you searched the data, did you look at

  10    the John Hughes data to determine whether or not it was

  11    responsive?

  12     A    I don't recall if I did or not.

  13     Q    Okay.    And then the e-mails, with respect to Jale Trepp,

  14    that was on her computer, was it not?

  15     A    I don't remember if it was or not, no.         I -- I'm not

  16    certain.

  17     Q    Well, we had e-mails that just appear to be only on Jale

  18    Trepp's e-mail -- Jale Trepp's computer.         And we can go back

  19    over that if you like in Exhibit 9.

  20     A    Okay.    Go ahead.

  21     Q    Okay.    Actually, it's Exhibit 8.      I apologize -- no.

  22    It's Exhibit 9.

  23                  Do you know whether these e-mails that are set forth

  24    in Exhibit 8, they're labeled at the top, Jale 1.           And then

  25    there's some Jale 1-A, whether they came off of Jale Trepp's


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   1    e-mail account, on her computer, or off of somebody else's?

   2     A    I don't know.    I'm sorry.    I don't recall.

   3     Q    Okay.   Did you in fact backup Jale Trepp's e-mail?

   4     A    Yes.

   5     Q    From her computer?

   6     A    I don't -- I don't remember -- the answer is yes.

   7     Q    And was that her home computer?

   8     A    Yes.

   9     Q    Were you directed to do that?

  10     A    Yes.

  11     Q    By whom?

  12     A    Warren.

  13     Q    And when were you directed to do that?

  14     A    Multiple, multiple times.

  15     Q    Okay.   Did he give you reasons why he wanted to do that?

  16     A    I don't recall if he did or not.

  17     Q    And where did you go to back this up?

  18     A    It was at her house.

  19     Q    Now you've also testified in this proceeding, have you

  20    not, that you did not have access to any of the financial

  21    information of eTreppid?

  22     A    That's correct.

  23     Q    And we have found on, at least your production, that

  24    there are QuickBooks on the hard drives that you have

  25    produced, are there not?


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   1     A    Yes.

   2     Q    And those are the financial records of eTreppid that you

   3    say you never had access to, aren't they?

   4     A    Um, there are QuickBooks records on there.          Whether those

   5    are those of eTreppid, I can't tell you.

   6     Q    Well, you testified that you never were given access to

   7    them, correct?

   8     A    Access to what?

   9     Q    To the financial information of eTreppid.

  10     A    Yeah.   The paper, paper records.

  11     Q    Well, were there -- so you were given the electronic form

  12    of them off of Sue Perez's computer, or others in eTreppid's

  13    offices that you backed up, correct?

  14     A    I don't believe Sue Perez had QuickBooks.

  15     Q    All right.    Did anybody have QuickBooks?

  16     A    Monica, I believe, did.

  17     Q    Okay.   So you backed up Monica?

  18     A    Yes.

  19     Q    And you had the access to that financial information that

  20    was on Monica's computer, did you not?

  21     A    I've seen it.    Yes.

  22     Q    And it was QuickBooks, was it not?

  23     A    I don't remember -- yes.

  24     Q    And it contained a record of every receipt and

  25    disbursement --


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   1     A    Absolutely.

   2     Q    -- did it not?

   3     A    No.

   4     Q    So when you told the Court that you were never given

   5    access to any of the financial records of eTreppid, that was

   6    a lie, wasn't it?

   7     A    Nope.    No it wasn't.

   8     Q    But you had, at least, access to all these computers

   9    where there was electronic information regarding financials

  10    of the company, did you not?

  11     A    No.

  12     Q    You did not?

  13     A    No.

  14     Q    Well, you backed it up, didn't you?

  15     A    Yeah, but it's password locked.

  16     Q    Oh.    All the QuickBooks are password locked?

  17     A    I don't remember if all of them were, but one -- the one

  18    I tried was.

  19     Q    Which one did you dry?

  20     A    I don't recall which one it was.

  21                     MS. GAROFALO:    Objection, Your Honor.

  22    Relevance.     This does not seem to be going to documents or

  23    the production or the responsiveness of production.           It just

  24    seems to be examining Mr. Montgomery on his knowledge of

  25    financial information.


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   1                      MR. PEEK:    I'll move on, Your Honor.

   2                      THE COURT:    All right.    The objection is

   3    sustained.

   4                     MR. PEEK:     This is Exhibit 46, Your Honor.      It's

   5    tabbed so that folks can put it in their binder.

   6                      THE CLERK:    Excuse me, Judge Cooke.     Yesterday,

   7    Mr. Peek remarked defendant's 45 and defendant's 46.

   8                      MR. PEEK:    I apologize.    Then this should be 47.

   9                      THE CLERK:    Yes.

  10                      MR. PEEK:    I apologize for that.

  11                      THE COURT:    This is 47 then?

  12                      MR. PEEK:    Yes, Your Honor.

  13                  (Whereupon, exhibit 47 -- a document, was marked for

  14    identification only.)

  15                      MR. PEEK:    Excuse me for the error.

  16                  Does the witness have it then?

  17                      THE CLERK:    Yes.

  18    BY MR. PEEK:

  19     Q    Mr. Montgomery, this is a letter from your counsel at

  20    Liner, the Liner firm.

  21                  Did you see that?

  22     A    You mean Gunderson?

  23     Q    Mr. Gunderson then.

  24     A    Okay.    Yeah.

  25     Q    I apologize.      I thought it was from the -- and in the --


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   1    this is produced in all those 21 hard drives, is it not?

   2     A     I'll believe you.      I don't know.

   3     Q     And in the second page of that letter, it says:

   4                  "I understand these drives contain electronic files

   5    responsive to eTreppid's RFP One request, number 16."

   6                  Do you see that?

   7     A     Yes.

   8     Q     And that's what you believed when you produced them?

   9     A     Yes.

  10     Q     Let me show you what is request for production number 16.

  11    That's in -- I think it's already a Court document, but I'm

  12    going to go ahead and mark it as -- or it's Exhibit 34 in

  13    Volume VI.

  14                  If we could have that for a moment.

  15     A     Which number?

  16                      THE CLERK:     It should be up there.

  17                      MR. PEEK:    It's 34.   She's going to hand it to

  18    you.

  19                      THE CLERK:     It should be there.

  20                      THE WITNESS:    No, I think I have it.

  21                      MR. PEEK:    It's in Volume VI.

  22                  Do you have it there?

  23                      THE WITNESS:    Yes.

  24    \\\

  25    \\\


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   1    BY MR. PEEK:

   2     Q      Why don't you take a moment and look at page 7 of 10 in

   3    that.

   4     A      I don't -- which page?

   5     Q      Page 7 of 10.    It's marked at the bottom.

   6     A      That doesn't make sense to me.

   7     Q      It's Exhibit 34, please.

   8     A      Exhibit 34.    You didn't say which exhibit.

   9                   Okay.   Okay.   (Witness reviews document.)

  10                   Okay.   Go ahead.

  11     Q      And the request to you is:     "All documents that relate

  12    to eTreppid's technology, products and/or research and

  13    development efforts, parentheses, including but not limited

  14    to any and all marketing documents, business plans,

  15    PowerPoint presentations, white papers, correspondence,

  16    and/or notes of any customers or potential customers.

  17                   Do you see that?

  18     A      Yes.

  19     Q      And these 21 hard drives are only responsive to that

  20    request, are they not?

  21     A      You mean as a result of all of these?

  22     Q      Well, that's what your letter -- that's what your

  23    counsel's letter says to me; that they're only responsive to

  24    that request number 16.

  25     A      I don't know if they're more responsive -- I mean, I


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   1    would have to read every one of these.         I will, if you want.

   2     Q    Well, it's only -- I'm just going by the letter.

   3     A    Okay.

   4     Q    The letter enclosed the hard drives and said they're

   5    responsive to request number 16, does it not?

   6     A    Yes.

   7     Q    Okay.    And are there any documents on that, on those

   8    21 hard drives that relate to the efforts by you -- you,

   9    the defining term -- to market, or notes of meetings with

  10    customers, or potential customers, after March of 2006?

  11     A    I don't know if there are or not -- oh, after?          I'm

  12    sorry.

  13     Q    Yeah, after.

  14     A    I don't know if there are or not.

  15     Q    You represented that they were though, did you not, when

  16    you gave them to us?

  17     A    That there are not?

  18     Q    No.    You represented that they were; that they did

  19    contain marketing documents, business plans, PowerPoint

  20    presentations, white papers, correspondence, and/or notes of

  21    meetings with customers or potential customers.

  22                     MS. GAROFALO:    Objection, Your Honor, to the

  23    extent that it misstates the document before Mr. Peek.            It's

  24    from Mr. Gunderson, not from Mr. Montgomery.

  25                     MR. PEEK:   Excuse me.    You, as in your lawyer


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   1    represented that.

   2     A    Is that what he wrote in the letter?        You want me to read

   3    it?

   4     Q    That's what he wrote in the letter.        Yeah.

   5     A    Okay.

   6     Q    He had to have that information from some source?

   7                      MS. GAROFALO:    Objection.

   8                      MR. PEEK:    In order to make that representation,

   9    did he not?

  10                      MS. GAROFALO:    Objection, to the extent that

  11    calls for attorney/client communications.

  12                      MR. PEEK:    If he represents that in a pleading,

  13    Your Honor, or in a letter, then that's a waiver of the

  14    privilege.

  15                      THE COURT:    Okay.   I don't think -- the

  16    objection is overruled.        I don't think Mr. Peek is asking

  17    for any inquiry about any attorney/client communication.

  18    Logically, one requests production of documents from one's

  19    client.   The client responds to document production requests

  20    and hands over documents that the client believes are

  21    responsive to a particular document production request.            And

  22    the attorney, in turn, sends them off to opposing counsel,

  23    after having reviewed them.

  24                  So that's, generally, how it works.        So the attorney

  25    has to, one, have relied on the client to have reviewed the


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   1    request for production to ascertain what documents or media

   2    might be responsive to the requests; and

   3                  Two, upon receipt, the Attorney, generally,

   4    will review whatever is produced, and then pass it on to

   5    counsel.

   6                  So --

   7                      MS. GAROFALO:   That's generally correct, Your

   8    Honor.    But, in this case, it's a letter from Mr. Gunderson.

   9    There's no foundation as to whether Mr. Montgomery saw this

  10    letter.    It may very well be just a typographical error in

  11    the letter.     Mr. Gunderson -- at least no basis has been laid

  12    for knowledge on Mr. Montgomery's part as to how the documents

  13    were characterized by Mr. Gunderson.

  14                      THE COURT:   Well, that's true.     I suppose you

  15    can ask Mr. Montgomery some questions about.

  16    MR. PEEK:

  17     Q    Well, you provided the hard drives to your counsel, did

  18    you not?

  19     A    Not to Mr. Gunderson.

  20     Q    You provided them to the Liner firm?

  21     A    Yes.

  22     Q    And when you provided them, you believed they were

  23    responsive to request number 16, did you not?

  24     A    Yes.

  25     Q    Okay.    So Mr. Gunderson's representation came, I guess,


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   1    indirectly from you, correct?

   2     A    I can't tell you.

   3     Q    Well, you represented it to your counsel, the Liner

   4    firm, who passed -- must have passed it on to Mr. Gunderson,

   5    correct?

   6     A    I can't say that.

   7                     MS. GAROFALO:    Objection, to the extent that

   8    does implicate attorney --

   9                     MR. PEEK:    Your Honor, they can't have the

  10    games.   They can't have it both ways.        They can't say that

  11    they represented to me that it's responsive to request

  12    number 16, and then now stand here today in this courtroom

  13    and say it's not.     I mean, either it is or it isn't, because

  14    there's nothing on the hard drives that refers to post-2006

  15    marketing efforts.     There's just more garbage.

  16                     THE COURT:    The objection is overruled.

  17    BY MR. PEEK:

  18     Q    Are there any files, any data at all on those 21

  19    hard drives that are responsive to request number 16?

  20     A    Yes.

  21     Q    Okay.    Is there any data on there that is responsive to

  22    request number 16 post-March 2006?

  23     A    No.

  24     Q    Where is that data?

  25     A    I wasn't -- I told you that when you asked me that


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   1    before.     I wasn't involved in marketing business plans.

   2     Q    Okay.     So you gave us data that eTreppid already had?

   3     A    Well, I was required to give that to you.

   4     Q    And is everything on the 21 hard drives related to white

   5    papers, correspondence, marketing documents, business plans to

   6    customers or potential customers?

   7     A    Post?

   8     Q    No, pre.

   9     A    I wouldn't say everything.       I would say there's a lot.

  10     Q    Okay.     How much of that would you say there is?

  11     A    I, I have no idea.

  12     Q    I mean, one percent of it?

  13     A    No.     But, I'm sure you have a number.      I don't know.

  14     Q    Okay.

  15                      MR. PEEK:    I believe that's all, Your Honor.        If

  16    I could have just a moment to consult with my client and my

  17    colleague.

  18                      THE COURT:    You may.

  19                      MR. PEEK:    May I approach?

  20                      THE COURT:    You may approach.

  21                      MR. PEEK:    I want to actually talk to Ms. Wells

  22    for a minute.

  23                      THE COURT:    Oh, all right.

  24                  (Mr. Peek and Ms. Wells confer.)

  25    \\\


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   1    BY MR. PEEK:

   2     Q    Before you produced the 21 hard drives, did you make any

   3    effort to duplicate it?

   4     A    There were two of them, or three of them that were bad

   5    and that actually had problems in duplication.          So, the answer

   6    is yes.

   7     Q    And what efforts did you make to duplicate files there?

   8     A    Well, the drive was bad.      Since the bad drive was copied,

   9    I didn't want to get rid of the bad drives while these

  10    hearings were going and someone accuse me of --

  11     Q    Well, there was 21 hard drives.        Did you make an effort

  12    with all 21 hard drives to deduplicate?

  13     A    I believe they were all duplicated.

  14     Q    No.    That's not what I asked, sir.

  15     A    Oh.

  16     Q    There are files that are on the drives themselves that

  17    are multiple copies of the same thing.

  18     A    That are duplicates, you mean?

  19     Q    Yes.    Did you make any effort to deduplicate that?

  20     A    To deduplicate that?

  21     Q    Yes.

  22     A    No.

  23     Q    Okay.    Thank you.

  24                     MR. PEEK:    That's all I have, Your Honor.

  25                     THE COURT:    As I recall, at the commencement of


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   1    the Order to Show Cause hearing, Ms. Klar did have some brief

   2    direct.   It was quite brief.

   3                Do you wish to ask any questions on redirect?

   4                    MS. GAROFALO:     Uh, not at this time, Your Honor.

   5    But, we do reserve the right to recall Mr. Montgomery.

   6                    THE COURT:     Okay.   Thank you.

   7                Mr. Montgomery, you may step down, sir.

   8                    MR. PEEK:    And, Your Honor, I don't remember

   9    exactly which exhibits were previously marked.          But since they

  10    were identified previously, I would like to offer, if I could,

  11    or get a list from the court.

  12                    THE CLERK:     Defendant's exhibits 1, 6, 9, 31,

  13    45, 46, and 47 have all been marked.

  14                    MR. PEEK:    I would offer all of those,

  15    Your Honor.

  16                    THE COURT:     Any objection?

  17                    MS. GAROFALO:     We have an objection to 45,

  18    Your Honor.    It's hearsay, and has not been authenticated.

  19    We object on those grounds.

  20                Pending 45 admitted, we would ask the Court's

  21    indulgence to address the other exhibits immediately after

  22    lunch, or after the next break.

  23                    MR. PEEK:    Forty-five, I think, Your Honor, was

  24    the e-mail.

  25                    THE CLERK:     Yes.


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   1                    MR. PEEK:    Thank you.

   2                    THE COURT:    All right.     What I'm going to advise

   3    counsel, we still have a matter of exhibits to attend to.              I

   4    expect you to be here tomorrow morning by 8:30 a.m. to meet

   5    and confer and work with the clerk of court to figure out

   6    what exhibits are admitted or not.         We will begin promptly at

   7    nine o'clock a.m.

   8               Thank you.    We're in recess.

   9                    MR. PEEK:    Thank you, Your Honor.

  10               (Court Adjourned.)

  11

  12

  13                                       -o0o-

  14

  15              I certify that the foregoing is a correct
                  transcript from the record of proceedings
  16              in the above-entitled matter.

  17             \s\ Kathryn M. French                      August 29, 2008

  18
                  KATHRYN M. FRENCH, RPR, CCR                      DATE
  19              Official Reporter

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   1                                   I N D E X

   2

   3    DEFENSE'S WITNESSES:                                          PAGE:

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   6
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  18    PLAINTIFF'S WITNESSES:

  19    1)   SCOTT COOPER

  20             Direct Examination By Ms. Garofalo                   360
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   1                   I N D E X    O F   E X H I B I T S

   2

   3    EXHIBIT NUMBER:                                 MARKED       RECEIVED

   4    Exhibit 8 -- document                                           171

   5    Exhibit 20    -- document                                       176

   6    Exhibit 47    -- document                          202

   7    Exhibit 45    -- document                                       213

   8    Exhibit 48    -- document                          222          253

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  13    PLAINTIFF'S EXHIBITS:

  14    Exhibits 1 and 2       -- documents                365

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   1                      UNITED STATES DISTRICT COURT
                               DISTRICT OF NEVADA
   2        BEFORE THE HONORABLE VALERIE P. COOKE, MAGISTRATE JUDGE
                                    ---o0o---
   3

   4     DENNIS MONTGOMERY and the     :
         Montgomery Family Trust,      :
   5                                   :
                      Plaintiffs,      : No. 3:06-CV-56-PMP(VPC)
   6                                   :
                 -vs-                  : June 24, 2008
   7                                   :
         ETREPPID TECHNOLOGIES, LLC,   : Reno, Nevada
   8     WARREN TREPP, and the         :
         UNITED STATES DEPARTMENT OF   :
   9     DEFENSE,                      :
                                       :
  10                  Defendants.      :
                                       :
  11      AND RELATED CASES ___________:

  12

  13           TRANSCRIPT OF CONTINUED ORDER TO SHOW CAUSE HEARING

  14    APPEARANCES:

  15    FOR THE PLAINTIFFS:      DEBORAH KLAR and MARK GUNDERSON
                                 Attorneys at Law
  16

  17    FOR THE DEFENDANTS:      J. STEPHEN PEEK, JERRY SNYDER,
                                 BRIDGETT ROBB PECK, GREGORY SCHWARTZ and
  18                             ANDREW LIESE
                                 Attorneys at Law
  19

  20    FOR INTERESTED           CARLOTTA WELLS and RAPHAEL GOMEZ
        PARTIES:                 Assistant U.S. Attorneys
  21

  22    Reported by:                   Margaret E. Griener, CCR #3, RDR
                                       Official Reporter
  23                                   400 South Virginia Street
                                       Reno, Nevada 89501
  24                                   (775)329-9980

  25                       COMPUTER-ASSISTED TRANSCRIPTION



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   1             RENO, NEVADA, TUESDAY, JUNE 24, 2008, 9:00 A.M.

   2                                    ---o0o---

   3

   4                     THE CLERK:    This is the date and time set for

   5    the continued order to show cause hearing in case number

   6    06-CV-0056-PMP(VPC), Dennis Montgomery, et al., versus

   7    eTreppid Technologies, et al.

   8                Present on behalf of plaintiff, Deborah Klar and

   9    Mark Gunderson.

  10                Present on behalf of defendants, Stephen Peek, Jerry

  11    Snyder, Bridget Robb Peck.

  12                Present telephonically on behalf of defendants,

  13    Gregory Schwartz and Andrew Liese.

  14                Present on behalf of interested party, Carlotta

  15    Wells and Raphael Gomez.

  16                     THE COURT:    Thank you very much.      Please just

  17    give me a moment to get my papers in order.

  18                This is a continued hearing pursuant to this Court's

  19    order to show cause concerning why Dennis Montgomery and the

  20    Montgomery Family Trust should not be held in contempt of

  21    court for failure to obey a series of discovery orders that

  22    were issued in this case.

  23                As the parties and counsel well know, we had a

  24    day-long hearing on June 10, and it has been continued to

  25    today.



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   1                 Just some preliminary matters.       First of all, the

   2    Court, during the last -- the June 10th, hearing had several

   3    exhibits, and I'm going to admit those into evidence.

   4                 Do counsel have any objections to those?         I believe

   5    those are Exhibits 1 through -- let's see, the Court's

   6    exhibits, I believe, were 1 through 16.          Is that correct,

   7    Ms. Clerk?

   8                     THE CLERK:    Your Honor, I show 1 through 18.

   9                     THE COURT:    Were the court's exhibits?

  10                     THE CLERK:    Yes.

  11                     THE COURT:    All right.    Do counsel have any

  12    objection to the admission of those exhibits?

  13                     MR. PEEK:    I don't, your Honor.       I would just

  14    like to have a list from the clerk so that we know what we

  15    have because I don't think -- I don't think all 18 were

  16    actually shown to the witness and identified.

  17                     THE COURT:    All right.    Ms. Klar?

  18                     MS. KLAR:    Your Honor, we would like to see a

  19    list before we take a position because --

  20                     THE COURT:    All right.

  21                     MS. KLAR:    -- Mr. Peek is right, they all were

  22    not shown to the witness.

  23                     THE COURT:    All right.    What I'll do is at one

  24    of the breaks we'll go ahead and take care of that, and,

  25    Ms. Clerk, if you would provide copies of the exhibit list to



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   1                     MS. KLAR:    My understanding is, is that there is

   2    some order which I've never seen because, as you know, I

   3    wasn't involved in that proceeding.

   4                 According to at least counsel for eTreppid,

   5    Mr. Montgomery was required to maintain those materials.            But

   6    I'm not aware of any order that says he couldn't integrate

   7    them with the other materials that he had.

   8                     MR. PEEK:    Your Honor, there's a -- Judge Pro,

   9    when the motion for forensic images was made, issued an order,

  10    and that order -- I believe it's March 27, 28, and I'll try to

  11    locate it at a break --

  12                     THE COURT:    Was that in the search warrant

  13    proceeding?

  14                     MR. PEEK:    No, no, it was in this proceeding,

  15    your Honor.    You may recall that the FBI on motion by --

  16    excuse me.

  17                 I'm trying to think exactly procedurally, your

  18    Honor, what happened on the 41(g), but ultimately Judge Pro

  19    ordered the property -- or you ordered the property returned,

  20    and Judge Pro affirmed your order, then we made a motion in

  21    this proceeding, this consolidated proceeding, to have it -- a

  22    forensic image made of it.       Judge Pro denied that request but

  23    ordered that it be photographed and that it be preserved and

  24    protected.

  25                 And I believe that order is March -- it was before



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   1    the property was turned over on the 29th.

   2                    THE COURT:     Just for counsel appearing

   3    telephonically, I'm looking at the docket sheet.

   4                Well, I can't -- I can't recall.

   5                In looking at the docket sheet just quickly, I don't

   6    want to delay the proceedings, but I know that Judge Pro

   7    issued an order concerning the FBI-seized materials that were

   8    returned, but I am not clear on what the language -- what

   9    number the language is and what it said.

  10                    MS. KLAR:    According to Mr. Peek, it said the

  11    materials need to be preserved and protected.          That's not what

  12    his question is asking.

  13                His question is asking what did you do to segregate

  14    it, and I don't think it's a fair question because I don't

  15    think there's any evidence that that was an obligation.

  16                    MR. PEEK:    Well, the obligation to preserve,

  17    your Honor, would be some method of segregating it so you can

  18    preserve its integrity as opposed to commingling it with other

  19    items.   That's what he said he did.       That's a clear violation

  20    of Judge Pro's order and clear violation of the duty to -- you

  21    know, the duty to preserve any evidence, otherwise it

  22    constitutes spoliation.

  23                I mean, there's no question about that this was a

  24    subject matter of many disputes, so the fact that even if

  25    there wasn't an order, there is an obligation on the part of a



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   1    party to preserve evidence.       This is evidence.

   2                    THE COURT:     Well, to the extent you're relying

   3    on Judge Pro's order for this line of questioning, I think you

   4    and Ms. Klar can argue about what the subtext of preserve

   5    means.    I need to see -- to review the order to really --

   6                    MR. PEEK:    I'll ask the question a different

   7    way, your Honor.

   8                    THE COURT:     All right.    Thank you.

   9                    MR. PEEK:    Thank you.     I'd just like to move on.

  10    I don't want to spend --

  11                    MS. KLAR:    Your Honor, I would just state for

  12    the record I'm not aware of any case law that interprets the

  13    word preserved in the manner implied by Mr. Peek.

  14                It is evident that action was taken to preserve the

  15    evidence.    I don't think that there's any case law that says

  16    you can't commingle.

  17                    THE COURT:     All right.    Ms. Wells.

  18                    MS. WELLS:     Your Honor, I believe the order in

  19    question may be 141 in the docket.

  20                    THE COURT:     Oh, thank you.

  21                    MR. PEEK:    Thank you.     That's why I need my

  22    laptop.    May I -- thank you.

  23                             (Discussion held off the record.)

  24                    THE COURT:     Oh, you're speaking of -- well, this

  25    is proposed order 141.      Docket 141 is a proposed order.



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   1                     MR. PEEK:    Yeah, but I -- no, the Court did not

   2    adopt this order, your Honor, because this is one where we

   3    proposed to have it actually forensically copied.

   4                     THE COURT:    Well, let's go ahead and move on.

   5                     MR. PEEK:    We'll get it at the break so we can

   6    move on, and I'll ask the question in a different manner.

   7                     THE COURT:    Thank you.    Go ahead, please.

   8    BY MR. PEEK:

   9     Q    Did you, when you created these six boxes, label the six

  10    boxes in any way other than -- label the mixed -- label the

  11    other two boxes in any way?

  12     A    I don't remember if they were labeled.

  13     Q    Okay.    Did you put other electronic media inside any of

  14    the six boxes?

  15     A    It's possible, yes.

  16     Q    Okay.    I'm not asking about possibilities.        Do you know

  17    whether you did or did not?       A simple yes or no.

  18     A    I believe I did.

  19     Q    Okay.    And what other electronic media did you put in

  20    there?

  21     A    I don't recall specifically.

  22     Q    Okay.    And when you moved from Yarrow Point to Rancho

  23    Mirage, did you put other electronic media, or do you know

  24    whether the movers put other electronic media besides the

  25    seized property into their boxes?



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   1    intermingled with other CDs and DVDs you had; is that correct?

   2     A     I believe that's correct.

   3     Q     So at some time along the way you lost the integrity of

   4    what was seized and returned to you and what wasn't seized; is

   5    that right?

   6                     MS. KLAR:    Objection -- objection, your Honor,

   7    lacks foundation.     I don't know what it means to lack

   8    integrity.

   9                 There is nothing in Judge Pro's order which says you

  10    cannot commingle.     The order is very specific.       It says he's

  11    prohibited from destroying, modifying, duplicating,

  12    distributing, disseminating, hypothecating, transferring

  13    licensing or assigning such property until such further order

  14    of the court.

  15                 This Court has ordered that certain of these

  16    documents be produced, and we assume, based on that order,

  17    Mr. Montgomery is authorized to duplicate these materials.

  18                 But, again, we object to this line of questioning.

  19    It has absolutely nothing to do with what we are here today

  20    for.   We are not prepared to address issues relating to

  21    whether or not Mr. Montgomery did or did not violate Judge

  22    Pro's order.

  23                     THE COURT:    Well, the Court has reviewed the

  24    order, it's docket number 143 which is the March 23rd, 2007,

  25    minute order from a joint hearing between -- that Judge Pro



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   1    and I presided over concerning matters related to the search

   2    warrant proceeding and the civil proceeding.

   3                And, as always with minute orders, as counsel are

   4    well aware, the minute order is simply that, it's a shorthand

   5    order of what occurred at a proceeding, and I suspect that a

   6    transcript of that hearing might be very illuminating

   7    concerning -- insofar as it may flesh out what Judge Pro meant

   8    or didn't mean.

   9                I note for the record that just above the paragraph

  10    entering the order there's a statement as follows:

  11                "Ms. Wells advises the Court" -- pardon me.          Pardon

  12    me, wrong section.     It's on page 3, in the middle it says,

  13                   "Ms. Wells advises the Court today the

  14          government has no objections to the items being

  15          returned to Mr. Montgomery as he is under an

  16          injunction not to disseminate it, use it, share it,

  17          or do anything with it except hold it."

  18                And it is correct, as Ms. Klar has stated, that the

  19    paragraph that she read into the record follows that which

  20    states that the items are subject to the preliminary

  21    injunction previously entered in this case, and then Judge Pro

  22    outlines what is -- what is said in that preliminary

  23    injunction until further order of the Court.

  24                So I guess that is an issue, but if you could ask

  25    your questions, Mr. Peek -- I mean, you're raising -- you're



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   1    obviously drawing objections by how you characterize things.

   2    I think you might have more success if you just reword them.

   3                     MR. PEEK:    I will, your Honor.

   4                     THE COURT:    All right.

   5    BY MR. PEEK:

   6     Q    Did you commingle the FBI-seized property with other

   7    electronic data?

   8     A    Yes.

   9     Q    And when did you do that?

  10     A    Sometime between the point of which it was returned to

  11    me, after that point.

  12     Q    Did you take any steps at all to identify what was

  13    FBI-seized property and what was being commingled with it?

  14     A    I don't understand what you're asking.

  15     Q    Well, what efforts, if any, did you -- did you take any

  16    efforts to identify what property was FBI-seized property

  17    versus what you were putting with the FBI-seized property?

  18     A    I put it in a box that was marked that.

  19     Q    Okay.    But did you add then other electronic data in the

  20    form of CDs or disk drives into those same boxes?

  21     A    At some point, yes.

  22     Q    And I believe at some point you said the movers did the

  23    same thing?

  24     A    I believe so.

  25     Q    And I think you told us you weren't able to label the



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   1    from the government how to handle that transfer.

   2                    THE COURT:     All right.

   3                    MR. PEEK:    Your Honor, respectfully, this is too

   4    little too late.     We were told on June 10th that the 30 CDs,

   5    that they said that they were going to copy those immediately

   6    and provide to us.     That was two weeks ago.

   7                    MS. KLAR:    Your Honor, given the fact that

   8    eTreppid has yet to produce a single electronic file in

   9    response to discovery, I'm at a loss to understand how

  10    Mr. Peek with a straight face can say to the Court it's too

  11    little too late.

  12                They have the same discovery obligations as

  13    Mr. Montgomery, and they told the Court last week that they

  14    couldn't get all of this information produced for a couple of

  15    months.

  16                So we are doing the best we can.        The documents went

  17    to -- not the documents, the CDs and the hard drives went to

  18    Fulcrum, they are doing the best they can.

  19                    THE COURT:     All right.    Well, we'll address

  20    these issues.

  21                    MR. PEEK:    In final argument.

  22                    THE COURT:     Right.   As well, I'll, of course,

  23    want the United States counsel to be privy to discussions

  24    about the issues that Ms. Klar just raised so we'll just wait

  25    until he's finished, Mr. Montgomery has finished speaking with



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   1    counsel for the government.

   2                               (Discussion held off the record.)

   3                      THE COURT:   Let the record reflect that

   4    Mr. Montgomery has resumed the stand and has apparently

   5    completed his conference with Mr. Gomez and Ms. Wells, counsel

   6    for the United States.

   7                  All right.   You may proceed, sir, Mr. Peek.

   8                      THE WITNESS:   The question was?     I mean, I

   9    forgot it now.

  10                      THE COURT:   Ms. Court Reporter, could you please

  11    read it back?

  12                   (The question was read by the reporter as
               follows: Question: And what conclusion did you draw
  13           from that request?)

  14                      THE WITNESS:   The request was for the backup.

  15    BY MR. PEEK:

  16     Q    The backup of the specific Sue Perez, Warren, Len

  17    Glogauer, Patty Gray, not the backup of classified information

  18    that we know you gave to Mr. Trepp that he put in the safe,

  19    I'm talking about these other backups?

  20     A    Whoa, whoa.    I didn't say -- what do you mean give

  21    Mr. Trepp and put in the safe?

  22     Q    Go ahead, I'm sorry --

  23     A    No, no, you're the one that asked.

  24     Q    Okay.    Sorry.   What conclusion did you draw?

  25     A    Pre-2002 I think he just wanted a copy of it.



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   1     Q    Okay.    What conclusion did you draw from why he wanted a

   2    copy out of the building?

   3                     MS. KLAR:    Objection, your Honor, lacks

   4    foundation.

   5                     THE COURT:    Overruled.    Go ahead and answer the

   6    question, sir.

   7                     THE WITNESS:    I don't recall specifically.       He

   8    just wanted one out of the building.

   9    BY MR. PEEK:

  10     Q    Okay.    You didn't conclude, for example, that he wanted

  11    to make sure that he maintained the data, it couldn't get

  12    destroyed or lost?

  13     A    That would be a reason.

  14     Q    Okay.    And if you want to back up data, wouldn't you want

  15    to back up all the data on each computer so you wouldn't

  16    destroy or lose it?

  17     A    That would be one conclusion.

  18     Q    And you took the direction from the CEO and, in fact, did

  19    back up all of the date on each of the computers?

  20     A    Absolutely not.

  21     Q    You did not.    Which data did you not back up?

  22     A    The files that were open at the time the backup occurred.

  23     Q    Okay.    So was that on every computer?

  24     A    Whatever --

  25                     MS. KLAR:    Objection, your Honor, we're back to



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   1    had a top secret clearance, and under no circumstances could

   2    anybody have a good faith belief, including Mr. Montgomery,

   3    that Sue Perez would have had any classified, state secret

   4    information on her computer.

   5                    THE WITNESS:    Allow me to talk to the government

   6    first, then they can answer your question for you.

   7                    THE COURT:    All right.

   8                    MR. PEEK:    Take the time to do it, your Honor.

   9                            (Discussion held off the record.)

  10                    THE COURT:    The record will reflect that

  11    Mr. Montgomery has now resumed the witness stand and counsel

  12    for the United States have also returned.

  13               Go ahead, sir.

  14                    MS. WELLS:    Excuse me, your Honor.

  15                    THE COURT:    Yes.

  16                    MS. WELLS:    Based on our conversations with

  17    Mr. Montgomery, we would actually request that he not answer

  18    the question that Mr. Peek has posed to him under the terms of

  19    the United States' protective order.

  20               The fact that he may or may not have backed up

  21    certain types of files on certain employees' systems could, in

  22    fact, implicate the terms of the protective order.

  23                    MR. PEEK:    I'll respect that and move on, your

  24    Honor.

  25                    THE COURT:    Thank you.



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   1    BY MR. PEEK:

   2     Q    Backups are for disaster recovery, are they not?

   3                      MS. KLAR:    Objection, your Honor, relevance.

   4                      MR. PEEK:    Your Honor, may I have a little

   5    latitude here?     I mean, what's the purpose here?       I mean, if

   6    you're going to backup, I mean, there has to be some reason to

   7    do it.

   8                  You don't just -- the CEO says do it, I mean, it's

   9    obviously -- you do it for disaster recovery, and then I want

  10    to go on again, if it's for disaster recovery, what files he

  11    copied, why didn't he copy all the files.

  12                      THE COURT:    All right.   Well, I'll allow -- it's

  13    five to 12:00 so --

  14                      MR. PEEK:    I'm mindful of the time as well.

  15    BY MR. PEEK:

  16     Q    For disaster recovery?

  17                  THE COURT:   All right.   I'm going to go ahead and

  18    overrule the objection, but let's wrap it up.

  19    BY MR. PEEK:

  20     Q    For disaster recovery?

  21     A    That would be one reason.

  22     Q    Okay.    And so you would want to make sure that you

  23    captured, because of the disaster -- a disaster might occur,

  24    all of the work product, if you will, of the employees; is

  25    that correct?



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   1    varying PST files to put them into this text file, did they

   2    not?

   3     A     Not necessarily.

   4     Q     Then how did it get done?      Was it done electronically

   5    with a program?

   6     A     I mean, there isn't only one way this file could have got

   7    created.

   8     Q     Okay.    Tell me --

   9     A     Well, you just named one, I believe.

  10     Q     Okay.    Is that the way it happened?

  11     A     Not that I recall.

  12     Q     How did it happen?

  13     A     I don't recall.    You've asked me this --

  14     Q     Okay.    You don't know, again.

  15                   So you or somebody gave it a name, and somebody

  16    chose to put into that certain E-mails from the PST files that

  17    you had in your possession; is that correct?

  18     A     From the -- I can't say that every one of those came from

  19    a PST because you've already asked me that question.

  20     Q     Okay.

  21                       THE WITNESS:   Your Honor, I would like to stop

  22    for a minute and take a break to use the restroom.

  23                       THE COURT:    All right.   We're going to take a

  24    quick five-minute break until 4:10 --

  25                       MR. PEEK:    I'm not going to go anywhere, your



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   1    Honor.

   2                    THE COURT:    We'll be in recess for five minutes.

   3                            (A recess was taken.)

   4                    MR. PEEK:    Your Honor, I want to apologize to

   5    the Court, to Ms. Klar, I made representations to the Court

   6    there was a defamation claim outstanding.         Mr. Snyder reminded

   7    me there is not.     It will be the subject matter of further

   8    conversation and motion practice as well.

   9                    THE COURT:    All right.

  10                    MR. PEEK:    But I wanted to at least clear that

  11    up with the Court and apologize to the Court and Ms. Klar for

  12    making that representation which was in fact wrong.

  13                    THE COURT:    I understand the government wishes

  14    to have a sidebar; is that correct?

  15                    MS. WELLS:    That's correct.

  16                    THE COURT:    Lawyers, if you're there appearing

  17    telephonically, I apologize, but we are not able to hook you

  18    in for the sidebar, but all other lawyers please come on over

  19    here.

  20                            (Following is discussion at sidebar.)

  21                    THE COURT:    All right.    I understand that the

  22    government has concerns about documents appearing in the

  23    exhibits that eTreppid is examining Mr. Montgomery on this

  24    afternoon.

  25                    MS. WELLS:    Okay.   We have some concerns about



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   1    some of the documents that are appearing in Exhibit 8 and

   2    Exhibit 6, and what we would like to do is --

   3                    MR. PEEK:    Eight or 9?

   4                    MS. WELLS:    Eight.    You have not used 9 yet.

   5                    MR. PEEK:    I'm using 9 right now.

   6                    MS. WELLS:    No, we do not have concerns about 9,

   7    we have concerns about 8 and 6, and there are pages within

   8    those two exhibits that we would like to pull and take back to

   9    Washington and make the redactions, and we'll provide copies

  10    back to everybody.

  11                    MR. GOMEZ:    There's also several pages --

  12                    MS. WELLS:    No, that's Exhibit 6.

  13                    THE COURT:    Okay.    So what I would propose we

  14    do, I know you would like to FedEx these back this evening,

  15    correct, sir?

  16                    MS. WELLS:    Yes.

  17                    THE COURT:    Okay.    And so -- all right.     So what

  18    I propose we do, I understand -- and I'll put this on the

  19    record, Ms. Klar, I think you mentioned to my law clerk or my

  20    court clerk that Mr. Montgomery's --

  21                    MS. KLAR:    He's hit the wall.

  22                    THE COURT:    -- tired.    Anyway, we have some

  23    other housekeeping matters to take up.

  24               I propose that we continue this and that I send

  25    Mr. Gomez and Ms. Wells -- sorry, long day -- into my jury



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   1    room, and you could begin -- we'll just hand over all the

   2    binders now, and you can now get going on that, assured that

   3    what we will do for the balance of the afternoon -- I think

   4    we're going to be wrapping it up pretty quickly.

   5               There were some housekeeping matters that we need to

   6    take care of, we'll do that, and then we will be setting a

   7    continued hearing so you'll need to --

   8                    MS. WELLS:    What I would suggest is that maybe

   9    Mr. Ferrera and Mr. Gomez can take the binders and pull these

  10    and then they can stay in the courtroom.

  11                    THE COURT:    All right.

  12                    MR. GUNDERSON:     What are we going to do with the

  13    binders that counsel have?

  14                           (Simultaneous indecipherable
                                conversation.)
  15                    MS. WELLS: We are just removing the pages which

  16    we believe need to be redacted.       We will be giving the

  17    remained of the binders back to counsel.

  18                    THE COURT:    That was Ms. Wells.     Nobody talk.

  19               All right.    Thank you.

  20                    MS. WELLS:    Thank you.

  21                            (End of sidebar discussion.)

  22                    THE COURT:    All right.    The Court has had a

  23    sidebar, and I'm going to have Mr. Gomez and the court

  24    security officer take possession of -- is it all of the

  25    binders; is that correct?



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   1                    MS. WELLS:    No, just binders 1 and 2.

   2                    THE COURT:    Take possession of binders 1 and 2,

   3    all copies.

   4                    MR. PEEK:    Are we done with his examination,

   5    your Honor?    Because Exhibit 9 is in my volume 2 so I

   6    didn't --

   7                    THE COURT:    I think we're finished.      I think

   8    that we're going to wrap things up for today.

   9                Well, I only have exhibit -- I only have binder 1,

  10    volume 1.

  11                    MR. GUNDERSON:     Your Honor, the Montgomery

  12    parties are going to surrender their volumes 1 and 2 now to

  13    the government.

  14                            (Discussion held off the record.)

  15                    THE WITNESS:     Can I step down or no?

  16                    THE COURT:    You may step down.     I'm going to

  17    have Mr. Montgomery step down.

  18                    MR. PEEK:    Your Honor, I have another volume 1

  19    here.

  20                    MS. ROBB PECK:     Your Honor, and just for the

  21    record, local counsel for both Atiego and Mr. Sandoval have

  22    surrendered volumes 1 and 2 as well.

  23                    THE COURT:    Thank you.

  24                Go ahead and have a seat, Mr. Montgomery.

  25                    THE WITNESS:     Okay.



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   1                     THE COURT:    All right.   I just want to poll

   2    counsel so I'll just go around the room, the courtroom.

   3               So, Ms. Klar, have you provided the binders volumes

   4    1 and 2 to government counsel?

   5                     MS. KLAR:    We have, your Honor.

   6                     THE COURT:    All right.   And Ms. Robb Peck

   7    advises on behalf of Atiego and Mr. Sandoval she also did.

   8                     MS. ROBB PECK:    That's correct, your Honor.

   9                     THE COURT:    And I've provided volumes 1 and 2 of

  10    my exhibits.     Did we have any additional exhibits, Ms. Clerk?

  11                     THE CLERK:    I did, your Honor, and I provided

  12    those as well.

  13                     THE COURT:    All right.   And, Mr. Peek, have you

  14    provided all of your copies that are here in the courtroom

  15    to --

  16                     MR. PEEK:    I have, your Honor, and I've also

  17    canvassed my staff to make sure that we didn't have any extras

  18    here.

  19                     THE COURT:    All right, thank you.

  20               All right.    So pursuant to the sidebar, the

  21    government will be reviewing certain documents that are in

  22    those exhibits.

  23               And so Mr. Montgomery advised Ms. Klar that he would

  24    really -- I think, is tired, and it turns out that -- I think

  25    it's making sense to me that we set yet another date for



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   1    continued hearing, but what I want to -- and we're going to

   2    take care of some housekeeping matters as well.          We aren't

   3    doing a continued hearing yet.

   4               I want to take care of -- it's unfortunate, I've

   5    lost my glasses.

   6                    MR. PEEK:    I do that all the time, your Honor.

   7                    THE COURT:    I don't know.

   8               Oh, thank you, Ms. Court Reporter.

   9               All right.    The first thing I'd like to do is go

  10    over the exhibits.     All right.    I just want to go through the

  11    laundry list.

  12               I had the clerk of the court review the first

  13    transcript of the June 10 hearing to determine which court

  14    exhibits were actually discussed and the subject of questions,

  15    and I'll just tell counsel what they are if you would like to

  16    look at your exhibit list.

  17               They were Exhibit 1, Exhibit 2, Exhibit 3,

  18    Exhibit 4, Exhibit 5, Exhibit 6, Exhibit 7, and Exhibit 12,

  19    and Exhibit 16.    So, in other words, those were the only

  20    exhibits on which the Court questioned Mr. Montgomery.

  21               I think the other exhibits were included initially

  22    with the thought that they might be the subject of inquiry,

  23    and if other counsel are interested in having those admitted,

  24    but I would like to ask if -- I'd like to admit those

  25    exhibits, 1, 2, 3, 4, 5, 6, 7, 12 and 16.         Any comment from



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   1    counsel?

   2                     MR. PEEK:    No objection, your Honor.

   3                     MS. KLAR:    Your Honor, we have no objection, but

   4    I'm wondering whether you questioned Mr. Montgomery about

   5    number 9 which was the Court's May 21, 2008 order.          I don't

   6    have independent recollection, but --

   7                     THE COURT:    I may have so let's go ahead and

   8    include that as part of the record if there's no objection.

   9                 Hearing none, I'll also include Exhibit 9.

  10                 And I think some of these other items were never

  11    intended to be exhibits, they just found their way somehow on

  12    this list.    I don't know how.

  13                 But, so, any objection to those exhibits with that

  14    exception?

  15                     MS. KLAR:    No objection, your Honor.

  16                     THE COURT:    Thank you very much, Ms. Klar.

  17                 Mr. Peek.

  18                     MR. PEEK:    No objection.

  19                     THE COURT:    Ms. Robb Peck?

  20                     MS. ROBB PECK:    No, your Honor.

  21                     THE COURT:    And Mr. Schwartz?

  22                     MS. SCHWARTZ:    No, your Honor.

  23                     THE COURT:    Mr. Liese?

  24                     MR. LIESE:    Mr. Liese, and no objection, your

  25    Honor.



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   1                    THE COURT:    All right.    Thank you, sir.     I'm

   2    sorry for mispronouncing your name.

   3                           (Court's Exhibits 1 through 7, 9, 12 and
                                16 received in evidence.)
   4                    THE COURT: All right. Well, then as to your

   5    exhibits, Mr. Peek, I guess we need to have the United States

   6    review those exhibits, and then at the continued hearing we

   7    can take up admission of those exhibits unless someone has

   8    another proposal.

   9                    MR. PEEK:    I would at least offer Exhibit 9 and

  10    Exhibit 31, your Honor.      Exhibit 31 was the second request for

  11    production identified by Mr. Montgomery.        Exhibit 9 was the

  12    production of the e-mails to the media.

  13                    THE COURT:    Let me just ask the government

  14    before you respond, Ms. Klar, do you have any objections on

  15    behalf of the government to admission of either of those

  16    exhibits?

  17                    MS. WELLS:    Certainly not to Exhibit 31, and I

  18    would just like to clarify on Exhibit 9, but I don't believe

  19    we will, but if we could reserve that, I would appreciate it.

  20                    MR. PEEK:    I can wait then to offer that, your

  21    Honor, just out of an abundance of caution.

  22                    THE COURT:    All right.    Let's reserve all of

  23    those exhibits until such time as they're all reviewed.

  24                Ms. Klar, any objection to that?

  25                    MS. KLAR:    No, your Honor.



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   1                    THE COURT:    And, Ms. Robb Peck, any objection?

   2                    MS. ROBB PECK:     No, your Honor.

   3                    THE COURT:    Mr. Schwartz, any objection, sir?

   4                    MR. SCHWARTZ:    No, your Honor.

   5                    THE COURT:    Mr. Liese, any objection, sir?

   6                    MR. LIESE:    No, your Honor.

   7                    THE COURT:    All right, very good.

   8               All right.    Now, the next item -- I can't read my

   9    note, but I know that Ms. Klar wished to be heard on the

  10    30(b)(6) deposition.

  11               At -- I don't know if it was the June 10th hearing,

  12    or if it was at last week's discovery status conference that

  13    there was a discussion about 30(b)(6) deposition of eTreppid's

  14    person most knowledgeable, and efforts were underway to set a

  15    time for that, and, Ms. Klar, what do you have to report?

  16                    MS. KLAR:    An e-mail went out to all counsel, I

  17    think, within a day or two of last week's hearing asking for

  18    dates that were convenient during the next two weeks.

  19               The response from most counsel was to give us dates.

  20    The response from Mr. Peek was that he had yet another

  21    vacation planned.

  22               We then sent an e-mail to him on Friday saying,

  23    Mr. Peek, can you please give us dates subsequent to your

  24    return from your vacation, and also asking him to give us

  25    dates for all the other vacations he has planned for the



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   1    summer so that we can make sure not to schedule any

   2    depositions on those dates.

   3               We have not had the courtesy of a response that I'm

   4    aware of, and we would like to convene that deposition

   5    sometime right after the July 4 holiday which is when, I

   6    believe, Mr. Peek returns.

   7                    THE COURT:    All right.    Mr. Peek, I just recall

   8    from -- I think it was the June 10 hearing that you had a

   9    holiday, a vacation planned.

  10                    MR. PEEK:    The 25th through the 5th.      I told

  11    Ms. Klar, I told the Court that.

  12                    THE COURT:    Right, right.

  13                    MR. PEEK:    So I don't know what this "yet

  14    another holiday" is, that's the same one I had.

  15                    THE COURT:    All right.    Well, so let's set a

  16    date.

  17                    MR. PEEK:    Okay.   And, your Honor, I got the

  18    correspondence late Friday.      Frankly, I have not had a chance

  19    to get back to Ms. Klar.      I know it is certainly high on her

  20    list of priorities.     Certainly today's hearing and preparing

  21    for it was high on my list of priorities.

  22               I wasn't ignoring her.      I responded very quickly the

  23    first time I got the e-mail, I just got a little occupied.

  24               And Mr. -- I will just tell the Court two things.

  25    One, Mr. Trepp is not available from July 1st through



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   1    July 14th.    I start a jury trial in Las Vegas on July 14th,

   2    I'm available the following week, which is the week of July

   3    21st, and so is Mr. Trepp.

   4                 And I also think, your Honor, and this will be the

   5    subject matter of a written motion, but I want to at least let

   6    the Court know that I think it appropriate that discovery,

   7    whether it be on my side or on Ms. Klar's side, in the nature

   8    of oral discovery at least be held until such time as there is

   9    complete production.

  10                 My concern is, and I'll put this in papers, is that

  11    we start without a complete production by both sides and then

  12    somebody comes back and says, oh, you've now given me more

  13    documents, I want to take another one, or then there's a third

  14    one.

  15                 And so I'll make that the subject matter of a motion

  16    before we have the hearing on the 15th, but I'm available the

  17    week of the 21st, your Honor.

  18                     THE COURT:   All right.    Then counsel are

  19    directed to go ahead and schedule -- look at your calendars

  20    and make -- please do your best.       I know it is the summer

  21    vacation season, that's just -- for people, and there are also

  22    special occasions that come during the summer that people have

  23    to attend to.

  24                 So, though, until further order of the Court it is

  25    ordered that counsel for the parties meet and confer and



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   1    schedule the deposition -- I presume it would be Mr. Trepp is

   2    the person most knowledgeable -- for the week of July 21,

   3    2008, and that you do so, complete that, make that decision by

   4    the end of this week, by June 27, 2008, get the time set, and,

   5    Mr. Peek, if you're leaving for a vacation, please do your

   6    best.

   7                    MR. PEEK:    I'll give Mr. Snyder my dates during

   8    that week, as well as Mr. Trepp's.

   9                    THE COURT:    All right.

  10                    MR. PEEK:    And then the other thing, your Honor,

  11    is I would just inquire whether or not Ms. Klar expects us to

  12    go beyond one day.

  13               We have not had a meet and confer, and I know we

  14    need to have that --

  15                    THE COURT:    Right.

  16                    MR. PEEK:    -- on whether or not we're going --

  17    how long the depositions are going to take place.

  18                    THE COURT:    Well, I think that's also another

  19    subject of -- two issues are arising.        One, is the timing of

  20    any oral discovery.     Two, is -- the next question is, of

  21    course, how long these will take.

  22               So I'm going to ask counsel to discuss that, that

  23    should be part of your discussion between now and June 27th,

  24    so that you can reach an understanding -- yes, Ms. Wells?

  25                    MS. WELLS:    Well, I just wanted to clarify, and



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   1    I know that we have been included in the e-mails to date, but

   2    your order only mentioned the parties, that the counsel for

   3    the United States be included in the scheduling for this

   4    deposition because, given the topic areas to be covered, it

   5    does implicate --

   6                     THE COURT:    Yes, I apologize for that oversight,

   7    Ms. Wells.

   8                     MS. WELLS:    And may I just state for the record,

   9    I'm unavailable the week of the 21st, but I'm not sure whether

  10    Mr. Gomez would be available.

  11                     THE COURT:    All right, thank you.

  12                 Well, we're going to -- please do your best, and --

  13                     MR. PEEK:    How about counsel, Mr. Schwartz and

  14    Mr. Liese?

  15                     THE COURT:    Well, I want everybody -- we are

  16    going to have a chat about that today.

  17                     MR. PEEK:    Okay.

  18                     THE COURT:    That's why I'm giving you until the

  19    27th to see what you can come up with, and maybe if you want

  20    to stay after for a few minutes and discuss it, that's fine

  21    with me.

  22                 Oh, I know.   Ms. Klar, you were going to report on a

  23    discussion you had during a recess with counsel from

  24    Washington, D.C.

  25                     MS. KLAR:    Your Honor, I was not able to reach



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   1    Mr. Pelchin, he is vacationing in Greece until July 4th, but I

   2    was able to speak to the junior associate who is working on

   3    this matter, and she will get an e-mail to him and try to

   4    contact him tomorrow so I can have a conversation with him --

   5                    THE COURT:    All right.

   6                    MS. KLAR:    -- and a determination can be made

   7    how to proceed with this issue.

   8               Given Mr. Peek's schedule, it would appear that we

   9    cannot reconvene this hearing until sometime after July 21st.

  10               So given that fact, I think we will have adequate

  11    time, but what I would ask the Court is, if a decision is made

  12    to reproduce that PST file, would that run afoul of the

  13    Court's order, and the point being, we would reproduce it and

  14    have Fulcrum do whatever needs to be done so that they can be

  15    available to respond to any questions.

  16                    THE COURT:    When you ask how would it run afoul

  17    of the Court's order, tell me why you ask that question.

  18                    MS. KLAR:    Well, because I don't want to run

  19    afoul of your order.

  20                    THE COURT:    Right.   Which order?

  21                    MS. KLAR:    Well, you ordered us to produce

  22    something by a certain date.

  23                    THE COURT:    Oh, I see.

  24                    MS. KLAR:    And I am basically asking you to do a

  25    substitute production, and the reason I'm doing that is



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   1    that, sir.    Thank you, though.

   2                     MR. SCHWARTZ:    Just double checking.      Thank you,

   3    your Honor.

   4                     MR. PEEK:    With respect to Mr. Montgomery, I'm

   5    assuming that the two hour is my limit of cross.

   6                     THE COURT:    Yes.

   7                     MR. PEEK:    Ms. Klar may have some redirect of

   8    him, I don't know.

   9                 And then with respect to Mr. Karchmer, we would have

  10    two hours on direct, I don't know how much cross.

  11                     THE COURT:    All right.   And then so --

  12                     MR. PEEK:    And then Mr. Trepp would be an hour

  13    and a half at the most.

  14                     THE COURT:    So that is five and a half hours.

  15                     MS. KLAR:    Your Honor, that doesn't give me very

  16    much time for any kind of rebuttal.

  17                     THE COURT:    No, it doesn't.    What do you

  18    anticipate?    Do you know at this time?

  19                     MS. KLAR:    I don't.   I'm assuming that I'm going

  20    to have to put an expert on to respond to Mr. Karchmer, and I

  21    think I also will have to -- I may have to put testimony on in

  22    response to Mr. Trepp, and I would assume that I will be

  23    cross-examining Mr. Trepp.

  24                     THE COURT:    All right.   Well -- all right.

  25                 Oh, please hand that extra exhibit -- the record is



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   1    reflecting that the law clerk is delivering yet another binder

   2    to Mr. Gomez that he needs to take a look at.

   3               Please make sure, everybody, before you leave today,

   4    I know everybody is doing their best, it's which binders?

   5    One --

   6                    MS. WELLS:    1 and 2.

   7                    THE COURT:    Binders 1 and 2.     Don't take them.

   8    Make sure when you're packing up, my law clerk will be here,

   9    and we can deliver those to Mr. Gomez and the court security

  10    officer.

  11               All right.    Well, I'll -- what I'm going to tell --

  12    I'm gone, so I'll tell counsel when I'm available.

  13               I think what we're going to have to do is this,

  14    rather than decide all of this today, I want to give counsel,

  15    Mr. Peek and Ms. Klar, an opportunity to consider how you want

  16    to proceed at the continued show cause hearing and what time

  17    you think you're going to need, and then I think you can

  18    submit what your individual proposals are about what you would

  19    request from the Court in terms of time.

  20               And then what I'll do is either issue an order

  21    saying here's when I'm available and this is how much time

  22    you're getting and this is when I can be available, but I will

  23    tell you -- let's see.      I think next week is out, right?

  24               Well, I'm available before July 21, but I guess --

  25    and I'm available the week of July 21st on the 24th or the



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   1    25th.

   2                     MR. PEEK:    Your Honor, as always, there's a

   3    chance that a case could settle the week of the 14th, but I

   4    don't --

   5                     THE COURT:    I'm just -- I understand.     I'm just

   6    telling you that I'm available so you know, and I could

   7    possibly continue a matter on July 23rd.        So July 23rd, 24th,

   8    or 25th, I am out.     The Ninth Circuit conference is the

   9    following week and I am gone, and I am gone for part of the

  10    next week.

  11                 So I'm available the week of August 11 on Monday,

  12    the 11th, Tuesday, the 12th.       I could revise my schedule to be

  13    available the week of August 11 on the 11th, the 12th, 13th,

  14    and the 14th.

  15                 We have on Tuesday, August 19, the status conference

  16    with Judge Pro.    I'm available August 20th, could be available

  17    the 21st and the 22nd also.      I think that gives you --

  18                     MR. PEEK:    When would you like us to give

  19    you our --

  20                     THE COURT:    Wait a minute.

  21                     THE CLERK:    It was moved to Monday, the 18th.

  22                     THE COURT:    Oh, I'm sorry, I moved it, I moved

  23    the hearing to accommodate Judge Pro's schedule.          I apologize,

  24    that's now set for Monday, August 18th.

  25                     MR. PEEK:    Does that make the Court available on



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   1    the 19th?

   2                    THE COURT:    Yes.   So I'm not asking you to do

   3    this today, I want you all to go home and look at your

   4    calendars, and then I want you to contact my court clerk on

   5    the 27th of this -- of June, just say what days you're

   6    available of those dates that I picked.        Talk to one another,

   7    figure out what days you're available.

   8                If we need to set it for two days.       Realistically, I

   9    would rather do that and get it done than keep bringing you

  10    all back at expense to your clients.

  11                But what I also want, counsel, will it give you

  12    adequate time to decide what amount of time you would like to

  13    request, if you can do that by Friday, would that be

  14    sufficient time, Ms. Klar?

  15                    MS. KLAR:    Yes, your Honor.

  16                    THE COURT:    All right.    And, Mr. Peek?

  17                All right.   So -- and on the 27th, just file a paper

  18    saying requested time and witnesses for evidentiary hearing,

  19    and then I'll decide how long it's going to be and what I'm

  20    going to do, and then, in the meantime, everybody can just

  21    either jointly or separately file a notice of availability and

  22    which dates you and your clients are available of the dates

  23    that I mentioned.     All right?

  24                    MR. PEEK:    Thank you, your Honor.

  25                    MS. KLAR:    Thank you very much, your Honor.



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   1                    THE COURT:    Is there anything else that anyone

   2    has?   Ms. Klar?

   3                    MS. KLAR:    No, your Honor.

   4                    THE COURT:    All right.    Mr. Peek?

   5                    MR. PEEK:    No, your Honor.

   6                    THE COURT:    Ms. Robb Peck?

   7                    MS. ROBB PECK:     No, your Honor.

   8                    THE COURT:    Mr. Schwartz?

   9                    MR. SCHWARTZ:    No, your Honor.

  10                    THE COURT:    Mr. Liese?

  11                    MR. LIESE:    No, your Honor.

  12                    THE COURT:    Ms. Wells and Mr. Gomez?

  13                    MS. WELLS:    No, your Honor.

  14                    THE COURT:    All right.    Thank you very much,

  15    then, we're adjourned for today.

  16                                     -o0o-

  17

  18              I certify that the foregoing is a correct
                  transcript from the record of proceedings
  19              in the above-entitled matter.

  20              /s/Margaret E. Griener         07/03/2008
                   Margaret E. Griener, CCR #3, RDR, FCRR
  21               Official Reporter

  22

  23

  24

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                       EXHIBIT M
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                                                     U.S. Department of Justice
                                                     Civil Division
                                                     Federal Programs Branch

                                                     Mailing Address        Overnight Delivery Address
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                                                                                     April 3, 2023
VIA E-MAIL

Andrew Parker, Esq.
888 Colwell Building
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        Re: Smartmatic USA Corp. et al., v. Michael J. Lindell, et al., No. 22-cv-0098 (D.
              Minn.)

Dear Mr. Parker:

       The Department of Justice (“the Department”) sets forth below its response and objections
to your Rule 45 subpoena of Carlotta Wells, Assistant Branch Director of the Federal Programs
Branch in the Civil Division of the Department of Justice, dated March 20, 2023. Your subpoena
seeks Ms. Wells’ deposition testimony on the following subjects:

    (1) Mr. Montgomery worked on U.S. government programs that involved information
        protected by the State Secrets Privilege;

    (2) the federal government undertook active measures to prevent Mr. Montgomery
        from disclosing state secrets, including seizing documents from his attorney,
        attending his deposition, and attending court hearings at which he testified;

    (3) Ms. Wells engaged in conversations with Mr. Montgomery on multiple occasions
        regarding the State Secrets Privilege and what information Mr. Montgomery was
        permitted to disclose or prohibited from disclosing;

    (4) the United States Government’s desire to protect State Secret Information held by
        Mr. Montgomery continues today; [and]

    (5) Exhibits A, B, C, D, and E accurately reflect the events they describe.

Ex. 2 at 4.




                                                1
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        The Department has considered this request under its Touhy regulations, issued pursuant
to the Federal Housekeeping Statute, 5 U.S.C. § 301, and United States ex rel. Touhy v. Ragen,
340 U.S. 462 (1951), set forth at 28 C.F.R. § 16.21 et seq. Pursuant to these regulations, the
Department is empowered to determine whether to permit its employees to testify in cases, such
as this one, in which the government is not a party. See Elnashar v. Speedway SuperAmerica,
LLC, 484 F.3d 1046, 1052–54 (8th Cir. 2007); see also, e.g., Upsher-Smith Lab’ys, Inc. v. Fifth
Third Bank, No. 16-cv-556, 2017 WL 7369881, at *8 (D. Minn. Oct. 18, 2017).

        In determining how to respond to a demand for information such as a deposition, the
Department considers a number of factors, including whether the deposition is appropriate under
the applicable rules of procedure and whether compliance with the subpoena would involve
disclosure of classified or privileged information, or information that is otherwise protected by
statute or regulation. 28 C.F.R. § 16.26. After considering these factors, we decline to authorize
Ms. Wells’ testimony in the above-referenced litigation and object to your subpoena on numerous
grounds. As explained below, your requested testimony concerns a lawsuit filed seventeen years
ago and dismissed over a decade ago, and you have failed to set forth any reasonable, plausible
basis that the matters at issue in those court proceedings have any possible bearing on statements
regarding 2020 election fraud or Smartmatic voting machines. Moreover, you seek testimony that
is variously protected from disclosure via court order, testimony of which Ms. Wells has no
personal knowledge and for which there exist more convenient sources, and testimony that is
subject to privilege.

    1. The Testimony Sought Is Not Relevant to the Above-Referenced Litigation or
       Proportional to the Needs of the Case.

         First, Defendants’ request for testimony is denied because the information Defendants seek
is not relevant to the claims or defenses of any party to this litigation, nor proportional to the needs
of the case. See Fed. R. Civ. P. 26(b)(1) (providing that all discovery must be relevant to a claim
or defense and proportional to the needs of the case); 28 C.F.R. § 16.26(a) (“In deciding whether
to make disclosure pursuant to a demand, Department officials and attorneys should consider (1)
whether such disclosure is appropriate under the rules of procedure governing the case . . . .”).

        Smartmatic USA Corp., Smartmatic International Holding B.V., and SGO Corporation
Limited (collectively, “Smartmatic”) filed the underlying defamation action against Michael J.
Lindell and My Pillow, Inc. based on numerous statements by Mr. Lindell in the wake of the 2020
presidential election, in which Mr. Lindell claimed that Smartmatic voting technology was
exploited in various ways to alter votes and election results to the detriment of former-President
Donald Trump. According to Smartmatic, Mr. Lindell’s assertions generally centered on the
alleged failure and/or exploitation of certain “algorithms” in Smartmatic voting machines. See
Compl. ¶ 75, ECF No. 1. Defendants claim that Ms. Wells’ testimony on the above-described
topics is relevant to Defendants’ defenses, including “the defense that [Mr. Lindell’s] allegedly
defamatory statements were true, and the defense that the statements were plausible.” Ex. 2 at 1.




                                                   2
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Specially, Defendants assert that Ms. Wells’ testimony will show that “Mr. Lindell’s reliance on
Mr. Montgomery and the information he stated he possessed was reasonable.” Id. at 1.

        You have failed to demonstrate any connection between the requested deposition testimony
and that showing. See Sterne Kessler Goldstein & Fox, PLLC, 276 F.R.D. at 385 (explaining that
asserting that counsel has “non-privileged, factual information without specifying precisely what
information is sought or the benefit of that information is insufficient to overcome the potential
risks that the Federal Rules were intended to protect against”). The requested testimony concerns
Ms. Wells’ representation of the United States in Montgomery v. eTreppid Technologies, Inc., No.
06-cv-56 (D. Nev.), a lawsuit in which the United States asserted the state secrets privilege and
obtained a Protective Order regarding certain information. That lawsuit was filed seventeen years
ago and dismissed over a decade ago, and you have failed to set forth any reasonable, plausible
basis that the matters at issue in those court proceedings, which predate your case by more than a
decade and a half, have any possible bearing on statements regarding 2020 election fraud or
Smartmatic voting machines. See, e.g., Harrington v. Bergen Cnty., No. CV 14-5764 (SRC), 2017
WL 4387373, at *2 (D.N.J. Oct. 3, 2017) (affirming denial of discovery “concerning an unrelated
criminal investigation that occurred nearly nine years ago” on the basis of proportionality and
undue burden). On that basis alone, your request is improper.

         Moreover, Ms. Wells’ only involvement in eTreppid was as counsel for the United States
in its assertion of the states secret privilege in that case. To the extent that topics (2) and (3) seek
to establish that the government acted to protect certain information in that case, the government’s
unclassified filings entered on the public record in that case speak for themselves. Therefore, your
request for testimony about the actions the government “undertook” in that case, Ex. 2 at 4, is
cumulative and accordingly not relevant or proportional to the needs of the case, see Fed. R. Civ.
P. 26(b)(2)(C)(i) (limiting discovery when “the discovery sought is unreasonably cumulative or
duplicative”).

    2. The Testimony Sought Is Not Authorized to the Extent it Seeks Information Protected
       from Disclosure by the Protective Order in eTreppid.

        To the extent your request seeks testimony on subjects covered by the Protective Order in
eTreppid, your request is denied. As you know, at the Government’s request, the court entered an
order in eTreppid prohibiting discovery of information relating to (1) “the existence or non-
existence of any actual or proposed relationship” between the parties and any U.S. intelligence
agency and (2) any “actual or proposed intelligence agency interest in, application of or use of any
technology, software or source code owned or claimed by the Parties.” Protective Order ¶¶ 2–3,
eTreppid, No. 06-cv-56 (D. Nev. Aug. 29, 2007), ECF No. 253. Your request for testimony
concerning topics (1) and (3) regarding whether “Mr. Montgomery worked on U.S. government
programs that involved information protected by the State Secrets Privilege” and his conversations
with Ms. Wells regarding “what information Mr. Montgomery was . . . prohibited from disclosing”
fall squarely within that prohibition. Ex. 2 at 4. As you plainly know, both your client and Mr.
Montgomery have sought to lift the Protective Order, which remains in effect. See Mot. to
Intervene and to Lift Protective Order, eTreppid, No. 06-cv-56 (D. Nev. Aug. 20, 2022), ECF No.
1216; Mot. to Restrict Application of State Secrets Privilege, Protective Order, and Classified



                                                   3
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Information Nondisclosure Agreement, eTreppid, No. 06-cv-56 (D. Nev. Nov. 14, 2022), ECF
No. 1236. Your request for Ms. Wells’ testimony is denied on this additional ground.

    3. The Testimony Sought Is Not Authorized to the Extent it Seeks Information About
       Which Ms. Wells Has No Personal Information or for Which There Is a More
       Convenient Source.

          The Department also denies your request to the extent you seek testimony on topics about
which Ms. Wells has no personal knowledge. For example, Ms. Wells cannot testify concerning
topic (4) – any desire by the United States “to protect State Secret Information held by Mr.
Montgomery [] today.” Ex. 2 at 4. The Government’s position on your client’s request to lift the
Protective Order is a matter of public record in eTreppid. See U.S.’s Mem. in Opp. to Mot. to
Intervene at 1, eTreppid, No. 06-cv-56 (D. Nev. Oct. 6, 2022), ECF No. 1232 (opposing the motion
on substantive and procedural grounds and noting that “Lindell seeks this relief despite the fact
that . . . he has not alleged that the protective order has actually prevented him from obtaining any
information he needs”); U.S.’s Mem. in Opp. to Dennis Montgomery’s Mot. Filed at ECF No.
1236 at 3, eTreppid, No. 06-cv-56 (D. Nev. Dec. 5, 2022), ECF No. 1243 (opposing the motion
on substantive and procedural grounds and noting that “the Protective Order entered in this case
has nothing to do with the defamation litigation against Lindell”). Ms. Wells has no further
information regarding that topic. Ms. Wells also does not have personal knowledge concerning
Mr. Montgomery’s alleged technology based on her involvement in eTreppid, nor any matter
concerning the underlying defamation lawsuit. She was simply counsel for the Government in
connection with a matter that arose seventeen years ago, and in that role presented the
Government’s position and information to the court and took appropriate steps to protect the
Government’s interests when necessary in extrajudicial settings.

        The Department also objects on undue burden grounds to providing information that can
be more easily sought from another source. See Fed. R. Civ. P. 26(b)(2)(C)(i) (limiting discovery
when that discovery “is obtainable from some other source that is more convenient, less
burdensome, or less expensive”). Mr. Montgomery is a more convenient and less burdensome
source of information regarding topics (1), (2), and (3) to the extent not prohibited from disclosure
by the eTreppid Protective Order. See Sterne Kessler, 276 F.R.D. at 385 (quashing subpoena of
former patent counsel because counsel was not the appropriate source of information regarding
patent interview where respondent could instead depose the patent examiner and the patent
inventor). You have provided no explanation for why Ms. Wells’ duplicative and more attenuated
testimony would be necessary on those topics. See Fed. R. Civ. P. 26(b)(2)(C)(i) (limiting
discovery when “the discovery sought is unreasonably cumulative or duplicative”). Moreover, the
eTreppid Protective Order did not preclude the parties in eTreppid from serving or taking any
discovery from other parties or third parties relating to, inter alia, computer source code, software,
programs, or technical specifications relating to any technology owned or claimed by any of the
parties. See Protective Order ¶ 4(c), eTreppid, No. 06-cv-56 (D. Nev. Aug. 29, 2007), ECF No.
253. You have not explained why such sources are insufficient to provide the information you
seek. Finally, to the extent that you seek someone to testify as to the “accura[cy]” of Defendants’
attachments, topic (5) can be more conveniently established through either Mr. Montgomery or
the relevant court reporter. Ex. 2 at 4. For these reasons, your request is unduly burdensome and
therefore denied.


                                                  4
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   4. The Testimony Sought Is Not Authorized to the Extent it Seeks Privileged
      Information.

        The Department denies your request to the extent it seeks information that is privileged.
The Department’s Touhy regulations provide that the Department shall consider “[w]hether
disclosure is appropriate under the relevant substantive law concerning privilege.” 28 C.F.R.
§ 16.26(a)(2); see also Fed. R. Civ. P. 45(d)(3)(A)(iii). Notwithstanding Defendants’ assertion
that they “do not intend to ask Ms. Wells to disclose the substance of attorney-client
communications or work product material generated in the course of her representation of the
United States,” Ex. 2 at 3, the deposition of trial counsel necessarily requires significant parsing
between privileged information and non-privileged information. See Sterne Kessler, 276 F.R.D.
at 385 (“Clearly a deposition of [counsel] would require diligent efforts to avoid disclosure of
attorney-client communications and protected work-product material, a painstaking process that
poses risks that other sources of discovery do not.”); United States v. All Assets Held in Acct. No.
XXXXXXXX, No. 13-cv-1832, 2019 WL 95605, at *8 (D.D.C. Jan. 3, 2019) (“To successfully walk
the tightrope between what is discoverable and what is privileged, [counsel] would have to
distinguish what he affirmatively disclosed to third parties more than 17 years ago from his own
mental impressions of the case.”). Indeed, deposing counsel can lead to the revelation of counsel’s
“personal recollections” and “assembly of facts,” which the Eighth Circuit has repeatedly
confirmed are protected work product in and of themselves. Evans v. Krook, No. 20-CV-2474
(MJD/ECW), 2022 WL 17176186, at *9–10 (D. Minn. Nov. 23, 2022) (collecting cases); see also
Shelton v. Am. Motors Corp., 805 F.2d 1323, 1328–30 (8th Cir. 1986). In addition, your request
appears to seek information based on or related to the state secrets privilege assertion in eTreppid
and subject to the Protective Order in that case. Thus, to the extent your subpoena seeks such
privileged information, your request is denied on this additional ground.

                                               ***

        For the foregoing reasons, the Department declines to authorize the requested deposition
testimony of Ms. Wells. Please let me know if you have any questions or would like to discuss
further.


                                              Sincerely,

                                              /s/ Cassandra Snyder
                                              Cassandra Snyder
                                              (202) 451-7729




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                                                                14 Attorneys for Proposed Intervenor

                                                                15

                                                                16                             UNITED STATES DISTRICT COURT

                                                                17                                 DISTRICT OF NEVADA

                                                                18   DENNIS MONTGOMERY, an                   CASE NO.: 3:06-cv-00056-PMP-VPC
                                                                     individual; and MONTGOMERY                        and
                                                                19   FAMILY TRUST, a California Trust,                 3:06-cv-00145-PMP-VPC
                                                                20                Plaintiff,
                                                                21
                                                                           v.
                                                                22
                                                                   ETREPPID TECHNOLOGIES, L.L.C., a
                                                                23 Nevada Limited Liability Company;
                                                                   WARREN TREPP, an individual;
                                                                24 DEPARTMENT OF DEFENSE of the

                                                                25 UNITED STATES OF AMERICA; and
                                                                   DOES 1 through 10,
                                                                26
                                                                                Defendants.
                                                                27
                                                                    AND ALL RELATED CASE(S)
                                                                28


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                                                                 1             MEMORANDUM IN SUPPORT OF MOTION TO INTERVENE
                                                                                      AND TO LIFT PROTECTIVE ORDER
                                                                 2
                                                                                                    Oral Argument Requested
                                                                 3

                                                                 4          Non-party Michael J. Lindell (“Lindell”) hereby seeks to intervene in these actions

                                                                 5 for the limited purpose of obtaining the lifting of the Court’s protective order entered on

                                                                 6 August 29, 2007 in case no. 06-cv-00056 as Doc. #253 (“Protective Order”). Lindell

                                                                 7
                                                                     possesses data (“Data”) obtained from party Dennis Montgomery (“Montgomery”), which
                                                                 8
                                                                     Lindell seeks to use to defend himself against claims asserted in other litigation, and the
                                                                 9
                                                                     Data may be covered by the Protective Order.
                                                                10

                                                                11                                              I.
                                                                                                       Factual Background
                                                                12
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                                                                            Lindell is a defendant in US Dominion, Inc. et al. v. My Pillow, Inc. et al., case no.
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                                                                     1:21-cv-00445 in the United States District Court for the District of Columbia (“D.C.
                                                                14

                                                                15 Litigation”). The plaintiffs’ complaint in that action alleges Lindell defamed them by

                                                                16 making various statements about electronic election equipment used in the 2020

                                                                17 presidential election being hacked to manipulate the results of the election. Decl. of

                                                                18 Michael Lindell See Exhibit A at ¶ 3 & Ex. A ¶ 165 (“Lindell Decl.”). In making these
                                                                19
                                                                     statements, Lindell relied in part upon information that originated with Montgomery. Id.
                                                                20
                                                                     ¶ 74; Lindell Decl. ¶ 4. Accordingly, Lindell seeks to use testimony and evidence
                                                                21
                                                                     concerning Montgomery’s background and his work for U.S. intelligence agencies, and the
                                                                22

                                                                23 information from Montgomery itself, to defend the reasonability and veracity of his

                                                                24 allegedly defamatory statements in the D.C. Litigation. Id. ¶ 5.

                                                                25          The information that Lindell in part relied upon, the Data, comprises internet
                                                                26
                                                                     transmissions sent during the 2020 election that were collected by technology Montgomery
                                                                27
                                                                     developed and previously licensed to the US government. Lindell Decl. ¶ 7; Montgomery
                                                                28


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                                                                 1 See Exhibit B at Decl. ¶ 40. Montgomery has gathered extensive data showing that voting

                                                                 2 machine manufacturers and their employees were hacked several times, and information

                                                                 3
                                                                     related to illegal US government surveillance programs that Montgomery worked in.
                                                                 4
                                                                     Montgomery Decl. ¶ 38. Lindell agreed to acquire ownership rights to the Data from
                                                                 5
                                                                     Montgomery. Lindell Decl. ¶ 6; Montgomery Decl. ¶ 39. The Protective Order entered by
                                                                 6
                                                                     this Court prohibits the use or disclosure of information related to Montgomery’s work for
                                                                 7

                                                                 8 or relationship with U.S. intelligence agencies. See Doc. #253. Montgomery believes the

                                                                 9 Protective Order remains in place and precludes disclosure of the Data. Montgomery Decl.

                                                                10 ¶ 41. Lindell seeks removal of this barrier to him using the Data, and testimony and

                                                                11
                                                                     evidence concerning Montgomery, to defend himself in the D.C. Litigation. Lindell Decl.
                                                                12
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                                                                     ¶ 10.
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                                                                                                               II.
                                                                14                Lindell May Intervene in This Action for the Limited Purpose
                                                                15                              Modifying the Protective Order.

                                                                16           Fed. R. Civ. P. 24(a)(2) grants the right to intervene in an action under specified

                                                                17 circumstances. Rule 24(b)(1)(B) grants the ability to intervene in an action on a permissive

                                                                18 basis. Lindell can intervene in this action for his intended limited purpose, both
                                                                19
                                                                     permissively under Rule 24(b)(1)(B) and as of right under Rule 24(a)(2).
                                                                20
                                                                             The “requirements for intervention” are to be “broadly interpreted in favor of
                                                                21
                                                                     intervention,” Kalbers v. United States DOJ, 22 F.4th 816, 822 (9th Cir. 2021), and “The
                                                                22

                                                                23 courts have widely recognized that the correct procedure for a nonparty to challenge a

                                                                24 protective order is through intervention for that purpose.” United Nuclear Corp. v.

                                                                25 Cranford Ins. Co., 905 F.2d 1424, 1427 (10th Cir. 1990) (citing Public Citizen v. Liggett

                                                                26
                                                                     Group, Inc., 858 F.2d 775, 783 (1st Cir. 1988)).
                                                                27
                                                                     ///
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                                                                 1          A.     Lindell May Intervene on a Permissive Basis.

                                                                 2          “Generally, permissive intervention under Rule 24(b) requires ‘(1) an independent
                                                                 3
                                                                     ground for jurisdiction; (2) a timely motion; and (3) a common question of law and fact
                                                                 4
                                                                     between the movant's claim or defense and the main action.’” Blum v. Merrill Lynch
                                                                 5
                                                                     Pierce Fenner & Smith Inc., 712 F.3d 1349, 1353 (9th Cir. 2013) (quoting Beckman
                                                                 6
                                                                     Indus., Inc. v. Int’l Ins. Co., 966 F.2d 470, 473 (9th Cir. 1992)). However, “[T]here is
                                                                 7

                                                                 8 ample support for intervenor’s argument that courts also recognize Rule 24(b) intervention

                                                                 9 as a proper method to modify a protective order.” Beckman, 966 F.2d 470, 472 (9th Cir.

                                                                10 1992). Accordingly,

                                                                11
                                                                        •   “No independent jurisdictional basis is needed” when an intervenor seeks to modify
                                                                12
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                                                                            a protective order rather than litigate a claim on the merits, Beckman, 966 F.2d at
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                                                                            473; Pansy, 23 F.3d at 778, n.3; EEOC, 146 F.3d at 1047; In re “Agent Orange”
                                                                14

                                                                15          Prod. Liab. Litig., 821 F.2d 139, 145 (2d Cir. 1987);

                                                                16      •   “[M]otions to intervene for the purpose of seeking modification of a protective
                                                                17          order in long-concluded litigation are not untimely,” Blum, 712 F.3d at 1353 (citing
                                                                18
                                                                            “the growing consensus among the courts of appeals that intervention to challenge
                                                                19
                                                                            confidentiality orders may take place long after a case has been terminated”);
                                                                20
                                                                            United Nuclear Corp., 905 F.2d at 1427 (“Rule 24(b)’s timeliness requirement is to
                                                                21

                                                                22          prevent prejudice in the adjudication of the rights of the existing parties, a concern

                                                                23          not present when the existing parties have settled their dispute and intervention is

                                                                24          for a collateral purpose.”); and
                                                                25
                                                                        •   “There is no reason to require such a strong nexus of fact or law when a party seeks
                                                                26
                                                                            to intervene only for the purpose of modifying a protective order.” Beckman, 966
                                                                27
                                                                            F.2d at 474. The requirement that a claim or defense present “common legal or
                                                                28


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                                                                 1          factual   issues”   to   the   main   action    is   interpreted   with   “considerable

                                                                 2          breadth.” EEOC, 146 F.2d at 1046; Pansy, 23 F.3d at 778. See also Advance Loc.
                                                                 3
                                                                            Media, 918 F.3d at 1173 n.12 (when a party seeks to intervene only for the limited
                                                                 4
                                                                            purpose of obtaining access to sealed judicial records, there need not be a “strong
                                                                 5
                                                                            nexus of fact or law” to the issues in the original case) (quoting Flynt, 782 F.3d at
                                                                 6
                                                                            967); Jessup v. Luther, 227 F.3d 993, 997-99 (7th Cir. 2000); Pansy, 23 F.3d at
                                                                 7

                                                                 8          778; In re Estelle, 516 F.2d 480, 485 (5th Cir. 1975).

                                                                 9          Here, all three requirements for permissive intervention are met. Lindell seeks to
                                                                10 intervene for the limited purpose of modifying the Court’s Protective Order. No

                                                                11
                                                                     independent jurisdictional basis is needed, the motion is not untimely, and there is a
                                                                12
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                                                                     common question of law and fact between the grounds that considerations that justified the
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                                                                     entry of the Protective Order originally, and whether those grounds still justify any
                                                                14

                                                                15 restrictions of the Protective Order upon the Data. Cf. Beckman 966 F.2d at 474 (“The

                                                                16 issue of interpretation of the policy supplies a sufficiently strong nexus between the district

                                                                17 court action and the state actions to satisfy the commonality requirement”).

                                                                18          An additional consideration for motions to intervene is whether intervention will
                                                                19
                                                                     “unduly delay or prejudice the adjudication of the original parties’ rights.” Blum, 712 F.3d
                                                                20
                                                                     at 1354. But, again, when the intervention is for the limited purpose of addressing a
                                                                21
                                                                     protective order, this consideration loses force. Where “[t]he existing parties have settled
                                                                22

                                                                23 their dispute,” intervention has “has little effect on the original parties’ underlying rights.”

                                                                24 Id. This action was settled and all claims dismissed in 2009. See Order (Feb. 19, 2009)

                                                                25 (doc. 100).

                                                                26
                                                                27

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                                                                 1            All elements for permissive intervention are met, and no part would be prejudiced

                                                                 2 by Lindell’s limited intervention. Lindell should be permitted to intervene under Rule

                                                                 3
                                                                     24(b).
                                                                 4
                                                                              B.     Lindell May Intervene as of Right.
                                                                 5
                                                                              Lindell also can intervene for his limited purpose as of right, pursuant to Fed. R.
                                                                 6
                                                                     Civ. P. 24(a)(2). Under Rule 24(a)(2), a non-party may exercise the right to intervene if it
                                                                 7

                                                                 8 “claims an interest relating to the property or transaction that is the subject of the action,

                                                                 9 and is so situated that disposing of the action may as a practical matter impair or impede

                                                                10 the movant’s ability to protect its interest, unless existing parties adequately represent that

                                                                11
                                                                     interest.” The Ninth Circuit has interpreted Rule 24(a)(2) as requiring four things of an
                                                                12
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                                                                     intervenor: (1) its intervention motion is “timely”; (2) it “has a significantly protectable
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                                                                     interest relating to . . . the subject of the action”; (3) it “is so situated that the disposition of
                                                                14

                                                                15 the action may as a practical matter impair or impede [its] ability to protect that interest”;

                                                                16 and (4) its “interest is inadequately represented by the parties to the action.” Kalbers v.

                                                                17 United States DOJ, 22 F.4th 816, 822 (9th Cir. 2021) (quotations omitted). Each of those

                                                                18 requirements is met here.
                                                                19
                                                                              Timeliness. Timeliness of a motion to intervene “hinges on three primary factors:
                                                                20
                                                                     (1) the stage of the proceeding at which an applicant seeks to intervene; (2) the prejudice to
                                                                21
                                                                     other parties; and (3) the reason for and length of the delay.” Kalbers, 22 F.4th at 822
                                                                22

                                                                23 (quotation omitted). As discussed above, considerations of timeliness have a different

                                                                24 meaning in the context of an intervention for the purpose of addressing a protective order,

                                                                25 than in the context of affecting the substantive or procedural resolution of the parties’

                                                                26
                                                                     claims and defenses. The core consideration underlying the timeliness requirement is “to
                                                                27
                                                                     prevent prejudice in the adjudication of the rights of the existing parties,” a factor that is
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                                                                 1 “not present when the existing parties have settled their dispute and intervention is for a

                                                                 2 collateral purpose.” United Nuclear Corp., 905 F.2d at 1427 (citing Public Citizen v.

                                                                 3
                                                                     Liggett Group, Inc., 858 F.2d 775, 786-87 (1st Cir. 1988) and Meyer Goldberg, Inc. v.
                                                                 4
                                                                     Fisher Foods, Inc., 823 F.2d 159, 161-62 (6th Cir. 1987)). “While it is true that an
                                                                 5
                                                                     application for intervention must be timely, ‘timeliness is to be determined from all the
                                                                 6
                                                                     circumstances,’ and ‘the point to which the suit has progressed . . . is not solely
                                                                 7

                                                                 8 dispositive.’” United Nuclear Corp., 905 F.2d at 1427 (quoting NAACP v. New York, 413

                                                                 9 U.S. 345, 365-66 (1973))\; Kalbers, 22 F.4th at 826 (“stage of proceeding” factor uses a

                                                                10 “nuanced, pragmatic approach” and “substance prevails over form” such that “[n]either the

                                                                11
                                                                     formal “stage” of the litigation” nor the “length of time that has passed since a suit was
                                                                12
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                                                                     filed” is dispositive).
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                                                                             In this case, there is no possibility that any of the parties could be prejudiced in the
                                                                14

                                                                15 adjudication of their rights, for that adjudication has been completed. “[P]rejudice must be

                                                                16 connected in some way to the timing of the intervention motion.” Kalbers, 22 F.4th at 825.

                                                                17 Lindell has brought his motion to intervene at an appropriate time, seasonably after he

                                                                18 became a defendant in the D.C. Litigation, decided to use the Data in his defense in that
                                                                19
                                                                     action, and realized that the Protective Order might lead to the imposition of penalties or
                                                                20
                                                                     harms if he did. This motion satisfies the timeliness requirement because no possibility of
                                                                21
                                                                     prejudice to any party as a result of the timing of the motion exists.
                                                                22

                                                                23           Significantly Protectable Interest. The significantly protectable interest factor is

                                                                24 met because a non-party may intervene in an action for the purpose of litigating the

                                                                25 substance of a protective order. In re Alexander Grant & Co. Litig., 820 F.2d 352, 354

                                                                26
                                                                     (11th Cir. 1987) (“[A]ppellants have standing to intervene in this action and challenge the
                                                                27
                                                                     propriety of the district court’s protective order.”). See also In re Midland Nat. Life Ins.
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                                                                 1 Co. Annuity Sales Pracs. Litig., 686 F.3d 1115, 1120 (9th Cir. 2012) (limited purpose

                                                                 2 intervenor successfully appealed district court order ruling concerning sealing order).

                                                                 3
                                                                     Lindell also meets this factor by application of the ordinary test governing application of
                                                                 4
                                                                     the factor. A “significantly protectable interest” must be an interest “protectable under
                                                                 5
                                                                     some law” and there must be a “relationship between the legally protected interest and the
                                                                 6
                                                                     claims at issue.” Kalbers, 22 F.4th at 827; Nw. Forest Res. Council v. Glickman, 82 F.3d
                                                                 7

                                                                 8 825, 837 (9th Cir. 1996). Here, Lindell has a strong interest in using the Data to defend

                                                                 9 himself against defamation claims, and a First Amendment interest in being free from prior

                                                                10 restraint concerning the publication and use of the Data. There is an obvious relationship

                                                                11
                                                                     between Lindell’s interests and the Protective Order which may forbid him from using or
                                                                12
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                                                                     publishing the Data.
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                                                                            Impair or Impede the Interest. The third factor is met because the Protective
                                                                14

                                                                15 Order may impair or impede Lindell’s ability to publish or use the Data without incurring

                                                                16 liability for contempt of court.

                                                                17          Interest Not Adequately Protected. The fourth factor is met because no other
                                                                18 party to this action has any interest in the Data or in vindicating Lindell’s ability to publish
                                                                19
                                                                     or use the data. This factor imposes a “minimal” burden, and is met if the intervenor shows
                                                                20
                                                                     that “representation of his interest may be inadequate.” Kalbers, 22 F.4th at 828.
                                                                21
                                                                            Lindell satisfies all four requirements for intervention as of right under Rule
                                                                22

                                                                23 24(a)(2).

                                                                24                                            III.
                                                                                            The Court Should Lift the Protective Order
                                                                25
                                                                            After permitting Lindell to intervene in this action, the Court should lift the
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                                                                27 Protective Order, for three reasons.

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                                                                 1          A.      Lindell Needs to Use the Data to Defend Himself.

                                                                 2          Lindell will use the Data to defend the reasonability and veracity of his statements
                                                                 3
                                                                     regarding the 2020 election at issue in the D.C. Litigation. Lindell Decl. ¶ 5. The
                                                                 4
                                                                     statements were based on information received from Montgomery. Id. ¶ 4. The substance
                                                                 5
                                                                     of the Data will show Lindell’s reliance upon it to be reasonable and that the statements
                                                                 6
                                                                     were truthful, both points which are defenses to a defamation claim.
                                                                 7

                                                                 8          B.      The Protective Order Is Stale.

                                                                 9          The Protective Order was entered on August 29, 2007, fifteen years ago. It was
                                                                10 based on an assertion that secrecy was needed to protect “national security interests” of the

                                                                11
                                                                     United States. Protective Order at 1-2. The affidavit on which the Protective Order was
                                                                12
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                                                                     based stated that disclosure of “particular intelligence sources and methods” or the
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                                                                     “classified contracting process” could harm U.S. national security. Decl. of John D.
                                                                14

                                                                15 Negroponte ¶ 12 (Doc. 83-2). Those sources, methods, and contracts are now at least

                                                                16 fifteen years out of date. Computer capabilities and software – the substance of

                                                                17 Montgomery’s work for eTreppid at issue in this action, see case no. 06-cv-00056 doc. 1

                                                                18 ¶¶ 1,7, 15-19 – that in 2007 were cutting-edge are now obsolete. Any need for secrecy to
                                                                19
                                                                     protect these matters has faded, and the Protective Order is no longer necessary. When the
                                                                20
                                                                     government invokes the state secrets privilege, it is the courts’ “obligation to review the
                                                                21
                                                                     [government’s claims] with a very careful, indeed a skeptical, eye, and not to accept at face
                                                                22

                                                                23 value the government’s claim or justification of privilege.” Abilt v. CIA, 848 F.3d 305, 312

                                                                24 (4th Cir. 2017) (quoting Al-Haramain Islamic Found., Inc. v. Bush, 507 F.3d 1190, 1203

                                                                25 (9th Cir. 2007)). At this time, after such a long period of time has passed, any initial

                                                                26
                                                                     justification for the Protective Order no longer justifies its restrictions on Montgomery or
                                                                27
                                                                     his Data.
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                                                                 1              C.         The Governnment’s State Secrets Claim Should Be Viewed with a
                                                                                           Critical Eye, Where, as Here, It Conceals Constitutional Violations.
                                                                 2
                                                                                Montgomery has reported to the FBI illegal domestic surveillance of Americans by
                                                                 3

                                                                 4 the government in government programs that Montgomery worked in. Montgomery Decl.

                                                                 5 ¶¶ 30, 34, 38. The Data that Lindell seeks to use is related to Montgomery’s work.1 Id.

                                                                 6 ¶ 40. The government cannot be allowed to conceal its deprivations of constitutional rights

                                                                 7
                                                                     through domestic surveillance by invoking the state secrets doctrine. The Court should
                                                                 8
                                                                     review the government’s professed need for the Protective Order critically to determine
                                                                 9
                                                                     whether it is asserting state secrets for on a legitimate basis or whether it is attempting to
                                                                10

                                                                11 cover up unconstitutional activities.

                                                                12                                                              IV.
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                                                                                                                            CONCLUSION
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                                                                                Lindell should be granted leave to intervene in this action for the limited purpose of
                                                                14

                                                                15 obtaining the lifting or modification of the Protective Order, and the Protective Order

                                                                16 should be lifted.

                                                                17 DATED: August 20th, 2022                                                JENNINGS & FULTON, LTD.
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                                                                23                                                                        Attorneys Michael J. Lindell
                                                                24

                                                                25              1
                                                                                  Members of Congress have stated that the CIA ran a bulk surveillance program that raises serious concerns about
                                                                     “warrantless backdoor searches of Americans.” Senator Ron Wyden Press Release, February 10, 2022, available at
                                                                     https://www.wyden.senate.gov/news/press-releases/wyden-and-heinrich-newly-declassified-documents-reveal-previously-secret-cia-
                                                                26   bulk-collection-problems-with-cia-handling-of-americans-information. See also Dustin Volz, Secret CIA Bulk Surveillance Program
                                                                     Includes Some Americans’ Records, Senators Say, Wall St. J. (Feb. 10, 2022), available at https://www.wsj.com/articles/secret-cia-bulk-
                                                                27   surveillance-program-includes-some-americans-records-senators-say-11644549582.


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                                                                 1                               CERTIFICATE OF SERVICE

                                                                 2          Pursuant to N.R.C.P. 5(b), I hereby certify that I am an employee of JENNINGS &
                                                                 3
                                                                     FULTON, LTD., and that on the 20th day of August 2022, I caused a true and correct copy
                                                                 4
                                                                     of the foregoing MEMORANDUM IN SUPPORT OF MOTION TO INTERVENE
                                                                 5
                                                                     AND TO LIFT PROTECTIVE ORDER to be served as follows:
                                                                 6
                                                                                   by depositing in the United States Mail, first-class postage prepaid, at Las
                                                                 7
                                                                                   Vegas, Nevada, enclosed in a sealed envelope; or
                                                                 8
                                                                                   by facsimile transmission, pursuant to E.D.C.R. 7.26, as indicated below; or
                                                                 9
                                                                             X     by electronic service, pursuant to N.E.F.C.R. 9 and Administrative Order
                                                                10                 14-2, as indicated below:
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10
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11                                     DISTRICT OF NEVADA
12   DENNIS MONTGOMERY, et al.                     ) Case No: 3:06-cv-00056-MMD-CSD
                                                   ) and
13                 Plaintiffs,                     ) No. 3:06-cv-145-MMD-VPC
                                                   )
14         v.
                                                   )
15   ETREPPID TECHNOLOGIES, L.L.C., et al.,        )   UNITED STATES’ MEMORANDUM IN
                                                   )   OPPOSITION TO MOTION TO
16                 Defendants.                     )   INTERVENE AND TO LIFT
                                                   )   PROTECTIVE ORDER
17                                                 )
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18                                                 )
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 6   II.       Lindell’s Intervention and D.C. Defamation Litigation...................................................... 3

 7   ARGUMENT .................................................................................................................................. 4

 8   I.        THE COURT SHOULD DENY THE MOTION BECAUSE LINDELL LACKS
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 9
     II.       THE COURT SHOULD DENY THE MOTION TO INTERVENE FOR
10             FAILURE TO MEET THE REQUIREMENTS FOR PERMISSIVE
11             INTERVENTION OR INTERVENTION OF RIGHT....................................................... 7

12             A.         Lindell Fails to Establish a Basis for Permissive Intervention. .............................. 7

13             B.         Lindell Cannot Intervene of Right. ......................................................................... 9

14   III.      IF THE COURT PERMITS INTERVENTION, IT SHOULD DENY LINDELL’S
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 1                                            INTRODUCTION

 2          Proposed-intervenor Michael Lindell has been sued in the District of Columbia for alleged

 3   defamation based on statements he made about the administration of the 2020 presidential election

 4   and his contentions that various forms of fraud and other malfeasance were perpetrated using the

 5   voting machines of a company called Dominion. Lindell has determined that it is necessary to

 6   intervene in this long-dismissed litigation in Nevada as part of his defense against the defamation

 7   claims he faces in D.C. in order to obtain relief from a protective order entered in this case pursuant

 8   to the state secrets privilege. See Mot. to Intervene and to Lift Protective Order, ECF No. 1216.

 9           Lindell seeks this relief despite the fact that: he is not subject to the protective order entered

10   in this case and that protective order does not apply to any litigation but the above-captioned cases

11   in which it was entered; he has not alleged that the protective order has actually prevented him

12   from obtaining any information he needs; no party or prior party to this litigation is a party to the

13   defamation lawsuit; and neither this litigation nor the United States’ motion for protective order

14   have anything at all to do with voting, elections administration, or Dominion. On this last point,

15   a simple look at the calendar shows that Lindell’s motion is meritless: the United States sought the

16   challenged protective order over 16 years ago and this lawsuit has been dismissed for over a

17   decade, long predating the events in 2020 giving rise to the defamation litigation that ostensibly

18   provides a basis for Lindell’s intervention. For numerous reasons—jurisdictional, procedural, and

19   substantive—the Court should deny Lindell’s motion, as he has failed to establish any right to

20   intervene or to obtain relief lifting the protective order entered at ECF No. 253.

21                                             BACKGROUND

22   I.     This Litigation and the State Secrets Protective Order

23          This litigation is comprised of two related actions, Civil Action No. 06-00056 (hereinafter

24   referred to as the “Federal Case”) and Civil Action No. 06-00145 (hereinafter referred to as the

25   “Removed Case”), both filed in 2006.1 In a complaint originally filed in state court, eTreppid

26   1
      Each citation to the “Federal Case” or “Removed Case” are to the docket of Civil Action No.
     06-00056 or No. 06-00145 respectively. Citations to the docket that do not specifically reference
     one of these two identifiers are to the docket of the Federal Case.



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 1   Technologies, Inc., asserted claims to protect and recover trade secrets from Dennis Montgomery.

 2   Removed Case 3d Am. Complaint ¶ 63 et seq., ECF No. 93. Montgomery, a former employee,

 3   officer, and director of eTreppid, filed a counter-complaint as well as a federal court action,

 4   alleging that eTreppid had infringed his copyright interests. Montgomery claimed that he is an

 5   inventor and software developer who developed certain software for which he was granted

 6   copyrights that he contributed in establishing eTreppid. Removed Case Counter-complaint ¶¶ 8–

 7   10, ECF No. 1-2; Federal Case 1st Am. Complaint ¶¶ 8–10, ECF No. 7. The dispute between

 8   Montgomery and eTreppid largely stemmed from the issue of the extent to which Montgomery

 9   retained the sole interest in derivative works based on the copyrighted technology. See generally

10   Removed Case Counter-complaint ¶¶ 11–14; Federal Case 1st Am. Compl. ¶¶ 8–20.

11            Montgomery also asserted a claim in these lawsuits against the U.S. Department of Defense

12   (“DoD”). See Removed Case Counter-complaint ¶¶ 22–27; Federal Case 1st Am. Compl. ¶¶ 68–

13   74. This claim arose from a Classified Information Nondisclosure Agreement that Montgomery

14   executed with the Defense Security Service, an agency within DoD, on September 16, 2003. See

15   Montgomery Nondisclosure Agreement, Ex. 2, United States’ Mot. for Protective Order, ECF No.

16   83-3. Specifically, Montgomery alleged that he was prevented from disclosing information

17   necessary to his claims and defenses as to eTreppid because of the Nondisclosure Agreement.

18   Removed Case Counter-complaint ¶¶ 22–27; Federal Case 1st Am. Compl. ¶¶ 68–74.

19   Montgomery therefore sought a declaration from the Court that disclosure of information he

20   wished to use in the litigation would not violate his Nondisclosure Agreement with the United

21   States. Id.

22            DoD filed motions to dismiss as to Montgomery’s claims against the agency for lack of

23   subject matter jurisdiction.2 While those motions were pending, on September 25, 2006, the

24   United States moved for the entry of a protective order based on an assertion of the state secrets

25   privilege by Director of National Intelligence John Negroponte. ECF No. 83-1, 83-2. The DNI’s

26   declaration established that disclosure of certain information at issue in the litigation reasonably

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         DoD’s motions to dismiss were later granted. ECF No. 177.



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 1   could be expected to cause serious, and in some cases exceptionally grave, damage to national

 2   security. Negroponte Decl. ¶ 12. The United States’ motion was also supported by a classified

 3   declaration submitted for the Court’s ex parte, in camera review. Id. ¶ 2.

 4          The Court entered the requested protective order on August 29, 2007, excluding from

 5   “discovery or disclosure” information relating to two categories of information: (1) “the existence

 6   or non-existence of any actual or proposed relationship” between the parties and any U.S.

 7   intelligence agency and (2) any “actual or proposed intelligence agency interest in, application of

 8   or use of any technology, software or source code owned or claimed by the Parties.” Protective

 9   Order ¶¶ 2, 3, ECF No. 253. The Protective Order, however, exempted from its coverage discovery

10   regarding “[t]he computer source code, software, programs, or technical specifications relating to

11   any technology owned or claimed by any of the Parties,” as well as any “actual or potential

12   commercial or government applications of” this technology, so long as it did not relate to the

13   aforementioned categories concerning U.S. intelligence agencies. Id. ¶ 4(c), (e). The Protective

14   Order’s prohibitions applied only to “discovery or disclosure . . . during all proceedings in these

15   actions,” i.e. the above-captioned consolidated cases. Id. ¶ 1. Thus, by its terms, the Protective

16   Order applied only to the parties to this litigation, only to discovery or disclosure within this

17   litigation, and only to certain information regarding alleged activities or interests of the United

18   States Government.

19          The litigation has since been resolved in full. The claims of Montgomery, eTreppid, and

20   related parties were resolved by settlement and dismissed with prejudice on February 19, 2009.

21   See Order ¶¶ 1, 2, ECF No. 962. The Court retained jurisdiction to resolve motions related to

22   sanctions by Montgomery’s former counsel, to enforce the United States’ Protective Order, and to

23   enforce the Parties’ settlement agreement. See id. ¶ 3. The motions for sanctions were later

24   resolved and judgment entered as to them on July 8, 2010. ECF No. 1171.

25   II.    Lindell’s Intervention and D.C. Defamation Litigation

26          Michael Lindell, an entrepreneur and salesman of pillows, has now moved to intervene in

     this litigation for the purpose of lifting the United States’ Protective Order. Lindell’s intervention




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 1   is based on a defamation lawsuit filed against him in the District of Columbia by Dominion, a

 2   company that “provides local election officials with tools they can use to run elections.” Lindell

 3   Decl. Ex. A ¶ 157, ECF No. 1216-1 (Compl., US Dominion, Inc. v. My Pillow, Inc., No. 1:21-cv-

 4   00445 (D.D.C.) (hereinafter “Defamation Compl.” or “defamation litigation”). Dominion’s claims

 5   are rooted in numerous statements by Lindell in the wake of the 2020 presidential election, in

 6   which Lindell claimed that Dominion voting technology was exploited in various ways to alter

 7   votes and election results to the detriment of former-President Trump. Id. ¶¶ 164, 165. According

 8   to Dominion, Lindell’s assertions generally centered on the alleged failure and/or exploitation of

 9   certain “algorithms” in Dominion voting machines. See id.

10          Lindell claims that he possesses certain “Data” obtained from Montgomery, which he seeks

11   to use in defending himself in the defamation litigation. Lindell Decl. ¶ 6. Specifically, Lindell

12   contends that this “Data compris[es] internet transmissions sent during the 2020 election that were

13   collected by technology developed and previously licensed by Dennis Montgomery.” Id. ¶ 7. But

14   Lindell asserts that this data may be covered by the Protective Order and, therefore, relief in this

15   Court is necessary. Id. ¶ 9. In order to obtain relief lifting the Protective Order, Lindell seeks to

16   intervene in this litigation on one of two bases—permissive intervention pursuant to Rule

17   24(b)(1)(B) and intervention of right pursuant to Rule 24(a)(2). Mot. at 3–8.

18                                               ARGUMENT

19          Lindell’s motion should be denied for at least three reasons. First, the Court lacks

20   jurisdiction to provide any of the relief Lindell seeks because he lacks standing to pursue it.

21   Second, Lindell has failed to meet the requirements to intervene on either a permissive basis,

22   pursuant to Rule 24(b)(1)(B), or of right, pursuant to Rule 24(a)(2). And third, even if there were

23   jurisdiction and even if intervention were appropriate, Lindell has failed to establish a right to

24   lifting the protective order entered in this litigation; the information subject to the order is utterly

25   irrelevant to the defamation litigation and the United States has significant reliance interests in the

26   order, which was issued on the basis of the state secrets privilege.




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 1   I.      THE COURT SHOULD DENY THE MOTION BECAUSE LINDELL LACKS
             STANDING TO INTERVENE.
 2
             Lindell’s motion should be denied first and foremost because he lacks standing to pursue
 3
     it. Parties invoking federal jurisdiction bear the burden of establishing the three elements that
 4
     constitute the “irreducible constitutional minimum of standing,” Lujan v. Defs. of Wildlife, 504
 5
     U.S. 555, 560 (1992)—namely, that they have “(1) suffered an injury in fact, (2) that is fairly
 6
     traceable to the challenged conduct of the defendant, and (3) that is likely to be redressed by a
 7
     favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016) (citation omitted).
 8
     Standing is necessary for parties to establish the existence of an Article III case or controversy
 9
     and, thus, to invoke the jurisdiction of the federal courts. See, e.g., Steel Co. v. Citizens for a Better
10
     Env’t, 523 U.S. 83, 103–04 (1998).
11
             The standing requirement separately applies to intervenors in at least two circumstances.
12
     First, during pending litigation, an intervenor that “seeks additional relief beyond that which the
13
     plaintiff requests” must demonstrate standing. Town of Chester, N.Y. v. Laroe Estates, Inc., 137
14
     S. Ct. 1645, 1651 (2017) (“For all relief sought, there must be a litigant with standing, whether
15
     that litigant joins the lawsuit as a plaintiff, a coplaintiff, or an intervenor of right.”). And second,
16
     an intervenor must also demonstrate standing where it seeks to continue litigation to which no
17
     party has any pending claim. See Diamond v. Charles, 476 U.S. 54, 68 (1986) (“[A]n intervenor’s
18
     right to continue a suit in the absence of the party on whose side intervention was permitted is
19
     contingent upon a showing by the intervenor that he fulfills the requirements of Art. III.”); see also
20
     Perry v. Schwarzenegger, 630 F.3d 898, 906 (9th Cir. 2011) (explaining that although “[i]n
21
     general, an applicant for intervention need not establish Article III standing to intervene,” standing
22
     is required where the intervenor seeks to appeal a judgment entered against a party in that party’s
23
     absence).
24
             Consistent with these principles, numerous courts of appeals have held that “an intervenor
25
     must establish standing to challenge a protective order after the case has been dismissed.” Bond
26
     v. Utreras, 585 F.3d 1061, 1071–72 (7th Cir. 2009) (citing cases from the First, Third, and Fifth

     Circuits). That is the scenario presented by this case. The claims of all Plaintiffs and Defendants



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 1   were resolved by settlement and dismissed with prejudice on February 19, 2009. See Order ¶¶ 1,

 2   2, ECF No. 962. Lindell must accordingly demonstrate standing to pursue this otherwise dormant

 3   litigation.

 4           But here, Lindell cannot establish any of the elements of Article III standing. To begin,

 5   Lindell has not articulated any cognizable injury. Lindell claims that his injury arises from his

 6   understanding that the information he obtained from Montgomery “may be covered by the

 7   Protective Order.” Mot. at 2. But the Protective Order does not bind Lindell in any way as he is

 8   not a party to this litigation. Nor does the Protective Order apply to any litigation but the above-

 9   captioned cases.   Protective Order ¶ 1 (Order’s prohibitions applied only to “discovery or

10   disclosure . . . during all proceedings in these actions,” i.e. the above-captioned consolidated

11   cases). The Protective Order is thus doubly irrelevant to any actions Lindell might take in the

12   defamation litigation. Moreover, it does not appear that Lindell has actually been prevented from

13   obtaining any information he requires by virtue of the protective order. Instead, Lindell simply

14   says that he is unable to use the information he has already obtained. Lindell Decl. ¶¶ 6, 9, 10

15   (stating that Lindell has “agreed to acquire ownership from Montgomery” of “Data” for use in his

16   defense but that he is “concerned that the Protective Order . . . prohibits the use or disclosure of

17   the Data”). That is wrong; the Protective Order does not bind Lindell.

18           Nor has Lindell shown that the Protective Order governs the kind of information that

19   Lindell says he needs for his defense in the defamation litigation such that any injury would be

20   traceable to the Order. The Protective Order specifically exempts from its coverage information

21   regarding “[t]he computer source code, software, programs, or technical specifications relating to

22   any technology owned or claimed by any of the Parties,” as well as any “actual or potential

23   commercial or government applications of” this technology. Protective Order ¶ 4(c), (e). But that

24   is the only kind of information that Lindell has specifically indicated he needs. Lindell contends

25   that he wishes to rely on “internet transmissions sent during the 2020 election that were collected

26   by technology developed . . . by Dennis Montgomery.” Lindell Decl. ¶ 7. The express terms of

     the Protective Order present no barrier to the use of such information.




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 1          The Protective Order also does not injure Lindell on the basis of its effect on Montgomery.

 2   Although Montgomery is subject to the Protective Order as a prior party to this litigation, that

 3   makes no difference here because, again, the Order only governs the conduct of the above-

 4   captioned proceedings, not unrelated litigation involving none of the same parties. To be clear,

 5   the Government does not mean to disclaim that Montgomery could be under some other

 6   nondisclosure obligation, such as a nondisclosure agreement with the United States. See, e.g.,

 7   Montgomery Nondisclosure Agreement, ECF No. 83-3. Nor does the Government concede that

 8   discovery directed to the United States in relation to the defamation litigation would be appropriate

 9   or that the United States would not be entitled to seek protection against discovery or disclosure

10   in that litigation. The point is simply that the Protective Order entered in this case from which

11   Lindell seeks relief has no relevant effect on the defamation litigation or his ability to obtain or

12   use any information he needs therein. The motion should therefore be denied for lack of standing.

13   II.    THE COURT SHOULD DENY THE MOTION TO INTERVENE FOR FAILURE
            TO MEET THE REQUIREMENTS FOR PERMISSIVE INTERVENTION OR
14          INTERVENTION OF RIGHT.
15          A.      Lindell Fails to Establish a Basis for Permissive Intervention.

16          Permissive intervention under rule 24(b) generally requires “(1) an independent ground for

17   jurisdiction; (2) a timely motion; and (3) a common question of law and fact between the movant’s

18   claim or defense and the main action.” Blum v. Merrill Lynch Pierce Fenner & Smith Inc., 712

19   F.3d 1349, 1353 (9th Cir. 2013). At minimum, Lindell has failed to satisfy the third prong of this

20   test, a common question of law and fact.

21          To be sure, a permissive intervenor seeking to lift or modify a protective order based on

22   collateral litigation does not face a high burden in establishing a “common question of law and

23   fact between the movant’s claim or defense and the main action.” See Beckman Indus., Inc. v. Int’l

24   Ins. Co., 966 F.2d 470, 473–74 (9th Cir. 1992). This is because they are not attempting to litigate

25   any claim on the merits in the proceeding to which they intervene. See id. Nonetheless, the

26   absence of a high burden is not the absence of any burden at all. For example, in Beckman, the

     Ninth Circuit affirmed the granting of permissive intervention in a case seeking modification of a




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 1   protective order on the basis of collateral litigation. Id. at 471–72. The collateral litigation

 2   involved the same defendant insurance company as the dormant case in which intervention was

 3   sought and it concerned interpretation of an insurance policy issued by that defendant. Id. The

 4   Ninth Circuit affirmed the district court’s conclusion that the “importance of access to documents

 5   prepared for similar litigation involving the same parties satisfied the commonality requirement.”

 6   Id. at 474 (emphasis added) (further explaining that the “issue of interpretation of the policy

 7   supplies a sufficiently strong nexus between the district court action and the state actions”). Thus,

 8   the lesson of the Ninth Circuit’s Beckman decision is that a court evaluating a motion for limited

 9   intervention to modify a protective order based on collateral litigation should evaluate the

10   relationship between the two litigations in assessing the “common question of law and fact.” See

11   also Roman v. Mayorkas, No. EDCV2000768TJHPVC, 2021 WL 6103180, at *2 (C.D. Cal. Oct.

12   15, 2021) (“The common question of law and fact requirement is satisfied where the proposed

13   intervenor is engaged in similar litigation involving the same parties, and, there is ‘a sufficiently

14   strong nexus between the action in which the prospective intervenor seeks to intervene and the

15   parallel action.’” (quoting Beckman, 966 F.2d at 474)).

16          Here, Lindell has failed to show any relationship between the defamation litigation and this

17   case. None of the current or former parties to this litigation are party to the defamation litigation.

18   The claims concern various statements about election administration made in and around the year

19   2020, not anything to do with legal rights or responsibilities of Montgomery or his former business

20   partner during the mid-2000s. See generally Defamation Compl. There is simply nothing in the

21   motion to intervene that would show any relationship at all between this litigation and the

22   defamation litigation adequate to show the existence of a “common question of law and fact.”

23          Lindell hardly argues otherwise. His sole support for the existence of this element is that

24   “there is a common question of law and fact between the grounds that considerations that justified

25   the entry of the Protective Order originally, and whether those grounds still justify any restrictions

26   of the Protective Order upon the Data.” Mot. at 5. It appears that Lindell is arguing that there is

     a common question of law and fact between the Government’s original motion for a protective




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 1   order and his current motion to lift that protective order. That is beside the point. Under Beckman,

 2   Lindell must show some kind of relationship between the defamation litigation and this litigation

 3   to be permitted to intervene. He has not done so.

 4           B.      Lindell Cannot Intervene of Right.

 5           The Court should also deny Lindell’s request for intervention of right. The Ninth Circuit’s

 6   test for intervention of right

 7           requires a prospective intervenor to show that: (1) its motion is timely; (2) it has a
             significantly protectable interest relating to . . . the subject of the action; (3) it is so
 8           situated that the disposition of the action may as a practical matter impair or impede
             its ability to protect that interest; and (4) its interest is inadequately represented by
 9           the parties to the action.
10   Kalbers v. U.S. Dep’t of Justice, 22 F.4th 816, 822 (9th Cir. 2021).

11           Lindell fails to meet, at minimum, the second and third elements of this test. Lindell has

12   not shown any interest at all in the subject of this litigation, let alone a “significantly protectable

13   interest.” Put simply, Lindell has nothing to do with the business and copyright dispute among

14   these parties that arose and was resolved well over a decade ago.

15           Lindell contends that his interest in litigating the protective order entered in this case allows

16   him to largely sidestep the requirement to show a significantly protectable interest, asserting that

17   this is met where a non-party “intervene[s] in an action for the purpose of litigating the substance

18   of a protective order.” Mot. at 7. This is an erroneously expansive articulation of even the

19   permissive intervention standard as discussed above. And in any event, it has nothing to do with

20   the standard for intervention of right, which requires a relationship between the movant’s interests

21   and the claims in the lawsuit to which intervention is sought. See Kalbers, 22 F.4th at 827

22   (explaining that “a proposed intervenor has a significant protectable interest in an action if (1) it

23   asserts an interest that is protected under some law, and (2) there is a relationship between its

24   legally protected interest and the plaintiff's claims” (citation omitted)). Indeed, the cases Lindell

25   cites for his erroneously expansive standard either involved permissive intervention, see In re

26   Alexander Grant & Co. Litig., 820 F.2d 352 (11th Cir. 1987), or did not involve any appeal of a

     motion to intervene at all, In re Midland Nat. Life Ins. Co. Annuity Sales Pracs. Litig., 686 F.3d




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 1   1115 (9th Cir. 2012) (noting motion to intervene was granted but not that any party appealed that

 2   decision). Lindell must show a significantly protectable interest in this litigation and he has failed

 3   to do so.

 4             Nor would disposition of this action “impair or impede” Lindell’s ability to protect his

 5   interests. To begin, this lawsuit has long since been resolved on the merits. And even if Lindell

 6   could show that the protective order provides a hook appropriate to this prong of the intervention

 7   inquiry, Lindell is not bound by the protective order for multiple reasons. See supra Argument

 8   Part I.

 9             Ultimately, Lindell’s attempt to invoke intervention of right is an ill fit for a party seeking

10   a limited purpose intervention to litigate the scope of a protective order. The Ninth Circuit

11   accordingly holds that permissive intervention is the appropriate vehicle for “[n]onparties seeking

12   access to a judicial record in a civil case.” San Jose Mercury News, Inc. v. U.S. Dist. Ct.--N. Dist.

13   (San Jose), 187 F.3d 1096, 1100 (9th Cir. 1999). Indeed, the leading Ninth Circuit cases on limited

14   purpose intervention to litigate a protective order involved permissive intervention, not

15   intervention of right. Beckman, 966 F.2d at 471; Blum, 712 F.3d at 1353. The motion to intervene

16   of right should be denied.

17   III.      IF THE COURT PERMITS INTERVENTION, IT SHOULD DENY LINDELL’S
               MOTION TO LIFT THE PROTECTIVE ORDER.
18
               A.     Lindell Has Not Established The Relevance of Information Subject to the
19                    Protective Order.
20             A collateral litigant seeking to obtain information properly subject to a protective order

21   “must demonstrate the relevance of the protected discovery to the collateral proceedings and its

22   general discoverability therein.” Foltz v. State Farm Mutual Auto. Ins. Co., 331 F.3d 1122, 1132

23   (9th Cir. 2003). A court asked to modify a protective order “should satisfy itself that the protected

24   discovery is sufficiently relevant to the collateral litigation that a substantial amount of duplicative

25   discovery will be avoided by modifying the protective order.” Id. This relevance determination

26   “hinges on the degree of overlap in facts, parties, and issues between the suit covered by the

     protective order and the collateral proceedings.” Id. (citation omitted).




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 1          Lindell contends that he must use information subject to the Protective Order to “defend

 2   the reasonability and veracity of his statements regarding the 2020 election at issue in the D.C.

 3   Litigation.” Mot. at 9. Lindell appears to be referencing the Complaint’s allegations of defamation

 4   with respect to numerous statements by Lindell, all of which allege election and/or voter fraud in

 5   the 2020 presidential election through Dominion’s voting machines. See Defamation Compl. ¶

 6   165.    Lindell asserts that these “statements were based on information received from

 7   Montgomery.” Mot. at 9.

 8          Lindell’s assertions fail to meet the Ninth Circuit’s test for relevance for at least three

 9   reasons. First, the Protective Order in this litigation was entered over 15 years ago, pursuant to an

10   assertion of the state secrets privilege over 16 years ago. Just simply looking at a calendar shows

11   that the Order had nothing to do with the 2020 election or alleged fraud therein. Second, neither

12   the Protective Order nor the supporting materials submitted by the United States in seeking it had

13   anything to do with voting, elections administration, or voting machines, whether manufactured

14   by Dominion or any other entity.3 And third, Lindell has not explained what the two categories of

15   information that are subject to the Protective Order have to do with the defamation litigation. The

16   closest Lindell comes on this score are statements that Montgomery has information related to

17   purported “illegal US government surveillance programs” using Montgomery’s technology that

18   involved the surveillance of, among many others, voting machines manufactured by Dominion.

19   Mot. at 3; Montgomery Decl. ¶ 38, ECF No. 1216-2. But even on its own terms, this baseless

20   claim provides no support to Lindell. That is because Lindell has not explained what these

21   farfetched allegations of surveillance have to do with his contentions that votes in the 2020 election

22   were manipulated by anyone, let alone the United States Government.

23          In any event, Lindell certainly has not explained how “a substantial amount of duplicative

24   discovery” in the defamation litigation “will be avoided by modifying the protective order” in this

25   case. See Foltz, 331 F.3d at 1132. To the contrary, Lindell asserts that he already has the

26   3
       The Government is willing to make the previously submitted Classified Declaration available for
     the Court’s review ex parte and in camera, should the Court believe it necessary to review the
     declaration to conclude that the information here is irrelevant to the defamation litigation.



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 1   information he seeks. See Lindell Decl. ¶¶ 6, 9, 10. He only asks for relief from the Court because

 2   of his erroneous understanding that the protective order binds his conduct in the defamation

 3   litigation.

 4           B.      No Good Cause Exists to Lift or Modify the Protective Order.

 5           Even where relevance is established, the Court “must weigh the countervailing reliance

 6   interest of the party opposing modification” of a protective order. Foltz, 331 F.3d at 1133. Those

 7   reliance interests are at their zenith in the context of the state secrets privilege, which exists to

 8   exclude from litigation information where “there is a reasonable danger that compulsion of the

 9   evidence will expose . . . matters which, in the interest of national security, should not be divulged.”

10   United States v. Reynolds, 345 U.S. 1, 6–7, 10 (1953) (describing this privilege as “well established

11   in the law of evidence”). “It is ‘obvious and unarguable’ that no governmental interest is more

12   compelling than the security of the Nation.” Haig v. Agee, 453 U.S. 280, 307–09 (1981) (quoting

13   Aptheker v. Sec’y of State, 378 U.S. 500, 509 (1964)). And the state secrets privilege is absolute

14   in its effect, requiring exclusion of evidence against even the most compelling showing of need by

15   a litigant. United States v. Zubaydah, 142 S. Ct. 959, 967 (2022) (“[I]n all events, ‘even the most

16   compelling necessity cannot overcome the claim of privilege if the court is ultimately satisfied that

17   military secrets are at stake.” (quoting Reynolds, 345 U.S. at 11)).

18           The reliance interests of the United States in the Protective Order foreclose Lindell’s

19   request to lift the Order. Indeed, this is demonstrated by the effect of the Court’s decision to uphold

20   the state secrets privilege assertion here. Unlike an ordinary protective order limiting the persons

21   to whom protected information may be disclosed, a protective order entered pursuant to the state

22   secrets privilege causes “the evidence [to be] completely removed from the case.” Mohamed v.

23   Jeppesen Dataplan, Inc., 614 F.3d 1070, 1082 (9th Cir. 2010) (citation omitted); see also id. at

24   1079 (“A successful assertion of privilege under Reynolds will remove the privileged evidence

25   from the litigation.”). Thus, this is far from a case where the Court is only being asked to permit

26   an additional party to view and use evidence already available to the other parties to the case.

     Compare Foltz, 331 F.3d at 1133 (approvingly quoting statement that a “legitimate interest” in




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 1   “continued secrecy as against the public at large can be accommodated by placing the collateral

 2   litigants under the same restrictions on use and disclosure contained in the original protective

 3   order” (citation omitted)), with Mohamed, 614 F.3d at 1082 (successful invocation of state secrets

 4   privilege “completely remove[s]” the information from the case).

 5             Lindell contests the United States’ reliance interests on two grounds: that the protective

 6   order is “stale” and that it conceals constitutional violations. Mot. at 9–10. Neither assertion has

 7   merit. As to the age of the protective order, Lindell cites no authority for the proposition that a

 8   state secrets protective order necessarily becomes obsolete with the passage of time. At minimum,

 9   the United States is entitled to the protection of its reliance interests in a state secrets protective

10   order against the claims of parties that have demonstrated no necessity in having them lifted and

11   no relationship to the litigation in which they were entered. And Lindell’s contention that the

12   Protective Order in this case was entered to conceal violations of constitutional rights is baseless.

13   The unrebutted evidence before the Court is that the Protective Order was sought (and granted) to

14   protect “intelligence sources and methods,” the disclosure of which could cause harm to national

15   security. Negroponte Decl. ¶ 12. Lindell’s speculations to the contrary are inadequate to support

16   his claim for relief.4

17                                              CONCLUSION

18             For the foregoing reasons, the motion to intervene and to lift the protective order should be

19   denied.

20             Respectfully submitted this 6th day of October, 2022.

21                                                           BRIAN M. BOYNTON
                                                             Principal Deputy Assistant Attorney General
22
                                                             ANTHONY J. COPPOLINO
23                                                           Deputy Director
24                                                           /s/ James R. Powers
25   4
       The Court should reject Lindell’s motion for the many reasons set forth above. If the Court
     nonetheless concludes that Lindell is entitled to some relief on the current record, the Court should
26
     permit the United States an additional 60 days in which to consider additional steps to protect its
     interests.




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 2                                             Civil Division, Federal Programs Branch
                                               U.S. Department of Justice
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 1                                   CERTIFICATE OF SERVICE
 2          I, the undersigned, am a citizen of the United States and am at least eighteen years of

 3   age. My business address is 1100 L Street, NW, Washington, DC 20005. I am not a party to

 4   the above-entitled action. On the date set forth below, I caused service of the foregoing

 5   document through the Court’s electronic filing and notice system (CM/ECF), and by sending a

 6   copy of same via ECF notice upon:

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     and by US Mail on:
 2

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     Rancho Mirage, CA 92770                        Bellevue, WA 98004-5045
 5

 6
     Offspring LLC                                  Dennis Montgomery
 7   600 106th Avenue NE, Suite 210                 6 Toscana Way W.
     Bellevue, WA 98004-5045                        Rancho Mirage, CA 92770
 8

 9

10

11         I declare under penalty of perjury that the foregoing is true and correct.

12
           Dated this 6th day of October, 2022.

13
                                                  /s/James Powers
14                                                James R. Powers

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 1                              UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 DENNIS MONTGOMERY, et al.,                             Case Nos.: 3:06-cv-00056-MMD-CSD
                                                                     3:06-cv-00145-MMD-VPC
 4           Plaintiffs

 5 v.                                                        Report & Recommendation of
                                                             United States Magistrate Judge
 6 ETREPPID TECHNOLOGIES, LLC, et al.,
                                                                    Re: ECF No. 1216
 7           Defendants

 8
            This Report and Recommendation is made to the Honorable Miranda M. Du, Chief
 9
     United States District Judge. The action was referred to the undersigned Magistrate Judge
10
     pursuant to 28 U.S.C. § 636(b)(1)(B) and the Local Rules of Practice, LR 1B 1-4.
11
            Before the court is a motion to intervene filed by non-party Michael J. Lindell. (ECF Nos.
12
     1216, 1216-1, 1216-2.) The United States filed a response. (ECF No. 1232.) Lindell filed a reply.
13
     (ECF No. 1235.)
14
            After a thorough review, it is recommended that Lindell’s motion to intervene be denied.
15
                                           I. BACKGROUND
16
            This litigation involves two related cases, case 3:06-cv-00056-MMD-CSD (the Federal
17
     Action), and case 3:06-cv-00145-MMD-VPC (the Removed Action). In the Removed Action,
18
     eTreppid Technologies, Inc., asserted claims to protect and recover trade secrets from Dennis
19
     Montgomery. (See Third Am. Compl., ECF No. 93 in 3:06-cv-00145-MMD-VPC.)
20
     Montgomery, who was a former employee, officer, and director of eTreppid, filed counterclaims
21
     against eTreppid, and its majority shareholder, Warren Trepp, asserting that Montgomery was
22
     the owner of certain copyrights and derivative works he contributed in establishing eTreppid.
23
     (ECF No. 1-2 in 3:06-cv-00145-MMD-VPC.) He also included a claim for declaratory relief
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 1 against the United States Department of Defense (DoD) regarding his obligations under a non-

 2 disclosure agreement and accounting for profits from eTreppid’s use of the source code. (ECF

 3 No. 1-2.)

 4         Montgomery also filed the Federal Action, asserting copyright infringement,

 5 misappropriation of trade secrets and related claims against eTreppid and Trepp. (ECF No. 1 in

 6 3:06-cv-00056-MMD-CSD.) Montgomery then filed an amended complaint in the Federal

 7 Action that included a claim against the DoD, including copyright infringement (counts one and

 8 two), an accounting of profits derived from the source code (count four), conversion of the

 9 source code (count nine) and declaratory relief regarding Montgomery’s non-disclosure

10 agreement with the DoD (count ten). (ECF No. 7 in 3:06-cv-00056-MMD-CSD.)

11         Montgomery’s claims against the United States largely related to a Classified Information

12 Nondisclosure Agreement (NDA) Montgomery executed with the Defense Security Service, an

13 agency within DoD, in September of 2003. (Id.; see also ECF No. 83-3 in 3:06-cv-00056-MMD-

14 CSD.) Montgomery alleged he was prevented from disclosing information necessary to his

15 claims and defenses as to eTreppid because of the NDA. He sought a declaration from the court

16 that disclosure of the information he wanted to use in the litigation would not violate the NDA.

17         DoD filed motions to dismiss Montgomery’s claims for lack of subject matter

18 jurisdiction, which were later granted. (ECF No. 56, in 3:06-cv-000056-MMD-CSD, and ECF

19 No. 39 in 3:06-cv-00145-PMP-VPC, order at ECF No. 177 in 3:06-cv-00056-MMD-CSD.)

20 While the motions were pending, the United States moved for entry of a protective order based

21 on assertion of the state secrets privilege by Director of National Intelligence (DNI) John

22 Negroponte. (ECF No. 83 in 3:06-cv-00056-MMD-CSD.) The DNI asserted that disclosure of

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 1 certain of the information at issue could reasonably be expected to cause serious, and even grave,

 2 damage to national security.

 3         On March 15, 2007, the Federal Action and the Removed Action were consolidated.

 4 (ECF No. 123 in 3:06-cv-00056-MMD-CSD.)

 5         The court entered DoD’s requested protective order on August 29, 2007. (ECF Nos. 252,

 6 253.) The order found that certain information may or may not be relevant to the claims was

 7 subject to the state secrets privilege, and such information should not be subject to discovery or

 8 disclosure by any of the parties during all proceedings in these actions, and should be excluded

 9 from evidence at trial. The order excluded from discovery or disclosure two categories of

10 information, including: (1) “the existence or non-existence of any actual or proposed

11 relationship” between the parties and any U.S. intelligence agency and (2) any “actual or

12 proposed intelligence agency interest in, application of or use of any technology, software or

13 source code owned or claimed by the Parties.” (ECF No. 196 in 3:06-cv-00056-MMD-CSD.)

14         The protective order exempted from its coverage discovery of certain information,

15 including “[t]he computer source code, software, programs, or technical specifications relating to

16 any technology owned or claimed by any of the Parties,” as well as any “actual or potential

17 commercial or government applications of” this technology, so long as it did not relate to the

18 aforementioned categories concerning U.S. intelligence agencies. The protective order applied to

19 “discovery or disclosure … during all proceedings in these” two actions. (Id.)

20         The Federal and Removed Actions were resolved in full by settlement, and were

21 dismissed with prejudice on February 19, 2009. (ECF No. 962 in 3:06-cv-00056-MMD-CSD.)

22 The court retained jurisdiction over the terms of the protective order. (Id.)

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 1         Non-party and proposed intervenor Lindell has been sued in the United States District

 2 Court for the District of Columbia, for defamation based on alleged statements he made about

 3 the administration of the 2020 presidential election and his contentions that various forms of

 4 fraud were perpetrated using the voting machines of a company called Dominion. See US

 5 Dominion, Inc. v. My Pillow, Inc., case 1:21-cv-00445 (D. D.C.).

 6         Lindell argues that he should be granted leave to intervene in this action both

 7 permissively, under Rule 24(b)(1)(B), and as of right under Rule 24(a)(2).

 8         Lindell seeks to have the protective order in this action lifted so he may use data obtained

 9 from Montgomery to defend himself against claims asserted in defamation litigation. He argues

10 the data he seeks to use in his defense may be covered by the protective order issued in this

11 litigation. He asserts that he made the statements at issue in the Dominion case relying in part on

12 information he received from Montgomery.

13         He seeks to use testimony and evidence concerning Montgomery’s background and his

14 work for U.S. intelligence agencies, and information from Montgomery himself, to defend

15 against the defamation action. He states that the information he relied on is comprised of internet

16 transmissions sent during the 2020 election that were collected by technology Montgomery

17 developed and previously licensed to the United States. Lindell claims that Montgomery’s data

18 shows that voting machine manufacturers and their employees were hacked, as well as

19 information related to illegal United States surveillance programs Montgomery worked in.

20 Lindell claims he agreed to acquire ownership rights to Montgomery’s data; however, the

21 protective order entered in this case prohibits the use or disclosure of information related to

22 Montgomery’s work for or relationship with United States’ intelligence agencies.

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 1          The United States opposes Lindell’s motion, arguing Lindell lacks standing to intervene

 2 and he has not established a basis for either permissive or as of right intervention under Federal

 3 Rule of Civil Procedure 24. The United States further argues that if intervention is allowed, then

 4 good cause does not exist to lift or modify the protective order. (ECF No. 1232.)

 5          After this motion was fully briefed, Montgomery filed a motion to restrict the application

 6 of the state secrets privilege, the protective order, and the NDA. (ECF No. 1236.) The court has

 7 recommended denial of that motion in a separate report and recommendation.

 8                                            II. DISCUSSION

 9 A. Intervention under Rule 24

10          As is relevant here, a court must allow intervention if the person seeking intervention

11 “claims an interest relating to the property or transaction that is the subject of the actin, and is so

12 situated that disposing of the action may as a practical matter impair or impede the movant’s

13 ability to protect its interest, unless existing parties adequately represent that interest.” Fed. R.

14 Civ. P. 24(a)(1)-(2).

15          In addition, a court may allow intervention if the person seeking to intervene “has a claim

16 or defense that shares with the main action a common question of law or fact.” Fed. R. Civ. P.

17 24(b)(1)(B). In determining whether to allow permissive intervention, the court must determine

18 whether intervention “will unduly delay or prejudice the adjudication of the original parties’

19 rights.” Fed. R. Civ. P. 24(b)(3).

20 B. Standing

21          As a preliminary matter, the United States argues that Lindell must demonstrate he has

22 Article III standing to intervene in this long-closed litigation.

23



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 1          “Article III of the Constitution limits the exercise of judicial power to ‘Cases’ and

 2 ‘Controversies.’” Town of Chester, N.Y. v. Laroe Estates, Inc., 581 U.S. 433, 438 (2017) (citing

 3 Article III, § 2, cl. 1). “If a dispute is not a proper case or controversy, the courts have no

 4 business deciding it, or expounding the law in the course of doing so.” Id. (citation and quotation

 5 marks omitted). “‘Standing to sue is a doctrine rooted in the traditional understanding of a case

 6 or controversy.’” Id. (quoting Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016)). To have

 7 standing, “[t]he plaintiff must have (1) suffered an injury in fact, (2) that is fairly traceable to the

 8 challenged conduct of the defendant, and (3) that is likely to be redressed by a favorable judicial

 9 decision.” Spokeo, 578 U.S. at 338 (citations omitted).

10          In Laroe, the Supreme Court held that a person seeking to intervene as of right under

11 Rule 24(a)(2) “must meet the requirements of Article III if the intervenor wishes to pursue relief

12 not requested by a plaintiff.” 581 U.S. at 435. “For all relief sought, there must be a litigant with

13 standing, whether that litigant joins the lawsuit as a plaintiff, a coplaintiff, or an intervenor of

14 right.” Id. at 439. “Thus, at the least, an intervenor of right must demonstrate Article III standing

15 when it seeks additional relief beyond that which the plaintiff requests.” Id.; see also Cal. Dep’t

16 of Toxic Substances Control v. Jim Dobbas, Inc., 54 F.4th 1078, 1085 (9th Cir. 2022)

17 (intervenors seeking relief broader or different than existing parties must have standing, but those

18 that seek the same relief sought by at least one existing party need not do so).

19          Laroe did not address whether Article III standing is required for permissive intervention.

20 Nor did it address the scenario of intervention by a person seeking to intervene in a settled case

21 for the limited purpose of lifting or modifying a protective order. Moreover, while Lindell seeks

22 to intervene both as of right and permissively, courts have generally held that the procedure for a

23 non-party to challenge a protective order is through permissive intervention. See Beckman



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 1 Indus., Inc. v. Int’l Ins. Co., 966 F.2d 470, 473 (9th Cir. 1992); see also United Nuclear Corp. v.

 2 Cranford Ins. Co., 905 F.2d 1424, 1427 (10th Cir. 1990); Public Citizen v. Liggett Group, Inc.,

 3 858 F.2d 775, 783 (1st Cir. 1988); Meyer Goldberg, Inc. of Lorain v. Fisher Foods, 823 F.2d

 4 159, 162 (6th Cir. 1987); Martindell v. Int’l Tel. & Tel. Corp., 594 F.2d 291, 294 (2d Cir. 1979);

 5 In re Beef Industry Antitrust Litig., 589 F.2d 786, 789 (5th Cir. 1979).

 6         The Seventh Circuit addressed the interplay between Article III standing and Rule 24(b)

 7 permissive intervention in a case where permissive intervention was sought by a journalist after a

 8 case was settled in order to challenge a protective order that was entered in the case concerning

 9 citizen complaints against police officers. Bond v. Utreas, 585 F.3d 1061 (7th Cir. 2009).

10 The court commented: “Intervention to challenge a protective order after a case has been

11 dismissed interferes even more fundamentally: It revives a concluded case for the purpose of

12 entertaining an outsider’s claim of interest in the proceeds of the parties’ discovery process.” Id.

13 at 1071. The Seventh Circuit concluded that the language of Rule 24(b) requiring that the court

14 consider whether intervention will unduly delay or prejudice the adjudication of the original

15 parties’ rights “suggests that intervention postjudgment—which necessarily disturbs the final

16 adjudication of the parties’ rights—should generally be disfavored.” Id. at 1071.

17         The Seventh Circuit held that “when a third party seeks intervention under Rule 24(b) for

18 the purpose of challenging a protective order in a case or controversy that is no longer live—as

19 when the case has been dismissed and none of the original parties has sought this relief

20 postjudgment—the intervenor must meet the standing requirements of Article III in addition to

21 Rule 24(b)’s requirements for permissive intervention.” Id.

22         Under Bond, the court must first determine whether Lindell is seeking relief that one of

23 the original parties has sought postjudgment, so that he may “piggyback” on their standing, and



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 1 if he may not, the court must then address whether Lindell has demonstrated independent

 2 standing to request this relief.

 3          Through the time Lindell’s motion to intervene was completely briefed, no party to this

 4 action had sought to lift or modify the protective order entered in this action. Instead, it was only

 5 after the United States filed its response to Lindell’s motion raising the standing argument, and

 6 more than fifteen years after the protective order was entered, that Montgomery filed a motion to

 7 restrict application of the protective order. The fact that Montgomery did not seek to lift or

 8 modify the protective order until this point makes the position he now takes relative to the

 9 protective order appear contrived. In any event, the court has issued a recommendation that

10 Montgomery’s motion be denied. Therefore, the court finds Lindell must independently

11 demonstrate Article III standing to pursue this relief.

12          As the United States points out, the protective order was entered in this case to “protect

13 the classification, confidentiality, and the rights to information and documents developed and

14 disclosed in connection with this litigation, and to facilitate discovery by and among the parties

15 to this action and from third parties.” (ECF No. 253 at 1.) The protective order provides that the

16 information subject to the state secrets privilege “shall not be subject to discovery or disclosure

17 by any of the Parties during all proceedings in these actions and shall be excluded from evidence

18 at trial.” (Id. at 2.) It goes on to preclude discovery or the use in trial of certain information in

19 this litigation. (Id. at 2-5.) Lindell is not a party to this litigation, and the protective order does

20 not apply to any other litigation. Therefore, it is not the protective order entered in this case that

21 would preclude Lindell from introducing the information he seeks to utilize in his defense in the

22 defamation action. Lindell provides nothing more than speculation that he will somehow be

23 precluded from presenting this information because of the protective order in this litigation. In



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 1 sum, Lindell has not demonstrated an injury in fact that is traceable to protective order entered in

 2 this litigation.

 3         Notwithstanding these findings, there may be other reasons that Montgomery is

 4 precluded from disclosing the information Lindell seeks to introduce in his defamation action,

 5 such as the NDA between Montgomery and the government. The NDA is between Montgomery

 6 and the government, is separate from the protective order entered by the court in this litigation,

 7 and the court has no authority to lift or modify the NDA.

 8         For these reasons, Lindell’s motion to intervene should be denied.

 9                                    III. RECOMMENDATION

10         IT IS HEREBY RECOMMENDED that the District Judge enter an order DENYING

11 Lindell’s motion to intervene (ECF No. 1216).

12         The parties should be aware of the following:

13         1. That they may file, pursuant to 28 U.S.C. § 636(b)(1)(C), specific written objections to

14 this Report and Recommendation within fourteen days of being served with a copy of the Report

15 and Recommendation. These objections should be titled “Objections to Magistrate Judge’s

16 Report and Recommendation” and should be accompanied by points and authorities for

17 consideration by the district judge.

18         2. That this Report and Recommendation is not an appealable order and that any notice of

19 appeal pursuant to Rule 4(a)(1) of the Federal Rules of Appellate Procedure should not be filed

20 until entry of judgment by the district court.

21 Dated: May 15, 2023

22                                                           _________________________________
                                                             Craig S. Denney
23                                                           United States Magistrate Judge



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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MINNESOTA
 -------------------------------------- )
                                          )
 SMARTMATIC USA CORP., SMARTMATIC )
 INTERNATIONAL HOLDING B.V., and SGO )
 CORPORATION LIMITED,                     )
                                          ) Case No. 22-cv-0098-WMW-JFD
                        Plaintiffs,       )
                                          ) FIRST SUPPLEMENTAL
                  v.                      ) COMPLAINT AND DEMAND
                                          ) FOR JURY TRIAL
 MICHAEL J. LINDELL and MY PILLOW, INC.,
                                          )
                        Defendants.       )
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        Plaintiffs Smartmatic USA Corp., Smartmatic International Holding B.V., and SGO

Corporation Limited (collectively, “Smartmatic”), through their attorneys, bring this complaint

against Michael J. Lindell and My Pillow, Inc. d/b/a MyPillow (collectively, “Defendants”).

                                           INTRODUCTION1

        1.       Crazy like a fox. Mike Lindell knows exactly what he is doing, and it is dangerous.

        2.       Mr. Lindell knows Joe Biden and Kamala Harris won the 2020 election for

President and Vice President of the United States. He knows the election was not rigged, fixed, or

stolen. He knows voting machines did not switch votes from former President Trump to now

President Biden.

        3.       These facts do not matter to Mr. Lindell because he knows he can sell. Mr. Lindell

knows he can sell xenophobia. He knows he can sell conspiracy theory. He knows he can sell a

preconceived story about voting machines stealing democracy by stealing votes from a president

who is incredibly popular with millions of Americans. And, of course, Mr. Lindell—“the

MyPillow Guy”—knows he needs to sell pillows to keep and increase his fortune.

        4.       Mr. Lindell saw a once-in-a-lifetime opportunity following the 2020 U.S. election.

President Trump lost the election. That is, and was, undeniable. But Mr. Lindell knew that millions

of people who voted for President Trump were unhappy. He also knew that they would embrace

anyone who championed the idea that President Trump did not lose the election, but had it stolen

from him and from them.




1
  Smartmatic’s election technology, hardware and software has been used in voting jurisdictions that are
predominately Conservative, Liberal, Republican, Democrat, and other. Smartmatic is apolitical.
Smartmatic does not take issue with legal challenges being raised regarding the rules implemented by voting
jurisdictions during the 2020 U.S. election and the adherence to those rules. Smartmatic’s lawsuit is focused
on the fact that its election technology, hardware, and software were not used to steal the 2020 U.S. election.
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        5.     Mr. Lindell decided to become one of their champions. After others had gone silent,

Mr. Lindell spoke out about the 2020 U.S. election being stolen from President Trump. He held

rallies. He went on TV. He published videos. Once a fixture on late night infomercials embracing

his pillows, in early 2021, Mr. Lindell’s infomercials turned to spreading disinformation about the

2020 U.S. election.

        6.     Mr. Lindell’s message was as dangerous as it was factually inaccurate. Mr. Lindell

told people that Smartmatic stole the 2020 U.S. election. He told people that Smartmatic’s election

technology, hardware, and software were hacked by China and other foreign countries. He told

people that Smartmatic election technology, hardware, and software were developed for the sole

purpose of stealing foreign elections by switching votes. And he told people that Smartmatic

deployed its election technology, hardware, and software to do just that in the 2020 U.S. election.

All lies.

        7.     Mr. Lindell intentionally stoked the fires of xenophobia and party-divide for the

noble purpose of selling his pillows. The MyPillow brand was, and is, a ubiquitous feature of Mr.

Lindell’s media appearances. The MyPillow logo is everywhere. Promo codes for ordering from

MyPillow are conveniently and strategically placed during his appearances. Mr. Lindell’s sales

strategy is brilliant: “If you like what I am saying about election fraud, you are going to love my

pillows, so buy them to support me and my message.”

        8.     It is time to end Mr. Lindell’s campaign. Smartmatic had no role in the 2020 U.S.

election outside of providing some technology, support, and services to Los Angeles County. That

is it. Yet, Mr. Lindell sees fit to perpetuate a lie about the company because he wants to be seen as

a champion of a deceptive message that still sells. But enough is enough. The country will sleep

better at night knowing the judicial system holds people like Mr. Lindell accountable for spreading

disinformation that deceives and harms others.
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       9.      Smartmatic brings defamation and Minnesota Deceptive Trade Practices claims

against Defendants Michael J. Lindell and his company MyPillow. Smartmatic seeks to recover

for the economic and non-economic damage caused by Defendants’ disinformation campaign,

punitive damages, attorneys’ fees and costs, and a permanent injunction. Finally, Smartmatic seeks

a declaration requiring Defendants to retract their false statements and implications fully and

completely.

                                             PARTIES

       10.     Plaintiff Smartmatic USA Corp. is an election technology and software company.

The company’s principal place of business is located in Boca Raton, Florida. It is incorporated in

Delaware. During the 2020 U.S. election, Smartmatic USA Corp. provided election technology,

support, and services to Los Angeles County. Its election technology and software were not used

in any other county or State in the 2020 U.S. election.

       11.     Plaintiff Smartmatic International Holding B.V. owns Smartmatic USA Corp.

(100% ownership). The company’s principal place of business is located in Amsterdam,

Netherlands. It is incorporated in the Netherlands. Smartmatic International Holding B.V. owns

multiple companies operating under the Smartmatic brand in almost two dozen countries.2

Smartmatic International Holding B.V. did not play any role in the 2020 U.S. election outside of

the technology, support, and services provided by Smartmatic USA Corp. for Los Angeles County.

       12.     Plaintiff SGO Corporation Limited owns Smartmatic International Holding B.V.

(100% ownership). The company’s principal place of business is located in London, United

Kingdom. It is incorporated in the United Kingdom. SGO Corporation Limited is the parent


2
 Smartmatic International Holding B.V. owns election technology and software companies in United States
(Smartmatic USA Corp.), Barbados, Australia, United Kingdom, Panama, Haiti, Belgium, Singapore,
Netherlands, Mexico, Ecuador, Brazil, Estonia, Taiwan, and the Philippines as well as branches in
Colombia, Argentina, Honduras, Pakistan, Italy, Jamaica, and El Salvador.
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company of Smartmatic International Holdings B.V. SGO Corporation also owns significant stock

in other companies that were damaged by the disinformation campaign. SGO Corporation Limited

did not play any role in the 2020 U.S. election outside of the technology, support, and services

provided by Smartmatic USA Corp. for Los Angeles County.

        13.     Smartmatic USA Corp., Smartmatic International Holding B.V., and SGO

Corporation Limited are collectively referred to as “Smartmatic” in this complaint. Each of the

companies owned by SGO Corporation Limited, directly or through Smartmatic International

Holding B.V., was injured as a result of the Defendants’ disinformation campaign that irreparably

tarnished the Smartmatic brand (corporate and product).

        14.     Defendant Michael J. Lindell (“the MyPillow guy”) is an American businessman,

entrepreneur, author, political activist, and political pundit. Mr. Lindell is a resident of Minnesota.

Mr. Lindell is the founder and CEO of MyPillow. Following the 2020 U.S. election, Mr. Lindell

began appearing on television, radio shows, and podcasts with regularity to discuss, or attack, the

results of the election.

        15.     Defendant MyPillow is a major, for-profit Minnesota manufacturing corporation

with its principal place of business in Chaska, Minnesota. MyPillow has 15 retail locations,

employs over 1,600 people, markets more than 100 products, and has sold over 50 million pillows

throughout the United States. MyPillow sponsors political media, including the Right Side

Broadcasting Network (“RSBN”), a media group that provides daily news coverage on the

Internet. MyPillow routinely advertises on Fox News, One America News Network (“OANN”),

Newsmax, and numerous other television, podcast, and radio stations.

        16.     At all relevant times hereto, Mr. Lindell was acting as MyPillow’s agent and within

the scope of his employment, including during each and every appearance he made defaming

Smartmatic.
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       17.     After the November 2020 election, Mr. Lindell, both in his individual capacity and

by and through his company MyPillow, began spreading a false narrative regarding the outcome

of the election by disparaging and defaming Smartmatic. The narrative served his personal and

financial interests as he and MyPillow benefitted from the publicity while creating a perception

that the 2020 U.S. election was rigged and stolen by Smartmatic. The narrative and Mr. Lindell’s

defamation campaign also served MyPillow’s financial interest.

       18.     Mr. Lindell used his business acumen to market MyPillow products to Trump

supporters in the wake of the November 2020 election. Mr. Lindell crafted and broadcast a four-

part documentary series; appeared on television shows, podcasts, and Internet radio programs with

regularity; and held a two-day, live, and live-streamed conference to spread far and wide his false

narrative blaming Smartmatic for the outcome of the 2020 U.S. election.

       19.     Mr. Lindell’s appearances were also promotions for MyPillow. Mr. Lindell

appeared as “the MyPillow guy” and advertised his products to viewers and listeners during the

same program segments where he defamed Smartmatic. Mr. Lindell gave election related

MyPillow promo codes, such as “FightforTrump” and “Proof,” to viewers and listeners during the

same program segments where he defamed Smartmatic.

                                  JURISDICTION & VENUE

       20.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 because

there is complete diversity of citizenship between Plaintiffs and Defendants, and the amount in

controversy exceeds $75,000, exclusive of interest and costs.

       21.     This Court has personal jurisdiction over Michael Lindell, an individual who

resides in Minnesota. This Court also has personal jurisdiction over My Pillow, Inc., a company

incorporated in Minnesota with its principal place of business in Chaska, Minnesota.


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       22.     Venue is proper in the District of Minnesota pursuant to 28 U.S.C. § 1391(b)(1)

because Defendants Michael Lindell and MyPillow both reside in Minnesota.

                                  FACTUAL ALLEGATIONS

       23.     Mr. Lindell is a shrewd businessman who used his personal and company wealth

as a platform to (1) spread false information about Smartmatic; and (2) garner popularity and

purchasers for his MyPillow products. When Donald Trump and Michael Pence lost the election,

Mr. Lindell saw the opportunity to capitalize on their popularity. Mr. Lindell attended pro-Trump

rallies and appeared on talk shows. Mr. Lindell claimed that Donald Trump and Michael Pence

did not lose the election. Mr. Lindell claimed that the electronic voting technology companies,

including Smartmatic, were hacked by China. Mr. Lindell claimed that the machines stole the

election to make it appear as if Donald Trump and Michael Pence lost the election. Smartmatic

was a main target in Mr. Lindell’s false narrative.

I.     Smartmatic’s Role as an Election Technology Company

       24.     Antonio Mugica and Roger Piñate founded Smartmatic in 2000 in Boca Raton,

Florida. At the start, Smartmatic focused mainly on developing cybersecure technology for the

banking industry, offering secure online protocols enabling hyper-secure interconnection between

digital devices.

       25.     Smartmatic turned its focus to election technology and software following the 2000

U.S. election and the “hanging chad” controversy in Florida. Mr. Mugica and Mr. Piñate realized

that flawed technology had given election automation a bad reputation. With that in mind, they

began to develop advanced voting platforms to restore people’s faith in technology-driven

elections. They wanted to take the same technology built for secure bank automation and use it to

register, count, and transmit votes. They believed this could give people confidence that their

ballots would be accurately counted.
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       26.     Since 2003, Smartmatic’s election technology has processed more than 5 billion

secure votes worldwide without a single security breach. Smartmatic has provided election

services and implemented election technologies for election commissions in more than 25

countries on five continents.

       27.     With each election, Smartmatic’s mission is, and always has been, to increase

integrity in the democratic process through enhanced citizen engagement and trust in election

systems. Smartmatic harnesses the full power of technology to deliver reliable, accurate and

auditable election results.

       A.      Smartmatic grew from a small start-up into a successful multi-billion-dollar
               enterprise.

       28.     Today, Smartmatic provides end-to-end election services to local, state, and

national governments. Its portfolio of products has grown to include a comprehensive suite of

technologies and services to make every phase of the election process more efficient and

transparent.

       29.     Smartmatic’s products now include electronic voting machines (voters vote

electronically using voting machines with a touch screen, and those machines count the votes as

they are made), electronic counting machines (voters vote with paper ballots which can be counted

electronically), ballot marking devices (voters make their selection on touch-screen machines that

then print a paper ballot to be counted later by the government election authority), voter

management (voter databases are built using biographic and/or biometric information to ensure

that the voters are legally entitled to vote, and that there is one-voter/one-vote), poll worker support

(technology facilitates poll station administration and enforcement of regulations), online voting

(convenient and verifiable online—remote, over the internet—voting platforms) and election




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management platforms (allows authorities to configure their systems, monitor operations,

announce results, and train staff).

        30.    Smartmatic’s growth and product development is a story of industry-leading

advancements and successes through relentless attention to reliability, accuracy, and auditability.

        B.     Smartmatic’s success is built on its reputation for secure, reliable, and
               auditable election technology and software.

        31.    The secret to Smartmatic’s success has been showing its commitment to its mission

statement: to provide secure, reliable, and auditable election technology and software. Counties,

states, and countries that choose to use Smartmatic’s election technology and software understand

that they are using a technology that has processed over 5 billion votes without any security

breaches and with an auditable paper trail demonstrating that the elections were not rigged, hacked,

or stolen.

        32.    One of Smartmatic’s best marketing tools are case studies. Case studies are

opportunities for Smartmatic to demonstrate to a potential client how Smartmatic’s election

technology and software have been used by other counties, states, and countries to improve the

voter experience and provide secure, reliable, and auditable results. These case studies

demonstrate, time and time again, that Smartmatic’s election technology and software can ensure

quick and accurate voting results.

        33.    Another one of Smartmatic’s key marketing tools are references. Most

opportunities for new clients include providing referrals who can talk about their experience with

Smartmatic’s election technology and software. Smartmatic’s past successes, which the referrals

discuss, are critical to new clients. New clients want to know that Smartmatic’s election technology

and software are secure, reliable, and auditable. That is what they learn from Smartmatic’s

referrals.

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        34.     Finally, Smartmatic is also fortunate to have been recognized as one of the best

election technology and software companies in the world. For example, in 2005, The Carter Center

and the European Union identified Smartmatic’s election technology as one of the most secure,

reliable, and auditable election technologies in the world. In 2012, former President Jimmy Carter

called Smartmatic’s solution “the best voting system in the world.” These accolades and

recognitions by some of the world’s foremost election authorities are yet another key to

Smartmatic’s success. Its reputation as one of the “best voting systems in the world” is important

for expanding existing relationships and developing new relationships with counties, states, and

countries looking to improve their election technology.

        C.      Smartmatic had a relatively small, non-controversial role in the 2020 U.S.
                election.

        35.     The 2020 U.S. election was a turning point for Smartmatic. In June 2018, Los

Angeles County selected Smartmatic to help election authorities manufacture and implement a

new election system for the County. This was a significant opportunity for Smartmatic to

demonstrate the security, reliability and auditability of its election technology once again—this

time on an even bigger stage. Success in Los Angeles County positioned Smartmatic to market its

election technology and software to other counties and states in the United States and to voting

jurisdictions around the world who were inclined to follow Los Angeles County’s lead.

                1.     Los Angeles County introduced a new Voting Solutions for All People
                       initiative for the 2020 U.S. election.

        36.     Los Angeles County is the nation’s most populous voting jurisdiction with more

than 5.4 million registered voters. Los Angeles County is one of the most complex election

jurisdictions because of its geographic size, logistics, high bar for certification requirements,

multiple language support requirements, and legally-mandated accessibility features for voters

with disabilities.
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        37.     Since 2009, the Los Angeles County’s Registrar-Recorder/County Clerk (the

“Department”) had been working to improve the voting experience through its Voting Solutions

for All People (“VSAP”) initiative. Given the size, complexity, and demographics of Los Angeles

County, one of the Department’s top priorities was to remove barriers and obstacles that made it

difficult for voters to participate in the electoral process.

        38.     The VSAP initiative sought to ensure that voters in Los Angeles County had greater

opportunities to participate by providing expanded options for voting in a manner that is

convenient, accessible, and secure. The Department described key aspects of the VSAP initiative

as follows:

                a.      Redesigned Vote-by-Mail (“VBM”) Ballot: The new VBM ballot was

                        introduced to County voters in the November 2018 General Election. The

                        new full-face VBM ballot features larger font sizes and clearer instructions

                        making it easy to read, complete, and return. In addition, postage is prepaid,

                        so there is no longer a need to attach a stamp. Voters who prefer to drop off

                        their ballot in-person can do so at any VBM drop-off location or vote center

                        throughout the County.

                b.      Redesigned Ballot Marking Device (“BMD”): The BMD replaces the

                        County’s legacy InkaVote system. The BMD allows every voter to

                        customize their experience with both visual and audio access in thirteen

                        languages and offers accessibility features that provide voters with

                        disabilities equality and independence in casting ballots. For auditability

                        and security, the BMDs produce human-readable paper ballots that exceed

                        national voting system security standards.


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           c.    New Electronic Pollbook (“e-Pollbook”): The e-Pollbook replaces the

                 printed roster that was previously used at voting centers for voters to check-

                 in. The e-Pollbook is connected through a secure private network to the

                 State of California database of eligible voters. This allows voters to check

                 in and cast their ballot at any vote center in the County. The e-Pollbook is

                 updated in real-time and will indicate if a voter has already cast a ballot

                 ensuring voting integrity. In addition, the e-Pollbook enables eligible voters

                 to register to vote at any vote center or update their registration.

           d.    New Interactive Sample Ballot (“ISB”): The ISB is a new convenient option

                 to expedite the in-person voting experience. The ISB allows the voter to

                 mark their sample ballot digitally through a web-based application

                 accessible through the Department’s website. Upon completing selections,

                 a Quick Response Code is generated producing a Poll Pass that the voter

                 can print or save onto a mobile device, and which the voter can then take to

                 any vote center to be scanned on the BMD. The voter’s selections will be

                 imported onto the BMD allowing the voter to once again review their

                 selections and make any further changes prior to casting their ballot.

           e.    Redesigned Modern Tally System: The Tally System is an innovative

                 solution for paper ballot scanning and tabulation that is specifically

                 designed to support Los Angeles County’s need to process millions of

                 ballots. It utilizes high-speed scanners to capture high-definition images of

                 ballots and a message brokering architecture to process large volumes of

                 digital images quickly and accurately. From paper ballot to digital image to

                 final cast vote record, the Tally System captures data about how each ballot
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                      is read and processed, allowing for the tracking and auditing of individual

                      ballots to verify the integrity and accuracy of election results.

               f.     Redesigned Vote Centers: Vote centers were located throughout the entire

                      County. They each underwent comprehensive surveys and assessments to

                      ensure they met Americans with Disabilities Act accessibility requirements

                      and other qualifying criteria such as on-site parking availability, convenient

                      access to public transit, and hours of operation.

               g.     New Mobile Vote Center Program: The Department also implemented a

                      new Mobile Vote Center Program to further expand voting opportunities to

                      the public. The program supplemented existing vote centers that might have

                      been highly congested and provided voting services to communities that

                      might have been geographically isolated or not appropriately served by a

                      standard vote center. Mobile voting units were deployed on a scheduled

                      basis across the County to provide enhanced voting services and raise voter

                      awareness during the voting period.

       39.     The VSAP initiative included the first government-designed and owned voting

system. The new system allowed voters to vote at any of the County’s 978 centralized vote centers,

a change made possible “by advanced technology like electronic poll books and ballot marking

devices.”

               2.     Los Angeles County selected Smartmatic to contribute election
                      technology and software to the Voting Solutions for All People
                      initiative.

       40.     Smartmatic was honored to be selected by the Department to assist with the VSAP

initiative. In June 2018, Smartmatic entered into a contract to manufacture (hardware and software)


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and implement new custom-designed BMDs in collaboration with Los Angeles County as part of

its VSAP initiative.

       41.      Smartmatic’s role in the initiative was limited but important to the company as it

provided an opportunity to demonstrate its technology and software in an important jurisdiction in

the United States. By the end of 2019, Smartmatic had developed the BMDs and was

manufacturing 31,100 units for Los Angeles County. Smartmatic also performed systems

integration of the BMDs.

       42.      In total, Smartmatic provided the following technology and services to Los Angeles

County under the VSAP initiative: (1) engineered and manufactured the BMD hardware, (2)

programmed and installed the BMD software, (3) led the California certification process, (4)

created the backend software to manage the devices, (5) provided systems integration services, (6)

built the VSAP operations center, (7) handled logistics and setup/breakdown of the vote centers,

(8) oversaw real-time data management for deployment, and (9) supplied Help Desk services on

Election Day.

                3.     Smartmatic’s involvement with Los Angeles County was a success.

       43.      Smartmatic’s election technology and software were used in the March 3, 2020,

California presidential primary in Los Angeles County. It was an undisputed success. Loyola

Marymount University conducted an exit poll following the primary and concluded that most

voters trusted the election and felt the technology made the voting easier. (3/11/20 Loyola

Marymount University, 2020 LA Votes Presidential Primary Exit Poll (Exhibit 93).) The key

findings included:

          This year, LA County implemented new voting technology. Compared to
          voting in previous elections, technology made voting in this primary:

                      Much easier:          57.5%

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                      A bit easier:           17.6%

                      The same:               13.2%

                      A bit more difficult:    7.4%

                      Much more difficult: 4.3%

             How much do you trust that your vote will be counted as intended?

                      Greatly trust:          51.7%

                      Somewhat trust:         35.0%

                      Somewhat distrust:      9.3%

                      Greatly distrust:       4.0%

       44.      The California primary election was the first test for Los Angeles County’s VSAP

initiative, with more than 860,000 voters casting in-person ballots. Respondents overwhelmingly

agreed that they had positive voting experiences, with more than 85% choosing “excellent” or

“good” when asked about their overall experience.

       45.      The VSAP initiative was also well-received in the November general election. By

the numbers:

                      791              Vote centers open on election day

                      31,000           BMDs manufactured by Smartmatic

                      19,445           BMDs deployed for the election

                      800+             Election workers hired and trained by Smartmatic

                      6,129,494        Citizens eligible to vote

                      5,785,377        Citizens registered to vote

                      73.8%            Turnout of registered voters

                      4,270,129        Votes cast in the 2020 general election

                      834,150          Votes cast in-person in the 2020 general election

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          46.   The November general election in Los Angeles County from a technology

perspective was flawless. A County official described the system as a “success.” There were no

serious problems during the election in Los Angeles County, and voters experienced reduced lines

and reduced delays. No questions were raised about security, reliability or auditability of the results

in Los Angeles County. Expectations were high, and Smartmatic exceeded those expectations.

          47.   Smartmatic was thrilled with its success in the Los Angeles County election.

Counties and states in the United States and countries across the world pay attention to Los Angeles

County when it comes to election technology and software. Smartmatic’s contract with Los

Angeles County was the largest in the United States. Smartmatic’s successful participation in the

VSAP initiative was seen as a once-in-a-lifetime opportunity for the company. It provided the

company the ability to highlight its role in the largest voting jurisdiction in the United States, and

highlight its success in facilitating secure, reliable, and auditable election results. This was the big

success Smartmatic had been building towards for 20 years.

          48.   There was no controversy in Los Angeles County. In the 2020 U.S. election, the

Democratic candidates for President and Vice President won over 71% of the vote. In the 2016

U.S. election, the Democratic candidates for President and Vice President won over 72% of the

vote. There was no material change in the voting pattern in Los Angeles County. Nor were there

any allegations or suggestions that the vote in Los Angeles County had been rigged, hacked, or

stolen.

          49.   Smartmatic did not play any role in the general election outside of Los Angeles

County. Smartmatic’s election technology, software, equipment, and services were not used in any

other county or state for the 2020 U.S. election. Smartmatic’s software was not used in any other

county or state. Smartmatic did not license or contract with any third party, including other election


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technology companies, for the use of Smartmatic’s technology, software, machines, or services in

any other county or state for the 2020 U.S. election.

       50.     Smartmatic’s machines did not connect to the Internet during the election in Los

Angeles County. Smartmatic’s machines are “air-gapped” meaning they are “self-contained and

never connected to the Internet.” (11/11/20 Smartmatic Website, Los Angeles County – Voting

Solutions for All People (Exhibit 103).) Votes cast using Smartmatic’s election technology and

software were hand delivered after paper ballots were printed from Smartmatic’s machines.

       51.     Given that Smartmatic had no role in the general election outside of Los Angeles

County, Smartmatic had no reason to be concerned about being embroiled in a discussion about

election outcomes in some of the states where the vote tally was closer than it was in California.

For example, Nevada, Arizona, Georgia, Pennsylvania, Michigan, and Wisconsin were states

where the vote tally between the Democratic and Republican nominees for President and Vice

President were much closer than the margin in California. But, Smartmatic had no role whatsoever

in the elections that took place in those states. For example:

               a.      Nevada used election technology supplied by Dominion and Election

                       Systems & Software (“ES&S”). (Nevada Secretary of State, Voting System

                       Testing and Security List (Exhibit 62).)

               b.      Arizona used election technology supplied by multiple companies,

                       including Dominion and ES&S. (Arizona Secretary of State, 2020 Election

                       Cycle/Voting Equipment (Exhibit 57).)

               c.      Georgia used election technology supplied by Dominion. (8/9/19 Georgia

                       Secretary of State, Dominion Voting System Certification (Exhibit 42).)

               d.      Pennsylvania certified multiple election technology companies for the 2020

                       election, including Dominion, ES&S, Unisyn Voting Systems, ClearBallot
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                      Group, and Hart InterCivic. (Pennsylvania Department of State, Electronic

                      Voting Systems Certified after January 1, 2018 (Exhibit 52).)

              e.      Michigan used election technology supplied by Dominion, ES&S, and Hart

                      InterCivic. (Michigan Voter Information Center, Voting Systems Map

                      (Exhibit 48).)

              f.      Wisconsin approved multiple election technology companies for the 2020

                      election, including Dominion, ES&S, Sequoia Voting Systems, Premier

                      Election Solutions, Populex, Vote-PAD, and ClearBallot Group.

                      (Wisconsin Elections Commission, Voting Equipment List by Municipality

                      February 2020 (Exhibit 59).)

       52.    Moreover, Smartmatic had no reason to get itself involved in any discussion about

the election outcome outside of Los Angeles County. Apart from commenting on its role in the

election in Los Angeles County, Smartmatic made no public comments about the 2020 U.S.

election prior to the disinformation campaign. Smartmatic made no comments about the security,

reliability, or auditability of the election technology and software used outside of Los Angeles

County. Smartmatic made no public comments about election technology and software used in the

2020 U.S. election being hacked or compromised. Smartmatic made no public comments about

the 2020 U.S. election being fixed, rigged, or stolen. Smartmatic had done a great job in Los

Angeles County. It had no interests, and made no public comments, outside of its limited role.

II.    Defendants’ Disinformation Campaign Against Smartmatic

       53.    In 2016, Mr. Lindell saw the magnetic power that presidential candidate Donald

Trump had over many Americans. Seizing on the opportunity to share in the fame and grow

MyPillow’s profits, Mr. Lindell became a Donald Trump supporter, first meeting with him in 2016


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before he was elected. Mr. Lindell attended White House events and other President Trump rallies

and events in 2017, 2018, 2019, and 2020.

         54.     President Trump, in turn, endorsed Mr. Lindell and MyPillow. During one press

conference at the White House, President Trump said, “I actually bought a couple of [MyPillow]

pillows and they’re very good. They’re great. I’ve slept so much better ever since.”3 During a rally

in North Dakota, President Trump said of Mr. Lindell, “he’s the greatest … he does make a great

product, great pillows, I actually use them, believe it or not … and he’s been with us right from

the beginning.”4

         55.     Mr. Lindell saw that his unabashed support for President Trump grew Mr. Lindell’s

personal fame and fortune and attracted new MyPillow buyers and supporters. For example, in

2018, Mr. Lindell noted that his relationship with Trump has “been very good for business…”

(11/4/18 CNN, How Mike Lindell, the MyPillow guy, became a midterm messenger (Exhibit 140).)

In 2019, MyPillow’s revenue exceeded $300 million. (1/27/21 The New York Times, MyPillow

C.E.O.’s Trump Conspiracy Theories Put Company on the Spot (Exhibit 141).) In 2020, Mr.

Lindell’s personal estimated net worth was $300 million. (6/17/20 The List, The MyPillow Guy’s

Net Worth is Even Higher Than You Think (Exhibit 142).)

         A.      The 2020 U.S. election was secure, reliable, and accurate.

         56.     In November 2020, Joe Biden and Kamala Harris won the U.S. election for

President and Vice President, and President Donald Trump and Vice President Michael Pence lost.

The Democratic candidates secured 306 electoral votes. The Republican candidates secured 232

electoral votes. On the popular vote, the Democratic candidates received 81 million votes

compared to 74 million for the Republican candidates. Among other states, the Democratic


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    Available at https://www.youtube.com/watch?v=tSv_cGUhHOI.
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    Available at https://www.youtube.com/watch?v=rzFJo9asFa0.
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candidates won each of the states discussed above – Nevada, Arizona, Georgia, Pennsylvania,

Michigan, and Wisconsin. The victories for the Democratic candidates in those states were verified

and re-verified by each of their respective Secretaries of State.5

        57.     The security, reliability, and accuracy of the 2020 U.S. election were repeatedly

confirmed before Mr. Lindell began making his defamatory statements. Governors and Secretaries

of State from across the country verified the security, reliability, and accuracy of their election

results. For example:

                a.      Nevada: Secretary of State Barbara Cegavske reported: “All voting

                        machines undergo extensive pre-election and post-election examination to

                        ensure they function as expected. The NV Gaming Control Board tests and

                        certifies our systems. The post-election audits and recounts conducted in

                        Nevada confirmed that the machines accurately tabulated the votes cast.”

                        (Nevada Secretary of State, Facts v. Myths: Nevada 2020 Post-General

                        Election (Exhibit 64).)

                b.      Arizona: Governor Doug Ducey stated: “We have some of the strongest

                        election laws in the country, laws that prioritize accountability and clearly

                        lay out procedures for conducting, canvassing, and even contesting the

                        results of an election.” (12/1/20 Twitter, @DougDucey (Exhibit 58).)

                c.      Georgia: Secretary of State Brad Raffensperger reported: “Georgia’s

                        historic first statewide audit reaffirmed that the state’s new secure paper

                        ballot voting system accurately counted and reported results.” (11/19/20



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 Outside of the election for President and Vice President, Republican candidates won elections in Nevada,
Arizona, Georgia, Pennsylvania, Michigan, and Wisconsin. Those victories were verified by the respective
Secretaries of State.
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                      Georgia Secretary of State, Historic First Statewide Audit of Paper Ballots

                      Upholds Result of Presidential Race (Exhibit 44).)

              d.      Pennsylvania: Governor Tom Wolf reported: “To say there was voter fraud

                      is a lie. To say the election was unconstitutional is a lie. To say our voting

                      systems weren’t secure is a lie.” (11/12/20 Twitter, @GovernorTomWolf

                      (Exhibit 55).)

              e.      Michigan: Secretary of State Joselyn Benson reported: “We have not seen

                      any evidence of fraud or foul play in the actual administration of the election

                      . . . What we have seen is that it was smooth, transparent, secure and

                      accurate.” (11/10/20 The New York Times, The Times Called Officials in

                      Every State: No Evidence of Voter Fraud (Exhibit 101).)

              f.      Wisconsin: Elections Commission Administrator Meagan Wolfe reported:

                      “At this time, no evidence has been provided that supports allegations of

                      systematic or widespread election issues.” (11/19/20 Wisconsin Star News,

                      No evidence has been provided that supports allegations of systemic or

                      widespread election issues (Exhibit 104).)

       58.    On November 12, 2020, members of the Election Infrastructure Government

Coordinating Council (“GCC”) Executive Committee and members of the Election Infrastructure

Sector Coordinating Council (“SCC”) published a joint statement regarding the security,

reliability, and accuracy of the election results. (11/12/20 CISA, Joint Statement from Elections

Infrastructure Government Coordinating Council & the Election Infrastructure Sector

Coordinating Executive Committees (Exhibit 105).) The members included:

                     Cybersecurity and Infrastructure Security Agency (“CISA”) Assistant
                      Director Bob Kolasky

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                      U.S. Election Assistance Commission Chair Benjamin Hovland

                      National Association of Secretaries of State (“NASS”) President Maggie
                       Toulouse Oliver

                      National Association of State Election Directors (“NASED”) President Lori
                       Augino

                      Escambia County (Florida) Supervisor of Elections David Stafford

                      Brian Hancock (Chair of SCC, Unisyn Voting Solutions)

                      Sam Derheimer (Vice Chair of SCC, Hart InterCivic)

                      Chris Wlaschin (Election Systems & Software)

                      Ericka Hass (Electronic Registration Information Center)

                      Maria Bianchi (Democracy Works)

       59.     The joint statement stated: “The November 3rd election was the most secure in

American history. Right now, across the country, election officials are reviewing and double

checking the entire election process prior to finalizing the result.”

       60.     It continued: “When states have close elections, many will recount ballots. All of

the states with close results in the 2020 presidential race have paper records of each vote, allowing

the ability to go back and count each ballot if necessary. This is an added benefit for security and

resilience. This process allows for the identification and correction of any mistakes or errors.

There is no evidence than any voting system deleted or lost votes, changed votes, or was in

any way compromised.” (emphasis in original).

       61.     And it stated: “Other security measures like pre-election testing, state certification

of voting equipment and the U.S. Election Assistance Commission (EAC) certification of voting

equipment help to build additional confidence in the voting systems used in 2020.”

       62.     Statements about the security, reliability, and accuracy of the 2020 U.S. election

continued to be made by various government officials, entities, and committees into 2021. On

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June 23, 2021, the Republican-led Michigan Senate Oversight Committee, chaired by Trump ally

Senator Ed McBroom, released a 55-page report, which stated that “The Committee found no

evidence of widespread or systemic fraud in Michigan’s prosecution of the 2020 election” and

expressed total confidence that the state’s 2020 election outcome—that Biden defeated Trump by

about 155,000 votes, or 2.8%—“represent[s] the true results of the ballots cast by the people of

Michigan.” (6/23/21 Michigan Senate Oversight Committee, Report on the November 2020

Election in Michigan (Exhibit 133).)

       63.     On June 24, 2021, the Supreme Court of the State of New York, Appellate Division,

First Judicial Department, suspended Rudolph Giuliani from the practice of law after it determined

that he had “made knowing false and misleading factual statements to support his claim that the

presidential election was stolen from his client [Donald Trump],” based on “uncontroverted

evidence” that he made “demonstrably false and misleading statements to courts, lawmakers and

the public at large in his capacity as lawyer for former President Donald J. Trump and the Trump

campaign in connection with Trump’s failed effort at reelection in 2020.” (Matter of Giuliani,

1976 A.D.3d 1, 4 (1st Dep’t 2021) (Exhibit 134).)

       64.     On June 27, 2021, reporting revealed that Attorney General William Barr had

“received two briefings from cybersecurity experts at the Department of Homeland Security and

the FBI” about the allegations of rigged voting machines, after which he and his team at the

Department of Justice “realized from the beginning it was just bullshit.” Barr further disclosed that

“even if the machines somehow changed the count, it would show up when they were recounted

by hand,” and that Dominion’s machines were just “counting machine[s], and they save everything

that was counted. So you just reconcile the two. There had been no discrepancy reported anywhere,

and I’m still not aware of any discrepancy.” (6/27/21 The Atlantic, Inside William Barr’s Breakup

with Trump (Exhibit 135).)
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       65.     On August 3, 2021, a federal judge in Colorado disciplined two lawyers who filed

a frivolous lawsuit based on lies against Dominion following the election, concluding that the case

was frivolous and brought in bad faith. In his 68-page opinion, Judge N. Reid Neureiter concluded:

“Albeit disorganized and fantastical, the Complaint’s allegations are extraordinarily serious and,

if accepted as true by large numbers of people, are the stuff of which violent insurrections are

made.” (O’Rourke et al. v. Dominion Voting Systems, Inc. et al., No. 20-cv-3747, 2021 WL

3400671 (D. Colo. Aug. 3, 2021) (Exhibit 136).)

       66.     The 2020 U.S. election for President and Vice President was not rigged. It was not

compromised. It was not stolen.

       B.      Mr. Lindell decided to sell an embellished story connecting voting machines to
               election fraud.

       67.     Donald Trump had (and continues to have) a significant and loyal following.

Donald Trump received approximately 70 million votes during the 2020 U.S. election. Donald

Trump had over 88 million Twitter followers. His popularity was a tremendous asset.

       68.     Mr. Lindell had already profited from President Trump’s popularity before the

election. Mr. Lindell’s MyPillow products had received Donald Trump’s endorsements. Mr.

Lindell had personally received Donald Trump’s endorsements. On information and belief, Mr.

Lindell’s (and, by extension, MyPillow’s) bottom line was flourishing in part due to President

Trump’s endorsement.

       69.     Mr. Lindell saw another business opportunity after President Donald Trump and

Michael Pence lost the 2020 election. When it became clear that Joe Biden and Kamala Harris had

officially won, Mr. Lindell latched onto a false narrative that the election was “stolen.” Mr. Lindell

decided to blame the voting machines. Mr. Lindell knew that he and his MyPillow products would

garner attention in the media and stay on Donald Trump’s supporters’ minds by spreading a false

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narrative with a technical premise: voting election technology is not secure, was hacked by China,

and the voting machine companies stole the election. Smartmatic was to be one of the voting

machine companies at the center of this false narrative.

       70.     After the election, Mr. Lindell heard Mr. Rudolph Giuliani’s and Ms. Sidney

Powell’s assertions that voting election technology was manipulated. (Smartmatic v. Fox Corp., et

al., N.Y. Index No. 151136/2021, Compl. at ¶¶ 89–94 (Exhibit 138).) Mr. Lindell also saw Fox

News and others, such as Newsmax and OANN, broadcasting coverage about voting machine

technology being hacked in favor of Joe Biden and Kamala Harris.

       71.     Mr. Lindell knew that if he endorsed and grew this lie, he would continue rising to

stardom in Donald Trump-supporter circles and, in turn, grow his personal and company wealth.

Mr. Lindell decided to build off the story that the Smartmatic and Dominion voting technology

companies were to blame for Donald Trump’s and Michael Pence’s loss in the 2020 U.S. election

by claiming that the election was hacked.

       72.     Mr. Lindell decided he would further embellish a preconceived story of

Smartmatic’s voting machine hacking and manipulation. He asserted that the 2020 U.S. election

had been rigged in favor of Joe Biden and Kamala Harris through “the machines.” Mr. Lindell

claimed to have scientific, mathematical, and forensic “100% proof” of this election fraud by the

machines.

       73.     Mr. Lindell, of course, had no evidence that Smartmatic machines were hacked in

the 2020 U.S. election or otherwise used to rig the election for Joe Biden and Kamala Harris. But

Mr. Lindell knew that manufacturing “evidence” and making it seem as if that “evidence” was

absolute and irrefutable would make for a more believable story.

       74.     The story would also make Mr. Lindell (and MyPillow) money. Mr. Lindell would

be able to cast himself as President Trump’s only remaining friend and ally. He could also use the
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attention brought to him as the primary, continuing warrior against the voting technology machines

to sell his books and his MyPillow products.

       C.      Mr. Lindell engaged in a disinformation campaign against Smartmatic.

       75.     In December 2020 and January 2021, after all 50 states and Washington, D.C.

certified their presidential election results, Mr. Lindell launched his attack on voting technology

companies. During multiple appearances (both live at rallies in Washington, D.C. and online), Mr.

Lindell claimed that the algorithms in voting machines were programmed to steal votes from

Donald Trump and Michael Pence.

       76.     Mr. Lindell and MyPillow sponsored a 20-city “March for Trump” bus tour

promoting the January 6, 2021 rally in Washington, D.C. (1/26/21 BuzzFeed News, How ‘The

Women for America First’ Bus Tour Led to The Capitol Coup Attempt (Exhibit 129).) The

MyPillow logo appeared on the bus that toured around the United States.

       77.     On the bus tour, Mr. Lindell was given a platform to talk about the election. He told

the audiences that “Donald Trump got so many votes that they didn’t expect that it broke the

algorithms in those [voting] machines.” (Id.)




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       78.     On January 5, 2021, Mr. Lindell spoke at the “Save the Republic” rally at the United

States Capitol in Washington, D.C. He continued to spread his lie that election voting technology

stole the 2020 U.S. election.

       79.     On January 20, 2021, Joe Biden and Kamala Harris were sworn in as the President

and Vice President. By then, several media sources (including Fox News and Newsmax) broadcast

“clarification” program segments attempting to walk back their defamatory claims that Smartmatic

was engaged in widespread election fraud. Mr. Lindell knew all of this. But Mr. Lindell believed

that if he perpetuated the story against Smartmatic and convinced the public that the election was

fraudulent through newfound “evidence,” he would keep his name in the news.

       80.     Mr. Lindell’s calculated defamation campaign against Smartmatic was four-

pronged. First, Mr. Lindell created and published a series of defamatory documentary videos

purporting to release “evidence” and “facts” corroborating that Smartmatic’s voting technology

stole the 2020 U.S. election.

       81.     Second, Mr. Lindell appeared on at least 13 Internet radio and television shows

promoting his documentaries, driving traffic to his websites, advertising MyPillow, and defaming

Smartmatic. During these programs, Mr. Lindell promised that he had “evidence” to support his

defamatory claims about Smartmatic.

       82.     Third, Mr. Lindell held an in-person and Internet live-streamed “Cyber

Symposium” from August 10 to 12, 2021, during which he purported to uncover even more

evidence that election voting machines, including Smartmatic’s, rigged the 2020 election. Each of

these irreparably harmed Smartmatic.

       83.     Fourth, years after the 2020 presidential election, Mr. Lindell continued to

perpetuate the falsehood that Smartmatic manipulated votes through a video he published on his

self-created social media website, FrankSpeech.com, and through other mediums.
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                 1.     Mr. Lindell’s Defamation Campaign Against Smartmatic, Prong 1:
                        The “Absolute” Documentary Series

       84.       In the first prong of his defamatory campaign, Mr. Lindell filmed, produced, and

broadcast a four-part “Absolute” documentary series. In this series, Mr. Lindell claimed to reveal

evidence that the 2020 U.S. election was stolen through election voting machine technology,

including Smartmatic’s. All four of Mr. Lindell’s self-produced and published documentaries

defamed Smartmatic.

       85.       In his first documentary, “Absolute Proof,” Mr. Lindell and his guest speakers

claimed that China infiltrated the 2020 U.S. election through voting machine technology, including

Smartmatic’s. (Absolute Proof (Exhibit 1); Screenshots, Absolute Proof (Exhibit 2).) The two-hour

documentary was live streamed by OANN and RSBN on their respective websites. It was also

streamed by WVW Broadcast Network and posted to Mr. Lindell’s personal Facebook page.

       86.       From February 5 to February 8, 2021, OANN broadcast “Absolute Proof” thirteen

times. On February 11, 2021, OANN broadcast “Absolute Proof” a fourteenth time, this time

interspersed with an interview of Mr. Lindell by Steve Bannon. (A Screening and Conversation of

Absolute Proof (Exhibit 14); Screenshots, A Screening and Conversation of Absolute Proof

(Exhibit 15).)




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       87.     Mr. Lindell posted the first documentary to YouTube, Vimeo, Facebook, his self-

created social media website FrankSpeech.com, and multiple of his personal websites, including

LindellTV.com      and    MichaelJLindell.com.       It   also   appears    on     Rumble     and

TheAmericanReport.org, among other websites.

       88.     In “Absolute Proof” Mr. Lindell introduced himself as “the CEO of MyPillow.” He

then claimed that he had unequivocal proof that the 2020 U.S. election was rigged through election

voting technology, including Smartmatic’s:

               Mr. Lindell: I think it was like January 9th, all of a sudden, these people,
               they brought me some, a piece of evidence, that’s 100% proved. It’s like a
               print of inside the machine of the timestamp that showed another country,
               other countries attacking us, hacking into our election through these
               machines, and it shows a vote’s flipped. And I’m going wow, I got to get
               this out there. And from that point on, I started putting it out there…

       89.     Mr. Lindell’s “Absolute Proof” documentary included several guest speakers: Mary

Fanning, Phil Waldron, Matthew DePerno, Russell Ramsland, Shiva Ayyadurai, Patrick Colbeck,

and Melissa Carone. As the creator and a publisher of this documentary on multiple platforms, Mr.


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Lindell republished and endorsed all of the statements that each of these individuals made during

his documentary.

       90.    Colonel Phil Waldron said at the beginning of the “Absolute Proof” documentary:

              Colonel Waldron: So a critical capability for any of this to happen are the
              inherent vulnerabilities that were built into ES&S and Dominion software,
              which is, you know, again, we’ve proven through [] our work that this is all
              related directly back to the soft, Smartmatic, Smartmatic, SGO
              Smartmatic software core… the board of SGO Smartmatic, because they
              own a, an air purification company. So just think about it, if you get to pick
              an administration that is favorable to your company, say if they [passed] the
              Green New Deal, and you’re going to make billions and billions of dollars
              off of government-mandated air purification systems and public
              buildings… you would spend quite a bit of money on the frontside to make
              sure the election was done.




       91.    Mr. Lindell then propagated the Smartmatic-specific theme himself:

              Mr. Lindell: So why [] would Texas, they denied these Dominion ones, and
              in your opinion, so they must have looked at them and said there’s
              something there we don’t like, but then they, over here, with Smartmatic
              and these other ones, they were okay with that? What would be your
              opinion of why, why one, they would deny one machine that, because
              they’re afraid of election fraud, and, and over here, they accepted that one?

              Mr. Ramsland: I think that it sometimes has more to do with politics and
              influence, who gets through and who doesn’t [] for the machines.


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       92.     Mr. Lindell and Colonel Waldron referred specifically to Smartmatic in “Absolute

Proof.” Each and every one of the subsequent statements about “machines” and voting machine

companies presented in the documentary led a reasonable viewer to believe the facts were referring

to Smartmatic. Each of these statements appears in Section III, below.

       93.     In the final minutes of “Absolute Proof,” Mr. Lindell claimed that the documentary

showed “100%” that America was attacked through voting technology machines (including and

implying Smartmatic):

               Mr. Lindell: And [] we’ve just shown everybody in the world 100%
               evidence that this was an attack on our country and is still under attack by
               China and other countries through the use of these machines used in our
               election.

       94.     Mr. Lindell’s second documentary was called “Scientific Proof.” It further alleged

that the 2020 U.S. election was hacked through voting technology machines, including

Smartmatic’s. (Scientific Proof (Exhibit 3); Screenshots, Scientific Proof (Exhibit 4).) Mr. Lindell

published    “Scientific   Proof,”   at   least,   on   LindellTV.com,    FrankSpeech.com,      and

MichaelJLindell.com. The documentary also appears on Rumble and TheAmericanReport.org.

OANN aired “Scientific Proof” three times on April 3, 2021, and one time on April 4, 2021.




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         95.   Mr. Lindell had an ongoing dialogue with guest Dr. Douglas G. Frank during his

second documentary, “Scientific Proof.” As the creator and a publisher of this documentary on

multiple platforms, Mr. Lindell republished and endorsed all of the statements of Dr. Douglas G.

Frank.

         96.   Mr. Lindell unequivocally stated in “Scientific Proof” that the “name of the

machine” does not matter because all voting technology machines were responsible for “flipping”

votes in the 2020 U.S. election:

               Mr. Lindell: I just want everyone to know that why we’re showing other
               states and not just the swing state[s]. It was every state, it happened in your
               state []. Texas, when they said, oh, we didn’t use the Dominion machines.
               Doesn’t matter, the name of the, the name of the machine doesn’t matter.

               Dr. Frank: No.

               Mr. Lindell: Smartmatic, ES&S, don’t matter…




         97.   Since Mr. Lindell referred specifically to Smartmatic, each and every one of the

subsequent statements about “machines” and voting machine companies presented in the

documentary led a reasonable viewer to think the facts were referring to Smartmatic. Each of these

statements appears in Section III, below.


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       98.     Mr. Lindell’s third documentary was called “Absolute Interference.” (Absolute

Interference (Exhibit 5); Screenshots, Absolute Interference (Exhibit 6).) This was billed as the

“Sequel to Absolute Proof with New Evidence Foreign & Domestic Enemies Used Computers to

Hack the 2020 Election.” (The “computers” Mr. Lindell was referring to in the title are the voting

technology machines, including Smartmatic’s).




       99.     Mr. Lindell published “Absolute Interference” on his personal websites,

LindellTV.com, FrankSpeech.com, and MichaelJLindell.com. The video also appears on Rumble

and TheAmericanReport.org. OANN broadcast “Absolute Interference” on April 22, 2021.

       100.    Mr. Lindell had several guest speakers on his third documentary, “Absolute

Interference,” including General Michael Flynn and Dr. Douglas G. Frank. As the creator and a

publisher of this documentary on multiple platforms, Mr. Lindell republished and endorsed all of

the statements of these individuals.

       101.    Mr. Lindell began the documentary with a clip from General Michael Flynn, which

included the following:

               Mr. Flynn: Now we’re into the 21st century, and we have these machines.
               And these machines, what we do know, one of the things that we do know
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              for certain, is that the machines are connected to the Internet. Our FBI
              and CISA, the cyber arm of the Department of Homeland Security, yeah,
              they gave out these alerts, and they said, hey, Iran is interfering in our
              election process. The machines are not supposed to be connected to the
              Internet. They’re supposed to be free of the Internet. Well, if it’s
              connected to the Internet, that means that anybody in any country, and I
              can name some of the countries, so we know China…




       102.   Mr. Lindell played another introductory clip at the beginning of “Absolute

Interference,” this time with Dr. Douglas G. Frank. Mere moments into the documentary, Mr.

Lindell and Douglas Frank factually asserted and implied that Smartmatic voting technology was

hacked in the 2020 U.S. election and that Smartmatic machines were connected to the Internet:

              Mr. Lindell: The same thing, the same machines, the same attack, the same
              people, the same corruption that went on, the same crime against humanity
              was all, crossed all those states.

              ***

              Mr. Lindell: 100% impossible, had to be machines.

              Dr. Frank: Yes.

              Mr. Lindell: And they had to be online.

              Dr. Frank: Constantly online


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                Mr. Lindell: Constantly online, everybody. No way you could ever do that
                humanly…

                Dr. Frank: When I’ve shown this other people they’ve said, well, gee, how
                could people do that? And I say - -

                Mr. Lindell: They can’t, it has to be machines --

                Dr. Frank: Has to be.

                Mr. Lindell: And it rhymes with Dominion, and it rhymes with Smartmatic
                and ES&S, all these machines that were used out there cannot be done by
                humans and you have to have access before, during and after.

       103.     Mr. Lindell pointed out in “Absolute Interference” that “Smartmatic” is one of the

“machines” he will be referring to throughout the rest of the documentary:

                Mr. Lindell: I have proof, 100% proof that our country was attacked by
                China, by communism coming in, this foreign interference to our
                elections, through the machines, Dominion, Smartmatic, ES&S, all of
                them.

       104.     Since Mr. Lindell referred specifically to Smartmatic in “Absolute Interference,”

each and every one of the subsequent statements about “machines” and voting machine companies

presented in the documentary led a reasonable viewer to think the facts were referring to

Smartmatic. Each of these defamatory statements appears in Section III, below.

       105.     Mr. Lindell’s fourth documentary, “Absolutely 9-0,” further alleged that the 2020

U.S. election was hacked through voting machine technology, including Smartmatic’s. (Absolutely

9-0 (Exhibit 7); Screenshots, Absolutely 9-0 (Exhibit 8).) The premise of the documentary was that

once the Supreme Court heard the “evidence” against the voting machine companies (including

Smartmatic) it would vote 9-0 in favor of overturning the election.

       106.     Mr. Lindell published “Absolutely 9-0” on his personal websites, LindellTV.com,

FrankSpeech.com and MichaelJLindell.com. OANN broadcast “Absolutely 9-0” on June 5 and

June 6, 2021.

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        107.       Mr. Lindell had an anonymous guest on his fourth documentary “Absolutely 9-0,”

who was purportedly an unnamed cybersecurity “expert.” As the creator and a publisher of this

documentary on multiple platforms, Mr. Lindell republished and endorsed all of the statements of

this individual.




        108.       Mr. Lindell began the fourth documentary by naming Smartmatic as a main

perpetrator in an alleged cyber-attack against the United States during the 2020 election:

                   Mr. Lindell: Hello everyone I’m Mike Lindell and as you all know on
                   January 9th I received evidence of a cyber attack orchestrated by China on
                   our 2020 election. I took that one piece of evidence, and I just went all in.
                   This was something different, nobody had seen. This was something that
                   came through the machines, the Dominion machines, the Smartmatic and
                   other machines. This was a cyber attack. I didn’t know anything about
                   cyber attacks. And boy, I learned, I had to learn real fast… this was 100%
                   an attack by China on our country through these machines.




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       109.    Since Mr. Lindell referred specifically to Smartmatic, each and every one of the

subsequent statements about “machines” and voting machine companies presented in the

documentary led a reasonable viewer to think the facts were referring to Smartmatic. Each of these

defamatory statements appears in Section III, below.

               2.      Mr. Lindell’s Defamation Campaign Against Smartmatic, Prong 2:
                       Media Appearances

       110.    The second prong of Mr. Lindell’s defamation campaign against Smartmatic was

to appear on podcasts, Internet radio shows, and television shows to discuss how Smartmatic

rigged the 2020 U.S. election. Mr. Lindell wanted to reach more than just individuals who self-

selected to watch his documentary. Mr. Lindell aimed to spread his message about Smartmatic

rigging the election as broadly as possible.

       111.    In doing so, Mr. Lindell appeared on at least 13 media shows and defamed

Smartmatic:

               a.      On February 5, 2021, Mr. Lindell appeared on Steve Bannon’s “War Room”

                       podcast (War Room podcast, February 5, 2021 (Exhibit 9); Screenshots,

                       War Room podcast, February 5, 2021 (Exhibit 10).);

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           b.    On February 6, 2021, Mr. Lindell appeared on Steve Bannon’s “War Room”

                 podcast (War Room podcast, February 6, 2021 (Exhibit 11).);

           c.    On February 8, 2021, Mr. Lindell appeared on OANN’s “Real America with

                 Dan Ball” (Real America with Dan Ball, February 8, 2021 (Exhibit 12);

                 Screenshots, Real America with Dan Ball, February 8, 2021 (Exhibit 13).);

           d.    On February 11, 2021, Mr. Lindell appeared on an OANN Special with

                 Steve Bannon (OANN, A Screening and Conversation of Absolute Proof,

                 February 11, 2021 (Exhibit 14); Screenshots, OANN, A Screening and

                 Conversation of Absolute Proof, February 11, 2021 (Exhibit 15).);

           e.    On February 24, 2021, Mr. Lindell appeared on “The Pete Santilli Show”

                 (The Pete Santilli Show, February 24, 2021 (Exhibit 16); Screenshots, The

                 Pete Santilli Show, February 24, 2021 (Exhibit 17).);

           f.    On March 26, 2021, Mr. Lindell appeared on Steve Bannon’s “War Room”

                 podcast (War Room podcast, March 26, 2021 (Exhibit 18) Screenshots, War

                 Room podcast, March 26, 2021 (Exhibit 19).);

           g.    On March 30, 2021, Mr. Lindell appeared on the “Eric Metaxas Radio

                 Show” (Eric Metaxas Radio Show, March 30, 2021 (Exhibit 20);

                 Screenshots, Eric Metaxas Radio Show, March 30, 2021 (Exhibit 21).);

           h.    On April 1, 2021, Mr. Lindell appeared on “Indivisible” with John Stubbins

                 (Indivisible with John Stubbins, April 1, 2021 (Exhibit 22); Screenshots,

                 Indivisible with John Stubbins, April 1, 2021 (Exhibit 23).);

           i.    On April 8, 2021, Mr. Lindell appeared on “USA Watchdog” with Greg

                 Hunter (USA Watchdog, April 8, 2021 (Exhibit 24); Screenshots, USA

                 Watchdog, April 8, 2021 (Exhibit 25).);
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                j.    On April 9, 2021, Mr. Lindell appeared on Steve Bannon’s “War Room”

                      podcast (War Room podcast, April 9, 2021 (Exhibit 26); Screenshots, War

                      Room podcast, April 9, 2021 (Exhibit 27).);

                k.    On May 3, 2021, Mr. Lindell appeared on OANN’s “Newsroom” program

                      with Pearson Sharp (Transcript, OANN Newsroom, May 3, 2021 (Exhibit

                      108); Screenshots, OANN Newsroom, May 3, 2021 (Exhibit 109).);

                l.    On May 3, 2021, Mr. Lindell appeared on Steve Bannon’s “War Room”

                      podcast (War Room podcast, May 3, 2021 (Exhibit 28); Screenshots, War

                      Room podcast, May 3, 2021 (Exhibit 29).); and

                m.    On May 8, 2021, Mr. Lindell appeared on Steve Bannon’s “War Room”

                      podcast (War Room podcast, May 8, 2021 (Exhibit 30); Screenshots, War

                      Room podcast, May 8, 2021 (Exhibit 31).).

         112.   These programs reached a wide audience. For example, Bannon’s “War Room”

podcast aired each night on Newsmax. Newsmax’s viewership was soaring. Newsmax’s ratings

jumped almost ten times greater post-election than they had been before November 2020.

(11/18/20 Associated Press, Trump-Friendly Newsmax seeks to cut into Fox’s viewership (Exhibit

126).)




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       113.    Take another example. Mr. Lindell appeared on OANN programming with Dan

Ball. OANN’s viewership was up post-election, too. The OANN website peaked at 15 million

viewers per month from November through January. (10/6/2021 Reuters, Special Report: How

AT&T helped build far-right One America News (Exhibit 132).)




       114.    Defamatory statements made about Smartmatic during each of these media

appearances are listed in Section III, below.



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       115.   Multiple times during the media prong of his disinformation campaign, Mr. Lindell

made it seem as if he had evidence backing up his claims that Smartmatic stole the 2020 U.S.

election. For example, Mr. Lindell appeared on the “Eric Metaxas Radio Show” on March 30,

2021, to promote his documentaries. (Exhibit 20.) In that program segment, Mr. Lindell said:

              “We got [] whistleblowers you’re gonna see. We have people that worked
              on the inside [] maybe they’ll come clean and get lesser sentences. [] I spent
              millions of dollars investigating [] Dominion, Smartmatic… the people
              behind these attacks, investigators that went over and cyber people that went
              over, got the IPs, and the IDs of people in China…”




       116.   Take another example. On April 1, 2021, Mr. Lindell appeared on “Indivisible with

John Stubbins” and said, “I’m going to be dumping evidence for the next five, six weeks before

we get before the Supreme Court.” (Exhibit 22.) He also said:

              [H]ere’s what happened. This was a cyber attack on our country. Donald
              Trump really won 80 million to 66 million. All the evidence is there, I’ve
              already got all the evidence, it’s already going to be, it’s been on Absolute
              Proof. But now we have validated every IP, every ID address of all the
              computers here and over in China, and other countries. So all the evidence
              is there…




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       117.    Mr. Lindell never showed any of the “evidence” he purportedly had. There was no

evidence showing a cyber-attack on the 2020 U.S. election.

               3.      Mr. Lindell’s Defamation Campaign Against Smartmatic, Prong 3:
                       “Mike Lindell’s Cyber Symposium”

       118.    The third prong of Mr. Lindell’s defamation campaign against Smartmatic was to

hold a two-day, in-person, live-streamed, and self-titled Cyber Symposium in Sioux Falls, South

Dakota from August 10 to 12, 2021. The purpose of “Mike Lindell’s Cyber Symposium” was to

prove that China helped Joe Biden steal the 2020 presidential election using voting machine

technology. (8/15/2021, Business Insider, Here’s what happened at Mike Lindell’s cyber

symposium… (Exhibit 131).)

       119.    Mr. Lindell claimed he had 37 terabytes of information “related to voter fraud” to

reveal at the Cyber Symposium. In an effort to garner viewership and instill credibility in his

information, Mr. Lindell offered $5 million to anyone who could disprove the data if they attended

the event in person. (Id.)




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       120.   Mr. Lindell live-streamed the “Mike Lindell Cyber Symposium” from his websites

LindellTV.com and FrankSpeech.com. The “Mike Lindell Cyber Symposium” was also

livestreamed on Rumble and RSBN, among other websites.

       121.   Mr. Lindell hosted various guest speakers at his Cyber Symposium, including

Douglas Frank, Phil Waldron, and Joe Oltmann. As the creator and a publisher of “Mike Lindell’s

Cyber Symposium” on multiple platforms and live in-person, Mr. Lindell republished and

endorsed all of the statements of his guest speakers during the programming.




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       122.   Much of the content over the two-day Cyber Symposium defamed Smartmatic by

alleging that the 2020 U.S. election was stolen through voting machines. Three taped segments of

the Cyber Symposium specifically mentioned Smartmatic:

              a.      First, a video narrated by Phil Waldron, re-aired multiple times each day

                      during the Cyber Symposium (Cyber Symposium, Phil Waldron (Exhibit

                      34); Screenshots, Cyber Symposium, Phil Waldron (Exhibit 35).);

              b.      Second, a monologue by Mr. Lindell during the Cyber Symposium (Cyber

                      Symposium, Lindell (Exhibit 32); Screenshots, Cyber Symposium, Lindell

                      (Exhibit 33).); and

              c.      Third, a speech by Joseph Oltmann during the Cyber Symposium (Cyber

                      Symposium, Oltmann (Exhibit 36); Screenshots, Cyber Symposium,

                      Oltmann (Exhibit 37).)

       123.   The Phil Waldron video alleged that Smartmatic software was used in “key

battleground states” during the 2020 U.S. election. (Cyber Symposium, Phil Waldron (Exhibit



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34).) The video purported to reveal the “inside story of the conspiracy to save the 2020 election”

through “a well-funded cabal” of “left wing” people.




       124.      The Phil Waldron video was played multiple times throughout the Cyber

Symposium. The video was also posted separately to Rumble.

       125.      Mr. Lindell’s monologue during the Cyber Symposium defamed Smartmatic by

claiming that Smartmatic machines are “built as a tool to take countries.” (Cyber Symposium,

Lindell (Exhibit 32).) Mr. Lindell claimed to have spent “millions of dollars” investigating this.

       126.      Joseph Oltmann defamed Smartmatic during the Cyber Symposium by claiming

that Smartmatic uses the same hardware as Dominion Voting Systems. Mr. Oltmann said, “So

they’re using the same hardware, they just have a new badge put on it, one says Dominion Voting,

and one says Smartmatic.” (Cyber Symposium, Oltmann (Exhibit 36).)

       127.      Mr. Oltmann also presented a graph, allegedly showing that “people that worked

for ESNS [sic], Hart, Dominion Voting Systems, Clear Ballot [and] Smartmatic” were all

interrelated. “[T]hey basically recycle people through the company.” (Cyber Sympsoium, Oltmann

(Exhibit 36).)

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       128.    Specific defamatory statements about Smartmatic from each of these Cyber

Symposium segments appear in Section III, below.

       129.    During each of these three prongs of his defamation campaign against Smartmatic,

Lindell claimed that he had “scientific proof” and “100% evidence” that: (1) Smartmatic was

widely used in the 2020 U.S. election in order to attack the election; (2) Smartmatic had corrupt

relationships with Dominion and ES&S during the 2020 U.S. election in order to attack the

election; (3) Smartmatic stole the 2020 U.S. election in favor of Joe Biden and Kamala Harris; (4)

Smartmatic’s technology was compromised or hacked by China or other foreign countries; (5)

Smartmatic machines were connected to the Internet during the 2020 U.S. election in order to

attack the election; (6) Smartmatic was engaged in a criminal enterprise; and (8) Smartmatic

technology was designed to steal and has stolen elections before.

               4.     Mr. Lindell’s Defamation Campaign Against Smartmatic, Prong 4:
                      Post-Complaint Defamation

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       130.   The fourth prong of Mr. Lindell’s defamation campaign against Smartmatic was to

continue to defame Smartmatic and its voting technology even after Smartmatic brought this

lawsuit.

       131.   On January 4, 2023, Mr. Lindell posted a video to his social media website

FrankSpeech.com.     (Updates On The Smartmatic Lawsuit and The Cast Vote Records,

FrankSpeech.com, January 4, 2023 (Exhibit 143).)

       132.   In the January 4, 2023 video, Mr. Lindell stated, “let me tell you about Smartmatic

. . . in the 2020 election, do you think L.A. County was computer-manipulated or not? . . . Of

course it was! And now we have the proof.” (Id.)

       133.   In the same video, Mr. Lindell told his viewers that “we have an algorithm that

came out of a Mesa County machine . . . those same algorithms of Smartmatic . . . this is

Smartmatic and Dominion . . . .” (Id.)

       134.   For the entirety of the January 4, 2023 video, Mr. Lindell presented a banner at the

bottom of the screen displaying a promo code viewers could use to save up to 66% off an order

placed at MrPillow.com. (Id.)




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       135.   On January 31, 2023, Mr. Lindell posted to Twitter to announce that he was going

to be a guest on Jimmy Kimmel Live!, a late-night talk show broadcasted across the United States.

Mr. Lindell tweeted: “I know I will be attacked but we have to get rid of the voting machines and

I am willing to be humiliated to help get the word out and save our county!” (1/31/23 Twitter,

@realMikeLindell (Exhibit 144).)

       136.   On February 1, 2023, Mr. Lindell appeared on Jimmy Kimmel Live! Mr. Lindell

appeared on the show inside a “claw machine.” During that show, Mr. Lindell made the following

statements:

              a.      Jimmy Kimmel asked Mr. Lindell, “I know you are distrustful of machines

                      . . . now that you are inside one, do you feel differently?” In response, Mr.

                      Lindell stated, “No. Same thing. There are . . . computers can be rigged out

                      there, absolutely, in elections. You know that.” (MyPillow Mike Lindell’s



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                      Interview from Inside a Claw Machine, Jimmy Kimmel Live!, February 1,

                      2023 (Exhibit 145).)

               b.     Mr. Kimmel asked Mr. Lindell about the latter’s failed bid for Chair of the

                      Republican National Convention. Specifically, Mr. Kimmel asked, “do you

                      believe this was a rigged election too?” Mr. Lindell responded, “No,

                      absolutely not, Jimmy, cause there was no machines involved. It was paper

                      ballots, hand counted.” (Id.)

               c.     After Mr. Kimmel asked Mr. Lindell about his feelings on various other

                      kinds of machines, i.e., ice machines, Mr. Lindell stated, “Jimmy, you can

                      make fun of that, but we know the machines I’m talking about are voting

                      machines, computers used in elections, because we wanna have elections

                      and not selections.” (Id.)

               d.     Mr. Lindell subsequently claimed to possess evidence of election fraud and

                      said, “we gave it to the Facebook fact checkers. Alan Duke, he looked at it

                      and he won’t . . . now he just went away cause he knows it was true.” (Id.)

       D.      Mr. Lindell presented his statements about Smartmatic as factual and based
               on evidence.

       137.    Mr. Lindell did not present his statements regarding Smartmatic as opinions,

rhetorical hyperbole, or speculation. He did not present his statements regarding Smartmatic as

educated guesses, possibilities, rumors, or mere allegations. Mr. Lindell presented his statements

regarding Smartmatic as fact. Fact supported by “100% proof,” “scientific evidence” and “forensic

evidence.”




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       138.    First, Mr. Lindell’s entire four-part documentary series was premised on the claim

that he was uncovering groundbreaking evidentiary proof of voting machines’ vulnerability and

fraud and exposing that evidentiary proof for the general public. For example:

               a.     Mr. Lindell states in his opening monologue of the “Absolute Proof”
                      documentary, “I think it was like January 9th, all of a sudden, these people,
                      they brought me some, a piece of evidence that’s 100% proved. It’s like a
                      print-out of inside the machine of the timestamp that showed another
                      country, other countries attacking us, hacking into our election through
                      these machines, and it shows a vote’s flipped. And I’m going, wow, I got
                      to get this out there. And from that point on, I started putting it out there…
                      [T]onight, you’re going to see what they’re hiding, you’re going to see on
                      this show.” (Absolute Proof, (Exhibit 1).)

               b.     Mr. Lindell also states in the “Absolute Proof” documentary, “You know,
                      what we’re talking about here today is specific, these machines that were
                      used to, to hack into our election and, and by foreign countries, including
                      China…” (Absolute Proof, (Exhibit 1).)

               c.     Mr. Lindell states in his opening monologue of the “Absolutely 9-0”
                      documentary, “[A]s you all know on January 9th I received evidence of a
                      cyber attack orchestrated by China on our 2020 election. I took that one
                      piece of evidence and I just went all in. This was something different,
                      nobody had seen. This was something that came through the machines,
                      the Dominion machines, the Smartmatic and other machines.”
                      (Absolutely 9-0 (Exhibit 7).)

               d.     Mr. Lindell told Steven Bannon on OANN, “You know, I have went out
                      here with everything I have, because I’m 100%, 100% that we have all the
                      proof. That’s why it’s called ‘Absolute Proof.’ 100%.” (A Screening and
                      Conversation of Absolute Proof (Exhibit 14).)

       139.    Second, Mr. Lindell presented and endorsed other speakers with alleged scientific,

cybersecurity, mathematics, and military operation credentials to bolster his own credibility. Mr.

Lindell claimed that the statements he made about Smartmatic were supported by these “experts.”

For example:

               a.     In Mr. Lindell’s “Scientific Proof” documentary, Mr. Lindell interviewed

                      Dr. Douglas G. Frank, giving him the following introduction:



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                               a)     Mr. Lindell: “What’s your background? Tell
                                      everybody.” Dr. Frank: “I’m a PhD scientist, I’ve
                                      been doing science for about 40 years aggressively,
                                      got about 60 scientific publications. Some of them
                                      were cover articles and invited articles, because I
                                      happen to make a pretty good discovery once, back
                                      in the early 90s. I left academics in 1996. And ever
                                      since then, I’ve been teaching at a special school for
                                      extraordinarily gifted kids, as well as working on
                                      new inventions and analyzing election data lately.”
                                      Mr. Lindell: “Right. So very overqualified
                                      everybody…” (Exhibit 3).

           b.    In Mr. Lindell’s “Absolutely 9-0” documentary, Mr. Lindell interviewed an

                 anonymous cybersecurity expert, giving him the following introduction:

                               a)     Mr. Lindell: “And with us right now is one of my
                                      cybersecurity experts. These guys are the best and
                                      this guy has over 20 years of experience working in
                                      both the private sector and with government law
                                      enforcement and intelligence agencies. He has many
                                      information in cybersecurity certifications that
                                      specialize in advanced adversary detection,
                                      mitigation, and elimination. And here he is now.”
                                      (Exhibit 7).

           c.    In Mr. Lindell’s “Absolute Proof” documentary, Mr. Lindell interviewed

                 Colonel Phil Waldron with the following introduction:

                               a)     Mr. Waldron: “Yeah, so my, my background in the
                                      military is with influence operations, information
                                      operations, information warfare, if you will… And
                                      again, as a, as a information warfare officer that’s
                                      what I did. I looked for vulnerabilities and ways to
                                      attack systems to create a strategic advantage for
                                      US friendly forces.” (Exhibit 1).

           d.    In Mr. Lindell’s “Absolute Proof” documentary, Mr. Lindell interviewed

                 Russell Ramsland, giving him following introduction:

                               a)     Mr. Lindell: “So now we have with us Russell
                                      Ramsland. He’s a founding member of Allied
                                      Security Operational Group. They’re based in


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                                             Dallas, Texas, and they do cyber forensics and
                                             security.” (Exhibit 1).

               e.     In Mr. Lindell’s “Absolute Proof” documentary, Mr. Lindell interviewed

                      Dr. Shiva Ayyadurai, giving him the following introduction:

                                      a)     Mr. Lindell: “So now we have with us, Dr. Shiva. He
                                             has four MIT degrees. He’s an expert at system
                                             science and pattern analysis and I met him four
                                             weeks ago… And he knows all about these
                                             machines now and we’re going to hear some of the
                                             stuff that I found out [] this is a, absolutely validates
                                             this election fraud with these machines.” (Exhibit
                                             1).

                                             Dr. Ayyadurai: “I build large-scale computer
                                             systems and stuff I’ve used has been used by the
                                             Senate, has been used by the largest fortune 1000
                                             companies in the world. So I know how you move
                                             from paper-based systems to electronic systems.”
                                             (Exhibit 1).

       140.    Third, Mr. Lindell said that his statements about Smartmatic were based on

evidence, investigations, and facts. Mr. Lindell intentionally created the impression that his

statements about Smartmatic were predicated on reliable, verifiable facts as opposed to speculation

or opinion. For example:

               a.     Mr. Lindell: “[T]onight… you’re going to see on this show. We have
                      [] cyber forensic experts, we’re going to have 100%, you’re going
                      to see all this evidence that by the time you’re done seeing it, you’re
                      going to go wow, 100%, it proves exactly what happened, that these
                      machines were used to steal our election by other countries,
                      including China.” (Absolute Proof, (Exhibit 1).)

               b.     Mr. Lindell: “You know, what I put out in this documentary
                      [Absolute Proof], Steve, is like one-one-thousandth of what we
                      have. It’s 100 percent proof in any court of law, you hold up, here
                      it is.” (War Room podcast, February 5, 2021 (Exhibit 9).)

               c.     Mr. Lindell: “It’s the evidence, the hard evidence in this, in this
                      documentary [Absolute Proof] these are the facts. There’s nothing
                      subjective, there’s no subjectivity. It’s all here’s the facts, here’s
                      what happened on the first, second, third, fourth here’s what

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                      happened each day, a print of what happened. So yeah, Dominion,
                      Smartmatic both here.” (War Room podcast, February 5, 2021
                      (Exhibit 9).)

              d.      Mr. Lindell: “It doesn’t mean the evidence isn’t evidence. It’s 100%
                      proof. That’s why it’s called ‘Absolute Proof.’” (War Room
                      podcast, February 6, 2021 (Exhibit 11).)

              e.      Mr. Lindell: “And we’ve, we’ve just shown everybody in the world
                      100% evidence that this was an attack on our country and is still
                      under attack by China and other countries through the use of
                      these machines used in our election.” (Absolute Proof, (Exhibit 1).)

              f.      Mr. Lindell: “100% we have the election fraud. Watch my [] video,
                      watch my documentary. And you too will go, what?” (Real America
                      with Dan Ball (Exhibit 12).)

              g.      Mr. Lindell: “I have 100%, not 99%, 100% evidence that of
                      everything that they did Smartmatic [] ES&S, all of those machines
                      did and stole[] our country and stole[] our election.” (The Pete
                      Santilli Show (Exhibit 16).)

              h.      Mr. Lindell: “They can’t deny the cast vote records. . . . this is what
                      these machines say happened in your county. This isn’t Mike
                      Lindell, this isn’t some cyberspace thing, this is what the machines
                      are putting out, in order.” (Updates On the Smartmatic Lawsuit
                      and The Cast Vote Records (Exhibit 143).)

       141.   Mr. Lindell’s efforts to create the impression that his statements about Smartmatic

were truthful, accurate, and factual is one of the reasons that Smartmatic was damaged. Mr.

Lindell’s statements regarding Smartmatic were unequivocal.

III.   Mr. Lindell’s False Statements and Implications About Smartmatic

       142.   Mr. Lindell’s statements about Smartmatic were not facts. Mr. Lindell’s statements

about Smartmatic were lies. The demonstrably, verifiable facts are:

                     Smartmatic’s election technology and software were only used in Los
                      Angeles County, and not used by any other voting machine company, for
                      the 2020 U.S. election.

                     Smartmatic was not in a business relationship with Dominion or ES&S
                      during the 2020 U.S. election. Dominion, ES&S and Smartmatic are
                      competitors. Dominion, ES&S, and Smartmatic did not share software
                      during the 2020 U.S. election.
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                     Smartmatic’s election technology, hardware, and software were not used to
                      steal the 2020 U.S. election. Nor could they have been, given that
                      Smartmatic’s role was limited to Los Angeles County.

                     Smartmatic’s election technology, hardware and software were not
                      compromised and hacked by China during the 2020 U.S. election. No one
                      has identified a shred of evidence that there were cyber-security issues in
                      Los Angeles County.

                     Smartmatic was not engaged in a criminal enterprise to overturn the 2020
                      U.S. election. No one has identified a shred of evidence that Smartmatic
                      was engaged in a criminal enterprise to overturn the election.

                     Smartmatic’s election technology, hardware and software were not
                      designed to rig and fix elections and have not been used to rig and fix
                      elections before. Smartmatic’s election technology, hardware and software
                      were designed for security, reliability, and auditability. No after-the-fact
                      audit has ever found that Smartmatic’s technology, hardware or software
                      were used to rig, fix, or steal an election.

                     Smartmatic’s election technology and software were not connected to the
                      Internet during the 2020 U.S. election. Smartmatic machines are “air-
                      gapped,” self-contained, and never connected to the Internet.

       143.    Mr. Lindell did not let these demonstrable, verifiable facts stand in his way of

telling a story that would make him money and grow his fame.

       A.      Mr. Lindell falsely stated and implied that Smartmatic’s election technology
               and software were widely used in the 2020 U.S. election in order to attack the
               election.

       144.    Mr. Lindell stated and implied that Smartmatic election technology, hardware, and

software were widely used during the 2020 U.S. election, including in the battleground states, and

in two states with particularly close outcomes: Arizona and Michigan. Mr. Lindell could not

persuade people that Smartmatic had stolen the election if Smartmatic’s election technology,

hardware, and software were not widely used during the 2020 U.S. election.




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        145.    Below are some of the statements that Mr. Lindell made and/or published6 to create

the impression that Smartmatic technology, hardware, and software were widely used during the

2020 U.S. election:

                a.      Mr. Lindell: “I mean, this is what they do. Dominion, Smartmatic, all of
                        them. It’s just like, you talk to Matt DePerno in Michigan, and they’ve been
                        going through this every day for months. And in Arizona, you know, it’s
                        just like right now, when they find those [] all the stuff that’s missing, it
                        doesn’t surprise anyone. I think everybody knows now, this is the biggest
                        cover-up that’s probably in history for a crime. It’s so massive that they’ve
                        covered this up with the machine, or all the stuff that they did with the
                        machines.” (War Room podcast, May 8, 2021 (Exhibit 30).)

                b.      Mr. Lindell: “[O]ver the next five weeks, we’re gonna dump all the
                        evidence that came from these machines, Smartmatic and Dominion. And
                        right now as of today, you’ve got Maricopa County in Arizona, that audit,
                        they just picked the three cyber teams and what and right away Dominion’s
                        out there bad mouthing them… And what you’re gonna find is every state
                        in this country that had machines – Dominion, Smartmatic, and ES&S,
                        they’re all cousins, and they all [] have that rated waste feature. And they
                        all were done voting flipped in this last election. We can never have
                        machines again, in any election, here or anywhere in the world…”
                        (Indivisible with John Stubbins (Exhibit 22).)

                c.      Mr. Lindell: “Why didn’t they just open up the machines? They did in two
                        counties. They did in Antrim County, Michigan, and in a primary [] in
                        Massachusetts. Both of those counties were opened up the machines and
                        they found the same thing.” (The Pete Santilli Show (Exhibit 16).)

                d.      Mr. Lindell: “They’re all split off from Smartmatic that started in 2001, or
                        2002. They’re, every one of them is the same, they’re interchangeable.
                        And by the way, every state in the United States was I, had votes flip. It
                        wasn’t just those swing states… [A]nd everyone says, well Dallas didn’t
                        have Dominion, because they didn’t want it. No, they had the other one.
                        They had SNS or whatever they had. [] [I]t didn’t matter what machines you
                        had, there was this whole thing, the cyber-attack…” (The Pete Santilli Show
                        (Exhibit 16).)

                e.      Colonel Waldron: “Some of the anomalies that we noticed in the 2020
                        general elections that five key states all stopped counting at a certain time
                        in these key battleground states. These were all where the software

6
  Mr. Lindell is the creator, broadcaster, publisher and republisher of the four “Absolute” documentaries
and of the “Mike Lindell Cyber Symposium.” As such, Mr. Lindell is responsible for not only all of the
statements he made, but also all of the statements his guests made during those documentaries and at that
Symposium.
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                      Dominion machines, ES&S machines were used, the the Smartmatic, the
                      Gems software, so when the vote stopped counting…” (Mike Lindell’s
                      Cyber Symposium (Exhibit 34).)

               f.     Mr. Lindell: “This was an attack on our country. These Dominion
                      machines and Smartmatic, these machines that were [] the tools of this
                      attack, and we will never have another fair election if we [] don’t stop that,
                      so I will never back down.” (A Screening and Conversation of Absolute
                      Proof (Exhibit 14).)

               g.     Mr. Lindell: “Smartmatic, ES&S, don’t matter. Just in Dallas alone, there
                      was 57 vote, 57,000 votes flipped on, and I don’t even know if that was
                      before noon.” (Scientific Proof (Exhibit 3).)

       146.    Individuals who heard Mr. Lindell’s statements were led to believe that

Smartmatic’s election technology, hardware, and software were widely used during the 2020 U.S.

election, including in states with close outcomes, to attack the election. Mr. Lindell intended for

individuals who heard or read his statements to draw that conclusion. That conclusion was an

important component of the disinformation campaign.

       147.    Mr. Lindell’s statements and implications that Smartmatic’s election technology,

hardware, and software were widely used during the 2020 U.S. election are demonstrably false

and factually inaccurate. First, Smartmatic’s election machines and software were only used in

Los Angeles County during the 2020 U.S. election. They were not used in any other county or

state during the 2020 U.S. election.

       148.    Second, Smartmatic’s election technology, hardware, and software were not used

in any county or state with close outcomes during the 2020 U.S. election. Smartmatic’s election

technology, hardware, and software were not used in the 2020 battleground states, Nevada,

Arizona, Georgia, Pennsylvania, Michigan, or Wisconsin. Smartmatic’s election technology,

hardware, and software was not used in Texas. Smartmatic’s election technology, hardware, and

software were not used in any counties in any of these States.



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       149.      Third, Smartmatic’s election technology, hardware, and software were not used by

any other voting technology company during the 2020 U.S. election. Smartmatic’s election

technology, hardware, and software were not used by another company in Nevada, Arizona,

Georgia, Pennsylvania, Michigan, or Wisconsin (or any counties within these States).

Smartmatic’s election technology, hardware, and software were not used by another company in

Texas or any county within Texas.

       B.        Mr. Lindell falsely stated and implied that Smartmatic had a corrupt
                 relationship with Dominion and ES&S during the 2020 U.S. election in order
                 to attack the election.

       150.      In an attempt to convince the general public that all voting technology machines

are interchangeable and that they all participated in a criminal conspiracy to overturn the 2020

U.S. election, Mr. Lindell claimed and implied that Smartmatic had links to Dominion and ES&S

during the 2020 U.S. election. Mr. Lindell repeatedly stated and broadcasted statements from

others that Smartmatic was connected to Dominion and ES&S.

       151.      Below are some of the statements that Mr. Lindell made and/or broadcast to state

and imply that Smartmatic had a corrupt relationship with Dominion and/or ES&S during the 2020

U.S. election:

                 a.     Mr. Lindell: “We’re going after them in the biggest way possible, and we’re
                        not – we’re including Smartmatic because now we’ve tied the two
                        together. They’re the mothership, all of that’s gonna come out too, that
                        evidence. They’re all tied together in this corruption and this – and what
                        went on to our country, the attack on our country, but this is why we’re
                        doing it.” (War Room podcast, April 9, 2021 (Exhibit 26).)

                 b.     Mr. Lindell: “Texas still had machines, all the machines are the same.
                        They’re all – you’ve got your ES&S, your Hart, your Diebold, your
                        Dominion and your mothership, Smartmatic.” (War Room podcast, May
                        3, 2021 (Exhibit 28).)

                 c.     Mr. Lindell: “And what you’re gonna find is every state in this country that
                        had machines – Dominion, Smartmatic, and ES&S, they’re all cousins,
                        and they all [] have that rated waste feature. And they all were done voting
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                 flipped in this last election. We can never have machines again, in any
                 election, here or anywhere in the world…” (Indivisible with John Stubbins
                 (Exhibit 22).)

           d.    Colonel Waldron: “So a critical capability for any of this to happen are the
                 inherent vulnerabilities that were built into ES&S and Dominion software,
                 which is, you know, again, we’ve proven through, through our work that
                 this is all related directly back to the soft, Smartmatic [] SGO Smartmatic
                 software core.” (Absolute Proof (Exhibit 1).)

           e.    Mr. Lindell: “Smartmatic, ES&S, don’t matter. Just in Dallas alone, there
                 was 57 vote, 57,000 votes flipped on, and I don’t even know if that was
                 before noon.” (Scientific Proof (Exhibit 3).)

           f.    Mr. Lindell: “100% it can only be done by machines. I can’t stress that
                 enough.” Douglas Frank: “Absolutely.” Mr. Lindell: “And they all rhyme
                 with Dominion, or Smartmatic, ES&S all of them.” (Scientific Proof
                 (Exhibit 3).)

           g.    Mr. Lindell: “This was something that came through the machines, the
                 Dominion machines, the Smartmatic and other machines. This was a
                 cyber attack.” (Absolutely 9-0 (Exhibit 7).)

           h.    Mr. Lindell: “[B]ut it’s not just Dominion [] and not just Smartmatic, and
                 not just the machine. Look at what they’re doing. They’re all part of this
                 attack on our country.” (The Pete Santilli Show (Exhibit 16).)

           i.    Mr. Lindell: “I have 100%, not 99%, 100% evidence that of everything
                 that they did Smartmatic [] ES&S, all of those machines did and stole[]
                 our country and stole[] our election.” (The Pete Santilli Show (Exhibit 16).)

           j.    Mr. Lindell: “Smartmatic started machines in Venezuela, around 2001
                 2002. When they [] brought them in there, they invented them and brought
                 them in there and took down that country in two years. It was brought into
                 the United States, they split with Dominion, ESS and Smartmatic. It’s all,
                 all they’re built for is to steal elections. They’ve stolen in the United
                 States…” (The Pete Santilli Show (Exhibit 16).)

           k.    Mr. Lindell: “You know, what we, what everybody needs to know is that
                 they’re all, they’re all cousins. They’re all split off from Smartmatic that
                 started in 2001, or 2002. They’re, every one of them is the same, they’re
                 interchangeable.” (The Pete Santilli Show (Exhibit 16).)

           l.    Mr. Lindell: “Not only that, they’re, you know what they did to our country
                 them and Smartmatic, let’s not forget Smartmatic, they’re like the
                 mothership of this. And for not only being involved in the biggest crime
                 against our country, probably in history…” (USA Watchdog (Exhibit 24).)

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              m.     Mr. Lindell: “[B]ut the point of that, of bringing up the Texas thing is ESS,
                     Smartmatic and Dominion, you can interchange the names, they all are
                     the same. They cyber phonetics [sic] we showed goes through all these
                     machines, they’re all the same. This is [my] whole point…” (A Screening
                     and Conversation of Absolute Proof (Exhibit 14).)

              n.     Mr. Lindell: “[A]s part of my due diligence, that’s been all this week. I
                     wanted to go back to where this all started. And Venezuela, it all started in
                     Venezuela with Smartmatic, not Dominion or the other one, it was with
                     Smartmatic.” (A Screening and Conversation of Absolute Proof (Exhibit
                     14).)

              o.     Mr. Lindell: “I’ve been obviously just fighting every day to get this, to the
                     nation and everybody, the world[,] these machines where it got hacked,
                     Dominion, Smartmatic, Hart all of them are the same, ES&S. You just
                     say Dominion, but it’s all machines.” (Newsroom with Pearson Sharp
                     (Exhibit 108).)

              p.     Mr Lindell: “We have an algorithm that came out of a Mesa County
                     machine . . . those same algorithms of Smartmatic . . . this is Smartmatic
                     and Dominion . . . .” ((Updates On The Smartmatic Lawsuit and The Cast
                     Vote Records (Exhibit 143).)

              q.     Mr. Oltmann: This particular piece is actually talking about the…
                     similarities in testing of the equipment, the hardware, between
                     Smartmatic and Dominion voting systems. So they’re using the same
                     hardware, they just have a new badge on it, one says Dominion Voting
                     and one says Smartmatic… Yes, yeah. Made by the same supplier. Right.

                     ***

                     Mr. Oltmann: We were able to build an entire graph of the people that
                     worked for ES&S, Hart, Dominion Voting Systems, Clear Ballot,
                     Smartmatic, and they basically recycle people through the company.
                     (Mike Lindell’s Cyber Symposium (Exhibit 36).)

       152.   Individuals who heard Mr. Lindell’s statements were led to believe that (1)

Dominion, Smartmatic, and/or ES&S were related companies; (2) Dominion, Smartmatic, and/or

ES&S used interchangeable voting technology, hardware, or software in the 2020 U.S. election;

and/or (3) Dominion, Smartmatic and ES&S worked together for the 2020 U.S. election. Mr.

Lindell intended for individuals who heard his statements to draw those conclusions. Those

conclusions were an important component of the disinformation campaign.

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       153.      Mr. Lindell’s statements and implications that (1) Dominion, Smartmatic, and

ES&S were related companies; (2) Dominion, Smartmatic, and ES&S used interchangeable voting

technology hardware or software in the 2020 U.S. election; and (3) Dominion, Smartmatic, and

ES&S worked together for the 2020 U.S. election are demonstrably false and factually inaccurate.

First, Smartmatic and Dominion have no corporate, business, or other relationship. Smartmatic

and ES&S have no corporate, business, or other relationship. Smartmatic does not own Dominion

or ES&S. Neither Dominion nor ES&S owns Smartmatic.

       154.      Second, Dominion, Smartmatic, and ES&S are competitors. They compete against

one other. Smartmatic does not assist Dominion or ES&S with their projects. The three companies

do not work together. And the three companies did not work together in connection with the 2020

U.S. election.

       155.      Third, Smartmatic’s election technology, hardware, and software was not used by

Dominion or ES&S during the 2020 U.S. election. Smartmatic did not license its technology,

hardware, or software to Dominion or ES&S for use in the 2020 U.S. election. Neither Dominion

nor ES&S purchased Smartmatic’s election technology and software for use in the 2020 U.S.

election.

       156.      Fourth, Smartmatic’s election technology and software were only used in Los

Angeles County during the 2020 U.S. election. They were not used in any other county or state

during the 2020 U.S. election. They were not used by any other voting technology company.

       C.        Mr. Lindell falsely stated and implied that Smartmatic stole the 2020 U.S.
                 election for Joe Biden and Kamala Harris.

       157.      Mr. Lindell spread a story that the 2020 U.S. election was stolen from Donald

Trump to garner publicity, financial support, and advertising airtime for himself personally and

for his company, MyPillow. Given that objective, Mr. Lindell focused on persuading people that

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electronic voting machines, including Smartmatic, stole the election for Joe Biden and Kamala

Harris.

          158.   Below are some of the statements that Lindell made and/or broadcast to create the

impression that Smartmatic had stolen the 2020 U.S. election for Joe Biden and Kamala Harris:

                 a.     Mr. Lindell: “[B]ut it’s not just Dominion [] and not just Smartmatic and
                        not just the machine. Look at what they’re doing. They’re all part of this
                        attack on our country.” (The Pete Santilli Show (Exhibit 16).)

                 b.     Mr. Lindell: “I have, I have 100%, not 99%, 100% evidence that of
                        everything that they did Smartmatic [] ES&S, all of those machines did
                        and stole[] our country and stole[] our election.” (The Pete Santilli Show
                        (Exhibit 16).)

                 c.     Mr. Lindell: “Smartmatic started machines in Venezuela, around 2001,
                        2002. When they [] brought them in there, they invented them and brought
                        them in there and took down that country in two years. It was brought into
                        the United States, they split with Dominion, ESS and Smartmatic. It’s all,
                        all they’re built for is to steal elections. They’ve stolen in the United
                        States…” (The Pete Santilli Show (Exhibit 16).)

                 d.     Mr. Lindell: “[W]hat you’re saying there, Dr. Frank, they’re saying that
                        they’ve set this in the machine –

                        Dr. Frank: Yes.

                        Mr. Lindell: Or set this beforehand - -

                        Dr. Frank: Yes.

                        Mr. Lindell: That they set to see who was gonna win and they set this
                        algorithm?

                        Dr. Frank: Yes.

                        Mr. Lindell: Okay. These are the algorithms we’ve been telling you
                        about.” (Scientific Proof (Exhibit 3).)

                 e.     Mr. Lindell: “The same thing, the same machines, the same attack, the
                        same people, the same corruption that went on, the same crime against
                        humanity was all, crossed all the states.” (Scientific Proof (Exhibit 3).)

                 f.     Mr. Lindell: “[T]he you know, the purpose of this whole show, obviously,
                        is to show everyone in the world that these machines that this was the


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                 biggest fraud and the biggest crime I believe against humanity. It was a
                 crime against humanity.” (Absolute Proof (Exhibit 1).)

           g.    Mr. Lindell: “Could you guys all hear this? This is what we’re up against,
                 this Dominion, these machines is the biggest fraud in election. They stole
                 this. But now the truth is all going to be revealed.” (Absolute Proof (Exhibit
                 1).)

           h.    Mr. Lindell: “Right. So I just want everyone out there to know this before
                 you get into town. This is just a small country, [n]orthern Michigan, and
                 they ended up flipping, we had 15,718 votes.

                 Mr. DePerno: 15,718 votes.

                 Mr. Lindell: Votes. And 7,060 were flipped from Trump to Biden, is that
                 correct?

                 Mr. DePerno: And what’s more even, it’s even more –

                 Mr. Lindell: By machines, right? It had to be done by the machines.

                 Mr. Deperno: Absolutely by machines.” (Absolute Proof (Exhibit 1).)

           i.    Mr. Lindell: “Right they were just flipped. In order for that to be off, you
                 do the conclusion which I would right now, 100%, how could that be off?
                 It would be something wrong with what?

                 Mr. DePerno: The machines.

                 Mr. Lindell: The machines, the machines. And what we’re showing here
                 right now, what you’re going to see, all this what we’ve been talking about,
                 this massive machine election fraud that went on, where countries hacked
                 into our election. And nationwide, this is one little county in northern
                 Michigan, and these machines would do it right down to the precinct…
                 And so what I want to tell you all is this is the perfect example, just so you
                 know, right down to the precinct level, what went on with these
                 machine[s]…” (Absolute Proof (Exhibit 1).)

           j.    Mr. Lindell: “Right, so both of them involved the machines, everybody.
                 One we’ve talked about in this show is here. But then the cyber one is what
                 you just heard from Russell, which he said earlier, this is all the attack by
                 the other countries that hacked in which we’re going to show you proof
                 now that Russell doesn’t even know that we have that’s going to show who
                 did it, the time they did it, the computer they did it off it, everything.”
                 (Absolute Proof (Exhibit 1).)

           k.    Mr. Lindell: “And it’s gonna come out. And this is all, and that’s just
                 another way that, to cheat with these machines.” Michael Flynn: “Right.”

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                 Mr. Lindell: “There’s actually four ways, maybe even more we don’t know
                 about, but these are all the online ways…” (Absolute Interference (Exhibit
                 5).)

           l.    Mr. Lindell: “Talking about ‘Absolute Proof’ that documentary we did,
                 where we have the spyware and these American heroes that were []
                 whistleblowers and stuff that were there and that worked for the
                 government and stuff that, former and present, that were there and they
                 were taking these footprints, these cyber footprints the night of the
                 election, actually, from November 1st to 5th. And we have all the IP
                 addresses… the ID’s of the computers, we have all this of the attacks…”
                 Douglas Frank: “Yes. I was on the edge of my seat watching that…But the
                 thing about it is, you’re showing the incursions into the machines but
                 what do they do when they’re there? They have to know what to do. That’s
                 what the algorithm is telling them what to do.” (Scientific Proof (Exhibit
                 3).)

           m.    J. Alex Halderman: “I know America’s voting machines are vulnerable,
                 because my colleagues and I have hacked them repeatedly. We’ve created
                 attacks that can spread from machine to machine like a computer virus
                 and silently change election outcomes. And in every single case, we’ve
                 found ways for attackers to sabotage machines and to steal votes.”
                 Unknown Speaker 2: “When you say hacked, what were they able to do
                 once they gained access to the machines?” Douglas Lute: “All sorts of
                 things, they could manipulate the outcome of the vote, they could
                 manipulate the tally. They could delete the tally. And they could
                 compromise the vote in any number of ways.” (Absolutely 9-0 (Exhibit 7).)

           n.    Mr. Lindell: “This was an attack on our country, these Dominion
                 machines and Smartmatic, these machines that were [] the tools of this
                 attack, and we will never have another fair election if we don’t [] stop that,
                 so I will never back down.” (A Screening and Conversation of Absolute
                 Proof (Exhibit 14).)

           o.    Mr. Lindell: “We got whistleblowers you’re gonna see. We have people that
                 worked on the inside… maybe they’ll come clean and get lesser sentences.
                 [] I spent millions of dollars investigating [] Dominion, Smartmatic… the
                 people behind these attacks, investigators that went over and cyber people
                 that went over, got the IPs and the IDs of people in China.” (Eric Metaxas
                 Radio Show (Exhibit 20).)

           p.    Mr. Lindell: “Dominion, Smartmatic, Hart all of them are the same, ES&S.
                 You just say Dominion, but it’s all machines. China hacked into our
                 election and flipped millions upon millions of votes.” (Newsroom with
                 Pearson Sharp (Exhibit 108).)

           q.    Mr. Lindell: “Well, I just met Dr. Shiva four weeks ago… And he knows
                 all about these machines now and we’re going to hear some of the stuff that
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                 I found out [and] went wow, this is a, absolutely validates this election
                 fraud with these machines…

                 ***

                 Dr. Ayyadurai: I found out something interesting, I found out that these
                 electronic voting machines, remember, there’s two ways you can vote. One
                 is you vote, you give a paper ballot, and the paper ballot is counted by
                 human beings, two people, that’s what occurred in Franklin County. But in
                 those other counties, they take that paper ballot when you vote
                 electronically –

                 Mr. Lindell: Into a machine.

                 Dr. Ayyadurai: It goes into a machine. And what happens in that machine?
                 The paper ballot is converted to an image called a ballot image, no different
                 than you taking a phone, a picture with your iPhone. Now so what is actually
                 counted? The paper ballot gets put aside, the machine, the electronic quote
                 unquote AI on the machine, actually tries to figure out where the circles are.
                 And the machine is counting the ballot image. So at that stamp, at that point
                 I realized, oh my god, the ballot image is the ballot, the images are the
                 ballot…

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                 Dr. Ayyadurai: The other piece of the puzzle was, I found out that the voting
                 machines, as early as 2002, have a feature in there called a weighted race
                 feature, where it’s embedded into the system where you can multiply
                 candidates votes by a percentage. All right, so what that means is you get
                 1,000 votes, I get 1,000 votes, I can multiply your votes by two, my votes
                 by point five. And if everyone, anyone doesn’t believe this, go look up the
                 deebot [sic] voting manual, go to page two dash 126 in the manual in the
                 2002 version, and you’ll see it in there.

                 Mr. Lindell: So did, were you able to prove that yours, that your [election]
                 was stole by the machines? Did you mathematically [] prove, did you prove
                 100% that this could only be recreated by a machine to do that, 60/40,
                 that’s it?

                 Dr. Ayyadurai: Yeah. So what we proved, Mike, was, first of all, we showed
                 that the state had deleted the ballots images, which means that if they had
                 the ballot image they could have found the algorithm.

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                 Mr. Lindell: This was a historical election fraud. This was coming from a
                 lecture [sic] from machines, from these machines, of biblical proportions,


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                        of historical proportions. And now this is, it’s all going to get exposed.
                        (Absolute Proof (Exhibit 1).)

                 r.     Mr. Lindell: Let me tell you about Smartmatic . . . in the 2020 election, do
                        you think L.A. County was computer-manipulated or not? . . . Of course it
                        was! And now we have the proof.” Updates On The Smartmatic Lawsuit
                        and The Cast Vote Records (Exhibit 143.)

          159.   Individuals who heard Mr. Lindell’s statements were led to believe that

Smartmatic’s election technology, hardware, and software were used to steal the 2020 U.S.

election in favor of Joe Biden and Kamala Harris and that Smartmatic acted to help steal the 2020

U.S. election. Mr. Lindell intended for individuals who heard or read his statements to draw these

conclusions. This was a key component of Defendants’ disinformation campaign.

          160.   Mr. Lindell’s statements and implication that Smartmatic and its election

technology, hardware, and software were used to steal the 2020 U.S. election are demonstrably

false and factually inaccurate. First, Smartmatic’s election technology, hardware, and software

were not used to steal the 2020 U.S. election for Joe Biden and Kamala Harris. They were not used

to fix the election. They were not used to rig the election. They were not used to steal the election.

And Smartmatic did not take any actions to steal or rig the election for Joe Biden and Kamala

Harris.

          161.   Second, Smartmatic’s election technology and software were used only in Los

Angeles County during the 2020 U.S. election. They were not used in any other county or state

during the 2020 U.S. election. Smartmatic’s election technology and software could not have been

used to steal the election because they were not used anywhere during the election outside Los

Angeles County.

          162.   Third, Smartmatic’s election technology, hardware, and software were not used in

any county or state with close outcomes during the 2020 U.S. election. Smartmatic’s election

technology, hardware, and software were not used in Nevada, Arizona, Georgia, Pennsylvania,
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Michigan, or Wisconsin. Smartmatic’s election technology, hardware and software were not used

in any counties in these states. Smartmatic’s election technology, hardware and software were not

used in Texas. Smartmatic’s election technology, hardware and software could not have been used

to steal the election in these states (or counties) because they were not used in those states and

counties.

       163.    Fourth, Smartmatic’s election technology, hardware, and software were not used

by any other voting technology company during the 2020 U.S. election. Smartmatic’s election

technology, hardware, and software were not used by another company in Nevada, Arizona,

Georgia, Pennsylvania, Michigan, Wisconsin, or Texas (or any counties within these states).

Smartmatic’s election technology, hardware, and software could not have been used by another

company to steal the 2020 U.S. election because no other company used Smartmatic’s election

technology, hardware, and software.

       164.    Fifth, Smartmatic did not work with or assist any other voting technology company

during the 2020 U.S. election. Smartmatic did not count the votes for any other voting technology

company, including Dominion and ES&S. Smartmatic’s election technology, hardware, and

software could not have been used to manipulate the vote in favor of one candidate over another

because its election technology, hardware, and software were not used outside Los Angeles

County.

       D.      Mr. Lindell falsely stated and implied that Smartmatic’s election technology,
               hardware, and software were compromised or hacked by China or other
               foreign countries during the 2020 U.S. election.

       165.    Mr. Lindell claimed that Smartmatic was a voluntary and willful participant in a

scheme to steal the 2020 U.S. election. Mr. Lindell also claimed that Smartmatic’s election

technology, hardware, and software were compromised or hacked by China or other foreign

countries during the 2020 U.S. election. Specifically, Mr. Lindell told people that Smartmatic
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machines allowed China or other foreign countries to infiltrate the voting machine technology and

alter the results in favor of Joe Biden and Kamala Harris.

       166.    Below are some of the statements that Mr. Lindell made and/or published to create

the misimpression that Smartmatic’s election technology, hardware, and software were

compromised by China and other countries or hacked during the 2020 U.S. election:

               a.     Mr. Lindell: “This was a cyber attack on our country. Donald Trump really
                      won 80 million to 66 million. All the evidence is there, I’ve already got all
                      the evidence… But now we have validated every IP, every ID address of
                      all the companies here and over in China, and other countries… even if
                      you’re a Democrat or Republican, you’re gonna know this was an attack on
                      our country.” (Indivisible with John Stubbins (Exhibit 22).)

               b.     Mr. Lindell: “This was a crime, an attack by China and other countries,
                      attack on our election and which we approved. 60 some percent came right
                      out of China, we have the IP addresses the IDs of computers, everything.
                      We even have their passwords for crying out loud, we have everything.”
                      (Indivisible with John Stubbins (Exhibit 22).)

               c.     Mr. Lindell: “We have them from November 1 all the way through the
                      election, and shows them a massive attack on our country by China and
                      other country. China did 60% of this. It was all done through Dominion
                      machines and [] Smartmatic machines.” (Real America with Dan Ball
                      (Exhibit 12).)

               d.     Mr. Lindell: “But the people that attacked this country, if you watch my
                      Absolute Proof, that we were hacked by foreign actors and [] domestic
                      actors. [] [A]nd China by the way was 62% of the attack… If these
                      machines are not gone, if they’re not gone, the world is done.” (The Pete
                      Santilli Show (Exhibit 16).)

               e.     Mr. Lindell: “[T]his was the machine fraud. This was a cyber attack from
                      another country. I look at this, I go, is this real. Then I dug into that. And
                      from November 9th on I went, did a deep dive. And now all that evidence
                      is out there.” (The Pete Santilli Show (Exhibit 16).)

               f.     Mr. Lindell: “[F]oreign countries, like China, came in and attacked our
                      country using these machines; Dominion, Smartmatic, ES&S all these
                      machines.” (War Room podcast, March 26, 2021 (Exhibit 18).)

               g.     Ms. Fanning: “Now, red has been the most severe attacks, those lines are
                      all coming out of China. Those are the most severe attacks on our election
                      system. Now, this is, this exact information, the exact same type of
                      information I should say, was presented to FBI Director, former FBI
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                 Director James Comey, by a whistleblower in 2015. They knew, in fact that
                 our election machines were open for hacking, it’s important to understand
                 that there are prismatic scoring algorithms that they knew about that entered
                 the election, and they steal the vote at the transfer points. So at the point
                 where the election, the vote is leaving the Secretary of State’s office and
                 these machines, that is the point at which the vote is stolen at the transfer
                 points…” (Absolute Proof (Exhibit 1).)

           h.    Mr. Lindell: “100% it can only be done by machines. I can’t stress that
                 enough.” Douglas Frank: “Absolutely.” Mr. Lindell: “And they all rhyme
                 with Dominion, or Smartmatic ES&S, all of them… [W]e have enough
                 evidence that we’re gonna dump for the next six weeks on the whole world
                 and the country that by the time it gets to Supreme Court, everyone’s gonna,
                 they’re all nine going to go 9-0 yes, so our country’s been attacked. We
                 have been attacked by foreign actors, starting with China, and with help
                 of domestic actors here that you know, they had to be let in…” (Scientific
                 Proof (Exhibit 3).)

           i.    Mr. Lindell: “So everybody knows what you’re going to see, when you see
                 this spike, you’re going to see a forensic footprint, how this happened and
                 who did it. China? Yes. If you’re on the Internet, the bottom line is you
                 can get, you can cheat, you can do all kinds of things. And that’s because
                 otherwise you can’t explain any of these numbers. Right?” Matt DePerno:
                 “That’s correct. The machine results don’t match up with the hand-
                 tabulation.” (Absolute Proof (Exhibit 1).)

           j.    Mr. Lindell: “[T]his was 100% an attack by China on our country through
                 these machines.” (Absolutely 9-0 (Exhibit 7).)

           k.    Mr. Lindell: “But I wanted to get on here and explain to everyone, this was
                 an attack by China, on our country through these Dominion and these
                 other machines, where, and they just hacked in, a cyber attack hacked into
                 our election and flipped it to everyone, anyone that they wanted to win.”
                 (Absolutely 9-0 (Exhibit 7).)

           l.    Mr. Lindell: “This is why, when we say that Donald Trump really won this
                 election by like almost 80 million to 68 million for Biden, how can you
                 switch tens of millions of votes? It had to be done with computers, it had
                 to be done with the machines, through these Dominion and through all
                 these machines, and China, China did it. It’s a cyber attack of historical
                 proportions.” (Absolutely 9-0 (Exhibit 7).)

           m.    Mr. Flynn: “China is clearly, I mean everything that we’ve learned about
                 the ownership of some of these machines, some of these companies to, to
                 how they’re actually operating inside of this country… Now you take it to
                 the elections [] and you look at the machinery that we are using in our
                 election process, which, you know, I don’t know how we are going to go
                 forward as a nation and continue to use these machines knowing that what
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                       we just went through was really a false election. It was a false election.”
                       (Absolute Interference (Exhibit 5).)

               n.      Mr. Lindell: “Dominion, Smartmatic, Hart all of them are the same, ES&S.
                       You just say Dominion, but it’s all machines. China hacked into our
                       election and flipped millions upon millions of votes.” (Newsroom with
                       Pearson Sharp (Exhibit 108).)

       167.    Individuals who heard Mr. Lindell’s statements were led to believe that

Smartmatic’s election technology, hardware, and software were compromised or hacked during

the 2020 U.S. election by China or other foreign countries. Mr. Lindell intended for individuals

who heard or read his statements to draw that conclusion. That conclusion was an important

component of the disinformation campaign.

       168.    Mr. Lindell’s statements and implication that Smartmatic’s election technology,

hardware, and software were compromised or hacked by China or other foreign countries during

the 2020 U.S. election are demonstrably false and factually inaccurate. First, Smartmatic’s election

technology, hardware, and software were not compromised or hacked during the 2020 U.S.

election. There is no evidence of cyber-security problems in connection with the election in Los

Angeles County, the only county where Smartmatic’s election technology and software were used

during the 2020 U.S. election.

       169.    Second, Smartmatic’s election technology, hardware, and software does not allow

votes to be changed, manipulated, or altered at all. This is true of the election technology and

software that Smartmatic used during the 2020 U.S. election in Los Angeles County. It is also true

of the election technology, hardware, and software that Smartmatic has developed over the years.

       170.    Third, Smartmatic did not work with or do anything whatsoever to assist China or

any other foreign countries for the 2020 U.S. election.

       171.    Fourth, no other foreign countries—including China—compromised or hacked the

2020 U.S. election.
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       E.        Mr. Lindell falsely claimed that Smartmatic machines were connected to the
                 Internet during the 2020 U.S. election in order to attack the election.

       172.      Mr. Lindell furthered his false theory that Smartmatic’s election technology,

hardware, and software were compromised or hacked by China or foreign countries by arguing a

false premise: that Smartmatic’s machines were connected to the Internet during the 2020 U.S.

election.

       173.      Below are some of the statements that Mr. Lindell made to create the false

impression that Smartmatic’s election machines were connected to the Internet during the 2020

U.S. election:

                 a.    Mr. Lindell: “I am going after Dominion and Smartmatic, I’m going after
                       them with a lawsuit if this doesn’t all come out to the public and they all get
                       exposed and then [] show what happened in our election… they’re going to
                       be crimes against our country that they used their [] their machines were
                       all online.” (War Room podcast, February 6, 2021 (Exhibit 11).)

                 b.    Mr. Lindell: “We’ve got [voting machine companies] saying that they don’t
                       go online and they, it’s right in their manual that they go online. We’ve got
                       proof that they were online. We’ve got all the evidence.” (War Room
                       podcast, February 6, 2021 (Exhibit 11).)

                 c.    Mr. Lindell: “I want everybody to know that. But you’re gonna see [it] is
                       impossible to be done by humans, it had to be done by machines, i.e.
                       computers, and they had to be online?” Douglas Frank: “Absolutely, the
                       whole time. You have to beforehand, during, and after.” (Scientific Proof
                       (Exhibit 3).)

                 d.    Mr. Lindell: “It had to be machines.” Douglas Frank: “Yes.” Mr. Lindell:
                       “And they had to be online.” Douglas Frank: “Constantly online.” Mr.
                       Lindell: “Constantly online, everybody.” (Scientific Proof (Exhibit 3).)

                 e.    Mr. Lindell: “Okay, I want to ask you there when you say horrify, can you
                       explain to everybody watching this right now, what, what horrified you,
                       was that the fact they could go online?” Russell Ramsland: “Well, there’s
                       no effective security at all for your votes. Your votes are stored overseas…”
                       (Absolute Proof (Exhibit 1).)

                 f.    Mr. Lindell: “Doesn’t matter. Right. Somebody else picks our people for
                       him so why vote, right? I mean, that’s the way [] it would have been.
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                     Machines that go online, like, and it’s not, now you said earlier, it’s not
                     just Dominion, it’s all the, all the machines that were used in this election.
                     What, is that what you would say?” Russell Ramsland: “Yes, that’s
                     absolutely a fair statement. And look, let me [] tell you a little bit about
                     that. You know, for these people that say it’s not online, we have videos of
                     workers with pollbooks, who are swiping left on their pollbook and
                     bringing up Netflix and getting a movie and watching it on their pollbook.
                     How does that happen if it’s not connected to the Internet?” (Absolute
                     Proof (Exhibit 1).)

              g.     Mr. Lindell: “I know they were all online, but they, is it illegal for them to
                     be online?” Russell Ramsland: “Well, it depends, some places yes, some
                     places no. I mean, the assurance is that you can trust the voting system
                     because they’re not online, but they are most clearly online.” (Absolute
                     Proof (Exhibit 1).)

              h.     Mr. Colbeck: “[T]hey’ve already admitted to the fact that that control
                     center had computers that were connected to the Internet. And we saw the
                     actual cable routed from the wall of the, of the TCF center to the control
                     center. And we have election officials that admitted there were computers,
                     in the control center that were connected to the Internet, and anybody []
                     worth their salt in IT land understands that if one computer is connected to
                     the Internet, they’re all connected to the Internet. You may say that it’s air-
                     gapped, you may say you have a firewall. These are people that eat firewalls
                     for breakfast.” Mr. Lindell: “So what you’re saying, you knowing that, so
                     if it’s connected to the Internet, somebody out there could have hacked in
                     and did the flipping of the votes.” Patrick Colbeck: “Yep… So you may be
                     thinking you’re passing that information from point A to point B. But
                     there’s nothing to prevent it from going to point C and the Internet, it’s
                     called a man in the middle attack.” Mr. Lindell: “Right. So that, so if
                     you’re on, if you’re online, I mean that anybody could get in there and do
                     that because they’re intercepting that, it’s interception. That’s why you
                     don’t have, machines aren’t supposed to be online in election, right?”
                     (Absolute Proof (Exhibit 1).)

              i.     Mr. Flynn: “And these machines, what we do know, one of the things that
                     we do know for certain is that the machines are connected to the Internet.
                     And most people, most people in this country, when you go in to vote…
                     none of those machines are supposed to be connected to the Internet, none
                     of them… because they’re connected to the Internet, we have all these
                     paths, these electronic pathways, or these electronic roads that lead from
                     that machine where that individual voted… and it goes back in through
                     these IP addresses.” (Absolute Interference (Exhibit 5).)

       174.   Individuals who heard Mr. Lindell’s statements were led to believe that Smartmatic

machines were connected to the Internet during the 2020 U.S. election. Mr. Lindell intended for

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individuals who heard or read his statements to draw that conclusion. That conclusion was a key

component of Defendants’ disinformation campaign.

       175.    Mr. Lindell’s statements and implications that Smartmatic machines were

connected to the Internet during the 2020 U.S. election are demonstrably false and factually

inaccurate. First, Smartmatic’s election technology and software for the 2020 U.S. election were

not connected to the Internet or put online.

       176.    Second, votes cast using Smartmatic’s election technology and software during the

2020 U.S. election were hand delivered after paper ballots were printed from Smartmatic’s

machines.

       F.      Mr. Lindell falsely stated and implied that Smartmatic was engaged in a
               widespread criminal conspiracy to steal the 2020 U.S. election.

       177.    Mr. Lindell claimed that Smartmatic was engaged in a widespread criminal

conspiracy with other voting technology companies and with foreign countries to steal the 2020

U.S. election. Mr. Lindell also claimed that Smartmatic was engaged in a criminal conspiracy that

created and covered up election fraud.

       178.    Below are some of the statements that Mr. Lindell made and published to create the

false narrative that Smartmatic was engaged in a widespread criminal conspiracy:

               a.      Mr. Lindell: “I mean, this is what they do. Dominion, Smartmatic, all of
                       them. It’s just like, you talk to Matt DePerno in Michigan, and they’ve been
                       going through this every day for months… I think everybody knows now,
                       this is the biggest cover-up that’s probably in history for a crime. It’s so
                       massive they’ve covered this up with the machine, or all the stuff that they
                       did with the machines.” (War Room podcast, May 8, 2021 (Exhibit 30).)

               b.      Mr. Lindell: “Just like going back to Venezuela. They took Venezuela in
                       two years with Smartmatic. And, and it’s this is their big plan. This is a
                       very conceived plan. And it’s very organized, and very, you know, and they
                       have all the marketing because they have all the evil media behind this.”
                       (Indivisible with John Stubbins (Exhibit 22).)



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               c.      Mr. Lindell: “And you know, when you get a track record going all the way
                       back to Venezuela where Smartmatic started in 2004, and you have all this
                       track record and no – and every time it comes up, how bad it is or how
                       corrupt it is or how [] they’re rigged and get bought you know all this []
                       criminal activity, it just gets suppressed, and we’ve got to get it out now.”
                       (Indivisible with John Stubbins (Exhibit 22).)

               d.      Mr. Lindell: “Smartmatic started machines in Venezuela, around 2001,
                       2002. When they [] brought them in there, they invented them and brought
                       them in there and took down that country in two years. It was brought into
                       the United States, they split with Dominion, ESS and Smartmatic. It’s all,
                       all they’re built for is to steal elections. They’ve stolen in the United
                       States…” (The Pete Santilli Show (Exhibit 16).)

               e.      Mr. Lindell: “Not only that, they’re, you know what they did to our country
                       them and Smartmatic, let’s not forget Smartmatic, they’re like the
                       mothership of this. And for not only being involved in the biggest crime
                       against our country, probably in history…” (USA Watchdog (Exhibit 24).)

               f.      Mr. Lindell: “Let’s, let’s open up the machines. Let’s look at this and here’s
                       what you’re gonna find, this was the biggest crime against United States
                       and the world in history. I believe it’s one of the biggest ever because it
                       affects every single person on the planet.” (Scientific Proof (Exhibit 3).)

       179.    Individuals who heard Mr. Lindell’s statements were led to believe that Smartmatic

was engaged in a widespread criminal conspiracy to rig the 2020 U.S. election. Mr. Lindell

intended for individuals who heard his statements to draw that conclusion. That conclusion was a

key component of Defendants’ disinformation campaign.

       180.    Mr. Lindell’s statements and implication that Smartmatic was engaged in a

widespread criminal conspiracy are demonstrably false and factually inaccurate. First, Smartmatic

does not have any plans, schemes, or “deals” with anyone—government or business—to rig or

steal elections, including the 2020 U.S. election.

       181.    Second, Smartmatic does not have any undercover dealings with Dominion, ES&S,

or any other voting technology company, especially with respect to the 2020 U.S. election.




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        182.    Third, Smartmatic uses its technology to deliver reliable, accurate, and auditable

election results. Smartmatic did not and has not engaged in a criminal conspiracy to alter election

results, or otherwise fix or rig any election, especially the 2020 U.S. election.

        G.      Mr. Lindell falsely stated and implied that Smartmatic’s election technology,
                hardware, and software were designed to steal elections and have stolen
                elections before.

        183.    Mr. Lindell was not content portraying Smartmatic as having stolen the 2020 U.S.

election. Mr. Lindell claimed that Smartmatic and its products served only one function: stealing

elections. Mr. Lindell added credibility to his story about Smartmatic stealing the 2020 U.S.

election for Joe Biden and Kamala Harris by telling people that the sole purpose of Smartmatic

and its products is to steal elections.

        184.    Below are some of the statements that Mr. Lindell made to create the impression

that Smartmatic’s election technology, hardware, and software were designed to steal elections:

                a.      Mr. Lindell: “Just like going back to Venezuela. They took Venezuela in
                        two years with Smartmatic. And, and it’s this is their big plan. This is a
                        very conceived plan. And it’s very organized, and very, you know, and they
                        have all the marketing because they have all the evil media behind this.”
                        (Indivisible with John Stubbins (Exhibit 22).)

                b.      Mr. Lindell: “Smartmatic started machines in Venezuela, around 2001,
                        2002. When they [] brought them in there, they invented them and brought
                        them in there and took down that country in two years. It was brought into
                        the United States, they split with Dominion, ESS and Smartmatic. It’s all,
                        all they’re built for is to steal elections. They’ve stolen in the United
                        States…” (The Pete Santilli Show (Exhibit 16).)

                c.      Mr. Lindell: “Venezuela is where the machine started. Smartmatic started
                        in Venezuela. I got a whole big I’ve spent millions of dollars investigating
                        this. They’re built to take they’re built as a tool to take countries.” (Mike
                        Lindell’s Cyber Symposium (Exhibit 32).)

                d.      Mr. Lindell: “Absolutely. And it’s, you know, in Venezuela, when we went
                        back, when it started in Venezuela, didn’t they flip that country in two
                        years, right?” Michael Flynn: “Right so that [] what I learned, almost right
                        after the election, when we started to really go, okay, wait a second, what
                        happened and we started to talk about how the machines really were

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                       impacting… really from the fourth through the seventh of November. We
                       this, this issue of Venezuela came up and we had the opportunity to [] get
                       some feedback from one of the individuals who was in Venezuela at the
                       time, who was working with [] the Chavez government. And it actually
                       caused, they were able to take the, these machines that they had in
                       Venezuela at the time to basically ensure that Chavez won the election
                       and then subsequently down the road Maduro. So [] it was almost like the
                       machinery was being tested, if you will, in another country to kind of get
                       a sense of can you actually do this and to work for them.” (Absolute
                       Interference (Exhibit 5).)

       185.    Individuals who heard Mr. Lindell’s statements were led to believe that

Smartmatic’s election technology, hardware, and software were designed to steal elections. Mr.

Lindell intended for individuals who heard or read his statements to draw that conclusion. That

conclusion was an important component of Defendants’ disinformation campaign.

       186.    Mr. Lindell’s statements and implications that Smartmatic’s election technology,

hardware, and software were designed to steal elections are demonstrably false and factually

inaccurate. First, Smartmatic’s election technology, hardware, and software were not designed to

steal elections. Smartmatic’s election technology, hardware, and software were designed to ensure

secure, reliable, and auditable elections.

       187.    Second, Smartmatic’s election technology, hardware, and software have not been

used to steal elections. Smartmatic’s election technology, hardware, and software have been used

in thousands of elections over the last twenty years. Smartmatic’s election technology, hardware,

and software have not been used to steal any of those elections.

       188.    Third, Smartmatic’s election technology, hardware, and software did not steal

elections in Venezuela. Smartmatic ceased participating in elections in Venezuela in 2017.

Smartmatic ceased to provide election technology, hardware, and software in Venezuela after the

Venezuelan government announced results that differed from the actual results. Smartmatic

publicly denounced the Venezuelan government in 2017.

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IV.     Mr. Lindell Acted with Actual Malice and Ill Will Towards Smartmatic7

        189.    Mr. Lindell knew that the statements and implications that he and his guest speakers

made about Smartmatic were false and/or he acted with reckless disregard for whether the

statements and implications were true. Mr. Lindell did not care about making truthful statements

about Smartmatic. Mr. Lindell was motivated to tell a preconceived story about how Smartmatic

stole the 2020 U.S. election for Joe Biden and Kamala Harris.

        190.    Mr. Lindell’s actual malice with respect to his statements and implications about

Smartmatic is illustrated by the following facts:

                       Mr. Lindell had no basis for his statements about Smartmatic’s role in the
                        2020 U.S. election.

                       Mr. Lindell had obvious reasons to doubt what he was saying about
                        Smartmatic outside of the 2020 U.S. election because it had been publicly
                        debunked for months prior to his statements.

                       Mr. Lindell had obvious reasons to doubt the veracity of the guest speaker
                        “experts” he relied on and had obvious reasons to doubt the accuracy of the
                        “evidence” they purported to provide.

                       Mr. Lindell possessed and had access to a significant volume of information
                        that contradicted the story he told about Smartmatic. Mr. Lindell reviewed
                        this information (and therefore knew his statements and implications were
                        false) and/or purposefully avoided reviewing this information because he
                        did not want to know the truth.

                       A minimal amount of investigation would easily establish the falsity of Mr.
                        Lindell’s statements about Smartmatic’s role in the U.S. election. Mr.
                        Lindell has stated that he spent millions of dollars investigating Smartmatic.
                        He would have needed to spend only a fraction of that amount to learn of
                        Smartmatic’s limited, secure role as a voting technology and services
                        provider in Los Angeles County.



7
  Smartmatic’s discussion of Mr. Lindell’s actual malice is not an admission that Smartmatic must allege
and prove Mr. Lindell and MyPillow acted with actual malice to establish liability. As noted above, at all
times during the disinformation campaign, Mr. Lindell was acting in his capacity as the CEO and agent of
his company MyPillow. Mr. Lindell’s actions—including with regards to actual malice—are therefore
imputed to MyPillow.
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       191.    Mr. Lindell also acted with ill will towards Smartmatic and with a deliberate

disregard for the rights and safety of Smartmatic and its officers and employees. Mr. Lindell could

not further his story of election fraud without blaming Smartmatic. Mr. Lindell knew the damage

it would cause the company. Mr. Lindell did not mind destroying a company because it served his

personal and financial interests. For Mr. Lindell, this was not about changing the outcome of an

election, this was about currying favor with President Trump, continuing to endear himself to the

millions of Americans who supported President Trump, and making money.

       A.      Mr. Lindell had no basis for his statements and implications regarding
               Smartmatic.

       192.    Mr. Lindell perpetuated a story about Smartmatic and its election technology and

software. He perpetuated a story to fit a preconceived narrative—that the 2020 U.S. election had

been stolen by the election voting technology companies, including Smartmatic. Lindell did not

have a basis for blaming Smartmatic.

               1.      Mr. Lindell did not have sources to prove something that did not
                       happen.

       193.    There is one irrefutable fact that undermines nearly everything that Mr. Lindell said

about Smartmatic during his disinformation campaign: Smartmatic’s only role in the 2020 U.S.

election was as a provider of election technology, support, and services to Los Angeles County.

This fact was known to Mr. Lindell or readily ascertainable, and it puts the lie to nearly everything

he said.

       194.    Mr. Lindell stated and implied that Smartmatic’s election technology, hardware,

and software were widely used in the 2020 U.S. election, including in states with close outcomes,

in order to attack the election. Mr. Lindell did not have any reliable source for this statement and

implication because Smartmatic’s election technology and software were only used in Los Angeles

County.
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       195.    Mr. Lindell stated and implied that Dominion and ES&S had a corrupt relationship

with Smartmatic during the 2020 U.S. election in order to attack the election. Mr. Lindell did not

have any reliable source for this statement and implication because neither Dominion nor ES&S

had a business relationship with Smartmatic during the 2020 U.S. election.

       196.    Mr. Lindell stated and implied that Smartmatic stole the 2020 U.S. election for Joe

Biden and Kamala Harris. Mr. Lindell did not have any reliable source for this statement and

implication because Smartmatic’s election technology, hardware, and software were not used in

any of the states with close outcomes.

       197.    Mr. Lindell stated and implied that Smartmatic’s election technology, hardware,

and software were compromised or hacked by China or other foreign countries during the 2020

U.S. election. Mr. Lindell did not have any reliable source for this statement and implication

because no one raised legitimate cyber-security concerns with the election in Los Angeles County.

       198.    Mr. Lindell stated and implied that Smartmatic election technology was connected

to the Internet during the 2020 U.S. election in order to attack the election. Mr. Lindell did not

have any reliable source for this statement and implication because there is no evidence that

Smartmatic election technology was connected to the Internet during the 2020 U.S. election.

       199.    Mr. Lindell stated and implied that Smartmatic was involved in a widespread

criminal conspiracy to alter the results of the 2020 U.S. election. Mr. Lindell did not have any

reliable source for this statement and implication because there is no evidence that Smartmatic was

involved in a widespread criminal conspiracy to alter the results of the 2020 U.S. election.

       200.    Mr. Lindell’s disinformation campaign was not limited to distorting Smartmatic’s

role in the 2020 U.S. election. Mr. Lindell also defamed and disparaged Smartmatic by lying about

the company’s past. Mr. Lindell had no basis, or no credible basis, for these statements and

implications either.
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       201.    Mr. Lindell stated and implied that Smartmatic’s election technology and software

were designed to steal elections. Mr. Lindell did not have any reliable source with firsthand

knowledge supporting this statement and implication because it never happened.

       B.      There was publicly available information that contradicted the claims Mr.
               Lindell and his guests were making.

       202.    Mr. Lindell knew his and his guests’ statements and implications regarding

Smartmatic and its technology and software were false. Mr. Lindell possessed and had access to

information that showed his statements and his guests’ statements were false. Mr. Lindell also

made statements for which he had no logical or factual basis.

               1.      Mr. Lindell knew Smartmatic’s election technology, hardware, and
                       software were not widely used in the 2020 U.S. election (and were not
                       used in contested states).

       203.    A myriad of information was available to Mr. Lindell that showed his statements

and implications about Smartmatic and the use of its technology, hardware, and software for the

2020 U.S. election (and in contested states) were false. Mr. Lindell either ignored this information,

and thereby acted with reckless disregard, or published his false statements knowing they were

false based on this information.

       204.    First, before the disinformation campaign, there was publicly available and easily

accessible information showing which company’s election technology, hardware, and software

were selected for and used in each state in the country (and by county), including in contested

states such as Georgia, Michigan, Pennsylvania, Arizona, Wisconsin, and Nevada.

       205.    Each state publicly disclosed the election technology used in the 2020 U.S. election.

This information showed that Smartmatic did not provide or manufacture any technology or

software in any contested states discussed by Mr. Lindell and his guests.




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       206.    Nevertheless, in his documentary “Absolute Proof,” (published in February 2020)

Mr. Lindell asserted, “I just want everyone to know that why we’re showing other states and not

just the swing state[s]. It was every state, it happened in your state… Texas, when they said, oh,

we didn’t use the Dominion machines. Doesn’t matter, the name of the, the name of the machine

doesn’t matter… Smartmatic, ES&S, don’t matter…”

       207.    Take another example. During “Mike Lindell’s Cyber Symposium” in August

2021, Phil Waldron was broadcast in a pre-recorded video that was played at the Cyber Symposium

multiple times over a two-day span. Mr. Waldron said, “[s]ome of the anomalies that we noticed

in the 2020 general elections that five key states all stopped counting at a certain time in these key

battleground states. These were all where the software Dominion machines, ES&S machines were

used, the the Smartmatic, the Gems software, so when the vote stopped counting…”

       208.    The “key battleground states” in the 2020 election were Georgia, Michigan,

Pennsylvania, Arizona, and Wisconsin. (11/30/20 Business Insider, All major battleground states

in the 2020 election officially certify their results, cementing Biden’s victory in the presidential

race (Exhibit 127).)

       209.    Again, there was publicly available information from all of these states at the time

that showed Smartmatic was not used in their 2020 elections. The role of Smartmatic in the

contested states was easy to determine and contradicted the entire narrative about Smartmatic

being a player in any way in the U.S. election controversy. For example:

       210.    Georgia: In 2019, Georgia’s RFP process demonstrated that Smartmatic was not

chosen for the 2020 U.S. election. In response to the RFP, three separate companies submitted a

bid. Those companies were: (1) ES&S, (2) Smartmatic, and (3) Dominion. Georgia chose two

companies to advance in the process and to undergo further consideration: ES&S and Dominion.

Smartmatic was not chosen. After further process with ES&S and Dominion, Dominion got the
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contract with Georgia. (11/30/20 Georgia Press Conference on 2020 Election Recount Update

Transcript (Exhibit 45).) The State of Georgia also publicly disclosed that it was using Dominion’s

election technology for the 2020 U.S. election—not Smartmatic. (Georgia Secretary of State Press

Release, Security-Focused Tech Company, Dominion Voting to Implement New Verified Paper

Ballot System (Exhibit 46); 8/9/19 Georgia Secretary of State, Dominion Voting System

Certification (Exhibit 42).)

       211.    Michigan: On January 24, 2017, Michigan’s State Administrative Board approved

only three vendors of voting systems: Dominion, ES&S, and Hart InterCivic. (Michigan Secretary

of State, Voting System Purchase (Exhibit 49).) In early November, the State of Michigan publicly

identified the use of the Dominion election management system and voting machines. There was

no mention of Smartmatic. (11/6/20 Michigan Department of State Press Release (Exhibit 50).)

The Secretary of State for Michigan also had a voting system map on its website that identified

the vendor/manufacture for different locations. The map identified three companies: (1) Dominion,

(2) Hart InterCivic, and (3) ES&S. Smartmatic was not identified. (Michigan Voter Information

Center, Voting Systems Map (Exhibit 48).)

       212.    Pennsylvania: The state of Pennsylvania publicly identified the election technology

and software certified for use on its website. ES&S and Dominion were identified for use by

Pennsylvania. Smartmatic was not identified. (Pennsylvania Department of State, Electronic

Voting Systems Certified After January 1, 2018 (Exhibit 52).) Pennsylvania was explicit in the

voting systems available for use in the 2020 general election. On April 4, 2018, Acting Secretary

of State Robert Torres required each of Pennsylvania’s 67 counties to select new voting systems

by no later than December 31, 2019, and to implement them no later than the June 2, 2020, primary

election. (Pennsylvania Pressroom, Department of States Tells Counties To Have New Voting

Systems In Place By End Of 2019 (Exhibit 53).) The Pennsylvania Department of State
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subsequently certified the following providers of electronic voting systems: (1) Unisyn, (2) ES&S,

(3) Dominion, (4) ClearBallot, and (5) Hart Verity Voting. (Pennsylvania Department of State,

Electronic Voting Systems Certified After January 1, 2018 (Exhibit 52).) Counties then had the

option to choose only from seven electronic voting systems offered by those five providers.

Smartmatic was not one of them. (Votes PA: New Voting Systems (Exhibit 54).)

       213.    Arizona: The state of Arizona publicly identified the election technology and

software used for the 2020 U.S. election by manufacture on its website. Smartmatic was not one

of them. (Arizona Secretary of State, 2020 Election Cycle/Voting Equipment (Exhibit 57).)

       214.    Wisconsin: In February 2020, the state of Wisconsin published a list of the voting

equipment used by each municipality within the State. Smartmatic appears nowhere on that list.

(Wisconsin Election Commission, Voting Equipment List by Municipality February 2020 (Exhibit

41).) In addition, the Wisconsin election commission publicly identified the approved voting

equipment manufacturers on its website. Smartmatic was not identified. (Wisconsin Election

Commission, Voting Equipment (Exhibit 60).)

       215.    Nevada: As of November 2020, all jurisdictions in Nevada used voting systems

from either Dominion or ES&S. Smartmatic was not used. (Nevada Secretary of State: Voting

System (Exhibit 62).)

       216.    Texas: The state of Texas publicly identified the election technology and software

certified for use on the website of the Secretary of State, VoteTexas.gov. The website identifies

Dominion, ES&S, and Hart InterCivic as certified for use in Texas’s elections. (VoteTexas.gov,

How to Vote (Exhibit 116).) Smartmatic was not identified. Furthermore, the Texas Secretary of

State’s website makes clear that it was Dominion—not Smartmatic—that had previously had

issues with the State of Texas, but regardless, any issues had been resolved by the State of Texas


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since it selected and certified Dominion as one of its voting systems. (Texas Secretary of State,

Voting System Examination(s) and Status for Dominion (Exhibit 117).)

       217.   Second, before Mr. Lindell’s disinformation campaign, it was widely known that

ES&S, was the nation’s largest manufacturer of voting technology. It was also widely known that

three main election technology companies dominated the U.S. market for elections: (1) ES&S, (2)

Dominion, and (3) Hart InterCivic. This list did not include Smartmatic. For example:

              a.      On October 29, 2018, it was reported that a trio of companies—ES&S,

                      Dominion, and Hart InterCivic—sell and service more than 90 percent of

                      the machinery on which votes in the country are cast and results tabulated.

                      (10/29/18 Associated Press, US election integrity depends on security-

                      challenged firms (Exhibit 86); 10/29/18 Associated Press, Security-

                      challenged firms are gatekeepers of US elections (Exhibit 87).)

              b.      On March 27, 2019, Senator Amy Klobuchar and others sent a letter to the

                      country’s three largest election system vendors with questions on their

                      security in anticipation of the 2020 U.S. election. Those vendors were (1)

                      ES&S, (2) Dominion, and (3) Hart InterCivic—not Smartmatic. (3/27/19

                      Klobuchar Press Release, Ranking Members Klobuchar, Warner, Reed, and

                      Peters Press Election Equipment Manufacturers on Security (Exhibit 88).)

              c.      On December 6, 2019, Senators Elizabeth Warren, Amy Klobuchar, and

                      others sent letters to the private equity firms that owned or had investments

                      in the vendors responsible for the “vast majority of voting machines and

                      software in the United States” with questions in anticipation of the 2020

                      U.S. election, noting that these vendors collectively distribute voting

                      machines and software for “over 90% of all eligible voters in the United
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                       States.” Those vendors were (1) ES&S, (2) Dominion, and (3) Hart

                       InterCivic—not Smartmatic. (12/10/19 Warren Press Release, Warren,

                       Klobuchar,       Wyden,   and   Pocan   Investigate   Vulnerabilities   and

                       Shortcomings of Election Technology Industry with Ties to Private Equity

                       (Exhibit 92).)

               d.      On October 28, 2019, it was reported that half the country votes on

                       machines made by ES&S. (10/28/19 ProPublica, The Market for Voting

                       Machines is Broken. This Company Has Thrived in It (Exhibit 90).)

               e.      On May 2, 2019, it was reported that three companies dominate the market

                       for voting machines in the country, with ES&S being the largest, followed

                       by Dominion and Hart InterCivic. (5/2/19 National Public Radio, Trips to

                       Vegas and Chocolate-Covered Pretzels: Election Vendors Come Under

                       Scrutiny (Exhibit 89).)

               f.      On March 3, 2020, it was reported that ES&S, Dominion, and Hart

                       InterCivic “together control about 90 percent of the U.S. market for voting

                       systems.” (11/3/20 Politico, Playbook PM: Halftime (Exhibit 98).)

               g.      On October 28, 2020, it was reported that ES&S and Dominion together

                       produce the technology used by over three-quarters of U.S. voters, and the

                       third-largest player was Hart InterCivic. (10/28/20 The Wall Street Journal,

                       Early Voting Shines Spotlight on Consolidated Voting-Equipment Market

                       (Exhibit 96).)

       218.    This type of publicly available information showed that Smartmatic’s election

technology, hardware, and software was not widely used in the 2020 U.S. election and was not

used in contested states.
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       219.      Third, each major company or manufacturer of election technology, hardware, and

software identified on their own websites the use of their technology, hardware, or software in the

2020 U.S. election before and during the disinformation campaign. This also showed the very

limited use of Smartmatic’s technology and software in the 2020 U.S. election (i.e., only in one

county in California). For example:

       220.      ES&S: Before and during the disinformation campaign, ES&S’s website provided

information that contradicted statements by Mr. Lindell about the use of Smartmatic’s election

technology in the 2020 U.S. election. For example, ES&S’s website identified the wide use of its

voting machines in the country, including its success in the 2020 election in Wisconsin and

Pennsylvania jurisdictions (both within contested states) and touted the success of its high-speed

ballot counting technology. (11/1/20 ES&S Website, Getting the facts straight about elections

(Exhibit 77); 11/11/20 ES&S Website, ES&S Equipment Efficiently, Accurately, Securely Records

Election History (Exhibit 78); 11/26/20 ES&S Website, Getting the facts straight about elections

(Exhibit 79).)

       221.      Hart InterCivic: Before and during the disinformation campaign, Hart InterCivic’s

website provided information that contradicted statements by Mr. Lindell about the use of

Smartmatic’s election technology in the 2020 U.S. election. For example, Hart InterCivic’s

website identified the wide use of its technology systems in the country. (9/25/20 Hart Website,

Voting System Security Technology (Exhibit 80); 9/28/20 Hart Website, More Texas Counties

Choose Hart InterCivic’s Verity Voting (Exhibit 81).)

       222.      Dominion: Before and during the disinformation campaign, Dominion’s website

provided information that contradicted statements by Mr. Lindell about the use of Smartmatic’s

election technology in the 2020 U.S. election. For example, Dominion’s website identified that it

was serving customers in 28 states and Puerto Rico. Its website indicates the states in which its
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machines were used for the 2020 election. (11/1/20 Dominion Website, About Dominion (Exhibit

69).)

        223.   Fourth, Smartmatic’s website provided information about the company, its

technology, hardware, and software, and its limited role in the 2020 U.S. election. Smartmatic’s

website stated as of November 14 that Smartmatic’s ballot marking devices were “used exclusively

in Lose [sic] Angeles County” and “were not used in any other state or any other jurisdiction in

California or anywhere else in the U.S.” (11/14/20 Smartmatic Website, Smartmatic Fact-checked

(Exhibit 65).) Smartmatic’s website stated as of November 16 that Smartmatic voting machines

were specifically not used in Pennsylvania, Georgia, Arizona, Nevada, Michigan, or North

Carolina. (11/16/20 Smartmatic Website, Smartmatic Fact-checked (Exhibit 66).)

        224.   Fifth, organizations involved in certifying voting technology like the Election

Assistance Commission (EAC) published information about the use of election technology in the

2020 U.S. election.

        225.   For example, all the “key battleground states” in the 2020 election use some aspect

of the federal testing and certification program for election technology and software. (NCSL,

Voting System Standards, Testing and Certification (Exhibit 112).) The U.S. Election Assistance

Commission (EAC) publicly identifies the voting systems that have been certified by the EAC by

county and state. It provides a table on its website where a user can determine the manufacturer,

product, and version of any technology and software used. It shows that Smartmatic was not used

in any of the contested states. (U.S. EAC System Certification Process and Table of Voting

Systems (Exhibit 113).)

        226.   Sixth, before and during the disinformation campaign, organizations who identify

and track election and voting equipment made information publicly available that showed the

limited role of Smartmatic and its election technology and software in the 2020 U.S. election. For
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example, Verified Voting (http://www.verifiedvoting.org) keeps a running map of all voting

equipment in the United States, broken down by county. Anyone can get on the website and look

up any county in the United States and determine whether a company’s voting technology or

software was used, and obtain detailed descriptions of it. (Verified Voting Website, The Verifier –

Search – November 2020 (Exhibit 114).)

       227.    Seventh, before the disinformation campaign, there was publicly available

information that contradicted statements that Smartmatic was denied use in the State of Texas.

Texas publicly identified on the website of its Secretary of State that it employed election systems

from three companies: (1) Dominion, (2) ES&S, and (3) Hart InterCivic. There was also

information publicly available that showed that it was Dominion—not Smartmatic—that had

previously had issues with the State of Texas, but regardless, any issues had been resolved by the

State of Texas since it selected and certified Dominion as one of its voting systems.

(VoteTexas.gov, How to Vote (Exhibit 116); Texas Secretary of State, Voting System

Examination(s) and Status for Dominion (Exhibit 117).)

       228.    Eighth, Smartmatic filed suit against Fox, Rudolph Giuliani, Sidney Powell,

Jeanine Pirro, Maria Bartiromo, and Lou Dobbs on February 4, 2021. (Dkt. 001, Smartmatic USA

Corp., et al. v. Fox Corporation et al., Supreme Court of the State of New York, County of New

York, Index No. 151136/2021 (Exhibit 138).) The suit laid out all of the above facts establishing

that Smartmatic’s election technology and software were only used in Los Angeles County and

were not used in any battleground states in the 2020 U.S. election.

       229.    Mr. Lindell knew that Smartmatic filed suit against Fox, Rudolph Giuliani, Sidney

Powell, Jeanine Pirro, Maria Bartiromo, and Lou Dobbs. Mr. Lindell discussed the suit publicly

during his disinformation campaign against Smartmatic. For example, on February 5, 2021, Mr.

Lindell appeared on Bannon’s War Room Podcast and said, “don’t forget Smartmatic they’re right
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in there, I think that they’re the ones that went after Fox.” (War Room podcast, February 5, 2021

(Exhibit 9).) On February 6, 2021, Mr. Lindell appeared on Bannon’s War Room Podcast and said,

“it’s not funny that they have perfect timing, that Smartmatic comes in and sues Fox yesterday and

gets rid of Lou Dobbs.” (War Room podcast, February 6, 2021 (Exhibit 11).)

                  2.     Mr. Lindell knew Smartmatic’s election technology, hardware, and
                         software were not used to steal the 2020 U.S. election.

       230.       A wealth of information was available to Mr. Lindell that showed his statements

about Smartmatic and the use of its technology, hardware, and software to steal the 2020 U.S.

election were false. Mr. Lindell either ignored this information, and thereby acted with reckless

disregard, or published his false statements knowing they were false based on this information.

       231.       First, before and during the disinformation campaign, there was publicly available

and easily accessible information showing that Smartmatic’s technology and software were not

used widely in the 2020 U.S. election (and only in Los Angeles County) and thus could not have

been used to steal a national election. This information is discussed above. This information also

made clear that the system Smartmatic provided to Los Angeles County does not count, tabulate,

or store votes and that County officials tabulate the votes by counting the paper ballots produced

by the system and cast by voters. (11/27/20 Smartmatic Website, Smartmatic Fact-checked

(Exhibit 67); 11/11/20 Smartmatic Website, Los Angeles County – Voting Solutions for All People

(Exhibit 103).)

       232.       Second, before the disinformation campaign, there was publicly available and

easily accessible information showing the efforts around securing the 2020 U.S. election, which

make claims of a fixed, rigged, and stolen election not credible.

       233.       For example, a joint statement was issued by national security agencies confirming

the security of the election infrastructure and process in place for the 2020 U.S. election and that

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any threats to the election would be vigilantly monitored. On November 5, 2019, the Department

of Justice (Attorney General William Barr), the Department of Defense (Secretary Mark Esper),

the Department of Homeland Security (Acting Secretary Kevin McAleenan), the Office of the

Director of National Intelligence (Acting Director Joseph Maguire), the FBI (Director Christopher

Wray), the National Security Agency (U.S. Cyber Command Commander and Director Gen. Paul

Nakasone), and the Cybersecurity Infrastructure Security Agency (Director Christopher Krebs)

issued a joint statement.

       234.    In the statement, they stated that “[e]lection security is a top priority for the U.S.

government” and that “[i]n an unprecedented level of coordination, the U.S. government is

working with all 50 states and territories, local officials, and private sector partners to identify

threats, broadly share information, and protect the democratic process.” “While at this time we

have no evidence of a compromise or disruption to election infrastructure that would enable

adversaries to prevent voting, change vote counts, or disrupt the ability to tally votes, we continue

to vigilantly monitor any threats to U.S. elections.” (11/5/19 FBI National Press Office, Joint

Statement from DOJ, DOD, DHS, DNI, FBI, NSA, and CISA on Ensuring Security of 2020

Elections (Exhibit 91).) No such threats were identified or reported by any of these agencies.

       235.    Third, before and during Defendants’ disinformation campaign, election experts

and officials published statements rejecting any claims of vote rigging for the 2020 U.S. election.

No state or federal government officials identified Smartmatic and its election technology and

software as being used or even potentially implicated in a computer fraud to steal the 2020 U.S.

election.

       236.    Indeed, election officials and election security experts have long been clear that

voter fraud is extraordinarily rare, and our system has strong checks in place to protect the integrity

of the voting process in the country. For example:
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          237.    On September 24, 2020, Christopher Wray, Director of the FBI, stated during a

hearing before the U.S. Senate Committee on Homeland Security and Government Affairs that

“we have not seen, historically, any kind of coordinated national voter fraud effort in a major

election, whether it’s by mail or otherwise.” (9/24/20 CNN Transcript (Exhibit 95); see also

9/24/20 C-SPAN Website, FBI Director Says He Has Not Seen National Voter Fraud Effort by

Mail.8)

          238.    On November 4, 2020, the National Association of Secretaries of State (NASS) and

the National Association of State Election Directors (NASED) issued a statement: “[o]ver the

course of the election, more than 100 million ballots were safely and securely cast, both in-person

and by mail.” (11/4/20 Post-Election Joint Statement from NASS and NASED (Exhibit 99).)

          239.    The NASS and NASED also issued a joint statement on October 30, 2020, to

“express their confidence in [the] nation’s elections systems, processes, safety and security.” It

further stated that “[s]tate election officials have been working diligently to bolster cybersecurity,

strengthen existing infrastructure, address election misinformation and disinformation, as well as

provide administrative and technical support for local election officials.” And it made clear that

“[v]oters and members of the media should be diligent in the face of election misinformation.

Think critically about the source of information before repeating or retweeting it … contact your

election official with any questions or concerns and follow verified election official social media

accounts.” (10/30/20 NASS and NASED 2020 Election Preparations and Reminders (Exhibit 97).)

          240.    On November 12, 2020, the U.S. Elections Infrastructure Government

Coordinating Council and the Election Infrastructure Sector Coordinating Executive Committees

issued a definitive statement that “[t]he November 3rd election was the most secure in American



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    Available at http://www.c-span.org.video/?c4909510/fbi-director-national-voter-fraud-effort-mail.
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history.” It further stated, “[t]here is no evidence that any voting system deleted or lost votes,

changed votes, or was in any way compromised.” And “[o]ther security measures like pre-election

testing, state certification of voting equipment, and the U.S. Election Assistance Commission’s

(EAC) certification of voting equipment help to build additional confidence in the voting systems

used in 2020.” (11/12/20 CISA, Joint Statement from Elections Infrastructure Government

Coordinating Council & the Election Infrastructure Sector Coordinating Executive Committee

(Exhibit 105).)

       241.       On November 16, 2020, a group of election security specialists issued a statement

saying that there was no credible evidence of computer fraud in the 2020 election outcome. These

specialists indicated they had studied the security of voting machines, voting systems, and

technology used for government elections for decades. They stated “[a]nyone asserting that a US

election was ‘rigged’ is making an extraordinary claim, one that must be supported by persuasive

and verifiable evidence. Merely citing the existence of technical flaws does not establish that an

attack occurred, much less that it altered an election outcome. It is simply speculation.” Further,

“[w]e are aware of alarming assertions being made that the 2020 election was ‘rigged’ by

exploiting technical vulnerabilities. However, in every case of which we are aware, these claims

either have been unsubstantiated or are technically incoherent. To our collective knowledge, no

credible evidence has been put forth that supports a conclusion that the 2020 election outcome in

any state has been altered through technical compromise.” (11/16/20 Letter from Election Security

Specialists (Exhibit 106) (emphasis in original.)

       242.       On November 19, 2020, it was reported that a spokeswoman for the National

Association of Secretaries of State (NASS) said, “[e]lections in the United States of America are

administered, run, counted and certified by state and local election officials. We have never heard


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of votes being tabulated in a foreign country.” (11/19/20 Verify, No evidence that presidential

election votes were tallied overseas (Exhibit 107).)

       243.       On November 29, 2020, a piece was published in which Chris Krebs, Former

Director of the CISA, stated that election day “was quiet. And there was no indication or evidence

that there was any evidence of hacking or compromise of election systems on, before, or after

November 3 … We did a good job. We did it right. I’d do it a thousand times over.” (11/30/20

CBS News, Fired Director of U.S. Cyber Agency Chris Krebs Explains Why President Trump’s

Claims of Election Interference Are False (Exhibit 110).)

       244.       On December 1, 2020, Attorney General William Barr stated that “To date, [DOJ

investigators] have not seen fraud on a scale that could have effected a different outcome in the

election.” (12/1/20 Associated Press, Disputing Trump, Barr says no widespread election fraud

(Exhibit 111).)

       245.       Fourth, individual states that were contested in the 2020 U.S. election performed

audits and/or issued statements verifying their election process and rejecting claims of fraud or

rigging. For example:

       246.       Georgia: A November 19, 2020 Audit Report for the Georgia Presidential Contest

stated “[f]rom November 11 to November 19, 2020, county election officials in Georgia,

conducted a statewide risk-limiting audit of the Presidential Contest from the November 2020

General Election, as ordered by the Georgia Secretary of State.” In reporting the outcome, it noted

“the audit confirmed the original result of the election, namely that Joe Biden won the Presidential

Contest in the State of Georgia.” (emphasis in original) (11/19/20 Georgia Risk-Limiting Audit

Report (Exhibit 43); see also 11/19/20 Georgia Secretary of State, Historic First Statewide Audit

of Paper Ballots Upholds Result of Presidential Race (Exhibit 44) (“Due to the tight margin of the

race and the principles of risk-limiting audits, this audit was a full manual tally of all votes cast.
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The audit confirmed that the original machine account accurately portrayed the winner of the

election.”).)

        247.    On November 30, 2020, Georgia’s Secretary of State, Brad Raffensperger, held a

press conference and made clear that none of the allegations of potential election violations cast

doubt on the integrity of the state’s election results. At the conference, he stated: “There are those

who are exploiting the emotions of many Trump supports with fantastic claims, half-truths,

misinformation, and, frankly, they are misleading the President as well apparently.” (11/30/20

Georgia Press Conference on 2020 Election Recount Update Transcript (Exhibit 45).)

        248.    On January 6, 2021, Georgia’s Secretary of State, Brad Raffensperger, sent a letter

to Congress with a “Point by Point Refutation of False Claims about Georgia Elections.” It

described the multiple steps taken to confirm that the Presidential selection result was accurate and

the software on the voting machines was accurate. It includes a section that addresses the

allegations regarding Dominion Voting Machines and clearly states the claims were false. (1/6/21

Georgia Secretary of State Letter to Congress (Exhibit 47).)

        249.    Michigan: Michigan’s Bureau of Election made information about its election

security available on its website, www.Michigan.gov/ElectionSecurity, including that “[t]here is

no evidence voting machines in Michigan have ever been compromised or that votes have been

changed.” (1/5/21 Michigan Secretary of State, Michigan’s election was secure and fair, and the

results are accurate (Exhibit 51).)

        250.    Pennsylvania: On November 12, 2020, Governor Tom Wolf tweeted, from his

official government account, “Allegations of fraud and illegal activity have been repeatedly

debunked. Pennsylvania      had   a   free,   fair,   and   secure   election.” (11/12/20    Twitter,

@GovernorTomWolf (Exhibit 55).)


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       251.      On November 13, 2020, Governor Wolf issued the following statement: “All

Pennsylvanians can have confidence in our election system and the accuracy of the vote.” “The

U.S. Department of Homeland Security’s conclusion that our nation had the most secure election

in history reaffirms the commitment to protecting our votes by local, state and national

officials. Allegations of fraud and unfounded rumors of illegal activity have been repeatedly

debunked. Those deliberate and false attacks are un-American and harm our democracy, and we

should reject them. I thank the election and cyber-security experts for verifying that our nation’s

election was protected and secure.” (11/13/20 Governor Tom Wolf: U.S. Election was ‘most secure

in American history’ Federal Agency says (Exhibit 56).)

       252.      Arizona: On December 1, 2020, in response to allegations from former President

Trump that Arizona’s election had been tainted by “corruption,” Governor Doug Ducey issued a

nine-tweet thread explaining that Arizona’s election had been fair and free from

fraud. Specifically, he stated: “In Arizona, we have some of the strongest election laws in the

country, laws that prioritize accountability and clearly lay out procedures for conducting,

canvassing, and even contesting the results of an election.” (12/1/20 Twitter, @DougDoucey

(Exhibit 58).)

       253.      Wisconsin: On or about December 16, 2020, Wisconsin’s Elections Commission,

on its website, answered the question of whether Dominion voting equipment flipped votes from

Trump to Biden: “[a]bsolutely not. Twenty-eight reporting units using Dominion systems were

randomly selected after the election and audited for the Presidential contest, and all the audits

confirmed that the hand-counted paper ballots exactly matched the electronic results from the

machines.” It also answered the question of whether there was widespread fraud in the 2020

election - saying there was no evidence of such fraud. And it stated that the claims made about


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Dominion have not been substantiated. (12/16/20 Wisconsin Elections Commission, Did

Dominion Voting Equipment Slip Votes from Trump to Biden? (Exhibit 61).)

       254.      Nevada: On November 5, 2020, Nevada Governor Steve Sisolak held a press

conference, in which he stated: “Nevada is widely recognized as being a leader in election

administration, and I continue to have the utmost confidence in the abilities of Nevada’s local

election officials and Secretary of State Barbara Cegavske to accurately count every eligible vote

cast in the Silver State. Our election administration officials are required to keep counting under

state law and that is exactly what they’ll do until every vote is counted. Despite national pressure,

our election officials and public servants continue to prioritize accuracy and fairness in this

process. That should make all Nevadans proud. I ask all Nevadans to support our election workers,

trust this process and respect the results when they are certified as final.” (11/5/20 Nevada

Governor, Governor Sisolak issues statement on President Trump’s comments on the election

(Exhibit 63).)

       255.      And Nevada state officials have expressly stated after certification of the election

results that there was no evidence of voter fraud. In Secretary of State Barbara Cegavske’s Facts

v. Myths: Nevada 2020 Post-General Election document, posted on the Nevada Secretary of State

website, the Secretary stated, “we have yet to see any evidence of widespread fraud.” (Nevada

Secretary of State, Facts v. Myths: Nevada 2020 Post-General Election (Exhibit 64).)

       256.      In addition, on November 10, 2020, the New York Times reported contacting

officials in every state on November 9 and 10, and that officials in all states but Texas reported no

major voting issues. (11/10/20 The New York Times, The Times Called Officials in Every State:

No Evidence of Voter Fraud (Exhibit 101).)

       257.      Fifth, election technology companies issued public statements rejecting claims of

fraud or rigging the 2020 U.S. election. For example, on November 7, 2020, Dominion issued a
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statement that “[t]here are no credible reports or evidence of any system software errors in Georgia

or Michigan.” (11/7/20 Dominion Website, Statement on Viral Claims/Rumors About Dominion

Voting Systems (Exhibit 70).)

       258.    On November 13, 2020, Dominion’s website included a page to set the record

straight, including that the U.S. Department of Homeland Security’s Cybersecurity and

Infrastructure Security Agency (CISA) has debunked claims of voter fraud: “There is no evidence

that any voting system deleted or lost votes, changed votes or was in any way compromised.” It

further stated “[n]o credible reports or evidence of any software issues exist.” (11/13/20 Dominion

Website, Election 2020: Setting the Record Straight: Facts & Rumors (Exhibit 71); 11/17/20

Dominion Website, Setting the Record Straight, Facts & Rumors (Exhibit 72); 12/3/20 Dominion

Website, Election 2020: Setting the Record Straight: Facts & Rumors (Exhibit 76).)

       259.    Sixth, on December 23, 2020, January 8, 2021, and February 4, 2021, Dominion

sent retraction demand letters to Mr. Lindell, putting him on notice that his statements were false.

(US Dominion, Inc., Retraction Demand Letters to Lindell (Exhibit 38).) In the January 8 letter,

Dominion attached five publicly available news articles that specifically confirmed there was no

rigging, hacking, or manipulation of votes in the 2020 election. (Id.) The January 8 letter put Mr.

Lindell on notice that Maricopa County, Arizona’s Board of Supervisors Chairman Clint Hickman

(a Republican) reported on November 17, 2020, that there was “no evidence of fraud or

misconduct” in the 2020 election. The January 8 letter put Mr. Lindell on notice that the Arizona

Secretary of State Katie Hobbs stated on December 4, 2020, “the facts remain that this historic

election had tremendous turnout and was both secure and accurate.” The January 8 letter put Mr.

Lindell on notice that “[e]very single vote can be audited with hand counts.” The January 8 letter

put Mr. Lindell on notice that Georgia’s Voting System Implementation Manager said, on

November 30, 2020, “I can guarantee that this is the most secure election in the State of Georgia.”
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       260.    Seventh, multiple federal district courts rejected allegations that the 2020 U.S.

election was “rigged” before Mr. Lindell began making defamatory statements about Smartmatic.

See, e.g., King v. Whitmer, 505 F. Supp. 3d 720, 738 (E.D. Mich. 2020) (denying the requested

relief because plaintiffs offered “nothing but speculation and conjecture that votes for President

Trump were destroyed, discarded or switched to votes for Vice President Biden”); Bowyer v.

Ducey, 506 F. Supp. 3d 699, 721 (D. Ariz. 2020) (dismissing the case and finding over 300 pages

of attachments to the complaint were “based on anonymous witnesses, hearsay, and irrelevant

analysis of unrelated elections,” and holding that the allegations were “sorely wanting of relevant

or reliable evidence”); Donald J. Trump for President, Inc. v. Sec’y of Pa., 830 F. App’x 377, 381

(3d Cir. 2020) (“Free, fair elections are the lifeblood of our democracy. Charges of unfairness are

serious. But calling an election unfair does not make it so. Charges require specific allegations and

then proof. We have neither here.”).

       261.    Eighth, Smartmatic filed suit against Fox, Rudolph Giuliani, Sidney Powell,

Jeanine Pirro, Maria Bartiromo, and Lou Dobbs on February 4, 2021. (Dkt. 001, Smartmatic USA

Corp., et al. v. Fox Corporation et al., Supreme Court of the State of New York, County of New

York, Index No. 151136/2021 (Exhibit 138).) The suit laid out all of the above facts establishing

that Smartmatic’s technology, hardware, and software was not used to steal the 2020 U.S. election.

       262.    Mr. Lindell knew that Smartmatic filed suit against Fox, Rudolph Giuliani, Sidney

Powell, Jeanine Pirro, Maria Bartiromo, and Lou Dobbs. Mr. Lindell discussed the suit publicly

during his disinformation campaign against Smartmatic. For example, on February 5, 2021, Mr.

Lindell appeared on Bannon’s War Room Podcast and said, “don’t forget Smartmatic they’re right

in there, I think that they’re the ones that went after Fox.” (War Room podcast, February 5, 2021

(Exhibit 9).) On February 6, 2021, Mr. Lindell appeared on Bannon’s War Room Podcast and said,


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“it’s not funny that they have perfect timing, that Smartmatic comes in and sues Fox yesterday and

gets rid of Lou Dobbs.” (War Room podcast, February 6, 2021 (Exhibit 11).)

                3.     Mr. Lindell knew that Smartmatic’s election technology and software
                       were not connected to the Internet during the 2020 U.S. election.

         263.   Information was available to Mr. Lindell that showed his statements about

Smartmatic’s election technology and software being connected to the Internet during active

ballot-casting were false. Mr. Lindell either ignored this information, and thereby acted with

reckless disregard, or published his false statements knowing they were false based on this

information.

         264.   First, there were articles available on Smartmatic’s website before and during the

disinformation campaign about the use of Smartmatic’s technology and software in Los Angeles

County (and owned by the county). These articles show that the technology is not connected to the

Internet, is not used to count votes, and does not store any data. It is noted that county officials

tabulate votes by counting the paper ballots produced by the devices and cast by voters. (See, e.g.,

11/11/20 Smartmatic Website, Los Angeles County—Voting Solutions for All People (Exhibit

103).)

         265.   Second, before and during the disinformation campaign, Dominion issued a similar

statement contradicting claims related to any voting machines using the Internet during active

ballot-casting. (11/13/20 Dominion Website, Election 2020: Setting the Record Straight: Facts &

Rumors (Exhibit 71); 11/21/20 Dominion Website, Election 2020: Setting the Record Straight,

Fact Versus Rumors (Exhibit 73); 11/26/20 Dominion Website, Statement from Dominion on

Sidney Powell’s Charges (Exhibit 75); 12/3/20 Dominion Website, Election 2020: Setting the

Record Straight: Facts & Rumors (Exhibit 76).)




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       266.    Third, Smartmatic filed suit against Fox, Rudolph Giuliani, Sidney Powell, Jeanine

Pirro, Maria Bartiromo and Lou Dobbs on February 4, 2021. (Dkt. 001, Smartmatic USA Corp., et

al. v. Fox Corporation et al., Supreme Court of the State of New York, County of New York,

Index No. 151136/2021 (Exhibit 138).) The suit included as an exhibit a Smartmatic website page

establishing that Smartmatic’s election technology was not connected to the Internet.

       267.    Mr. Lindell knew that Smartmatic filed suit against Fox, Rudolph Giuliani, Sidney

Powell, Jeanine Pirro, Maria Bartiromo, and Lou Dobbs. Mr. Lindell discussed the suit publicly

during his disinformation campaign against Smartmatic. For example, on February 5, 2021, Mr.

Lindell appeared on Bannon’s War Room Podcast and said, “don’t forget Smartmatic they’re right

in there, I think that they’re the ones that went after Fox.” (War Room podcast, February 5, 2021

(Exhibit 9).) On February 6, 2021, Mr. Lindell appeared on Bannon’s War Room Podcast and said,

“it’s not funny that they have perfect timing, that Smartmatic comes in and sues Fox yesterday and

gets rid of Lou Dobbs.” (War Room podcast, February 6, 2021 (Exhibit 11).)

               4.     Mr. Lindell knew that Smartmatic’s election technology and software
                      were not compromised or hacked by China or other foreign countries
                      during the 2020 U.S. election.

       268.    Information was available to Mr. Lindell that showed his statements about

Smartmatic’s election technology and software being compromised or hacked during the 2020

U.S. election were false. Mr. Lindell either ignored this information, and thereby acted with

reckless disregard, or published the false statements knowing they were false based on this

information.

       269.    First, as discussed above, before and during the disinformation campaign, there was

publicly available and easily accessible information that Smartmatic’s technology and software

were used in only one county in the 2020 U.S. election, Los Angeles County. Mr. Lindell’s

statements about compromises and/or hacking for the 2020 U.S. election primarily related to
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contested states and did not include the one state where Smartmatic’s election technology and

software were used (California was not contested).

       270.    Second, before and during the disinformation campaign, there was publicly

available information that showed there were no issues in the one county where Smartmatic’s

election technology and software were used during the 2020 U.S. election, Los Angeles County.

Smartmatic and its system came through the 2020 election in that county “with flying colors” as

noted by an initial case study made available on its website. There are no reports that Smartmatic’s

election technology and software had been compromised or hacked. (11/11/20 Smartmatic

Website, Los Angeles County – Voting Solutions for All People (Exhibit 103); 11/10/20 Los

Angeles Times, L.A.’s $300-million voting systems gets high marks as votes trickle in across

California (Exhibit 102).)

       271.    There was also information publicly available before the disinformation campaign

about the work of Los Angeles County to certify Smartmatic’s voting system for use, including

descriptions of the state testing and certification process that exceeds the guidelines recommended

by the U.S. Elections Assistance Commission (EAC) (and California’s standards are also

considered the most rigorous in the country). That information showed that every system goes

through functional testing, source code review, accessibility and volume testing, and red team

security testing that involved experts trying to “break into” the voting system. Smartmatic’s system

for Los Angeles County passed. (10/1/20 California Secretary of State Press Release, Los Angeles

County Launches VSAP 2.1 Voting System Certified (Exhibit 39); 12/15/20 California Secretary

of State Website, Voting Technologies Approved for Use in California (Exhibit 41).)

       272.    The Smartmatic system that was actually used in the general election for Los

Angeles County was VSAP 2.1, which was certified by California in October 2020. California

Secretary of State Padilla said in a press release that VSAP was a “historic milestone in election
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administration” and that the “public design and testing process for VSAP was one of the lengthiest

and most inclusive ever conducted for voting technology.” (10/1/20 California Secretary of State

Press Release, Los Angeles County Launches VSAP 2.1 Voting System Certified (Exhibit 39).)

Secretary Padilla said that the system underwent functional testing and source code review, among

other things, and that California’s Voting System Standards exceed the Voluntary Voting System

Guidelines recommended by the U.S. Elections Assistance Commission and “are considered the

most rigorous in the country.” In his October 1, 2020 certification, Secretary Padilla stated that

VSAP 2.1 “satisfies the accuracy, accessibility, usability, and security standards set forth in the

California Voting Systems Standards and California law.” (10/1/20 California Secretary of State,

Conditional Approval of Los Angeles County’s Voting Solutions for All People (VSAP) 2.1 Voting

Systems (Exhibit 40).)

       273.    Third, as discussed above, before and during the disinformation campaign, there

was publicly available information that the 2020 U.S. election was secure, and federal, state, and

local officials confirmed there was no basis to any claims of hacking. For example:

               a.        On November 4, 2020, the Director of the Cybersecurity and Infrastructure

                         Security Agency issued a statement that “after millions of Americans voted,

                         we have no evidence any foreign adversary was capable of preventing

                         Americans from voting or changing vote tallies.” (11/4/20 CISA, Statement

                         from CISA Director Krebs Following Final Day of Voting (Exhibit 100).)

               b.        On November 12, 2020, the U.S. Elections Infrastructure Government

                         Coordinating Council and the Election Infrastructure Sector Coordinating

                         Executive Committees issued a joint statement that “[t]he November 3rd

                         election was the most secure in American history. Right now, across the

                         country, election officials are reviewing and double checking the entire
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                  election process prior to finalizing the result.” It further stated, “[t]here is

                  no evidence that any voting system deleted or lost votes, changed votes, or

                  was in any way compromised.” And “[o]ther security measures like pre-

                  election testing, state certification of voting equipment, and the U.S.

                  Election Assistance Commission’s (EAC) certification of voting equipment

                  help to build additional confidence in the voting systems used in 2020.”

                  “While we know there are many unfounded claims and opportunities for

                  misinformation about the process of our selections, we can assure you we

                  have the utmost confidence in the security and integrity of our elections,

                  and you should too.” (11/12/20 CISA, Joint Statement from Elections

                  Infrastructure Government Coordinating Counsel & the Election

                  Infrastructure Sector Coordinating Executive Committee (Exhibit 105).)

            c.    On November 12, 2020, a competitor company’s Vice Chair, Sam

                  Derheimer, signed the Joint Statement from the Elections Infrastructure

                  Government Coordinating Council & the Election Infrastructure Sector

                  Coordinating Executive Committees providing that “There is no evidence

                  that any voting system deleted or lost votes, changed votes, or was in any

                  compromised.” (11/12/20 CISA, Joint Statement from Elections

                  Infrastructure Government Coordinating Council & the Election

                  Infrastructure Sector Coordinating Executive Committee (Exhibit 105).)

            d.    On December 1, 2020, Attorney General Barr specifically addressed

                  Defendants claims about Smartmatic and Dominion in an interview with the

                  Associated Press: “There’s been one assertion that would be systemic fraud

                  and that would be the claim that machines were programmed essentially to
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                  skew the election results. And the DHS and DOJ have looked into that, and

                  so far, we haven’t seen anything to substantiate that.” (12/1/20 Associated

                  Press, Disputing Trump, Barr says no widespread election fraud (Exhibit

                  111).)

            e.    On June 23, 2021, the Republican-led Michigan Senate Oversight

                  Committee, chaired by Trump ally Senator Ed McBroom, released a 55-

                  page report, which stated that “The Committee found no evidence of

                  widespread or systemic fraud in Michigan’s prosecution of the 2020

                  election” and expressed total confidence that the state’s 2020 election

                  outcome—that Biden defeated Trump by about 155,000 votes, or 2.8%—

                  “represent[s] the true results of the ballots cast by the people of Michigan.”

                  (6/23/21, Michigan Senate Oversight Committee, Report on the November

                  2020 Election in Michigan (Exhibit 133).)

            f.    On June 24, 2021, the Supreme Court of the State of New York, Appellate

                  Division, First Judicial Department, suspended Rudolph Giuliani from the

                  practice of law after it determined that he had “made knowing false and

                  misleading factual statements to support his claim that the presidential

                  election was stolen from his client [Donald Trump],” based on

                  “uncontroverted evidence” that he made “demonstrably false and

                  misleading statements to courts, lawmakers and the public at large in his

                  capacity as lawyer for former President Donald J. Trump and the Trump

                  campaign in connection with Trump’s failed effort at reelection in 2020.”

                  (Matter of Giuliani, 1976 A.D.3d 1, 4 (1st Dep’t 2021) (Exhibit 134).)


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               g.     On June 27, 2021, reporting revealed that Attorney General William Barr

                      had “received two briefings from cybersecurity experts at the Department

                      of Homeland Security and the FBI” about the allegations of rigged voting

                      machines, after which he and his team at the Department of Justice “realized

                      from the beginning it was just bullshit.” Barr further disclosed that “even if

                      the machines somehow changed the count, it would show up when they

                      were recounted by hand,” and that Dominion’s machines were just

                      “counting machine[s], and they save everything that was counted. So you

                      just reconcile the two. There had been no discrepancy reported anywhere,

                      and I’m still not aware of any discrepancy.” (6/27/21 The Atlantic, Inside

                      William Barr’s Breakup with Trump (Exhibit 135).)

               h.     On August 3, 2021, a federal judge in Colorado disciplined two lawyers

                      who filed a frivolous lawsuit based on lies against Dominion following the

                      election, concluding that the case was frivolous and brought in bad faith. In

                      his 68-page opinion, Judge N. Reid Neureiter concluded: “Albeit

                      disorganized and fantastical, the Complaint’s allegations are extraordinarily

                      serious and, if accepted as true by large numbers of people, are the stuff of

                      which violent insurrections are made.” (O’Rourke et al. v. Dominion Voting

                      Systems, Inc. et al., No. 20-cv-3747, 2021 WL 3400671 (D. Colo. Aug. 3,

                      2021) (Exhibit 136).)

       274.    Fourth, there was publicly available information by government officials that have

authority over the election process about procedures and processes to test and certify any election

technology used, including for the 2020 U.S. election. The information clearly shows various and


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rigorous testing and certification processes to prevent hacking or any compromise to the voting

systems during the election. (CISA, #Protect2020 Rumor vs. Reality (Exhibit 115).)

       275.    Fifth, before and during the disinformation campaign, Smartmatic’s website

indicated that its technology had been validated by institutions such as the Carter Center, the

United Nations, the Organization of American States, and the European Union. Smartmatic also

provided information that its election software had processed more than 5 billion votes over 20

years without a breach. (11/27/20 Smartmatic Website, Smartmatic Fact-checked (Exhibit 67).)

       276.    Sixth, before and during the disinformation campaign, there was publicly available

information that before use in elections, voting systems undergo hardware and software testing to

ensure they are consistent with state and/or federal requirements. Under these programs, voting

system manufacturers submit their systems to undergo testing and review by an accredited

laboratory or state testers. This testing checks if systems function as designed and meet applicable

state and/or federal requirements or standards for accuracy, privacy, and accessibility. Certification

testing usually includes a review of a system’s source code as well as environmental, security, and

functional testing. (CISA, #Protect2020 Rumor vs. Reality (Exhibit 115).)

       277.    Seventh, as discussed above, on January 8, 2021, Dominion sent Mr. Lindell a

retraction demand letter, officially putting him on notice that his claims about voting machine

fraud were false, and that Georgia and Arizona had both publicly confirmed the results of the 2020

election. (US Dominion Inc., Retraction Demand Letters to Lindell (Exhibit 38).)

       278.    Eighth, Smartmatic filed suit against Fox, Rudolph Giuliani, Sidney Powell,

Jeanine Pirro, Maria Bartiromo, and Lou Dobbs on February 4, 2021. (Dkt. 001, Smartmatic USA

Corp., et al. v. Fox Corporation et al., Supreme Court of the State of New York, County of New

York, Index No. 151136/2021 (Exhibit 138).) The suit laid out many of the above facts establishing


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that Smartmatic’s election technology and software were not hacked by any foreign country,

including China.

       279.    Mr. Lindell knew that Smartmatic filed suit against Fox, Rudolph Giuliani, Sidney

Powell, Jeanine Pirro, Maria Bartiromo, and Lou Dobbs. Mr. Lindell discussed the suit publicly

during his disinformation campaign against Smartmatic. For example, on February 5, 2021, Mr.

Lindell appeared on Bannon’s War Room Podcast and said, “don’t forget Smartmatic they’re right

in there, I think that they’re the ones that went after Fox.” (War Room podcast, February 5, 2021

(Exhibit 9).) On February 6, 2021, Mr. Lindell appeared on Bannon’s War Room Podcast and said,

“it’s not funny that they have perfect timing, that Smartmatic comes in and sues Fox yesterday and

gets rid of Lou Dobbs.” (War Room podcast, February 6, 2021 (Exhibit 11).)

               5.      Mr. Lindell knew that Smartmatic’s election technology, hardware,
                       and software were not used by Dominion or ES&S during the 2020 U.S.
                       election.

       280.    Information was available to Mr. Lindell that showed his statements about

Smartmatic’s election technology, hardware, and software being used by Dominion and/or ES&S

in the 2020 U.S. election were false. Mr. Lindell either ignored this information, and thereby acted

with reckless disregard, or published his false statements knowing they were false based on this

information.

       281.    First, before and during the disinformation campaign, there was publicly available

and easily accessible information that shows Smartmatic, Dominion, and ES&S are all separate

companies.

       282.    For example, the state filings for Smartmatic, Dominion, and ES&S show that they

are three separate companies. (3/30/20 Smartmatic USA Corp., Annual Report filed with Florida

Secretary of State (Exhibit 94); 6/25/10 Dominion Voting Systems, Inc., Statement of Foreign

Entity Authority filed with Colorado Secretary of State (Exhibit 82); 6/21/2019 ES&S, Letter to
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North Carolina State Board of Elections and Ethics Enforcement, Ownership of Electronic

Systems & Software, LLC (Exhibit 139).)

       283.    There was also litigation between the Dominion and Smartmatic, and the public

filings clearly establish those two companies are separate, they are competitors, and that their

technology is separate. (9/18/12 Smartmatic Press Release, Smartmatic International Sues

Dominion Voting Systems for Licensing Breach and Improper Business Practices (Exhibit 83);

5/1/13 Mem. Opinion in Smartmatic Int’l Corp. v. Dominion Voting Systems Int’l Corp., No. 7844-

VCP (Del. Ch.) (Exhibit 85).)

       284.    Second, as discussed above, before and during the disinformation campaign, there

was publicly available and easily accessible information that Smartmatic’s election technology

and software were used in only one county in the 2020 U.S. election, Los Angeles County.

(Verified Voting Website, The Verifier – Search – November 2020, Filtered for Make:

Smartmatic/Los Angeles County (Exhibit 118).)

       285.    Smartmatic’s own website also had information that made clear that Smartmatic

had no ties to Dominion Voting Systems—no ownership ties, no software leasing, and no business

at all between the two companies. It further noted that in 2009, Smartmatic licensed scanning

machines from Dominion for use in the Philippines for a Smartmatic election project, which was

the only contract with Dominion, that it was short-lived, and ended in a lawsuit. It further noted

that that was the first and last time that Smartmatic and Dominion tried to do business together.

(11/27/20 Smartmatic Website, Smartmatic Fact-checked (Exhibit 67).)

       286.    Third, Dominion’s website similarly provided information that made clear it was a

distinctly separate company from, and fierce competitor to Smartmatic, and not using

Smartmatic’s election technology and software. (11/13/20 Dominion Website, Election 2020:

Setting the Record Straight: Facts & Rumors (Exhibit 71); 11/17/20 Dominion Website, Election
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2020: Setting the Record Straight, Fact Versus Rumors (Exhibit 72); 11/21/20 Dominion Website,

Election 2020: Setting the Record Straight, Fact Versus Rumors (Exhibit 73); 11/25/20 Dominion

Website, Election 2020: Setting the Record Straight, Fact Versus Rumors (Exhibit 74); 11/26/20,

Dominion Website, Statement from Dominion on Sidney Powell’s Charges (Exhibit 75); 12/3/20

Dominion Website, Election 2020: Setting the Record Straight, Fact Versus Rumors (Exhibit 76).)

       287.    Fourth, ES&S’s website made available information that its voting systems do not

use Smartmatic software, and that it has no financial or ownership ties to any other voting system

manufacturer. (11/29/2021 ES&S Website, Let’s get the facts straight (Exhibit 120); 12/25/2021

ES&S Website, Let’s get the facts straight (Exhibit 121); 1/2/2021 ES&S Website, Let’s get the

facts straight (Exhibit 122).)

       288.    Fifth, before and during the disinformation campaign, there was publicly available

and easily accessible information related to the election technology used in each county and state

that showed the specific systems and technology and software used in such county and state, along

with the manufacturers identity. This information showed that Smartmatic’s technology, hardware,

and software were not used by Dominion or ES&S in the 2020 U.S. election.

       289.    For example, Verified Voting (http://www.verifiedvoting.org) keeps a running map

of all voting equipment in the United States, broken down by county. It separates voting equipment

into three categories—hand marked paper ballots, ballot marking devices (BMDs) and systems,

and direct recording electronic (DRE) systems. It identifies for each county in every state the

polling place equipment, including the type of equipment used, the make, and the model. Any

company that makes the equipment used is identified. The specific technology and software used

by Dominion and ES&S in the 2020 U.S. election can be found and is described in detail for each

county. (Verified Voting Website, The Verifier – Search – November 2020, Filtered for Make:

Dominion Voting Systems (Exhibit 119).)
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       290.    Sixth, before and during Mr. Lindell’s disinformation campaign against

Smartmatic, Dominion filed suit against Sidney Powell (January 8, 2021); Rudolph Giuliani

(January 25, 2021); Mr. Lindell (February 22, 2021); and Fox News Network (March 26, 2021).

Dkt. 001, US Dominion, Inc. et al., v. Sidney Powell et al., D.D.C., No. 21-cv-00040-CJN; Dkt.

001, US Dominion, Inc. et al., v. Rudolph W. Giuliani, D.D.C., No. 2021-cv-00213; Dkt. 001, US

Dominion, Inc. et al., v. My Pillow, Inc. and Michael J. Lindell, D.D.C., No. 21-cv-00445; Dkt.

001, US Dominion, Inc. et al., v. Fox News Network, LLC, Delaware Superior Court, No. N21C-

03-257 EMD. These suits laid out many facts establishing that Smartmatic and Dominion were

separate companies that used separate election technology and software during the 2020 U.S.

election.

       291.    Seventh, Smartmatic filed suit against Fox, Rudolph Giuliani, Sidney Powell,

Jeanine Pirro, Maria Bartiromo, and Lou Dobbs on February 4, 2021. (Dkt. 001, Smartmatic USA

Corp., et al. v. Fox Corporation et al., Supreme Court of the State of New York, County of New

York, Index No. 151136/2021 (Exhibit 138).) The suit laid out many of the above facts establishing

that Smartmatic, Dominion, and ES&S were separate companies that used separate election

technology and software during the 2020 U.S. election.

       292.    Mr. Lindell knew that Smartmatic filed suit against Fox, Rudolph Giuliani, Sidney

Powell, Jeanine Pirro, Maria Bartiromo, and Lou Dobbs. Mr. Lindell discussed the suit publicly

during his disinformation campaign against Smartmatic. For example, on February 5, 2021, Mr.

Lindell appeared on Bannon’s War Room Podcast and said, “don’t forget Smartmatic they’re right

in there, I think that they’re the ones that went after Fox.” (War Room podcast, February 5, 2021

(Exhibit 9).) On February 6, 2021, Mr. Lindell appeared on Bannon’s War Room Podcast and said,

“it’s not funny that they have perfect timing, that Smartmatic comes in and sues Fox yesterday and

gets rid of Lou Dobbs.” (War Room podcast, February 6, 2021 (Exhibit 11).)
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               6.        Mr. Lindell knew that Smartmatic was not engaged in a widespread
                         criminal conspiracy to steal the 2020 U.S. election.

       293.    Information was available to Mr. Lindell that showed his statements about

Smartmatic being engaged in a widespread criminal conspiracy to steal the 2020 U.S. election

were false. Mr. Lindell either ignored this information, and thereby acted with reckless disregard,

or published his false statements knowing they were false based on this information.

       294.    First, as discussed above, on January 8, 2021, Dominion sent Mr. Lindell a

retraction demand letter, officially putting him on notice that his claims about voting machine

fraud were false. (US Dominion, Inc., Retraction Demand Letters to Lindell (Exhibit 38).) The

letter put Mr. Lindell on notice that he “quote-tweeted facially unreliable and discredited

falsehoods” and “gave empty assurances” of “overwhelming proof” of wrongdoing. The letter

informed Mr. Lindell that he has “failed to identify a scintilla of credible evidence that even

suggests that Dominion is somehow involved in a global conspiracy to harvest millions of votes

in favor of President-elect Biden” because “no such evidence exists.”

       295.    Second, before and during the disinformation campaign, Smartmatic’s website

noted that it does not have any plans, schemes or “deals” with anyone—government or business—

to rig or steal elections, including the 2020 U.S. election. It also stated that its founders adhere to

a strict ethics code that prohibits them from making political donations. (11/14/20 Smartmatic

Website, Smartmatic Fact-checked (Exhibit 65); 11/27/20 Smartmatic Website, Smartmatic Fact-

checked (Exhibit 67).)

       296.    Third, before and during Mr. Lindell’s disinformation campaign against

Smartmatic, Dominion filed suit against Sidney Powell (January 8, 2021); Rudolph Giuliani

(January 25, 2021); Mr. Lindell (February 22, 2021); and Fox News Network (March 26, 2021).

Dkt. 001, US Dominion, Inc. et al., v. Sidney Powell et al., D.D.C., No. 21-cv-00040-CJN; Dkt.

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001, US Dominion, Inc. et al., v. Rudolph W. Giuliani, D.D.C., No. 2021-cv-00213; Dkt. 001, US

Dominion, Inc. et al., v. My Pillow, Inc. and Michael J. Lindell, D.D.C., No. 21-cv-00445; Dkt.

001, US Dominion, Inc. et al., v. Fox News Network, LLC, Delaware Superior Court, No. N21C-

03-257 EMD. These suits laid out many facts establishing that Smartmatic and Dominion were not

involved in a criminal conspiracy to steal the 2020 U.S. election.

       297.    Fourth, Smartmatic filed suit against Fox, Rudolph Giuliani, Sidney Powell,

Jeanine Pirro, Maria Bartiromo, and Lou Dobbs on February 4, 2021. (Dkt. 001, Smartmatic USA

Corp., et al. v. Fox Corporation et al., Supreme Court of the State of New York, County of New

York, Index No. 151136/2021 (Exhibit 138).) The suit laid out the above facts establishing that

Smartmatic was not involved in a criminal conspiracy to steal the 2020 U.S. election.

       298.    Fifth, multiple federal district courts rejected allegations that the 2020 U.S. election

was “rigged” before Mr. Lindell began making defamatory statements about Smartmatic. See, e.g.,

King v. Whitmer, 505 F. Supp. 3d 720, 738 (E.D. Mich. 2020) (denying the requested relief because

plaintiffs offered “nothing but speculation and conjecture that votes for President Trump were

destroyed, discarded or switched to votes for Vice President Bide.”); Bowyer v. Ducey, 506 F.

Supp. 3d 699, 721 (D. Ariz. 2020) (dismissing the case and finding over 300 pages of attachments

to the complaint were “based on anonymous witnesses, hearsay, and irrelevant analysis of

unrelated elections,” and holding that the allegations were “sorely wanting of relevant or reliable

evidence”); Donald J. Trump for President, Inc. v. Sec’y of Pa., 830 F. App’x 377, 381 (3d Cir.

2020) (“Free, fair elections are the lifeblood of our democracy. Charges of unfairness are serious.

But calling an election unfair does not make it so. Charges require specific allegations and then

proof. We have neither here.”).

       299.    Mr. Lindell knew that Smartmatic filed suit against Fox, Rudolph Giuliani, Sidney

Powell, Jeanine Pirro, Maria Bartiromo, and Lou Dobbs. Mr. Lindell discussed the suit publicly
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during his disinformation campaign against Smartmatic. For example, on February 5, 2021, Mr.

Lindell appeared on Bannon’s War Room Podcast and said, “don’t forget Smartmatic they’re right

in there, I think that they’re the ones that went after Fox.” (War Room podcast, February 5, 2021

(Exhibit 9).) On February 6, 2021, Mr. Lindell appeared on Bannon’s War Room Podcast and said,

“it’s not funny that they have perfect timing, that Smartmatic comes in and sues Fox yesterday and

gets rid of Lou Dobbs.” (War Room podcast, February 6, 2021 (Exhibit 11).)

               7.      Mr. Lindell knew Smartmatic’s election technology and software has
                       not been designed and used to steal elections.

       300.    Information was available to Mr. Lindell that showed his statements about

Smartmatic’s election technology and software being designed and used to steal elections were

false. Mr. Lindell either ignored this information, and thereby acted with reckless disregard, or

published his false statements knowing they were false based on this information.

       301.    First, before and during the disinformation campaign, information about audited

elections that Smartmatic participated in, all over the world, was publicly available, and such

information does not support statements that it has been used to steal elections.

       302.    Second, before and during the disinformation campaign, information about the

success and security of Smartmatic’s election technology and software was publicly available from

its website. For example, its website stated that its election technology had handled billions of

votes in election projects on five continents without a single discrepancy and has never been

compromised. Its election technology and software were designed to ensure secure, transparent,

and auditable elections (and not to change votes or rig elections). (Smartmatic Website, Facts

About Smartmatic (Exhibit 68).)

       303.    There was publicly available information at the time of the disinformation

campaign to show that third-party validators had authenticated Smartmatic’s technology, including

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the State of California, PriceWaterhouseCoopers, and the U.S. Election Assistance Commission.

The United Nations, Organization of American States, and the European Union have also validated

Smartmatic’s technology. Former U.S. President Jimmy Carter of the Carter Center has called

Smartmatic’s electronic voting solution in Venezuela “the best in the world.” (9/21/12 Smartmatic

Press Release, Carter: “The electoral system in Venezuela is the best in the world” (Exhibit 84);

11/27/20 Smartmatic Website, Smartmatic Fact-checked (Exhibit 67).)

       304.   Third, as discussed above, before and during the disinformation campaign,

information about the certification of Smartmatic’s election technology for Los Angeles County

and Smartmatic’s registration with the U.S. Election Assistance Commission was publicly

available.

       305.   Fourth, before and during the disinformation campaign, information was publicly

available that showed Smartmatic had been approved as a Department of Defense vendor and a

founding member of the Department of Homeland Security Election Infrastructure Sector

Coordinating Council.

       306.   Fifth, Smartmatic filed suit against Fox, Rudolph Giuliani, Sidney Powell, Jeanine

Pirro, Maria Bartiromo, and Lou Dobbs on February 4, 2021. The suit laid out all of the above

facts establishing that Smartmatic was not designed to steal elections. (Dkt. 001, Smartmatic USA

Corp., et al. v. Fox Corporation et al., Supreme Court of the State of New York, County of New

York, Index No. 151136/2021 (Exhibit 138).)

       307.   Mr. Lindell knew that Smartmatic filed suit against Fox, Rudolph Giuliani, Sidney

Powell, Jeanine Pirro, Maria Bartiromo, and Lou Dobbs. Mr. Lindell discussed the suit publicly

during his disinformation campaign against Smartmatic. For example, on February 5, 2021, Mr.

Lindell appeared on Bannon’s War Room Podcast and said, “don’t forget Smartmatic they’re right

in there, I think that they’re the ones that went after Fox.” (War Room podcast, February 5, 2021
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(Exhibit 9).) On February 6, 2021, Mr. Lindell appeared on Bannon’s War Room Podcast and said,

“it’s not funny that they have perfect timing, that Smartmatic comes in and sues Fox yesterday and

gets rid of Lou Dobbs.” (War Room podcast, February 6, 2021 (Exhibit 11).)

       C.      Mr. Lindell also had obvious reasons to doubt the veracity of his guests.

       308.    Mr. Lindell brought a myriad of guests on his four-part “Absolute” documentaries

and to his Cyber Symposium. Mr. Lindell knew that the individuals he brought on the documentary

series and to speak at his Cyber Symposium were not credible nor legitimate “experts.” These

guests included Mary Fanning, Phil Waldron, Matthew DePerno, Russell Ramsland, Dr. Shiva

Ayyudurai, Patrick Colbeck, Michael Flynn, Dr. Frank Douglas, and Joel Oltmann. Mr. Lindell

knew that the statements these guests were making had been publicly discredited. Mr. Lindell had

obvious reasons to doubt the guests’ veracity but misled the audience as to their credibility.

       309.    Mary Fanning: Ms. Fanning is a co-author of articles at The American Report—an

Internet conspiracy theory blog—and self-proclaimed “national security” investigative reporter.

Ms. Fanning has no publicly available credentials in the field of national security or journalism.

Ms. Fanning’s LinkedIn profile does not have any work history, credentials, or education related

to cybersecurity, journalism, or election integrity. (Mary Fanning Kirchhoefer, LinkedIn (Exhibit

137).) In the past, Ms. Fanning perpetuated conspiracy theories, including the “Hammer and

Scorecard” theory, which was debunked by Trump appointee Chris Krebs and other sources.

(11/7/20 Twitter, @CISAKrebs (Exhibit 125).)

       310.    Mr. Lindell was aware or should have been aware that Ms. Fanning is an unreliable

source for information on Smartmatic and that she had no evidence to support her claims about

Smartmatic. Ms. Fanning appeared in Mr. Lindell’s documentary “Absolute Proof” and claimed

that voting machines were hacked by China. Ms. Fanning did not provide any reliable evidence to

substantiate this claim and had no firsthand knowledge to support this claim. Mr. Lindell published
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Ms. Fanning’s statements without informing viewers of the various reasons Ms. Fanning was not

credible.

        311.   Russell Ramsland: Despite being touted by Mr. Lindell as an expert in cyber

forensics and security, Mr. Ramsland is neither. Mr. Ramsland was discredited by two courts for

spreading false facts about the 2020 election before he appeared in Mr. Lindell’s “Absolute”

documentaries. First, in December 2020, the United States District Court for the District of Arizona

dismissed a case challenging the results of the 2020 election, in part due to the “implausible

conclusions” of Mr. Ramsland, among others. The court determined the sources in that case to be

“wholly unreliable sources.” Bower v. Ducey, No. 2-20-cv-02321 (D. Ariz. Dec. 9, 2020). Second,

in December 2020, a Delaware judge determined that Mr. Ramsland had provided “materially false

information” in support of his claims of voter manipulation. Rule to Show Cause, Page v. Oath,

Inc., No. S20-07-030 (Del. Super. Ct. Dec. 18, 2020).

        312.   Mr. Lindell was aware or should have been aware that Mr. Ramsland was an

unreliable source for information about Smartmatic based solely on the above Delaware and

Arizona court opinions. But even if he did not, Mr. Lindell was put on notice that Mr. Ramsland

was not a credible source on election integrity after Dominion filed suit against Rudolph Giuliani

in January 2021, exposing the above-mentioned facts. Dominion also sent Mr. Lindell a retraction

demand letter on February 4, 2021, directing him to its Complaint against Rudolph Giuliani for

the truth about Mr. Ramsland. (US Dominion, Inc., Retraction Demand Letters to Lindell (Exhibit

38).)

        313.   When Mr. Ramsland appeared in the “Absolute” documentaries, Mr. Lindell knew

he did not have any evidence to support his claims about Smartmatic. Mr. Lindell published Mr.

Ramsland’s statements without informing viewers of the various reasons Mr. Ramsland was not

credible.
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       314.    Dr. Shiva Ayyadurai: Dr. Ayyadurai (referred to as “Dr. Shiva” in “Absolute

Proof”) was billed as an “expert at system science and pattern analysis” with “four MIT degrees.”

(Absolute Proof (Exhibit 1).) Dr. Shiva purports to have invented e-mail at only 14-years-old. This

claim has been debunked. E-mail was invented by the U.S. government’s Advanced Research

Projects Agency (2/23/12 National Museum of American History Statement (Exhibit 123).) Dr.

Shiva has also adhered to conspiracy theories in the past, including that “the Coronavirus PATENT

is owned by Pirbright Institute.” (1/24/20 PolitiFact, Fact-checking hoaxes and conspiracies about

the coronavirus (Exhibit 124).) The patent Mr. Ayyadurai cited as evidence for that theory related

to a vaccine-form of coronavirus that could prevent diseases in birds and other animals.

       315.    Mr. Lindell was aware or should have been aware that Dr. Ayyadurai was an

unreliable source for information about Smartmatic and is known for promoting unsubstantiated

conspiracy theories. When Dr. Ayyadurai appeared in “Absolute Proof,” Mr. Lindell knew that he

did not have any evidence to support his claims about Smartmatic. Mr. Lindell published Dr.

Ayyadurai’s statements without informing viewers of the various reasons he was not credible.

       316.    Joseph Oltmann: Mr. Oltmann (a.k.a. “Mr. Otto”) spoke on stage at Mike Lindell’s

Cyber Symposium. Mr. Oltmann rose to fame after claiming that in 2020 he infiltrated an antifa

phone call and overheard an “Eric” at Dominion assuring that Donald Trump would lose the 2020

U.S. election. Mr. Oltmann has no election-related or cybersecurity credentials. Mr. Oltmann has

subsequently been sued by American citizen Eric Coomer for perpetuating false allegations.

       317.    Mr. Lindell was aware or should have been aware that Mr. Oltmann was an

unreliable source for information about Smartmatic. When Mr. Oltmann appeared at Mr. Lindell’s

Cyber Symposium, Mr. Lindell knew that he did not have any evidence to support his claims about

Smartmatic. Mr. Lindell published Mr. Oltmann’s statements without informing viewers of the

various reasons he was not credible.
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       318.    Michael Flynn: Mr. Flynn is a retired U.S. Army lieutenant general who twice pled

guilty in 2018 to lying to the FBI about contacts with Russia. He was subsequently removed from

his position as White House national security advisor and promptly embroiled in a legal battle. Mr.

Flynn was banned from Twitter in January 2021 in accordance with a policy on “Coordinated

Harmful Activity” for sharing QAnon conspiracy theory material. (NBC News, Twitter bans

Michael Flynn, Sidney Powell in QAnon account purge (Exhibit 128).)

       319.    Mr. Lindell was aware or should have been aware that Mr. Flynn was an unreliable

source for information about Smartmatic and is known for promoting unsubstantiated conspiracy

theories. When Mr. Flynn appeared in “Absolute Interference,” Mr. Lindell knew that he did not

have any evidence to support his claims about Smartmatic. Mr. Lindell published Mr. Flynn’s

statements without informing viewers of the various reasons he was not credible.

       320.    Mr. Lindell was aware or should have been aware that this cast of characters was

not credible or reliable. Mr. Lindell chose to broadcast, publish, and republish their defamatory

statements about Smartmatic anyway.

       D.      Mr. Lindell failed to exercise due care when publishing defamatory statements
               about Smartmatic.

       321.    Mr. Lindell did not exercise due care when he published defamatory statements

about Smartmatic. Mr. Lindell acted with reckless disregard for the truth in investigating or

verifying the statements that he made and that his guests made. Mr. Lindell published misleading

statements and portrayed them as facts and evidence. Mr. Lindell did not adhere to ethical

obligations expected from those who widely disseminate information.

       322.    If Mr. Lindell had exercised due care, he would not have been able to: (a)

purposefully avoid learning the truth about Smartmatic and its technology and software used in

the 2020 U.S. election; (b) publish the factually inaccurate and misleading reports about

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Smartmatic and its technology and software; and (c) interject Smartmatic into a wide-ranging

criminal fraud to fix the 2020 U.S. election.

       323.    Mr. Lindell failed to exercise due care for at least eleven reasons. First, Mr. Lindell

did not exercise due care by being accurate or fair when gathering and reporting information. Mr.

Lindell stated and repeated information that he knew was inaccurate, stated and repeated

information he knew was misleading, and purposefully avoided learning the truth. The truth was

inconsistent with Mr. Lindell’s preconceived narrative that Smartmatic had stolen the 2020 U.S.

election.

       324.    Second, Mr. Lindell did not exercise due care by verifying information before

releasing it. Mr. Lindell did not corroborate information provided by his sources (whom he had

obvious reasons to doubt) and did not verify or corroborate the many serious and broad-ranging

statements and implications he published about Smartmatic. Mr. Lindell made no effort to reach

out to Smartmatic before the start of his disinformation campaign for comment and/or to verify

the accuracy of any statements and implications being made about Smartmatic, its history, its

business, its technology, or software, and/or its role in the 2020 U.S. election.

       325.    Third, Mr. Lindell did not exercise due care by gathering and updating information

before and after publishing each report. Mr. Lindell purposefully avoided gathering information

inconsistent with his preconceived narrative and did not fully and properly update his reporting

after being told and learning it was factually inaccurate and misleading.

       326.    Take just one example. On January 8, 2021, Dominion sent Mr. Lindell a retraction

demand letter, explaining how multiple government officials stated there was no evidence of fraud

or misconduct during the 2020 U.S. election. (US Dominion, Inc., Retraction Demand Letters to

Lindell (Exhibit 38).) The letter attached articles from various news sources confirming that the


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2020 U.S. election was not hacked or stolen. Yet, Mr. Lindell began his defamatory campaign

against Smartmatic on February 5, 2021, almost a month after receiving this letter.

       327.    Fourth, Mr. Lindell did not exercise due care because he did not disclose

information about his sources so that viewers could make informed decisions regarding credibility.

Mr. Lindell failed to disclose his sources’ lack of credibility and lack of firsthand knowledge. As

discussed above, Mr. Lindell had obvious reasons to doubt the veracity of his guests. But, instead

of disclosing those doubts, Mr. Lindell endorsed what they were saying.

       328.    Fifth, Mr. Lindell did not exercise due care because he did not seek out opposing

views. Mr. Lindell intentionally avoided publishing statements by others who would have directly

contradicted the false information he presented.

       329.    Sixth, Mr. Lindell did not exercise due care because he did not report facts with

proper context. For example, Mr. Lindell did not call out his guests for stating they had evidence

to support their statements about Smartmatic without actually showing or disclosing the evidence.

       330.    Seventh, Mr. Lindell did not exercise due care because he did not treat Smartmatic

with respect. Mr. Lindell attacked an under-the-radar election company that participated in one

county during the 2020 U.S. election. Mr. Lindell made Smartmatic and its executives out to be

criminals in the minds of millions of viewers in the United States. Mr. Lindell did not care about

the damage that he did to Smartmatic.

       331.    Eighth, Mr. Lindell did not exercise due care because he did not consider the impact

of his defamation campaign. Mr. Lindell published statements with the intent of harming

Smartmatic and undermining the public’s confidence in the integrity of the 2020 U.S. election. Mr.

Lindell did not consider the impact of his disinformation campaign on Smartmatic.

       332.    Ninth, Mr. Lindell did not exercise due care because he did not avoid conflicts of

interest. Mr. Lindell allowed his guest to elevate their own self-interest above fairness and
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accuracy. Mr. Lindell personally elevated his own self-interest, and that of his company MyPillow,

above fairness and accuracy.

        333.   Tenth, Mr. Lindell did not exercise due care because he was not transparent with

viewers. Mr. Lindell failed to disclose to viewers that he was not publishing objective, fact-based

statements about Smartmatic. Mr. Lindell misled viewers into believing that he was reporting facts

as a result of an evidence-based “investigation,” when they were not.

        334.   Eleventh, Mr. Lindell did not exercise due care because he did not admit or correct

his mistakes. Mr. Lindell failed to admit and correct the factual inaccuracies from the

disinformation campaign after being informed of them. As explained above, there were multiple

verified sources that confirmed the 2020 U.S. election was not stolen by Smartmatic. After learning

of this information, Mr. Lindell did not issue a retraction and did not admit or correct his inaccurate

statements about Smartmatic.

        E.     Mr. Lindell used his disinformation campaign against Smartmatic for
               financial gain and acted with ill will and improper motives.

        335.   Mr. Lindell not only knowingly participated in publishing false information about

Smartmatic during the disinformation campaign, but he also did so with ill will and improper

motives for self-promotion. Mr. Lindell acted on behalf of MyPillow and for personal financial

gain.

        336.   Mr. Lindell understood that making statements about Smartmatic could not change

the outcome of the 2020 U.S. election. However, on information and belief, changing the outcome

of the 2020 U.S. election was not his motivating factor when engaging in the disinformation

campaign. Mr. Lindell used the disinformation to continue currying favor with President Trump

and his supporters and to pursue his own personal and MyPillow’s financial interests.




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       337.    Mr. Lindell sought the recognition and respect associated with being the President’s

friend and ally. He sought to capitalize on the popularity he gained as a primary promoter of the

disinformation campaign against Smartmatic after Fox News, Newsmax, Rudolph Giuliani, and

Sidney Powell had long-since ceased defaming Smartmatic. Mr. Lindell did not start defaming

Smartmatic until 2021, after all 50 states certified the election results. Mr. Lindell was one of the

last bastions of hope for Donald Trump supporters that did not want to lose faith that President

Trump lost the 2020 election.

       338.    Mr. Lindell has at least three websites where he regularly and continuously posts

videos talking about the 2020 U.S. election being stolen from Donald Trump: FrankSpeech.com,

MichaelJLindell.com, and LindellTV.com. Each of these websites both (1) prominently advertises

for MyPillow and/or Mr. Lindell’s book; and (2) defames Smartmatic.

       339.    First, each website prominently advertises MyPillow products and offers “promo

codes” to incentivize purchases from website users. For example, the “Home” Pages of

LindellTV.com and FrankSpeech.com have the following graphic prominently displayed:




       340.    Second, FrankSpeech.com has title bar with a “Podcasts” tab that leads the website

user to the following podcasts by clicking the link: The Eric Metaxas Radio Show and Indivisible
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with John Stubbins, among others. Mr. Lindell defamed Smartmatic on both of these shows, as

explained above. (Exhibits 20, 22).

       341.    In addition, FrankSpeech.com has a title bar with a “Fix2020First” tab that leads

the website user to a page with videos from Mike Lindell’s “Cyber Symposium.” Mr. Lindell and

his guests defamed Smartmatic at the Cyber Symposium. (See e.g., Exhibits 32, 34, and 36). The

same “Fix2020First” tab on FrankSpeech.com leads the website user to a page with all the videos

from Mr. Lindell’s “Absolute” documentary series. Each of these four videos defamed Smartmatic.

(Exhibits 1, 3, 5 and 7).

       342.    Mr. Lindell is also a self-published author and actively promotes his book on his

websites and during program segments. Mr. Lindell gained public attention by touting his “from

crack addict to CEO” story on his personal websites and on his business website, MyPillow.com.

The MyPillow.com website has a section dedicated to selling Mr. Lindell’s book (with a promo

code and free shipping). The MyPillow.com website also has a section dedicated to selling Mr.

FrankSpeech.com products, including yard signs, coffee mugs, and tee shirts.

       343.    During the disinformation campaign against Smartmatic, Mr. Lindell leveraged his

airtime to promote his story and his book. For example, during a program segment on Indivisible

with John Stubbins on April 1, 2021, Mr. Lindell defamed Smartmatic, claiming, among other

things, that the 2020 U.S. election was stolen through Smartmatic election technology. Mr. Lindell

also promoted his book during the same program segment, saying “It’s a great book of hope, it

took me seven years to write… there’s not a better time [] to launch this book than now. And

I’ve had – I pre-printed 3 million copies.” (Exhibit 22) (emphasis added).

       344.    During the disinformation campaign against Smartmatic, Mr. Lindell also

leveraged his airtime to promote MyPillow.com. For example, during a program segment on The

Pete Santilli Show on February 24, 2021, Mr. Lindell defamed Smartmatic, claiming that he had
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evidence that Smartmatic stole the election, and then advertised MyPillow during the same

program segment. The show played a pre-recorded video of Mr. Lindell advertising his “new Giza

Dreams bed sheets” and suggesting that listeners “go to mypillow.com or call the number on your

screen right now to get your very own MyPillow Giza Dream Sheet.” (Exhibits 16, 17).

       345.    During the disinformation campaign, Mr. Lindell’s personal profile increased

dramatically. Mr. Lindell went from a limited public profile, to being known by the millions of

individuals across the country who support President Trump. President Trump’s supporters

showed tremendous appreciation and admiration for what he was saying. On information and

belief, this fame was a motivating factor for Mr. Lindell. Mr. Lindell understood he could not

change the outcome of the election with his disinformation campaign. He could, however, gain a

bigger audience for his book and gain more purchasers for his MyPillow products.

       346.    MyPillow’s advertising efforts tie directly into the disinformation campaign against

Smartmatic. MyPillow is prominently displayed on all three of Mr. Lindell’s websites with “promo

codes” to encourage purchases. Mr. Lindell made appearances that promoted his websites and

MyPillow products while defaming Smartmatic. Mr. Lindell also continued to display “promo

codes” in his defamatory broadcast about Smartmatic that he published after Smartmatic filed its

Complaint in this case.

       347.    Mr. Lindell benefitted at Smartmatic’s expense when people bought his MyPillow

products after watching his defamatory statements about Smartmatic. Mr. Lindell’s advertising

efforts in conjunction with his defamatory statements about Smartmatic were apparently

successful. After watching Internet video segments where Mr. Lindell defamed Smartmatic,

viewers commented that they would purchase Mr. Lindell’s products:




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       F.      Mr. Lindell’s statements about Smartmatic show personal animosity and ill
               will towards Smartmatic.

       348.    Mr. Lindell’s preconceived, false storyline about Smartmatic stealing the 2020 U.S.

election used exaggerated language, repetitiveness, outrageous falsehoods, hyperbole, and

xenophobia to invoke panic in viewers and listeners. Mr. Lindell exhibited personal animosity,

hate, spite, and ill will towards Smartmatic.

        349.    For example, on February 11, 2021, Mr. Lindell appeared on OANN with Steve

Bannon and said, “I wanted to go back to where this all started. And Venezuela, it all started in

Venezuela with Smartmatic, not Dominion or the other one, it was with Smartmatic.” (A Screening

and Conversation of Absolute Proof (Exhibit 14).)

        350.    During the same program segment, Mr. Lindell also said, “[t]his was an attack on

our country, these Dominion machines and Smartmatic, these machines that were, that are, that

were this, that were the tools of this attack, and we will never have another fair election if we don’t,
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if we don’t stop that, so I will never back down.” (A Screening and Conversation of Absolute Proof

(Exhibit 14).)

       351.      Take another example. On February 24, 2021, Mr. Lindell appeared on The Pete

Santilli Show. He told Mr. Santilli, “Smartmatic started machines in Venezuela, around 2001,

2002. When they [] brought them in there, they invented them and brought them in there and took

down that country in two years… They’ve stolen in the United States, the Communist Party is

coming in. You have just like Nazi Germany, where you had, they take away communications.”

(The Pete Santilli Show (Exhibit 16).)

       352.      Take another example. On April 1, 2021, Mr. Lindell appeared on Indivisible with

John Stubbins. Mr. Lindell said, “And you know, when you got a track record going all the way

back to Venezuela where Smartmatic started in 2004, and you have all this track record and no –

and every time it comes up, how bad it is or how corrupt it is or how [] they’re rigged and get

bought you know all this all this criminal activity, it just gets suppressed, and we’ve got to get it

out now… This is a very Communism Socialism takeover.” (Indivisible with John Stubbins

(Exhibit 22).)

       353.      Mr. Lindell did not have any evidence for his outrageous statements about

Smartmatic. Mr. Lindell repeatedly made his statements about Smartmatic even though he knew

that Smartmatic was only involved in one county in the 2020 U.S. election. Mr. Lindell chose to

mention “Venezuela” to invoke xenophobia and fear. Mr. Lindell’s statements used hyperbole

about Smartmatic, fueled from personal rage and hatred.

V.     Defendants’ disinformation campaign irreparably harmed Smartmatic and its
       election technology and software.

       354.      Mr. Lindell published his defamatory statements against Smartmatic on multiple

platforms over an elongated period of time. Mr. Lindell’s defamatory statements were republished

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by individuals who watched them originally and reposted them to other websites, such as

Rumble.com. Mr. Lindell knew and understood this republication would happen. As a result,

through Mr. Lindell’s publication and republication, Mr. Lindell’s statements about Smartmatic

were widely and generally disseminated on the Internet.

       355.    Mr. Lindell’s defamatory statements led to Smartmatic’s name and brand becoming

synonymous with election fraud for members of the general public and government officials,

particularly those in the United States. Mr. Lindell’s defamatory statements cast Smartmatic as

one of the voting technology companies, along with Dominion, that rigged the 2020 U.S. election;

and, even worse, Mr. Lindell’s statements created the impression that Smartmatic’s software was

not to be trusted because it was Smartmatic’s software that switched votes in voting machines

regardless of who supplied the machines.

       356.    Prior to the 2020 U.S. election, Smartmatic was a known and trusted name among

individuals responsible for selecting election technology and systems in voting jurisdictions in the

United States and across the world. Smartmatic was not, however, a household name. Smartmatic’s

long history of helping to conduct secure, accurate, and auditable elections was not known among

the general public.

       357.    Mr. Lindell’s defamatory statements irreparably tarnished Smartmatic’s name and

brand with members of the general public who watched his publications. Below are just a few

examples of the reactions people had to Mr. Lindell’s publications:

               a.      People who heard Mr. Lindell’s defamatory statements came to believe that

                       Smartmatic’s election technology and software was used to steal elections

                       and that Smartmatic is corrupt.




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            b.    People who heard Mr. Lindell’s defamatory statements equated Smartmatic

                  with Dominion, another voting machine company that Mr. Lindell indicated

                  stole the 2020 U.S. election.




            c.    People who heard Mr. Lindell’s defamatory statements came to believe that

                  Smartmatic machines were compromised or hacked by China.




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               d.     People who heard Mr. Lindell’s defamatory statements believed that

                      Smartmatic machines were connected to the Internet during the 2020 U.S.

                      election.




       358.    Smartmatic’s name and brand similarly suffered with government officials,

particularly those in the United States, who did not have firsthand experience with Smartmatic and

electronic voting technology. Government officials with firsthand knowledge of Smartmatic’s role

in the 2020 U.S. election (e.g., officials in Los Angeles County) were happy with how the election

was conducted and confident in its outcome. Government officials who watched or read Mr.

Lindell’s publications about Smartmatic received a very different message.

       359.    Defamatory statements about Smartmatic and Dominion have led to certain

government officials becoming critical of the companies, specifically, and electronic voting,
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generally. Government officials who had not previously opposed the use of electronic voting began

to do so following Mr. Lindell’s publications. This includes government officials directly or

indirectly involved in the selection of the voting system used in their jurisdiction and the

companies who supply machines and services for the selected voting system.

       360.   The widespread and general distribution of Mr. Lindell’s publications about

Smartmatic have irreparably tarnished its reputation. Smartmatic’s officers and employees have

been threatened. Smartmatic’s operations have come under attack—physically and electronically.

Smartmatic has incurred the following out-of-pocket expenses:

              a.      Smartmatic has been required to expend in excess of $400,000 on public

                      relations and crisis management following Mr. Lindell’s publication of his

                      defamatory statements and will spend millions more in the coming years.

              b.      Smartmatic has been required to spend in excess of $100,000 on

                      cybersecurity following Mr. Lindell’s publication of his defamatory

                      statements and will spend millions more in the coming years.

              c.      Smartmatic has been required to spend in excess of $700,000 on retention

                      and recruitment for personnel following Mr. Lindell’s publication of his

                      defamatory statements and will spend millions more in the coming years.

       361.   Moreover, Mr. Lindell’s publication of his defamatory statements has diminished

Smartmatic’s business value and prospects. Prior to the 2020 U.S. election, Smartmatic’s business

value and prospects were linked to its reputation in the industry for providing technology and

software that guaranteed secure, accurate, and auditable elections. Individuals responsible for

selecting voting systems in the United States and across the world understood they would not be

second-guessed if they selected Smartmatic. They understood that selecting electronic voting and


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Smartmatic was a safe choice based on Smartmatic’s track record for providing secure, accurate,

and auditable election results.

       362.    Mr. Lindell’s defamation campaign was a direct assault on the reputation that

Smartmatic relied upon for its business value and prospects. Mr. Lindell branded Smartmatic as a

corrupt company whose election technology and software were used to steal elections. Far from

providing secure, accurate, and audible election results, Mr. Lindell branded Smartmatic as a

company whose technology and software meant elections were not secure, accurate, or auditable.

       363.    Mr. Lindell’s branding of Smartmatic as a corrupt company substantially

contributed to a “no win” situation for Smartmatic with individuals responsible for selecting voting

systems. On the one hand, individuals who were not previously familiar with Smartmatic now

have a negative impression of electronic voting systems, including those offered by Smartmatic.

Those individuals are less likely to select electronic voting systems for their jurisdictions, and,

even if they do, they are less likely to select Smartmatic. Mr. Lindell’s publications contributed to

that negative impression.

       364.    On the other hand, individuals who were familiar with Smartmatic prior to the

publication of Mr. Lindell’s defamatory statements have a constituency problem. Individuals

familiar with Smartmatic understand its election technology and software ensure secure, accurate,

and auditable election results. However, for some of them, their constituents have been exposed

to, and believe, Mr. Lindell’s defamatory statements about Smartmatic, Dominion, and election

technology. As a result, their selection of electronic voting, generally, and Smartmatic,

specifically, would be second-guessed by their constituents. These individuals are less likely to

select electronic voting systems for their jurisdictions, and, even if they do, they are less likely to

select Smartmatic. Mr. Lindell’s publications contributed to this constituency problem.


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        365.    This “no win” situation has diminished Smartmatic’s business value and prospects.

Prior to the 2020 U.S. election, based on its historical business and pipeline, Smartmatic’s business

was valued in excess of $3.0 billion based on a modest multiplier. 9 Now, following Mr. Lindell’s

publication of his defamatory statements, Smartmatic’s business is valued at less than $1 billion.

The general and widespread publication and distribution of Mr. Lindell’s defamatory statements

about Smartmatic were a substantial cause of a portion of this business valuation decline.

                                       CAUSES OF ACTION

               FIRST CAUSE OF ACTION AGAINST BOTH DEFENDANTS

                       (Defamation for False Statements and Implications)
        366.    Smartmatic repeats, realleges, and incorporates by reference the allegations in

paragraphs 1–365 of this Complaint as if fully stated herein.

        367.    From February through June 2021, and again in 2023, Defendants published false

statements and implications that (1) Smartmatic was widely used in the 2020 U.S. election in order

to attack the election; (2) Smartmatic had a corrupt relationship with Dominion and/or ES&S

during the 2020 U.S. election in order to attack the election; (3) Smartmatic stole the 2020 U.S.

election; (4) Smartmatic’s election technology or software was compromised or hacked by China;

(5) Smartmatic’s election technology was connected to the Internet during the 2020 U.S. election

in order to attack the election; (6) Smartmatic is engaged in a widespread criminal enterprise; and

(7) Smartmatic’s technology was designed to steal elections. These false statements are pleaded in

paragraphs 145, 151, 158, 166, 173, 178, 184 which set forth the particular words and statements

used in the publications. The false implications were intentionally made through the false



9
 Smartmatic’s business pipeline includes sales and opportunities through subsidiaries wholly-owned by
Smartmatic International Holding B.V. in the United States, Barbados, Australia, United Kingdom,
Panama, Haiti, Belgium, Singapore, Netherlands, Mexico, Ecuador, Brazil, Estonia, Taiwan, and the
Philippines as well as branches in Columbia, Argentina, Honduras, Pakistan, Italy, Jamaica and El Salvador.
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statements, by other statements that were misleading due to material omissions, by presenting

misleading juxtapositions of statements, and when taking into account the context of each

publication. The false implications were also made through the disinformation campaign as a

whole. See supra ¶¶ 75–136.

       368.    These false statements and implications were and would be reasonably understood

to be statements of fact about Smartmatic.

       369.    These statements and implications were false for the reasons stated in paragraphs

147–149, 153–156, 160–164, 168–171, 175–176, 180–181, and 186–188.

       370.    These statements and implications were published without privilege or legal

authorization, and if there was any such privilege or authorization (and there was not) it was

intentionally abused.

       371.    These statements and implications were broadcast, published and republished to

third parties. The broadcasts, publications and republications with these false statements and

implications were widely disseminated by Defendants.

       372.    These statements and implications were defamatory because they harmed

Smartmatic’s reputation, lowered Smartmatic’s reputation in the community, and exposed

Smartmatic to public hatred, contempt, ridicule, and degradation.

       373.    These statements and implications were defamatory per se since they charged

Smartmatic with a serious crime and were of a nature tending to injure Smartmatic in its trade,

business, and profession.

       374.    Both of these Defendants acted with fault, at least negligence, and with actual

malice. Each Defendant knew these defamatory statements and implications were false, or

recklessly disregarded the truth or falsity of the statements and implications, when they broadcast,


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published, and republished them. The allegations related to Defendants’ actual malice include but

are not limited to those pleaded in paragraphs 189–353.

       375.    Both of these Defendants also acted deliberately and maliciously to injure

Smartmatic out of ill will, and/or causelessly and wantonly made the statements for the purpose of

injuring Smartmatic.

       376.    These false statements and implications by the Defendants were a substantial factor

in causing Smartmatic to suffer irreparable harm to its reputation and suffer economic loss, and

Smartmatic is thus entitled to compensatory damages.

       377.    Mr. Lindell was acting in his capacity as the founder, CEO, owner, operator, and

representative of MyPillow at all relevant times hereto. Mr. Lindell is MyPillow’s agent.

       378.    As a direct and proximate result of these false statements and implications by

Defendants, Smartmatic has also suffered and will continue to suffer actual, consequential, and

special damages in an amount that will be determined at trial.

       379.    Smartmatic is also entitled to punitive damages because Defendants acted with

actual malice, ill will, and spite towards Smartmatic, and for improper motives.

              SECOND CAUSE OF ACTION AGAINST BOTH DEFENDANTS

                 (Minnesota Deceptive Trade Practices, MSA § 325D.44(8))
       380.    Smartmatic repeats, realleges, and incorporates by reference the allegations in

paragraphs 1–379 of this Complaint as if fully stated herein.

       381.    Defendants’ false and defamatory statements, as described in detail above,

constitute deceptive trade practices in violation of Minnesota Law, M.S.A. § 325D.44(8).

Defendants’ statements disparage Smartmatic’s goods, services, and business by false and

misleading representations of fact.



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       382.    The Defendants knew that their factual assertions about Smartmatic were

deceptive, as stated in paragraphs 202–307. Mr. Lindell willfully made these statements while in

the course of business as the founder, CEO, owner, operator, and representative of MyPillow. Mr.

Lindell made these statements for a commercial purpose.

       383.    Mr. Lindell used his status as the founder, CEO, owner, operator and representative

of MyPillow to defame Smartmatic so that he and MyPillow could derive substantial financial

benefit. Defendants derived increased financial benefit through increased sales of MyPillow

products because they defamed Smartmatic.

       384.    Mr. Lindell was acting in his capacity as the CEO, founder, owner, operator, and

representative of MyPillow at all relevant times hereto. Mr. Lindell is MyPillow’s agent.

       385.    Defendants’ statements have irreparably harmed Smartmatic and will further

impair the value of Smartmatic’s name, reputation and goodwill without a permanent injunction.

       386.    Smartmatic is entitled to permanent injunctive relief by way of

               a.      removal of all of Mr. Lindell’s defamatory statements;

               b.      enjoining Mr. Lindell and MyPillow from repeating such statements; and

               c.      enjoining Mr. Lindell and MyPillow from engaging in further deceptive

                       trade practices relating to Smartmatic.

       387.    Smartmatic is also entitled to recover from Lindell its cost of litigation, including

reasonable attorneys’ fees, pursuant to M.S.A. § 325D.45(2).

                                    PRAYER FOR RELIEF

       388.    Wherefore, Smartmatic prays for judgment against Defendants for each of the

causes of action raised herein. Smartmatic respectfully requests a judgment in its favor and against

Defendants for:

               a.      Compensatory damages in an amount to be determined at trial;
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            b.    Actual, consequential, and special damages in an amount to be determined

                  at trial;

            c.    Punitive damages;

            d.    Reasonable and necessary attorneys’ fees;

            e.    Reasonable and necessary costs of the suit;

            f.    Prejudgment and post-judgment interest at the highest lawful rates;

            g.    Declarative and injunctive relief; and

            h.    Such other and further relief as this Court deems just and appropriate.




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                                        JURY DEMAND

       Smartmatic requests a trial by jury on all matters raised herein.

Dated: April 7, 2023



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